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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 1 of 487 Pageid#: 5770
                                           EXHIBIT A(a)                                                     U.S. Department of J~stice
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                                                                                                            Federal Bureau of Investigation
                                                                                                            Washington, _D.c. 20535

                                                                                                            February 8, 2017
     MR. WILLIAM A WHITE
     5725 ARTESIAN DRIVE
     DERWOOD, MO 20855

                                                                                   FOIPA Request No.: 1357593-003
                                                                                   Subject National Socialist Movement

     Dear Mr. White:

             Records responsive to your request were previously processed under the provisions of the
     Freedom of Information Act. Enclosed is one, CD containing 103 page~ of previously processed docuinE"!nts
     and a copy of tile Bcplanation of Bcemptions~ This release·is being ·tirovided to you at nb charge ..
                                                             I                                  .

.-             Please "i:,e advi9ed_ that additional records potentially r.esponsi.ve to youi- su!Jject may exist. If this
      release of previously prqce~sed material do,e~ not sati~fy_ yoµrinforma(Jon needs for the requested subject,
     you may request an additional· search for rec9rds. Please prpvide an~ fldditional information that would help
      locate the records with_ a re?sonable -amour1t pf_ effort. jrl1is might inqu~l=! specific timeframes or loca1It1es.
     ·submit your request by ,;na\1 or faJC to - War)< ;Process Unit, 170 Ma_rtjel_ Qlive, Winchester, VA 22602, fa)(
      number (540) 868-4997.: P.l~ase cite tl1e FOIJ=!A Request Num_ber in Y,O,Uf correspondence.
                                                             •     •                     . J.       .
                 For }1our informatit(m, Congress excluq~d thre~ discrete cat~g9ries· of law enforcement and national
      security r~co_rd~ frqlT) the r.~quir.ements ofth_efqlA. See,5 U.q: C. §15_5;z(c) (2006 8, Sup_P.-_IV (2010)._ This
      respons_e rs l1m1~ed !o 1hos_e1records tha~ an~ _9u91ect to th.~ requiremer\s1of t~e ~Of!-\. This 1s a standard
      notification t11at '.~ given to all our reqwesters ynd sl1oul? not be take~ as an 1n<;flcat1on that excluded records
      do, or do ~ot, ei,rst.                            .;                       1
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             1 For questions reg?rding our detern;iihaiiohs, vis!t the www.foi.ciov/fola website under "Contact Us."
      Tlie FOIPA Request Number listed above lia~ ~een as~igned to y• "u1 r!=!quest. Please use this number in .all
      corresponcl_en"ce concerning your request. Yqur;·patien~e is /3ppreciat9,q:
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                  Yqu may ~le _an ~~peal by .writi_ng t~ ;t'l~ Direc\o.r,; oyi_ce of. hjif?~ation Policy (OIP), United States
       Departmen~ of Justice, Su!t!:l 11050, 1425 Ne~;York Ave~u~, NW, Vlfa~hmgton, D.C. 20530-0001', or you
     ._,may sub~i~ a~ a~peal t~roygh OIP'.s FQ(!\or:ilinij_pqrtallbY:cr,e\:1ting _a? ~?count on the following web sit~:
       hllps://fo1aonlrne.regulat1ons.gov/fo1a/act1on/pUbhc/home; 1Your.appealiTJ1U.st be P.Ostmarked or electronically
       tr.ansmilte~;within _nine_ty;(~O) di!lys from:the '.d,~~e; of thisr f~~tet ih ·s:,rd!=Jrlj tp~e codsidered timely - . If you _submit
       your appeal by mail, both the letter and _the e9v~lop_e s9qu_Jd1be clear Yif\1arked "Fre_edom of lnfor~~tron Act
       Appeal." P(ease cite the FOIPA Request Nurpber.assigned to your requ,est so that 1t may be eas1(y
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 2 of 487 Pageid#: 5771


            You may s~ek dispute resolution serJ.ices by ~ortactihg the 10,ffice of Government Information
   Services {OGIS) at 877-684-6448, or by emailing oqis@mara.gov. Alt~rhatively, you may contact the FBl's
   FOIA Public Liaison by emailing foipaqLiestions@ie.foi.gov. !lfyou-s4b,:nit your dispute resoli.Jtion
   ~o~respondence by email, thEl subject heading should clearly state "Disr.ute Resolution Services-." Please
   also dte tile FOIPA Request Number assigned to your"request so th~t it may be easily identified.

                                                                 Sincerely,

                                                                  ·~JJu._~
                                                                 David M; Hardy
                                                                 Seciipn Chief,
                                                                 Record/Information
                                                                 Dissentinatibn Section
                                                                 Records: Management Division
   Enclosure(s)




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   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 3 of 487 Pageid#: 5772
                                                      EXHIBIT A(b)
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  JIEWS BLOW : OPPORTUNITY Of • amount ~o club work and that;IS ,ust                               the issuance of _the smear, QOt one
  ADVANCE PUBLICUTY.            what Jhe N,S.M, will never be accused                              hostile lette_r or comment has been
      On March 28th the Cmic1nnat1             of.                           .               :     received by the N.S,M. This tells us
   Enquirer printed an article 1n which 1t        Following the 1,st report; th~ three             that the people who today make up
   was intimated that a number of Jews         meetings
                                                 .         .which have· taken.       placer were   the general movement have matured
                                                                                                    ,
   or · Jew- groups . might desire to          on April '3rd, m Warren County; Ohio,               and were· able to consider the source
   counter-demonstrate two upcom rng           on Aprf 9th, m C,olumbus, Oh1p, and                 of the smear and thereby Judge its
   N S.M events: 'the Hrtlerfest and the      ·on May 11th, aga1p m Columb~s The                   validity
   Rudolf He~ picket ·                 ··      pohcy ~enceforth \shall; be to rrieet m               The rebuttal · itself however shoold
      The actual dates for these act1v1t1es . secret only when necessary and _never                be reed by everyone who desires to
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   wer~ announced by the Enquirer: full .. · to allow' • th is prac~1ce to overtake     •    I
                                                                                                   remain abreast of what actually gOGS
                                                                                                  our
   month before they_ were· scheduled to       efforts a~ orgamza~1on. .                     '     on behind 'the scsnes in Franklin Road
   take place. which gave th·e .·Jews                                                              Club operations. Copies have now
   THIRTY DAYS m which to :make                87th ;GEBURT.STA'G . OF i THIE                      been circulated to all mpons1ble
   their "plans". As It transp1r!;lti, no      FUIEHRER MARKED. i                            i         motteme111t leaders and are nO!III'
   Je_yvs were any·where . to be sieen at         T.he N.S.M. celebrated on April 17th available m the public. Copies are
   either of the occasions.          '         the annual ; H1tlerfest :"' Cmc1nnat1. avallabla               for     50 cents a piece. Requiast
      Thrs "attitude" 1s going to be what      Held iri the famous C1ncmnat1 'tavern ANATOMY OF A SMll;AR.
   costs the Jews.                             ttiat has !been trad1t1on'a1 locat1bn for
                                               all are~ ·National Soc1ahsts, the WHITE •CONFEDERACY TAKES
     CmcmnatJ Enqwrer                          gathering was attended          ;bv new, friends . CARE OF ITS OWN.
     Senc!laiy, Harclll !3, 1976               as well:· as old fam11ta·r comra!'.fes to                  The .very able and very highly
                                               mal~e thr's the greatest evening :of the respected leader of the Natrona!
                                               year a su~ess.         ;      .               '.        Socraltst Party of America, our good
                                                      _In
                                                      spit~ of the fact that the lcicat1on Comrade Mr Frank Collm, telephoned
                                               had not: been pubhcly: d1scl osed, the the N.S.M. from Chicago on Apnl
                        lranli                 C1nclnnah ·press undertook a lphone 26th and informed us·that according
                                               call tam~aign to rilaJor _bars 1n t~e city to his intelligence sources, the word

                        -:w•ikel               ask rng·.; randomly for '. Movement has off1c1ally gone out of Franklin
                                               Chairman Robert Branr~en. F1111~1iy, he Road to disrupt N S.M act1v1t1~.
                                               was loc~ted in ~is manner and an                           Not only had the Movement
                                               1nterv1ew~r was qr.Jickly dispatched to anticipated Just this sort of thrng, we
       BEIDND -THE SCENES: I under~            the sce~ii.            '      ·               :         also were perfectly aware of eJCactly
  s\tand ·that rep~eaentives ~r local a·       . Friend~ represerjtmg :van~us t,ght,st: .. who the suppo~d agent was, Active
  J ewls-h organ!zatlon._. ~re· lop~ln13        orgari,z~t1ons wer~ on hand indludmg :.service m the Franklin Road group for
  Into a planned "birthday celebra-
  tion" that will be staged in the C!n ..      ttiose·frcim the N~t1onal States !Rights a decade didn't go for nothing. Not
  ctnnat! area tiy a .group otiNAZl            Party, T~e Amen~n White' Nat.1~nah&t only were. the tr:1cks of the outer
  aympathi:lfll's to·comD1emorate tile         Party, _and Unrted Klans of America enemy learned, but also those of the
  bJ:rtMay Qf. Adolf Hitler. .
       Th.la column·was contaeted after
                                        . :'    Aegardl~~s of nafue          ·or  symh~I, the mner foe whrch the Franklin Road
  an ttem noted ·that the celebratimi"          pi:ogriim remains the same as d6es the group has become The N.S.M IS not
  W!ll1 scheduled here Oli" April 1,7 (the     comm1on allegiance to·: THE succept1bletosubvers1on.
  actual blrthdate is AprU 20 )' and-          GREATEST MANJN H)STORY                                    Our deep tllanks goes to Mr Colhn
  would include leaders of anti.Jew-:                    '  ;       -:!                                arid the eritire N SP A for therr much
  lsh end anti-black o:rp,nizatlons ..
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  tlon is planned against the NAZI              rebuttal bn-.Apnl ,18th: to the absurd · wt)at. can only be described as a
  birthday party was not reveaJed by
  the representatives of the Jewish            smear : ~ttackmg 'Chairman '. Robert · government msp1red attempt to
  group who teleP,tioned my desk.              Branne,:i \published on February 15th" undermine and . destroy a . genuine
                                               Qy the ; Frankh~ A oad Club of National Soc1ahst Frqnt. We stand ever
  INTERNAL FUNCTIONS TAKING.                   Arlington, V~                The: lehgthy ready _to repay the favor at the very
  BACK SEAT TQ ORGANIZING.                     memorandum, entitled ANATOMY first chance,
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   internal · act1v1t1es 1s · beginning to     backgrouhd 'and nature 'of the reckless . N.S.M. CHAIRMAN VISITED BY
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JUNE 1976                                                                                                                                          5
             Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 4 of 487 Pageid#: 5773
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                   TO:                       SAC~ CINCINNATI                                                                                                                                                         MAYI 5, 1976

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              PAGE TWO                                 [                                 7                           157-34518
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              AFFILIATED WITH THE NATIONAL                                                                                                      ' · SOCI.AUST WHITE PEOPLES PARTY
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 6 of 487 Pageid#: 5775




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PAGE THREE               """-=-==a==,""'"'J   157-34518


OF THE:NSM UNDER PROVISIONS OF THE ATTO~ GENERAL GUIDELINES
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AND. INCLUDE             YOUR OBSERVATIQNS. ANP ~C~DATION IN THIS RWARD·.

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  relat~d groups J Informant; has furnis_hed :timely and valuable
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 gation,- of NSM.                ·       ·       !




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                         EXHIBIT411-2
 Case 7:08-cr-00054-EKD Document  B   Filed 10/05/20 Page 7 of 487 Pageid#: 5776

               FBI Files 1995 To Present (updated 9/2020)

Office                 File#                   Descr:i pti on

Albany                 266N-AL-47174            Nati:onal Social:ist Movement ( NSM                                           11            11
                                                                                                                                                 )



Albuquerque            100 -AQ;;.G54627        Terrorism Enterprise Investigation
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                                                (TEI    trackin.g file
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Atlanta                lOOA-AT-83431            NSM TEI
                       266N-AT-99442            NSM DT Wes Sitton
                       300 -AT-                 NSM 4/2018 Rome rally
Legat Berlin           163I-BN-C13756          163 tracking file
Baltimore                   BA-282-0           282 control file
                       316A-BA-104260          Madeleine Albright vanguard News
                                               Network ( VNN    threats    11        11
                                                                                          )

                       266N-BA-                10/31/2017 threats
Boston                  66A-BS-88674           World Church of the Creator
                                                (WCOTC
                                                    11
                                                         Violent Gang and Ter-
                                                                  11
                                                                       )

                                               rorist Organization ( VGT0 11 ) file                        11


                            -BS-               WCOTC Confidential Human Source
                                                (CHS11   11
                                                              )

                            -BS-               American National Socialist Work-
                                               ers Party ( ANSWP   TEI          11                11
                                                                                                       )



Charlotte              266N-CE-92874            NSM/ANSWP DT file
                       266A2:CE80               CE Domestic Terrorism ( DT                                      11   11
                                                                                                                          )

                                                control file
                            -CE-                WCO[C CHS
                            -CE::-              Volksfront TEI
Chicago                 66F-CG-111993          VGTO Financial Anaysis ( 11 FA 11 ) file
                        66F-CG-C87279-DT ·     VGTO tracking file
                        89E-CG-122118          lefko~im~rders conspiracy/ ob-
                                               struction
                       164B-CG-Cl17055         164B tracking file
                       188B-CG-124349C         Victim Assistance Profile ( 11 VAP                                                  11
                                                                                                                                        )

                                               Mark Hoffman
                       196D-CG-103847          Stormfront .(1997)
                       196D-CG-123577          WCOTC
                       266A-CG-110397          Be n Sm·i th i· 1WCOTC mu r de r s
                       266A-CG-123527          Lefkow murders
                       266A-CG-119311          Matt Hale solicitation
                       266A-CG-122346          WCOTC DT
                       266N-CG-129437          us v White ND Ill 08-cr-851
                       801A-CG-125288          NSM TEI
                           -CG-                Volksfront TEI
                           -CG-266-0           CG DT control file
                           -CG-                Squad ( 11 SQ 11 ) CY-2 support file for
                                               89E-CG-122118 -
Cincinatti             266N-CI-76195           NSM-ANSWP Justin !Boyer
                       266N-CI-74835           DT file                \
                       266 -CI-C75700          CI DT tr.,. a c: ~ i. rJ g f i Il e
                                                                                              '
                                -1-
FBICase 7:08-cr-00054-EKD
    Files   (199~-presentODocument 411-2 Filed 10/05/20 Page 8 of 487 Pageid#: 5777

Office                  File #                   Description

Cleveland               44B-CV-74237             Lima Ohio noose incident
                       188B-CV-C71531-C          VAP Julian Upthegrove
                       2660-CV-C72082-N          CV OT tracking file
                       266N-CV-70871             NSM Toledo tally 12/05'
                       266N-CV-63082             Nat <iron a 1 A11 i an c e l( ."NA Erich          11
                                                                                                        )

                                                 Gliebe smuggling/ tax evasion
                       266N-CV-73486             Naticrnal Vanguard ( "NV           2005           11
                                                                                                        )

                                                 Canton, OH flier distribution
                       300A-CV-717072            NSM Toledo rally 12/05: Special
                                                 Event ("SE") file
Detroit                266A-DE-C96081            DE OT tracking file
                       266M-DE-102373-TEL        NSM D£ ·. w.i r e ta p / Gr a n d J ur y ~J'. GJ                              11
                                                                                                                                    )   ·

                                                 Dan Hill
                       266N-DE-101266            NSM DE OT file
                       266N-DE-C98628            DE DT tracking fi1e
Headquarters            66F-HQ-Cl384970          HQ VGTO tracking file
                        66F-HQ-Al397155-C        HQ.VGTO FA file
                        66F-HQ-Al390507          HQ VGTO FA file
                       100A-HQ-Cl452807          HQ TEI tracking file
                       300A-HQ-Cl434728-SA       HQ SE tracking files by field of-
                                        -RH      fice
Houston                266N-H0-62690             Brian Costigan threats
                       266N-H0;.;;64946          Brian Costigan threats
Indianapolis            44B-IP-                  1999 NAACP~letter
                       100N-IP-95602             Vinlanders ("VN     BTI@od and
                                                                             11
                                                                                  )       /

                                                 Honor ( B+H   TEI
                                                               11   11
                                                                         )

                       266N-IP-90413             VN / NSM West Virginia ( WV    CHS                          11       11
                                                                                                                           )



Jackson                100 -JN-C27846            JN TEI tracking file
Jacksonville           343A-JK-2058232           Black Lives Matter ( BLM        Domest-      11             11
                                                                                                                  )

                                                 i G Po·l ice Cooperation ( DP c                        11            11
                                                                                                                           )

                                                 7/7/2016
Kansas City             44D-KC:,,,.47174l0      · Glenn Miller shooting/ Creativity
                                                  Alliance
                       266N-KC-89667              NSM Tim Bishop
                       266N-KC-88517              NSM Tim Bishop
                       lOOA-KC-83431              NSM TEI
Los A.ngeles           lOON-LA-254834            NSM TEI (old Origin~ting Office~
                                                 ( 00 )?)
                                                     11   11

 'iJ                                                                                  I


Little Rock                  -LR-                11/10/18 NSM rall~
                             -LR-                NSM TEI assessment
Legat Madrid           163C-MD-403               request for NA publications          I



Major Case             117 OKBOMB               Oklahoma City bombing
                       174                      NA                I
                         ?                      William A White (rWAW")
                                                                                      '
                                      -2-
FBI
 CaseFiles   (1995-present)
      7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 9 of 487 Pageid#: 5778

Office                  Fi 1 e #                 Description

Miami                   266N-MM-                 NV 3 -me e t i n g s 6 I O5 a 1 s o W Pa 1 m
                        266A-MM-                 Be a ch Ch r i st i an' Identity ( c I
                                                                                      11   11
                                                                                                )

                        266N-MM-109670           Leonard Pitts threats
                        266N-MM-56642            VAP Leonard Pi~ts
Milwaukee                66 -MW-A42188-M         MW VGTO tracking file
Minneapolis             lOOA-MP-63291            NSM TEI        .
                        196D-MP-40821            European Student, Union
                        266N-MP-56642::          NSM/NA WV CHS
                        266N-MP-57299            NSM/NA WV CHS
                             MP-266A-0-492       MP DT control file
Mobile                    66 -MO-A42188-M     Mb VGTO FA file
                          66F-MO-A43551-INTEL MO VGTO INTEL file
                        ·266A-M0-44133        First Freedom newspaper
Newark                       -NK-                Robert Campbell CHS file
New Orleans             266N-NO-C70426           NO DT tracking file
                            -NO-                 White pride Construction / Robert
                                                 Moore
                             -NO-                2005 NA LSU protest
New·, York              266N-NY-C271560-WC       NY DT tracking file
Norfolk                 100 -NF-C36332           NF TEI tracking file
                        266 -NF-C35827           NF DT tracking file
Oklahoma City           343G-OC-2055615          BLM 7/10/16 DPC file
Omaha                   300H-OM-C49721           SE Tad Kepley
Philadelphia            300A-PH-101374           World Knights of the Ku Klux\Klan
                                                 ( WK-KKK
                                                     11
                                                            Gettysburg SE 7/06
                                                               11
                                                                    )

                             -PH-                Charles Tyson threats
Phoenix-                174C-PX-80261            unknown threats
                         44 -PX-C78141           PX civilr·rjghts tracking file
  • C
Pittsburgh                9A-P~-62800            threat to William Luther Pierce
                                                 I-II ( WLP
                                                          11        11
                                                                         )

                          9A-PG-67475            threat to WLP
                        lOOA-PG-67150            NA TEI
                        266N-PG-56642            NSM/NA WV CHS
                        266N-PG-57299            NSM/NA WV CHS               1

 1l                     266N-PG-67828            NSM/NA WV CHS I
                        266N-PG-C72887           PG DT tracking file
                                                                             !
Portland                 80 -PD-C47409           media reports t~acking file
                             PD-196-0-4144       PD TEI assessment tracking file
                        266N-PD-46175            Calvin Habig threats
                        266N-PD-50187            Calvin Habjg threats
                        266N-PD-51903            C~lvin Habig thteats

                                   -3-
FBICase
     Files.  {1995-present)
        7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 10 of 487 Pageid#: 5779

Office                  File#                       Description
                                                                       I


                                                                    i
                                                                    I
Psychological-Be-       252B-IR-4448                WAW psychological-behavioral
navioral Analysis                                   profile         :
Unit ("PBAU")
Richmond                      9A-RH-53173           Richard Warman threats
                              9A-RH-55566           US v White 13-cr~013
                             44A-RH-53908           National Initiative Targeting
                                                    Bill White
                         62F-RH-47050               WAW CART file
                        177A-RH-51892               WAW fair housing
                        188B-RH-C49126-C2           VAP tracking file
                                              -K
                         266I-RH-49418              RH OT file
                         2660-RH-50435              RH OT file
                         266I-RH-50926              RH OT file
                        ·2660-RH-51394              RH OT -file
                         266H-RH-51442              RH OT file
                         2660-RH-52240              RH OT file
                         266N-RH-52670              WAW political surveillance
                         266Hf-'RH-527Hl-           RH OT file
                         2660-RH-52719              RH OT file
                         266N-RH-51811              RH OT file
                         266N-RH-52871              NSM Winchester Ken Krause
                         305C-RH-51368              WAW unknown
                         300A-RH-48442              NSM Winchester 5/06 SE
St Louis                266A-SL-186796             Lefkow murders·
                        333 -SL-Cl93761            TEI assessment tracking file
                            -SL-194-0-ASSESS       TEI assessment control file
                                   -B-4
                        336N-SL-194621              Volksfront TEI
                            -SL.;_                  Jennifer Petsche threats
                            -SL-100-0               SL TEI control file·
Salt Lake City          266N-SU-C57070              SU OT tracking file
                        lOON-SU-64908               Aryan Nations TEI
San Antonio             2660-SA-58574               James Clark Antifa
                        300A-SA-59072               SE ~SMc~!Antif~e
                        300C-SA-C59268-ARA          SE tracking file Antifa
San Diego               266A-SD-C67675              OT tracking file
San Franci sea                     -SF-44-0         SF civil rights control file
                                   -SF-             Elie Wiesel kidnapping
Seattle                 300A-SE-92275               2005 NSM rlaly
                            -SE-                    Justin Boyer CHS   1

                                                                      l
Springfield                  SI-62-0-1773            SI 62 control file
                        lOOA-SI-50564                WCOTC TEI        :
                        266N-SI-.56589             - ANSWP Phil Ander~on
                        r, ,: .
                        j_   I'•




                                     -4-
FBICase 7:08-cr-00054-EKD
     Files                Document 411-2 Filed 10/05/20 Page 11 of 487 Pageid#: 5780
             {1995-~resent)

Office                  File #                   Description

Tampa                   266N-TP-74615            US v White 13-cr~304
                        266N-TP-68716            NSM Tampa        i
                        300A-TP-68016            NSM Orlando SE 2~06
                        300A-TP-68696            NSM Orlando SE 2/06
                                                                     I

Washington Field         44B-WF-206383           1997 Stormfront ("SF") threat to
                                                 CG Congressman
                         44B-WF-207609           1997 SF threat to CG Congressman
                        2 6 &~-! - WF- 0         WF OT control file
                        266N-WF-233751           NSM CHS Kevin LNUU
                        300N-WF-212361           N8~WP Minutemen SE




                                           -5-
  Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 12 of 487 Pageid#: 5781
                                             EXHIBIT C(a)
                                                                                                       U.S. Department of Justice




                                                                                                       Federal Bureau of Investigation
                                                                                                       Washington, D.C. 20535


                                                                                                       April 20, 2018

      Mr. William A. White
      5727 Artesian Drive
      Derwood, MD 20855

                                                                                   FOIPA '1,equest No.: 1224695-000
                                                                                   Civil Action No.: 16-cv-00948 ·
                                                                                 . Subject::William A. White

      Dear Mr. White:

           The enclosed documents were reviewed un_derthe F~eedom of lnfqrmation/Privacy Acts (FOIPA), Title 5., United
      States Code, Section 552/552a. Below you will'-find check boxes under the appropriate statute headings which ·
      indicate the types of exemp}ions asserted to protect information which is exempt from disclosure. The appropriate
      exemptions are noted on the enclosed pages next to redacted information. In addition, a deleted page information
      sheet was inserted .to indicate where pages were withheld entirely and itjentify which exemptions were applied. The
      checked exemptions boxes ·used to withhold info·rmation are further explained in the enclosed Explanation of
      Exemptions.                 ·


                                       Section 552                                              Section 552a-
               r·! (b)( 1)                                   r       (b)(7)(A)                  r~ (d)(5)
               r; (b)(2)                                     ' \ (b)(7)(8)                      p    0)(2) .

               ~     (b)(3)                                  ip' (b)(7)(~)                      r~ (k)(1)
             _F_e'--·d_.R_._C_ri_m_P_r.~(~6e_,_)_·_ _ _ _    ¥       (b)(7)(D)                  t=   (k)(2)

             _5_Q~U_S_C-~§_30_2_4~(i)~(1~)_ _ _ _            ,P' (b)(7)(E)                      l    (k)(3)

             ---"'------'------ 1;'~ (b)(7)(F)                                                  r= (k)(4)
              rj (b)(4)         f~ (b)(8)                                                       r· (k)(5)
              f": (b)(5(
                                 !
                                )= (b)(9)                                                       r.,. (k)(6)
               (f;.? (b )(6) .                                                                  r.. (k)(7)
              503 pages were reviewed and 338 pages are being released.
                 .                                          \:              !     '

           Below you will also find additional informatiqnal parag:raphs about your request. Where applicable, check
      boxes are used to provide yoli with more information about the processing of your request. Please read each item
      carefully.                                                  :             ·


               P; Documents were located which originated with, or containe~ informatir;m concerning,                   other Government
                 · Agencies [OGAs].                          ·                            '

                     w=    This information has been referred to the OGA(s) for review and direct response to you.
_()                  1J'   We are ·consulting with anothe~ agency. The FBI will c6rrespond with you regarding this information
                           when the consultation is comoleted.           ·         '




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 13 of 487 Pageid#: 5782                            I
                                                                                                             i
                                                                                                             I
                                                                                                             i
              p                                                                                              I
                      In accordance with standard FBI practice and pursuant to FOIA exemption (b)(7)(E) and Privacy Act
                      exemption 0)(2) [5 U.S.C. § 552/552a (b)(7)(E)/0)(2)], this response neither confirms nor denies the
                      existence of your subject's name on any watch lists.


               For your information, Congress excluded three discrete categories of law enforcement and national security
       records from the requirements of the Freedom of Information Act (FOIA). See 5 U.S.C. § 552(c) "(2006 & Supp. IV
       (2010). This response is limited to those records that are subject to the requirements of the FOIA. This is a
       standard notification given to all our requesters and should not be taken as an indication that excluded records do,
       o·r do not, exist. Enclosed for your information is a copy of the Explanation of Exemptions.

                Although your request is in litigation, we are reqµired by 5 § USC 552 (~)(6)(A) to provide you the following
        information concerning your right to appeal. You may file an appeal by writing to the Director, Office of Information
        Policy (OIP), United States Department of Justice, Suite 11050, 1425; New York Avenue, NW, Washington, D.C.
        20530-0001, or you may submit an appeal through OIP'.s FOIAonlinelportal by creating an account on the following
      . web site: https://foiaonline.regulations.gov/fcii~/action/public/home. Y9ur app~al ml,lst be postmarked or.           ·
        electronically transmitted within sixty (60) dc1ys from the date of this letter in order to be considered timely. If you
        submit your appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act
        Appeal." Please cite the FOIPA Request Number assigned to your re~uest so that it may be easily identified .



              .r·     The enclosed material is from the main investigative file(s), meaning the subject(s) of your request was
                      the focus of the investigation. Our search located additional references, in tiles relating to other
                      individuals, or matters, which may.or may not be about yol.ir subject(s). Our experience has shown
                      such additional references, if identified to the sanie subjedt of the main investigative file, usually contain
                      information similar to the in'formation processed in the ma(n file(s). As such, we have given priority to
                      processing o~ly the main investigative file(sj given our significant backlog. If you would like to receive
                      any references to the subject(s) of your request, please submit a separate request for the reference
                      material in writing. The references:wm be reyiewed at a later date, as time and resources permit.

              j;/
                      See additional information which follows.




                                                                            David rvi. Hardy
                                                                            Section ,Chief
                                                                            Record/information
                                                                               Disseminatio~ Section
                                                                          , Record!=! Management Division


     Enclosures' (Bates pages FBl(16cv948)-1 to FBl(16cv948i-503 and Exp,lanation of Exemptions)
                  .                                                 l              I


              The enclosed documents represent the first interim release of i~formation responsive to your Freedom of
     Information/Privacy Acts (FOIPA) request. This material is being provided to you at no charge at this time. The FBI
                                                               1
     will provide· monthly rolling releases.                                  •


             As previously indicated, documents WE;lre located ~hich originat~d with, or contained information· concerning
     other agencies .. We are consulting with the other agencies and are awaiting their response. •The FBI will
     correspond. with you regarding those documents. .
                                                       when the! consultation is completed.

              Pursuant to new FOIA regulations eff~ctive on MJy 4, 2015, th~ duplication cost for paper.releases was
"    reduced from $0.10 to $0.05 per page. The quplication cost for a Compact Disc (CD) remains at $15.00 per CD.
     You are entitled to 100 free pages which you will receive as a $5.00 credit towards your first interim CD release. • As
     a result, we must notify you there will be a $25.00 charge :whe~ the second interim release .is made in this case. At
     that time y9u will be billed for the $10.00 remaining from the $15.00 fee· of the first release, as well. as the $15.00
                                                                               1
     duplication'fee for the second release, for a total of $25.00. ·
       I                                                            •
     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 14 of 487 Pageid#: 5783

                 Currently, you have a positive balance of $985 from payments you submitted in antic_ipation·9f duplication
        fees for previous FOIA requests. As the FBI makes interim releases to you, it will subtract the duplication fees from
        this balance until this balance is exhausted.                  ·                                      ·

                To minimize costs to bqth you and the FBI, duplicate copies of the same document were not processed.

                The enclosed documents responsive to your request are exempt from disclosure in their entirety pursuant to
        the Privacy Act, Title 5, United States Code, Section 552(a), subsection G)(2r However, these records have been
        processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
        you the greatest degree of access authorized by both laws.




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         Case
         - .. 7:08-cr-00054-EKD DocumentEXHI13_f_T_.
                                         411-2 Filed      10/05/20 Page 15 of 487 Pageid#: 5784
                                                     C ( c)                                   \.



FD-263 (Rev. 9-8-97)


                             FEDERAL BUREAU OF INVESTIGATION
 REPORTING O:FFICE           OFFICE OF ORIGIN                 DATE                     INVESTIGATIVE PERIOD

  RICHMOND                   RICHMOND                           09 20 2005             10 25 2004-09 20 2005
 TITLE OF CASE                                                REPORT MADE BY                                    TYPED BY
  WILLIAM ALEXANDER WHITE                                                                                                  b6
  a.k.a. Bill White                                             s                         P Kelley              k k        b7C
                                                              CH.                  .
                                                               CIVIL RIGHTS - DISCRIMINATION IN
                                                               HOUSING




                                                          -   C -       ~ Lf ~
                REFERENCE: FD-204 dated 09/?0/2005


                ADMINISTRATIVE:

                          Donald ·W. Thompson~ SAC, Richmo~d Division, has
                authorized the closing of this investigation at this time for th~
                following reasons:
                                                          I               •
                          None of the informationialready,submitted in this case
                has l~d to any threat or use 1 of force to ~vict individuals from
                their home. No qther indivi~uals :have co~e forward to make any
                more a11:egations 'regarding the captioned subject.
                        '.                                !               : '      ;

                            No further investigatio~ is being conducted by the
                Richmonct; Division at this time.




 APPROVED       wW:~.~            j
                                      :jlef
                                      ~
                                          :AL AGENT
                                          CHARGE      .
                                                                                   I
                                                                                   I
                                                                                   I
                                                                                DO NOT
                                                                                   ;
                                                                                    I
                                                                                       WRITE IN SPACES BELOW

                                  l
 COPIES MADE:                                                                      I

     1   -
        BUREAU                                                      !

    1 - DOJ                                                         '              r

    Attn: CIVIL RIGHTS UNIT,
    CRIMINAL SECTION
    2- RICHMOND (177A-RH-51892)
                                                                    ;              '
                                                                    ;
          'i)
                                                                    '              :
                                                                                   !


      DISSEMINATION RECORD OF ATTACHED REPORT:            1
                                                              Notatirns            I

 Agency                                               .   r                        i
                                                                                   i
 Request Recd.          r
 Date Fwd.                                                '                        '
 How Fwd.               :
                                                                                                               FBI(16cv 018)-68
                                                                                                                        ..
 By                                                       '
                                                          ; A       :
                                                   COVER PAGE
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FD-204 (Rev. 12-1-95)
                                                    •
            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 16 of 487 Pageid#: 5785


                                                                                                                      •
                                                     UNITED STATES DEPARTMENT OF JUSTICE
                                                            Federal Bureau of lilvestigation ·




   Copy to:                Department of Justice, Criminal Division, Civil ·Rights
                           Unit, 950 Pennsylvania Ave., Washington, DC 20531
                                                                                                                                                                        b6
   Report of:                S~   K!itherine P. Kelley                                            Office:.Richmond                                                      ,b7C
   Date:                     09/20/2005
                             177A-RH-51892

   Title:                  WILLIAM ALEXANDER WHITE;
                           a.k.a. Bill White;


                                                   '
   Character:                CIVIL RIGHTS - DISCRIMINATION IN HOUSING
                                                                                                            i
   Synopsis:                     Captioned investtgation was predicated on a complaint
                               victims who were residents:of. several properties on                                                                                     b6
                                                                                                                                                                        b7C
                             Cha man. A:venue Roanoke  · 'rginia,I and. ··arE;!rw:L~1 ·
                             Hale of Roanoke NAACP.        They; -:re claiming that


                                                                                                                     ims are a. eging
                             has been·trying to turr:i thtjir nei$h3:>orhoo~ on I
                         I      i               .                                                    .· ;!into :an all o/hite... neighbor  ...h_o_o_d-.--._ ....
                             S,ome of the victims have gi;ven sworn statements which
                        ,--,...,..................._.............._._.....,._....._..............u..'"'-'-'......,..·ons with the subject.
                                                                                                                  al1e es that the sub'ect



                                                       re use

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  This document contains neither recommendations no~ conclusion~ of th~ FBI.                                           It is the properjy of the FBI
                                                                             1
  and is loaned to y1ur agency; it· and its contents are not; to be dist~ibuted outside your age4cy.                                                         FBI(16CV948)-69
                       ---                                   •
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 17 of 487 Pageid#: 5786




  177A-RH-51892


                                                                                             b6
            Accordin     to        there were several farniliesr---1                         b7C
                         resulting from the behavior of the - s ~ -
-------..=--------~       was named one of the top 40 people to watch
  by the Southern Poverty Law Center, when talking about radical
   anarchists. According to the Southern Poverty Law Center, his Web
   site, overthrow.corn, is the second most popular racist site on
   the internet. The Web site proclaims to be violently opposed to
   jews, blacks and homosexuals, among others. He is the creator
   and operator of overthrow.corn.
             Since July 2004, there have beeµ multiple articles in
   the local newspaper documenting the court; proceedings between
  William White and his tenants. Both form'.er tenants and White
  have been in and· out of the courts regard:ing trespassing on the
  properties owned.by White.                  ·
  ·          A search of public records has yielded the William
  White, also d.b.a White Homes and Land LLC owns eight (8)
  properties in Roanoke.    Six of these·properties are·on Chapman
 ·Avenue and two are on Patterson Avenue.       A search of the
  Virginia Employment Commissi~n was negative for William A. White.

  UPDATE:
    '                                  '


                                                                                              b6
               . :           On 9/20/2005, S A ~ s p o k e with,....__ _ _ _ _ _ _ ____.
                                                                                              b7C
,__.l<lwl,,1..-l,.w..,.!·:~rney for the Depart~Justice, Civil Rights Unit.           SA
     Kel 1 e·y riotified!.                  !that th~re were: no more individuals
                 st~ternents against the baptioned subJect in this matter.
            '                                       '




                                           - C -

  DETAILS:.
             · ·   Enclosed for the, Departmj=nt o,-f Justice, Civil
  Rights Division, _Criminal Section; Washin~i, ton, D.C. are the
  following documents:

                    J On, (1) inser~ documenting investigation
  conducted by S~ Kelley in the pos~ibie id~ntity of another victim                           b6
  in this ,matter .                                                                           b7C

                        •     One   Ill Fn-•ri oflS•m~er Bo~ing
  regarding! her tenancy with,:-             -~illiam yllhite.
                                                I       '

                              Copy of additional written statement by



  ADMINISTRATIVE:


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                                                                                   FBI(16cv948)-70
                                                                  •
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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 18 of 487 Pageid#: 5787
            ~




                177A-RH-51892



                                 Special Agent in Charge, Donald W. Thompson,
                Jr:, Richmond Division, Federal Bureau of Investigation (FBI),
                has authorized the closing of this investigation at this time for
                the following reasons:
                                 None of the information already submitted in
                this case has led to any actual threat or use of force to evict
                individuals from their homes. No other individuals have come
                forward to make any further allegations regarding the captioned
                subject.
                                 No further investigatioq is being conducted by
                the Richmond Division, FBI, at this time.




                                                   3


                                                                                     FBI(16cv948)-71
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 19 of 487 Pageid#: 5788
                          EXHIBIT D( a)( i)

                                                                                               U.S. Department of Justice




                                                                                              Federal Bureau of Investigation
                                                                                             Washington, D.C. 20535

                                                                                             September 20, 2018

      Mr. William A. White
      5727 Artesian Drive
      Derwood, MD 20855

                                                                          FOIPA Request No.: 1224695-000
                                                                          Civil Action No.: 16-cv-00948-E
                                                                          Subject William A White

      Dear Mr. White:

              The enclosed documents were reviewed under the Freedom, of Information/Privacy Acts (FOIPA), Title 5,
      United States Code, Section 552/552a. Below you will find check boxes under the appropriate statute headings
      which indicate the types of exemptions asserted to pro~ect informatiqn exempt from disclosure. The appropriate
      exemptions are noted on the enclosed pages riext to redacted information. In addition, a deleted page information
      sheet was inserted to indiGate where pages we~e withheld entirely and identify which exemptions were applied. The
      checked exemption boxes used to withhold :information are further explained in the enclosed Explanation of
      Exemptions.                                   ·

                                      Section 552                                      Section 552a
              r    (b)(1)                                ir (b)(7)(A)                  r    {d){5)
             r~ (b)(2)                                   r    (b)(7)(s)                p    0)(2)
             ~~~                                         p~~q                          r    (k)(1)
             Fed. R. Crim. Pr. (6e)                      ti~· (b)(7){q)                r    (k)(2)
            - - - - - - - - ' ~ - - - - ii'(                  (b)(7)(~
                                                                                       r    (1<){3)
                                                         /; (b)(7)(F)                  r-   (k)(4)
            ------------- rr (b)(8)                           0



                                                                                       r· (1<)(5)
             r-/(b)(4)
             r :{b)(5).                                  ij= (b)(9)                    1=   (k)(6)
             !;;, ;(b)(6) .,.   .                                                      ,~·•{k)(7)

             511 pages were reviewed and 215 pages are being released.

               Bel~w you will also find additional informational p~ragraphs ,aboLt your request. Where applicable, check
    boxes are used to provide you with more inform·ation about;the processin·g of your request. Please read each item
    carefully.                                                     ·

             r     'Document(s) were located which originated wjth, or contain~d information concerning, other
                   . Government Agency (ies) [OGA].                           '

                 ·r       This information has been referr~d to the OGA(s) for revjew and direct response to you.
                   rr=:   We are consulting with· another. agency. The FBI will correspond with you regarding this information
                          when the consultation is completed.       ·             ;
             ii~                                          '           :           ;
                     In accordance with standard FBI practice and;pursuant to F.OIA exemption (b)(7)(E) and Privacy Act
                   . exemption 0)(2) [5 U.S.C. § 552/55?a (b)(?){E)/0)(2)], this r~sponse neither confirms nor denies the
                   . existence of your subject's name on any watc.h lists.        l
      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 20 of 487 Pageid#: 5789




                   For your information, Congress excluded three discrete categories of law enforcement and national security
        reco~ds from the requirements of the Freedom of Information Act (FOIA). See.5 U.S. C. § 552(c) (2006 & Supp. IV
        (201 O}". This response is limited to those records subject to the requirements of the FOIA. This is a standard
        notification that is given to all our requesters and should not be taken as an indication that excluded records do, or do
        not, exisl Enclosed for your information is a copy of the Explanation of Exemptions.

                 Although your request is in litigation, we are required by 5 USC § 552 (a)(6)(A) to provide you the following
        information concerning your right to appeal. You may file an appeal by writing to the Director, Office of Information
        Policy (OIP), United States Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C.
        20530-0001, or you may submit an appeal through OIP's FOIA online portal by creating an account on the following
        web site: https://foiaonline.regulations.gov/foia/action/public/home. Your appeal must be postmarked or
        ~lectronically transmitted within ninety (90) days from the date of this letter in order to be considered timely. If you
        submit your appear by mail, both the letter and the envelope should be dearly marked "Freedom of Information Act
        Appeal." Please cite the FOIPA Request Number assigned to your request so it may be easily identified.

                 r        The enclosed material is from the main investigative file(s) in which the subject(s) of your request was
                          the focus of the investigation. Our search located additional references, in files relating to other
                          individuals, or matters, which may or may_ not be about your subject(s). Our experience has. shown
                          such additional references, if identified to the same subject:ofthe main investigative file, usually contain
                          information similar to the iriformation process~d in the main file(s). As such, we have given priority to
                          processing only the m_ain investigative file(s) given our significant bacldog. If you would like to receive
                          any references to the subject(s) of your request, please submit a separate request for the reference
                          material in writing. The references will be reviewed at a later date, as time and resources permit.


                 P"       See additional information which follows.



                                                                             Sincerely,


                                                                             ~~~
                                                                             David M. Hardy
                                                                             Section Chief
                                                                             Record/Information
                                                                               Dissemination Section
                                                                             Information Management Division




        Enclosures ~Bates pages FBl(16cv00948)-2522 to FBI (16cv00948)-3032 and Explanation of Exemptions)
                      1
                 The enclosed documents represent the sixth interirji release of iriformation respon_sive to your Freedom of
        Information/Privacy Act (FOIPA) request. This material is being provided to you at no charge at this time. The FBI
        will provide monthly rolling releases.         ·           '               ·

              · Curr.ently, you have a positive balance 0{$930.00 from payment~ you· submitted in anticipation of duplication
        fees for pre~ious FOIA requests. As the FBI ma~es interim releases to you, it will subtract the duplication fees from.·
        this balance:until this balance is exhausted.              ·

                The,enclosed documents responsive to;your reque~t ar~ exempt from disclosure in their entirety pursuant to
        the Privacy Act, Title 5, United States Code, Section 552 (a), subsection (i)(2). However, these records have been
'i!     processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
        you the greatest degree of access authorized by ~oth laws.                i                           ·
Case 7:08-cr-00054-EKD Document 411-2
                          EXHIBIT     Filed 10/05/20 Page 21 of 487 Pageid#: 5790
                                   D(a)(ii)
                                                                   ----------------
                                                                                                                                    U.S. Department of Justice




                                                                                                                                   Federal Bureau of Investigation
                                                                                                                                  Washington, D. C. 20535

                                                                                                                                  October 22, 2018

     Mr. William A. White
     5727 Artesian Drive
     Derwood, MD 20855

                                                                                                                FOIPA ~equest No.: 1224695-000
                                                                                                                Civil Action No.: 16-cv-00948
                                                                                                                Subject William A. White

     Dear Mr. White:

              The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
     United States Code, Section 552/552a. Below you will find check boxes under the appropriate statute headings
     which indicate the types of exemptions asserted to protect information exempt from disclosure. The appropriate
     exemptions are noted on the enclosed pages: next to redacted inform:ation. In addition, a deleted page information
     sheet was inserted to indicate where pages were withheld entirely and identify which exe111ptions were 9 pplied. The
     checked exemption bo~es used to withhold info1mation are further explained in the enclosed Explanation of
     Exe(npti0n·s.. _-                                      ·             ·

                                                    Section !i52                                                            Section 552a
             r·· (b)(1)                                                                   r       (b)(7)(A)                 r    (d)(5)
             r      (b)(2)                                                                r       (b)(7)(B)                 P'   0)(2)_
             -f:7   (b)(3)                                                                .P.'. (b)(7)(C)                   r    <1<)<1>
           _Fc...;e:..c.d-'--R-'.--..::..Cr'-'--im--'-'-P'-'-r.-'-'(6c..:.e,_i_ _ _ _ _   'ir,7   (b)(7)(0)                 r    (k)(2)

           _5_0_U_S_C-§_3_02_4~(i~)('-~I_ _ _ _                                           i!R' (b)(7)(E)                    r    (1<)(3)

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                                                                                          [:-; (b)(7)(F)                    r    (1<)(4)
              f; (b)(4)                                                                           (b)(8)_                   r    o<)(5)

             r= (b)(5)                                                                    !i (b)(9)                         r    (1<)(6)
              r,7. (b)(6.)        .                                                                                         r. (1<)(7)
             510 pages· were reviewed and 301 pages are b~ing released. :

              Below you will also find additional informational ~aragraphs adout your request. Where applicable, check
   boxes are used to provide you with more information about the processing of your request. Please read each item
   carefully.                      ·       ·.:                  ·      '     ·                             ·

             17 Documents wer~:locatet;Which originated with, or contained information concerning, another
                                                                                                                      1
               '      Government Agency [Oi'JA].                                                            .

                    r      This information has been refe(red to th~ OGA(s) for rJview and direct response to you.
                    p:     We are consulting witb anoth~r agency. : The .FBI will torrespond witll you regarding this information
                           when the consultatio;1 is completed.                    ·
             p                                                                            .                           .
                     ln accordance with standard FBI practice arid pursuant to:FOIA exemption (b)(7)(E) and Privacy Act
                     exemption 0)(2) [5 U.S.C. § 5521552a (b)(7)(E)/0)(2)], this response neither confirms nor deni~s the
                     existence of your subject's name on any watch lists.       '
     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 22 of 487 Pageid#: 5791




                   For your information, Congr~ss excluded three discrete categories of law enforcement and national security
        records from the requirements of the Freedom of Information Act (FOIA). See 5 U.S. C. § 552(c) (2006 & Supp. IV
        (2010). This response is limited to those records subject to the requirements of the FOIA. . This is a standard
        notification that is given to all our-requesters and shbuld not be taken as an indication that excluded records do, or do
        not, exist. Enclosed for your information is a copy of the Explanation of Exemptions:                            ·

                  Although your request is in litigation, we are required by 5 USC § 552 (a)(6)(A) to provide you the following
        information concerning your right to appeal. You may file an appeal by writing to the Director, Office of Information
        Policy (OIP), United States Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C.
        20530-0001, or you may submit an appeal through OIP's FOIA online portal by creating an account on the following
        web site: htfps://www.foiaonline.gov/foiaonline/action/public/home. Yo'ur appeal must be postmarked or
        electronically transmitted within ninet~, (90) days from the date of this lefter in order to be considered timely. If you
        submit your appeal by mail, both the !atter and the envelope should be clearly marked "Freedom of Information Act
        Appeal." Please cite the FOIP.A Req-.iest Number assigned to your request so it may be easily identified.

                 1       The enclosed material i;; from the main investigative file(s) in which the subject(s) of your request was
                         the focus of the investigation. Our search located additional references, in files relating to other
                         individuals, or matters, which may or may not be about your subject(s). Our experience has shown
                         such additionaf· references, if identified to the same subject of the main investigative file, usually contain
                         information similar to the information processed in the main file(s). 'As such, we have given priority to
                         processing only the mai;1 investiga_tive file(s) given our sigi,ificant backlog. If you would like to receive
                         any references to the sl!bject(s) of your request, please s~bmit a separate request for the reference
                         material in writing. The references will be reviewed at a later date, as time and resources permit.

                 ~-      See additional information which follows.



                                                                              Sincerely,


                                                                             ~Ottj~
                                                                             .David M. Hardy
                                                                             ·Section Chief
                                                                              Record/Information
                                                                                Dissemination Section
                                                                              Information Management Division·




        Enclosures (Bates pages FBI (16cv0G948)-3033 to FBI (16c\100948)-3542 and Explanation of Exemptions)
                     I      • •                   •          '                        •    •               •



               The enclosed documents represent the seventh interim release of information responsive to your Freedom of
        Information Act (FOIPA) request. Thls material is being provided to you at no charge at this time. The FBI will
        provide monthly rolling releases.  ·:         ,        ··             :                 .               ·       _

               . To minimize costs to both yol!·:and the F:BI, duplic~te copies of the same d~cument were not processed.

                 Currently, you have a positive balance of $915.00, from payments you submitted in anticipation of duplication
        fees for previous FOIA requests. As the FBI 1'nakes intedm releases to; you, it will subtract the duplication fees from
        this balance until'this bal_ance is exha1jsted.            ·           :

                The enclosed documents responsfve to ·your request are exempt from disclosure in their entirety pursuant to
        the Privacy Act, Title 5, United States Code, Section 552 (a), subsection 0)(2). However, these records have been
!1      processed 'pursuant to the Freedom c-f lnformaUon Act, Title 5, United States Code, Section 552, thereby affording
        you the greatest degree of access authorized bY, both laws.              :.       ·

                As:previously indicated, documents wer~ located which originat~d with, or contained information concerning
        another agency. We are consulting with the other agency and are awahing their response. The FBI will correspond
        with you r!'=lgarding those dpcuments when the ~onsult£1tion is complete.'
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                    Case 7:08-cr-00054-EKD Document 411-2D1..b)    Filed 10/05/20 Page 23 of 487 Pageid#: 5792
                    ,•JJ




       (Re•r. 01-31-2003)




       J




                       Precedence:                       ROUTINE                                                                  Dat~:   10/20/2005
                       To:         Counterterrorism                                          Attn:         I    DT,OU..._)_ _ _ _ _ _ _~
                                   Richmond                                                  Attn:              Sf?AI                                                        I   b6
                                                                                                                                                                                 b7C
                                                                                                                Counterterrori_sm Coordinator
                                                                                                                                                                                 b?E
                       Fz-om:          Richmond
                                          Squad '7 /Roa:nor'k.,,,e~·RA~==-~~-~~==---------;i
                                          Cori.tact: ~Af Katherine P Kell'eY               I
                                                                                                                                                                                 b6
                           Approved By:                                                                                                                                          b7C

                           Drafted By: ...

                           Case ID #: 2661-~-NJJ:W
                                                           ·~    :            .
                                                                           (Pending)
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                           Titleg           WILLIAM A:; /)vHITE;     J                                                                                         _
                                            aka B-ILL );T.HITE; -..L   . ·                                                                                     -
                                            dba Unit Leader,/~ational Socialist Movement;
                                            AO.T-DT-VC
                                                                                                                                                                                 h7E
                           Synopsis:                   Reque~t approval to open above~r--------,-.-----


                           Details~ Willia~:A. J~•~it~,_ ;sbciaJ.'.          Account Number        Security
                                  .,, date!:of 'birt1J           1  P.O. Bqx 8631, Roanoke 1
                           Virginia;; 240i;4, :~s the r~cognize~ lead.er ;of The National
                           Socialist Movement (NSM) 1n 1;:he Roanoke area.      .
                                                       - . -... - .. ----- -~-        - --. -;     -   .   --    - .:j--- - -
                                        The NSM · (aka NSM88) is cl;Ctivist ~group which op~nly
                           claims to be an organizationfdedic,ated toithe preservation of
                           Aryan Heritage arid the creation of a.Natiq~al Socialist Society
                           in America          I
                                                       and
                                               around the world. ·The group is se·lf-proclaimed
                                                                                  •           I•       l             ~    ·         ,           ..   -             •,.   •

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                           tn the. United Sta;tes today.· iNS~ cp--,opera~$s and-works with many
                           like-.mi13:deq. white· nationali~t: g;roups ·'.such §~s Ku Klux Klan {KKK),
                           Aryan Sk,j;nheads, tt,i.e Racial 'l\Jation;cil.i,st P~~ty of Americar and
                           many others which .are neo Nazi or _an ·:affiJ;iated group.
                                                                                  !   1       !                  :   ~        !



                                       The group was .. cre~te~ ip 1975 ~~~m t~e ~~~PP,                                              which                                       -h6
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                            was a SP.in-off from the       pl,;l.~.I..J,,!,i;;;;_.l.l.l;.J.J.!;,.;,1..1,d;;J..l...~c we 1 s·Nazi
                           ·Party. M~tt ias Koe·                                                      ..                     · · - _· ted
                            to lead i    196 ·after Georg~ ifinc;blh R_~c~w:ell was killed!. Both
                            aforementione gr_qups were :i,nspire,ci by A oit Hitler, with the
                           movement• ·having members in md:i;t- st'at~s anci \in some overseap
                            t,erritories.· The logo or symbql of ~he NqM is the Swastika or
                            Ha]cenkreuz.            .       :..                           /o.f:u/os .      .--:----= d ~
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                 uuc: L-t!.  Hied: 12/17/2018    Pg: 67 of 163
 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 24 of 487 Pageid#: 5793

To:   Counterterrorism   From:   Richmond
Re:   266A-RH-NEW, l0/20/2005




          William A. Whiter aka Bill White has been extremely
public with his affiliation with NSM in the recent months.
Following the Federal inyestigation into the killings of a
Federal Judge's family in Chicago, l~hite l?poke publica1ly in
support of the act of violence and applauded the actions. In
approximately, June of 2005, White began to proclaim himself as,·
"Head of the Roanoke chapter 11 of the Minneapolis 1 MN based NSM.
           On Saturday 10/15/2005, in Toledo; Ohio, the NSM staged
 a m~rch against b~ack gangs harassing white residents. This
.march turned into .national news sparking riots in the city of
 Toledo. NSM had ~pprmdmately 20 members involved in the march,
 with·Wh~te being _qne of tl;lem._ White came out on the national
 news circuit in s~pport of NSM'S caus.e. White was one of the
 organizers for the march in Toledo.
            White is the owner and creator of a Nazi Web Site,
www.·overthrow·.com~ It is also t~rmedr "Li):;iertarian -Socialist
News 11 • The web s_i te is the second most popular racist ~i te on
the Inte~net afte:i;- Stormfront. The web si_te is violently opposed
to Jews, homosexuals, -blacks; among-other~~
           White has an exten~ive arrest re~ord, some.dating back
to the age of 15. Arrests include,. q;ssault and battery,
conceale;d weapon violations, ·. dest:r:uction o.:i: property, malicious
destruction, resisting arrest, and violation of probation.




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                          I    -,:_ 1-11ea: 1::::117 /2018 Pg: 68 of 163
Case .
       7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 25 of 487 Pageid#: 5794
 To:               Counterterrorism        From:     Richmond
Re:                266A-Rl°":J-l\l~Wr ·io/20/2"005




 LE.AD{s):

 Set Lead· 1:                 (Info)

                    COUNTERTERRORI8M
                         AT WASHINGTON, DC
                         Read and Clear.




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                                                                        FBI(16cv948)-2817-
                                  •                                     •
         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 26 of 487 Pageid#: 5795
                                            EXHIBIT D(c)
(Rev. 01-31-2003)
                                                                    .             .
                        !FEDERAL BUREAU OF INVESTIGATION


          Precedence:        ROUTINE                                    Date:     12/14/2005

          To :      Richmond
          From:       Richmond
                         Squad 7/Roan~"'"!--..,,._..___ _ _ _
                         Contact:
                                                             -,--=-----------,
                                                          P Kelley                                      b6
                                                                                                        b7C
          Approved.By:

          Draft:ed- By:

          Case ID ti: 266N-RH-52670             (Pending)
          Title:       WILLIAM ·A~ WHITE;
                       aka BILL WHITE;
                       dba Unit teader, Natipnal Socialist Move
                       AOT-DT-VC
          Synopsis:  To re~est a Grand:Jury:Sub file be opened in the
          above captioned case.
          Details:    It ·is r~quested a G:j:"and Jury sub:file be opened in the
          above. ·captioned case.




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                     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 27 of 487 Pageid#: 5796
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                                                                          -----Working Copy----                                               Page       1
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     Precedence:                                       ROUTINE                                           Date: Ol./10/2006 \
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    To: Countert·errorism                                                           Attn:                                                                    b6
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                     Albany
                     Anchorage
                     Atlanta

                      Birmingham
                      Boston
                      Charlotte

                      Chicago
                      Cincinnati
                      Cleveland
                      Columbia

                      Dallas
                      ..... '·- ·,
                      Denver
                      Detroit


                      El Paso
                      Houston
                       Indianapolis
                       Jackson



                       Kansas City

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                                                     266'I-.SD-C67675-2-                                                  39
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       Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 28 of 487 Pageid#: 5797
                                  ---- Working Copy                        Page         2

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       Mobile                                                                               b7C
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       New Haven
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       New York
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       Omaha
       Philadelphia
       Phoenix
       Pittsburgh


       Portland
       Richmond
       S.acramento
       St. Louis
       Salt Lake City

       San Antonio
       San Diego
       seatt1e -
       Springfield
       Tampa


       Washington ·Field

From:       Crunte~errorjsm
                Contact:   IAi                                                              b6
                              ------------'-'------'                                        b7C
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Approved     By:I_____________.
Drafted By:      '--------l
Case ID#:         100A-HQ~C1~52807-B (Pending)
  .,             UQM.-MP"'6.3291 (Pend@)

Tit'le: DOMESTIC TERRORISM INTELLIG:E;NCE;
        WHITE SUPREMACY/CHRISTIAN 'IDENTITY
        u   NATIONAL   S_OC-IALIST MOVEMENT; .

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WARNING:   INFORMATION CONTAINED HEREIW. MAY ~ T E FROM SENSITTV~
SOURCE INFORJ.7/JATION AND/OR MAY BE 1siiJGTJLA..lt IN NlfrURE.
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               -r.J..f LIU\.,. t:..-t:.. 1-11ea: 11/17/2018 Pg: 72 of 163
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 29 of 487 Pageid#: 5798
                                                                                                                         --·-i
                                                     Working Copy                                             Page .      3

  OF THIS INFOR1'IATION COULD JEOPARDIZE RELD-'illLE Al."\JD SENSITIVj:!:
                                              SOURCES.                                                                               I
Synopsis: To provide information regarding recent significant or
interesting activity concerning the·Ku Klux Klan(KKK), the
National Socialist Movement (NSM), and other white supremacist
                                                                                                                                     !j
organizations. Only those groups or individuals currently the
subject of an investigation or affiliated with persons ·or groups
under investigation are discussed.
Details: The following information is derived from a variety of
sources 1 which may include investigative material, source
reporting, and open sources.
Ku Klux Klan (KKK)
          On 2.1 December 2005, sealed indictments were returned
     against ·seven menil::iers of the'Nations Knights a£ the ·KKK and
     the Confederate State ICnights of the KKK tjy a federal grand
     j,ury r Eastern District of North Carolina 1 Raleigh 1 North
     Carolina.

                                The :indictments are for various criminal violations
                 related to pqssession·o~ explosives ~nd illegal
                 pgs ~E'::s~J9_If_..<?.;E; . ~ i.=!="~i:!~II}s_.:. , . ,A.l~-- ~t ._th~ ~l}c1.:,;ge_s in the
                 indictments relate to ·evidence. obtained from searches
                 at the home       o:f I         . ;..         . .
                 interyiews wi.tii various .:sub3ects. an ;witnesses.
                                                                          J:and          : .
                                                                                                  from                        b6
                                                                                                                              b7C

             .----,-_.,_______,l~w~a~s......,c=h~·a~r~g~e~d,..,_~an=d,_ar=·~r~e=s=t=e=d--1=·n=·~l------------ilfor
             I                                            .         ..                                       I
                 At the -time, he was-already in custody awaiting trial
                 on state murd_er charges-.'           ;·
                                                                                .
                              Additional indictments a.re e?Cf)ecteo..
 Analyst comment: The indictments stem_ from ·a: joint ·
         FBI~ATF investigation in~o _the·Nation~ Knights
                               ·                 ·    we_a:g_o.ns_/ !'=.:k.plo.aµ.es vioJ at i ons._
                                                                                                                              b6
                                                     faces    state mur'd.er char es far-                                     .b7C
                                   o-                 '              '      '   i~
                              He has yet tp. sta:¢.d trialj.' Other group
                 members have accepted plea ag:teementsi :in this matter,
                         1
                 .and await sentencing. TJ;le above· indictments relate
                 solely to the ATF chargei:3.a.
         According to irif ormation post_ed to the\ Btormfront bulletin
                                                          0

     board (www. stormfront. org) on. 24 December ~,f005, the South
     Carolina-realm of the Empire·rtnights of th,e KKK plans to
     hold a march.in Greenville, South Carolina,· on 16 January
     2006. The ma.rch was originaily scheduled tor the 13th but
     was changed to coincide with the observance, of Martin Luther
     King's birthday.
Nation.al Socialist Movement (NSM)
             The NSM will be holding a rally in Lani3j:i.ng, Mich.igari, on 22
                                                                                I'



                                                                                                             ' FBI{1-6cv948-}-298 ,
                                                                                                                                     ·1
     I        1- - - - • •   --  i--11ea: 1~11 //~018
                                  • .._,              Pg: 73 of 163
     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 30 of 487 Pageid#: 5799
                                Working Copy---,-                       Page       4:

  April 2006. According to information on th_e NSM web page
  {1,,rww.ns11}88._com), the two-hour rally will begin at 1400 hours                                                           I
  and will he 11 in the Spirit 11 of the national :i;-allies held at
  the Valley Forge, Pennsylvania, ·National Military ·Park in
  September 2004 and the Yorktown 1 Virginia, National Military
  Park in June 2005. Th~ rally reportedly will also be held
  in conjunction with the .group-'s annual national
  organizational meeting as well as the 20 April celebration
  of Adolph Hitler's birthday anniversary.         Analyst comment:
  Source .information indicates that the NSM expects upwards of
  300 people to attend the rally.a

                                Information on the NSM web site indicates that two
                     other events may. be held in the coming month_s; however,·
                     no locations or dates are given_. An II impromptu march 11
                      ( wa_lking picket ) ·or rally may be he:ld in the Central
                        11             11

                     Midwest sometime in the fall_ or winte~, and a large
                     11
                        historical·event 11 may heneld in late summer in
                     conjunction wit.h the Keystone State Skinheads somewhere
                     on the East Coast.
                                           to sensitive source information
                                                                     the NSM may aiso
                                                                            in                                           b7D
  ~~~----b,,..,.,...~,,,.r------:----~-------ilon                              dates
  no ye       e ermined. These events may be more like the
  ocf.ober···206.s··i-ally iri To°ledo/· ·011ic:i; -·1:hi,it "tµrned. ·1ri.to one· of
  the worst riots in.that state's history. The Toledo -~ally
  was seen _as extr~mely successful by t~e NS~ because of 'the
  media coyerage itireceived and the increase· in members and
  donations.
~..nalyst comment: Source reporting indicates that the
          NSM leadership considers ·the various -;i:;ecent rallies,
          particularly the October ::r;ally. in Tol!:;!,do, to have

              .·I     frsreau,Hmeot               7forts ·
          greatly increased the grpup' s visibil:i.ty and aided in
                                                           I •·.            ''               I                           b7D




                   A message posted to the B;tqrmfront bul~:etin board
   · (www·. stormfront. o:r:;g) on 31 Dedernber · 2 0 0.5,
                                                   i:itates that the
    NSM is planning a:rally and a!:white unity     W:eekend in July
   2006 in Se_attl~, Washington,. w::i,.th more infprmation to
   follow.   Analyst·comment: tµe NSM_web sit~ identifies this
   as a picnic/camping event for. the July 4th\w~ekend.a
                                                                            i .

                                .Another messam=! pOS"G:d to_            Stp···:
                                                                         ,front          ·:n 2~uDnei· tcembe_r
                       2005 by the NSM leade_r off_ th~..,.:----,.--'---,-,,----,-.---,---"""'j
                                                                                                                         p_6
                       advises of a major rallYj in t e stat_e;j ; ate an                                                h7C
                       location not given but likely a reference to                      ~----~
                             · . This -;individual! :' ·    '· '
         ,1                    tele hone numbers . ·
                       a     mail                  i        1,
                                                                            ·t.
                       ·         Analyst comment;=c-  e· 's oh~ ·reference                       but   no
                       identifying data in ACS ;fq ' · · andj ;the above
                       telephone numbers.             A sei3-rc    o   ·. e L~;x:isNexis public

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                      UUl,, c..-t!., Hied: 12/17/2018 Pg: 74 of 163
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 31 of 487 Pageid#: 5800
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          the.,__~te_
          connecting
                     ••        number. No information could be
                              to the .second telepha;;:;,·=e""="',.,...,,,
          additional 1 en ifying data rega                ·   .'
                                                                                                             b6
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          found   Qn 25 Decem;r 2Q:5-     rs.M    ;: s a e leader,
         Iu. n i t 1 ? n                  _ joine with the I         I
                                      aemonstration ·in Des Moines. a ·

       I
    advising thaE the .L\fSivi will liold a   11
                                                    j Bt:.ormfront on I
                                                   walk and, pickets'""_n-_-o_n_2.,....2_ _...,
                                                                                                             b6
                                                                                                             b7C
    January in Olympia, Washington. No further information is
    provided. A separate posting advises that th~ event will be
    a white pow~r r:Jlv to which a large turn out has been
    committed. L ~        . jnarne is listed as a. point of contact.
    Similar informaion appears on the web page o.f the Oregon
    NSM chapter, www.nukeisrael .. com.

           Messages posted to the Stormfront bulletin. board in late
    December and early January anµounced £ive new NSM points of
    contact: Butte,. ·Montana. (NSMButte@msn ~ corn and NSM Butter
    33·-36 Harrison Ave., Suite ·121·,· Butte, MT 5-9701); northern
    Minnesota, _serving'.·the Iron Rarige area
     (nsm_ironrange@hoti;nail.com) ; St. Louis., Missouri
     (I?-S~§!:J..?_El~Yi?:49Q: 29.WJ.i . P.eriver.r C_qloraqq . . . .
     (-dennsm8~@yahoo. coi:n) ; and Nas_hville, Tenhe.ssee
     (nsmtennessee@yah6o.com).

        On 24; December· 2005, a mep,sage, captiop._ed 11 Rallies 2006 (top.
    10 dangerous citie~), 11 was· pos_ted to the st:ormfront bulletin
    board. T1:1,e ressaq:e nrrrn:ides ~;nformation t~at ap~eare~ on
    t1;e web site_       .         •   ~~-halturnersµpw.co _    _
    listed the ten ·most dan erous! :cities in thet US accordin to
                                                                                           I                 b6
                                                                                                             b7C
     BI c · e      orts, · i:l.Ild     -···             ·: ,
                   in 2006.        Anal· st _'.comment: ii   an

    the·NSM a rally in.Kingston, New York, in Nbvember 2005.
    The rally was to p:i;otest an al:l~ged assaulf of a white high
    school student·~y ~n At~i~q.Il~Am~+iQgfi.~ Xhe;px._qt~s..t..wa..s h.eld
    with,out incident.and with no:a'rrests beingi:made. There was,
    however, an extensive and visible police p~~sence.a
                                                              ! .

                    The~e cities ar~, in order: ~~mden, New Jersey;
          betroit,. Michigan; Atlant:a, Georgia; $t . Louis,
          Missouri; Gary, Indiana; : Washington, :iic, Hartfordr
          Connecticut; New Orleans'., Louisiana; ~ichmond.,.
          Virginia; and· Birmingham·, Alabama:

Some comments to the Stormfront post are : · 11 • • 1• marches
         should be held in each one of those cJ;ties ,a and in
          thosea.that ·erupt in violence we shoµld hold one more
          rallya just to show th?,.twe don't bab~ down, 11 and
         " ... we need to provoke tl:i'eim. in _.acting) like wild. beasts
         so that people can wake~ and·see thf:;i.r true nature.rr
                                                               ;
                      Analvst comment.:      The NSM l~p.der?hip also knows that
          the police must protect them d1:IT.ing th'.ese ra·llies,

                                                                                               FBI(16cv948)-2987
                                                                                                                    ·1
                                                              Pg: 75 of 163
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..             Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 32 of 487 Pageid#: 5801
                                          Working Copy----                        Page       6

                         sometimes spending ht;u-idreds of · thousands .of dollars of
                         public funds in the process. Several· messages have         •,
                         been posted on Storrnfront commenting that complaints
                         have been made in the media about such spending. The
                         postings contend that the authorities:must either
                         provide protection or allow the viol.er:i.ce and r.ioting
                         thereby creating a public relations nightmare.
                         Discussion was made· tha~ television. i~ages of rioting,
                         as occurred in Toledo_, and violence against the
                         marchers might awaken whites to join ·the movement. a
 Church of the Sons of Yahweh
       r---l,o~._--..,,...,...___...,__,,_;_________Jthe now-imprisoned                                                                                       b6
                                       Church                                         Ya weh ( CSY) ,                    and CSY                              b7C
                                                                                                     ·                        'ng from
                                                                                                                               and
                                                                                             A p'ea agr~ement was
        reached and both w~re scheduLed to plead guilty to all
        counts on[   ... ·: '.; ·J but they w:ithdrew th,E;iir _pleas and,
        requested new atto~~e s. • The request was denied. A trial -
        date has been set •_;for            ·     I1                ·
                     0   AI ....
            the CSY w~fi site
                                      . ...                                                                                    forum of
                   · · t e                                                                                                                                    b6
                                                                                                                              posting,                        b7C
               e resigna                                                                                  ,~>-.&!.b!.la.!.-.:61.do""'-,l-ering
            viewpo,f""'~L.-;J~~""'1,..I,-._;.~::--'.::=-::~
            former,.-----L..l!X.Sl!.S...~~BEM-~'::-A--~------~~--=-==--==-i
                                                          e                                                     or
       4-~---~------~-----1.lM.!.J..J...J.;h iaentifies .itselt as
                                                                     As     early January,           of
        however,                              continued. to -post messages, to the. CSY
        -foiB.m. a            .____                                                                  '.
     On 3                                                                                                                                                       b6 -
                                                                                                                                                              · h7C


                                                                    :   ~.
                                         address
                                           ..,u.s....J.J;~w:..J..J;;~~in th~ m~ssage
                                                                                            ..        i                                                        b6
      Analyst                      i;:.:....J._ _ _ _
                                                                            u,s\ing the identity                                                               b7C
                                      Note-:                                 1:       ' te
                         sup+emacist lead~r           =di_;_•:e_d----'=----~1_:___~ Re had
                         earlier been cha              ·;' '                 1 'as his successo_r
                         to le                                          i ·                          : ·  and tel~phone
                         numbe     .'=-·-----~-~ are· ,reference                                 i:nr a New Orleans·
                -~       Division                         'on ~eporting                     on       db~uments seized
                         following                            arrest. - ~. Goo.gle1search on the
                          nternet                              er : ro · d  · he ;address of                                   ._!_ ·_ ___


                                                                                         1.
                                                                                                 Th:e:
                                                                                              telephone
                                                                                  A review. oft    ~~h~e,._____---i
                                                                                indiqatesj '.that._!_ _ _ _ _ __.
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                                                                                                                                                 fBI(16cv948)-298~
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                                                    rlll:;U: J_L./ J. / /LU18 , Pg: 76 of 163
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  ,.                Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20,. Page 33 of 487 Pageid#: 5802
                                            - - - - Working Copy - -,- -                      Page   7

                                          -~-1:2l.d-(above s telephon~  number) has resided at
                                                              · ce 1989. His date o.f birth is
                                                                                                  the.
                                                                                                  listed
                                        as                    and                          and his BS.AN
                                        is listed as'L-r---i-------------___!i-1..!..!.l;;..u..l.o..l.~,~g
                                        information on           can be found in
                                        serial!      la"===~~                        ~----~--~
            If there are any questions or comments relating to the above
       inforrnat~g11 or arnr chancres to tbe di sseroipation listr please
                                                     I
       contact ~-
        LEAD(s):
                                        ..,_--~-~--=-=~~------!
       Set Lead 1:                          (Discretionary)
                    ALL RECEIVl~TG OFFICES.

                                        For any actioh deemed appropriate.



                                                                                                                          b6
           1.       -     M·r       I
                                                                                                                          b7C
       1            Mr.
       l        -       Mr.
       1            Mr·.
       1 - Mr,·.
       1 - Mr.
       1 - Mr.
       1 - Mr.
       1 - Mr.
       1 - Mr.
       1 - Ms.
       1        - Ms.
       1        - Ms.
       1        - Mr.
       1 - Mr ..
       1        - Mr.
       J:               -J.VJ/3-~
       1        -        Ms.
       1        - Ms.




                                                                                                             FBI,(16cv948)-298.~1
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                                     EXHr-131:-1'   -n(·e')
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                                                            c.. _u           I   ;:J•
         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 34 of 487 Pageid#: 5803
                                    --------- ·--
                               - - - - Working Copy                                       Page 1



~recedence:       PRIORITY                                           Date:              01/25/2006
To:     All Divisions

        Counterterrorism                                                                                 b6
                                                                                                         b7C
                                                                                                         b7E



                                                         SEMU.--_ _ _ _ _ _ __
                                                         (SSA!.__ _ _ _ _ _ __,

                                                         CT   . . _ I_    ___,




        CIRG                             Attn:           SIOC Operations Center
                                                         CMIJ ~ - - - - - - - - - ~
                                                         (ss~.....___ _ _ ____.
From:     Tampa
               ORA2
               Contact:   SAil Kev~n M. Farrington                                                       b.6
                                                                                                         b7C
Approved By.: -1 ··
Drafted By:
                  -------------~
Case ID#: 300A-TP-68696   {Pending)

Title:    NATIONAL SOCIALIST MOVEMENT RALLY;
           ORLANDO, FLORIDAi
           2/25/2006;.
           CT Preparedness~ Special Events

Sy-nopsis·: To request that receiving ,off ices canvass all logical
sources ·for _positive threat information_ relateq.: to captioned
matter.                             ·
                                                 .                        .
Details: Grr. 'Saturday F;eJSruary -zs ,; ·2trn-s, t1ie N~riona.1 socialise
~ovement ·(NSM) · will conduct a ·ral_ly in Orlando;, : Florida.      This
~SM rally will be organized primarily by Bill White ·of Roanok.e,
iTirgini.al               ·             :        ·                       i;                          ·   b6
))"SM has advertised this':event on its web-s.ite (www .nsm88. com) .                                    b7c
~J.so, NSM members have contacted Orl-ando dity officials to -advise
:hem of the rally.                                       '

          On October 15, 2005, and.on December)l0, 20.0Sr NSM held
:imilar rallies in the Toledo, ·-ohio area. The jbctober 15, 2005
-ally resulted in appr~~_dmately 115 arre.sts maq.e by localJ countyr and
tate law enforcement .0ffi.cers. :The December HJ,             ·
 005 raJly resulted in ~pproxirnat~1y·29 arrest~.    It should be
oted that none of these arrests were.a£ NSM members. Rather,
hose arrested were members of the:volatile co4ii.ter-protest
                                                                          l



  ·---------·--------------------- .-----------------------------------------
                                              Se.rial : l
 :1.se ID : 300A-TP-6B·696                                                I'
                                                           Pg: 78 of 163
           Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 35 of 487 Pageid#: 5804
                                      Working Copy                            Page       2

elements that gathered to oppose NSM.

         _At present, NSM's plan is to meet in downtown Orlando
at a large parking lot located at the east corner of Church
Street and Hughey Avenue. This m~eting -spot is directly adj·acent
to Orlando Police Department (OPD} headquarters. NSM members
will meet in this area, and then march a route of approximately
1.5 miles through downtown. Orlando. The route wi-11 ·conclude at
the US Federal ~uilding in Orlando, where NSM will hold several
speeches. The rally is scheduled ·to last from 2: o·o PM until 4: 00
PM.

           SA[ Kevin Farringto~jhas met in detail wi_th OPD                                     b6
officials regarding thi:s ev:ent. Primary operational points of                                 h7C
contact ~e Captain I     ·         !Sergeant I   ':         !and
Detective[                    I
                           OPD will h~v~ a large•uniformed presence
for crowd control at a~l points.of the rally . . other
participating agenci~s ~ill irtclude the·orange·county Sheriff's
Off ice and the Florida pepartment of Law Enforcement. : A command
post fpr this event will be e~tablished with OPD. Finally, the
US Marshalls ·Service (-USMS} and Federal Protective Services (FPS)
will be advised to ens~e safety for the federal building
facilities.                                       ·
           Intelligence from around·the US has revealed NSM gained
significant :-media coverage ·from·-t:tie. arresFs· ·as~oc::i:ated with .its·
Toledo rallies. Intere1st in. NSM has risen among white pow:er
advocates due to ~his ~~dia coverage. Fur:ther;·NsM is well aware
that its pres~ coverage; is driven[by the ~iole~6e committed by
the counter-protest9rs.. While ;NS£4: general·ly st+ongly diqcourages
its members from partaking in any'illegal _acti"l?"i.ty while                 .
partic-ipating in the rally, it highly enco-µragE;!s violent counter-
protest, on occasion going so far as to contact'opposition groups
and advise them of the rally.
           All .di visions are reque,sted, to canvass- all logical
sources 'for it1telligence related to this event!- All ositive
intelligence should be forwarded to SA Kevtn F~frington.                                        b6
                                                        ;                                       b7C
                                                        I'
              It is r~qµ[sted that this matter be opened and as~igned
to   SAi   Kevin Farr ing on. J                    r

GEAD (s) :

~et Lead 1:        (Action)
       ALL RECEIVING OFFICES
           Canvass all logical sou,r;ces for inte~ligence related to
                                  sAI
                             Kevin Farrington [ '
                                                       da
'ebruary 25, 2006 NSM rally in .gr:_l 1'1:mdo .. ~½_] 'ori   ~ Forward all
                                                                        I No
1osi tive int.elligence to                     ~ -    ·-   !     .
                                                                                                b6
.ard copy to follow.                                                                            h7C




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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 36 of 487 Pageid#: 5805
       .                                            EXHIBTT    ·nc-:n
        "§: .,,                                     -----· -----
                                                          •.


(Rev. 01-31-2003)

                            FEDERAL BUREAU OF INVESTIGATION


            Precedence:           ROUTINE                                        ·nate:   05/08/2006· .
            To:         Counterterrorism                       Attn:    r ss~                      I                 b6
                                                                                                                     b7C
                                                                                                       I             b7E

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                                                                         ssAI
                                                                         IA/OISI                               I
                        Baltimore                              Attn:     JTTF/TF9                          I
                        Minneapolis                            Attn:     ss~
                        Pittsburgh                             Attn:     Martinsburg RA
                                                                         SAi
                    Achmond                                              Roanoke -RA/ssruf Kevin l Fotistl
                        Washington Field                       Attn:     JTTF/SA     I
            From:         Richmond
                             Squad 6/Winc.i.u;::..-::,..,...=.i...-U..=.....------------,
                             Contact.·: SA
                    '                                                                                                   b6
            Appr6ved By:                                                                                                b7C

            Drafted By:
            Case        rnl#: 300A-RH-48442      (Closed)
                                300A-HQ-Cl434728-:RH     :(Pending)
                                ~_9--GA-MP-63291   (Pending)      '
                              \.,-266N-RH-52670  (.~ending)
                                2p6N-RH-52871 (Pending)
                                                                            !.
            Title:          79TH SHENANDOAH APPLE BLOSSOM
                          , FESTIVAL (SABF),
                          :wINCHESTER, VIRGINIA;
                          ; MAY 2 - 7 ,   2 006 ;     .
                           · CT PREPAREDNESS-SPECIAL EVENTS
                          . 00: RH (300A-RH-48442)

                          . NATIONAL SOCIALIST MOVEMENT .(NSM) ;-
                                                                            1
                          · TEI
                           00:    MP (l00A-M~-6329~)



                                                                                                       FB1(16cv948)-309.1


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                                                                            g_ ~ &f\l-Rl-1~ 5a_~ 7o---3~
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 37 of 487 Pageid#: 5806
    ,.
    To:
                    .   .
          Counterterrorism ·From: Richmond
    Re:   300A-RH-48442, 05/08/2006


             WILLIAM ALEXANDER WHITE, aka
             Bill White;
             AOT-DT-VC
             00: RH (266N-RH-52670)
                                                                                       b6


          ~~~=====---I
             rnat1ona1 boc1a11st Movement;
             AOT-DT-WHITE SUPREMACIST EXTREMIST;
             00: RH
                                                                                       b7C




    Synopsis: Lead covered under referenced serial and to advise
    recipients of NSM activity during the SABF.

    Reference:     30QA-HQ-C1434728-RH Seric;:tl 20
                 · 300A-RH-48442 Serial 34

  · ·Enclos,re(s) =·I                                    .                              b6
 ·[          one news article reporting the Neo-Nazi Rally in                           b7C
     Winchester, Virgi:r:i.ia; two news. articles reporting a change -in the            b7D
     Winchester City Ordinance relative to requiring permits
     for demonstrations; two articles from www!. overthrown. com, the
     website of Bill White; the flyer distributed by Bill White on
     05/04/2006·; and a·. copy of Bfll· White I s summons for illegally
     distributin~ flyers and a co~y of the Citi Ordinance~

    Details: The SABF I knpwn lo'.cally as 11 The: Bloom 11 1 is the major
    annudl ·~estival in the Shenap:doah·valley of.Virginia.        It has now
    been held for the past 79 ye'.ars and i;s at;tended by a minimum of
    250,ooo;people. · This festiv:a1 sponsors numerous events at venues
    through~)1J.t the Ci-t:y of· Winchester and· Frederick County, Virginia,
    to incl~de·parad~s, parties/~e~eptions, cpncerts, a circus, and a
    carniva~. By referenced serial, this event was designated a
    Level IY Special Event~       The' Winchester Police Department (WPD)
    is'. the lead,,agency to coordinate the secu;i:-ity·,for this event with
    other l~cal,.state, and Federal LEOs.           ·
                                      .               i
               The N;~::-ivr, a, F·Fr, openly claims t9 be an organization
    dedicat~d to the preservation of ~ryan Heritage, the creation of
    a National Socialist Society in America and around the world, and
    is the_i:3elf-proclaimed· 11 America•s!Nazi Party 11 • NSM co-operates
    with many like-minded white· natiotialist groups such as the Ku-
    Klux Klan (KKK) , a,nd Skinhead -groups~- ·The logo or symbol of the
    NSM is the Swastika o:r;- Hakenkreuz:        On lQ/15/2005, and.again on
    12/10/2005, -in Toledo, Ohio,• the :N'SM staged a rally pr9testing
    black gangs harassing white residents.           The rallies sparked. riots
    in the'city of Toledo arid garnered nationl:!.l news.       Similar.
    rallies have been-held in Yorktown, Va. (06/25/2005); Kingston,
    New York (11/19/2005); and The u. S. Capitol, Washington, D. C.
    (02/os/2006). 1.                                  :                    ·I           b6
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 38 of 487 Pageid#: 5807

  To:
                   .
          Counterterrorism. From: Richmond
  Re:     300A-RH~48442, 05/08/2006.


                                              ·I has been identified as the.__!_ __,                 b6

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              On 04/18/2006, FBI BA/JTTF advised that the NSM was
  planning an anti-immi ration rotest in Winchester, Virginia, on
  05/04/20 1~ _ ._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _....., had-been in contact                       b6
  with the                             ~                   eadquartered in                           b7C.
                             to participate i n t is event.
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               Contact with                                  that                                    b6
                                                                          an anti- .....-----.       b7C
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                                     · -"""=----'-'-"'-=--=-----------,
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  Wine ester, Virginia, but did not volunte'er that         neo-
  Nazi group.                                       ------~

              As part·of the SABF, the United Way of Northern
· ·Shenandoah Valley, in cooperatio"n with Bridging Community
   Communications and-Larios Communications, was to sponsor a Cinco
   de Mayo celebration· from llam-3pm, on 05/05/2006, at-the Our
   Health Systems facility on N. Cameron Street, Winchester,
   Virginia. The goal of this :event was to ,foster an understanding
   between the_ Spanish and English speaking 1communities of
   Winchester.

               Contact··-with" FBI Field Offices :determined that during
   the ·-NSM Nat.ional' ~onfe.rence !in Michigan, !April 22-23, 2006,
                                                                                                     b6
 I                                                        .!attempting to
                                                                                                     b7C
 I were   me~:· with· lit!:le suppor~.
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                                                                                                     b6
                                                                                                     p?C
                                         announcing an       -sponsore                               b7D
         .·  .             ::;   ,       ·06, a'.t City Hall; Winchester,
  Virginia; in_oppc:i"sition to a·Cincp de May;o celebration sponsored
  as part'.of ·the SABF.       Based oh source informatioh, the NS~


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  second                                                                                             b7C




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    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 39 of 487 Pageid#: 5808
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       To:   Count_e'rterroi:isrri .. ·From: Richmond
       Re:   300A-RH-48442, 05/08/~00·5 ·.

                 Source reporting·indicated that the protest had been·
                                                 Additionally the                        b6
                         1-.--a-s_n_o-.--e-e_n_a_v~ailable sine .--------..---a~nd       b7C
                                                                   irginia, as not       b7D
       receive any comp ain                                       hreatening
       telephone calls.

           _      The rally by the NSM during SABF highlighted the fact
       that the Chief WPb had no authority to grarit or deny permits f.or
       demonstrations. On Wednesday, 05/03/2006, the Winchester City
       Council passed an ordinance giving the Chief that authority.
       Permits· would now· be n·eeded for demonstr9-tions of more than ten
       people and the permit can only be denied for public safety
       reasons, not for political, religious, social issues.
                    Numerous articles ran in both l_ocal newspapers and on
       . the radio with in_terviews of politicians '.and quotes from the
         website (www.overthrow.com) (article enclosed) of Bill White,
         NSM/Roanoke Leader. One st~te delegate stated on the radiq that
         he was. sure that the Governor would call out the National Guard
         if a demonstration by the NSM got of hand.
                     On his website, White wrote of legally challenging the
       Winchest:,er Ordinance . .- On 05/04/2006, Whfte _was arre.sted in
       Winchesj:.er and charged.with !Placing Illegal Handbills on
       Veht6les, a Clas~ 3 Misdemeanor·in violabion of Winchester City
       Ordi~ance 16-15 (copies ericiosedJ ·. The handbills critic:lzed the
       ai;::tions; of the City Council, questioned why blacks and H_i_spanics
       can dempnstrate without a pEjrrriit,· but a pe~mit is required as
       soon as: a white group wants 'to demonstrat_e.
                 , White indicted that the·NsM wou'.ld conduct· a-protest on
        05/05/2.006, and that his group woj.lld be ~ess than 10. White did
        nGt giv~ a time or lo.cation, which he wou)d Iil.ot be requ;ired to
        do, for: his:• protest. No raily by: the NSM occurred dur:lng the
        SABF anq. White w,as not-·observed db.ring t:qe festival.. The Initial
        H~~~i~g fg~·Wh:lt~.on hi§ Qhq~ges ~s schequled for 06/05/2006, at
        11: OO'am:, in Winchester General District Court. -·
                  In 9-ddition to the:i potep.tial NS_M Ral1y, two other
        events of significance occurred dt1ring and immediately after the
        SABF. On Wednesday night, 05/04/2006, a :confrontation broke· out
        at the carn,ival in Wini:::hester bet}\Teen a Iarge number of Hispanics
        and bla6ks. The group tota:J.;ed .abput sev~nty-five persons and the
        incident was instigated by the Hispaµics ,; reportedly by several
        ~embers of the Ms~13 G~ng. Further investigation into this
        matter continues by the local gang task force ..
                   The second event oceurred otj                I
                                                             in Winch~ster,               b6
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       Virginia.   L-._ _ _ _ _ _ _ _ __.was arres~ed tor possession of
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        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 40 of 487 Pageid#: 5809
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          To:
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                 Counterterrorism            From:    Richmond
          Re:    300A-RH-48442,          05/08/2006-


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                                                                           described as a wh~'tP. male born          b6
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        .-=a=t"-'-----,..------------~--,____...Virginia.
                                with arrests for
                                                                                 !.        I    ~ has FBI
                                                                             elated offenses 1.n irginia.
                                described.as not
                     Other than the above events, the 79th SABF was
          considered an overwhelming success. As no further investigation
          remains for the RH/WRA relative to the security of the festival,
         ·the SABF ·special Events file is being closed.·




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      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 41 of 487 Pageid#: 5810

. '      To:   Counterterrorism From: Richmond
         Re:   300A-RH-48442, 05/08/2006

         LEAD (s) :

         Set Lead 1:     (Info)

               ALL RECEIVING OFFICES

                      Read for information.




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          Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 42 of 487 Pageid#: 5811


                        (FLYER PIACED ON VEIDCLES
                                             .
                                                  BY WILLIAM ALEXANDER WlIITE,
                                                                       . '
                                  WINCHESTER, VIRGINIA; MAY 4, 2006)     .



                               h t Is Th
                               ity    un                                                                                            fraid Of?
                                 On Wednesday, your City Council voted to ban all
                                      political demonstr_ations in the City.
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    Two hundred illegal Mexicans niarch~~l
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    The City C?unc1l did no!~~~ ~9~~1?~ ~?,{ban" th~s _dem~n~tr~t10n. ~µt_w~~Il: a.. h~m.q~l,?-~'XPf1~W.f?:J?~f¥;'ant \<2}?'~ ..
    say som~~hm_g ab~_u! poht~~s,                            J~.i
                                         ~p_on_o_13:1Y, or s?c~ety, the City COUJ.?.Cil feels tf~~'. tp_Y~;i~~;8f~J~{\if'.!!'!,-~;           ?~·                                                                    ?.f-~'~tt
    the Const1tut10n, __~nd brea~_th~_l\~Yln internal p~qc;ed~:es to "ban" them from spea~!~g{:r>)t~t:i;ii\~-:"),.: .:/~:Jtl{(:-
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    This $hoµ_ltj_.'V,'1J~ijJlyo(J t\sk quest19rjs: ,-                                                                                  ·       .       ·            . ·., -~~\. -'V~tr.:..-.t :~·\).JJ(;f~
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                   *·     V\lhatr_";is_·~~.9:~tti.d9't~~fY"?
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                   people? Is there a better.way we caii-.be governed?             .                                                                                                                · ~" ·•.;\ :·,:-· .·:- ·-:,,:,•,·:.:
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/                  to     queit~9.~ ~h~0~tirw~~ij~io_1;t.i_'s_good for whites?                                                      ;       ,                                                                       ,   'lf;. :· ,.
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        The Nathinau·sociaDist·fihJvement has the answers!',::.·_.
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     Wc_'ve be;J called a "juggeriia~1t\\v.r~)re the mo1ieni~~t 6f tb~ y1hite 'Yorking class, and we are growing day
    by day- in the United States, in'Virgirita, in Winqlit~s~<;i·,·fp. yqti(porrmiunity. Ify,::rn are·white, if you work, if
    you are tired of ~~eing this systeri1 destroy your econ01¼y;··s~e~t_'your'.culture, insult your race and.spit on you as ,.

    afraid of
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    jf)\OU don't_cduii\ t!ien its time for you to join
                 us  '  _. :.'•: .. ·.:     · ·     · · · · ·
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      ::      .     ' .       . . ·. ·~ :.,; . .                        .•,, ·:,_           '                    .      . . ...-~
           ..:.'                                :~~                         :·..   ,                          FBI(16cv948}-3086

                               .lfationa.l Socialist JVJ;ovem~nt of Virginia.
                                 Winchester* H;rrisonburg * :Atlington *Richmond*. Norfolk* Roanoke
                                   ,                  PO Box 851; Berryv(lle,,Virginia 22611
                                                      PO Box 8601 RoanoJce, Virginif!, 24014         1

                             Nsm-nova(ci),hotmail,!;:bm * NSMVirginia@.hotmail.com * nsmrn~moh~@v::ihnn                                                                                          rnm
                                                           Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 43 of 487 Pageid#: 5812
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                   ~ASE OlSf.OSITION                     "1.i                             WINCHEST-ER POL1.G~·l:f'EP-l''\RT-MEN.1:'! '           •     ••••                                       __'._._ _ _ _ _,_
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    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 44 of 487 Pageid#: 5813
        .'f- ••
                                                           EXHIBIT D(g)
(Rev. OI-::il-2003)                                                                                               I




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                                FIEDERAL BUREAU OF INVESTIGATION


            Precedence:                     }:tOUTINE                                       Date:        05/08/2006·
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            To:           -Counterterrorism                             Attn:     Lr_·-r----------.......,                                      b7C
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                                                                                     IA/OISL..I_ _ _ _ _ _                    __.I
                          Baltimore                                     Attn:       JTTF /TFq----------.1

                          Minneapolis
                                                                                            -~=====:;--:'
                                                                        Attn:       SS~L..----------J
                          Pittsburgh                                    Attn:       Martinsburg RA
                                                                                    SAi
                                                                      ~n:.          RoaL..n_o_k_e_.RA_/_s_s_rui-:::=K=e=v=j=n==l==F~o-u_s_t~I

                          Washington Field .                            Attn:      _JTTF/SA~'_______________.

            From:           Richmond
                               Squad 6/Winc.f.l.l::!..l::i.J....t:::...L..;......ct..tal......--------------,
                               Contact: SA
                      '                                                                                                                         b6
            Apprc'.>ved By:                                                                                                                     b7C

            Drafted By:

            Case          rn: #:    300A-RH-48442     (Closed)         .
                                    3 00A-HQ-Cl434 728-:RH    :(Pending)
                                    lJ-GA-"MP-63291    (_Pending)      .
                                   ~66N-:~rn-52670    (Pending)
                                    266N-RH-52871     (Pending)
                                                                                      I
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            Title:            79TH SHENANDOAH APPLE BLO$SOM
                            . FESTIVAL . ( SABF) I
                            ,WINCHESTER, VIRGINIA;
                            0



                              MAY 2-7, 2006;
                              CT PREPAREDNESS-SPECIAL EVENTS
                              00: RH (300A-RH-48442)

                            · NATIONAL SOCIALIST MOVEMENT (NSM) :-
                              TEI
                              00: MP (l00A-MP_-6329_1)




                                                                                                                         FB1(16cv948)-3091

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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 45 of 487 Pageid#: 5814

   ,.
   To:
                   .
         Counterterrorism ·From: Richmond
   Re:   300A-RH-48442, 05/08/2006

             WILLIAM ALEXANDER WHITE, aka
            -Bill White;
             AOT-DT-VC
             00: RH (266N-RH-52670)
                                                                                              b6
                                                                                              b7C

             lllat1ona1 ..:iocia.List Movement;
             AOT-DT-WHITE SUPREMACIST EXTREMIST;
             00: RH

   Synopsis: Lead covered under referenced serial and to advise
   recipients of NSM activity during the SABF.
   Reference:     300A-HQ-Cl434728-RH Serial 20
                · 300A-RH-48442 Serial 34

   Enclos~re(s)   =C                                            .                             b6
                                                                                              b7C
                    Jone news article reporting the Neo-Nazi Rally in
 ~w=i-r-'n-c.,..h_e....ster, Virgi:q.ia; two news .articles r!9p.orting a change in the       b7D
   Winchester City Ordinance re.lative to requiring permits
   for demonstrations; two articles from www'. overthrown. com, the
   website of Bill White; the flyer distributed by Bill White on
   05/04/2006-; and a·.copy of Bill White 1 s summons for i;J..legally
   distributing flyers and a copy of the City Ordinance.
   Deta~ls: . The SABF, knpwn lo.cally as 11 The. Bloom", is the major
   annual ·festival in the Shenandoah·valley pf Virginia. It has now
   been held for the past 79 ye'.ars al'1d i1=3 at.tended by a minimum of
   250,000' people. This festiv_al sponsors numerous events at venu~s
   throughc;:iµt the Ci-):.y of· Winch.es.j:;er and Fre~erick County, Virginia,
   to inclµde·parades, parties/~e~eptions, concerts, a circus, and a
   carnival. By referenced ser.ial; this event was designated a
   L~vel IY Special· Event·. The W.inches_ter Polic;~ Department (WPD)
   is .the lead'·agency to coordinate the security ·for this event with
   other local, -state, and Federal LEOs.              '
            . .The NSM, a ):"":FI, openly c;:Iaifns to be an 6:tganizat.iori
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   dedicated to the preservation of Aryan Heiitage, the creation of
   a National Socialist Society·in A~erica and around the world, and
   is the self-proclaimed 11 America•s!Nazi Pa;i:-ty 11 • NSM co-operates
   with many like-minded white' natio~alist groups such as the Ku
   Klux Klan (KKK), E!-nd Skinhep.d groups. Th~ logo or symbol of the
   NSM is the Swastika or;- Hakenkreuz: On 10/i5/2005, and again on
   12/10/2005, -in Toledo, Ohio~: the ~SM.stag~d a rally prqtesting
   black gangs harassing white· residents. 'J'he rallies sparked riots
   in. the City of Toledo and garner.ec;:!. nationf3-1 news. Simila:i;:-. .
   rallies have been-_held in Yorktown, Va. (96/25/2005); Kingston,
   New York (11/19/2005); and The U. ,s. Capitol, Washington, D. C.
   <02/os/2006). 1.                                  ,                       ·I               b6
                                                                                              b7C
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 46 of 487 Pageid#: 5815

    '
    To:                                '
                  Counterterrorism. From: Richmond
    Re:           300A-RH~48442, 05/08/2006.


                                                                                                        ·l has been identified as theL..!_ __.                                          b6

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              On                                                  FBl BA/JTTF adv1sed that the NSM was
    planning an , - - _ ; __                                           rotest in Winchester, Virginia, on
                                                   ____;,,=;...<..;;.;;....;.;;.c_;;;;;_.;;;..;:;;;;;_,;:=..::;...:;..;..;;;..~~;;....;.=,
    05/04/20                                                                          had been in contact                                                                               b6

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    with the                                                                          eadguartered in
                                                          ___. to participate i n t is event .
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                               Contact with                                                                                               that                                          b6
                                                         Fh;=,·~--1..1.0,'"""'--"""-""-----------,                                               an anti- _ __                          b7C
   '-=""'=--...------r-o~t-e_s_t~. ·                                                                                                             ermit fo

    Wine ester, Virginia, but did not volunteer that               neo-
    Nazi group.                                      ..____ _ _ _~

             ·· As part of the SABF, the United- Way of Northern
    Shenandoah Valley, in cooperation with Bridging Community
    Communications and Larios Communications,· was to sponsor a Cinco
    de Mayo celebration· from llam-3pm, on 05/05/2006, at the Our
    Health Systems f~cility on N. Cameron Street, Winchester,
    Virginia. The goal of this !event was to ;foster an understanding
  . between_ the_ Spanish ar:id English speaking ;communities of
    Winchester.       ·

               Contact···witli- FBI Field Offices !determined that during
   the ·NSM' Nat_ional ~onfe.rence ;in Michigan, !April 22-23, 2006,
                                                                                                                                                                                        b6
  I.                                                      .! attempting to                                                                                                              b7C
 I were           met:· with· little suppor~.
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                                           annoi+ncing an       . -sponsore                                                                                                             b7D
                        ,.                 06, c1-t c:f:ty Hall, Winchester,
    Virgini 1~ ; in. oppo:sition to Cinco de Mayo celebration sponsored             a·
    as part' of ·the SABF. Based oh source in~ormatioh. the NSM
                                                                                                                                  I   .
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                   On 05/01/2006, _;_~__:,_.;__~r-----'-lc~h~J~·e~f__,_~    LI                                                                                        .a                b6
    second pr;-.,-,......_.._._.....,,,. indicating                                                                                                                                     b7C
--~~~;l...l.s...,__JL-.._ _ _LJ:1.i...r;;i..w;;c1...1,_.J...,J..w..i""--0..1...J.J.J....z;..,...1.-1~.....L...w...Q..L..__,,.,_...,_UJ..j'1.J.j..U.....C;..u.J.1c..i.,.,___,_'-=-~iad




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 47 of 487 Pageid#: 5816

  To:   Count_erterroiJsni. .. ·From: Richmond
  Re:   300A-RH-48442, 05/08/~00-6


            Source ·reporting·indicated that the protest had been·
                                      Additionallyr-~t~h~e"L----,-__1               b6
                     ~-----e-e_n_a_v~ailable sine                   and             b7C
                                                       1rgin1a,    as not           b7D
  receive any comp                    re a ive 0     hreatening
  telephone calls.

               The rally by the NSM during SABF highlighted the fact
  that the Chief WPb had no authority to grant or deny permits for
  demonstrations.      On Wednesday, 05/03/2006, the Winchester City
  Council passed ah ordinance giving the Chief that authority.
  Perrni ts . would now. be . n·eeded for demonstra:tions of more than ten
  people and the permit can only be denied for public safety
  reason~, not for political, religiou~, social issues.

               Numerous articles ran in both local newspapers and on
    the radio with in_terviews of polit4"cians and quotes from the
 · ·website (www.overthrow.com) (article encl,osed) of :Bill White,
    NSM/Roanoke Leader. One state delegate stated on the radio that
    he was. sure that the Governor would call out the National Guard
    if a demonstration by the NSM got of hand.

                On his website, White wrote- of =legally challenging the
   Winchester Ordinance . .-On 05/04/2006, Whi:te_was arrested in       ·
   Winchester and charged· with :Placing Illegal Handbill's on
   Veh.;i.cles, -a Class 3 Misdemeanor in violat'.ion of Winchester City
   Ordinance 16-15 (copies enclosed,).     The ~andbills critid,zed the
   acti6ns' of the Ci:ty Council,· questioned why blacks and H_ispanics
   can demonstrate without a pEjrmit, but a permit is required as         ·
   soon as a white group wants J.o demonstrat:e.

        .      White indicted that .the:NSM would conduct a-protest on
   05/05/2,006, and :that his group would be less than 10. White did
   not give a time -or locatioh,: whicJJ_ he would not be requ;ired to
   do I for: his·• protest: No rally by; the NSM occ'.!urred during the
   SABF ancl. Whi_te was not-· observed during the festival. . The Initial
   H~~~i~g fgt·Whtt~.9n hie ~ha~ges is schequled for 06/05/2006, at
   11: ooam, in Winchester Gene:r:ai District Court. --

              In ~ddition to the potential N~M Rally, two other
   events of significance occurred during arid immediately after the
   SABF. On Wednesdi:iy night., 05/04/2006, a :confrontation brok_e· out
   at the carn,ival in Win!=!hester between a large number of Hispanics
   and bla_cks. The group totaled .abi:mt sevEinty-five persons and the
   incident was instigated by the Hispanics,; reportedly by-several
   members of the MS~l3 G~ng. -Further investigation into this
   matter continues by the local gang task ~orce ..

             The second event ocou~red o~                  I
                                                        in Winch~ster,              b6
                                                                                    b7C
   Virginia. ,___ _ _ _ _ _ _ _ ___,was arrested tor possession of


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                                                                        FBI{16cv948)-309,
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 48 of 487 Pageid#: 5817
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  To:        Counterterrorism                     From:          Richmond
  Re:        300A-RH-48442,                 05/08/2006-


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                                                                                                                                    b7C

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                                as a                                                            ers of    a~I----~
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                                                         He res1des                               _   J                             b7C
 r--"~----,____ _ _ _ _ _ __.------..--1Virginia.        has FBI                            !             I
             with arrests for        elated offenses 1n V1rginia.
             described· as. not

                Other than the above events, the 79th SABF was
      considered an overwhelming success. As_tjo further investigation
      remains for the RH/WRA relative to the security of the festival,
      the SABF Special Events file is being· closed.




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    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 49 of 487 Pageid#: 5818

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                       .
        To:   Couhterterrorism From: Richmond
        Re:   3 OOA-RH-4844-2, 05/08/2006

        LEAD (s) :

        Set Lead l:     (Info)

              ALL RECEIVING OFFICES

                     Read for information.




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            Case
            '    7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 50 of 487 Pageid#: 5819
Roanol~e \andlord resigns from Nationa~ocialist Movement- Roanoke.com                  •                             Page 1 of 2
 ",THEROANOKETI:MES
    .· · ' .                              •w      EXHIBIT D(h)
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            roanoke.com
            Copyright© 2006


Tuesday, July 11, 2006



Roanoke landlord resigns from National Socialist.Movement
William A. White said he's concerned about the NSM's possible link to a Satanist group.

By Laurence Hammack
 981-3239



Roanoke landlord and neo-Nazi sympathizer William A. White has resigned from the National Socialist Movement, an
organization that idolizes Adolf Hitler but 1.s reportedly in turmoil .over being associated with
                                                                                             .
                                                                                                  Satan.

White said Monday he stepped down as spokesman for the group and leaq.er of its Roanoke unit over .the weekend
following revelations that some NSM members are involved with a group called the Joy of Satan.

According to White and others, the satanic group engages in inappropriate sexual discussions with children through its
Teens for Satan e-nJail group.

Until recently considered the country's fastest-growing white supremacy group, the NSM is in the midst of an upheaval
that could change that, said Mark Potok of the Southern Poverty Law Center, which monitors hate groups.

-{\11 unknown number of members have left the NSM over the controversy, and some entire statewide chapters, including
the one in Washin.gtoJ?-, have bolted from the Minneapolis-based organization, Potok said.                       ·

"I think there's soriiething fairly seismic going on with the National Socialist Movement," he said.

But according to NSM. commander Jeff Schoep, the scandal consists only, of rumors spread by White on the Internet.
Schoep said White was expelled from the group Friday for "attacking Christianity and various religions." He also said
White has a credibility:problem.                   ·

The NSM official accused by. White:has denied any ties to Sa1anism, Schoep said. But if there was such a link,
particularly one that involved improper contact with ~hildren,'the movem~nt would take the appropriate actions, he said. ·

"We certainly can't have that. We're a political party .and a legal entity in the United States. II

In his year or so with 'the group, White "put the National Socialist MoveII?-ent on the map,'1 largely through his role as
spokesman during a march in Toledo, Ohio, that resulted.
                                                           in .a riot
                                                                 .
                                                                      that drew
                                                                              !
                                                                                national attention, Potok said.

White, who owns more than a dozen rental homes inRoanok~'s West En4 neighborhood, has also generated controversy
for his actions as a landlord and the editor of overthrow.com, a Web site V:iat often airs racist views. The Roanoke
NAACP has accused White of discriminating against minority tenants, a yharge he denies.

White has declined to say how many members belong to the local NSM unit he headed.

In a recent post on his Web site, White said he has set up an e~mail group; for 11 all white activists" who might be
interested in forming a new national socialist movement. But it's too soon to say whether such an organization might be
headquartered in Roan,oke.                                                 '

"That is so far into the 'future that I can't comment on that at all, 11 White said.
                                                                                                           FBI{ l6cv948)-31561
http)/-www.roanoke.com/news/roar:i,oke/wl;Jf73i.5 6                                                                7/13/2006       j ,
       --~~---~----.                                                                                                                 I
  Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 51 of 487 Pageid#: 5820
                                                EXHIBIT D(i)
(Rev. 01-31-2003)


                       !FEDERAL BUREAU OF INVESTIGATION


          Precedence:      ROUTINE                                         Date:     09/1/2006 •
          To:       Counterterrorism                      Attn:
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          Approved By:
          Drafted By:
          Case ID#: 266N-RH-52670-                Pending)
          T.itle:      WILLIAM A. WHITE, aka,
                       Bill White, dba,
                       Unit Leader,
                       National Socialist.Movement;     .
                       AOT-DT-WHITE -SUPREMACIST EXTREMISTS

          Syno.psis: Set forth information for approyal to have the captioned
          matt~r closed based on the fact White is no ~C?nger in a leadership
          role'for the NSM.

         Details: The investigation ,on the captioned subject was opened
         "inasmuch as he was identified as being in' a leadership role for. the
         NSM. rn: fact, White became quite prominent within the NSM
         -organiz~tion, frequen!:ly speaking· at publ'ic rallies around the
         cquntry:. A0;ditionally, White 1 s website, www.overthrow.com, is very
         popular', and· it was likely used a$ a recr,uit:Lr:i.g tool "for the NSM.
                  , .William. .White 1.s. p.i.es.ent · affiliation with N.SM has he.en
          terminaj:.ed. The termination occurred on o'r about July 8, 2006,
          accorditig to the blog posting made by Bil:l White on July 8, 2006.
          White claims to have resigned as bf this ·jdate. This resignation has
          been confirmed by various source reporti~g.
                        White     ublica).l                                                                           b6
                                                                                                                      b7C
                                                              It does not, appear )likely that White will
      .__r_e_u_n..,.i_t_e_w_i.--.t-,h,--·-t.,....h_e_N_S_M___.at this prin~ in tiuje. There appears fo be a
          great deal of friction betweenL ·                                        1  ·        ·    _White.
                     The Roanoke RA does not, believe contact with Biil Whit! fnr                                     b?E
        [iecrui ttnent purposes···· jmak~s sense at this point i_n time. White,


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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 52 of 487 Pageid#: 5821

  To:   Counterterrorism               Attn: l~T()U                                 b6



  Re:
          IAI  . .     s::r·
                       ·      From:
        266N-RH-526'70,/J/2006 ·
                                            IRichmond·
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  according to his website blog, www.overthrow.com, is now the Commander
  of a new organization 9alled AMERICAN NATIONAL SOCIALIST WORKERS'
  PARTY.




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                                                                       FBI(16cv948)-3158\
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  Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 53 of 487 Pageid#: 5822
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          To:   Counterterrorism ·                                                      b6 ·
                      ~---........i.S81.1.AO:I--------'=                                b7C
                   IAI                        I    From:                                b7E
          Re:   266N-RH-52670, 09/1/2006



          LEAD (s) :

          Set Lead 1:      (Info)

                       Counterterrorism

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      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 54 of 487 Pageid#: 5823
                                               EXHIB_IJ'_ D ( j)
              ,,.;,
(Rev. 01-31-2003)


                          FEDERAIL. BUREAU OF INVESTIGATION


          Precedence:            ROUTINE                                     Date:   11/0,6/200~
          To·:        Richmond                           Attn:        Rofnoke RA
                                                                                                              b6
                                                                      SAT David Church!                       b7C
          From:         Richmond
                           Squad 6/Winchester RA
                           Contact: S A r - - - - - - - - - - - , - - - - - - - - - ~

          Approved
                                    I
          Drafted By:
                          By:
                                    .._____________            __,

          Case ID#: 266N-RH-52670               (Closed)
                    J00A-RH-48442               (Closed)

          Title:         WILLIAM ALEXANDER WHITE, aka
                         Bill White;
                         AOT-DT-VC
                         00: RH (266N-RH-526~0).

                          79TB SHENANDOAH APPLE BLOSSOM
                          FESTIVAL . (SABF),
                        : WINCHESTER, VIRGINIA;
                          MAY 2-7, 2006;
                          CT PREPAREDNESS-SPECIAL EVENTS
                          00: RH (J00A-RH-48442)

          Synopsis: Provides the trial results of William A. White in
          Winchester Generil.District ~ourt,; Winche~ter, Virginia, on
          11/06/2006, for a city_code violation issued during the recent
          Shenandoah App;Le Blossom Festival : (SABF) ·. ;
                             ·'·.
          Reference:            300A...,RH-48442 Serial 61

          Details: The SABF, known locally ;as 11 The iBloom 11 , is the major annual
          festival in the Shenandoah V~lley :of Virginia.       It has now been held
          for the :past 79 years and is attended by·a minimum of 250,000 people.
          This festival sponsors numerous ev.ents at:venues throughout the City
          of .Winchester and Frederick County, Virginia, to include parades,
          parties/receptions, concerts~ a circus, ar:id a carnival.
                                                           '             '
                    The National Socialist Moveme~t ! -(NSM) openly claims to be an
          organization dedicated to the preservation of Aryan Heritage, the
          creation of a National Socialist Society in America and around the
          world, and is the self-proclaimedi 11 America. 1 s Nazi Party 11 • NSM co-
          operates with many like-minded white nationalist groups such as the Ku
          Klux Klan (KKK), and Skinhea~ groups.     inyestigation determined that
                                                                        .                      FBI(16cv948-)-3164


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                                                                        '.                .          i;«/or-
                                                                     ~(i;(p;V-R_J-1--5-2&70·--5~                    ·
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 55 of 487 Pageid#: 5824
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                   ·-'
              TQ:         Richmond    F      Richmond
             ;Re:         300A-RH-4844~, 11/06/2006


              the NSM was planning an anti-immigration protest in Winchester,
              Virginia, on 05/04/2006, during the SABF.

                                                  indicated that the NSM         rotest had been
              cancelled                                                                                         b7D
                                                Te propose protest      y t e NSM
              .during SABF highlighted the faot that the Chief WPD had ·no author:i,.ty
              to grant or deny permits for demonstrations.   On Wednesday,
               05/03/2006, the Winchester City Council passed an ordinance giving the
              Chief that authority. Permits would now have to be needed for
              demonstrations of more than ten people and the permit can only be
              denied for public safety reasons, not for political, religious·, social
               issues.

                         Numerous articles ran in b0th local newspapers and.on the
               radio with interviews of pol:(.ticians and quotes from the website of
             . Bill White, NSM/Roanoke Leader. One_ state delegate stated on the
               radio that he was sure that the Governor would call out the National
               Guard if a demonstration by the NSM got of hand.·

                         On his website, www.overthrow.com, Bill White, then
              NSM/Roanoke Unit leader, wrote of legally,challenging the Winchester
              Ordinance. On 05/04/2006, White was arre~ted in Winchester and
              charged with Placing Illegal:Handbills on'Vehicles, a Class 3
              Misdemeanor in v~olation of Winchester City Ordinance Section 16-15.
              The 1:J.andbills criticized the'actions of tlJ_e City Council, questioned
                                             1
              why b1acks and Hispanics can demonstrate without a permit, but a
              permit is required as soon a~ a white gro~p wants to demonstrate.· No
              further NSM action occurred during the SABF.

                         The Initial Hearing for .White on his charge was scheduled

              :• ~rt '~bit: did
             j· :      :   -~    _
                                            :a:
              for 06/05/2006, at 11:00am, in th~ City of Winchester General District
                                     ao;ear' but :was represented              byl
                                           · !attorney. 'fh:;cou$h -his attorney, White
               :a .requeste a tr1a an Judge Norman 11 Dev 11 V. Morrison set a trial
                                                                                                            I   b
                                                                                                                b7C
                                                                                                                    6



              date for 09/11/2006, at 11:30am, which was reset for 11/06/2006, at
              1i    :. 3 Q.am.,••                                   j   I




                         On 11 06 2006 White a eared before Jude
                                                                                                                b6
              represented b y L - - - - - - - - - - ~ - - - - - : - - - - - - - - r - - - - - ,                 b7C
              attorney. After testimony by the iWPD on the arrest                               motioned
              that the charge be dismissed as the WPD did not show                              e vehicle
              owners did not consent to the 11 papering 11 as required by the code
              statute. The judge concurred and:the charge against White was
              di~missed.                                           '

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                                                                                               FBI{16cv94l8)-31651

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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 56 of 487 Pageid#: 5825
                                                      EXHIBTT-D(k)
(Rev. 06-04-2007)
                                                      ------------
                           FEDERAL BUREAU OF INVESTIGATION


          Precedence:             ROUTINE                                                Date:   02/27/2008

          To :      Richmond
                    Criminal Investigative                     Attn:

          From:       Richmond
                         Roanoke RA, _Sauad 7·
                         Contact:
                                              --~----------------,I
                                      ..........
                                   SAi T David Church

          Approved By:            "SSRA   Kevin   l    Foust
                                                                                                                        b6
          Drafted By:                                                                                                   b7C
                                                                                                                        b7E
          Case ID#: 9A-RH-53173                       (Pending)-         3LP
                  . \\dcobN-RH-52670                   (Pending)-        {oft;
          Title:          WILLIAM A. WHITE;
                          IERifilfi½Rf~ifAR~Af:u
                             I'    T   -TH E7:'
                                                 LT IPL E
                                                  '
                                                                    VICTIMS;
                                                                                     ,
                                                                                         ET AL

                          WILLIAM ALEXANDER WHITE,aka
                          Bill White;
                          AOT-DT-VC
                          00:  RH

          Synopsis: Request above captioned cases be closed· due to the
          opening of a Civil Rights-Racial Discrimination investigation on
          02/27/2008 by Richmond, Roanoke RA, with William A. White as the
          subject;.                                ·'

          Details,: Richmond, Roanoke :RA, opened a Racial Discrimination-
          Civil Rights investigation on 02/27/2008 wit4 William 11 Bill 11 A.
          White as the· subject after discus~ions .               •· ·          tes
                                                                                                                          b6
          Department of Justice (USDoj) Attorney Barr Kowalsk and
                                                                                                                          b7C
          Assi~tg.ht Uniteq. Stq.te 9 Attq~:n.~y {AUS~ 'r __ Qffig.~ ·Bop_:IJJ;g.p.t.
                      .               .
                                                  .            ·1    '           ;
                                                                                 .


           .           on_ 02/2.2/2ooslKowa1 sk;t,;_] Bondu~ant and SA!P!.v"id. Church
          discuss.ed, via teleconference in AUSA Bondurant' s o ice, i:ne-
          incidents of threatening and harassing co'mmunications, both e-
          mail ar:i-d telephonic, that William; 11 Bill 11 '.A, White has initiated
          since August, 2006.       This conference· call: was initiated as a
          result of a new complaint regarding a siclilar recent harassing
          e-mail blog posted on the Van uard News Network website
          (VNNFORUM. com         ·    ·Norfolk Attorne Kevin Mottle . · The blog
          also provided Mottley -s =personal identif:i;ers.          ot t e is
          currently representing several African America .                   in
          Virginia Beach, Virginia, that ha:ve rece~ved threats from White




                                                                                                              FBI(16cv94B}-318 ,

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      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 57 of 487 Pageid#: 5826
·r-

         To:   Richmond Fro... -Richmond
         Re:   9A-RH-53173, 02/27/2008



         as a result of their participation in a USDOJ Fair Housing case
         against a.local white landlord.

                   Currently, Roanoke RA, has two open investigations with
         Bill White as the subject (266N-RH-52670 and 9A-RH-53173).

          9A-RH-53173

                         case was o ened based on a com laint from
         prominent   ana ian c1v1 rig ts attorney Richard M.Warman wh
         has been imiol ved in a self directed campaign against online
         hatred for some time. As a result, he has become a target of
                                                                                                         b6
         White Supremist groups throughout  the Unite_d States and abr~ad.
                                        .            .                                                   b7C
                       'Wariii~tl.§3-lleges that Bill White- facilitated someone
        .. actually   .a tac in him by posting his j         :             !
                                                                     home address on
           his (Bil    W 1te 1 s web site, www.Overthrow.com.

                   An example of thes·e threats were displayed when White
         was allegedly quoted by the :CBC as saying,

                      "I would hope that peepJ.e take violent action .against·                            b6
                       him.  He should· be killed."      ·                                                b7C

              • :    It is noted Roanok;e RA will con:tinue to' aqqressi vely
          inve!ptigation the allegations brought for;th b~ Warman however,          I
          it 'will be done under a new 'investigative: case file.

          266N-RH.-52670

                         This case was predicated on Whi'te' s self proclaimed
         association with the Nationalist Socialist Movement (NSM) and his·
         support: of .violence through his d~ily bl~gs. :. Following the
         Federal investigation into the killings df a Federal Judge 1 s
         family in Chicago, White spoke publically in support of the act
         o:j: vi-9],.ep.c~ C?-ng e-PJi!,2,lJQE?d th~ cl-9tions. In P.-p_proximc;J.t~ly., Q\.1.n~ gt:
         2005, White began to proclaim himself as,: 11 Head of the Roanoke_
         chapter 11 of the Minneapolis, MN bised NSivl .

                 . On Saturday 10/15/2005,: in Tol~do, Ohio, the NSM staged
         a march against black gangs harassing white residents.    This
         march turned into national news sparking:riots in the city of
                                                     o:
         Toledo.. NSM had approximately 2 me_mben~ involved in the march,
         with White being one qf them. ·White came out on the national
         news circuit in support of NSM 1 S cause. :white was one of the
         organizers for the march in Toledo.

                   After discussing the open investigations and the new
         recent incidents of ha:1'."assing/thr,eatenin~ e-mails, SAi Church                               b6
                                                                                                          b7C




                                                                                              FBI(16cv948}-31861
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                                                                                                                ]
         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 58 of 487 Pageid#: 5827


           To·:   Richmond Fro      Richmond
           Re:    9A-RH-53173 1 02/27/2008



           AUSA Bondur·at/ and USDOJ Attorne~:k6wa.1ski lagree the                           bG
           investigation should be consolidated into a one investigation                     b?c
           under a Civil Rights-Racial Discrimination caption.
           Consideration was also given regarding a current on going
           investigation by the Lima RA 1 Lima 1 Ohio, concerning letters and
           flyers being sent to citizens voicing their concerns over a
           shooting of a black female.    White has also written several blogs
           associated with these events.

                     Therefore, .Roanoke RA requests captioned cases be
           closed.  Furthermore, Roanoke RA will coordinate with all FBI
           Field Office's in order to determine, both past and present, what
           investigations and complaints they are investigating that mqy
           fall purview to Roanoke's investigation. ·




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 59 of 487 Pageid#: 5828

  To:   Richmond Fro.. Richmond
  Re:   9A-RH-53173, 02/27/2008




  LEAD (s) :

  Set Lead 1:      (Info)

        CRIMINAL INVESTIGATIVE

               AT WASHINGTON, DC

               ~   DTOU,:   I   For information only.   Read and clear.
                                                                                         b7E




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                                                                     -   ,   FBI(16cv948)-3188;
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                         EXHIBIT411-2
Case 7:08-cr-00054-EKD Document   D(l)Filed 10/05/20 Page 60 of 487 Pageid#: 5829
                        Summary of FBI File #266N-RH-52670
Serial tJ:           Date        Exhibit     Summary

   1                 10/20/05                          File opening
   1.Al-2            11/2.3/05                         my corporate documents
   1A3                3/09/06                          surveillance photos of 12/10/05
                                                       NSM Toledo ral],y
   1A4                6/10/06'                         surveillance photos of 6/10/0~
                                                       NSM-WKKK Antietam rally_
   2                 10/10/05                          Roanoke Times and Toledo Blade
                                                       on 10/15/05 NSM Toledo rally
   3                 10/16/05                         .Roanoke Times article on Judaic
                                                       opposition to me
   4                 10/18/05                          Rormoke _-Times article on fair
                                                       housing investigation
    5                10/19/05                          Roanoke Times article on 10/15/05
                                                      NSM Toledo rally
   6                 10/21/05                         reguest for IS
   ?,                10/21/05          D( u)          302 with Martinsburg WV CHS
    8                11-/0}/0 5                       IS response tb .s-erial 6
    9                11/07 1/05                         IS response to serial 6
                                                                               -
   10                11/11/05                         , Roanoke Times article on 12/10/05
                                                      NSM Toledo rally     -
     11              11/18/05                         IS respon~e to serial 6
     12              11 /18 /0§:'                     IS response to serial 6
    13               1_1/18/05                        IS response to serial 6
     14                              _ -::mis.sing-
. ----15--------.   --T21r4·;tss·        D( c)        Grand Jury op·ening
     16              11/22/05                         IS response to serial 6
    17               11/23/05                         IS response to serial 6
    18                1/24/06                         phone calls to _Brian Costigan
    19                1/10/06          D(d)           49 agency DT Intelligence analysis
    20                1/25/06          D(e)           intelligence document on 2/25/06
                                                      NSM Orlando rally
    21                 1/17/06         D (.v)         WV CHS
    22                 1/30/06                        monitoring of NSM websi~es and
                                                      radio
    23                 2/15/06                        Tamp~ CHS 302
    2.4                2/02/06                        12/10/05 NSM TOl~do rally
    2.5                3/15/06                        2/25/06 NSM O~lando rally
    26                 3/31/06.                       Houston.complaint 302   .
    27                                -missing-
    28                 3/31/06           D(w)         WV CHS o·n WV event
    29                  4/19/06                        Blevins 302
    30                · 4/-06 /:06                     NSM IIR interagency notice -
    31                  4/06 /06                       NSM IIR interagency notice
    32                  5/07/06                        reassignment of file from SA Kelley
                                                       to -S.A Church
    33.                5/08/06                         Hardwiek 302
    34                 2/23/05                         Foust letter
    35                 4/21 /06·                        WV CHS on Va KKK event 4/0fi
   ,i36                4/26/06                        . WV CHS on NSM 04/23/06 lansing rally
    37                 4/29/06           D ( :ff).      Winchester Star and ·overthrow.com
                                                        articles on 05/05/06 Winchester
                                                       prot~st, filers, ticket


                                          -:-1-
                    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 61 of 487 Pageid#: 5830
                        Serial If      . Date        Exhibit       Summary

                                     38                     6 /05 /06                D Ct)    .    report on flie~ ticket
                                     39.                   2/2R/06                   D(gT          update on flier tic·\.et
                                    ·40                    2/28105                                  Kennett r:espons·e to s:2.r:.iq_l '3,~
                                     41                    2. (2)3. { 0,}                             ~nvelope of serial 40
                                     42                     2/23 /-0 5                                coµy.of serial~~
                                      43                    6/10/(l~                                  b i1D/06 WKT.(K, Antietam r a 11 y ·
                                                                                                      surveillance photos
                                      44                    6/10/06                                   6/10/06 WKKK Antietam rally
                                                                                                   .surveillance photos
                                      45. ·.                 6/13/06                                  6/10/06 WKKK Antietam rally
                                      46                     6/08/06                                  Chicago mistaken identity
                                      47· ·          . ··---~6/12-/0 6 ·                              ftpaµcial. analysis file
                                      48                   . 5/Z°5/06 ·                              WV CHS 302
                                      49                     6/21/06                                  Chic~go mistaken idenilty
                                      50                    6/21/06..                               . Chicago mistaken iden·ti ty
                                      51                    6/29/06                                   Charlot_te,- --NC Mount Airy RA KKK
                                                                                                      complaint
                                      52. · ·         -----~--1li..:J I 66                             6/10/06 WKK Ant.i_etam-rally
                                                                                                      suive·i1J..ance phOtos
                                      53      .             7/25/06                                   WV CHS 302 on my departure from
                    ·······-·-·54---                 . -···-•--7./0-7-J:o-6.                          'N~cHs.·302 on gossip
                                55                         .. -7/26/06.             . D (h)           Roanoke Times articre on. my dep-
                                                                                                     .artu~e from NSM
                                     56                 9/01/06                       D_Cl<,)         file .closing document
.• • • , . .   --   .•• •   c.   -~----57~ - . ·... ____g_/-t.9./-0:6......... , ·"... . · ... .     .9 /_2:/.0:6.J:.rKKK .. Get tys.-,burg r?-lly- .
                                      58                 -~1/06/06                    D(l)            fli:er · ticket ·update
                                      59                   5/25/07                    ---             ietster charged C-ount 3 US_ v .White
                                                                                                      WD Va 08-cr-054
                                      60                     f;i.107 /:07            D{~               assessment serial 59 n_ot criminal
                                      61                    9./28/07                 D(nJ          • reo~~ning of file over. Jen~ 6 .
                                      62                    9/28/07                                   Jena 6 material
                                      63                    9/28/0-7 · ..                              "Noose on the loose" post                   .
                                      64                    9/28/07 ·                                 Roahoke Times a~ticl~ on Jena 6
                                      65                    9/28/07                                   CNN'.article on Jena 6
                                      66                     2/27/08                                   fil~ reorganization/cvncealment
                                                                                                       d,o_c-µment            .
                                      FIN-],                6/12/06                                    finaricial subfile opening document
                                      FIN-2                 "8/19/05                                   fina.ncia·1 document
                                      G,J-1                ·12/14/05                                   Gj opening d"ocument
                                       GJ-:2                [redacted]                                 GJ 9 ubpoena
                                       GJ-3                  1 /-26 /06                                GJ $ubpoena return
                                       GJ-4                  1/26/06 .                                 GJ subpoena re t u.rn
                                       GJ-5·                  2/09/06                                  GJ subpoeha return
                                       GJ·-6                 .3 /24/06                                 GJ subpoe:na return
                                       GJ-_7              i [redacted]                                 GJ subpoena
                                       GJ-8                 [redacted]                                 GJ :,subpo·ena
                                     - GJ-9.                 4/25 /0-6                                 GJ subpoena return
                                       GJ-10'                7/26/06                                   GJ $Ubpoena return
                                       GJ-lA/1-2             7/26/06                                   GJ FD-340 en~elopes




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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 62 of 487 Pageid#: 5831
                                                             EXHIBIT ··D(:m)



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r,
          (Rcv.01-31-2003)

                                     FEDERAL BUREAU-OF INVESTIGATION:


                    Precedence:                   ROUTINE                                           Date:   o·6/07 /2007

                    To:      Counterterrorism                                    Attn:     f DTOU   l
                                                                                            SSA~I_ _ _ _ _ ____.
                          . vfichrnond                                                      Roanoke RA

                    From:       Norfolk
                                   Squad 8/TJT~F                                                                                    b6
                                  Contact: Slj_
                                                                                                                                    b7C

                   Approved .By:              I                                                                                     b7E


                   Drafted By: _
                 . Case ID # : 2 ._6_6___
                                        N_F___C_3_5_8_2_7__,,,~'JJ-~f-P_e_n_d_i_n_g_)__,
                                       ~-RH-53173-~4>(Pen:ding).
                                      ~66N-RB-52670 , (Closed)
                                                                  1
                                                                  '-PO       .
                    Title:        WILLIAM ALEXANDER WHITE;
                                  aka BILL WHITE;
                                  NATIONAL SOCJALIST MOVEMENT;
                                  VIRGINIA BEACH, VIR~INIA

                    Synopsis.: To provide WMDOU,; Richmond Di~ision, Roan~ke
                    Resident Agency intelligence· info~mation :regarding activity of
                    Bill White, Commander, American National. 'Socialist Moverq.ent
                    Party. '                     ·        ·

                    Enclosuje(s):  One copy of 1etter sent td residents in
                    Virginia Beach, Virginia.
                                        -~~   .

                                                                         ,                   L
                    Details:        On 05/25/2007 sev:~ral residents; at the 15 ½ Street
                   .apa-±.tme:a-1:.s in V-i·rginia :a-each rece~ve"d m~i;I originating. ·from
                    the American National Socialist Wbrkers' !Party, PO Box 8601,
                    Roanoke., VA 24014. The residents I who redeived the mail are
                   named in: a discrimination complaint filed against Henry LLC,
                    the landlord of their apartment cbmplex. I The residents filing
                    the complaint are. African American and the land lord is
                    Caucasian.

                                The mail received included a qover letter and a
                    copy of the May 2007, issue :of the National Socialist journal.
             8      The cov·er lett.er identifies the di$crimi:nation complaint as
                    the reason for the letter. -The cover let;ter includes racially




                                                                                                                           FBI(16cv948)-3167.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 63 of 487 Pageid#: 5832

   To:   Counterterro   m From: Norfolk
   Re:   266-NF-C35827, 06/07/2007



   derogatory language but no defined threat. As a result of
   receiving the letters, a resident that received the mail
   contacted local and federal law enforcement.

             Norfolk Division's JTTF, ·civil Rights and CDC
   reviewed the letter and identified no criminal violation.
   Local police and the US Postal Inspector also identified no
   criminal violations.

             N0rfolk has documented the occurrence and has
   provided this infonnation to Richmond Division, Roanoke
   Resident Agency for any action deemed appropriate .




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                                                                        FBI{16cv948)-3168
                                                                                     __J
-----·    -~---~-------,---------~-----------------.
     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 64 of 487 Pageid#: 5833
,·
       To:    Counterterrorism From: Norfolk
       ,Re:   266-NF-C35827, 06/07/2007




       LEAD(s):

       Set Lead 1:       (Info)·

              COUNTERTERRORISM

                   AT WASHINGTON, DC
                                                                                         b7E
                   Fo~    DTOU:lread and clear.
       Set Lead 2:       (Info)

              RICHMOND

                   AT ROANOKE, VA

                 Intell~gence provided for Richmond Division, Roanoke
       Resident Agency.




                                            3,



                                                                           FBI(16cv948)-3169
. ~-•-·-----··----------------~---'------~~~----+---'-''---------
   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 65 of 487 Pageid#: 5834
                               EXHIBIT D(n)
 (Rev ..01-31-2003)


                           FEDERAL. BUREAU OF INVESTIGATION


           Precedence:              ROUTINE                                  Date:   09/28/2007

           Tp:        Counterterrorism                     Attn:                                              b7E



           From:       Richmond
                          Squad 7 / Roano,;..k=e-=RA=--=---------------
                          Contact: · SSRA_I Kevin L Foust              I                                      b6
                                                   /1 I                                                       b7C
           Approved By:

           Drafted By:

            Case ID #:
                              9A-RH-53173
                                                      .   ~
                                                  (Pending)-~
                                                                   ~6
                             \1266N-RH-52670       (Pending)-~ (p        {
           Title:
                                                  MULTIPLE VICTI~S; ET AL

                           CHANGED
                           WILLIAM A. WHITE, aka,
                           Bill White, dba,
                           National· Commander,
                           American National Socialist
                                                :      Workers
                                                            .  Party;
                           AOT-DT-WHITE SUPREMACIST EXTREMISTS

            Synopsi_s: To reopen ini tia~
            captioned subject and to advise thej
                                                       I                                 on ·I                b7E

          I            ;     I
                         of said re-opening with~i-n-1~0-·c_a_l~e-n_d_a_r_d~a-y_s_,_a_s_ _ _---1
            directe,d by FBI policy.
                             :,·.
            Previou;s Title:   Title marked II Changed" to re·flect the new
            or~aniz:atiori WHITE formed, identified as !the American National
            Socialist Workers Party (ANSWP) upon his :removal fr0.tn the
            Nation~l Socialist Movement (NSM): by the :leader of the NSM.

                                                                                     set to expire            b7E



            Details: This m<;ttter· is being r~;oJi)ened ~s a 1 l a t the directi~n                           b7E
            of the I·   . I This matter was originally :opeTiecr[             due to         I
            the fact that WHITE held a. leader'ship ro~e within the NSM.       It
            was subsequently closed           I    ·       :
                                                  !upon the determination that
            WHITE had been 11 kicked out" :of the NSM hi other senior
          . leadership.


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                                                                    .!
                                                                                                              b6.
                                                                                                              b7C
                                                                                                              b7E

                                                                                                  FBI{16cv948)-317D;

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                                                                   I .
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 66 of 487 Pageid#: 5835

  To:   Counterterro   m From:      Richmond
  Re:   9A-RH-53173, 09/28/2007



            In the interim, WHITE formed the ANSWP and continues to
  operate the website www.overthrow.com. WHITE identifies himself
  as the "Commander" of the ANSWP. At present, the exact
  membership of the ANSWP is unknown. However, WHITE and other
  ANSWP members have attended various public functions and protests
  during the very recent.past.   Source reporting, as well as
  postings by WHITE and others on www.overthrow.com clearly
  indicates that, at most, only two to three other individuals have
  attended these events· along with WHITE as members of the ANSWP.

                  Recently, WHITE has posted extremely inflammatory and
   virulent racist remarks against the indiv.iduals identified as the
   11
      JENA 6 11 • WHITE has gone as far as callipg for.their lynching
   and has posted what he believes to be the:ir home addresses and
   telephone numbers on www.overthrow.com. WHITE. has threatened to
   mail a copy of this information to every "white man 11 in Louisiana
 · in the hopes that someone will travel to their homes to "dispense
   justice" upon them.

             Richmond currently possesses no positive intelligence
   suggesting that neither WHITE nor anyone :else has current plans
   to travel to Louisiana in order to harm any of these individuals.
   Richmond has also been closely coordinating this matter with the
   Monroe, Louisiana Resident Agency (MRA) :Ln which whose territory
   Jen~, ~ouisiana exists.                  ·

             Richmond will continue to investigate the above-
   captioned 9A matter with an eye towards ~ossible criminal
   prosecution.
                                                                                     b6
             This matter is being assigned to SAIT David Church,
 0      in th~ Roanoke RA.
                                                                                     b7C_




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                                                                         FBI( l6cv948)-3171
                                                                -   i
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 67 of 487 Pageid#: 5836

    To:   Counterterro_  m From:     Richmond
    Re:   9A-RH-53173, 09/28/2007



    LEAD (s} :

    Set Lead 1:      (Info}

          COUNTERTERRORISM

                 ·AT FBIHO

                 Read and clear.




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                                                                         FBI( 16cv948)-31721

                                                                                           J
--· -·-· - - - - - - - - - - - - - - - - - - - ~ - - - - ' - - - - - - - - ~ • - = = ~ = = = < = < !
  Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 68 of 487 Pageid#: 5837
                                        EXHIBIT D(o)

FD-302 (Rev. 10-6-95)



                                                                                  -1 -

                                                   FEDERAL BUREAU OF INVESTIGATION



                                                                                                    Date of transcription    05 / 08 / 2 0 0 6

                                                                  ~r;I
                       Li]:'ica    Hardwic1<. (PROTECT IDENTITY), Social Security                                                                       b6
             Account Numbe:rf.___ _ _ _ _ _ date of birthl            !was                                                                              b7C
             interviewed at her residence. After being advised of the nature                                                                            b7D
             af the :i.J?.terv~ew and the ide~tity of the.interviewing agent,
             I       _Jprovided the _following information:
                  ___ I.B'.ard:wick lwas asked about specific people who reside in                                                                      b6
               th~Roanoke!area and if they have aEY..,affiliation with William                                                                          b7C
               A. White,· a. k. a Bill White. [Hardwi.£.k:Jprovided. any and all                                                                        b7D
               information she knew about the individuals. The individuals
             · discussed were the following:                  ··

                           a.k.a
              very aa ive in the White Su remist movement. Known to b
              and has                                                                                                                                  b6

                           t


           ~. . ____________i
                                             VA.


                                                                                   I________-----~----~
                                                         _s_a_s_.D_a_s_s_J_h_l_v_. . .                  •~    v~heH~~Lement,              I
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                                                                                                                                                     ,v
                                                                                                                                                       b7C
                                                                                                                                                       b7D




                                                   No movement connections, he works atl~---;_,_J
                                                                                                                                                      b6
                                                                                                                                                      b7C
                                                                                                                                                      b7D



           I. .~·any
                  ---,,.,.,..,.=----=----'I
                       movements.
                                            fat her •is l.________""--'I no
                                                        -
                                                                                                          association with

                                                                                                                                                        b6
                                             Known                             n the area. White male~ in
                                           ,--"-'='-="'-1...--.-s-w_e_l_l__a_s~a othe~      ~         Jhas a                                            b7C
                                                                                                                                                        b7D
             1.r-------------.,.__---~~~~~~n~~~~~tl-o=u~t~.~.a=o=e=s-=n~o=c.--,n=a=v-:=!Ja~n~he
             ._a_s_s_o_c_i_a~t_i_o_n_s_w_i_t_h_B_=_LNb_~ iteJ. Drives a           possible   I.                   I
                        L ·.      ,·]
               telephone number . is
           ~_ ___._!No
           wITnl    __    l
                       ass·ociation, . used                                              to date someone affiliated



     Investigation on     11/23/2005                at._l_ _ _ ___,'IVirginia                                                                          b6
                                                                                                                                                       b7C
     File#       266N-RH-52670 -33                                                            Date dictated    0 5 / 08/ 2 0 0 6                       b7D

     by          SAi Katherine· P Kelley 1·                                                                                           FBI(16cv948)-3058
                                                                                                                             I

     This document contains neiU1er recommendations nor conclusions ·of the FBI. It is the property of ~1e FBI' and is loaned! to your agency;
)(if...- Jo2- - vJf o.(
----~-------~==-=~=======~~========-~==-==--=========c=='if
        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 69 of 487 Pageid#: 5838
         ',

 FD-302a (Rev. 10-6-95)




                  266N-RH-52670


 Continuation ofFD-302 of   ~...._ _ _ _ _ _-,-_   __]1---------- ,                       On   11/23/2005   , Page _ ___:2=----    b6
                                                                                                                                   b7C
                                                                                                                                   b7D
         ,_________,._,I-          No association with Bill White



                                                                                                                                  b6
                                                                                          movemen
                                                                                                                                  b7C
                                                                                                                                  b7D

                               _Kno~n a.s..1;;:ofiate withl
              ,__ __.,;.-~lives i n V A currently. Husband is!
                                                                                         Dated!   I            ..1
                                                                                                                r-
                Has the email o ·                             !(or somethinL-g_c_l.,....o_s_e--=-t-o_ _.
                that).                                      _

                                  - No knowledge of
                                                                                                                                   b6
                                           I .
              '----c-=-____,..,.,.....,..,.,,--:=e-.-......cthress of ,-------------------'-'lv....A.....,,"-i                     b7C
                                                                                                                                   b7D
                                                     whi::~ f b I
                                             eflectL
                             /        '-----------------                                                                           b6
          r~-------------~lo~f=--=B~1~·1~1:;_:w=h~1~·t~e;::..:...•_~P=o=s~si bl y works at                                         b7C
              l                                                                           I                                        b7D


                             1 Hardwick   oes not have any affiliatiori with 1;3i~ite
               -~=----             If they do communicate at this point, it isL_I




                                                                                                              FBI(l6cv948)-3059i

- - - - - - - - - - - - - - - - - · ----- ... ----- -· ---------       ---------- .....                                                  J
     - - - - - - - - - - ~ ~ - -~~-~~====~~~~===--~=======~====='-===~-------




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                   Case 7:08-cr-00054-EKD Document 411-2
                                                      D(p)Filed 10/05/20 Page 70 of 487 Pageid#: 5839


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                                             EXHIBIT
                                                                          ------------
                                                                              Date: 07/13/2006
                                                                                                     If

                                                                  Attn7i1
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                                                                                                 i                                                                       b7C




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j_ _                 :0al t.tmore                                 Attn:    JTTE'/TFOI            I   .
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 1
  :                  IY!ii:ineapolis                              Attn;

 1                   Newark                                       Attn:    s~
11               - ,{I       -
       _,f>!,.,.. , ,wl'hicl:unonq.                           ~ttni
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f                                                                                    I
       -             TiJ?slf:l,:p,~!?.U..f,.:j.eJ.d               Attn:    JTTF/SA
           Froll!,       Ricfimond                                                                                                                    /
                          ·. Squad 6/Winc~tQr P~
                             Contact: sAL_._
                                         ____         ~----~-----~--J                                                                                                    b6
                                                                                                                                                                         b7C
.,1'       Gas~-     :r.~ -#1   ~66N-RH-52871  (Fending) -

 ,•.: .
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]                            \J'266N-RH-52670  (Pending)
                                266N-WF-233751 (Pending)
                                lOOA-MP-63291 (Pending)

l          T:l.tl.¢':!                                                                                                                                                   b6


I
                                                                                                                                                                         b7C




t
·l
·,
                    --~/w:tLL:i:AM' ALEm:Al.\IDER WHITE•, • aka
                        Bill White;            '       .
                          AOT-DT-VC
                          ob:    RH (266N-RH-52670J

                         ,])lA':l?IONAL SOCIALIST MOVEMENT
                          TEI                                 .
                         ,OQi    MP (lOOA-MP-63291)


           B!J.c:i,o~t,res i ,Pl,oJ.ographs o·f partii;:ipants attending t;he KKK epoi;isqred
           protest. a,t th~ ,Antietam Nat:ic;,nal .Ba.:~-~le~iel~; .:~_harpsbip:~, ,Maryland, on
           06/-10/?006', whJ.ch was also attend~d' _by the NSM~         ·                     ,:




                                                                                                                           '
                                                                                                                      ...:::,':        '        ~
                                                                                                                            -      l   ••   •



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             Case 7:08-cr-00054-EKD Document 411-2 Filed
                                          EXHIBIT  D(q) 10/05/20 Page 71 of 487 Pageid#: 5840
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                                                    SURVEIL~CE      LOG


          DATE:  06/10/2006                                      FILE:  266N-RH-52871
          DAY OF WEEK: Saturday                                  WEATHER: sunny; clear


              On this date, a surveillance was conducted at a protest by
         the World Knights of the KKK (WKKKK) and the National Socialist
        ·Movement (NSM) at the Antietam National Battlefield, Sharpsburg,
         Maryland. The following observations were made.



          TIME
          INITIAL

          OBSERVATIONS

                                                                                                        b6
           10: 35am                                                                                     b7C

           FISUR initiated by SA!                 !FBI RH/WRA, at
           Gold's Gym Parking Lot, Berryville Avenue, Winchester, Va.
                                                                                                              b6
                                                              Krause      in his vehicle,. a
                                                                                                              b7C
                                                                              with an Unsub
                  who operat~d a                    . . - - - - - - - - - - - - - - - ~ a) ;
                         Male CU/
        .__,...,.,1,.,...-.........,..... Unsub
           wearing a ,__        _,          _____
           .All males were wearing black BDU pants, black boots, brown
           collared shirts with NSM p~tches on side sleeve, black
           tie, Nazi arm bands, and Sam Brown belts.     ·
                                                                                                              b6
           Aj~~----~lwithl~---~l(va) was parked beside these two                                              b7C
           vehicles.


           10:45am
                                                                                                              b6
           U/M walks into Gold's Gym.                                                                         b7C


           10:53am

           U/M returns:to group from Gold's Gym.


           11.:06am

                  bxits _vehicle, ·stands at side, and straightens
     [~~-i-a:,'1..111,:;,-:.
           shirt a~d puts on tie.

           -----------. --- .-------------------------------------------------
           Case ID : 266N-RH-52871                                            Serial    49
                     266N-RH-52670 ·                                                    43
                                                                                               FBJ.(16cv948)-3106
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                                                                                                                     I
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 72 of 487 Pageid#: 5841

                                        ---- Working Copy----                  Page     2



  11 :·11am·

  Bill White arrives in a white 2D Toyota. Unable to
  identify model of vehicle and plate. IKrauseland group                                    b6
  greet White.                                                                              b7C



  11:18am

  Krause oes to the rear of his vehicle, obtains a mili tar'Yj     I                        b6

  hc1.t and puts it on, an~                     I
                                   White who has a video
                                                                                            b7C

  camera.

[:=)G~then takes a sign out of the back of hisl           Sign     van-.1
  is a out!                  !
                     white with black lettering, with two
  poles on the ends.


  11: 2lam

               j
'-G-o-l~ct~·,-s-
                   wearing his uniform and a
                   Gym.
                                                I     h
                                             ......._ ___.
                                                           acket, walks into
                                                                                             b6
                                                                                             b7C



  11: 27am

 CJ            returns to the group from Gold's Gym.


  11: 30am

  GrouR,_ gets i n t ~ r r'especti ve vehicles:
  U/M;'=:::]andl_l(driver); ·White.·            .___ _ __
                                                           I
                                                         land



   11: 3lam

  Group·departs parking lot, heading east on Berr.yville
  Avenue.


   11:32am

   FISUR paused as the group was not followed.


   1:20pm
     tl
  FISUR continued at the Mumma Farmhouse, Antietam National
  Battlefield; Sharpsburg~ Maryland. Area divided into·
  three groups: P.rotestors; ~edia; Counter-Protestors.
                                                               I

  Two vans ar~ived at Protestor location e ~ d by US Park
                                                                                            · b6
  Police (USPP) . Arriving we:r::e jK.rause1 U/M,L__J from the
                                                                                             b7C
  NSM; U/M in al           !hooded/robed Klansmen; and
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 73 of 487 Pageid#: 5842


                                                      ---- Working Copy                                                     Page      3

 several others in white t-shirts.


 1:30pm

~===-~1~·;0L.._ _ _ _ _ ___."""""'a~n~d:e........:o~n~e    hooded Klansman!                                             I
                                                            Male i       introduces self
                                                                                                                                       b6
r---::-----------1----------,---.......::..____,1and                                                           a                       b7C


,__ _ ____,!topics include white ri hts                                     white power, black on
  white crime and immi ration.     oung                                      ives name and states
  that the

 Hooded Klansman does not speak.




 Arrival cif secyud q:orp of two vans escorted by -USPP.
  Group includes         people dressed in black t-shirts                                                                                   b6
  and pants, and anot er group dressed in gray collared                                                                                     b7C
  shirt with patches and dark pants. At this time, a ~otal
  of about 25 people, including several children.


  2:10pm

 Arrival of third· group .of two vans escorted by USPP.                                                        Bill
 White in this group, others in non-uniform civilian
 clothing. White takes pictures of media and counter-
 protestors with his videQ camera.


  2:20pm
                                                                                                                                            b6
                                                                                                                                            b7C
  en ering           a a.                lS

~     ~neaker ,_·,_s,...........i ....d....e...,.n...,t~J....· .._f_,_i....e.._d,__.a~s~l----7-~-~----.--.....lwears.
i=--~                                                                                        Topics include
 white rights, plack on white crime, and immigration

  Counter-protestors heckle the protestors.


  2: 30.pm

 Arrival of fourth set of vans with escort. About five
 people exit: No uniforms. About 35-40 people in
 attendance for the Protestors.
                                                                                                                                            b6
~[_ _ ___.lends speech.                                                                                                                     _b7C



                                                                                                                            FBI (16cv948}-3 l08

                                                                                                                                                   I
        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 74 of 487 Pageid#: 5843


                                                            ---- Working Copy----                                                  Page      4

        2:35pm
                                                                                                                                                 b6
  ~introduces Bill.White by name as the next speaker.
  L , ~ include white rights, black on white crime, and                                                                                          b7C
   immigration.

    2:45pm

    White- ends speech.                        Nazi salutes

        2:46pm

  I Young1 iht,roduces                  J__ _ _ _ _ _ _ _ _ _ _ _ _-.-.:.,__ _ _ _ _                                     ,,7__.
                                                                                                                                                 b6
                                                                                                                                                 b7C
                                                 __e_ro_a_J_e_ __,.__I yoa I _____.I
  JJS_Lo..t___,_a_e_u_t_,_·' f_,_e_d_b_v_nam
   L.
                                         __e_·__w_bli
                                                                 !                                         I ...




          ..
        2:48pm
   ,________,lends.


        2:51pm

   Iinclude
    Youn_g !introduces.I,.__ _.........,lby·_ name as a
              white rights, black on white
                                                                                    speaker. Topic·s
                                                                                    crime, and
                                                                                                                                                 b6.
                                                                                                                                                 b7C

        immigration.-

    2:54pm

, I Young I ends                 speech.         Nazi salutes

    2:55pm
                                                                                                                                                 "b6
  [!~nj] inE:Pe0:1:1.ees-L_---''----=<'--,-,-----...---lr---7----lr-----i----'
   Not.identified b                                                                                                                              b7C




    3:02pm

  L , __ _ _ _ _ _          _.jends speech.

    3:J 03pm
                                                                                                                                                 b6.

    l                  a1_~
   ,Y_o_u_n_k_ju_·t_r_o___
   .,_
  -.,
                           __L::::::~~~.::.::.::~~~--_l""_-=~Wh
                             '
                                                              . .U---r,...;.-..,;:-....J
                                                                  . i t e ma-s....;.-    i......e-........f-_-_-_-_-_--,.__.f_,I
                                                                                                -.J.J.I.
                                                                                                                          _
                                                                                                                                                 b7C




                                                                                                                                   FBI{ 16cv948)-3109
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                                                                                                                                                        '
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 75 of 487 Pageid#: 5844


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       ..
    3:08pm
                                                                                            b6
                                                                                            b7C


    3:09pm

[Younglintroduces a white male from~l__________----'-rl
[Not identified by name. Wearing
                             I          af            I
                                         L - - - - - - "




    3:10pm

    Male ends speech.


    3:11pm

[ Youngl again speaks anq banters with the counter-                                         b6
  protestors.                                                                               b7C



    3:40pm

    Protest ends.  Protestors are transported away from area.
    in vans by USPP.


    3:45pm

    FISUR terminated.



    Signatures of Surveillance Team:




                                                                             FBI{16cv948)-311q
                                                                                                  I
       Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 76 of 487 Pageid#: 5845
                                                   EXHIBIT D(r)

                                                ---- Working Copy                                             ·· Page         1

                      PHYSICAL          SURVEILLANCE               LOG           COVEE.   SHEET


  File:                                                266N-RH-52871
                                                                                                                                  b6
  Case Agent/Officer:                                  S~.__ _ _ _ ___,~H/WRA
                                                                                                                                  b7C


  Subject of Surveillance:                                                                        I
                                                                                                  and other
                                                   ._~N_a_t~i_o_n_a_l,__S~o-c~i-a-l~i-s_t_M~o-v__,ement
                                                      members.

  Day/Date of Surveillance:                            Saturdayi 06/10/2006

  .Agents/Officers on Duty:
                                                       SA   . . . . . _ I_   __ _ ,




  Time Period:                                         10:35am                   3:45pm

  Log Maintained By:                                   SA~'---~

  SYNOPSIS          OF       SURVEILLANCE:

     (X) Subject Observed    () Subject Not· Observed
     (X) Photos Attempted by: s~                                             I
  INDIVIDUALS.
  OBSERVED
  ADDRESSE,S/LOCATIONS
     LICENSE PLATES
  OBSERVED

                                                                                                                                  b6

 [                                                                                                                                b7C

  -Ge±El-' -s- -G-ym· P-a-rkiTJ.g· l-e-1:.-;· -:A:n-1:. ie:1:.-am
 [attl8field Protest Sharpsburg, Md.

                                    1
c:~iu : ;1.:ry1u ~Jrking lot; Antietam
  Battlefield;Protest



  ~SU~       .           I
  Gold's Gym Parking lot; Antietam
  Battlefield'Protest·

  ·-    --------- -------------------------.---------                                                         .   --    .   ---
  Case ID ·: 2 66N-RH-52 871                                                          Serial          50
             266N-RH-52670                                                                            44
                                                                                                                  FBI(l6cv948)-3111:
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 77 of 487 Pageid#: 5846


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r
 UNSUB MALE
               :                                                                            b6
                                                                                            b7C




 Gold 1 s Gym Parki~g lot; Antietam
 Battlefield Protest




 Antietam Battlefield Protest



L~--=---,-1·
 Antietam Battlefield Protest




 Antietam Battlefield Protest



 ADDITIONAL     COMMENTS:

 FBI BA JTTF members were also present at the Antietam Battlefield
 Protest.




                                                                             FBI(l6cv948)-31 l2
                                                                                             -- j
                                       .i;:=~==~----'-"-'---'--'-~:__-~......__.---~------~---------"'\i
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                        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 78 of 487 Pageid#: 5847
                                                                                                              EXHIBIT D(s)

                                                                                                                          Working Copy                                                         Page      1
             -/
                                                                                                                                                                                       I

                    Precedence:                                  ROUTINE                                                                                           Date:    b6/13/2od6 I   •



                                                                                                                                                                                                             b6
                    To: Counterterrorism                                                                                     AttnLI--..----..r----,------,                                                   b7C
                                                                                                                                                   ~~'---------.---                                          b7E


                                     Baltimore                                                                               Attn:                 JTTF/TFq~---------'
                                     Minneapolis                                                                             Attn:
                                                                                                                                                   SSA._I- - - - -
                                      Pittsburgh                                                                             Attn:                 Martinsburg RA
                                                                                                                                                    SAi· TG             .
                                     Richmond                                                                                Attn:                 Fredericksbu5a RA
                                                                                                                                                   Roanoke RA/?1i_ David Church                 I
                                     Washington Field                                                                        Attn:                 JTTF/S~                                      I
                    From:                       Richmond
                                                   Squad 6/Winc~h=e=s=t=e=r~RA=-------------,
                                                   Contact : SAi                                                                                                                I
                                                                                                                                                                                                             b6
                    Approved By:                                                                                                                                                                             b7C

                   ·Drafted By:

                     Case ID#: 266N-RH-52871 (Pending)
                               266N-RH-52670 (Pending)
                               266N-WF-2337=?1 (Pending)
                               l00A-MP-63291   (Pending)

                    Title                  :I                                                                                                                                                                b6
                                                                                                                                                                                                             b7C
                                      · '.-....,N'""'a"""t...,,.i"""'o=n=a,....I--.-S""'o'""'c"""i,....a,,...,lr-:i,...,s""t~tv"'"'Io=v=e=m=e=n=t,,,--;- - - - - - '
                                            AOT-DT-WHITE SUPREMIST=EXTREMISTS
                                            00 : RH [...._ _ _ _ _ _ __j____.
                                                                                                                                                                                                             b6 -
                                                NATIONAL SOCIALIST MOVEMENT.                                                                                                                                 b7C
                                                AOT/DT _ _ _ _ _ _ _~
                                                00: WF             L - 1_      _       _        _       _       __ _ ,




                                                WILLIAM ALEXANDER WHITE, aka
                                                Bill :white;
                                                AOT-I?T-VC
                                                00: ~H (266N_-R.c"9:-526.70)


                                                NATIONAL SOCIALIST MOVEMENT
                                                                                  .          ..
                     ---------------------------------------------------------------------------
                                .
                    Case ID : 2q6N-RH-52871                                                                                                                            Serial : 51
                              266N-RH-52q70                                                                                                                                     45
                              266N-:-WF-233751                                                                                                                                  7
                              l00A-MP-63291                                                                                                                                     1142
                                                                                                                                                                                               FBI(16cv94.8)-3113

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                                                                                                                                                                                                                    -l
      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 79 of 487 Pageid#: 5848


                                                ---- Working Copy----                                Page        2

             TEI


.L~:~j       00: MP (100A-MP-63i91)

            Repcirts the attendance                    ofl    land other
          NSM members at a white supremist. protest on 06/10/2~06, at
 t e Antietam Nation~l Battlefield, Sharpsburg, Maryland.
                                                                                                                     b6
                                                                                                                     b7C
                                                                                                                     b7E


                                                                      set to expireL.I________,

                                                                                                                     b6
 Enclosure:          A co        of the RH WRA surveillance lo ·                                                     b7C
                                                                                                                     b7E
 as

 Details: On_ 06/10/2006, a protest was held at tne Antietam National
 Battlefield, Sharpsburg, Maryland, hosted by the World Knights of the
 KKK (WKKKK). ·Ina show of solidarity, the National Socialist Movement
 (NSM) was invited to ~nd. I                       ···       .         I                                             b6.
I ..                   .
                      . B i l l White, Roanoke Unit Leader, attempted                                                b7C
 to generate support throughout the regional NSM membership to attend
 this protest.

          The enclosed emails were provided by the U~PP who.had an
 officer     I                                      Jregarding                                                       b7E
 preparations for this protest.

          On 06/10/2006., at about 10: 35am, Virginia NSM members
 started to rendezvous in Wincheste_r, Virginia, for travel to the. _ __
 protest. White traveled from Roanoke alone and met the group ofl h:;u.r                                    !        b6
 at the        Gym parking lot in Winchestfr      p;:s1ent werdL._ _ __,I,                                           b7C
              and UNSUB Male, and an UNSUB_ ~ - All males were
         in t1eir Nazi.uniforms. They departede area at 11:31am qnd
          to the protest area.                  ·
                                                                                                                     b6
- - - - - ~ h e UNSUB                                                                                                b7C
1-=~='-----'-T-=-h=i""s~v..:e~-"T1_c_e__,1_.s
                                  residin
   irs1n1a.
L l:sour:ie.-s-,
             :·m:.~Bwi·t.,._"""'s""'s""'AN·......,.___=----=-~_. Base on the i-:ur.._v_e_ir"'l"'..-a_n_c_e___,
 and DJYN descrintions r the dd ver; o_f this vehicle more closely
 resemblesC·                     ·                  _I

          The protest was held at the Mumma Farmhouse on the Antietam
 Battlefield; About 35-40 protestors were in attendance .. The
 protestors (white supremists) · were in one ar.ea;_ the media in the
 middle area; and the counter-protestors in a third area. All groups
 were within;fifty yards of-each other, but separated by U. S. Park
 Police (USPP) on horseback and in riot gear. · The protestors were
 instructed.to park at a location different from that of the counter-
 protestors. and brou h t           e in vans by· the USPP.
          A male in                  and one hooded Klansma                                                          b6
                                                        r=~=~--i------'                                              b7C
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C                                                                                                    an     a.
I rights,        ,.
              white power,
                                                      le iscussion
                                                            opics inc u e
                                    black on white crime, and immigration.
                                                                                                      FB1(16C\Y948)-3114
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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 80 of 487 Pageid#: 5849
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                                                ---- Working Copy                                       Page        3


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 6'•'

        gave his name and stated that the
C:                I The hooded Klansman did.___n_o_t_s_p_e~a~k-.,--------------'
                ,-7 was th..____________________.other sp~akers:                                                     b6
        These s p e ~ included the following:                                                                        b7C


                     .__ _ _ _ __,!Bill White,~'--------~

                      name,I
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                                                        !not identified by name,!                    lyoa,

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                      White male from!                       lnot identified by name,
                      wearing a ~ [ - - - - - - - - - - - - - - - - - - - - - - ~ '
         Throughout the protest, the counter~protestors eckled the
.,Protest rs.Some the-protest speakers, most notabl    .   White, and                                                   b6

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L~----~directed derogatory comments back at the coun er~protestors'.                                                    b7C

                 No criminal acts or arrests were made during the actual
        protest. This protest did receive significant media coverage later
        that night o:µ Washington, D. C. networks (FoxChan:qel 5 and Channel
        9) .




        LEAD (s) :
        Set Lead 1: : (Info)

                      ALL RECEIVING OFFICES.

                             Read for information.




                                                                                                         FBI ( l6cv948)-3115:
        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 81 of 487 Pageid#: 5850
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            FBI investigates supremacist ant~ ...aJena 6" Web site
                o .Story Highlights .. ..                                                                 .
                '" Web site purports to list addresses of some members of the "J~na 6"
                a CNN first reportt;ld the Web site, which features swastika, uses racial slurs
                0 The "Jena 6" are siX blacl< teens accused of beating a white student in Jena

                @  The site lists phone numbers "in case anyone wants to deliver justice"

            NEW ORLEANS, Louisiana (AP) - The FBI is reviewing a white supremacist Web site that purports to list the addresses offive of the six
            black teenagers accused of beating a white student in Jena and "essentially called for their lynching," an agency spokeswoman said
            Saturday.


            Sheila Thorne, an agent in the FBl's New Orleans office, said authorities were reviewing whether the site breaks any federal laws. She said
            the FBI had "gathered intelligence on the matter," but declined to further explain how the age~~y_g_o~ involved.

            CNN first reported Friday about the Web site, which features a swastika, frequent use of racial slurs, a mailing address in Roanoke, Virginia,
            and phone numbers purportedly for some of the teens' families "in case anyone wants to deliver justice." That page is dated Thursday.

            The Rev. Al Sharpton said in a statement Saturday that some of the families _have received "almost around the clock calls of threats and
            harassment," and called on Gov. Kathleen Blanco to intervene.

            A Blanco spokeswoman said the governor had asked law enforcement - primarily state police - to investigate ..
            • ~atch seemingly menacing acts online and on the streets "


            "These people need more than an investigation. They need protection," the Rev. Jesse Jackson said. He said his organization would be in
            touch with President Bush's nominee for attorney general, Michael ~ukasey.

            "This is a test for the disposition of the Department of Justice to serve as an intervener and a deterrent" to hate crimes and discrimination,
            Jackson said. He said federal marshals should protect the families.


            Caro las Purvis, whose number was among three listed on the Web site, said she did not feel in danger. Purvis is· the aunt of Bryant Purvis,
            who has yet to be arraigned. She said she has received a number of calls, some from people who say nothing, others to let her know that
            her number had been put on the site. One, Friday night, used the N-word to her young son, she said.

            A dispatcher for the LaSalle Parish Sheriffs Department said no one in the office Saturday could say whether any threats had been reported.

            Of the two other numbers listed as "active" on the Web site, one was not answered Saturday; the other yiel_ded a constant busy_ signal.

            On Thursday, thousands of demonstrators marched in· a civil rights demonstration in support of the so-called "Jena 6." The six black teens
            were arrested after a December attack on a white student -- tile culmination of fights between blacks and whites.

        8
            Of the six teens arrested, five initia,lly were charged with attempted second-degree murder; charges for four have be_en reduced as they were
            arraign\3d. Charges against t_he sixth teen, booked as a juvenile, are sealed.

            Mychal Bell is the only one to have been tried so far. A state appeals court recently threw out his conviction for aggravated second-degree
            batterY, saying he couldn't be tried as an adult. He remained in jail pending an appeal.
                        .-                              .       ..                                                             .                 FBI(16cv948)-7370
        · William A. ·"Bill" White, listed as the Web site's editor and commander of the American National Socialist Workers Party, did not immediately
          answer an e-mail to.his address. Calls to one of the ~No William Whites listed in Roanoke were not answe;ed; the- other said he was not

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                                                                       Page 82 of 487 Pageid#: 5851


                           FEDERAL BUREAU OF INVESTIGATION


•              Precedence:
               To:
                                ROUTINE
                       Minneapolis                      Attn:          Sqi,aa
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                       vhchrnond                        Attn:          S       ad 7 Roanoke RA
                                                                       S       Katherine P Kelley

               From:      Pittsburgh
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                             Squad 14/Mar~insburo
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                             Contact: SAi TG
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               Approved By,1                                                                             b7c
               Drafted By: ~1----------------'._J                                ,r .                    b7D


            · Case ID#:        266N-MP-56642       (Pending) - lc\-o
                               266N-MP-57299       ( Pendir;i.g) - I S7
                               266B-RH-5267Q       CPendi na}

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               Title:                                                                                    b7C



 •
                           WILLIAM A- WHITE, aka
                           Bill White, dba
                           Unit Leader,
                           National Socialist Movement;
                           AOT-DT-ANARCHIST EXTREMISTS
                       WARNING! THE INFORMATION IN THIS DOCUMENT IS HIGHLY SINGULAR
               IN NATURE. DISCLOSURE OF THIS INFORMATION COULD JEOPARDIZE THE SAFETY
               AND THE VERY LIFE OF THIS SOURCE. NO DISCLOSURE OR DISSEMINATION OF
               THIS INFORMATION SHOULD BE MADE WITHOUT FIRST NOTIFYING THE CASE
               AGENT.

               Synopsis: To document source contact and advise Minneapolis of
               information provided by Source.
               Details:   On 10/18/2005, the writer personally met with j.               la              bG
               cooperative source with excellent access, whose reporting~,-t~h_o_u_g~h---'               b?c
           n   limited, has ·been corroborated. Source, who is not in a position to                      b?D
               testify, provided the following information:                 ·


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 ·~
      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 83 of 487 Pageid#: 5852
            To:   Minneapolis   From:   Pittsburgh
            Re:   266N-MP-57299, 10/21/2005




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                       WARNING! THE INFORMATION IN THIS DOCUMENT IS HIGHLY SINGULAR
            IN NATURE. DISCLOSURE OF THIS INFORMATION COULD JEOPARDIZE THE SAFETY
            AND THE. VERY LIFE OF THIS SOURCE. NO DISCLOSURE OR.DISSEMINATION OF
            THIS INFORMATION SHOULD BE MADE WITHOUT FIRST NOTIFYING THE CASE
            AGENT...                                                    '




            LEAD(s):
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            Set Lead 1:


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                          (Info)


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 .,   . Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 84 of 487 Pageid#: 5853
          To:    Minneapolis    From:   Pittsburgh
         . Re:   266N-MP-57299, 10/21/2005




·•               MINNEAPOLIS
                 SQUAD 4
                      AT MINNEAPOLIS, MINNESOTA
                      For information.'.

          Set Lead 2:       (Info)

                 RICHMOND
                 SQUAD 7
                      AT ROANOKE, VIRGINIA
                      For information.
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                             FEDERAL BUREAU OF INVESTIGATION

               Precedence:             ROUTINE                                                                          Date:   0l/l 7 /12006
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               To:      Minneapolis                                                    Attn:                 ~rlad        4
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                                                                                        Attn:                 _$Jlllad 7 /Roanoke RA                       b6
                        Richmond
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                        Pittsburgh                                                      Attn:                  Squ,d      9
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               From;      Pittsburgh
                             Squad 14/Mar:insburg RA
                             Contact: SA..._-L--=T:..;;G;,.__ _ _ _ _ _ _ _ _ _ _ _ ____.                                                                    b6


               Approved        By:     I ____________                                                         _,
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               Drafted       By:        ._


               Case ID#:               266N-MP-56642                            (Pending) ..... \a?r1
                                      266H-RH-52670                             (Pending) - ~\
                                      266A-PG-C72887                                    ..... l','5<
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               Title:     l.....,,.N_a...,.t...,.1_0_n_a..,.l__,,,.So_c_1.,...a-1....1-s_t_M_o_v_e_m_e_n~t-i_ _ ___.                                         b6 -
                                                                                                                                                             b7C
                             AOT-DT-WHITE SUPREMACIST EXTREMISTS
                             WILLIAM A. WHITE, aka
                             Bill White, dba
                             Unit Leader,
                             National Socialist Movement
                             AOT-DT-ANARCHIST EXTREMISTS
                         WARNING! SOME OF THE INFORMATION IN THIS DOCUMENT IS HIGHLY
               ·~SINGULAR IN NATURE. DISCLOSURE OF THIS INFORMATION COULD·. JEOPARDIZE
                 THE SAFETY AND THE VERY LIFE OF THIS SOURCE. NO DISCLOSURE OR




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         To:     Minneapolis                    i•·:tom:   Pittsburgh            "---
         Re:     266H-MP-56642, 01/17/2006


         DISSEMINATION OF THIS INFORMATION SHOULD BE MADE WITHOUT FIRST
         NOTIFYING THE CASE AGENT.                                                                   l
          Synopsis: To document source contact and advise receiving offices of
          information provided by Source.
         De~ails: On 01/16/2006, the writer personally contacted a
         collaborative domestic terrorism source with excellent access, much of
         whose reporting has been corroborated during thq          ·  !that                                                   b7D
         Source has been operated. Source, who is not in a position to
         testify, provided the following information:              ·
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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 87 of 487 Pageid#: 5856
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      To:    Minneapolis                irrom:   Pittsburgh
      Re:    266H-MP-56642, 01/17/2006


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                                 Unit.                      attended · tfie most recent NSM rally in                 b 7D
       o e o,        10.        .

                 The!                                                                     !Bill White, the head of
      the NSM' s Roan._o...,k_e___,,,v=A,.......,,,U,.,..n"""i...,.t--,i_s_l_ _ _ _ _ _....__,,
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                WARNING! SOME OF THE INFORMATION IN THIS DOCUMENT IS HIGHLY
      SINGULAR IN NATURE. DISCLOSURE OF, THIS INFORMATION COULD JEOPARDIZE
      THE SAFETY AND THE VERY LIFE OF THIS SOURCE. NO DISCLOSURE OR
      DISSEMINATION OF THIS INFORMATION SHOULD BE MADE WITHOUT FIRST
      NOTIFYING THE CASE AGENT.




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 88 of 487 Pageid#: 5857
To:   Minneapolis     l<'rom:   Pittsburgh
Re:   266H-MP-56642, 01/17/2006




LEAD (s):

Set Lead i:     (Info)

      MINNEAPOLIS
      SQUAD 4
            AT MINNEAPOLIS, MINNESOTA
            For information.
Set Lead 2:       (Info)

      PHILADELPHIA
            AT HARRISBURG, PENNSYLVANIA
            For information.
Set Lead 3:     (Info)

      PHILADELPHIA
      SQUAD 12

            AT PHILADELPHIA, PENNSYLVANIA
            For information.
Set Lead 4:     (Info)

      RICHMOND
            AT ROANOKE, VIRGINIA
              For information.
Set Lead 5:     {Info)

      RICHMOND.
            AT WINCHESTER, VIRGINIA
              For information.


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                   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 89 of 487 Pageid#: 5858
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                   To:   Minneapolis    f-rom:   Pittsburgh
                   Re:   266H-MP-56642, 01/17/2006




                   Set Lead 6:     (Info)

                         PITTSBURGH
                         SQUAD 9
                                 AT PITTSBURGH, PENNSYLVANIA
                                 For information.
                   Set Lead 7:     (Info)

                         PITTSBURGH
                         SQUAD 17

                                 AT PITTSBURGH, PENNSYLVANIA
                                 For information.



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     '             Case 7:08-cr-00054-EKD Document 411-2                                              Page 90 of 487 Pageid#: 5859
                                                     EXHIBIT D(w) (
   (Rev. 01-31-2003)


                                 FEDERAL BUREAU OF INVESTIGATION


                                                                                                                  I
                    Precedence:           ROUTINE                                                Date:     03/31/2006

                    To :    Richmond                                  Attn:                  R:rnoke RA
                                                                                             ~ Katherine ~elley                      b6
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                    From:     Pittsburgh
                                 Squad 14/WVJTTF/Martinsburg RA
                                 ~on tact: S~ ·TG                                                                1.
                    Approved By,          I                                                      I
                     Drafted    By=)-------------------
                                            (Pending) ,... c£3
                     Case ID #:l./266H-RH-52670
                                 I    -PG-  (Pending) -
                     Title:     WILLIAM A. WHITE;
                                aka BILL WHITE;
                                dba Unit Leader, National Socialist Movement
                                AOT-DT-VC

                             WARNING!  SOME OF THE INFORMATION IN THIS DOCUMENT IS
                     HIGHLY SINGULAR IN NATURE. DISCLOSURE OF THIS INFORMATION COULD
                     JEOPARDIZE THE SAFETY AND THE VERY LIFE OF THIS SOURCE. NO
                     DISCLOSURE OR DISSEMINATION OF THIS INFORMATION SHOULD BE MADE
                     WITHOUT FIRST NOTIFYING THE CASE AGENT.

                     Synopsis:       To provide source information regarding captioned
                     subject.
                                                                                                                                     b7D
                     Administrative:          RICS .Code:    I.___________.
                    Details: onl                        Ithe writer personally contacted a
                    collaborative domestic terrorism source with excellent access
                    ffi.lJJ::b. o.f who.s.e re.porting. has been GG-:i;;i;Ql;>G;J?a1;eG1. 0:1:1-:id:a§ t l = l . ~
                   lmon,~hat source has been operated.                        Source, who is n ~
                    position to testj,_fy, provided the following information: ·r ·

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                     the Conf.e..derate ·Knights· of the Ku Klux Kil.an
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 91 of 487 Pageid#: 5860

· To:   Richmond   From~Pittsburgh
 Re:    266H-RH-52670, 03/31/2006


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           WARNING! SOME OF THE INFORMATION IN THIS DOCUMENT ~S
 HIGHLY SINGULAR IN NATURE. DISCLOSURE OF THIS INFORMATION COULD
 JEOPARDIZE THE SAFETY AND THE VERY LIFE OF THIS SOURCE. NO
 DISCLOSURE OR DISSEMINATION OF THIS INFORMATION SHOULD BE MADE
 WITHOUT FIRST NOTIFYING THE CASE AGENT.




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 92 of 487 Pageid#: 5861

     To:   Richmond    From:
                               -I
                                Pittsburgh
     Re:   266H-RH-52670, 03/31/2006




     LEAD (s) :

     Set Lead 1:      (Info)

           RICHMOND

                  AT ROANOKE, VIRGINIA

                  For information.




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                                                                      FBI(16cv948)-3048;
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Case 7:08-cr-00054-EKD Document 411-2E(a)
                           EXHIBIT     Filed 10/05/20 Page 93 of 487 Pageid#: 5862
                                                                                                                  I         .
                                                                                                   U.S. Department of Justice
                                                                                                                  I



                                                                                                   Federal Bureau of Investigation
                                                                                                   Washington, D.C. 20535

                                                                                                   May21,2018

      Mr. William A. White
      5727 Artesian Drive
      Derwood, MD 20855
                                                                                 FOIPA Request.No.: 1224695-000
                                                                                 Civil Action No.: 16-cv-00948
                                                                                 Subject: William A. Whitf:

      Dear Mr. White:

            The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5, United
      States Code, Section 552/552a. Deletions have. peen made to protect information which is exempt from disclosure,
      with the appropriate exemptions noted on the page next to the excision. In addition, a deleted page information
      sheet was inserted in the file to indicate where pages were withheld entirely. The exemptions used to withhold
      information are marked below and explained on the enclosed Explanation of Exemptions.


                                       Saction 552                                           Section 552a
                r· (b)(1)                                      r· (b)(7)(A)                      (d)(5)
                r· (b)(2)                                      r= (b)(7)(8)                  p   G)(2)
                ;r;;i (b)(3)                                  !~. (b)(7)(C)                  \~" (k)(1)

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                r .(b)(5)                                     c· (b)(9)                      r·· (k)(6)
                h~. (b)(6)                                                                   )~ (k)(7)

                502 pages-were reviewed and 306 pages are being released.

                JJ , Docum~nts were located which originated with, or containe~ information concerning, other Government
                    : Ager]cies [OGAs].                                     .           '

                    r··   This information has been referred to the OGA(s) for re~iew and direct response to you.
                    J~    We are consulting with another agency. The FBI will cqrrespond with you regarding this information
                          when the consultation is completed.
                p
                      In accordance with standard FBI practice and. pursuant to F;OIA exemption (b)(7)(E) and Privacy Act
                      e,cemption 0)(2) [5 U.S.C. § 552/552a (b)(7)(~)/G)(2)], this r~sponse neither confirms nor denies the
                      e,cistence of your subject's name ori any watch lists.
                                                                            I


                 For your information, Congress excludec;I three discrete categories of law enforcement and national security
()     records from the requirements of the FOIA. See 5 U.S. C;§ 552(c) (20Q6 & Supp. IV (2010). This response is
       limited to those records that are subject to the requirements of the FOIA.; This is a standard notification that is given
     · to all our requesters and should not be taken as an indication that exclud_ed records do, or do not, exist. Enclosed for
       your informc!tion is a copy of the Explanation of Exemptions.              :

                Although your reques_t is in litigation, we.are required by law to ~rovide you the following information:
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 94 of 487 Pageid#: 5863

                                                                                                              !
              You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
  . Department of Justice, Suite 11050, 1425 N~w York Avenue, NW, Washington, D.C. 20530-0001, o~ you may submit
    an appeal through OIP's FOIA online portal by creating an account on the following web                   '.
    site: https://foiaonline.regulations.gov/foia/action/public/l1ome. Your appeal must be postmarked or electronically
    transmitted within ninety (90) days from the date. of this letter in order to be considered timely. If you submit your
    appeal by mail, both the letter and the envelope should be clearly marl<ed "Freedom of Information Act Appeal."
    Please cite the FOIPA Request Number assigned to your request so that it may be easily identified.

            You may seek dispute resolution services by contacting the Office of Government Information Services
   (OGIS) at877-684-6448, or by emailing ogis@.nara.gov. Alternatively, you may contact the FBl's FOIA Public
   Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute resolution correspondence by email, the
   subject heading should clearly state "Dispute Resolution Services." Please also cite the FOIPA Request Number
   assigned to your request so it may be easily identified.                                                   ·

            1- The enclosed material is from the main investigative file(s) .in which the subject(s) of your request was
                    . the focus of the investigation. Our search located additional references, in files relating to other
                      individuals, or matters, which may or may not be about your subject(s). Our experience has shown
                      when ident, references usually. contain information similar to the information processed in the main
                      file(s). Because of our significant backlog, we have given 'priority to processing only the main
                      investigative file(s). If you want the references, you must ;ubmit a separate request for them in writing,
                      and they wiil be reviewed at a later date, as time and resources permit.                        ·

            p
                     See additional information which follows.



                                                                        Sincerely,


                                                                        ~~
                                                                        David M.' Hardy
                                                                        Section Qhief
                                                                        Record/Information
                                                                          Dissemination Section
                                                                        Records ;Management Division


   Enclosures (Bates pages FBI(16cv948)-504 to FBl(16cv948)-1005 and ~xplanation of Exemptions)

            The: enclosed documents _represent the second interim release of information responsive to your Freedom of
   Information/Privacy Acts (FOiPA) request. This material is ,being provided to you at no charge at this time. The FBI
   will provide monthly rolling releases.           .                .      :                    ·

           As previously in.dicated, documents were· located which originated with, or conta{ned information concerning
   other agenc!es. We are consulting with the qther agencie~ and are aw~iting their response. The FBI will
   correspond )IVith you regarding those documents when the :consultation i~ completed.             .
                :                                                  i             l
           By letter dated April 20, 2018, we sent you a Compact Disc (CD) containing the first interim release for this
   case. At that time, we explained the $10.00 balance associated with that release would be billed with this release.
   Accordingly, you are being charged $25.00 for this release; which· has b$en subtracte_d from your positive balance.

           Currently, you have a positive balance of $960,00 from payments'you submitted in anticipation of duplication
   fees for previous FOIA requests. As the FBI makes interim releases to you, it will subtract the duplication fees from
   this balance. until this balance is exhausted.
                                                                                 I
          To minimize costs to both you.and _the Fl3I, duplicat'.' copies of the same document were not processed.

          The enclosed documents responsive to your request are exempt from disclosure in their entirety pursuant to
   the Privacy Act, Title 5, United States Code, Section 552(a), subsection 0)(2). However, these records have been
   processed pursuant to the Freedom of Information Act, Title 5, United St13tes Code, Section 552, thereby affording
   you the gre~test degree of access authorized by both laws,
     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 95 of 487 Pageid#: 5864


(Rev. 01-31-2003)
                                                       EXHIBIT° E°(b)


                             FEDERAL BUREAU OF INVESTIGATION
                                                                                   •                        •·        b61
                                                                                                                      -b7C




             Precedence:                ROUTINE                                    Date:     06/27/2007

             T_o: ~ami                                            Attn:

                     Richmond

             From:       Richmond
                            Roanoke RA, auQd 7
                            Contact: SAT David Church 1
             Approved By         1          Kev i n L Fo u s t           1-
                                                                                                             b6
                                                                                                             b7C
             Draf ted By: .___              ____________               __.


            . _Case ID #: 9A-RH-53173 · {Pending)- f                         q .
                         ~6N-MM~l09670    (Pending)-                          \0
             Title:
                                                          Multiple Victims, et al



                                                            VIOLENCE
                    ·,
             Synop;siJ: Recommend Miami allow. Richmond to decline interview of
             Williamiwhite unti°l a time o;f Richmo:tid 1 s phoosing.based on their
             current linvestigation of Whi:te.
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             Referen9e:            266N~MM-109670 S~rial 5

             Ach:ninistjrative:
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               eta: J s · Re telcal betw_ee • $A David Church Roanoke RA, and SA
               TRR..         I
                          Miami FBI, Ricl;l ond recornmen s iami allow Richmond to
             : ecline interview of William .. White until~ time of Richmond's
                                                                                                                      b7C


             chqosing based on their current investigation of White.

                       For information of'Miami, Richmbnd, specifically
             Roanoke RA, has a pending case onlwilliam:A. -White {as captioned
      'il    above) . Richmond is currently investigating several lea.ds from
             other field offices regarding ·threats mad~ .by White, as well as·
             threats made in Richmond's territory;     !




                                                                                             .    I       FBI(16cv948)-922

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                                                                                                  l          .
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 96 of 487 Pageid#: 5865
.   ..
         To:          .  .
                     Miami  From:- Ric1mon
                                    'l     d
         Re:         9A-RH-53173, 06/27/2007




                   To date, all of White's 11 threats 11 have bo;cdered on
         criminal. It is Richmond's assessment that White is very
         familiar with what constitutes free speech as oppose~ to non-
         protected speech. Consequently, the U.S. Actorney's Office
         (USAO), Western District of Virginia, has declined to prosecute
         several instances of these supposed threa'ts.

                    Richmond further assesses that although White is the
         self proclaimed- leader of the A~erican Nationalist Socialist·
         Workers Party (ANSWP), he does have intentions of physically
         harming anyone and instead tries to inci t:~ others to act on his
         right wing opinions. White's motives appear to be that of
         embarrassment to his intended targets.

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                                                                                                                                     is in any                b6
         Miami
          anger                                                                                                                                               b7C

                 . Richmor:id continues: to investiga:te all threats made by
         White, whether by phone or iJJ.ternet, ·in which we are made aware,
         with hopes of future prosecu~ion. Furthermore; the USAO
         continu~s to provide direction regarding the investigation.

                                  Richmond considers referenced l~ad covered.




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                                                                                                                                                 -FBI(16cv948)-92.:~
  Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 97 of 487 Pageid#: 5866


     To:            .  '
                   Miami  F rorn:8.R.
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     .Re:          9A-RH-53173, 06/27/2007




     LEAD(s):

     Set Lead 1:              {Info)

                   MIAMI

                           AT MIAMI, FLORIDA

                           Read and clear.




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 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 98 of 487 Pageid#: 5867
                             EXHIBIT-F(a)
                                                                                                   U.S. Departmeni of Justice




                                                                                                  Federal Bureau of Investigation
                                                                                                 Washington, D.C. 20535

                                                                                                 June 20, 2018

      Mr. William A. White
      5727 Artesian Drive
      Derwood, MD 20855

                                                                               FOIPA Request No.: 1224695-000
                                                                               Civil Action No.: 16-cv-00948
                                                                               Subject: William A. White

      Dear Mr. White:

               The enclosed documents were reviewed under the Freedom:of Information/Privacy Acts (FOIPA), Title 5,
      United States Code, Se_ction 552/552a. Deletions have been made ;to protect information which is exempt from
      disclosure, with the appropriate exemptions noted on the page next to the excision. In addition, a deleted page
      information sheet was inserted in the file to in~icate where pages were withheld entirely. The exemptions used to
      withhold information are marked below and explained on the enclosed Explanation of Exemptions:

                                       Section 552                                         Section 552a
              f-       (b)(1)                              lf (b)(7)(A)                    l-   (d)(5)
              r-: (b)(2)                                   r~· (b)(7)(s)                   f,i 0)(2)
              [J; (b )(3) .                                1;;;· (b)(7)(C)                 I~   (k)(1)

            _F_e_d_R_._C_rim_P_r._,__(6--"e.,_)_ _ _ _ _   :1'7 (b)(7)(0)                  r    (k)(2).

            ---------~ Fl (b)(7.)(E)                                                       r    (k)(3)
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              r;(b)(4)                                     1; (b)(8)                       J    (k)(5)

              f-: (b)(5)                                   T:-"   (b)(9)                   r-   (k)(6)
              'j;;.,: (b)(6)                                                               r-   (k)(7)

             516 pages'-were reviewed and 165 pages are being released.               ,
                                                                                      !

            _j;,;i · Docum~nts were located which originated with, or contained information concerning, other Government
                   · Agencies [OGAs].                                      ·

                   r=     This information h_as been referred to the OGA(s) for review and direct response to you.
                   ,p     We a~e consulting with anothe~ agency. The FBI will correspond with you regarding this information
                          when the consultation is completed.     ·   '         '
             \,l
                       In a~cordance with standard FBI practice and; pursuant to FOIA exemption (b)(7)(E) and Privacy Act
                       exemption 0)(2) [5 U.S.C. § 552/552a (b)(7)(E)/U)(2)], this response·neither confirms nor denies the
                       existence of your subject's name ori any watch lists.
                                                            I              :



                  For your information, Congress excluded three discrete categbries of law enforcement and national
"0     security records from the requirements of the F,OIA. See 5 U.S ..C. § 952{c) (2006 & Supp. IV (2010). This
       response ;is limited to those records that are su_bject to the requirements of the FOIA. This is a s'tandard
     · notification that is given to all our requesters and should hot be taken· as an inoication that excluded records do, or
       do not, exist. Enclosed for your information is a copy of the Explanation of Exemptions.          ·   :
                   .                                                       .          .                          '


             Alt~ough your request is in litigation, we:are requi~ed by law to provide you the following information:
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 99 of 487 Pageid#: 5868


                You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
     ,Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001, or you may submit
      an appeal through OIP's FOIA online portal by creating an account on the following web
      site: https://foiaonline.requlations.gov/foia/action/public/home. Your appeal must be postmarked or electronically
      transmitted within ninety (90) days from the date of this letter in order to be considered timely. If you submit your
      appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal."
      Please cite the FOIPA Request Number assigned to your request so that it may be easily identified.

              You may seek dispute resolution services by contacting the Office of Government Information Services
     (OGIS) at 877-684-6448, or by emailing ogis@nara.gov. Alternatively, you may contact the FBl's FOIA Public
     Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute resolution correspondence by email, the
     subject heading should clearly state "Dispute Resolution Services." -Please also cite the FOIPA Request Number
     assigned to your request so it may be easily identified.

               r    The enclosed material is from the main investigative file(s) in which the subject(s) of your request was
                    the focus of the investigation. Our search located additional references, in files relating to other
                    individuals, or matters,. which may or may not be about your subject(s). Our experience has shown
                    when ident, references usually contain information similar to the information processed in the main
                    file(s). Because of our significant backlog, we have given priority to processing only the main
                    investigative file(s). If you want the references, you must submit a separate request for them in writing,
                    and they will be reviewed at a later date, as time and resources permit                         ·

               Fl
                    See additional information which follows.



                                                                      Sincerely,


                                                                      ~~~
                                                                      David M. 'Hardy
                                                                      Section Chief
                                                                      Record/Information
                                                                       Dissemination Section
                                                                      Records Management Division



     Enclosures \Bates pages FBI (16cv00948)-1006 to FBl(16cv00948)-1521: and Explanation of Exemptions)

              The :enclosed documents represent the third interim release of information responsive to your Freedom of
     lnf,ormation/frivacy Acts (FOIPA) request. Ttiis material is being provid~d to you at no charge at this time. The FBI
     will provide monthly:rolling releases.           1
                                                                               ,       •


             As previously indicated, documents were located w,hich originate~ with, or contained information concerning
     other agenci,es. We are consulting with the other agencies and .are awaiting their response. The FBI will
     correspond with you regarding those documents when the consultation is' completed.

              Currently, you have a positive balance of $945.00 f~om payment~ you submitted in anticipation of duplication
     fees for previous FOIA requests. Duplication costs for theilhird and sub~equent releases will be $15.00 per release.
     As the FBI makes interim releases to you, it will subtract th~ duplication fees from this balance until this balance is
     exhausted.                                         ·

             To minimize costs to both you and the FBI, duplicate copies of th~ same document were not processed.
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             The enclosed documents responsive to your. request are exempt 'froni disclosure in their entirety pursuant to
     the Privacy Act, Title 5, United States Code, Section 552(a), subsection 0)(2). However, these records have been
,,   processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
     you the greatest degree of access authorized by both laws.,               ·

               For your information, sealed court records are not:eligible for release under the Freedom of Information
     Act. Material responsive to your request has been withheld and marked i'OTHER-Sealed" pursuant to appropriate
                                                                                  1
     order(s) iss~ed by federal district courts.                 ·                                        •
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                           -~                        As representatives of the Cltns~an comµ,.unity we also ask for forgiveness
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                                                  from those in our community who have be.en damiged or offended by ·,

                                                  you by others, and we commit to wor~ each in our own way, to make our
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                 ~s(te@i!f.a                        In the name of our Loro ana Savior Jestis th~ Christ,
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                                                       T(G.AJW -Tigm-A p·o_iice us~_d the a:s·sis_tan_c_e of a Tualatin Valley}Jre &
                                                     ~esq.ie la~der ~c~:~:entli to remove a large_fiag displaying a_swas_tjka ·
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                                                        Tigard PQii_ce x:esponde;d t~ that_and_five oth:er si_milat alleged nep:-Nazi
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                                                    ·Repqrts ofn:eo-~azi_symbols b_egan Feb. 2_6 when.~ residen~ x:eport~_a
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                                                 ·72nd 4"ven;u:e._Poii.~ rem_ove_d the flag; thlch was attached to a_x:ed b_alJ!}Pn:
                                                 ~Two days l~ter, ano:ther fiag"was f_pund attatj].e_ci t_o a 'utiiitypoJ_e alo_ng ·
                                                  Highway :fitne:ar.I-s: 1;'.hat_flag·was·r_emoved wi:th the help o{'IVF&R
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                                                     thrown on top of the ouililing"-r,ith a b_o_ttle a:na a~a.cli_e;d to a:n_anti-Semi_tic_
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           Case  ' 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 103 of 487 Pageid#: 5872                             b6
"'1   _ ) l;o,.J!W: Judaized Clu:is_tiauitr_an~atiqnal So~ialism_ ..


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              lfW·: Judaized Chri.sti"anitv and· N·atfonai Sociaiism
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           HmQriginal Message.:-••--:
           Frqm:~ Bill .White [mai1to:na_ti9m,tsoqalist'l{orkers@yahoo.com]
           Sent:- ·Thu 4/3/2008 5:56 AM · · ·           ··                                                                    b6
         _·To:_      I                                                                                                        b7C


         I-
              CC.·
         ·· subject:-             OJ.u9aized Christianity and National ~ocialism
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          bear aSSQrted pastors and char1atans:

          i read today the. excerpts from; your letter publish(;;(f
          -in the_ Lake. Os_w~o Review• .In thi~ le_tter you stcite_
           the following: ; ·                                    ·

          "[I]n respons_e to hatred an~ the use o( rel~ion a~·
          Justificatio~:t for.it_ ... Any group:that endeavors to_:
          90 such thi~gs s~~ its.elf apar(from ·the_ Christia·n,
          cqm'munity and ~n not c,laim affiliation with it. i         0



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          Party who are claim_ no affiliatiqn with your 1udaized
          ·an9 heretical int~rpreta_tiqnif cf the_ siriptures•. f :
           pers:onc\lly rej~!the_ notiqn thaJ man was bQrn rn sin
          and is fn need ofr~demption throu~h a·ny savior~

              /is a Radical Traditionalist, f adhere to the. sqlar'
              faith of the Aryan peoples··· the faith; symbolized by
              the swastika~ tha,t com·mands 01a·n to corista~tly ·
          transcend the mere. niateri_ality of the wqrld through
          constant ~truggle against the enemies·o_(humanify._ In
          the tradition o_f Isla'm, I believe that the lesser t:i.Piy
          War, fought.here on earth against the_ enemies of God,
          is the only tnie path tQ victqry in the greater Holy ,
          Wat~ the purgation of all loweflenden~es from the
          soul. ·This is simlla·r to the catholic doctrine of
          gloria jn excelsis ~eo; as unders_tpod by th~·ct1ivalric:
                             in
          qrders, or the ma·ny_doctrines of Aryan              .. ;
          self-sacrifice and:_heroism we found embodied in the:
          faith~ o(my people, from the Nordic to the Pe·rsian to
          the Indo-Aryari. ::;                ·                     ·

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                       the iron g_row does not_love the stave. m

                         /is for our Christian m·embers~ i_ think I can summa·rize
                       ·their'V!ews dearly when t note that, from the_
                         beginning ofthe Christian Church'there have been
                         heretical;"?nti~white sects that_have taught.ni~ilism
                       •a   the destructiQn cfman in a ."unive~sal brotherhood"
                         Qfhuman equality, in which ea·ch individual destroys:
                         their own soul to meld with ttie nothingness of the· ·
                       ·group._ In the 20th Century, this tendency saw-a .
                         reyival in its sistet movement-of atheist_ Bolshevism~
                        and this atheist Bolshevism Infiltrated the churches·
                         of which you are a part and began tq wage a genocidal
                         war against all c{the better elements of    man.  Your"
                        statemerit. today is a continuation qf that war and your
                        ·Judaeo_-thristianity is· m·erefy atheist Bolshevism under
                      · another Qn·e qfits· m·any disguises:_

                       All q(you should do the world and your God a fa,vo_r"
                        ancl either cqnvert away fro,m·your anti-human faith of
                        death, or embrace your· death-faith fully and put an '
                      . immediate end tq your lives:

                      The emergence of national socialism in Tigard is:npt a
                      re-emergence ofChristia·n tendency, but an ~mergence_
                      of the old Arya~ faith~ that knew; ·as did the pagan·
                      king Aelthelfurth ~(North Umb_ria,·during his: . . ·
                      slauQhte~_~ft~e monks ofMercia, that:- .
                                 ·,
                      "Thos_e whq in~oke their faith:aga1nst_me make'. war'upon
                      me, ever:i if they bearno arms."                   ·    :

                      .Our intent_is to;destroy heretical Judaized-Christian
                       chur~es sud1 ?S yours, and to com·pletely anni~ilate
                       your faith, whether through re.-education or mere:
                       execu~iQn of those men a·nd women yo·u have_ t.um·ecr tQ
                       p·arasitism·. An ;appeal- to our "c9mmo:n Christianity" is:
                       an ·appeal to .death ears:                         ·

                      is Boyd Rice. once sa_id:
                      'We will fight you, TOTAL_ WAR, tear 90½'~ Christ, raise:
                      up·lJior!':' ·

                      Bill White~ Commander"
                      American Naticmat Socialist_ Wo:rl<e"rs Party



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       Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 105 of 487 Pageid#: 5874
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             Approved B}'.'f                                                                                              b7E




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   inc1udi_ng Pastor Rabi d~cJ.ded. to dr~aft. itnd ·sign a:n ope)':i_ lette_i:'
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                                                                                                          Federal Bureau of Investigation
                                                                                                          Washington, D. C. 20535

                                                                                                          May 2·1, 201 B

   Mr. William A. White
   5727 Artesian Drive
   Derwood, MD 20855
                                                                                      FOIPA Request No.: 1224695-000
                                                                                      Civil Action No.: 16-cv-00948
                                                                                      Subject: W)lliam A. White

   Dear Mr. White:

         Th.e enclosed documents were reviewed under the Freedom of lnfc;mrn?tion/Privacy Acts (FOIPA); Tjtle 5, United
   States_Cod~;Sectiol') 552/~52a. Deletions have been made ta protect)hformation Which is exemptfrom disclosure,
   with the appropriate exemptions noted on the page next to the excision.'. In addition, a deleted page information
   sheet was inserted in the file to indicate where pag!:!s were withheld entirely. The exemptions used to withhold
   informa~on_ <!re_ marked below and explained on:the enclosed Explanatibn of Exemptions.


                                            Section 552                                           Section 552a
              r     {b)(1)                                        ]- (b)(7)(A)                    )~ -(d)(5)
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             50 U:S.C. § 3024 (i)(1)                              i~    (b)(7)(E)                 !     (k){3)

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             502 ·pages were reviewed and 306 pages ar~ being released.

             :r.1   Docume_nts W(;Jre located which originated with, or contained information concerning, other Government
                    Agencies [OGAs].

                    f"       This information has been referred to the OGA(s) for review and direct response ta you.
                    :'f:.';1 We are corJsulting with another ~gency. The FBI will correspond with you regarding this information
                             when the consultation is completed.
              iv·
                     In accordance with standard FBI p~aclice and pursuant to fOIA exemption {b)(7)(~) and Privacy Act
                      exemption O)(n [5 U.S.C. § 5521552a (b)(7)(E)/0)(2)], this response neither confirms nor denies the
                     ·existence-of your subject's name on ariy watch lists.

               For yo1,ir informatiqn, Co_ngress exclud~d three discrete categories of law enforcement arid national security
     records from the requirements of the FOIA. See 5 U.S. C. § 552(0) (2006 & Supp. Iv·(20i0). This response is
     limited to those. records tha1are .subject to the re,quirements of the FOIA: This is a standard notiticajio~ that is given
     to all our requester-sand should-not pe taken as an indication that excluded records do, or do not, exist_ Enclosed for
  -~ your information is a copy of the Explanation of Exemptions.

             Although your request is in litigation, we are required by law to provide you the following information:
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 122 of
                                                                                                            \
            You may file an appeal by writing to the Director, Office of Information Policy (OiP), United· States
  Dep~rtment of Justice, Suite 1.1050, 1425 New Yori< Avenue, i'JW, Washington, D.C. 20530-000·I,
  an appeal through OIP's FO!A online portal by creating an account on the following web
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  site: 11ttgs-://i'oi:::onlin,sssc1u!aiio,15.aov/fdal2Gtion/•:iubllc/:1r.::rns. Yo.ur appeal must be pcstmarlced or e!edronically
  transmitted within ninety (90) days from the date of this letter in order tq be· considered timely. If you submit your
  appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal."
  Please cite the FOIPA Request Number assigned to your request so that it may be easily identified.

           You may seek dispute resolution services by contacting the Office of Government lnfonnation Services
  (OGIS) at 877-684--6448, or by emo1iling oais<w.narn.oov. Alternatively,' you may contact the FBl's FOIA Public
  Liaison by emailing faipaquestions@fbi.gov. lfyou submit your dispute resolution correspondence by email;the
  subject heading should clearly state "Dispute Resolution Services." Please also cite the FOIPA Request Number
  assigned to your request so it may be easily identified.         •                                            ·

            r     The enclosed material is from the main ·investigative tile(s) in .,which :the subject(s) of your request was
                  the focus of the investigation. Our search located additional references, in files relating to other
                   individuals, or.matters, which may or may not be about yo_ur subject(s). Our experience has shown
                  when ident, references usually contain information similar'to the information· processed in the main
                  file(s). Beca_use of our significant bacl<log, we have giverj priority to processing only the main
                   investigative file(s). If you want the references, you must submit a separate request for them in writing,
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                .. a~~?teY.. ¼'.!II   :eviewed at a later date, as time and reso~rces permit.


            p   ·see i:!dditional informa~ion which follows.



                                                                        Sincerely,

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                                                                        - ~ .,~ - - ~-
                                                                        David M'. Hardy
                                                                        Section Chief
                                                                        Record/Information
                                                                          Dissemination Section
                                                                        Records-Management Division


   Enclosures (Bates pages FBl(16cv948J-504 to FB1(16cv948)-1005 and ~planation _of Exemptions).

            The enclosed documents represent the second interim release of information responsive to your Freedom of
   Information/Privacy Acts (F.OIPA) request. This material is bein•g provid~d to you at no charge at this time. The FBI
   will provide monthly rolling releases..                                   ·

           As previously indicated,' documents were located which .originated with, or contained infonnation concerning
   other=agem;:ies. We are consulting with the qther agencies and are aw~iting their response. The FBI will
   i,orrespond with you regarding those documents when the consultation is completed.

          By letter dated ApriJ 20, 2018,. we sent you a Compact Disc (CD) containing the. first interim release for this
   case. At that time, we explained the $10.00 ba(ance associated with that release would be billed with this release.
  ·Accordingly, you are being charged $25.00 for this release, which has been subtracted from your positive balance.

           Currently, you have :3 positive balance of.$960.00"from payment&-you submitted in anticipation of duplication
   fees for previous FOIA requests. As the FBI makes interim releases to)ou, it will subtract the duplication fees from
   this balance until this balance .is exhausted.                    ·

          To minimize costs to both you and the FBI, duplicate copfes of the same document were not processed.

           The enclosed documents responsive to ypur request are e~emptfrom disclosure in their entirety pursuant to
    the Privacy Act, Title 5, United States Code, Seqtion 552(a), subsection'.0)(2). However, these records have been
    processed pursuanf to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
 1e you the greatest degree of access authorized by both laws.
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                               IN THE UNITED ST.ATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF ILLINOIS

     WILLIAM A WHITE, # 13888-084                       ) ..
                                                       .)
                     Petitiohet;                        )
       vs.                                              )
                                                        )
     BILL TRUE,                                         )         -~ivil No. 17-cv-01262-DRH-CJP
                                                        ).
                    · Respondent.                       )


                                        DECLARATION OF S. GRANT

     I, Shawn Grant, do hereby declare as follows:

         1. I a.tn the Correctional Services i\dm.inistrl.ltor in the North Central Regional Offic~ (NCRO)

             of the Federal Bureau of Prisons (BOP). I have held tpis position since November 2016,
                                                  :                        :

             and provi&igdirect oversightofthe Discipline Hearing Ofqcers since September.2017>

             wheri the. NCRO Discipline He~g Adtninistrato.t ret;ired. I have b_een employed by the

             BOP in area~ of increasing responsibility since February 24, 1991.

         2. As a Correctional Services Ad.mi.nistrato.r, I am familiar with the inmate database knmvn as
               '                                  .                        '



             SE~TRY and have access· to the necessary functigrtsfp load in.tnate discipline and_retrieve it
                                                  .                    .
             .fr9m that system. All re~o.tds at~ached,t? this declai:atjon are true and accurate copies of

             re~o.rds kept in the·.re~ular· course:ofbusin,ess.

         3. I ~ave been made awnre of the fact the Petitioner filed;a Writ of Habeas Corpus pursuant to

             28 U.S.C. §2241 on Novernber 20~ 2017, r~que~ttng th~ restoration of 40 days of.good

             conduct time (G~T) which he-lost as a resblt of two ~cident .reports he ~laimed he never

             received. I have_ been made   aware that in. the Petition, ;th.e Petitioner dcs<:ribes the incident
             reports as being fro.tn September   21, 2010 ;and March 11, 2.0i°1.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 128 of 487 \  Pageid#: 5897
.Cas.e 3:17-cv-01262-DRH-C~P Document 13-2 Filed 02/26/18 Page 3 of 12 Page ID #114
                                                                                               I
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        4. A review of SENTRY records indicates as follows.

            0       -On September 21, 2010, inmate White was sanctioned to, among other things, loss of 27

                    days of GCT for fighting with another hunate (Report Number 2062541). See Attachrnenl

                    1, Ininate Disciplinary Record A at p. 3.

            ®       On March 11, 2011, White. was sanctioned to 13_ days loss of GCT"if sentenced" for
                                   .                                    .                 .
                    failing to stand for count (Report Number 2134671). The "if sentenced» language

                    inclica~es that, because Inmate White was· being held as a pre-sentence detainee at that
                                                                                         .          .


                    time, the 1.3 days loss of time-would only attach if he was later sentenced. See Attatbti1mt

                    1, I'amate Disciplinary Record A   at p. 2.
    5. Afte1: an exhaustive search had been conducted, the BOP; copies of the reports in questio:tl'

        cann?t be ioca.ted. Because the repoits cannot be-located and confirmed with specificity, the

        t.wo mcident reports have been expunged. H"?cause the rqports cannot be lo~ated and confirmed

        with ~pecifidty, the two incident repc;>tts have been exputjged from inmate White's disciplinary
                '                                 .
        .teco~d and in SENTRY, SeeAttach11ienl 2, Inmate Discipltnary Record B (in wh~ch the

        disd~linru:y sanctions 1n question have been r~moved, wh;en compared \Viili.Aft(,ichn1etit 1, Inmate
             .      :- :                          . ,                 .


        Disciplinary Record·.A).

            (declare under penalty of periury, pursuant to· 28 U.s;.c. § 1746, that the foregoing is ttue_

    and correct. .

            ~xecuted this       (>    day of February, 2018 .




                                                                  .Shawn'Crant
                                                                         i
                                                                   Correctional Services Administrator
                                                                   North Central Regional Office
~~                                                                                    ,,
                               EXHIBIT H(b)                             f    I
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                                                                                Page ID #1942




                                  -U.NITED STATES DISTRICT COURT ·
                                   SOUTE-IERl'T DISTRICT OF ILLINOIS

      WILLIAJVJ A. WHITE,

            · Plaintiff,

             v.                                             No. 3:16-cv-948-JPG-DGW

     - DEPARH.tlENT OF JUSTICE, et.al.,

             Defend ants.


                              DECLARATION OF ERJKA FENSTERMAKER

      I, Erika F1mstennaker, do.hereby declare and state as fqllows:

      1.     I mn employed by tlie United:' States Department of Justice, Feq.eral Bureau of
                                                                                           .
                                                                                             Prisons

            - [hereinafter "BOP"] ~s~ a Qovernrnent II1formation Specialist for the North Central

             R~:gional Office [hereinafter -''NCRO"] located in ~(ansas City, Kansas.      I have been
                                                                               .                     -.
             as:;igned to the NC~O since September 2014. Pri9r to that time, I served as a Legal

             Assistant at USP ·Canaan s:iJ.1ce January 201 ~.

      -2.    I am familiar with the· Compla:iJ.1t filed on August 25, 2016, by the aboye-:-captioned

             plaintit(;William White, Register Number l3888-08i4, seeking· disclosure of the records
                                      .                                 !
                  . .             .                .                    I ·.
             he sought through Freedom of Infonnation Act [hereinafter "FOIA"] requests to the
                  .                            .                .       I
                                                                                                               I'
             BOP-, as we~l as his most recent Third Motio~ for Su\~mary Judgment filed on March 19,            i
                                                                                                               i
                                                                                                               l·
             2018. See August 25, 2016- Complaint, Doc. 1 ~JIViarch 19, 2018 Third Motion for
                                                                                                           I
             Slllllffiary fodgment, Doc. 90.                                                               I
                                                                                                           I
      3.     Ininate White is cunently serving an aggregate· sentence of 349-months, 8-days
                                                                                                           !
             il~1Jrisonme11t and 3~years supervised release based on. numerous convictions.
                                                                                                          I.
                                                                                                          !
             Specifically, il1mate White was co~victed in ~e Westem District ofVirgicia for ;i~lation     I
                                                                                                          Ii
                                                                                                          Ii
                  '
             of supervised release imposed as part of his sentence for two colmts of interstate -·        I,,
                                                                                                          rr



      Fenster-rnal:eer Declaration for BOP
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                                                                    : Attachment_ 5: ;Page 1 of 59
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CaseCase
     7:08-cr-00054-EKD                                                I Pageid#: 5899
                          Document 411-2 Filed 10/05/20 Page 130 of 487
         3:16-c:v-00948-JPG-DGW Document 95-4 Filed 06/25/18                                      Page 20 [of 59 Page ID
                                                                            - #1961



                                                        .                                                             .
    · 62.       I s1:mt the request for both intelligence and communication records 1mder' parts (l)(f) and

                (l)(g) of inmate White's FOIA request to his current institution of confinement, USP                             i
                                                    .               .
                Marion, as ~ell as to the. then. Deputy Chief of the CTU for a search for responsive
                                                                                                            .                   II
                records. At USP· Mmion, .the request was assigned to a Lieutenant who conducte~ a
                                                :           .


                sen:rch of TRUINTEL _by inmate White's register number .011 June 23, 2017.
                                                                                              .


                                                                                                                          The
                                                                                                                                li
                                                                                                                                 II
                                                                                                                                 r,
                                                                                                                                 ii
                Lie uteri.ant lo'cated ~ne-hundred (100) pages of responsive records, which were provided                        I
                                                                                                                                 11


                to me for processing.                                                                                           i
     63.
            '
                Sit1ce the Lieutenant had _already searched TR.UINTEL, the CTU Deputy Chief limited
                                  .                             .                                                           )
                                                                                                                                 i
                hfa search to the     ctu network drive, which can only be searched by CTU staff.
                                                .                   .
                                                                                                                          The

                D,~puty Chief conducted the search·using inmate White's register number on August 23,                            I
                                                                                                                                .I

                2017, and located sixteen (16) pages of responsive records, which were also provided to

                111 e for processing.       .
                                                                                                                                I I

     64.        Of the one-hundred-~ix.teen_(116) pages provided~ I withheld six (6) pages in part, and

                w itbheld one-hundred-ten (110) pages :in frill .

    .Pairt 2 (MOC Chl.cago' SHU Malintenairn.ce Recmrds)

     65.        P::1.1t 2 of inmat,e White's FOIA request sought all                  s;au maintenance records from MCC
                                                                                          !
                Chicago from October_l 7, 2008.through December f9, 2008. Since maintenance records

                a!: a s~ecifi.c ii1stitution are maintained at that instit11j~ion, I sent this component of inmate
                                                                                      I
                                                                                      I

            Vifhite's FOIA request tQ MCC Chicago to conduct~ search for responsive documents.
                     .                                                                I              .
                                                                                      I
                                                                                      I
     66.        J:he FOIA request was assigned to the MCC qri.cago Facilities Manager, since· he
                 .                                          !
                oversees maintenance issues at the mstitution. !Maintenance reco~ds are typically
                                        .                                             .

            11iaintained in the Total' Maintenance System [hereiµafter "TMS"J-a computer program
                                                                                                                ·/
                                                                                                                ·.l

            used to track, mnong other items, all work orders and other maintenance issues. The

            TMS
             .
                progra1n
                    .
                         has been.used by the .BOP since 1985.
                                                         .  .

                .                                                       .
                                                                             20
    Fenste1·maker Declaration for BOP
                :;                                                                    Attachment !5: Page 20 of 59.
Case 7:08-cr-00054-EKD      Document 411-2 Filed 10/05/20   Page 131Page
                                                                     of 487 I Pageid#: 5900
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       67.     h1 response        to   the request, the Facilities Manager reported that he Had no records
                                                                                                    !
                                                                                                 - ''
               re;3_ponnive to the· request due to the_ timefram_e of the records requested. According to the             f
                                                                                                                          l
                                                                                                                          I.

               Facilities Mi~nger, the TMS program was re-vamped in 2014, and all records maintained
                                                                                                                      .   \
               in TMS p1ior to that date _"cq:e in-etdevable. Further, pursuant to. the BOP Records and
                                         .   .       .

               IDf<mnation Disposal- Schedule, maintenance records generated from the TMS program

               are   1101:   kept beyond seyen, yea!s, A trne and ,conect copy of Disposition Authority Nl-

               l:!9-05-001 is attached as Exhibit I( to this declaration.

        JP'an.·t 3 (~(CC Cftllicago SHU Log Books)

      . 68.    Part 3 of ·inmate White's FOIA, reques_t seeks "[t]he green SHU log books_ from the

               lV[etropolitan Correctional Center's 11th floor for the perio9- October 17, 2008; to

               December 29, 2008." ~See_ Exhibit B. Since i..nstitution log books are maintained at the

               institution to which they pertain, I sent this request ·to MCC Clucago to conduct a search -

              -for responsive records.
                              .                  .                            /

       69.     The request was. assigned ~o a legal extern at ~CC Clucago.                 Since the log books
                                      .                        /


               rnquested·_wete f~om          ·;oos;      the legal extern sea~ched the archives room where the
                                        •                             •
                                                                          .   ;
                                                                              I

               institution maintains its dosed log books. The leg~l extern located three responsive log
                                                                              j .                                 .

              · ~oaks for the SHU locate~ on the 11 th floor at MC¢ Chicago," and provided the portions· ·

               c:if the log books peitaining to the requested date ran~e.

       70.    The extern provided me with two-hundr~d-nfue~y-three (293) .pages of responsive

               documents, consisting of th~ Unit 11 Tlregular 30-Minute Rounds Log from September

               19, 2008 tl~·ough Jamiary 3, 2009 (Bates .pages 984-1133), the SHU Daily Log_ from

              .October 10, 2008 tbrough December 13, 2008 (Bates pages 1134-1237), and the SHU
                                                                                                            .,-

               Sign-In Log fro1n April 24, 2008 through April 27, 2009 (Bates pages 1238-1276).




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      Fenstermaker-Declaration for BOP                                        -Attachment 5: Page 21 of 59
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 132 of 487 Pageid#: 5901
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      SUMMARY OF,SEMINOIE COUNTY ADMINISTRATIVE.LOGS

Sleep Begins               Sleep Ends                      l'otal Hours

 5/21/14     1: 18    AM   5/21/14 2:44 AM                     1.5
 5/21/14    11:01     PM   5/21/24 4:31 AM                     5. 5
 5/22/14    10:23     PM   5/23/14 4:20 AM                     6.0
 5/25/14     6:15     AM   5/25/14:Ji:OO AM                    1.0
 5/26/14    ': 5 :'55 AM   5/26/14 6:29 AM                     0.5
 5/27/14       5: Sb AM    5/27/14 6:20 AM                     0.5
 5/28/14       1:48 AM     5/28/14 3:28 AM                     1.5
 5/30/14    12:28 AM       5/30/14 1:28 AM                     1.0
 5/30/14       2:25 AM     5/30/14 3:00 AM                     0.5
 6/03/14       2:21 AM     6/03/14 2:57 AM                     0.5
 6/03/14       5:56 AM     6/03/14 6:54 AM                     1.0
 6/05/14       2:00 AM     6/05/14 4:23 AM                     2.5
6/05/14        5: 50 AM    6/05/14 7:00 AM                     1. 0 .
 6/05/14       7: 56 PM    6/06/14 4:12 AM                    :-8 ~ 5
6/06/14        5:50 AM     6/06/14 7:00 AM                     1.0
6/07/14        1:19 AM     6/07/14 4:26 AM                     3.0
 6/08/14       2:16 AM     6/08/14 4:08 AM                     2.0
 6/08/14       5:54 AM     6/08/14 8:07 AM                     2.0
6/09/14        1:23 AM     6/09/14 4:14 AM                     3.0
6/09/14        5:28 AM     6/09/14 6:55 AM                     1. 5
6/10/14     10:11 PM       6/10/14 12:15 AM                    2.0
6/11/14        1:16 AM     6/11/14 4:38 AM                     3.0
6/12/14        1:45 AM     6/12/14 4:33 AM                     3.0
 6/12/14    10:45 PM       6/12/14 11:15 PM                    0.5
 6/13/14    12:10 AM       6/13/14 1:09 AM                     1.0
6/13/14        3:06 AM     6/13/14 4:03 AM                     1.0
6/17/14        2: 18 AM    6/17/14 4:15 AM                     2.0
 6/20/14       6:01 AM     6/20/14 7:00 AM                     1.0
6/25/14     12:30 AM       6 I 2 5 / 14 1 :. 2 O·.. AM         1.0
6/26/14        6:02-AM     6/26/14 6:55 AM                     1.0
 6/26/14       7:37 AM     6/26/14 8:08 AM                     0.5
 7/01/14       6:20 AM     7 IO 1 / 14 8 : 0 0 AM .            1.5
 7/01/14    10:26 PM       7/01/14 12:42 AM                    2.0
 7/05/14       5:58 AM     7/05/14 6:28 AM                     0.5
 7/08/14       1:00 AM     7/08/14 2:00 AM                     1.0
 7/08/14       4:00 AM     7/08/14 4:15 AM                     0.5
 7/08/14       5:00 AM     7 I 0.8 I 14 5 : 3 0 AM             0.5
 7/08/14       7:45 PM     7/09/14 4:50 AM                     9.0
 7/09/14       5:15 AM     7/09/14 5:30 AM                     0.5
 7/13/14       1:01 AM     7/13/14 2:10 AM                     1.0
 7/23/14       1:05 AM     7/23/14 4:45 AM                     4.0
8/19/14        1:30 AM     8/19/14 5:00 AM                     3.5
8/20/14     11:00 PM       8/20/14 4:00 AM                     5.0
ifJ/29/14   10:00 PM       8/30/14 4:50 AM                     7.0
Total Sleep 5/20/14-9/2/14:                                   96.0 hours
105 days - 20 days partial records=                           80 days
                                                               1.2 hrs/ day sleep
I hereby aver under penalty of perjury that the above is a true, and, cor-
rect summary of the records released to me by the Seminoli County Sheriff.


                                                         William A White
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Case 7:08-cr-00054-EKD Document EXHIBIT                                                   411-2 Filed    __ H(.f)   ·
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                                           rmsamuelsphd@cox.net              www.   expertwitnessinpsychology.com




                            lINDEPJENDENT IPSYCJHIOJLOGlICAlL EVALUATION

                                                           Re: Williatn A. White

                                              CAUSE No.3:17-cv-00683-JPG-SCW

                                                   CAUSE No.3:18-cv-01682-JPG




                                                             ·DOB:

                                                                             Age: 42




                                                     United States Penitentiary-Marion

                                                                     Marion, IL 62959




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                                                        Study Initiated: June 18, 2019
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                                                    Study Concluded: August 14, 2019



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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 139 of 487 Pageid#: 5908     I


 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 4 of 35 Page ID #334
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   PURPOSE OF EVALUATION:

   This study was conducted pursuant to a request by Blane Osman, Esq., with offices in Marion, IL,
   who is representing Mr. William A. White. Mr. White has been incarcerated in several United
   States Penitentiaries since October of 2008 for various charges, including transmission in interstate
   commerce of an email containing a threat. In 2007 he was charged with the extortion of a thing of
   value. In May of 2007, he was charged with intimidation with the intent to delay and prevent
   testimony, while in June of 2007, he was charged with making a threat to injure a journalist. In
   February of 2008, he was also charged with commerce for threatening a Canadian attorney and, in
   March of 2008, for transmitting a threat to a mayor.

   As a result of his convictions, he was sentenced to thirty-seven years of incarceration in the United
   States Penitentiary system. Other than a brief period when he was released in 2011 (he was
   rearrested for a probation violation when he traveled to Mexico and returned to prison), Mr. White
   has been housed in numerous Federal prisons several facilities arourid the country.

   Mr. White reported that he was subjected to "enhanced interrogation conditions" in at least two of
   those facilities and, as a result, claims psychological damages developing from being subjected to
   exposure to unsanitary conditions in his cell, and sleep deprivation in another facility. He also
   stated that he was denied appropriate medical care during these periods, and because of this, he
   suffered further physiological and psychological harm, Mr. White asserts that he developed
   posttraumatic stress disorder, a major psychiatric condition, and as a result, has filed a lawsuit
   against the United States government.

   The specific purpose of this study is to conduct an independent psychological evaluation to help
   ascertain Mr. White's current mental condition that may have resulted from what Mr. White
   described to be traumatic events that left him with the significant psychiatric illness of
   Posttraumatic Stress Disorder.


   CREDENTIALS OF THE EXAMINER:

   This examiner completed requirements for the doctoral diploma in Biopsychology at the City
   University of New York and also completed a Post-Doctoral Fellowship at the Department of
   Obstetrics and Gynecology of the New Jersey Medical School. He is a Fellow of the American
   Psychological Association and holds Diplomate diplomas in Clinical Psychology, Forensic
   Medicine and Clinical Sexology. He has conducted over 2000 psychological evaluations, treated
   thousands of patients, and has testified in several states. He is licensed in Arizona and New Jersey
   and is a Member of the Arizona Supreme Court Competent Professional Mental Health Provider
   Panel and is a member of the Yavapai County (AZ) Mental Health Expert-approved providers'
   panel. He has been court-appointed in multiple counties in Arizona, New York, and New Jersey .
                                      .
   This examiner's professional opinions are based upon a review of all listed material, in addition to
   my more than forty years of experience, training, knowledge, and qualifications as a board-
   certified clinical and forensic psychologist. A Curriculum Vitae is available in Appendix C.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 140 of 487 Pageid#: 5909
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 5 of 35 Page ID #335
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   INFORMED CONSENT:

   Mr. William White was advised that the protection of confidentiality, which would typically exist
   in a doctor-patient relationship, would be waived for this evaluation, as anything that he said could
   be used by this examiner in a report to be submitted to the court. Mr. White understood that the
   outcome of this report could influence the outcome of a trial or hearing regarding the disposition
   of this matter and agreed to continue with the evaluation, which began on June 18, 2019.


    CASE MATERIALS REVIEWED:

       I. BOP Inmate History, 07/28/2016;

      2. Detention report as of 07/29/2015;

      3. Arrest History

      4. 15-18 cv-1682 Complaint

      5. 14-l 7-cv683     Second Amended Complaint

      6. Psychological Evaluation, conducted by Eric Ostrow, J.D., Ph.D., 07/22/2016;

      7. Psychological Evaluation, conducted by Conrad Daum, M.D., 09/17/2009 & 10/191/2009;

      8. Psycp.ological Evaluation, conducted by James Corcoran, M.D., 12/01/2008;

      9. Amended Complaint, 03/05/2019;

      10. Exhibits to Amended Complaint, including Appeals, BOP responses, BOP policy
          documents, Freedom of Information requests, 2018-2019;

      11. Second Amended Complaint, 04/02/2018;

      12. Civil Rights Complaint, 09/04/2018;

      13. John C. Polk facility records, (administration), 07/14/2016-08/23/2017;

      14. MCC Chicago Special Housing Unit (~HU), (sign-in), 1O/l 6/2008-04/31/2009;

      15. Sleep Deprivation Records, 05/20/2014-09/02/2014;

      16. Telephonic interview with Mrs. Catherine White, mother of William White,, 07/26/2019;
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 141 of 487 Pageid#: 5910
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 6 of 35 Page ID #336       I



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   LIMITATIONS OF METHODS OF EXAMINATION:

   This examination was based upon information available to the examiner from records provided by
   Mr. White's attorney, Blane Osman, additional information provided directly by Mr. White, a
   telephonic interview with his mother, Mrs. Catherine White, as well as by the examinee during
   the examination. The value of the conclusions and opinions expressed in this report are, therefore,
   dependent upon the completeness, thoroughness, and accuracy of the records and the information
   provided. This examiner reserves the right to amend this report should significant new information
   be brought to light.


   CLINICAL OBSERVATIONS AND MENTAL STATUS EXAMINATION:

   William White was seen in a private contact room at the United States Penitentiary at Marion, IL.
   Only Mr. White and this examiner were present in the room. There were no apparent distractions
   during our meeting. Midway through the examination, a brief break was taken for lunch, and an
   informal break of about twenty-minutes transpired while he consumed his meal.

   Mr. White was appropriately dressed, and his hygiene was acceptable by jail standards. He was
   pleasant and appeared to be forthcoming regarding the details of his case and the specifics of the
   periods of sleep deprivation he experienced while an inmate at the John E. Polk Correctional
   Facility, Seminole County, FL.

   Mental status evaluation determined that Mr. White's affect was labile, while his mood was
   somewhat depressed. There were no apparent signs of psychosis or visible manifestations of
   organicity. Mr. White's thought processes, attention, and concentration appeared to be normal. His
   intelligence was estimated to be at least above the average range. Sleep was reported to be normal,
   as was his gait and general appearance. He was oriented times four, in that he was aware of his
   identity, surroundings, day, date, and time of day, and he evidenced an expected degree ofreality
   awareness.

   He told this examiner that while in custody at the John E. Polk Correctional Facility, Seminole
   County, FL he was subjected to a three-month period where he was housed in a room that had
   bright lights turned on twenty-four hours a day. Records show that he was monitored by a
   corrections officer twice daily, during which time notations kept track of his condition as well as
   recording his sleep time. Over the 105 days (05/21/2014- 08/289/2014) in that environment,
   records revealed a total of 80 days of complete records. These records, as summarized by Mr.
   White, and spot-checked by this examiner, indicate that he averaged only 1.2 hours of sleep per
   day over that period.

   Because exposure to several traumatic experiences can be cumulative with respect to contributing
   to the development ofposttraumatic stress disorder, Mr. White also told this examiner that during
   a 2008 stay at the Metropolitan Correctional Center, Chicago. IL, he was housed in: a unit where
   the sewage backed up, and inmates shower privileges were suspended. This experience may have
   also contributed to his diagnosed posttraumatic stress disorder. Additionally, Mr. White reported
   that he was denied appropriate medical care after he fell ill during his incarceration..At that time,
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 142 of 487 Pageid#: 5911
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 7 of 35 Page ID #337
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   he was not eating or drinking water and lost about twenty-six pounds. He experienced altered
   perceptions and hallucinations. He began writing on the walls with his blood.

    Mr. White asserted that he manifested many symptoms associated with posttraumatic stress
    disorder, which was first diagnosed by Eric Ostrov, Ph.D., in a report dated 07/22/2016. Earlier
    evaluations prior to his reported incidents of maltreatment did not detect this disorder.


    SIGNIFICANT INFORMATION: William White, age 42, primary inform~nt; review of case
    materials;

    William A. White was charged with the transmission in interstate commerce of an email that
    contained a threat on March 22, 2007. On that same day, he was charged with an attempt to extort
    a thing of value from Citi Bank. On May 22, 2007, Mr. White was charged with the intent to delay
    and prevent testimony in a proceeding of Afro-American tenants. He was also charged with
    making a threat to injure a journalist between June 3 and June 6, 2007. Also charged was a threat
    to injure a university professor which occurred on October 31, 2007. Also charged was a threat
    Mr. White made to a Canadian lawyer on February 23, 2008, and finally, on March I, 2008, he
    threatened an injury to a mayor. All these offenses stemmed from Mr. White's role as the publisher
    of a Neo-Nazi newsletter and as the leader of a Neo-Nazi political group.

    William White first published an internet "zine" at the age of twelve. He told this examiner that
    from "birth until the age of twenty-one," he was "a leftist." However, at that time, his political
    leanings shifted, and he became active in the American Nazi Party. Eventually, he took on a
    leadership position with a splinter group and became its head. He continued to publish magazines
    which promoted his white supremacist themes. Many of his legal problems were the result of
    threatening certain witnesses and publishing the personal contact information of people whose
    behavior or opinions were at odds with his views.

    Mr. White's only physically violent offense occurred when he was nineteen years old, for resisting
    arrest. At that time, he fought with and injured, two officers. The remainder of his offenses
    involved threatening those who disagreed with his political views, or in the case of Citi Bank, he
    was apparently involved with some banking issue.

    For his offenses, Mr. White was eventually released in 2011, after bonding out, with typical
    restrictions in place that included not leaving the country, but he traveled to Mexico, nonetheless,
    was arrested on June 8, 2011, and was extradited back to the United States. For this violation of
    supervised release, he was returned to Federal prison where he remains to this day.


    TELEPHONIC INTERVIEW WITH MRS. CATHERINE WHITE: (Mr. White's mother)

    Mrs. White first explained to this examiner that she did not support her son's political views. Both
    she and her husband were professional people who worked at a university and in similar academic
    environments and disagreed with his current political philosophy. She explained that her son was
    very bright as a student and was advised by his high school guidance counselor to.finish his last
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 143 of 487 Pageid#: 5912
     Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 8 of 35 Page ID #338
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        year at a local college in order to adequately stimulate him. Once he transferred to that college, he
        began to do better academically. Mrs. White was once told that her son "may have Asperger's" a
        disorder now classified as an Autism Spectrum Disorder. However, he was never officially
        diagnosed as such.

        His high school principal, believing that young "Bill" was not adequately challenged there,
        arranged for him to complete his final years at a local college. His academic performance improved
        at that point.

        Mrs. White said that at the age of 19, her son "Bill" got into an altercation with some police officers
        who were attempting to arrest him for "publishing his magazines 1."Mr.White resisted arrest and
        fought two officers. She believes that the charges arising from that incident were amplified, thus
        painting her son as "violent." However, that was the first and only time William White was
        involved in a physically violent offense.

        Mrs. White became aware that something was not in order following Mr. White's placement at the
        John E. Polk Correctional Facility, Seminole County, FL when Mr. White was subjected to Several
        months of sleep deprivation. At that facility, inmates had access to a telephone, and Mr. White
        called his mother daily. After not hearing from him for several days, she wrote to Captain Shaw to
        report her concerns. She was answered a few days later by Captain Shaw. However, she told this
        examiner that during telephone conversations with her son both before and after the
        communication with Captain Shaw. She explained that her son seemed to have been negatively
        affected by his experience. Specifically, he appeared to be disoriented and stumbled for words
        when she eventually spoke to him again by phone. She also said that he had become suspicious of
        the motives of the facility, believing that other inmates were being set up to incriminate him.


        PSYCHOLOGICAL TEST EVALUATION AND RESULTS:

       Psychological testing helps to develop an understanding of the subject's emotional state, cognitive
       ability, and mental condition. In addition to specific tests that are designed to measure specific
       aspects of a client's cognitive and emotional state, objective personality tests such as the Minnesota
       Multiphasic Personality Inventory-2-Restructured Form (MMPI-2-RF) and the Millon Clinical
       Multiaxial Inventory (MCMI-III), both of which have been peer-reviewed and well-studied, can
       reveal various aspects of an individual's personality. These test data are then analyzed and
       correlated with the results of the personal interview, and available supplementary material, to
       produce an overall personality profile of the individual. When used in combination with other
       information various diagnostic considerations can be made.

         Mr. White was administered both the MMPI-2-RF and the MCMI-III. Each test was scored by
         appropriate computer scoring programs by an outside scoring service. In addition, two tests that
       . were designed to detect the presence of Posttraumatic Stress Disorder were also administered.
\l
         These included the Posttraumatic Stress Diagnostic Scale (PDS), and the PTSD Checklist for
         DSM-5. Additionally, the Neuropsychological Symptom Checklist (NSC), and the Test of
         Memory Malingering were also administered.

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            These magazines promoted the philosophy of white nationalism.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 144 of 487 Pageid#: 5913
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 9 of 35 Page ID #339
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   POSTTRAUMATIC STRESS DIAGNOSTIC SCALE (PDS): ·

   The Posttraumatic Stress Diagnostic Scale (PDS) is a forty-nine item self-report instrument
   designed to aid in the diagnosis of posttraumatic stress disorder. Mr. White met the diagnostic
   criteria for the existence of a Posttraumatic Stress Disorder-chronic, severe, and listed seventeen
   symptoms in the moderate-severe severity range. He also reported a delayed onset of symptoms.


   PTSD CHECKLIST FOR DSM-5:

   The PCL-5 is a 20-item self~report measure that assesses the 20 DSM-5 symptoms of PTSD. The
   PCL-5 has a variety of purposes, including 1) Monitoring symptom change during and after
   treatment 2. Screening individuals for PTSD 3. Making a provisional PTSD diagnosis. This
   instrument showed that William White met the DSM-5 criteria for Posttraumatic Stress Disorder.


   TEST OF MEMORY MALINGERING:

   The Test of Memory Malingering (TOMM) provides a systematic method to assist
   neuropsychologists in discriminating between bona fide memory-impaired patients and
   malingerers. The TOMM is a 50-item recognition test (nonverbal) for adults that includes two
   learning trials and a retention trial. Using simple line drawings, the test is language free and does
   not depend on the literacy ofthe test-taker. Mr. White obtained perfect scores in both trials, which
   shows his memory to be intact at the time of testing.


   THE NEUROPSYCHOLOGICAL SYMPTOM CHECKLIST (NSC):

   The Neuropsychological Symptom Checklist (NSC) serves as a data collection point for the
   detection of possible neuropsychological symptoms. William White endorsed the following areas
   of perceived deficits: memory problems, problems with spontaneous speech, a history of head
   injury, and periods when he "loses time." Mr. White explained that some of these symptoms have
   become less severe over time.


   MINNESOTA MULTIPHASIC PERSONALITY INVENTORY-2-RF
   (MMPI-11-RF)

   The Minnesota Multiphasic Personality Inventory-2-Restructured Form (MMPI-2-RF) is a broad-
   spectrum inventory, the result of a data-based and construct-oriented revision of the MMPI-2. The
   overall objective of this revision was to represent the clinically significant substance of the MMPI-
   2 item pool with a comprehensive set of psychometrically adequate measures. The 338 items of
   the MMPI-2-RF accommodate a total of 51 scales: 9 validity scales and 42 substantiated scales.
   The complete numerical scales are presented in Appendix A. The following is a summary of the
   MMPI-2-RF results:
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 145 of i                   I
                                                                                    487    Pageid#: 5914
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 10 of .35 Page ID #340
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      •   The respondent followed the instructions by properly marking true or false to all items:
          This report is based upon completion of the entire inventory. Response consistency appears
          sound according to an analysis of items similar in meaning but different in wording,
          grammatical construction, and placement in the questionnaire.

      •   The test-taker endorses an acceptable number of items with a pro-social, morally correct
          appearance. These resemble or explicitly claim socially desirable or exemplary features.
          This is a sign of accurately responding to items that involve moral issues rather than
          slanting his responses to create a more favorable impression of his character.

      •   Defensive responses assess the possibility of understating problems in low to moderate
          pathology profiles. Defensive responses place within normal limits rather than suggesting
          a significant tendency to understate problems.

      •   The moderately high •number of infrequent responses raises a mild concern about
          overstating problems for a general population respondent and a slight concern for someone
          in an outpatient setting. The amount is entirely plausible, however, for someone in an
          inpatient setting.

      •   The profile includes a typical number of unusual cognitive symptoms and a slightly high,
          but plausible, number of unusual physical ailments. This suggests that he genuinely
          experiences these symptoms rather than reporting arbitrary or contrived problems.

      •   The results indicate that the respondent rates highest in Thought Dysfunction. The high
          score in this area involves the manifestation of problems through difficulties in cognitive
          processing, such as confusion, irrational beliefs, inattention, forgetfulness,
          misunderstandings, and misperceptions.

      •   Behavioral/Externalizing Dysfunction variables show no significant elevations. This
          suggests few outward manifestations of difficulties, such as through aggression,
          oppositionality, thrill-seeking, and physical maladies.

      •   A somewhat high score in Psychoticism, the primary elevation in this scale set, suggests
          some unusual experiences and beliefs. These may signify imagination, originality, or
          complexity in his thinking. There is a possibility, however, that they reflect mild
          eccentricity or occasionally make it challenging to see things in ordinary and practical
          ways.

      •   The moderately high score in Aggressiveness, also a prominent elevation, tends to be
          associated with hostile feelings or impulses and the possible directive use of intimidation,
          force, and aggression to reach ends.

      •   There are no significant elevations in Disconstraint, Negative Emotionality (Neuroticism),
          and Introversion (Low Profile Emotionality).
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 146 of 487 Pageid#: 5915       II


Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 11 of 35 Page ID #341
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        •   This individual believes it unfeasible to feel secure since myriad kinds of contact with
            others can involve resentment, quarrels, and feeling wronged. In his experience,
            interactions with others often take unexpected turns that create problems and take a toll on
            his emotional state. Over time, this increasingly results in feeling pressured, mistreated,
            and powerless to control his life. Such experiences or outlooks also contribute to the
            vigilance or antagonism in his stance toward others.

        •   Numerous cognitive complaints point to problems with attention, concentration, and
            memory. Further evaluation may be necessary to determine the significance of these issues.

        •   The measure of anxiety and other dysfunctional negative feelings in the main clinical
            profile falls in the average range. The measures of depression, hypomania, and anger fall
            in the normal range. This suggests that he does not suffer from low moods, abnormally
            high moods, nor excessive anger.

        •   There are no significant indications of helplessness, self-doubt, or inability to face
            decisions, difficulties, and challenges. This suggests a sufficient sense of confidence, self-
            sufficiency, and resolve to handle most situations.

        •   Many ideas of persecution, as previously noted, form a core feature of this profile. These
            may point to a paranoid personality style or disorder if they routinely limit his normal
            functioning rather than interrupting it in transient episodes or phases. This would involve
            a continual pattern of social sensitivity, apprehensiveness, and persistently negative,
            simplistic, or naive expectations of others.
        •   He appears to maintain self-control and mostly responsible or acceptable behavior rather
            than engaging in a pattern of antisocial actions.

        •   The measures of substance abuse risk fall in the low range. The test-taker reveals no
            significant indications of excessively using alcohol or other drugs.

     Elevations can be seen on the following graphs displayed in Appendix A: High scores can be seen
     on the TIID (thought disorder), and PSYC (psychoticism) scales on the Higher-Order and Psyc-5
     Scales. The RC6 (Ideas of Persecution) scale, on the Structured Clinical Scale Profile, is highly
     elevated. On the Somatic/Cognitive and Externalizing Scales shows a high score on the COG
     (cognitive functioning) scale. While somewhat elevated, his AGG, (aggression) score falls below
     the "T" of 65 scores generally considered the cutoff point for clinical significance.


     MJLLON MUL TIAXIAL CLINICAL INVENTORY-ID:

     The Millon Clinical Multiaxial Inventory-3 is designed to provide information to clinicians,
>l   psychologists, psychiatrists, counselors, social workers, physicians, and nurses, to make
     assessments and treatment decisions regarding persons with emotional disorders. The test results
     are designed to correlate with the Diagnostic and Statistical Manual of Mental Disorders, 4th
     Edition, and are a useful adjunct in developing DSM-IV diagnoses for several different patient
     populations. Using multivariate computer analysis, the test is designed to detect distortions and
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 147 of 487 Pageid#: 5916
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 12 of 35 Page ID #342
                                                   10


   exaggerations ~d is considered a highly effective means of providing additional data in the
   psychological evaluation of individuals. The complete narrative and numerical scales are
   presented in Appendix B. The following is a summary of the MCMI-III results:

      •   Anxiety appears an area of moderate concern. This may involve some degree of worry,
          restlessness, tension, or indecisiveness, and possibly occasional periods of more
          pronounced uneasiness.

      •   This individual shows an illustrious self-image as fabulously talented, astute, and capable.
          He considers himself endowed with wonderful skills and aptitudes that characterize him as
          meriting unique respect and esteem. Certain of his excellent attributes, he feels entitled to
          receive extra attention, affection, and special treatment. He is likely deficient in
          compassion, kindness, and sensitivity for others, considering the extensive value that he
          places on himself. His major flaws include the unawareness of his limitations and how
          others actually perceive him.                                ·

      •   The anxiety features, though not extreme, might sometimes create lapses in his attention
          and concentration. The measures of dysthymia, major depression, and manic features
          indicate no problems in these areas. They suggest a normal range of emotional experiences
          rather than depressed or overly elevated mood states.

      •   The narcissistic personality type suggests an expansive cognitive style. His thoughts may
          run free, unfettered by the factual constraints and inner inhibitions that normally limit
          others' thoughts, ideas, plans, and aspirations to more realistic, reachable levels. The
          narcissistic personality type is associated with a usually sanguine, upbeat, optimistic,
          composed, or coolly dispassionate temperament in his everyday life. This tranquil,
          nonchalant stance may continue through most circumstances, even challenging and
          stressful ones, except when his sense of superiority is compromised or imperiled.

      •   The measures of alcohol and drug abuse fall in the normal range. There are no significant
          indications of problems in these areas.

   Elevations can be seen on the "Narci" (Narcissism) and "Compl" (Compulsive) scales. The
   "Delus" (Delusional) scale and the "Anxty" (Anxiety) scales are similarly elevated.


   DIAGNOSTIC IMPRESSION:

   From: DIAGNOSTIC AND STATISTICAL MANUAL OF MENTAL DISORDERS, 5th
   EDITION (DSM-5)

                         309.81         Posttraumatic Stress Disorder, chronic

                         301.81         Narcissistic Personality Disorder, with histrionfo, antisocial,
                                               and obsessive-compulsive traits
                                                                                           !
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 148 of 487
                                                                   I
                                                                     Pageid#: 5917         I



Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 13 of 3$ Page ID #343
                                                     11



           Rule-out       297.1           Delusional Disorder, Persecutory Type /or

                           301.0          Paranoid Personality Disorder

   William A. White is diagnosed with Posttraumatic Stress Disorder, likely the result of three
   specific instances of potentially traumatic experiences while in the custody of the Federal
   Penitentiary system. These included a 2008 incident when he was placed in a cell that was flooded
   with human feces and left to stay in that cell while other inmates were moved to a drier and cleaner
   location. He was eventually moved to another cell where he remained for twenty-one days, but it
   was infested with cockroaches. He also states that he was exposed to observing guards abuse a
   mentally ill inmate who was disrobed and was then chained to a concrete block.

   In 2010 after being transferred to the FCI Beckley, William White was attacked by his cellmate.
   Mr. White was charged with fighting and placed in the Special Housing Unit (SHU), where he
   reported experiencing altered perceptions and hallucinations. He endured three months of sleep
   deprivation from 05/21/2014-08/29/2014, while incarcerated at the John E. Polk Correctional
   Facility, Seminole County, FL. Other exposure to potentially traumatic stressors included being
   housed in a cell that had overflowed with human fecal matter, and later, into a cell that was infested
   by cockroaches. He also stated that he had not received proper medical care.
   The essential feature of posttraumatic stress disorder (PTSD) is the development of characteristic
   symptoms following exposure to one or more traumatic events. The clinical presentation of PTSD
   varies. In some individuals, fear-based re-experiencing, emotional, and behavioral symptoms may
   predominate. In others, hedonic or dysphoric mood states and negative cognitions may be most
   distressing. In some other individuals, arousal and reactive-externalizing symptoms are prominent,
   while in others, dissociative symptoms predominate. Finally, some individuals exhibit
   combinations of these symptom patterns. In some cases, symptoms may develop many years after
   exposure to the traumatic incident and may persist for up to decades after exposure to the initial
   stressor.

   Mr. White is also diagnosed with Narcissistic Personality Disorder with histrionic, antisocial, and
   obsessive-compulsive traits. The essential features of Narcissistic Personality Disorder are a
   pervasive pattern of grandiosity, need for admiration, and lack of empathy that begins by early
   adulthood and is present in a variety of contexts. Histrionic traits include a propensity for needing
   to be the center of attention, while antisocial traits refer to engaging in activities that run counter
   to main-street social norms.

   The following two diagnoses are qualified with "Rule-out" prefixes. The rule-out prefix is used
   when many aspects of the diagnosis are detected, but further information is required to determine
   if the diagnoses so rendered meet the full diagnostic criteria.

           (Rule-out)     309.81          Paranoid Personality Disorder
           (Rule-out)     297.1           Delusional Disorder, Persecutory Type

   The essential of paranoid personality disorder is a pattern of pervasive distrust and suspiciousness
   of others such that their motives are interpreted as malevolent. This pattern begins by early
   adulthood and is present in a variety of contexts. An alternative Rule-out diagnosis of Delusional
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 149 of 487 Pageid#: 5918
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 14 of 35 Page ID #344
                                                     12


    Disorder, persecutory type is also rendered. The essential feature of delusional disorder is the
    presence of one or delusions that persist for at least one month. Further testing and observation
    would be necessary to differentiate between these two possibilities.


    REMARKS AND RECOMMENDATIONS:

    William A. White, while an inmate at the John C. Polk Correctional Facility/Seminole County,
    FL, was subjected to sleep deprivation between 05/20/2014 and 09/02/2014. According to records
    provided to this examiner, over one hundred and five days, of which eighty days were fully
    documented, shows that Mr. White had a total of ninety-five hours of sleep; an average of 1.2
    hours of sleep per night over this period. After hearing from her son during this part of his
    incarceration, his mother, Mrs. Catherine White, wrote to Captain Shaw of the Polk Correctional
    facility on 06/19/2014, expressing her concern about the treatment her son was subjected to as a
    result of the "segregation" while undergoing a sleep deprivation regimen.

    In her email to Captain Shaw, she wrote that issues of concern to her included a video camera
    always on his cell, a bright light constantly on in his cell, no access to daylight, lack of
    exercise, lack of access to showers, and an open sewer drain in his cell which, given his extreme
    allergies, posed a clear threat to his physical health.

    William White further described the conditions as follows: "7'x7' (feet) room with no windows,
    contact bright light that would pierce a towel folded over four times." He said that he developed
    both "head and eye pain from the light," adding that the intense light interfered with his sleep,
    allowing sleep for only an average of seventy-two minutes per day over one hundred days. He
    added that he was under twenty-four-hour video surveillance, which was "broadcast throughout
    the facility to .inmates and visitors," was denied hygiene products, was not allowed to shave or cut
    his hair for three months and was denied recreation for three months. He added that on June 17,
    2014, he "entered into a dissociative state when he was unable to eat or drink and received no
    treatment until he collapsed on 06/23/2014. He also asserted that his medical treatment was
    delayed for twenty-four hours after his collapse.

    Previous exposure to conditions described by Mr. White as traumatic were previously described
    in earlier sections of this report.

    Mr. White has been evaluated several times during his incarceration, examining him for possible
    psychiatric problems. James Corcoran, M.D., conducted the first evaluation on file while Mr.
    White was held at the Metropolitan Correctional Center, Chicago, IL. In a report dated December
    1, 2008, Dr. Corcoran concluded that Mr. White "does not exhibit any characteristic signs or
    symptoms of any major psychiatric illness. He does appear to have some aberrant personality traits
    which appear to be histrionic and narcissistic." Dr. Corcoran added, "Mr. White does not appear
    to be psychiatrically unstable or dangerous to the community at large due to psychiatric illness."
    There was no mention of posttraumatic stress disorder.

    In a report dated October 10, 2009, Conrad H. Daum, M.D., was asked to conduct an evaluation
    of Mr. White to determine, "Whether the defendant posed a danger to himself, or any other person,
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 150 of 487 Pageid#: 5919        1

Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 15 of 35 Page ID #345
                                                    13


   or the community at large due to his mental state, and whether the examining psychiatrist believed
   that the conditions might be set for the defendant which might alleviate any such dangerousness."
   Dr. Daum opined, "The defendant presented as an individual with no mental disease or defect that
   would prevent him from understanding and adhering to right and wrong." No clinical diagnosis
   was rendered, but the existence of "personality traits not otherwise specified was noted. There was
   no mention of posttraumatic stress disorder.

   William White memorialized one of these incidents that occurred after he was transferred to the
   Metropolitan Correctional Facility, in Chicago, IL, on 11/07/2008, writing, "Had been transferred
   to MCC-Chicago, SHU housing-put in cell 11-11 for 5 days. The cell was not heated, and outside
   temp was minus 20°. Not given sheets or a blanket. Feared for (his) life and had extreme pain from
   the cold." On 11/28/08 he wrote, "Had been transferred to cell 11-14 (or 11-15) at MCC-Chicago,
   SHU housing. Cell flooded with human feces from nearby sewage drain. Was left in 1" of human
   feces for over 24 hours." The following day, 11/29/2008, Mr. White wrote, "Sometime between
   l 1/07/2008 and 11/29/2008, was put in cell 11-5 for 21 days. The ceff was overrun by cockroaches-
   witnessed extreme violence against other inmates, saw six officers pick up a mentally ill man,
   carry him to his cell, forcibly disrobe him and chain him to a concrete block while the man was
   screaming for help."

   While these traumatic experiences may not have by themselves triggered a posttraumatic stress
   disorder, such traumas are cumulative in their ability to cause PTSD. In conjunction with the sleep
   deprivation regimen experienced some years later, they may have together, triggered his mental
   disorder.

   During his incarceration, Mr. White was subjected to conditions that included sleep deprivation,
    exposure to unsanitary conditions, extended placement in a restricted environmental stimulation
    environment, and during which time he began to hallucinate. Mr. White also believes that he was
   neglected by the facility's medical staff. As examples, Mr. White referenced that while at FCI
   Beckley, located in West Virginia, Mr. White's family wrote letters to prison officials because his
    letters home "were becoming incoherent." After being moved to the Chicago MCC, Mr. White
   wrote that he became "unresponsive" from mid-February through 3/9/11. He said that he, "Woke
    in an excited delirium, destroyed all property in the cell, cut his stomach, and wrote on the walls
  . in blood." Apparently, there was no mental health intervention at this time.

   The medical notes during that period mentioned that Mr. White had denied that he needed
   psychiatric help, but given his negative experience at the various facilities that he was housed in,
   he had lost trust in prison officials, therapists, and physicians, and he tended to minimize his
   contact with them.

   In 2014, while Mr. White was incarcerated at the John C. Polk Correctional Facility/Seminole
   County, FL, he was subjected to a regimen of sleep deprivation. As described earlier, he was placed
   in segregation; alone in a small seven-foot by seven-foot room with constant bright illumination
   (24/7) over a period that of 105 days, or about three months, during which time he averaged
   approximately 1.2 hours of sleep per night. During this period, he underwent a period of not eating
   or drinking and ultimately collapsed in his cell. He said that his need for medical treatment was
   inexplicably delayed.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 151 of 487 Pageid#: 5920
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 16 of 35 Page ID #346
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    He reported that he was transferred there on or about 05/13/14 and was placed in a seven-foot by
    seven-foot room with no windows, continuous bright light that "hurt (his) eyes, even when covered
    by a towel and which interfered with his sleep. According to his records, he was able to sleep an
    average of seventy-two minutes per day over one hundred and ninety-two 192 days. He was denied
    hygiene products, was not allowed to shave or have his hair cut for three months, and was denied
    recreation for three months. On June 17, 2014, he, "entered into a dissociative state" and became
    unable to eat or drink. Mr. White asserts that he received no medical or psychological treatment
    until 06/23/14 when he collapsed. Even then, his treatment was delayed twelve hours on
    06/23/2014. He had gone six days without water, his body temperature dripped to 96.1°, and he
    had lost twenty-six pounds by the end of his ordeal.

     These circumstances led to Mr. White claiming that medical malpractice occurred on the part of
     the facility's medical and mental health staff.

     In 2016, William White was again evaluated; this time by Eric Ostrov J.D:, Ph.D., ABPP. In his
    report, dated 07/22/2016, Dr. Ostrov diagnosed Mr. White with Posttraumatic Stress Disorder and
    Personality Disorder with Borderline and Narcissistic traits. Dr. Ostrov also concluded: "Mr.
    White presents with various symptoms of PTSD in conjunction with a personality disorder. His
    responses during the evaluation and test results indicate that Mr. White tried his best to be
    forthcoming in the cour~e of this evaluation. There is no issue in this case of malingering or
    symptom exaggeration." This was the first time that PTSD was diagnosed.

     In the present evaluation, this examiner confirmed the existence of posttraumatic stress disorder.
    Also detected was a personality disorder with narcissistic, histrionic, and obsessive-compulsive
    traits. Characteristics of paranoid and delusional thinking were also detected.

    Sleep deprivation has a long history of use as an interrogation technique2 • In 1&11 century Scotland,
    civilians participated in several nationwide witch hunts. The civilians needed a confession from
    the accused. Techniques for extracting a confession included depriving the women of sleep for
    days, after which they would begin to hallucinate. The author of the article, using modem-day
    terminology, asserted that today, those episodes might be described as psychotic in nature.

    During World War II, sleep deprivation was one form of torture used by the Japanese during
    interrogations. Other methods included solitary confinement, blindfolding, meal restrictions, and
    forcing prisoners to assume uncomfortable or painful positions.

    During South Africa's Apartheid regime, a psychotherapist was tortured through sleep deprivation
    during the 1960s. After being kept awake for one week, the psychotherapist reported: "having
    dreams while awake, which is a form of psychosis."      ·

    Up until 2009, sleep deprivation was used as a form of torture to prisoners by the United States
    military.




    2
        Optalert, internet publication, available at https://www.optalert.com
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 152 of 487 Pageid#: 5921
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 17 of 35' Page ID #347
                                                           15


   Amnesty International has called the use of this type of interrogation technique, "cruel and
   inhuman. 3" Andrea Northwood, director of client services at the Center for Victims of Torture in
   Minneapolis, said her organization considers 96 hours of sleep deprivation to be torture. 4

   Whether or not what Mr. White experienced was considered torture, what he did go through
   nonetheless, was a stressful condition that meets the criteria for exposure to traumatic events,
   meeting Criterion A-1 for Posttraumatic Stress Disorder according to the DSM-55 •

   Test results confirm this. For example, both the Postlraumatic Stress Diagnostic Scale6 and the
   PTSD Checklist for DSM-5 7 confirm the presence of posttraumatic stress disorder. The "PTSD"
   scale of the MCMI-111 shows an elevation that exceeded the T score of 65, which suggests the
   presence of PTSD. Dr. Ostrov, in his 07/22/2016 evaluation, administered two years after the
   period of sleep deprivation experienced by Mr. White, diagnosed him with PTSD, whereas two
   psychiatric evaluations conducted before 2014 did not show any indications of PTSD. According
   to information supplied by Mr. White's mother and based on her conversations with her son during
   his ordeal, revealed symptoms to her that are consistent with that of PTSD.

   While Mr. White's symptom level appears less intense than as reported to his mother during the
   actual period of sleep deprivation in 2014, and as he expressed to Dr. Ostrov in 2016, this is typical.
   According to the PTSD section of the DSM-5,

               "Frequently, an individual's reaction to a trauma initially meets criteria for acute
               stress disorder in the immediate aftermath of the trauma. The symptoms of PTSD
               and the relative predominance of different symptoms may vary over time. Duration
               of the symptoms also varies, with complete recovery within three months occurring
               in approximately one-half of adults, while some individuals remain symptomatic
               for longer than 12 months and sometimes for more than 50 years. 8"

   Thus, this examiner concludes that William White was exposed to a situation of sleep deprivation
   which was employed while he was incarcerated at the John C. Polk Correction Center in Seminole
   County, FL, in 2014. Earlier exposure to a highly stressful situation that occurred while he was
   housed at the Metropolitan Correctional Center in Chicago and described above may also have
   contributed to his mental disorder.

   Based on a review of the supplied documents, my training and experiences as outlined in the
   attached curriculum vitae, my familiarity with the relevant medical and psychological literature,
   provided by various federal facilities in which Mr., White was incarcerated, appears to have
   deviated from accepted medical standards and likely represent acts of medical negligence. As a

   3
     Gregoire C, What Not Sleeping for a Week Does to Your Brain and Body, Huff Post, 02/25/2016.
   4
     Houk M., From UN-Truth.com, August 28, 2009.
   5
     American Psychiatric Association, Diagnostic and Statistical Manual of Mental Disorders. Fifth Edition (DSM-5),
   Washington & London, 2013, p 271.
   5
     Foa EB, Posttraumatic Stress Scale, PsychCorp, Pearson, Minn. MN, 1995.
   6
    Weathers FW, LitzxBT, Keane TM, Palmieri PA, Marx BP & Schnurr PP, ThePTSD ChecklistDSM-5,
   www.ptsd.va.gov, 2013.

   8
       Ibid, footnote 4, p 277.
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 153 of 487 Pageid#: 5922
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 18 of                       351I   Page ID #348
                                                                                            I

                                                            16


   result, this examiner is of the professional opinion that there is a reasonable and meritorious cause
   for filing a medical malpractice action.

   Additionally, Mr. White appears to have developed posttraumatic stress disorder after the sleep
   deprivation experience, in concert with other reported incidents described above, which, according
   to prior psychiatric reports, did not show the presence of posttraumatic stress disorder ( or any other
   major psychiatric illness).

   Respectfully submitted,

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        /J
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   Richard M. Samuels, Ph.D., ABPP
   Diplomate in Clinical Psychology, ABPP
   Diplomate in Forensic Psychology, ABPS
   Diplomate, American Board of Forensic Medicine
   Diplomate, American Board of Forensic Examiners
   Diplomate in Sexology, American Board of Sexology
   Fellow, Academy of Clinical Psychology
   Fellow, American Psychological Association
   Clinical Fellow, American Academy of Clinical Sexology
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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 154 of 487 Pageid#: 5923
      Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 19 of 35 Page ID #349
                                                    17



                        APPENDIX A- MMPI-2-RF graphical data

                                        MMPI-2-RF Validity Scales

                            ·-----------------------------------------·
                            .                                         .
                      Raw       5        11    7    0      2     7    3    6
                        T      58        50   74   42     58    48   52   45
                            ·-----------------------------------------·
                            .                                         .
                            : VRN       TRN    F   Fp    'Fs   FBS    L    K
                            .
                            ·-----------------------------------------·
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                       95




                       85




                       75
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                       65                      *
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                       55         *            *           *
                                  *            *           *
                                  *            *           *          *
                                  *       *    *           *          *
                                  *       *    *           *     *    *
                       45         *       *    *           *     *    *    *
                                  *       *    *           *     *    *    *
                                  *       *    *    *      *     *    *    *
                                  *       *    *    *      *     *    *    *
                                  *       *    *    *      *     *    *    *
                       35         *       *    *    *      *     *    *    *
                            .
                            ·-----------------------------------------·
                                                                      .
                            : VRN       TRN    F   Fp     Fs   FBS    L    K
                            .·-----------------------------------------·.
                            Cannot Say:        0

                            VRN       Variable Response Inconsistency
      8
                            TRN       True Response Inconsistency
                            F         Infrequent
                            Fp        Infrequent Psychopathology
                            Fs        Infrequent Somatic_
                            L         Uncommon Virtues
                            K         Adjustment Validity
     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 155 of 487 Pageid#: 5924
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 20 of 351 Page ID #350
                                                  18


                      MMPI-2-RF Higher-Order and Psy-5 Scales


                   ·----------------------------------------------------·
                   .                                                    .
             Raw       7           6     5       12       5      5      4     8
               T      46          67    48       60      63     47     45    54
                   .
                   ·-------------------·------------------
                                       .                   -------------·.
                      EID   THD   BXD     AGGR PSYC DISC NEGE INTR
                   .                   .
                   ·-------------------·--------------------------------·.
              95




              85




              75




                                   *
              65                   *
                                   *                      *
                                   *                      *
                                   *              *       *
                                   *              *       *
              55                   *              *       *
                                   *              *       *                    *
                                   *              *       *                    *
                                   *              *       *                    *
                                   *     *        *       *      *             *
              45          *        *     *        *       *      *      *      *
                          *        *     *        *       *      *      *      *
                          *        *     *        *       *      *      *      *
                          *        *     *        *       *      *      *      *
                          *        *     *        *       *      *      *      *
              35          *        *     *        *       *      *      *      *
                   .·-------------------·--------------------------------·
                                        .                                .
                     EID         THD   BXD    AGGR     PSYC   DISC   NEGE   INTR
                   .                   .                                .
                   ·-------------------·--------------------------------·
                   EID        Emotional/Internalizing
                   THD        Thought Dysfunction
                   BXD        Behavioral/Externalizing
                   AGGR       Aggressiveness
                   PSYC       Psychotocism
~J                 DISC       Dis constraint
                   NEGE       Negative Emotionality
                   INTR       Introversion
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 156 of 487
                                                                   i Pageid#: 5925
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 21 of 35 Page ID #351
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               MMPI-2-RF Restructured Clinical Scale Profile


                    ·----------------------------------------------·
                    .                                              .
              Raw      4        3     5     7     8        8     3     5     9
                T     51       51    54    51    59       89    44    63    45
                    .·----------------------------------------------·.
                    : RCd     RCl   RC2   RC3   RC4      RC6   RC7   RCS   RC9
                    ·----------------------------------------------·
                    .                                              .
               95


                                                           *                         ,..
                                                           *
               85                                          *
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                                                           *
                                                           *
               75                                          *
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               65                                          *
                                                           *           *
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                                                     *     *           *
               55                                    *     *           *
                                      *              *     *           *
                          *     *     *     *        *     *           *
                          *     *     *     *        *     *           *
                          *     *     *     *        *     *           *
               45         *     *     *     *        *     *           *     *
                          *     *     *     *        *     *     *     *     *
                          *     *     *     *        *     *     *     *     *
                          *     *     *     *        *     *     *     *     *
                          *     *     *     *        *     *     *     *     *
               35         *     *     *     *        *     *     *     *     *
                    ·----------------------------------------------·
                    .                                              .
                    : RCd     RCl   RC2   RC3   RC4      RC6   RC7   RCS   RC9
                                                                   .
                    ·----------------------------------------------·
                    .
                    RCD    Demoralization
                    RCl    Somatic Complaints
                    RC2   ·Low Positive Emotions
                    RC3    Cynicism
                    RC4    Antisocial Behavior
                    RC6    Ideas of Persecution
                    RC7    Dysfunctional Negative Emotions
                    RCS    Aberrant Experiences
                    RC9    Hypomanic Activation
                                                                                       I
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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 157 of 487 Pageid#: 5926
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 22 of 35! Page ID #352
                                                   20


                       Somatic/Cognitive and Externalizing Scales

                       ·-----------------------------------------------·
                       .                                               .
                 Raw       2       0     0     2     5 :         2     0     4     1
                   T      52      46    42    59    69 :        57    41    61    39
                       .                         .
                       ·-------------------------·---------------------·
                                                                       .
                       : MLS     GIC   HPC   NUC   COG : JCP         SUB   AGG   ACT
                       ·-------------------------·---------------------·
                       .                         .                     .
                  95




                  85




                  75


                                                        *
                                                        *
                  65                                    *   :
                                                        *
                                                        *                    *
                                               *        *                    *
                                               *        *        *           *
                  55                           *        *   :    *           *
                                               *        *        *           *
                             *                 *        *        *           *
                             *                 *        *        *           *
                             *                 *        *   :    *           *
                  45         *     *           *        *        *           *
                             *     *           *        *        *           *
                             *     *     *     *        *        *     *     *
                             *     *     *     *        *        *     *     *     *
                             *     *     *     *        *        *     *     *     *
                  35         *     *     *     *        *        *     *     *     *
                       ·-------------------------·----------------------
                       .                         .                      .
                       : MLS  GIC HPC NUC COG : JCP SUB AGG ACT
                       ·-------------------------·---------------------·
                       .                         .                      .
                       MLS     Malaise
                       GIC     Gastrointestinal Complaints
                       HPC     Head Pain Complaints
                       NUC     Neurological Complaints
                       COG     Cognitive Complaints
                       JCP     Juvenile Conduct Problems
\l                     SUB     Substance Abuse
                       AGG     Aggression
                       ACT     Activation
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 158 of 487 Pageid#: 5927
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 23 of 35 Page ID #353
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                                  MMPI-2-RF Internalizing Scales

                       .                                              .
                       ·----------------------------------------------·
                 Raw         0     1     0     1          3     1     0     1     3
                   T      45      52    42    43         52    59    39    56    48
                       ·----------------------------------------------·
                       .                                              .
                       : SUI     HLP   SFD   NFC        STW   AXY   ANP   BRF   MSF
                       ·----------------------------------------------·
                       .                                              .
                  95




                  85




                  75




                  65


                                                                *
                                                                *
                  55                                            *           *
                                                                *           *
                                   *                      *     *           *
                                   *                      *     *           *
                                   *                      *     *           *     *
                  45         *     *                      *     *           *     *
                             *     *           *          *     *           *     *
                             *     *     *     *          *     *           *     *
                             *     *     *     *          *     *     *     *     *
                             *     *     *     *          *     *     *     *     *
                  35         *     *     *     *          *     *     *     *     *
                       .
                       ·----------------------------------------------·
                                                                      .
                       : SUI     HLP   SFD   NFC        STW   AXY   ANP   BRF   MSF
                       .
                       ·----------------------------------------------·
                                                                      .
                       SUI     Suicidal/Death Ideation
                       HLP     Helplessness/Hopelessness
                       SFD     Self-Doubt
                       NFC     Inefficacy
                       STW     Stress/Worry
                       AXY     Anxiety
 I)                    ANP     Anger Proneness
                       BRF     Behavior Restricting Fears
                       MSF     Multiple Specific Fears
                                                                          I
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 159 of 487
                                                                   I Pageid#: 5928
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 24 of 35I Page ID #354
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                                               22                         I
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                MMPI-2-RF Interpersonal and Interest Scales


                        ·-------------------------------------·
                        .                                     .
                 Raw        5       3     4     1      0 :      2     4
                    T      63      46    52    44'    44   :   45    56
                        .                         .
                        ·-------------------------·-----------·
                                                              .
                        : FML     IPP   SAV   SHY    DSF: AES       MEC
                        ·-------------------------·-----------·
                        .                         .           .
                   95




                   85




                   75




                   65
                              *
                              *
                              *
                              *
                   55         *                                       *
                              *                                       *
                              *           *                           *
                              *           *                           *
                              *           *                           *
                   45         *     *     *                     *     *
                              *     *     *     *      *        *     *
                              *     *     *     *      *   :    *     *
                              *     *     *     *      *        *     *
                              *     *     *     *      *   :    *     *
                   35         *     *     *     *      *        *     *
                        .                         .           .
                        ·-------------------------·-----------·
                        : FML     IPP   SAV   SHY    DSF: AES       MEC
                        ·-------------------------·-----------·
                        .                         .           .
                        FML     Family Problems
                        IPP     Interpersonal Passivity
                        SAV     Social Avoidance
                        SHY     Shyness
                        DSF     Disaffiliateness
                        AES     Aesthetic-Literary Interests
                        MEC     Mechanical-Physical Interests
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 160 of 487
                                                                  i Pageid#: 5929
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 25 of 35 Page ID #355
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                                            23


                       APPENDIX B-MCMI-III Graphical Data
                                                                                      \


                                   MCMI-III Profile


                                                    Unadjusted          Final
              Scale             Raw Score        Base Rate Score   Base Rate Score


              Q Cannot Say           0
              V Validity             0
              W Inconsistency        4

              X Disclosure          75                                       45
              Y Desirability        18                                       80
              z Debasement           3                                       38

              1 Schizoid            3                  36                   , 36
             2A Avoidant            1                  12                     11
             2B·Depressive          0                   0                      0
              3 Dependent           0                   0                      0
              4 Histrionic         17                  63                     63
              5 Narcissistic       18                  85                   : 93
             6A Antisocial          7                   64                  : 64
             6B Sadistic            6                   62                  . 62
              7 Compulsive         22                   75                  · 75
             BA Negativistic        7                   62                    62
             BB Masochistic         0                    0                     0

              s Schizotypal         2                  40                    39
              C Borderline          1                  12                    11
              p Paranoid            8                  66                    66

              A   Anxiety           4                  75                    75
              H   Somatoform        2                  30                    30
              N   Manic             1                  12                    12
              D   Dysthymi.a        1                  12                    12
              B   Alcohol           1                  20                    20
              T   Drugs             3                  60                    60
              R   PTSD              9                  68                    68
             SS   Thought Dis       1                  15                    15
             CC   Major Dep         2                  30                    30
             PP   Delusional        6                  70                    70
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 161 of 487 Pageid#: 5930
Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 26 of 35; Page ID #356
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                                              24


                                 MCMI-III Base Rate Scores



                         ---------------------------- 60 ---- 75--85 -----------

        X Discl     45 **********************
        Y Desir     80 ****************************************
        Z Debas     38 *******************


        1 Schiz     36 ******************
       2A   Avoid   11 ******
       2B   Deprs    0 *
        3   Depen    0 *
        4   Histr   63 ********************************
        5   Narci   93 **********************************************
       6A   Antis   64 ********************************
       6B   Sadis   62 *******************************
        7   Compl   75 **************************************
       8A   Negat   62 *******************************
       8B   Masoc    0 *


        s Scztp     39 ********************                                         l
        C Bordr     11 ******                                                       I
        p Paran     66 *********************************                            I
                                                                                    I
                                                                                    I
        A   Anxty   75   **************************************                     I
        H   Somat   30   ***************                                            I
        N   Manic   12   ******                                                     I
        D   Dysth   12   ******                                                     I
        B   Alcoh   20   **********                                                 I
        T   Drugs   60   ******************************                             I
        R   PTSD    68   **********************************                        ·I
       ss   Thoug   15   ********                                                   I
       cc   MjDep   30   ***************                                            I
       pp   Delus   70   ***********************************                        I
                                                                                    I
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 162 of 487 Pageid#: 5931                     I
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 27 oj 35 Page ID #357
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                                  APPENDIX C-curriculum Vitae

                             Richard M. Samuels, Ph.D., ABPP, PLC
                             Diplomate in Clinical Psychology, ABPP. Diplomate in Forensic Medicine,
                                         AAFM Diplomate in Forensic Psychology, ABPS
                                        Member, American College of Forensic Psychology


                                      8776 East Shea Boulevard . # 106-320 . Scottsdale Arizona
                                        85260 Telephone. 480.661.9896. Fax. 480.661.5292

                                 \\'WW.expertwitnessinpsvcho!ogy_com        nnsamuelsphdraJcox.net




        CURRICULUM VITAE: (04/14/19)
        Licensed Psychologist, State of New Jersey, 1975, # S
        101060 Licensed Psychologist, State of Arizona, 1989, #
        3043 Diplomate in Forensic Psychology, ABPS, 1999
        Diplomate, American College of Forensic Examiners,
        1995 Diplomate, American Board of Forensic Medicine,
        1996
        Diplomate in Clinical Psychology, American Board of Professional Psychology, 1980
        Diplomate in Sexology, American Board of Sexology, 1989
        Fellow, American Psychological Association,
        1986 Fellow, Academy of Clinical Psychology,
        1994
        Clinical Fellow, Behavior Therapy· and Research Society,
        1985 Clinical Fellow, American Academy of Clinical
        Sexology, 1990
        Recognized by the National Registrar of Practicing Psychologists, 1976
        Certified Sex Therapist, American Association of Sex Educators, Counselors &Therapists, 1976

        EDUCATION:
        Ongoing Continuing Education, 1978-present

        New Jersey Medical School, Department of Obstetrics & Gynecology, Newark, New Jersey, Post-
        Doctoral Fellow in Human Sexuality, 1974-1975

        City University of New York, Biopsychology,

        Ph.D., 1973 Hofstra University, Psychology,

        M.A., 1967

        Hofstra University, Psychology, B.A., 1965

        State University at Farmingdale, New York, Electronics Technology, A.A.S. 1961
                                                                                                             I
      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 163 of 487
                                                                         I Pageid#: 5932
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 28 of 3~ Page ID #358
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            FORENSIC EXPERIENCE:


            Dr. Samuels has conducted over 2000 psychological evaluations of which about 800 were-Psychosexual Risk
            and Sexually Violent Person assessments in Arizona. Many of his cases involved insanity, GEI, medical
            malpractice and general criminal matters, treated thousands of patients, and has testified in several states. He
            is licensed in Arizona and New Jersey and is a Member of the Arizona Supreme Court Competent Professional
            Mental Health Provider Panel, Maricopa County and the Yavapai County Mental Health Expert approved
            providers' panel. He has been court appointed in multiple counties in Arizona, New York and New Jersey.

            OTHER FORENSIC CERTIFICATIONS AND EXPERIENCE:
            Diplomate in Forensic Psychology, American Board of Psychological Specialties.
            Diplomate, American College of Forensic Examiners.
            Diplomate, American Board of Forensic Medicine.
            Member, American College ofForensic Psychology

            Expert Witness in most New Jersey Counties; Expert Witness in New York City Superior Court, Kings,
            Queens, Brooklyn & Bronx Courts. Rockland, Westchester, Orange County, Nassau, Suffolk County,
            New York, and Maricopa, Coconino, Pima, Yuma, Mohave, Cochise and Yavapai Counties in Arizona.

            Court Appointed Psychologist in Bergen, Morris, Union, Hunterdon, and Essex Counties, NJ. and
            Maricopa, Pima, Yavapai, Coconino, Mohave, and Pinal Counties, Arizona.

            Approved Competent Provider, Arizona Superior Court (Maricopa County) Mental Health Provider Panel
            and Approved Mental Health Provider, Superior Court, Yavapai County.

            Extensive experience in forensic matters dealing with capital crimes, general criminal cases and sentence
            mediation, psychosexual risk assessment, Guilty Except Insane (GEi) evaluations in Arizona, and Sexually
            Violent Perpetrator evaluations (approximately 400), emotional impact of medical malpractice (possible
            PTSD) and personal injury,

            Experienced in working with State Police officers in New Jersey, conducting evaluations and
            conducting therapy dealing with shooting trauma, Posttraumatic Stress Disorder, and other matters.

            Consulting Psychological Evaluator, Whiting Forensic Hospital, Middletown, CT.

            Conducted CBT psychotherapy for thirty-eight years. Treated court-ordered outpatient sex offenders.

            SPECIALIZED FORENSIC TRAINING (since 1998}:

            Over 3000 hours of continuing postgraduate education in Forensic Psychology including ongoing annual CE
            credits for license renewal. Current through 2019.
            Attendance at 2019 Annual Seminar conducted by the American College ofForensic Psychology (23 hours). ·
            Legal Competency and Restoration for Mental Health Professionals, Arizona Supreme Court, (21 hours).
            Legal Competency and Restoration for Mental Health Professionals, Arizona Supreme Court, (21
            hours). August 8-10, 2017.
            Legal Competency and Restoration for Mental Health Professionals, Arizona Supreme Court, (22
            hours), February 22-24, 2012.
            Legal Competency and Restoration for Mental Health Professionals, Arizona Supreme Court, (22
            hours), February 22-24, 2012.
r:i         Association for the Treatment of Sexual Abusers, Annual Conference and Workshop, San Diego, CA, 2014,
            13 hours.
            Current Trends in Assessment of Sex Offenders and Efficacy of Current Treatment Strategies, Dennis Doren,
            Ph.D., at AZATSA, Phoenix, AZ, 2005.
            Association for the Treatment of Sexual Abusers, Annual Conference and Workshop, St. Louis, MO, 2003, 14
            hours.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 164 of 487 Pageid#: 5933
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 29 of 35 Page ID #359
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        Association for the Treatment of Sexual Abusers, Annual Conference and Workshop, Montreal, Canada, 2002,
        14 hours.
        Family Court Mental Health Training Seminar, Superior Court of Arizona, Domestic Relations Department,
        2002, 7 hours,
        Assessing Psychopathy, Clinical & Forensic Applications of the PCL-R. conducted by Robert D. Hare, Ph.D.,
        Arizona School of Professional Psychology, April 5,6,7, 2001, 21 hours.
        Family Court Mental Health Training Seminar, Superior Court of Arizona, Domestic Relations Department,
        2001, 7 hours,
        Association for the Treatment of Sexual Abusers, Annual Conference and Workshop, San Diego, CA, 2000,
        17 hours
        Geriatric Congress, Las Vegas, Nevada, 2000, 13.5 hours.
        Training Mental Health Experts in Legal Competency & Restoration in Criminal Juvenile Courts,
        Supreme Court, State of Arizona, Tucson, Arizona, 2000, 4 hours,
        Family Court Mental Health Training Seminar, Superior Court of Arizona, Domestic Relations
        Department, 2000, 4 hours,
        Family Court Mental Health Training Seminar, Superior Court of Arizona, Domestic Relations
        Department, 1999, 4 hours.
        Sexually Violent Person Commitment Evaluations, Arizona Department ofHealth Services,
        Arizona State Hospital, Phoenix, Arizona, 1998, 16 hours.                ·
        Training Mental Health Experts in Legal Competency & Restoration in Criminal Juvenile Courts,
        Supreme Court, State of Arizona, Tucson, Arizona, 1998, 24 hours.
        Children, Divorce & Custody: Lawyers & Psychologists Working Together - Sponsored by
        American Bar Association Section of Family Law & the American Psychological
        Association Los Angeles, California, 1997, 22 hours

        CORPORATE BACKGROUND:
        President, Guardian Eldercare PC; 1992-2013, Psychological services firm providing mental health services
        to long term geriatric and psychiatric patients; Created company which trained and placed psychologist, social
        workers, and psychiatrists in rehabilitation facilities, nursing homes and psychiatric facilities to provide mental
        health services to residents and patients. Developed extensive training and seminar programs for staff members.
        Created a cognitive restructuring program for dementia patients, set up billing and reporting systems.

        Vice President, Cognitive Sciences BrainSavers LLC; 2004-2010, Developed niche marketing segments
        for healthy brain aging program, designed and directed beta site program, developed cognitive components
        for BrainSavers Tri-component program, developed unique packaging concept for a food product, conceived
        modification to health-related equipment for simultaneous physical and cognitive training. Assisted with
        software development. Produced interactive DVD for the book; "The Brain Training Revolution" scheduled
        for publication, November 2009;

        President and CEO of AmbiVision, 1986 -1990. Developed concept of waiting room video entertainment
        and educational programming and communications system utilizing psychologically designed
        programming, which was shown to significantly reduc.e the perception of waiting time. Conceived and aided
        in the design of microprocessor-based interactive information display and reporting technology. Set up
        manufacturing, installation and service programs with a major international electronics firm. Distribution
        set up throughout the United States and Canada. I have produced several video programs and promotional
        spots. Networked with the American Medical Association, most major research-oriented pharmaceutical
        companies, cable television channels, and major advertisers.

        Senior Vice President of TravelVues, 1987 -1990.        Designed computer-based, multipoint video
        distribution System, developed marketing test of an airport gate, video display system which interfaced with
        flight display computer, Allowing automated cutaway to specific flight destination programming. Negotiated
        with major airlines and program Sponsors. Produced one-hour video programming designed to shorten the
 \l     perception of waiting time.

        Primary Organizer of the Division of Psychologists in Independent Practice, American Psychological
        Association, 1979 - 1985. Currently the largest Division within the AP A. Took largely local organization
        from under 500 members to national organization with over 5,000 members within two years. Served as its
        third president, initiated movement to obtain prescribing privileges for psychologists (1986 - 1988).
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 165 of 487
                                                                   I Pageid#: 5934                    I




Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 30 of 3~ Page ID #360
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       CLINICAL INTERNSHIP:
      Rutgers Community Mental Health Center, 1972-1973
      Department of Psychiatry, Rutgers Medical School, Piscataway, New Jersey

       ACADEMIC HONORS:
       Albert J. Harris Award, Board ofHigher Education, New York City,
       1966-1967 Sigma XI, 1973

      MEMBERSHIP IN PROFESSIONAL SOCIETIES:
      Fellow, American Psychological Association Society
      for Sex Therapy and Research New Jersey Academy of
      Psychology Association of Media Psychologists
      Faculty Organization, University of Medicine and Dentistry
      National Register of Practicing Psychologists
      Member of SOCDA Member of Civ.com
       BIOGRAPHIES:
      Who's Who In The World
      Who's Who In The East
      Who's Who Of Emerging Leaders in America
      Who's Who in Advertising
      Who's Who in Entertainment

      PROFESSIONAL LEADERSHIP RESPONSIBILITIES:
      Chair, Study Group on Psychologists' Use of Psychoactive Medication, Office of Professional Practice,
      American Psychological Association, 1986 to 1988.
      President, Division of Psychologists in Independent Practice (42) Amer. Psychological. Assoc. 1984-
      85. President, New Jersey Association for the Advancement of Psychology, 1982-1983.
      State Legislative Chairman, New Jersey Psychological Association, 1977-1980.
      Executive Board Member, Bergen County Association of Licensed Psychologists, 1976-
      1977. Secretary/Treasurer, New Jersey Academy of Psychology, 1977-1980.

      EDITORIAL CONSULTANCIES:
      Regular contributor to Arizona Law Journal, 1998-2001.
      Author of regular column, Psychology and the Workplace, for BUSINESS TO BUSINESS
      PUBLICATIONS, 1997-1999
      Author of regular column, Computer Assisted Practice and Management for THE NATIONAL
      REGISTER, 1986 to 1989
      Editor, INDEPENDENT PRACTITIONER, 1982-1989
      Software Review Editor, PSYCHOTHERAPY IN PRlVATE PRACTICE, 1984 to
      1990 Consulting Editor to BERAVIOR THERAPY, 1978-1983

      ·WORK EXPERIENCE:
      Forensic Evaluator and Expert Witness; Conducted nearly 800 psychosexual risk assessments and Sexually
      Violent Persons evaluations in Arizona since 1999;

      Independent Practice of Clinical and Forensic Psychology, Ridgewood, Teaneck, Oradell, Parsippany,
      New Jersey, 1978-2007;

      Independent Practice of Clinical and Forensic Psychology, 8776 E. Shea Blvd., Building 3A, Suite
      320, Scottsdale, Arizona 85260, specializing in psychosexual evaluation, SVP hearings, risk
      assessments, treatment of outpatients referred by courts, detection of Posttraumatic Stress Disorders,
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 166 of 487 Pageid#: 5935
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 31 ofi 35 Page ID #361
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        GEi, PTSD evaluations, Drivers License Restoration Testing, consultation and expert testimony,
        1998-present;                                                                         :
                                                                                                 '
        President, Clinical Director 1992-2015: Guardian Eldercare, .429 Nordhoff Place, Englewood, NJ 07601
        (Psychological Services for Older Americans)

        President, RMS Communications, Inc. 1990 to 2012:
        Produced several psychologically related shows for entertainment and marketing, and developed CD/ROM,
        video interactive, educational materials for physicians and psychologists

        President and Chief Executive Officer, Ambivision Inc.
        One Kinderkamack Road, Oradell, New Jersey 07649, 1986 to 1990, developed point of purchase
        video/telecommunications system, for medical, pharmaceutical and airline industries.

        Founded Associates in Sex & Marital Therapy, Offices in Bergen, Morris and Suburban Essex, 1985 to

        1988 Co-Director, The Psychological Service Center 175 Cedar Lane, Teaneck, New Jersey, 1981-1984.

        Director, The Center for Sexual and Relationship
        Enrichment 175 Cedar Lane, Teaneck, New Jersey,
        1978-1984.

        Broadcast Engineer and Announcer (on-air technical & announcing duties, radio & television transmitter
        engineer) 1962-1965.

        ACADEMIC AND HOSPITAL EXPERIENCE:
        Clinical Assistant Professor, Department of Psychiatry
        New Jersey Medical School, Newark, New Jersey, 1976 to 1995,

        Clinical Instructor, Department of Obstetrics & Gynecology
        New Jersey Medical School, Newark, New Jersey, 1976 to 1998,

        Director, Gender Dysphoria Clinic & Co-director, Sexual Guidance Clinic, Department of
        Obstetrics & Gynecology, New Jersey Medical School, 1975-1979.

        Clinical Associate Professor, Department of Psychiatry, Lincoln Hospital of New York Medical College,
        New York, New York, 1986-1995

        Adjunct Associate Professor
        Department of Psychology, City College, New York, New York, 1971-1976

         Contributing Faculty Member, Graduate School of Applied and Professional Psychology, Rutgers
       · University, New Brunswick, New Jersey, 1974-1998

        Dissertation Advisor, International University, 2008-2016.

        NATIONAL TELECONFERENCES:
        Panic & Anxiety, a Multidisciplinary Approach-first teleconference for psychologists, sponsored by the Upjohn
        Pharmaceutical Co. 1988

        WORKSHOPS CONDUCTED:
        Dealing with Probation: a presentation for Sexual Offender Probationer, Arizonans for Rational Sex Offense
        Laws, 08/16/2018;                     ·                                                 ·

        Psychosexual Risk Assessment Overview for Public Defenders, Annual Meeting of Public
        Defenders Association, Tempe, Arizona Summer 2006;
      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 167 of 487 Pageid#: 5936                 I

Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 32 of 351 Page ID #362
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            Falls Prevention and Behavior Management presented to the Japanese Delegation of Sun Adult Living of
            Japan, Phoenix Arizona, July 2002

            Sensitivity Training for the Activity Professional, Presented to the New Jersey Association of Activity
            Professionals, annual meeting, March 1999

            Psychological Consulting to Long Term Care Facilities, Presented to the American College of Health Care
            Administrators, Las Vegas, Nevada, 1998

            Developing a National Provider Group for the Delivery of Psychological Services to the Institutionalized
            Elderly: The Guardian Eldercare Story. Presented to the American Psychological Association Mid-Winter
            Meeting, Scottsdale, Arizona, 1996

            Practice and Principles of Sex Therapy for Certified Social Workers
            Institute for Sex Therapy, Arizona Center for Mental Health, Phoenix, Arizona, 1996

            Numerous in-house seminars for nursing home personal on various topics regarding care of the elderly,
            New Jersey, Arizona, New York, 1994-1997

            Psychotherapy for the Nursing Home Patient
            Presented to the New Jersey Gerontological Association, Rutgers University, New Brunswick, New Jersey,
            1995

            Detection, Diagnosis, and Treatment of Sexual Dysfunction
            Presented to Grand Rounds, Jersey City Medical Center, Department OB/GYN, Jersey City, New Jersey 1990,
            1991, 1992, 1993, 1994 and Lincoln Hospital, New York, 1990, 1991, 1992, 1993.

            Taking A Sexual History
            Presented to Department ofOB/GYN, New Jersey Medical School, UMDNJ 1988, 1989, 1990

            Sexuality After Cardiac Arrest
            Presented to the Heart club of the Department of Cardiology, Englewood Hospital, Englewood, New Jersey
            1987, 1990

            The Multi-Disciplinary Approach to the Treatment of Panic and Anxiety Disorders. Program supervision and
            presentation sponsored by The Upjohn Company for the American Psychological Association Annual
            Meeting, New Orleans, August 1989

            Psychological and Psychopharmacological Approaches to the Treatment of Panic and Anxiety Disorders.
            Program supervision and presentation sponsored by The Upjohn Company for the American Psychological
            Association Annual Meeting, Atlanta, August 1988

            Psychopharmacological Techniques for the Treatment of Depression, Panic Disorders & Smoking. Program
            supervision & discussion moderator. Merrill-Dow Pharmaceuticals for the American Psychological Association
            Annual Meeting, N.Y. August 1987

            Principles and Practice of Sex Therapy: A Workshop For Alcoholism Counselors, The William Paterson
            College, New Jersey, 1986

            Introduction to the Treatment of Sexual Dysfunction, Department of Psychiatry, The Lincoln Hospital of
            New York. Medical College, 1986

,_,         Conducted a series of Workshops for The Detection, Diagnosis, and Treatment of Sexual Dysfunction for The
            New Jersey Medical School, Department of Obstetrics/Gynecology 1986

            Suicide and Its Prevention
            Seminar for Counselors and Social Workers, William Paterson College, 1985
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 168 of 487 Pageid#: 5937
 Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 33 of 35 Page ID #363
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        Stress: Its Management and Treatment
        Bergen County Mental Health Association, 1982

        The Infertile Couple - Reproductive Endocrinology Symposium
        Joint Conference of the Depts. Of Medicine, Obstetrics & Gynecology and Urology, Englewood Hospital,
        Englewood, N.J.

        Sexual Dysfunction: Detection, Diagnosis, and Treatment
        1976-1977 Educational Seminars, The Joint Education Committee of Riverside, Dover General and St. Claire's
        Hospital, 1977

        The Treatment of Gender Dysphoria in the United States
        Second International Conference in Psychology & Human Development, Hebrew University, Jerusalem, Israel,
        1976

        Stress and the Behavior Modification of Sexual Dysfunction:
        Prevention ofMarriage Failure, New Jersey Public Health Association, New Brunswick, New Jersey, 1976

        Reactor: 1976 Annual Mental Health Conference, New
        Jersey Association for the Mental Health, Newark, New
        Jersey

        Detection, Diagnosis, and Treatment of Gender Dysphoria
        Presented to Grand Rounds, New Jersey Medical School, Newark, New Jersey 1978, 1981.


        Introduction to the Treatment of Sexual Dysfunction
        Sponsored by the New Jersey Psychological Association, 1976-1979

        Treatment of Sexual Dysfunction; Conference on Human Sexuality for Physicians
        Sponsored by the New Jersey Medical School, Cherry Hill, New Jersey, 1975

        Sexual Dysfunction: Diagnosis and Treatment
        Morristown General Hospital, Morristown, New Jersey, 1975

        Multi-Modal Behavior Therapy: The Sensory Modality
        Graduate School of Applied and Professional Psychology, Piscataway, New Jersey, 1976

        Sexuality During Pregnancy
        The American Society of Psycho-Prophylaxis in Obstetrics, 1975

        Adolescence and Sexuaiity
        Human Sexuality Program, New Jersey Medical School, East Orange, New Jersey, 1975

        Panel member, Conference on the Psycho-Prophylactic Method of Childbirth
        The American Society of Psycho-Prophylaxis in Obstetrics, New Brunswick, New Jersey, 1975

        Sexuality During the Postpartum Period, First Memorial Ignatz Semmelweis Seminar on Progress in Maternal
        & Fetal Medicine, Playboy Club Hotel, Great Gorge, N. J., 1975

        New Techniques of Sex Therapy with the Partnerless
        New Jersey Association for Mental Health, Newark, New Jersey, 1975

        Sexual Enlightenment Weekend I, II, ill and IV
        Department of Obstetrics and Gynecology, New Jersey Medical School
        Saddle Brook, New Jersey 1974
        Newark, New Jersey 1974
        Hasbrouck Heights, New Jersey 1975 (2)
                                                                  I
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 169 of 487 Pageid#: 5938
 Case 3).8-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 34 of 35 Page ID #364
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       Obscenity and Pornography
       William Paterson College, Wayne, New Jersey, 1974

       Behavior Modification of Stealing and Lying Behavior
       Presented to the Bureau of Children's Services, Somerville, N.J. 1972

       PAPERS AND PUBLICATIONS:
       Chapter contributor to "The Brain Training Revolution," by Paul A. Bendheim, M.D., November 2009,
       Source Press;

       The Effects of a Tri-Component Program of Physical Exercise, Mental Stimulation and Nutrition on Cognitive
       Function in an Older Population, (white paper), 2009;

       A Cognitive Exercise Program for Seniors, published by BrainSavers, 2007.
       Competency Determination and Elder Law, Arizona Daily Law Journal, 2000, also published in Nevada and
       Utah editions) *
       Sexual Harassment: Legal Representation and Psychological Evaluation: Arizona Daily Law Journal,
       2000, also published in Nevada and Utah editions)*

        Mind Maze: A Lawyer's Guide to the Mental Health "bible". Arizona Daily Law Journal, 1999, also published
       in Nevada and Utah editions)*

       Latent Effect: Documenting the delayed onset of posttraumatic stress disorder. Arizona Law Journal, 1999
       (also published in Nevada and Utah editions)*


       Inquiring Minds: Uses and Limitations of Psychological Test Data in Forensic Evaluations. Arizona Law
       Journal, 1998 (also published in Nevada and Utah editions)*

        Sexual Harassment in the Workplace: Policies to Protect, Business to Business Arizona, 1998

       Psychotherapy for the Nursing Home Patient; Meeting the OBRA Guidelines
       Newsletter of the New Jersey Gerontological Association, Fall, 1994;

       Edited two publications dealing with Pharmacological Approaches to the Treatment of Pain and
       Anxiety Disorders, Underwritten by Upjohn Pharmaceuticals, 1988, 1989.

       Computer Software Review Editor, wrote a regular column for PSYCHOTHERAPY AND PRIVATE
       PRACTICE, Haworth Press, 1984-1992

       Numerous Professional Articles in fudependent Practice, including series on the Psychologist as Expert
       Witness, Bulletin of the Division of Psychologists in Independent Practice, 1984-1993

        "Use of Micro-Computers in a Clinical Practice; R2D2 Enters Clinical Psychology"
         Chapter in Professional Resource Exchange, Inc., Title: Innovations in Clinical Practice: A Source Book,
        1982

       A Gender Dysphoria Program in New Jersey, Journal of the New Jersey Medical School, 1977 and presented
       at a symposium at Hebrew University, Tel Aviv, Israel, 1978

       Sex During Pregnancy and the Postpartum Period,
       Journal ofMorristown Memorial Hospital, 1976
!l
       Effects of Random Ratio Schedules on Response Differentiation and Rate
       Read at the American Psychological Meeting, Chicago, Illinois, 1975;

       Force Differentiation: Effects of the Reinforced Range, Read at the Eastern Psychological Association
       Meeting, Boston, Massachusetts, 1972;
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 170 of 487 Pageid#: 5939
  Case 3:18-cv-01682-JPG-MAB Document 23-1 Filed 08/19/19 Page 35 35 Page ID #365             qf
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         Effect of Increased Response Demand on VI Responding (with D. E. Mintz,
         Ph.D.) Read at the 1971 Meeting of the Psychonomic Society, St. Louis,
         Missouri

         Human Force Differentiation: Indifference to Pressure, (with D. E. Mintz, Ph.D.)
         Psychonomic Science, Volume 24, Pages 186-187, 1971

         Doctora1Dissertation; The Effi,ct ofthe Range for Forces Reinforced and the Probability ofReinforcement
         on the Differentiation of the Peak Force of Response, 1973

         Master's Thesis; An Investigation ofthe Effects of Carbon Monoxide on Discrimination Reversal Leaming,
         1967

         RESEARCH INTERESTS:
         Development of Cognitive Stimulation Programs for healthy brain
         aging; Development of Falls Prevention Programs and related
         technology.
         Development of technological solutions to wandering behavior in the demented elderly.
         Development of computer and video applications for the Cognitive Stimulation of dementia patients and
         the well-elderly.
         Applications of Computer and Video Technology to Psychotherapy and Practice Management.
         Development of psychologically-designed ambient music/video systems for selected populations.
         Examined the relationship between the perception of waiting time and variable video programming.

         INVENTIONS:
         Developed AVIST, the Automated Video Information System Terminal in conjunction with New Jersey
         Institute. ofTechnology, 1987-1990

         TELEVISION & RADIO APPEARANCES
         WABCRADIO                                                CELEBRATION
         WORRADIO                                                 COMMUNITY CONCERNS (regular guest)
         WNBC/WYNY/WRKS                                           SUGGESTED SOLUTIONS
         WPIX FM RADIO                                            THE GOOD LIFE
         WPIXTV                                                   BRAND NEW DAY
         WOR-TV                                                   POINT OF VIEW (winner, Angel Award, 1984)
         WOR-TV                                                   THE JOE FRANKLIN SHOW
         WBAL-TV                                                  OPRAH WINFREY MORNING SHOW
         PAX-TV                                                   AM NEW YORK PROGRAM
         KFNX                                                     DRIVING DIRTY SHOW

         Television participant on WPIX, Channel 11, with many appearances on Pulpit and People 1979 to 1984
         Television appearances on New York Channels 2, 9,11 and 31 and cable television nationwide, 1980- 2004;

         Interviewed in numerous magazines, newspapers and television on topics including: Procedures for the
         Evaluation of Sex Offenders for the State's Sexually Violent Perpetrator Statute, Sex Therapy and Human
         Sexuality; The Psychologist and the Legal System, Computers in Mental Health Services, The Multi-
         disciplinary Approach to the Treatment of Anxiety and Panic Disorders, Cognitive Therapy for the Well-
         Elderly, Psychology of the Future and Geriatric Issues, Overview of Sexually Violent Perpetrator Law.
                                                                  I
                         EXHIBIT   H,(g)(i)                       i
 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 171 of 487 Pageid#: 5940
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      MeiUln~ A@rdlre$$ .                                                                                               ©ti©@
      900 Ogden Ave# 214                                                                          DuPage Counfy .Jiudicial Cenii:®r
      Downers Grove, IL 60515                                                                      Medical Services Unit
      Phone "{630) 407-2226                                                                       .501 North Couniy Farm RmJ.d
      FAX {630) 407-2227                                                                          Wheaton1 IL 60i87
      'fraifiJijng                   ·
      FORENSIC PSYCHIATRY FELLOWSHIP
      L,gyola Uniw;ir-,e;ity Medical C--enter, May-Hoed, IL iSS4-19S5   ·
      CHIEF RESfDENT-CONSULTATION LIAISON SERVICE 199Sa1994
      Univ, Califmr,ia Los Angetas{lJCl,.A}-P~ychiatry Training Program
      RESIDENT 1.990-1994 General Psychiatry Univ. Ca!nomla Los Anoei@:${.UCLAi
      RESIDENT Family Medicine LaGr~ng~ Family Pr&icttce 19199-2000
      Prowam of ~ntegratlve Medicine{P!M), Univ of Arizona, Tucs<m 200:H2-0.07
      Ed~~ta.nin
      New Yoo< Mooical Coltege Valhalla, New York Fifth Pathway 1939-1900
      Autopcmou;s U-nive·rsazy of Guadalajara Sanooi oi' Medicine M.D. December, 1988
      II linois Sta~e Universlw, Normal, IL B.S. Psychology-Sociology June 1977
      Work Experh::fllt:19            ·                        ·
      Illinois Department of Corrections Staievl!leNRC At.iQust 20_02Qprese.ni (18 hrsrovk)
      {Wexford! Health Sources, Inc)                 .             ·                                                                                          !
      DuPage County Jair, Wheaton, IL Chief IPsychiamst Juty 1994-present (23 hrsArvk)                                                                        L
      McHenry County Jail Woodstock, IL Psyt"ihiatrist Sept 2005-presenl (6 hrs/wk)                                                                           i
      Al3BH!H As.soc. Psychiijtry Sept 11994,.Aug 2002 General Practice {part-time)                                                                           i
      Forensic Clinical Services,. Circuit Court of Cook Couniy, IL .Supe.rvisor-Psychietrls~
      Julyr 1995-June, 1999 (fulf.time)                               ·
      Private Practice Forensic Psychiatry
      Testimony 230 Cases CMlqCriminal Issues {list av/il!H~ble on mqurest)
       r!OH'D()rn       -           .                                                                               .
       UCLA Neuropsychiatric ln~titum, orasiancUng Res!de_nx Aw1iro Child-Adolescent
       Psychiatry July 19.92-December, 1992                ·. ·    ·                                                                                      '   '
       E~rt Paru,~I Member CESi Juvenile Justice Center Cook County 1997-1999
       ComrtlYOm!. !jospltal of Ottaw~, IL Medical Educa~()n Award            ·
       Assistant Professor, Department of Psycliiatiy 1995-eurrent
       Lovola Uni"ersity MediQ.i!l G80te_r. Ma~ood, IL



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                                                                 Certificate # 41669
                                                    1foard Certified in :For?lJSic Psyehiaw
                                                                  Certlficate ii- 09 J2
Ph 630-4"07-:W.6                                            E-mail jdQrenslcmd@ool.com                                              Fro: 630:-407-1227




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       Januc1rf, 2005 Corre·ctional Officer Manua.1 DuPage Press, Inc. 121 pp

       Natoonall Presentations
       "In.€t.§paoish Miranda New Orie.ans, LA October, 1998
       Arneric~n Academy of Psych1atty and Law Annual Meeting                ·
       *Tn~,nster Cases: Tryi~g Juveniles as Adulj;§ Chicago, rL April, i997.
       American Academy of Psychia'try end law Midwest Chapter M~etirig
       ''Meet the Experts in Forern~io_Psychiatry Institute for PSY.Cl7iatric Services Oct, 2002. /.
       Chicago, IL Amerlcari PsychiatricAsso.clat1on Anr11..1a.l ~eeting
      loct;il Presentations
      Correctional Psychiat.rY. Lecture to Milwaukee Correctional March, .2002
      HIV and Fqrensic I~~ Lecture to Cook County Hearing Officers, July i 996
      Ibe Insanity Defe~~Lectur-e ta Cook County Public Defenders October, 1996
      The !nsa.nity Defense Lectur.e to Cook County States Attorneys August,· i 996
      The tns~ninr Qeiense Lect~re fo DuPage County Public D.efehders May, i 996
      Correctional Psychiatry Grand Rounds Loyol$. University Medical· Center-          .
      Dept of Psychiiatry June, 2003..      .    ·                . ·
      Tarasoff Warnings, Dangfilousness. aod Jllinois case Law Grand Rounds Pr.s.senta.fion
      Loyola University Medical Center Department of- Psychiatry June 1995
      CJvil Commitmeot Lecture for Chicago Metropoiitan $ervices·, May 1~95
      A!Dl;i Upalate 1995: CrimlnaHzatioo of HIV Tr..ansmi.ssion March 1995
      Loyola University Medical Cen_ter


       Cert»fication..licen.sl!.!res
       i 995-Board Certified General ?sycl"liatiy Cert# 4 i 669" Expires 08- 2014
       1999-Board Cerijfied FQrensiG Psyd1iatry C!:3rt efl. 09i 2 Explrns 1 Q-2009"
       1994-current Illinois Physician #036-088292 e({plres 07-2011
       1994-current Illinois Physician COi'ltrolleol Sub Cert# 3$6-050i 40 Exp. 07~201 i
       199·1-current -OEA Registration Cert # BC-3033634 Expires 08-3 i ~2009
       2004~current Florida Physician #ME 91221 E,{pires. 01-31~2009
       National Provider Identifier# 1B11 9644 89
       CPR/A.ED Certification August 2007~August,_ 200$
      Speeual Skllls                  .
      Good Command of writt~n and spoken Spanish.· i pr:.a.ctice psychiatric treatment and
      conduct foren~ic evaluations in the Spansh langl:lage having lived in Mexiqo almost
      four years earller in my life..




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                                                 'Dow{fe~ Grove, TI.. 60::i l 5
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                                                     "TT, 1:.i.-..e!}Se MF.,..91'.P-J




     December il, 2008
     'Mr. Nisha.y Senan, Esq.
     327 South Plymouth Court
     Suite# 201
   . Chicagoi Il    ·eooo4
     ~le~   Unered St;aie$ (l)f .Amtlill'Stt;® w. Wffll!B<!llOO ~M]fit~ C~S[R # 7 ~@1 MJ4~~
     Jtdlerrntnfyll n~ 9iifQtroa~eom
         Mr. Wmiam White is a 31 year old Caucasian mahrwho was evaluated at th®
     Metro~olitan Coi;ectional Center in Ghrcago on Nov.emoor :28, 2008, The
     purpose of this evaluation was to lfender an opinion reg~ding psychla.trl~ d!lagnosJ$,
     assessment of potential dangerousness to himself as wen as th~ rommunliy at
     large. Jl...clditlonal coUaboratJ~ inroi:mafion w~ ob'i'..aill'1led from his wife, Meghan
     White by telephone oo Decemlbe~ 1, 2008.                                                                . !


     ,N~nqCoriii~dmti~Il !M?;tl!liie off :=th@ llrnt;,;rvu1ew:                .     .
        The non-eonffdentia.t,narure of m~ intervie1,11 process was explazned i!o Mr·.
     Whtte, I explained to him that what he said to me Wa$ not crmfidential, tha.1- I~ i ~
     not a secret, that Imai, be as~ed to write a report to the court about him, oli' that I
     may be asked to testify !n U.S. Di;Striet Court about him. He aptpearoo to ~pn:ess
   · understa!'7ciing oi thee~ limits of confode.ntiaUty w,d :agre.ed to proeeed. · · _.            ·--...

     R..~ro'liS ~@JV!~W~
     1} Indictment by Northern District of 1mruois, E.:1sn:im Divis10111                       ··
     2} Testimony of Proceedings

     Quafifn·e:ajl;i@n§; of 'ffi® EiX®ffiqnei'": ·
          This examiner completed medical sei'!ool, and iubseqLieint!y oomplerea a four
     year residency in General !Psychiatry at UCLA in southern Califtir-nia•. He     -
     additional!y completed a Forensic Fellowship year through Loyola University <
     Medica[ Center 1994"·1995, H~ is board oortffied in General. Psychiatry-since
      i 995, -and Board Certified in Forensic Psychiatry !5ince- 1900. he has completed
     hundreds of psychiatrie evaluation$ and testffled in court as an expert over 230
     times. ·Me h~ currently employed by DuPage County Corrections in Wheaton, fL
     and the lllrnois Department of Corrections in Joliet, IL.            ·        .

      ffntm~~w Pm with Wo«liam Wlhiffi:
         .Mr. White \:)egan the inten,iew by explaining that- he i$ 31 years of age. He -·
      gives his birth date as        · - He says" I publish things.• J've been in lawsuits.
      He uses the word "we~ 1requently, so t asked him who he was referring to when he
      sa.Id ·''we". !=le described that he ,s involVed with the American Socialist Worksr's
      Party, and that they are incorporated. He says there are tthrae other co-owners •
     .He qescribe.s that there was ·a lawsuit brougnt against him earlier this year in August
      5, 2008, He says the lawsuit involved civil rights investigation.          ·                                 !i
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                                  Di"plomate,.Ameiicm B9ard·ofPsyc1rlarry and1'felll'Qlogy, Tm::.              . i
                                              I         Certii:icate # 4 Nj69                                      i
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                                             'Bo':trd Certified in forensic: -Psychiat-.y                          I
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                                                             Certinca.te·# 0912            .

Pb 630-407-22:26                                       ·E-mail jcforensicmd@a'O"l.c°oxn
                                                         EXUIBIT "4"


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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 174 of 487 Pageid#: 5943

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          I ask:~d Mr. White. is he had ever been· inoeircerated before. he replied that h~
     ~ao sp~r-1t a t~ta~ cf : rv-:cnt~s !n Ja!! ir-1 ·~~~~eks:;V!-rg!n!~ =E!ft?r 6 f~gfrt ~iff~: ~evrqr:ej
     police afficel·s. He says the. fight ensued because he had a 111.mrling knife in his car
     ar-id he 1'beat up two other officen:t.
         Mr. White says he h~..s a bond hearing on December.5. He s.ays he has a legal
     gun permit, and also has a permit to carry a conce.aled weapon. He says he has a
     business that he wants·te attend to, and a family he-wants to live witlh again in
     Virginia. He currently is bei11g·held In Maximum Secudty on the 11th floor, and has
     very little verb.af contact with others. He says he has ne cellmai'e, his ~ieeplng ls
     fine, andl his app.etite is fine as well. He began to cry when he stated "I miss my .
     wife and my daugl'iter terri_l;lly". He says his wif.e was hospitalized with ecclampsia.
     a complication ot late pregnanc,1 whicii includes pregnancy induced hypertension.
         She eveniua!iy developed H.E.LLP. Syndrome, symptoms which includl~d
     elevated Jiv.er enzymes, low platelets (particles In blr;iod which prevent our blood
     vessels·from becoming too leaky), and Mmolysis(breakup of re.d bleed cells).
     His daughter w~s born at 2!b 9 oz, severely low birth weight, and _both mother and
     daughtet were hospitalized extensively. He says he has not talked to his wife
     since October. he says he- is nat depressed, i,e just misses them a lot He says
     lhe spend~ his time re~ding and writing mostly, and it's hard to ·get bo.olks in ~he
     Metropofltan Correctional Center. He says he normally n.ms a housing and
     pmperty management business. He says he is not currently. treated wfth any sort
     of psychotropic medications. and does not.take_me.dications_atall._ti~_d~_rnes_____       -
     having any racing thoughts, confusion., auditory ha.Uuc1nations or visual 11ailucina'lions.
     ~e denies paranoid tho.ughts1 but says !lmy attorney is paranoid".
                                                                                      .                 .

         He denies haVing ~my previous psychiatric. hOspitalizations. rie has never been
      treated with anti-anxiety; anti-depressant, or anti-psycilio"tic medficatnons. He says
      whie.n he was a kid, the sc.:hcol sent him to a psychologist to be evaluated. He hes.
    · not haOl an.y therapy and says "I don't believe in using any sort of drugs that are
      mind-altering. He says not use of Aleohoi receiutly, but he did drink sometimes
      heavily up until fil'le age of 19. He says he graduated high school one ye.ar early1
      and attended the- Universny. o1 Maryland ffrom age·s HHS.. he left college to start a
      business on his own. "! thought college was not useful to· me'\ He says he has
      been 'thinking about going bac!< io school, possibly get a degr~e in History or
      Languages. He. says !his wife was a bank manager at Waclipvia, but is currently om
     :short term disability for stress.
          Mr. White :says the things. yo1.11 write are a means of venting frustration. ·He says
      he writes political views, clogging, and that hi.s wife reads everything. that he writes.
      He says lie has very s1rong political views and does nol agree with breaking the
      law. He states "MY daily·life-is problernatic...l'm not ~fr.aid to say what I thin!< .. .!
    . repre-sent a lot of poor, disempowered ans disenfranchised white peopl® •..they
      are accusing me of plotting spr~e killings, this· is ridiculot.1s. I d,;m't encourage
      violence and i do11't encourage criminal acts. I get attentiph to myself. .. ! deliberately ·
      write things that sell magazines." When ! asked Mr. White what he would agree to,
      h~ replied that he would agree, if released, to any condition thaJ allows him to see
      his '1y'ffe and daughter    .    .
    · ~nie!N'iew Data with Msglharn Wfhiftie:                    ·           -
        Meghan Wnite was interviiewed by.telephone on 12·01P08. She states that
"    her husband, who remains in custody, has never been psychiatrical!y hospitalized




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 175 of 487 Pageid#: 5944




     and has not been ireatecl with psychotropic medica•2io11s. He add-mcwiaHy has no
     medk~.! l)i'0~!8rnB, She d'J~-~ M~ ~n~lr.!ta;r ~!!'!' to   ~i:;   9!~1:"i~~ ::-~~'<Jhi?.tr1~e!!j'
                                                                                      -:::·
     a;7,ctk::.;2l:y wii~atle. She do~s iiOt 1eel ihr~a:t~ned      oy i1im.
                                                                       sr1e :say$ :she ~gtee:s
     with some of his ideology, b!Jt does not a,gr-~~ with the way he _expresses !t. She
     describes he is willing and able to change the )NB.'J he e.iq:ir-esses himself: ! -~~e~
     her what she would consider to.b@" an appropriate safety net to Use for him if ne 1s
     released itrto 1he community. She says she believ6!s it would be helpful for him to
     write into a notebook Instead of on th~ lntijrnet. He is ~le to function without tbe
     rnternet and she believes he is behaviorally better and easier to deal with when he
     has time away from the· Internet.. 'She says the !ntei'i1et activities co111sum® .more-
     time than he wants to spend on it. .Sile also thinks he should make more of an
     effort ta be closer to i.iis 1amily.                      ·

     Mem@! Status Exambuni:io~~
          Mr. White appeared tq be -alert and oriented to time, place, person, and
     purpose or the Interview. He app&arecl to be adequately dressed and groomed.
     Speech was soft, non-pressl!lred. Affect was mild~y tearful when cliscussj,ng his
     wif.e and child, but generally bland and matter of fact. He described his-mood as
     not depressed. Thought processes appeared to be linear and goat directed.
     Thought content was devoid of Sl!Jicidal ideation er intent, homicidal ideation or
     intent, thought insertion, thought withdrawal, or significant paran9ia. There are no
     psychotic symptoms which could be elicited during the interview. He denies.
     auditory, visual, and other·types of. hallucinations. He professes some unusual
     i<;liosyncrauc beliefs and ideas which are highly racist, inflammqtory, and not
     generally accepteel in eommoh day society. Attention and concentration appear~d
     adequate.                                             ·

     Diagnosti1C Dmprie~ion:                                            ._
     Axis I No Psychiatric DlagmJ1:sis·
     Axis II_ P19rsoni,dity Disorder with Hnstrionic, NairclssietiG FaatUJres
     Ms Ill. No Medical Problems                                           ·
     Forensic Fcirmylatiom
         Pursuant to a re.quest from the Office of Nishay Sanan. Esq., I completed a
     psychiatric evaluation of Mr. Wrlliam Whlte on November 28, 2008. The purpose_
     of this evaluation was ao render an opinion regarding the. issue of whether Mr. WM~
     meets diagnostic criteria for any psychiatric disorder~ 1:-mcl whether or not he is
     currently dangerous .himself or to the eommunity at Jarg~. After a careful review of ·
     all available data a~ well as a forensic interview, it is this examiner's opinfion to a. ·
     reasonable degree of medical and psychiatric certainty that the foUowtng should
     apply:                                                                                              ·




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 176 of 487 Pageid#: 5945

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    contact me.                                                                    ·


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  Ll~~~  ~arcoran, M.D. ·
   Diplomate, American Board of Pisychiattry and Neuro~o.gy 1ne. G~ri #.. 41669              1·
    Board Certification in Forensfc Psychiatry Cert I 09t2 · -




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                          EXHIBIT
Case 7:08-cr-00054-EKD Document    H(g)(ii)
                                411-2 Filed 10/05/20 Page 177 of 487 Pageid#: 5946




       October 10, 2009


       The Honorable James Tmk
       Judge
       U.S. District Court of Western Virgmia
       210 Franklin Road
       Roanoke, VA 24011

      ·rn RE: William White
       DOB: I
       SS.Al'J::

       Dear Judge 'fmk:

       I evaluated }Ar. "White in the Roanoke City Jail on September 17, 200S'l, for your comt
       ordered exmr,Qlfoation of wh.eilier me defenoont posed a danger to mms?If, any other
       person, or the community at large due to his mental state          andwhether the exa:rninimg
       psychlatrist believed ilia.t the conditions might be set for the defendant which might
       alleviate any such dangerousness. The defendant is charged with a transmission in
       interstat~ commerce of an email on March 22, 2007 contammg a threat.. On Mairch 22,
       2007 the defendant .m.tendecll to extort a thing of v~ue :from Citi Bank, lVfuy 22, 2007 the
       defendant used mtimidati.ofil 'l/-vrih the mtent to delay and prevent testimony in a
       proceeding of Afro American tenants, between Jme 3•d and June 6ili, 2007 me defondmant
       transmitted interstate commerce COIIlm.l,l!IllcatiolllS clirecting a threat to :injure a jm1r.ru:tl;ist,
       October 31, 2007 the defern!ant transmitted an interstate commerce communication
       threatemng to :injure a university professor, February- 23; 2008 fue defendam: transmitted
       an interstate co::m.meirce postm.g till'eatemng to mjme a Canadfan hvvyerr .imd ~Afar.ch 1,
      ·2008 the defendant transmit!:ed m1 interstate commerce communication threatening an
       injury to a ma-yor.

      The defendant was incarcerated in October. of 2008. He has had bond hearings October
      of 2008, December of 2008, July of 2009 and September 10, 2009. On September 10,
      2009, Judge Urbanski. enmnerail:ed a number of Conditions of Bond for the defendant.
      This was appealed to the U. §. District Court via imtial heai.-ing taking place in September
      with the final hearing to take place September 13, 20(1)9.

      The defendant reports no previous psychlatric treatment. He received a psychiatric
      evaluation by Dr. JamrM~s Corcor~ on Pecember 1, 2008. At that time Dr. Co~coran did
      not :find any diagnosable Axis I pafhology. H~ clliagnosed histrionic ruid narcissistic
      personality on· Axis Il. Tue defondmrt r.epo:rts no problems with rubst~:>nce a.bus~ nor has


      Page·l of5




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 178 of 487 Pageid#: 5947




       TI•·J PJ3:_vVm-iam. W'bi!t~
       DOB:
       SSAl"\J:.

       any ofthe d.ocumernta:cion.presentecl fox :re vfo•iv do,c;rrmarrt11:ii rubs"uw.c.e abus.e. ·.rn~
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       d_efendaut was comicted £1: appmximately :'.:lge 13 or 19 of .A..1:s8'DJ.lti,rng ~, P0l!.icemm:!I.. He has
       had :mJr:11.er•Dllil chargi;;:s for ~ssault bunt has neyer had mi.y convictions smce that time.

        Recnrds reY.i.ewed for iliis eY~ lu.1a.tlon iinduded the detention order of Jooge U::rba.nski
        dated October 23, 2008, a blog May 5, 2008 and May 22,' 2008· and May 19, 200g,
        v.iritten by the defo:ndarrit, a transcript of the testim.ony:at the bond he&'!"fil.g and a decision
        by Judge Urbanski at the bond hea..mig. Also testimony of Dr. James Corcoran.in
        December of 2008 rind a copy of Dr. Corcoran's evaluation, and the government's
        argument before Judge Urbanski in September, 2009. These documents were provided
        by Mr. Damico, defense attorney. Also reviewed was an article vVritten by Dr. Steven
        Diamond, published in. JP'syd1ofogy Today, dated April 4, 2008 entitled Dangerous States
        of Mind. Further data reviewed came from the prosecution, a transcript dated October
      . 19, 2008 in front of Judge Urbanski, det~ti.on hearing transcript dated October 22, 2008 . '- .
       mfront of Judge' Urbanski, December 5, 2008 detention hearing mfront of Judge.~r, Hi b!·Rii'~
       July 31, 2009 detention hearing transcript in front of Judge Denlow, September 10, 2009
       detention hearing transcript m. front of.Judge Urbanski, exhibits 1-13 of the October 22,
       2009 detention 1;1,~ti.ng, exhibit 2 from ilie September 15, 2009 detention hearing,
       September 23, 2097 audio :reco:rdm.g and transcript.of a telephone call between William
      White and a female caller. The audio recoriling was not able to be played on my
      equipment. Transcript was reviewed. Additional information included police reports
      from the Roanoke Cify Police Depm:tmi.erit, Mof!lri:gomezy Co1l!nfy Po~ce Dep~eirn.t in
                                                                                                                      ·.i
      Maryland, profile on Whlte from a Roanoke Times newspaper article written by           :, :.·
      joum.alist La:wrerrce Harnmack,_William White's criminal history and a 7th Circuit CoTu.-t
      op:imon about a previous denrial of bond. Also-reviewed was ili.e December 11, 2008
      inilictm.errt in thls case.

      In addition the defendant was m.teirviewed on September 17, 2009 regarding his ability to
      adhere to the conditions of the bond set by J~dge Urbanski in Septe-mbe:r, 2009. The
      defendant reported no illi;lesses except for a :fracmred jaw sl-ml dur.mg hls &"7~t. In
      Maryland he was he>spitalized but stated he never lost consciousness.         ·

       lVIBNTAL STATES: at time of the evaluation showed the defendant to be alert,,
      · cooperative and verbal with appropriate speech and thought processes. He was :in
      handcuffs but e:rJri.bited no unusual motor movements. ·Affect was not depressed. Affect
      would be described as level. His thought content rod not have any active suicidal or ·
      homicidal ideation and did not exhibit any overt hallucinations or delusions. The
      cognitive functiomng was globally intact m:fu a Mfurni Mental ·State Exan:i. score of 29. He ·
      exhibited appropriate insight and jud@:llent about hls situation.




      Page2 of5


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    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 179 of 487 Pageid#: 5948




            Il\T RE: ~iill~~ VV1adte
            DOB: i
            SSAf:--T::



                            Psychiatric EvaJ.1:ration



                            Over Weight, Atopfo Allergies

                            Legal.Problem

                            Moderate Severe Impairment, ca."il"Ieni!: and chroni~

           His only medication is Claritin IO mg. daily for ms allergies.

           The defendant was questioned regarding hls situation and          ms
                                                                              views o.nthe ~ges about
           makmg threats on .bis blog. "j[ never have made threai!:s." He said he considers he speaks
           t!rrongh a fictional ch.airacter on hls web sit~. Be said that the.judge m-C:l:tlcago had •
           dismissed ms charges of threatening a juror tl!:i.e:re ood nnled that ilie comments we.re not
           threats. His arrest at age 18, "'I was puJled over for speeding." "I had a fo.mtmg lrnife in
           my back seat." .A..s he was being handcuffed an officer threatened to beat hlm. He struck
           the officer and then other officers came at him. He knocked down two more officers
           before.he was subdued. "][ was yooog·.•• ''I w-as frightened." The arrest report ilid state.:.
           that one of the officers noted alcohol odor on hls- breath but th.ere was no documentation;,
           of a breatha!.yzer ,i:ir bfood alcohol -in the illl!rest report. ''I use to be pretty wild as a kid." ·
           "P...fter I got out I stopped everythmg, I straightened up." He was refer:ri..ng to hls period
           of incarceration following the ~est mMazyfa.n.d. Regardmg hls c1oo.rges be stated "some
           peopl~ decided they wanted me arrested." ~'Chicago thought they could get an easy
           conviction." "Then Roanoke thought-I'd COiJllle· back Viri.th a conviction and be anxious to
           plea." In response to questions regardmg hls plans after release on bond, "I am going to
           be at home.;~ ''I've ceased publishing." ''I'm not going to publish myth.mg." "'No desire
           to be on that," referring to the internet. ''I am out of that business." He said he had had a•
           magazine since about age 13 and internet publishing since adolescence and he said those
           have ceased.

           He was able to enumerate .conditions of bond. He -said there were 14 of them. He
           enumerated that the conditi,ons included house arrest, no weapons in the house, no
           alcohol, no internet use, he wm.tld participate in counseling, he would mm over any
           vvritin.gs to probation. and parofo before :release :for review. '"I may not contact any
           witnesses, I may not publish anyone's personal mformation." There was a $25;000 bond
           posted by bis father. He would have electronic monitoring. "I have to work." These
           were spontaneously enumerated to me dmr:ing the inrell"View without any benefit of referral
           to notes or papers. furesponse to      om
                                                discussion about emanate dangemi.:i.sness, '~19



           Page3 of5


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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 180 of 487 Pageid#: 5949




       IN JRE: ~v:illim:n ~Vhl.te
       DOB:       I

       SSP.J\T:

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       He was incarcerated October 17, 200~. "They are trying to hoild me a.s long as they can."
       He said he believes he viriJ1 be found not gm]l.tiJ on all charges. R.!ega:rdm.g his political.
       orientation, he· stated "j[ am a National Socialist.'' "I am· not a zealot." 661 may_p;ortra.y
       one on the :internet'~ "I didn't do anythlrn.g illega.L" "I recognize i,,vhere the limits are."
       "I do what ever I can 1il.ithm fue law." R-egammg hls mtemet puibMshmg, he stated he
       started his website m1995 at age rn. ·He published a newspaper since age 13 and he
       published a magazine :from 2006 to 2003. He smd all of these publishmg activities were
       ceased by the goyemm.en.t. He stated he tries to go to the legal limits in promoti;ng his
       views. He states he is avvare of legal limits. He studies the legal fum.ts il:o undei'Stand .
       what he can a.n.d cmm.ot do to promote his views and the views of fue people wh? think as
       he does. •ya coQrt finds that ][ have done that, then I have made a terrible .mistake." He
       was referring to bireaking laws md promotmg ms views.

       GGI have been writing stuff for 20 years." He portrays an initemet character wlbto ifritates
       people -who disagree with hls polmcal views. He had! been in a landlord position, renting
       property :in a very rufficwt part oftovm.. He ·states he had bee.n assaulted about 4 times
       per year in the comse ofhls work.· Just prior to hls mcarceration te:rumts were evicted and
       repeatedly broke mto ili.efur previous apaii."i:m.1v.ut. A tentm.t had tbreateliled·hlm:m:i.d-he filed
       a complaint for the assault. The tenant filed a oompfam.t in. counter and came batk wifu
       threatening behavior. He said he took out a gu:m. and left beca!l!Se he was afraid he w-ould
       hurt someone. He said later he wrote a blog to ven~ hls :frustrations, plll.timg three
       evictions into one blog. He said about the oilier blog that caused a denial!. of bond in :-:,
       2008, entitled Kill, Kill, Kill, he said that blog-was written during his wife's deliyery and .
       baby's treatm.ent m.·nem:mtall. ICP where the chllcll. had stayed for 8 weeks. His wife had
       developed eda:inpsna o.ur:mg prewrumcy. DUll'ilr:ag that time he ]]ad a number of legal
       problems mcludmg bemg sent a fi?ill for $2!{),000 legal fees, he having to sue fur ~ud on
      a contr~ctor' s bad work. His business had smrted to collapse and he folllllJ!.d relief by ·
      writing fictional ideas on the intern.et. He -wrote a blog about committing mass mmde:r.
      He had been frustrated about some probfom.B he vims having "'ND.th American Electric
      Power Customer_ Service. He said he vvrote a blog like Lynn Beck did on TV about
      killing a.list of congressmen with a shovel.

        OPINION: The defendant presented &S an individual with no mental disease of defect
        that would prevent him :from understanding and adhering to right and wrong. -He
      · presented with an understa:ndmg of na1;ure-and conseqioonces of behavior ifhe should
        break the conditions of bond.

      It is this examiner's opinion that the defendant
                                               •
                                                                    is capabfo of adhering to the conditions of   I
      the bond as set forth by Judge U:rbansla.                                                    ·               !               1 .
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     · Page4 of5                                                                                                                   I
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      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 181 of 487 Pageid#: 5950

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                                                                                                 9/17/09

      The Honorable Judge Jfill[t€S Tu:rk
      US Disb:ict Court of Wesi&m Virl'gh7Jia
      210 Fran..1<lin Road
      Roanoke, VA, 24011

      Re: William White·


      Deare Judge Turk,

      ·- The :Lnitial evaluation was: 9 /17/09
      -Tue latest evaluation was: 9/17/09

      - LEGAL SITUATION: Amo:re detailed written.reportwillfollow. Jnmy opmfon, attheume of
      the evaluation he was competent to srand trial He mdlicatedl. ain awcrrsrn.ess of fue chrurges against
      him; and he presented as abl~ to cooperate with his attorneys. He was able to sponran.eou.sly
      enumerate most of the conditions of the bond. He expressed a "Willingness to adn.ere to the
      conditions of the bond,  ~4   he p:reSerrted as a person able to adhere to the conditions. He did not
      e:xfubit diagnostic s ~ o f Delusional Disorder (Paranoia)., Schizophrenia, Bipolar -Diso:rde:r
      (Mame- Depressive), or Obsessive CompvillsJi:ve D:nso:rda. He _d]id not pirese..-rut as an imm-m:temt
      danger to himseli oir others.                                                                        ·

      -  MEDICAL PROBLEMS: Overweight,
      ~ ALLERGIES:      Atopic, .                                                 .
             ### PSYCHIATRIC PROBLfil/fS: ][- Psyclriamc evalusrtion (799.9) Il- Personality Not
      Ollierrwise Specified.
      ·- GENERAL J\1.EDICATIONS: Oaritin;
             ### PSYCHIATRIC PREScmPTIONS: None

                                          Sincerely,                   ·
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                                          Comad Daum, MD

      Cc: Mr Damico- Defense
      Ms Fitzge:rald- Prosecution




                                                                                                                   02963
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 182 of 487 Pageid#: 5951
                      FORENSIC PYSCHOLOGY ASSOCIATES
                                   Eric Ostrov, J.D., Ph.D., ABPP
                                   445 E. Ohio St., Suite 450
                                      Chicago, IL 60611


                                     Office: (312) 740-9691
                                      Fax: (312) 527-9088
                                     E-mail:

                               PSYCHOLOGICAL EVALUATION




      NAME OF EVALUEE:                   William A. White


     . SOURCE OF REFERRAL:                John M. Beal, Attorney at Law

     EVALUATOR:                              Eric Ostrov, J.D., Ph.D., ABPP

     SOURCES OF INFORMATION

        1) Interviews with Mr. White; 2) psychological testing of Mr. White using the
        Personal History Checklist for Adults (PHC), the Symptom Checklist-90-Revised
        (SCL), the Psychological Assessment Inventory (PAl), the Millon Clinical
        Multiphasic Inventory-III (MCMI), the NEO-PI-3 (NEO) and the Trauma Symptom
        Inventory-2 (TSI); and 3) review of records pertinent to this case including reports
        presenting the results of psychiatric evaluations of Mr. White by James Corcoran,
        M.D. in December 2008 and Comad H. Daum, M.D. in September and October
        2009; testimony by Catherine White, Mr. White's mother, regarding Mr. White's
        mental state after his release from prison in April 2011; testimony by Dr. Daum in
        September 2009 and statements by Mr. White's attorney, Paul Beers, regarding Mr.
        White's mental condition between July 2012 and May 2014

     DATES OF EVALUATIONS: Mr. White was interviewed and/or tested at the
     Metropolitan Correctional Center, Chicago (MCC) on September 23, 2015; October 28,
     2015; October 29, 2015; November 7, 2015, November 10, 2015 and January 8, 2016

     DATE OF REPORT:         July 22, 2016

     PURPOSE OF EVALUATION: To evaluate Mr. White's psychological functioning, to
     assess his current mental status and to assess any traumatic effects Mr. White's
     incarceration may have had upon him.

     Mr. White was advised of the litigation-related and non-confidential nature oflliis
     evaluation. It was explained to him ~d he understood that this evaluation woµld result in
     a report that would be submitted to his attorney to be used as he and his attorney saw fit.
     He consented to results of this evaluation being released to his attorney.      ;
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 183 of 487 Pageid#: 5952




              Document Review: According to the government's response to Mr. White's 2255
     petition regarding USA v. William White, 13CV9042, Mr. White was charge~ with
     soliciting a crime against the foreperson of a federal jury. He was convicted iii 2011 after
     a jury trial and sentenced in February 2013 to 42-months imprisonment to run
     concurrently with 08 CR 54.

     Mr. White's petition reportedly· cited ineffective assistance of counsel at the jury selection
     phase of the trial. According to a motion filed by Mr. White in December 2013, his
     counsel rendered ineffective assistance by using his venire challenges in a racially
     discriminatory manner and failed to inform federal authorities or present evidence of his
     substantial assistance to Virginia local authorities.

     Dr. Corcoran found in 2008 that Mr. White did not exhibit signs or symptoms of any
     major psychiatric illness. He diagnosed Mr. White with a Persc;mality Disorder with
     Histrionic and Narcissistic Features.

     In September 2009, Dr. Daum opined that Mr. White was competent to stand trial. He
     diagnosed Mr. White with a Personality Disorder Not Otherwise Specified.

     In October 2009, Dr. Daum observed that Mr. White's affect was not depressed. His
     cognitive functioning was globally intact. He manifested appropriate insight and
     judgment about his situation. His diagnosis of Mr. White continued to be Personality
     Disorder Not Otherwise Specified.·

     In 2012, Mr. White's mother testified that after his release from prison in 2011 he was
     having nightmares and having trouble waking up.

     Mr. Beers testified in 2014 that Mr. White "has got issues. I think he is mentally ill ... "

     DIAGNOSTIC ASSESSMENTS:

             1. Interviews with Mr. White/PRC:

                     Observations: Mr. White presented as a tall, average weight,
     appropriately groomed, 38-year-old, divorced, white father of one. He was sociable and
     willingly participated in this evaluation. He seemed to be trying his best to share
     information he was asked for in an open and honest way. His focus, as appropriate under
     the circumstances, was on how he has been treated in the past including at various jails or
     detention centers as well as the status of proceedings against him.

     Mf. White was fully oriented to time, place and person. He expressed pride in aproject
     he is working on titled "genealogical charts of European aristocracy." He related working
     on a book regarding "first millennium religious issues."

     Mr. White's statements sometimes were difficult to follow due to his tendency-to talk at
     length in a pressured, scattered way. He said for example that "One guy injail;tried to


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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 184 of 487 Pageid#: 5953




      stab me. He thought I flipped on him. I had sentencing in 2014, May or June 1st ... May
      1, 2014, this guy, I had nothing to do with this guy's case. Same unit. No inter~st in
      turning him in. Took me to court the same day as the guy ... the same van as ;three guys
      telling on him. He sees me (with them) and assumed I told ... He had a big lqlife. Not
      able to get to me. He thought I told he was going to stab a U.S. Attorney ... He saw me
      and didn't do anything. I went behind a door. I went to my cell ... "           ·

      Mr. White's tone. often was one of protest. Occasionally there was an indicationI
                                                                                        of
      paranoid thinking or suspiciousness. For example, he noted that persons on th~ unit like
      him, which leads him to wonder if the administration encouraged that. His su~piciousness
      or wariness at no point rose to the level of psychotic or delusional thinking. There
                                                                                      I
                                                                                           was no
      evidence of hallucinations.                                                     :
                                                                                           I


      When seen in January, Mr. White seemed more emotionally upset than he had when seen
      on previous occasions. The Fourth Circuit, he said, had ruled against his appehl. They
      said it was harmless error. He thought the case would be overturned and he scion would
      be released. Moreover, he related, a woman he had been communicating withl and had
      hoped to have a relationship with when he left the MCC (referred to later in this report as
      his gh-1:friend) had· not been in touch with him for a few weeks. On this occasi~n, Mr.
      White seemed both angry and to some extent despairing.                               f

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                      Basic Position: "I feel stressed out all the time ... constantly Jnder stress
      here. The other day they pulled me out for a drug test two days in a row. I thciught they
      were going to 'SHU (Special Housing Unit)' me. Nothing they can do if you rbfuse to
      drink or eat ... They can't punish you for it. They can't tolerate it."           !


      He was sad for a prolong·ed period of time, Mr. White related, when incarcerJted in
      Seminole County. His sadness now, he indicated, is less intense. "I work on iliy
                                                                                    I
                                                                                       book, try
      to take my mind off things." Conditions at the MCC are not as bad as they were in
      Seminole County, Mr. White explained. He had trouble sleeping when he wJ in
      Seminole County (Florida), Mr. White noted. He had trouble sleeping becausb they
      continually shone a light on him.                                        · !
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      His political views, he explained, include that "The whole idea behind the Utjited States
      is a lie, a nation distinct from a people. Jumble everyone together, (that) oppdses
                                                                                      I
                                                                                          the
      order of nature. Put their will between nature and man is why they always fai~."

      When they see cracks, he stated, they get repressive. "Not just me, wipe out donfederate
      monuments, don't want 'white supremacists' running around, constantly makd enemies
      within and without . . . focusing on enemies, keep people united in their hatr~d. 11  ·




      He believes, he indicated, that he made himself the focus of that hatred. "The~ have to
      destroy me .... sacrifice a person to demonstrate their power. Beat them in c~urt and they
      get angrier. I continue to publish. The judg~ said you can have ideas but you pave to stop
      expressing them ... enhance my sentence because of my beliefs. 11             !
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 185 of 487 Pageid#: 5954




     They want him in prison, Mr. White said at a different point. "The country is '.sort of
     fundamentally evil," he explained. "They operate through deception. They can't allow it
     to be pierced."

     He had a web site, Mr. White said, which they took as a threat. "Damage to t4eir control.
     This country is not under control. A lot of people in this country don't want tq live
     together. The economy has problems. Run debts up. Inflationary pressure ... ,free trade is
     deflationary. Drive down charges. Economic prosperity. Not a real country. Just here to
     make money."

                    Current Activities/ Adjustment to the MCC: He writes all day, Mr. White
     said. He makes charts or works on a book. In addition, he helps people out. He indicated
     having helped two people be released to a half-way house. He helps people with simple
     problems,, "habeus motions, lose good time (incorrectly)." He helped someon(? get their
     indictment dismissed. One kid tried to tell his attorney that the police had lied to the
     grand jury. He, Mr. White, wrote a motion. The kid was acquitted. The attorney, Mr.
     White stated, said he did a good job.

     In October, Mr. White said that things had been pretty tense for the past couple of days
     due to troubles on the unit. A guy, G, "a piece of garbage," who had raped someone in the
     SHU, "a disorganized dumb sociopath," likes to prey on people he can. G was on Bob's
     bed. Someone apparently told G that Bob was a child molester.

     "You can't have faggots around your bed," Mr. White explained. If you do, people think
     there is possibly something going on with you. G, he comµiented, liked to extort and
     steal.

     He liked Bob, Mr. White continued. "He doesn't look like a child molester. He said he
     had a tax case, had all the dates right." He indicated having told Bob that he, Mr. White,
     is there for him if he needs him.

     Later he saw G was still near Bob. Bob indicated that he, Mr. White, shouldn't say
     anything. G left and Mr. White asked Bob if he was okay. He told Bob he didn't look
     okay and asked if G was extorting him. Bob said yes, that G had threatened him and that
     another guy said he would protect him. "We know that is a f..king scam," Mr. White
     commented. "Excuse my language. I get a little agitated about this." He told Bob, Mr.
     White related, that "I am there if you need me."

     Later, however, Mr. White indicted, Bob admitted that he had had pictures on his
     computer. At that point, Mr. White indicated, he could do nothing for Bob. "I was so
     angry, I wanted to smash this guy." But, he noted, ifhe defended a guy with a sex
     problem that could be a problem for him.                                       ·

     Bob, Mr. White said, eventually left. Now he believes that "Bob has a secret number for
     the administration ... Bob says 'I'm out of here' ... the fact that he had the nllll?-ber, he's
     snitching too ... That disturbs the quality oflife."                                 I


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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 186 of 487 Pageid#: 5955




       ThT RE: Wil]fam vv1'tl'P:~
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       SSft.N::


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       :::;_ln,,.:cr""j"r;VOUJ..--S       _,,..-,



       Conrad Daum, M. D.
       Psychiatrist

       Cc: David Damrrico
             P. 0. Box 1578
             Roanoke, VA 24007

             Rafael Ferris ·
             P. O~ Box 1791
             Roanoke,VA 24008
                                                    •   I

            Ms. Page Fitzgerald
            Departm.eID.t of Justice
            Civil Rights Divisio1;1
            Criminal Section
           . Room.5200
             601 D .Street, NW
             Was~on, DC 20004
                    .                 .
             lVfr. John Richmond
             U. S. Depamn~t of J~ce
             Civil Rights D~vision ·
             950 Pennsylvania.Avenue, 1'!7.ill
             PHB - Room 5612
             Washmgto~ DC. 20530

            l'/.fr. Thom.as Bondur~nt
            P. 0. Box 1709
            Roanoke,VA 24008




     Page 5 of5




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 187 of 487 Pageid#: 5956




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                    Physical Functioning: On the PHC, Mr. White denied any cutrent notable
     physical problems. He indicated not having a history of any notable physical !illnesses.

     Mr. White reported when interviewed, however, that he had been to medical ~ight times
     for out-of-control infections. The staff, he stated, are .."not able to process a request for
     medication ... half the time at sick call (they haven't scheduled an appointment) ... took
     a while to figure out the right stuff I need, less exercise ... fungal infection, exercise
     makes it swollen."               ·

     "This is one of the most dysfunctional facilities in the Bureau of Prisons," Mr. White
     commented. "My legs were bad before, atrophy of calf muscles ... from being in
     solitary." He reported in this context currently exercising in the morning.

                      Emotional Functioning: Mr. White said when asked about his moods that
     he is "tired of sitting around here."

     In July, Mr. White said he had been tense due to troubles on the unit. He cited a person
     who raped someone Ill the SHU and a person who had a giant knife taken from him. He
     referred to older, solid white guys who are not used to prison types. He cited "faggots
     around your bed, child molesters." One guy extorts and steals, he observed.

     When asked the last time he was sad, Mr. White said he doesn't get extremely sad. He is
     unhappy sitting around in the MCC. He cited in this regard always having a poor appetite
     and often having trouble sleeping. He fmds himself, he said, becoming irritable easily.

     In November, Mr. White mentioned having felt drained in 2014. "The lawyer said you
     are going to be acquitted. He was wrong of course ... not easy to start again. I got so
     depressed after the trial. These people convicted me on garbage. The lawyer did a terrible
     job ... U.S. v White ... pending ... appeal." He believed at this point that his conviction
     was going to be set aside. "And even if it goes back to trial, the worst scenario is time
     served." The government, he noted, offered a nine-level reduction.

     On the positive side too, he cited a new book that is probably going to come out.
     "Practically guaranteed;" His sadness at this time, he said, is less intense than it was when
     he was in Seminole County.

     He was last nervous or tense, Mr. White related, when "they packed the floor (at the
     MCC) with people with serious psychiatric issues." Those persons cleared out after a
     while. "Got themselves thrown out." But while they were there at times it was very
     stressful for him.

     Mr. White affirmed a history of panic attacks. "Right before I was arrested there was a lot
     going on. My wife almost died before I was arrested. My wife became pregnant in 2007.
     She put on a lot of weight ... She collapsed when she was six months pregnant ... My




                                                   5
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 188 of 487 Pageid#: 5957




     wife almost died even before we separated ... " His daughter, he said, weighed about two
     pounds at birth. They had to put her in an incubator.                          \
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     A lot was going on at that time, Mr. White continued. He had to fire a contractor because
     half a wall had crumbled. "The guys took the money and went on vacation." They painted
     over walls that were rotten. At the time, all the banks were collapsing. "Had t~e market
     not collapsed, I would have taken 300,000 out. Instead my wife collapsed and contractors
     ripped me off."

     He filed for Chapter 11 for one company, Mr. White stated. That was a lawyer's idea. In
     retrospect, Mr. White said, it was a bad idea but it would have worked out if lie not gotten
     arrested. "Better vision with hindsight." His wife was sick and wanted him to be at the
     hospital twenty-four hours a day. Contractors, he commented, always screw him over. "I
     wasn't dishonest with them. I sensed they were over their head. I figured they would do a
     better job. They screwed up. I took notice ... criminal charges: I insisted they follow the
     contract."

     He was working night and day, Mr. White commented. "Suddenly I seized up. Not a
     heart attack. I went crazy on these people. I wouldn't say panic attack. I went off on these
     people."

     Things were very sfyessful just before he was arrested, Mr. White said at another point.
     But he was feeling good. "I used to work. I love working. Hang with my wife. Went out
     all the time." "Suddenly," he stated, "I was arrested on a bogus case ... They pulled law
     suits on me. (Subsequently there were) 200 pages saying what I was doing was legal ... "

     Mr. White denied any history of compulsive thoughts or behavior.

     When asked about any specific fears, Mr. White responded that while in prison he is
     "constantly afraid of these people." He pointed to the whole federal prison system in this
     regard. In prison, he never knows when people might come after him. When he went to
     prison, he said, they "kicked the crap" out of him. "You don't have to break the law to get
     arrested. They try to put a crime (on you) for an imaginary crime. No recourse., They
     torture people. Sit years in court. Not much (you can do)."

     At this juncture, Mr. White noted that "in prison it doesn't matter who started the fight.
     "Never know who they are going to crash into." He cited their having put a chiI,d molester
     near him. He heard that that person had a history of sexual assault. One person sat all day
     drawing pictures of children. One guy tried to hang himself. Two persons were ,maced,
     "That kind of stuff is stressful." However, he qualified, "This place is not the worst it can
     be."

    · His greatest source of stress, Mr. White said, is being locked down for the long ~enn.
      Prison, he said, was very stressful for him. All he could do is walk in circles all 1,day.
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                                                    6
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 189 of 487 Pageid#: 5958




     In Seminole County, he noted, he stopped eating and indicated he would not resume
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     eating until they treated him better.

     The MCC, he noted, is better. "Here they leave you alone." He is able to have his own
     property.

     He usually goes to sleep at 10:30 p.m. right after count, Mr. White said. He denied
     difficulty falling asleep. People, however, he noted, stay up all night playing music and
     smoking synthetic ketamine. "They smuggle it in ... doesn't show up on a drug test ... "
     [Per the internet, ketamine is "a dissociative anesthetic: a drug that distorts perception of
     sight and sound and produces feelings of detachment (dissociation) from the environment
     and self."]                                             ·

     Mr. White denied having problems sleeping despite the persons who stay up all night
     "Not here. In Seminole County, there I had nightmares."     ·

     He wakes up, he said, at 6 a.m. when MCC staff awaken him. He gets, he related, about
     seven and a half hours of sleep per night.

     Mr. White denied a history of hypomania.

     He denied any history of hallucinations.

                    Substance Use: Mr. White denied any history of alcohol or illegal drug
     abuse.

                   Interpersonal Relationships: "I'm very paranoid about people," Mr. White
     noted. "The government around me ... I am a high priority of the Civil Rights Division."

     Mr. White cited in this regard, a person who was put in a cell with him. "He claimed to
     be part of the KKK socialist youth party. The guy had no idea what he was talking about .
     . . He obviously was a plant."

    The person he trusts the most, Mr. White said, is his mother. But not about everything, he
    qualified. "Whatever she doesn't want to do, she's not confrontational." He gave as an
    example his needing a lawyer. He asked his mother to find out what the charge was. "A
    judge is not going to listen without a lawyer." He asked her for six months whether she
    would do it and she continually said yes. But when he would ask her if she did do it, she
    would say no. At one point she said she went on the internet and decided he did not need
    one. "At times mother decides she knows better, then leads you on."

    He can't trust most people with money, Mr. White noted. He did trust in the past,
    however, a friend who collected money for him.




                                                  7
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 190 of 487 Pageid#: 5959



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     He doesn't trust people in prison, Mr. White commented. He has, in contrast, inany
     friends in the American Free Press. He trusts his girlfriend. A lot of people ha;ve helped
     him, he said, including Sid, "born Jewish ... helps with research."

     He has two brothers, Mr. White related. He is the oldest. His brother, age 36, was in car
     accident and is disabled. "My parents don't do anything. I helped him get on disability ...
     He has a college degree. In a coma for nine months. He's weird. He goes crazy
     periodically ... He has no idea why he's doing it ... posts weird stuff on Facebook."

     His other brother, age 34, reportedly is about to move out of his parents' home. That
     brother is the CFO of a little start-up company. "Hasn't had a girlfriend in 12 years,
     something wrong with him."                            ·

     His parents, Mr. White noted, are well off. His father, he said, used to work with the
     CIA. "He retired a long time ago. He's not all there. He also drinks steadily. He flies off
     the handle over crazy nonsense. He's a very angry person all the time."

     There is only one person who really bothers or upsets him, Mr. White said laughing. He
     cited in this regard a girl in the past who "lied for whatever reason." In addition he is
     upset with his wife for lying.

     In 2012, he said in regard to the girl he had just mentioned, she turned him in when he
     went to Mexico. "She tried to extort everybody, my wife, the judge. She used my ID to
     do this stuff ... "

     He dated a lot of women while he was in college, Mr. White noted.

     Before he met his wife in 2004, Mr. White commented, he dated Jennifer. He wanted to
     marry her but things did not ·go well. "She misrepresented a lot about her life ... She took
     medication fqr depression, locked herself in a room 14 hours a day." One day, Mr. White
     said,
       :,
           Jennifer attacked him and "I walked away."

     He thought, Mr. White said about his wife, that she was a good person to marry. But he
     didn't want to rush into marriage. She was already living with him. She wanted a certain
     ring. "I guess I was young and stupid."

     Later, he said, "I was willing to walk away, done. She ran (up) debts in my name. She
     sued. The judge gave (us) joint custody. I didn't want full custody. I realized these people
     were still trying to get me. I didn't think it was good for my daughter. (My) lawyer, I
     think, said you're going to lose if you don't settle. She was caught lying in court
     repeatedly ... She said no income ... (that) nobody was living in my buildings. Called
~    people and said she was broke. Turned extraordinarily ugly, 350 lbs." All of her
     allegations were false, he emphasized.

     She stole all his money, Mr. White continued. While he was in prison, she sued:him for
     divorce and child support. She didn't let him speak to his daughter for almost two years.
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 191 of 487 Pageid#: 5960




     She did everything she could to make sure he was not able to get out of prison. "She
                              •                                                    I
     wrote to the Bureau ofPnsons to keep me."                                     ;
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     "I usually dress well," Mr. White commented. "I'm not arrogant about it. I try:to look
     presentable. She has no sense of what is presentable. Her family is trash, he said. "She's
     like her parents. They are people who borrow and then default. My wife does .the same,
     file for bankruptcy every few years ... didn't pay rent, utility bills ... ran up debt on
     credit cards."

     His wife hates him, Mr. White continued. He has more reasons to hate her but he doesn't.
     "My daughter needs someone to care for her. I can't. No point in being angry (at her
     mother)." He has tried to stop his parents from giving ·his wife money but they don't care,
     he said.

     When he was first arrested, Mr. White said at a different point, ·his wife lied to a lot of
     people about him. Thereby she, "broke a lot of friendships and business relationships."

     Mr. White talked fondly about his daughter. She is going to be eight years old in a few
     weeks, he said in November. "I write to her. Sometimes my wife gives (my letter) to her,
     sometimes not ... I write to my daughter regularly, no response." His daughter, he noted,
     goes to karate and loves horses. "She won a National Geographic award for writing. Very
     smart ... " His mother sees her and sends photos. "Looks like she is doing well. I know
     she would like to see me."

     He has quite a few friends, Mr. White said. "More than these people want me to have."
     People, he said, write to him and send him money. He has, he noted, a legal defense fund.

     He indicated believing that when he is free the people his wife alienated from him will
     probably get back in touch with him. They will, he indicated, ask him what he is doing.
     They will want to put their money somewhere.

     He has a friend who is very wealthy, Mr. White continued. "Hundreds of millions. He
     used to bankroll a lot ofmy projects."

     On the other hand, he qualified, he doesn't know when he might get arrested again. If he
     agrees to do something, he feels obligated to do it. He will not take money, he noted, if he
     knows in advance he will not be able to complete what was being asked of him,

     He doesn't want to be a linchpin, Mr. White said. He would rather let other people do
     thmgs, work together to get things done. He never knows if he is going to be around, he
     said. He cited in this regard mail taking a long time to reach him.

     Regarding his girlfriend, Mr. Whites explained that. "I met her before the arrest." He had
     known her for about four years at that point. She wasn't his girlfriend then. "She kept
     trying to meet me . . . Before she was a friend of mine .... She is in love with me. I like
     her ... "


                                                   9
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 192 of 487 Pageid#: 5961




       She is editing his new book, Mr. White noted. She does a lot to keep him infouch with
       the world. "She invested a lot to keep in touch with me. She's in Australia .. • She owns a
                                                                                     1
       publishing company. She wants to publish some ofmy material." Before he was arrested,
       he said, she solicited articles from him.                                     :
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       He has never physically met her, Mr. White continued. But his doing so is a ihigh priority
       once he is released. "She is attractive, early 40's, has a daughter ... about 12 or 13 ...
       She is in love with me (which is) why I consider her my girlfriend ... I am extremely
       interested in her." They have, Mr. White said, a lot of casual acquaintances in common.

       He doesn't get personal with other detainees at the MCC, Mr. White commented. "A bad
       idea in prison ... too much garbage going on." He referred to the SHU in this context.
       "People with known problems. Guys like to crash into somebody ... My cases are
       racially inflammatory ... most people know I'm involved in white (race issues) ... I
       have 12 to 15 published opinions ... "

       He tries, Mr. White noted, to get people who are solid to move to their section. "I ride
       with solid white guys." But if someone is not with them and is not preying on them,
       they're okay.

       He once again referred to G: "crazy predators who like to start (problems) ... I'm not
       hostile to people, not personally disrespectful to other people." He has helped out black
       guys in prison, Mr. White noted.

       He denied having had any visitors while at the MCC.

              Anger Control: When discussing contractors who always "screwed (him) over,"
       Mr. White commented that he "suddenly seized up ... I went crazy on these people ... I
       went off on these people."

       Marion penitentiary, he commented, was a nice facility. "Non-violent terrorist cases,
       counter-terrorism for people who don't give problems:" The MCC in contrast, he stated,
       is not that kind of facility. "I destroyed their SHU ... They knew I was going to flip out
       (because of) what I did the last time ... "

       In the MCC, Mr. White said, "a guy threatened to kill m:e. He was there to fight me. I
       punched him before he hit me ... They threw nie in (the) SHU. I barricaded my cell for
       two weeks (until) they grabbed me with a tactical team."

       But now he tries to stay out of trouble. "I can't afford any disciplinary. I try not to cause
 fsl   problems ... I can't let people know ... half the people here are driven by e~vy and
       hate. Knowledge can trip you up. ri




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 193 of 487 Pageid#: 5962




       In Seminole, Mr. White noted, he tore a cell up. He wasn't going to live like that. He
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       didn't eat for a week. Then they made a few changes. The main thing was iliat eventually
       they turned the light out at night.                                        !    I
                                                                                        I
       He became really stressed out about the Bob and G issue, Mr. White said. "J. told G off.
       'You can't extort people' ... I tried to relax. A child molester gets extorted. I said that's
       okay outside of me."
                                                                                        '
       G, Mr. White said, was stalking him, shadowing him. "I know these guys. (They) study
       other people to see if they can prey on them. 'Who can I jump on?' I see theI11 in prison. I
       know a guy was shadowing me but he had the good sense to stop." G saw, Mr. White
       said, that he was helping most people with their legal problems. "Most people are good
       with me."                                                                     ·

       He is, Mr. White indicated, a lot less tense about it now. But af the time he was
       "trembling with anger." He was going to knock someone out if he could figure out what
       the right thing to do was.

               Developmental Background: He was raised, Mr. White reported, by his biological
       parents in a sibship of three in an upper-class family. Family relationships when he was a
       child were marked by frequent arguments. He generally received good grades but he
       disliked school. He usually got along poorly with his teachers and had to be disciplined in
       school often. He had few friends during his grade-school years, He described himself as a
       child as shy, unhappy, lonely and intelligent.

       Mr. White described himself as a teenager as active, happy, outgoing and intelligent. He
       had several close friends. But, he related, he continued to get along poorly with his
       teachers and had to be disciplined in school often. Family relationships continued to be
       marked by :frequent arguments. He may have been depressed when he was about 13 years
       old, Mr. White said at another point. "Sort of biochemical ... "

       After graduating from high school, Mr. White recounted, he planned to work, continue
       his education and get married. He attended college but did not get a degree. He began
       working full time at age 20. He has worked as a technical specialist. His primary
       occupation has been as a small business owner.                                ·

       The first job he had, Mr. White said, entailed creating websites. "I worked primarily for
       someone else. He quickly promoted me."

       He began technology consulting in 2001. He worked for a company for 9 mo4ths, the full
       length of the contract. He did logistics management. They offered him anoth~r contract
 :?J   but he turned it down. "The guy running the project was an idiot, incompetent. I did all
       the work. It was easy. I did a manual on it."
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       "I left jobs with people I disagreed with," he commented. He believed he could make
       more money working for his own business.                                     \


                                                     11
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 194 of 487 Pageid#: 5963




      He thereafter got a job with a failing tech company. He had problems with tq.e manager.
      "Then I walked ... They had no revenue ... I said this company is going under ...
      When I work I like to work. Then I go home. To them, socializing was moreiimportant
      than work."

      He indicated having told a manager that he had no work to do whereupon the manager
      told him to just hang out. "The job was not as good as I thought. I walked out. I got
      terminated, severance ... "

      He has a lot of math knowledge, Mr. White indicated. "Calculus they didn't understand."
      He related having solved a certain problem in 45 minutes. He told someone that
      something wouldn't work. "The guy told me to shut up." He thereafter was out of work
      for two weeks. Then they called him and said they had a problem. "I told the guy off, that
      you don't know what you are doing ... The guy was screaming ... I said get out of my
      face. I said this job is not working out ... They said we terminate you."

      At the next job he had, Mr. White said, the manager left him alone. He solve4 major
      computer problems for them. An older guy listened to him. That company went out of
      business, Mr. White related.

      He denied ever having been fired from a job.

             Arrest History: He was first arrested in 1996 at age 19, Mr. White saiq. He was
      pulled over for speeding. "I had a hunting knife in my car. In Maryland that is not a
      crime. I was stopped by the police." He was convicted of misdemeanor assault and
      resisting arrest. "I knocked out three cops trying to arrest me. They were threatening and
      abusive ... I caught seven months."

      He used to be far left (politically), Mr. White said. "Anarchist. I had political literature.
      The police were upset about it ... I punched (one oft4em) in the face and knocked him
      out ... a fourth screamed for help. They beat the living hell out of me, a fractured skull ..
      . one guy almost shot me ... I went to jail for seven months (followed by) three-years
      probation."

      While on probation, Mr. White indicated, he "was hit with petty assault ... I went to a
      political demonstration in D.C., a fight, anti-war, ex-military ... "

      He thereafter was picked up for "brandishing," Mr. White related. "Part ofmy business ..
      . collect rent. I grabbed a 12-guage and it went off." That case was dismissed~ Mr. White
      stated
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      He was charged with violation of probation for leaving the country, Mr. White
                                                                                  I
                                                                                    noted.
      They could not charge him for going to Mexico. He pied guilty and was given a sentence
      of 10 months.                                                               '




                                                   12
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 195 of 487 Pageid#: 5964




      He was arrested, Mr. White noted, in Virginia in October 2008. That case w~s dismissed
      twice but thereafter, Mr. White said, reinstituted twice by the Seventh Circuit. There was
      a trial in December 2009. In April 2010, he was sentenced in to 33 months. ·

      In 2014, a 91-year-oldjudge died. "He ended up being the alleged victim in this case. Her
      father knew the judge." He referred in this context to the girl mentioned earlier who, he
      said, was 18 years old and was involved with the Insane Clown Posse.

            History of Incarceration: He has been locked up for most of the past seven years,
      Mr. White related.

      Since October 2008, Mr. White indicated, he has been held in various correctional
      facilities including the MCC. He was incarcerated between November 2008 and July
      2009. He was at the MCC between December 2010 and April 2011. He was not
      incarcerated between April 2011 and June 2012. He was in the MCC between D~cember
      2012 and March 2013. He had just returned to the MCC when seen in September 2015.
      He believes the government wants to put a large amount of time on him.

      "I had a very difficult time in the Bureau of Prisons," Mr. White continued. "The
      government never had a good case on me. (They have) done everything they can to harm
      me while I was waiting trial. I have a law suit against Florida, They started to harm me
      there ... I have a background ... "

      Before he was arrested, Mr. White stated, "they tried to set me up for various reasons. All
      my cases were coordinated out of DC by the Civil Rights Division task force." He cited
      thousands of pages of discovery and fifty thousand pages in his FBI file. "Put a lot of
      resources into me ... launched prosecutions ... evidence marginal."

      Mr. White cited in this context an informant named Harold Turiner (Sp?). "He is a big
      infom1ant in New York." Mr. Turiner was an·ested and "they were forcing him ... he
      went to two people both of them psych cases. One guy I met briefly. The other guy used
      to live in Roanoke Virginia. I didn't know he was diagnosed with Schizophrenia. Turiner
      went to these two guys and told them to set me up so he could get his informant contract
      back ... they concocted a story that I (planned to) blow up Barack Obama with a truck
      bomb ... Verify Mr. Turiner's transcipts on PACER. He made the story up. The
      government decided they have to get (rµe) off the streets."

      Another person (Matthew Hale) was convicted of a violent felony against a federal juror.
      "He's doing 40 years. This jury was tainted ... the government said you published his
      infomiation. The case was thrown out twice, reinstated twice ... They don't have
      evidence that I was going to blow anybody up. They staiied kicking the crap out of me ..
       "                                                                              '



      "I was just trying to help Matt out," Mr. White noted. "I was helping Matt's habeus and I
      had the address of the guy ... internet solicitation ... I never intended (solicitation) ...
      basic resem·ch I do all the time for a person ... "


                                                   13
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 196 of 487 Pageid#: 5965




      He was in jail in Roanoke in 2008, Mr. White noted. "Didn't let me sleep, a tiny room.
      They had a deputy keep me awake all the time ... by banging on plastic. Th¢ deputy said
      you will never get out of prison, (that) you need to confess ... the government managed
      to hold me without bond."

      In November 2008, Mr. White said, the sewer system backed up. "Flooded the place with
      feces, didn't give (us) proper cleaning tools (because we were in the) SHU. The cell was
      ovem.m with cockroaches ... "

      In July 2009, Mr. White said, he was acquitted of intimidation of witnesses and other
      persons. "Civil rights intimidation ... I made political ·statements. People felt scared that
      was enough ... strong views ..... National Socialism as a political view. I wasn't
      involved in anything."

      Just before they released him, Mr. White said, the government appealed. "Intent to kill
      various persons ... nonsense ... in their imagination ... you have to read the transcript ..
      . most they made up ... then backed off ... watched me intensely. They thought I was
      the shooter in Lefkow. I was in D.C. at the time ... I caught a brandishing charge which
      was dismissed."

      At this point Mr. White referred to a college professor who was teaching something
      negative about white people. "They lost all the records. Somebody called and the woman
      said it was me. (Apparently someone said) Marxists should be shot. I had called there 20
      minutes earlier, called to verify the number. I used to have a lot of people (who would)
      read my website ... "

      He was in the Roanoke city jail in 2009, Mr. White noted. "Not so bad, very mild lock-up
      facility. First arrest, one of the bullpen cells, wouldn't let me shower for a week,
      (couldn't) shave. I was so tired I could hardly stand. I was not treated very bad there."

      The case against him in 2009 was dismissed, Mr. White noted. What he did was not a
      crime. The law he was convicted of breaking in 2008 was voided as unconstitutional
      (but) other counts stuck. "A landlord in Virginia Beach, a black, claimed he was being
      discriminated against. I made harsh comments to the people involved ... I wrote them a
      letter, told them they shouldn't be screaming at their landlord. Witness intimidation. Even
      though I didn't intend (that) they still felt scared ... U.S. v Elonis (Sp?) voided a tln·eat
      statute ... "

      He was in something like SHU in the Roanoke jail, Mr. White indicated. But they had
      recreation every day. He could go out for an hour each day. "Not like the Bureau of
 ~    Prisons treats people in SHU."

      They wanted to give him 75 years, Mr. White continued, but instead he received 33
      months, They did everything they could to hurt him, Mr. White said. "The govermnent



                                                    14
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 197 of 487 Pageid#: 5966


                                                                                    I!
      doesn't deny this. Back in population, no reason to lock me down ... just loqked me
      down when the federal attorney called and said (to do so)."                  '
                                                                                    '
      A judge recommended that he be moved to a minimal facility. He went to a facility in
      West Virginia that wasn't so bad. He was in general population.

      But in September 2010 things staited getting very bad. They were angry that he beat a
      case. He noted having gotten into a fight. "A guy tried to attack me, him aggressive
      against me. A black guy read about me in a newspaper."

      In December 2010, they put him in the SHU and wouldn't let him out. "This case here
      came back on me."                                 ·

      Two weeks earlier, Mr. White continued, he found out that his wife had emptied bank
      accounts and had taken 8 to 10 thousand dollars from him. His ·business was collapsing.
      Moreover, he had gotten into "a petty fight." The U.S. said don't let him out of SHU.
      They brought back his case.

      In addition, Mr. White related, he had a bad reaction to an allergy medication. "I took it
      and it made me nuts ... That's what they told me they were giving me." He had had no
      problem with Claritin. He cited an awake kind of drean1ing state. Someone told him it
      was the pills.

      A doctor, Mr. White noted, said there was nothing wrong with hin1. The government, a
      "shrink," said he was a sociopath.

      The SHU, he said, was filthy, "flies ... sewage, no chair ... a month before they let me
      out."

      Mr. White said about the person who had tried to attack him that "He threatened to kill
      me. I started flipping out ... My business had collapsed. My mother was calling me. I
      proved to her that my wife, something was wrong with her. She gave me phony financial
      rep011s while I was in prison. Did the same to my mother. My mother said (my wife) was
      not stealing."

      He didn't niove back with his wife, Mr. White stated. His wife gave an abandoned
      building as a release address. He was writing to her. His mother said he wrote something
      crazy. "I'm called crazy for things that are true."

      He wanted, Mr. ·white said, to go to a half-way house. "They said cooperate with them.
      The prison said you are not cooperating." A half-way house in Virginia said he was too
 fl   high profile.

      He was released in April 2011, Mr. White said. A judge threw the case out. His mother
      picked him up. "They push you out with nothing." His mother drove him to Maryland. He
      stayed there a while. He asked his wife for a divorce. "Caused me two and a half million
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                                                   15
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 198 of 487 Pageid#: 5967




      in damages. I said you don't have money. I don't want money. She sued me, V:irginia
      doesn't have no fault. Draw something up."

      She took off with their daughter, Mr. White said. They had their first hearing in
                                                                                    1
      September 2011. "I ended up agreeing to joint custody."

      He obtained a job in 2011, Mr. White noted. "One ofmy friends owns a publishing
      company. My real estate company was a mess." The city, Mr. White said, was making
      threats about the properties. His wife let people strip buildings. Two buildings were set
      on fire.

      Mr. White cited in this context testimony by Dr. Daum to the effect that collecting rent is
      a dangerous business. He cited a guy having swung at him. "I knocked him out. He did
      time. I was acquitted." The government said he, Mr. White, was crazy. A court-
      appointed psychologist said he was not crazy, that he just had alternative political views.
      The psychologist said there are people who do dangerous jobs.

              Further Legal/Interpersonal/Psychological Difficulties: He had gotten out of
      prison (in 2011) and faced "all these problems." His father went off on him because he
      was working from the house. His father screamed that he, Mr. White, didn't go to work.
      His mother didn't want him to divorce his wife. She tried to push him back to his wife.

      Meanwhile he raised money to repair buildings. He negotiated with a bank. At that time,
      "I couldn't sleep at night. I woke up half the time."

      He moved out of his parents' house in July, Mr. White said. In September, he woke up at
      3 a.m. convinced the FBI was knocking at his door. He went to his car. He was convinced
      that people were after him. "That was crazy. Nobody was after me."

      He drove to Knoxville in order to snap out of it, Mr. White continued .. He called a friend.
      He called his mother.

      Mr. White said at another point that "I drove to Knoxville and back ... it was insane. I
      thought the feds were after me ... Having a nightmare. I woke up and it was still going
      on. I think the medication got to me. The world blurred for four months. (The reaction to)
      the allergy medication was not right. Crazy months. Sleep and wake blurred into each
      other ... (after six to seven) months I stopped the allergy pills and it started t.o alleviate."

      Regarding cases against him, Mr. White said that he knew Hale in 2001. "I told him not
      to do anything to Lefkow. He emailed her information out. I (thought that was) stupid. I
      said you need to leave her alone; you're going to get yourself locked up." An .informant
      pretended he was a hitman. "We exchanged about three emails. (Hale) told rrie to shut up
      (that) he knew what he was doing ... The NY Times quoted me as having said the
      federal judge deserved (it) ... Their informant said I never instructed them to commit a
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                                                    16
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 199 of 487 Pageid#: 5968




      Two other cases, Mr. White said, are going well. The Virginia case went to oral
      argument. The sentence, he believes, is being vacated. "A complex legal con~ition,
      improper jury instruction. The lawyer said no question that I'm going to be re-sentenced."

      Mr. White referred to an 875b charge. "Mens rea, extortion. The Supreme Court threw
      out intent threat (but now they say) intent to extort. They offered me a six to nine level
      reduction. I said no ... I'm not guilty."

      As to another sentencing: "The girl is obviously lying. Testified differently in Florida and
      Virginia; email account hacked ... "

      When he got out of prison, Mr. White explained, he fled the country. "The girl turned me
      in. Suddenly my email accounts were used to commit all these stupid crimes ... hacked."

      Mr. White referred to the counter-terrorism unit in the Bureau of Prisons. "At Marion, all
      the mail was read except lawyer-client. Have to schedule (visits) two weeks in advance.
      Our unit was isolated. No contact visits. An intelligence analyst acted as a counselor. I
      hadn't done anything since I was arrested. No disciplinaries. Can't go to ADX,
      supermax."

      He believes, Mr. White indicated, that the government wants to hold him for as long as it
      can. "A vendetta. They're angry I was acquitted. I just got 30 (months) in Virginia. The
      lawyer said they were infuriated. They have a task force in DC, Civil Rights Division.
      My FBI file has 15 thousand documents."

               Experiences While Incarcerated: Mr. White said in regard to his prison experience
      that he didn't sleep for a week. "Sleep deprivation, freezing cold cell, a cell full of
      roaches, cell flooded with feces. What recourse (did I have?) Nothing. Now I know how
      to file a civil rights suit. Now they have to say yes we did all this. They don't care. They
      will transfer you and not care. Seminole County 24 hours a day, video camera broadcast
      all over the jail ... They admitted it. Arrest you for anything. They can do whatever they
      want. Very unlikely a recourse. Nobody marched for me. I not on the same page as the
      major media ... "

      He indicated difficulty sleeping in a dormitory. "You never know what people are up to."

      In Seminole County, he said, "I was always locked down. I didn't eat for a whole week. I
      didn't drink water." He was held, Mr. White said, in a 7 foot by 7 foot room for six
      months. "Two bright lights, 24 hours (a day) ... bed a concrete slab, a video camera on
      me, no reason to do this. I refused a plea bargain." He stopped eating, Mr. White said.
      He went to medical. "I became very ill because of the conditions ... I didn't eat or drink
      water for a week. They were afraid I was going to die ... deliberate infliction of pain.,
      They don't deny it."




                                                   17
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 200 of 487 Pageid#: 5969




      He lost five pounds a day, Mr. White said, 35 pounds in a month. "My teeth ytarted
      chipping ... abusive light ... the law says you can1t videotape (someone whfle
      undressing). 11 Mr. White cited ''abusive use of a security camera."

      "They left me for three months," Mr. White continued. 11 Broadcast video thoi1ghout the
      jail to humiliate me. Didn't let me out of the room ... tlu·owing away all my mail for a
      while ... One guy threated me with a Taser. They suspended him ... officials threatened.
      A girl (who) showed up intoxicated testified ... I was in a Mexican jail the whole time."

      Thereafter, Mr. White related, they moved him to a cell that had the same conditions. "I
      threw toilet paper over the camera. A guy came in and handcuffed me. He pointed a
      Taser. 11 That person tlu·eatened him. "He was suspended for two weeks for that ... He
      said I?-e was going to strip me. He pulled (out) the Taser. I wasn1t handcuffed and I was
      cooperative. He tlu·eatened. He was the sergeant. He had assaulted other inmates ... I
      told them I wasn't going to eat or drink. 11                      •




      He told them, Mr. White continued, that he was going to die if they didn't move him.
      After seven days and after going to medical twice a day, a doctor told him he was going
      to sustain kidney and liver damage ifhe persisted in not eating. The doctor thereafter
      overrode the conditions he was subjected to.

      He tore up the cell when he was in the Seminole Florida jail, Mr. White said at another
      point. He felt that he was "not going to live like this." Thereafter they made a few
      changes. 11 Turn the light out was the main thing. Not let out for three months."

      They say, Mr. White protested, that he didn't file a grievance for three months. That is not
      true, Mr. White said. "They didn't say that they didn't give me the fonn, (that) they
      refused to give me the fo1m."

      "How com1pt jails beat the system, 11 he continued. They said that he did not fill out the
      fonn correctly, which also was a lie. "All blatantly uncoi1stitutional. Broadcast all over ..
      . They admitted there was no reason to treat me that way."

      When he started to file complaints, Mr. White said, they started to harass him. They
      wouldn't let him file grievances. "They staiied lying ... They didn't read my affidavit ...
      I filed my suit."
      11
           1 didn't do it,U Mr. White commented. 'They think I know something about it. I don't
      lmow. I wasn't involved." That case, he said, has been dismissed twice and reversed
      twice.

      Subsequently, they brought him to the Chicago MCC, Mr. White said. "Took me to the
      11 th floor, no heat ... 20 below zero, one blanket, badly tom unifo1m. I woke up in the
      middle of the night trembling."




                                                     18
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 201 of 487 Pageid#: 5970




      They refused to answer requests for records, Mr. White said. "Seven years ago ... threw
      me in the SHU, solitary confinement, two bunks in it, several days, one 15-111.inute phone
      call per month." In the SHU, Mr. White said, there were "lunatics, people sdeaming."

      He has had no disciplinary infractions since his re-arrest, Mr. White noted. "No reason to
      do anything." In Roanoke, he noted, marshalls tried to question him.

      They transferred him to the Chicago MCC in December 2010. "I wasn't doing well."
      They put him in population, Someone, Frankie, who now is a friend of his, radiated an
      aura that he might kill at any moment. They put him on the 13 th floor "where they put a
      lot of the psych cases but I'm not one."

      · Mr. White referred in this context to a child molester who placed a video of his raping his
        one-year-old daughter on the internet. "He has a 70 IQ. A child molester tried to talk to
        me. I said I won't do anything to him (but) I can't hang around child molesters. I told the
        guy to leave me alone. They dropped a ticket on me. He (?) told people I had a knife ...
        My cellie did all kinds of shit like sell marijuana. A retarded guy bragged th,:it he was
        going to get tickets. I punched him in the head. He ended up biting me. A child molester
        treats me like that in front of other people. Ifl wasn't on medication (I probably wouldn't
        have done it)." He confirmed that by medication he was refening to allergy pills.

      Thereafter, Mr. White continued, he "really flipped out" because the last time he was in
      the SHU they treated him so badly and the captain said they were never going to let him
      out. They had taken away his privileges because of a fight, He couldn't remember
      specifically what the fight was about.                  ·

       "I really wasn't well," Mr. White continued. Eventually the captain made them put a
      mattress in his cell. He did his thing every day, Mr. White said. He took a razor and cut
      up his jump suit. "I was tired of these people."

      Mr. White mentioned in this regard something having happened with a witness, which he
      didn't know about. The government instituted a lock.down because they thought he had
      something to do with it but they didn't tell him. He didn't know if he was being screwed
      around. He refused to come out of his cell. They sent a tac team to get him out of his cell.
      The Captain said he was disrupting the facility.

      As a result, "I said okay. I took a razor blade, cut everything up in the room ... including
      my own property." Then he made "a little cut on my stomach." He wrote on the walls and
      barricaded the window. "You learn crazy things to do," Mr. White said with a slight
      laugh.

 "    He was cuffed up at the last minute and taken to another cell, Mr. White continued. He
      was punished with no commissary and not being able to see his family. "I ended up
      flipping out. I thought I was going crazy but I was not. An orderly came to me. He said
      you take yellow pills, He said that's what is f ... king you up."




                                                   19
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 202 of 487 Pageid#: 5971




      He started feeling better, Mr. White said. "Over-the-counter medication, als9 anti-
      depressant medication. They tell you this. I had a friend look it up. (It said) less than one
      percent of people experience hallucinations."

      He told the BOP doctors he couldn't metabolize the medication (chlorphetan~ne). A
      "shrink" called him a liar, Mr. White said.                              ·

      In any event, Mr. White related, he started to feel better. He was released from the SHU.
      They put him in a larger cell with a guy who had everything. "They knew he'd give me
      everything I wanted, help him out to keep from going crazy."

      Marian, he commented, is a nice facility. "Mostly older, non-violent terrorist cases.
      Counter-terrorism for people that don't cause problems."

      The MCC, he said, is not that kind of facility. "I destroyed their SHU ... They know I'm
      going to flip out (as) I did the last time. He tries to stay out of trouble, Mr. White
      indicated. "I can't afford any disciplinary. I try not to cause problems ... half the people
      here are driven by envy and hate. I know that can trip you up."                   ·

      "I feel stressed out all time," Mr. White commented, "... constantly under stress here.
      The other day they pulled me out for a drug test two days in a row. I thought they were
      going to SHU me. There's nothing they can do if you refuse to drink or eat ... They can't
      plan for it. They can't tolerate it. I don't know where things are going ... I space out, in
      here not as much as (when I was in) Seminole County."

            Treatment: He has had a lot of evaluations, Mr. White noted. "Never found
      anything really wrong with me." The government, he said, asserts that he has a
      personality disorder. "A serial killer personality," they said.

      One government shrink, Mr. White continued, said he is a lying sociopath. They assume
      he has never been mistreated. One evaluator said he was lying. "He didn't do research to
      determine if I was lying. He said, 'I don't believe anything he says.' The judge suppressed
      it. Another said I might have some personality (issues). They never said an Axis I
      disorder.

      Mr. White denied· any history of psychological or psychiatric treatment. He denied any
      history of taking psychiatric drugs. "No-one said I was crazy."

      Mr. White cited in this regard the testimony of a Dr. Daum. "He defended me.
      (Prosecutors) said he, (Mr. White) is a sociopath. (Dr. Daum) said no. Said it;was a
      stressful job. Really nice to me ... "
                                                                                      i
             Plans Were He to be Released: "I don't see things going well ... I can't live in this
      country ... I would like to leave the U.S. My girlfriend thinks South America.
      Technically I'm a dual citizen ... I don't want to go into details ... be with my family




                                                   20
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 203 of 487 Pageid#: 5972




      until I'm situated. Probably (will be) released on appeal while the government tries to re-
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      try the case."                                                                 I
                                                                                     I
                                                                                     I
      At a different point he said he can't live in this country "the way they come after me."

      He has a job with Free Press, Mr. White noted. But "they are not going to stdp pursuing
      me." He would go to Russia where they can't extradite him but he doesn't have a passport.

             2. Psychological Testing,

                   A. SCL Results: Mr. White did not endorse having experienced any of the
      listed symptoms to the extent of extremely during the previous two weeks.

      To the extent of quite a bit, he reported having experienced feeling critical of others,
      feeling tense or keyed up and feeling people will take advantage of him ifhe lets them.

      He endorsed having experienced various symptoms of stress or anxiety or disillusionment
      to a moderate extent including worrying too much, nervousness or shakiness ·inside,
      trouble falling asleep, feeling easily annoyed or irritated, feeling trapped or caught,
      feeling most people can't be trusted, feeling blocked in getting things done and feeling
      hopeless about the future.

      He endorsed symptoms of apprehension or anger to this extent including feeling uneasy
      when people are watching or talking about him, restless or disturbed sleep, and having
      urges to beat, injure or harm someone.

      He endorsed symptoms of stress, depression or disillusionment to a slight extent
      including feeling others are to blame for most of his troubles, feeling watched or talked
      about by others, feeling something bad is going to happen to him, early morning
      wakening, temper outbursts he cannot control, having urges to break or smash things,
      feeling afraid in open spaces or·on the streets, thoughts and images of a frightening
      nature, feeling uneasy in crowds, heart pounding or racing, feeling lonely, feeling blue,
      feeling others do not understand him or are unsympathetic, feeling lonely even when he
      is with others, feeling people are unfriendly or dislike him, and never feeling close to
      another person.

      He denied having experienced any suicidal thoughts.

                     B. NEO Results: Mr. White scored in the above average range with
      respect to openness to new experiences and conscientiousness. He scored in the below
      average range with respect to interpersonal agreeableness.

      Sub~cale scores indicate a high degree of assertiveness, ambitiousness,
      straightforwardness, and an orientation toward imagination and ideas.




                                                  21
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 204 of 487 Pageid#: 5973




      He scored in the low range
                           ,
                                 with respect to compliance, orientation toward values,
                                                                                  I
                                                                                        and
      modesty.                                           ·                        1

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      He scored in the very low range with respect to excitement seeking and trust.]

      He scored in the high range with respect to anxiety, depression, and angry hdstility,

                   B. MCMI Results: Validity scores indjcate that Mr. White tended to deny
      any psychopathology on this test.

      Results are consistent with narcissistic traits.

      Item endorsements included that when he has a choice, _he prefers to do things alone; that
      he takes great care to keep his life a private matter so no one can take advantage of him;
      and that he is alone most of the time and prefers it that way. ·

      He endorsed often criticizing people if they annoy him, sometimes being pre~ rough in
      his relations with his family and having had to be really rough with some people to keep
      them in line.                                                                ·

                      C. PAI Results: Validity scores indicate these results are reliable and
      valid.

      Clinical scale scores generally are indicative of his experiencing marked stress.

      Results reflect a very high degree of hypervig1lance characterized by guardedness and
      wariness in his interactions with others. Results reflect feelings of being or having been
      treated inequitably. He tends to question and mistrust the motives or intentions of those
      around him. He harbors feelings of resentment towards persons he believes have
      mistreated him.

      At the same time, scores reflect a tendency to highly estimate, perhaps over-estimate, his
      talents or capabilities.

      Results indicate a tendency to become involved in relationships that are very intense and
      chaotic His closest emotional relationships tend to be stormy. He tends to fee~ that
      important others have not met his needs. He tends to feel betrayed and exploited with
      possible concomitant distrust and pessimism regarding current and future relationships.

      Results reflect a history of aggressive behavior and problems with the law. Rysults
      suggest a marked tendency toward threats or physic"al violence when provoked. He tends
      to be much more interpersonally dominant than interpersonally warm.

      Results reflect marked traumatic stress with symptoms such as sudden anxiety and
      feelings of having been irreversibly changed by a traumatic event or events.




                                                     22
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 205 of 487 Pageid#: 5974




      Critical item endorsements include to the extent of slightly true that sometimes his
      temper explodes and he completely loses control, to the extent of mainly tru~ that people
      are afraid of his temper and to the extent of very true that he has threatened toI hurt
      people.

      He endorsed to the
                      .  extent of very true that
                                              .   he has trouble falling asleep.

      He endorsed to the extent of very true that he is the target of a conspiracy.

      He endorsed to the extent of slightly true that he has been troubled by memories of a bad
      experience for a long time and to the extent of very true that since he had a bad
      experience, he is no longer interested in some things he used to enjoy.

                      E. TSI Results: Validity scale scores indicate these results are reliable and
      valid.

      Mr. White obtained significantly elevated scores with respect to the Posttraumatic
      Stress//Traillna factor score.

      Scale scores are indicative of Posttraumatic.Stress characterized by characterized by a
      high degree of anxiety, relational avoidance, reduced self-awareness and dissociation.

      The TSI test manual (p.20) states that "in almost all cases respondents with elevated
      Trauma scores have undergone one or more major traumas in their lives."

      Item endorsements included having sometimes experienced iri the previous six months
      thoughts and feelings about hurting someone and doing something violent because he
      was so upset.

      DIAGNOSTIC IMPRESSION

      Posttraumatic Stress Disorder (PTSD), Diagnostic and Statistical Manual 5, (I!SM),
      309.81; Personality Disorder with Borderline and Narcissistic Traits, DSM, 301.89

      CONCLUSIONS AND RECOMMENDATIONS

      1.       Mr. White presents with various symptoms of PTSD in conjunction with a
               personality disorder. His responses during the evaluation and test results indicate
               that Mr. White tried his best to be forthcoming in the course of this evaluation.
               There is no issue in this case of malingering or symptom exaggeration.

      2.       Mr. White credibly attests to having experienced traumatic events while
               incarcerated including while incarcerated in Seminole County Florida1and the
               MCC in Chicago.




                                                    23
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 206 of 487 Pageid#: 5975




      3.     Mr. White's history reflects Borderline traits such as a pattern of unstable, chaotic
             and intense interpersonal relationships, impulsivity and difficulty co~trolling
             anger. His interpersonal relationships tend to be stormy and he can become
             violent when provoked. He related having experienced in the past tr$.sient stress-
             related paranoid thoughts. He tends to view himself as more moral, more
             intelligent and more devoted to higher causes than are most other persons leading
             him to at times being highly resistive to actions or conditions or circumstances he
             believes are wrong.

      4. .   Borderline traits in conjunction with a strict moral code apparently played a role
             in Mr. White's protesting and being unwilling to submit to adverse conditions of
             incarceration, which in tum apparently escalated to the point of particularly harsh
             treatment of him. This treatment in tum has led him to experience additional
             severe psychological difficulties.

      5.     Valid test results indicate that Mr. White currently is suffering from marked
             stress, specifically from PTSD, with symptoms such as sudden feelings of
             anxiety, sleep difficulty, irritability, loss of interest in things he used to enjoy and
             hopelessness about the future. He attested to experiencing a wide range of
             symptoms including nervousness or shakiness inside and feeling easily annoyed.
             Valid PAI and TSI results confirm his experiencing marked stress consistent with
             PTSD.

      6.     It should be noted that Dr. Cocoran's and Dr. Daum's evaluations are 'indicative of
             his personality issues but not indicative of Mr. White presenting with any major
             psychiatric illness before his incarceration in the MCC in 2010 and again in 2012.
             His mother's and Mr. Beers' testimony indicate his suffering symptoms of mental
             illness thereafter. His mother describes him as having suffered from nightmares, a
             symptom of PTSD after his release from prison in 2011.

      7.     Mr. White's mother's testimony indicates he was highly upset before he went to
             Mexico. His behavior was impulsive and reflective of a person who felt
             overwhelmed and desperate to escape.

      8.     It should be noted that trauma is cumulative (See e.g. Ostrov, E. "Critical Incident
             Psychological Casualties Among Police Officers, " Critical Incidents in Policing.
             U.S. Dept. of Justice, 1990, 63-64). Mr. White's experiences in Florida or Virginia
             cannot be separated from his experiences at the MCC.      The symptoms of trauma
             he experiences now reflect cumulative experiences when incarcerated, traumatic
             experiences at a subsequent institution or occasion adding in each case to the
             effects of traumatic experiences at a prior institution or occasion.   ·
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      9.     Mr. White would be a difficult person to treat. He is not insight oriented or
             psychologically minded. He tends to see things as a function of the malicious or
             conspiratorial behavior of others. He will require a long course of treatment that
             focuses on coping with and alleviating his symptoms of PTSD. He might benefit
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 207 of 487 Pageid#: 5976




             as well from medication to help him cope with adverse psychological ,symptoms
             he is experiencing.

      Thank you for this referral.


      Str:yOA ~Df fv)
      Eric Ostrov, J.D., Ph.D.
      Diplomate, Forensic Psychology,
      American Board of Professional Psychology
      License #071-001951




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                 Case 7:08-cr-00054-EKD Document 411-2 Filed    ( ,v)
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                                   UNITED STATES DISTRICT COURT                                         l        APPEARANCES (Continued) :                  I .
                                                E'OR THE                                                2        For the Defendant:          RAPHAEL ELLIS FERRIS, ESQUIRE
                                                                                                                                             Ferris Eakin   &   Thomas, PC
                                   WESTERN DISIRCCT OF VIRGINI~                                                                             . P.O. Box l79lj
                                                                                                                                              Roanoke, VA 2 008
                                         ROANOKE DIVISION



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       UNITEO STATES OF AMERICA,                • CRIMINAL NO. 7:08-CR-00054
                                                • SEPTEMBER 18, 2009 9:37 A.M.
                            Plaintiff,          • BOND APPEAL        .
                                                +   VOLUME II OF II


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                                                 1
                                                ' HONORABLE. JAMES ·c. TURK                            10
                            Defendant.          • UNITED STATES DISTRICT JUDGE
          -t~.-:':¼*******"*                *   ' WESTERN DISTRICT OF VIRGINIA                         11
          l\PPEARI\.NCES:
                                                                                                       12
          ':or the Plaintiff:             PAIGE MICHELLE FITZGERALD, ESQUI!!E
                                          Unit-ad States Department of Justice                         13
                                          Civil Rights Division/Criminal Section
                                          601 D Street, N .W., Room 5200                               14
                                          Washington, DC 20004
                                                                                                       15
                                          JOHN COTTON RICHMOND, ESQUIRE
                                          United States, Department of Justice                         16
                                          .civil Rights Division          ·
                                           9.50 Pennsylvania Avenue, N.W.                              17
                                          PHB Room 5612
                                          Washington, DC 20530                                         lB

          For .the Def':'ndant:           DAVID ,JOSEPEI DAMICO, ESQUIRE                               19
                                          P.O. Box 1578
                                          Roanoke, VA 24007                                            20

                                                                                                       21

          Court Reporter:                 Judy K. Webb, RPR                                            22
                                          P.O. Box 1234
                                          Roanoke, Virginia 24006                                      23
                                          (540) B57~5100 Ext. 5333
                                                                                                       24
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                         U.S.A. v. William White - 9/18/09                                                                         Daum - Direct by the Court

                                                 I N DEX                                                                (Court convened at 9 :37 a. m.)
                                                                                    Further
                                       Direct       Cross   RediJ:'ect   Recross   RE!direct                 2                 THE COURT:   .Good morning, everyone.     The clerk will

      3     IHINESSES FOR THE                                                                                3     please call the first case.
             COURT:
            Conrad Daum                             5/30                                                                      IHE CLERK:    United States of .llmerica v. William· A.

                                                                                                             5     White, Criminal Action Number 7: OB-CR-54.

                                                                                                                               THE COURT:   The Court had called -Dr. Daum as a court

                                                                                                             7     witness.    Is Dr. Daum present?

                                                                                                                        W!'uld you come forward, Doctor.

                                                                                                                              CONRAD HENRY DAUM, MO, COURT'S WITNESS,         SWORN

. IC                                                                                                        10                               DIRECT EXAMINATION

 II                                                                                                         11    BY THE: COURT:
                                                                                                                         !
 !2                                                                                                         12    Q     Dr. Daum, would you tel 1 us your full name:

 !3                                                                                                         13    A    M¥ name is Conrad Henry Daum.

 14                                                                                                         14    Q    And where do you live?

 ,s                                                                                                         15    A    I \live in ROanoke, Virginia:

                                                                                                            16    Q    And what is your educational background?

                                                                                                        17        A    I am a physician, medical doctor, licensed to practice

                                                                                                        18        medici~e in the state o: Virginia.        ~   am board-certified in

                                                                                                        19        psychi~try general and in psychiat"ry forensic.            And I've had

,.o                                                                                                     20        approx~mately -- I've had over 30 years in practice in this

                                                                                                        21        communrty.
                                                                                                                         :
                                                                                                        22        Q    Ha'.ve you had an occasion to examine Mr. William White?

73                                                                                                      23        A    I '.did, Your Honor, yesterday ev'7ning.

                                                                                                        24        Q    Wo~ld you tell us what you     did rd      what your opinion is
25                                                                                                      25        concer~ing Mr. White.




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              Case 7:08-cr-00054-EKD
                     Daum - Direct by the Court Document 411-2 Filed 10/05/20 Page
                                                                               Daum - 209    ofMs.487
                                                                                      Cross by           Pageid#: 5978
                                                                                                   Fitzgerald
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                                                                                                                                         I
 1        A             e:x:amined Mr. White for about 75 minutes last evening.                   that he was willing to ac:cept those conditions, and he

 2        I        r~viewted for approx.imately two hours yesterday information

          prov ide.d

          the hearings.
                          by   the defense ond prosecution on the background of
                                                                                              2   reiterated that agreement with.


                                                                                                          Thos:~e::u::: q:::::~ns    rt you had asked.
                                                                                                                                         Le .last night.
                                                                                                                                         I


                                                                                                          Any cross-examination of this witness?
                      I ~-,as able to formulate opinions.   You had asked several

                                                                                                              MS. FITZGERALD:
                                                                                                                                         I
                                                                                                                                 Yes, Your Honor.
          questicns in your court order.           Ihe questions stated were
                                                                                                                                         I
 7        whether he presented a danger to himself, any other person or                                       THE COURT:    All right.   i
 8        the community at large due to his mental state.                                                                     CROSS-EXAMINATION

                     My conclusion is that he did not have any imminent                       9   BY MS. FITZGERALD:

10        dangerousness to himself or others.           Prediction of futu~e                 10   Q       Good morning, Dr. Daum.

Ll        dangerousness in psychiatry has some variability.           Ihe                    11   A       Good morning.

12        imminent d~ngerousness criteria is over the period of a few                        12   Q       I think everybody here really appreciates the fact that

l3        days.                                                                              13   you were able to come in and do your assessment on such short

l4                   J\nd another piece of criteria of prediction of future                  14   notice.     And I wanted to express my appreciation on behalf of

ts        d~ngerousness was the question of whether or nOt Mr. White                         15   the government for your willingness to step in and do youi

16        could adhere to the conditions of the bond set out by Judge                        16   eva~uation so quickly.

17        Url.JansJd, and that was mainly the focus of my opinion or my                      17           But I do have a number of questions for you about it.

18        ~;tam~tnation, is could he do tpat if he so chose.         And I do not            18   You've indicated that your. evaluation consisted of speaking

19        see ariy mental disease or defect that would interfere with                        19   with the defendant for about an hour and 15 minutes last

io        that.        And he certainly had a vE:rY good understanding,                      20   night?

21        r,31:.ional and factual, of th~ conditions of the bond.         As a               21   A       That's correct.

22        matter· of fact, he was ab:le to enumerate spontaneously most of                   22   Q       So that would be, essentially,· just a clinical

23        the conditions set out by Judge Urbanski just as we were                           23   evaluation?

24 talking.                                                                                  24   A       Ihat would be the clinical part of the interview, yes.

25                   A.nd he had indicated in the hearing with Judge Urbanski                25   And as I indicated, I spent a lot of time reviewing




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                               Daum - Cross by Ms. Fitzgerald                                                     Daum - Cross by Ms. Fitzgerald

              iriforr.1ation from Mr. Damico and from yourself as well.                           the information that I· was needing and required.

      2       Q        Jmd what was the principal focus of your aSsessment?                   2   Q       Can you tell me the conditions under which you conducted

      3       I\       The pr.lncipal focus was, is there any identifiable mental             3   this interview.

              diseasr.: or defect.      And I have to agree with the psychiatrist             4 A         It kas in the Ro~noke City jail, in the jail medical

      5       in Chicago, D~- -- shall I get his name?                                        5   department.      rhere' s a physician• s office there that       ':i   usually ·

      6 0              Or. Corcoran?                                                          6   use to intervie"! defendants, and that was the area that I

      7       A        -- Corcoran                                                            7   talKed to him in.        There was a jail guard standing

      8       Q        Yes.                                                                   8   app~mdmately 15 feet away, which has b·een the usual security

      9       I\       -- that I did not identi~y any significant mental disease              9   pre<:autions in that facility.

     10       or. def.~ct.                                                                   10   Q       Can you discus~ with me just a moment about what you

     11                I!iere may be some minor disagre2ments in terms of what               11   considet sort of the classic prediction outcome studies in the

     12       kind of personality symptoms Mr. ~;hite exhibits, but I don-' t                12   dangerousness literature.

     13       think that they have significant clinical bearing on his                       13   A       Okay.   As I indicated to Judge Turk, we have to be

 14           ability to adhere to the condition:; of the bond.                              14   careful in psychiatry to not overstep our bounds in terms of

 15           Q        nhat diq. you tell Mr. White the purpose of the assessment            15   how we predict future dangerousness.             You co1,1ld choose to come

 16           was?                                                                           16   up to me and hit me in the face right now; I could choose to

 17           J\       Mr. Damico had already informed him that I would be                   17   ~ttempt to do the same thing to you.

 18           coming and that the purpose was for me to prepare for                          rn   Q         hope not.

 19           test?imony today.                                                              19   A         doubt either of us would do that in this particular

 20           Q        So he knew that what he was discussing with you·was                   20   set~ing.

 :n obviously not going to be confidential at all?                                           21
                                                                                                      I   There's a certclin amount of, do _you have the ability to
                                                                                                      1

 22           A        Correct.   And he was careful to parse out what he chose              22   reslrain your impulses?       And one.     bt   the things I was assessing

 23           to share Nith me, and what he parsed out· that he felt would be                23   ver~ carefully is, does Mr. White; have that ability, both

 24           a defense strategy that I should not oe•privy to.        And                   24   cog~itively as wel.l as in an emotional, rational sense.                 And I
                                                                                                      !
 25           respected that.        I think he was very tJPen with me, and I got            25   feel Comfortable that he does.




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           Case Daum
                7:08-cr-00054-EKD
                     - Cross by Ms. Fitzgerald Document 411-2 Filed 10/05/20 Page     210
                                                                             Daum - Cross    of Fit~gerald
                                                                                          by Ms. 487 Pageid#: 5979
                                                                                                                                               I
      Q          .l\re you aware of studies on predicting dangerousness that                      1   ass;essing this partiC:.ular defendant?

 2    sh0wed that mental health experts were wrong more often than                                2   A
                                                                                                          'i                                   I
                                                                                                               .ti.gain, I have been disciplined not by judges but by
                                                                                                          ,                                    I         .
 3    thl'!y Ne:re right?                                                                         3   defense attorneys sometimes in saying, noon ' t overstep your

 4    A          I ):)elieve that's the position of the American Psychiatric                      4
                                                                                                          '
                                                                                                      bounds."
                                                                                                                                                I
                                                                                                                    I think a diagnosis of personality disorder requires

 5    l\.Elr.ociat.ion and has been for decades.           And, again, there are                  5   a grea~ deal of testing
                                                                                                                                                I
                                                                                                                                     an~ assess4ent   by a licensed

 '5   c1:lteric1, or there are places "'here we must make•predictions;                            6   psychologist qualified to perform ~hese tests.

      foi; eY.ample, a commitment· of somebody making homicidal                                                Wh.en I reviewed the testimony jof Dr. Corcoran, I didn't

      threats, do you put them in a hospital or not?                 Again, the                   8   see that those had been applied there, so I'm not sure what

 9    Supreme Court I believe has pretty much come down on the fact                               9   kind of testing took place.         But, again, I don• t think that

10    there are times when we have to give an opiiiion, given the                                10                                      ' personality is clinicplly
                                                                                                      wheth~r or not he has a narcissistic

11    f.;act. that we don't have a good general statistical record in                            11   relevant to his abilit¥ to control ~his behavior and conform to

12    making predictions.                                                                        12   the raquirements of the law.

13    Q          You would agree, then, that your ability to predict the                         13   Q        Well, let's t'alk about th.at for a minute.     First of all,

14    potentia_l dange~ousness of Mr. White, or anybody else, beyond,                            14   I want to make sure that I understand what you' re saying, and

15    as I believe you said, imminent was just a couple of days, is                              15   that is that, in terms of actuarial evaluations, which you

16    we,;1.k?                                                                                   16   acknowledge have been ·demonstrated to be significantly. more

17    A          Yeah, I would say that we do not have a 9reat deal of                           11   accurate in assessing -- predicting future violence, that is

18    ability to 'do so as a profession.                                                         18   not a discipline in which you are trained, and it's not the

19    Q          1\.r:e you also aware of studies that indicate that                             19   kind of evaluation that was conducted in this particular case?

20    actua::-ial-based evaluations are s.ignificantl_y more accurate                            20   A        That is eorrect.

2l    th,3.n clinical evaluations in predicting dangerousness?                                   21   Q        And talking about you recognize that Dr. Corcoran did

22    A          ·:.:·es.                                                                        22   diagnose the defendant with an Axis II personality disorder

23    Q          Did you perform an actuarial evaluation in this case?                           23   with narcissistic and histrionic features, correct?

24    A          That's not my area of ex:pertise.                                               24   A        That· was his diagnosis.    But the data that you provided

25    Q          Did you utilize the Narcissistic Personality Inventory in                       25   to me did not give me information on how that conclusion was




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                             Daum - Cross by Ms. Fitzgerald                                                          Daum - Cross by Ms. Fitzgerald

      rt:?ach:!d.                                                                                     it, I would have brought that reference.

 2 0         Understood.                                                                          2   Q   ;'   Let's see if I can jog your memory.       Does the DSM-IV
                                                                                                          '                     .
 3    i\         2,:::ca_use I have my own conclusions about the Axis II                          3   reffrence a pervasive need for grandiosity as o~e of the

      personality traits, which to some degree a_gree with                                        4   fac~ors, one of the criteria for narcissistic personality

 5    Dr. Corcoran ~and some degree disagree.               But, again, it doesn't               5    disbrder?

 6    mattet" in terms of the ability for Mr. White to adhere to the                             6    A        It sounds reasonable.

 7    condition             Of   his bond.                                                        1   Q        Saving viewed the blog posts that were provided to _YOU,

 8    Q          L:!t's talk about the -- l_et's talk about the criteria for                      8   would you agree Mr~ White certainly exhibits that criteria?

 9    narcissistic personality disorder.                What are those criteria?                  9   A   : 3xhibited, presen·t and past tense, because I don't think

10    A             don't know off the top of my head.         In 9enei=a1, it ;is, a           '10   we have any measurable criteria since he was incarcerated ~ast

11    persoii who is vain and self-centered, and I believe those are                            11    October.

12    two of the major criteria.                I would literally have to pull out              12    Q        Ihe criteria that you have had available to you, or the

13    my DS:-I-IV and take a look at those criteria.              I'm not prepared              13    history that you've had available to you that precedes October

14    to do so right now.                                                                       .14   is of some significant duration, however, is it not?

15    Q      So the criteria for which the previous psychiatrist                                15    A        Correct.

16    diagnosed Hr. White as having this particular personality                                 16    Q        And throughout that significant duration, he has

17    d.ir-or:ler, those aren't criteria that rou're familiar with off                          11    ~xh~bited that particular criteria, 1 correct?

18    the top of your head?                                                                     18    A        Behavior.    He has exhil?ited those behaviors.
         \)
19    A     I'm familiar with them.               I've had to be prepared to                    19    Q        And an ex:cessive need for adrni;;.ation, is that another one

20    ,3.ns.wer questions on my board certifications.             There is a list               20    of the criteria?

21    of ovat' !I- dozen di.f:ferent criteria.           Narcissistic personality               21    A        That could very well be.    It sounds very reasonable.

22.   ;is one of many dozens of psychiatric syndromes, and when I                               22    Q        And a lack of empathy for others or an ability to

23    actually sit dql'm go thi:ough and diagnose somebody formally, I                          23    con~ider their_ ~eelings?

24    go "through the checklist.               But I do not have that reference                 24    A        That would be okay with me, top.       That would sound

25    td th me today.               Had I known you wanted to 'cross-examine me on              25    reasonable.         I assume you're quotin~ this right out of the
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                                                                                        02764                                                                                   02765
         Case 7:08-cr-00054-EKD
               Daum - Cross by Ms. Fitzgerald Document 411-2
                                                                              13

                                                             Filed 10/05/20 Page    211byofMs.487
                                                                             Daum - Cross            Pageid#: 5980
                                                                                               Fitzgerald
                                                                                                                                     I                                  14


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        DSM·-I"J?                                                                                my bond and get locked up again"!?           And that was what I was

  2     Q         Yes.                                                                       2   focusing on.                         I
  3     A         Okay.    I' 11 tal<e your word for it.                                                 Now, the potential for acting out is an Axis· II problem.

  4     Q         I want to talk with you about some of the studies that
                                                                                                                                      I
                                                                                                 And when we treat people who have severe personality

        have focused on narcissistic personality disorder and                                5   disorders, what we' re trying tel do is reduce the probability

  'i    aggressive and violent behavior.           Would you agree with me that                  of th-2m responding in this) particular pattern of behavior.                We

  7     th~ n3 rcissistic personality disorder generally indicates
                                                                                                                                      i
                                                                                                 all have personalities; we all have pers~mality traits.

  8     somebody t•Jho actually has a rather vulnerable self-esteem,                                     Hierarchy of Responding by ;Maslow is sort of a

        wh1ch opens them up to distress from criticism or defeat?                            9   theoretical background, you know:            Would you do this?   Can you

 10     I\        That would sound reasonable.                                              10   reduc-:: the chances of you doing this in this situation and do

. 11    Q         Jl.nd that there are studies that indicate that p-2ople                   11   something else instead?

 12     st1ffer ing from this particular disorder may react in an                           12           So the question I had when I was talking with Mr. White

 13     oul:ra~e or violent counterattack?                                                  13   is: . Can he rE!strain himself so he doesn't break the

 14     A         Again, you 're confusing Axis I and A;cis II.                             14   conditions of the bond?

 15     Q         No.     I'm focusing specifically on ~tudies --                           15   Q       Whel'\ you were having that conversation with &'. White

 16     n         And I'm focusing on the fact that people may liave a                      16   about ~,hether or not he can restrain himself, you were aware

 17     potentlal, such as you and I to have a P,hysical alterc'ation                       17   ~hat Mr. White had his IQ tested at over 150?

 113    Light now, but our Axis I is sitting right there, no, we don't                      18   A       Mr. Damico said he had that.         I didn' t see anything in

 19     w~nt to get into this type of thing.             Our ability to                     19   the record, but that wouldn't surprise me~

 20     rationally say, "This is not a behavior I choo.Se to do" is                         20   Q       Would you also agree with me the DSM has indicated that

 21     controlling our behavior in this courtroom.                                         21   individuals suffering from narcissistic personality disorder

 22               ·r-.gain, the thing I was focusing on last night was:      Does           22   are eKploltative and manipulative?

 23     Mr. White have any irrational impulsive types of problems that                      23   A       They can be, yes.     Again, we're not saying 100 percent of

 24     I could identify that would interfere with his ability to                           24   the time.     We' re saying these are tendencie~, when talking of

 25     rationally say, "No, I do not want to break. the conditions in                      25   personality t1:aits, these are things that people tend to do;




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                           Daum - Cross by Ms. Fitzgerald                                                      Daum - Cross by Ms. Fitzgerald

   1    and if they are not to do them, then they have to e~ercise a                         1   has· actually -- you know, since we're sitting here, we ·

   2.   ci;rtain amount of cognitive, mental higher: activity, sOcial                        2   actually have to make some ex.trapolations.

   3     control to not act impulsively.                                                     3   Q       i\nd I just want to make clear I I m not confusing Ax.is I

        Q         And would it have, in fact, surprised you somewhat if an                   4   and Axis II.     I want to talk about Axis II because that is a

   5    e;<traordinari,ly bright and manipulative individtlal who you                        5   diagnosis that the previous psychiatrist has diagnosed him

   6    t1":!re   assessing in jail; who wanted to get out of jail, in fact                  6   with.     And I just want to discuss with you your understanding

   7    told you, "No, I can't confine myself to the conditions of.                          7   of studies that those apply to.

   8    bond, I'm. going to go kill somebody"?             Would that have                               Are you familiar with studies that indicated a positive

   9    surprised you?                                                                       9   correlation between those identified or diagnosed with

 10     l\        No -- pardon me, yes, it would have surprised me.                         10   narCissistic personalil:.y disorder and violent crime?

 11      ce,~tainly expect a certain amount of compliance in the jail                       11 ·11       It ~ould not surprise' me that those were studies

 12     setting.                                                                            12   available.

 13     Q         I t11ant to go back to the narcissistic person~lity                       13   Q       And that. in fact there is a growing body of research

 1,a    disorder.                                    1
                           Are you ~ware that ther~ s a significant                         14   ind~cating that aggression is closely associated in adults

 15     association with _vitrious types of violent crime in Cluste.r B                     15   with narcissism?
                                                                                                    !
 16     personality disorders, and specifically a positive correlution                      16   A    Again, does the person have the ability to restrain their

 17     between narcissis.tic Personality disorder and incarceration                        17   behavior when they are upset?       That is the question.

 18      for viol-ent crimes?                                                               18   Q       A.re you familiar,   though, with the body of research, a
            I")
 19     A       l\;,ain we're confusing 1\.xis I and Axis III.      Axis iI is              19   grot:-1ing body of research indicating a close correlation
                                                                                                     i
 20      the chronic way we all live.         These are our personality                     20   bet'feen individuals incarcerated for violent crime and

  21     tr.nits.        These are things we I re even not aware of most of the             21   nar?issism?

  22     time.      lmis I is what g~verns us sort Qf in a current state.                   22   A       And many other personality disorders as well.

  23     Q        I understand.     And: I understand that you've iJ1dicated                23   Q       ?i..r;e you familiar with a part~cular study entitled "The

  24     that your prediction is limited to the ne}ct couple of days.                       24   CliOical Characteri.stics of Hospitalized Military Patients
                                                                                                     I                                    ,

  25     A        1\nd we can extend   a little   bit, . since the .Supreme Court           25   with Narcissistic Personality Disdrder"?
                                                                                                                                          I




                                                                                    02768                                                                                         02769
          Case 7:08-cr-00054-EKD
               Daum - Cross by Ms. Fitzgerald
                                                                               17
                                              Document 411-2 Filed 10/05/20 Page     212byof
                                                                             Daum - Cross  Ms. 487      Pageid#: 5981
                                                                                                Fitzgerald
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  l   A        :.et me check and see if that is -- no.         The only one I                                             MR. DAMICO:     Your Honor, let me impose an oPjection.

 2    had was "Dangerous States of Hind" by Stephen Diamond.               .                                     think this is improper examinatiln.            She's asked the doctor

 3    O        And in that particular study it indicates that when a                                     3 if he's       familiar with the study,      jd he's       given his answer.

      PP.rso:i 'with narcissistic personality disorder becomes                                           4   And t;1en she is reading the study         1s
                                                                                                                                                        1
                                                                                                                                                             if --

 5    frustrated or blocked in attaining his goals, he becomes                                          5                 THE COURT:     She asked if he would be surprised of

 6    raqefl.11, if devalued and rejected, at the frustrating object.                                        certain results from the ,il;udy -         i
 7    ~ggression and even murder are very conceivable outcomes.                                          7            Overrule the objection.       Go a~ead.

 8    A        Now, are we talking about Dr. Diamond's study, or are we                                  8   BY MS. FI!ZGERALD,

      talking about another study?            Because I can discuss                                          Q        -- th~t there is a powerful r~lationship between this

10    Dr. Diamond 1 s study; I have it in front of me.                                                  10   particular disorder, narcissism, and violent behavior,

11    Q        I'm talking_ about Dr. Leetz's study.                                                    11   suggesting that t:he sense of entitlement, grandiosity, and

12    A        You I re asking· about -     you know, there are six million                             12   interparsonal exploitativeness, lack of empath}", and envy that

13    sr:ientific articl·es in The National Institute of Health's                                       13   characterize this disoI'der are correlative of violent

14    database over the past 40 years.               I'm not familiar with all of                       14   behavior?        Would that surprise you?

15    those articles -                                                                                  15   A        Okay.    Now, again you're talking a correlation as opposed

16    Q        Are you aware of a study that compared specifically                                      16   to, cause and effect.        And one of the things we are taught in

17    narcis;sistic. personality disorder with violence among female                                    17   me~icine and analyzing statistics is correlations are not

18    pd.son inmates?                                                                                   18   cause and effect.         Correlations are two thi!1gs that are

lS    A        A.gain, with six million articles in the medical                                         19   as~ociated together_         The question is, is there a cause and is

20    literature, it's impossible I think for me, I'm pretty sure                                  · 20      there an effect?       YE!s, when you have a correlation, then you

21    for most human beings,        to have any familiarity at random with                              21   loc;,k further to see, is there a cause and is there an effect?

22    e•Jerything.                                                                                      22            A.~d again, I would need to draw that to your attention.

23    0        rlould it surprise you that that particular study                                        23   It's an interesting idea.           I would like .to know if there is        ~

24    indicated that there was a strong, powerful relatiOnshlp                                          24   true cause and effect.         From the way you quoted that study, I

25    between the specific                                                                              25   would a~sume that study just said, "Bey, there is an




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                                                                               19                                                                                              .20
                       Daum - Cross by Ms. Fitzgerald                                                                  Daum - Cross by Ms. Fitzgerald

 1    epidemiology_ association here.           We   need to look further and                      and less cartain about what's going on.

 2    sef'l if there are causes, and, if so, what are those causes. "                         2    Q         In reviewing the pos~s, you obviously are aware that on

 J    Q        Would you agree that there is also a growing body of                           3    multiple occasions, Mr. White has indicated a desire to go on

      r.eseacch indicating that there are -- the propensity of                                     a murder rampage in the city of Roanoke?

 5    individuals w,i~h pathological narcissism who react with                                5    A •       A.gain, that was pre-October 2008.          And one of the

 6    frustcation and intense rage is well recognized?                                             things --

 7    A        Okay.   Now we' re talking of narcissistic personality, and                    7    Q         And we have none of his writings since that time?

 8    the:n you drifted into pathological narcissism, and I think                             B    A         Right.      But we also know from extrapolating from treating

 9    ,.,~' re confusing the two.                                                             9    people with men~al illness, that frequently giving them a time

10             Pathological narcisstsm is a syndrome clinically, but. it                     10    out is therapeutic in and of itself.                It was used widely

11    is not recogni-zed as a di.agnostic criteria.            So again, we can              11    before World Nar II because, basically, we didn't have much

12    have· dif.ferent -- pick up different patterns of behavior based                       12    else to give people.            And si~ce then, it's been well

13    on our clinical experience; in my case, over three decades of                          13    demonstrated that if you put people who are dangerous in a

1,1   doing th.is type or·work.           And in individual cases, given                     1:4   hospitalization or isolated situation for a period of time,

15    individual situations, given individual other intervening                              15    frequently they spontaneously remit and no longer have

l'i   psychological and social factors, yes, we can have people                              16    dangerousness without any other major intervention.

17    acting out.       We can have people acting out in any given                           17    Q         f.re. you familiar with a Secret Service_ study that was

18    situation .                                                                            18    done in 2004 that focused on mass murderers in school

19
          •    So I think you' re trying to extrapolate too• far from th'"at                 19    settings?

20    particular study into -:-                                                             . 20   i\        No.o
                                                                                                                  I
21    Q        That was actually a d.ifferent study that          was going                  21    Q         Wou~d it surprise you to learn that in tha~ particular
                                                                                                                  i
22    into.                                                                                  22    study th~t was done by the Secret Service, they identified
                                                                                                                  I
23    A       . Y~u 're extrapolating too much into how much we can                          2:,   t.hdt     the! largest group of attackers exhib.lted an interest· in
                                                                                                                 !                           .
24    predict Mr. White's future dangerousness.              And again, we both              24    violence! which was expressed in their own writings, such as.
                                                                                                                  ;
25    agree that as yon begin to extrapolate, you begin to get less                          25    poems,. e~says, and journal entries?




                                                                                    02772                                                                                                     02773
                                                                                  21                                                            \                                        22
       Case 7:08-cr-00054-EKD
             Daum - Cross by Ms·- Fitzgerald Document 411-2 Filed 10/05/20 Page
                                                                           . Daum - 213   ofMs.487
                                                                                    Cross by           Pageid#:
                                                                                                 Fitzgerald ,   5982
       1\          •)k.ay.     I can take' that as a fact.                                              versus this person has been tJinking about suicide.                      And the

 2     Q           .!!.nd tt_,:at they have also found that the profile of a mass      .            2   vast majority      of people    that   Je ·deal with         clinically with

 3     kille::: looks like a clinical ~arcissist?                                                       suicidal behavior, ~uicidal tJinking, do not go ·on to act.

 4     P.          ?l~ay.      Again, that's a fact that, again, I would have to                        What •,ie try to do is modify tJe psychosocial environment so
                                                                                                                                                I
 5     so?e    t~~         study, I would have to see the data that led to that                     5   they no longer feel that driv~ to self-destruct.

 15    cm1cl·Jsion.             In medical science, we are trained to say, "Okay,                               And the analogy is tfle s~me with homicidal behavior, thci.t
                                                                                                                                                    I
 7     l·!h;:it is the conclusion? 11        And then you look back and say,                            we ar-=1 trying to modify the ps'ychosocial drive so that the
                                                                                                                                                    I
       "Okay. how did the person demonstrate that conclusion?                   How                 8   probability of acting this way': is greatly modified.                    So,

 9     djd th-ey arrive at it?"                                                                         again, I think we' re extrapolating from the study beyond what

10                 So you're taking a conclusion done I'm sure by a very. --                       10   we can get from that study .

11     p<:!opls- who are very willing to be good scientific                                        11   Q       .ltre you aware of studies that indicated that, in fact,

12     investigators.              But, ~gain, I would like to know how they got                   12   narcissistic personality disorde~ is one of the ·strongest risk

l3     th~re and why they came to that particular conclusion, and we                               13   fa~tors for. mass murder, .particular.Ly when combined with other

14     don't have that data right not,.                                                            14   emotional turmoil such as depression?

15     Q           tlould it surprise you to learn that in th~t study, they                        15   A       Okay.    And I think the key item here is depression, which

16     recognized or they found that in 75 percent of the ·cases of                                16   is an Axis I problem.          Okay?        You have a tendency, and then

17     mass murder in these settin~s, the killer had in fact                                       17   1-'hat other factors are• there to trigger or to magnify this

18     disclosed his plan to somebo·dy, or in some· form; and, in fact,                            18   tendency.

19     th~· Columbine shooters put their intentions out on the web,                                19   Q       I want to break it up,         though.          The studies have found

20     just as Mr. White has?                                                                      20   that actuall:y narcissistic personality disorder itself is one

21     A           !\.gain, when you deal with suicidal behavior, we also have                     21   of tha strongest risk predictors when combined with other

22     frequently people who have visited a professional physician ~r                              22   emotional stressors such as depression; in fact, it escalates

23     mr.?dicsl person within a couple o.f weeks of actually doing the                            23   almost exponentially.

24     deed.          However, suicide is such a rare event that it is very                        24   A       You have given the key right there, do we have other

25     difficult for a clinician to say this p~rson is suicidal                                    25   identical stressors, and I do not see any -




                                                                                           02774                                                                                              02T




                                                                                  23                                                                                                     24
                              Daum - Cross by Ms. Fitzgerald                                                            Daum - Cross by Ms. Fitzgerald

       Q           Would you agr-ee with me that: beiOg incarcerated for a                              get in those situations; some people do well in them; some

  2    significant amount of time is a stressor'?                                                   2   peo'?le make a career of doing that sort of thing_

                   It's al.So an educational device.         People can learn from                  3   Q       And putting oneself in. dangerous situations is... in fact"

        their mistakes.             And I will give you an example in Mr. White's                       one of the criteria for the histrionic personality disorder

 5     history i~ yo,u allow me to.                                                                 5   that Dr. Corcoran also di~gnosed this defendant with?

 r,    Q           Of course.                                                                       6   A       And, again, I would like to see what diagnostic testing

 1     A           Mr. 'White was arrested and convicted of assaulting                              7   Dr. ·Corcoran did, other than a clinical interV'iew, to· come up

 8     policemen about the age oE 18.                                                               8   wi t)'.l those personality diagnoses.                 We ju.St don't h~ve that

 9     Q           19, yes.                                                                         9   dat~, I'm not familiar with it, so I'll assume that ",e will

10     A           Okay.       Not-1, since that time, he has been accused of                      10   just have to say that it was an opinion of Dr. Corcoran's

11     assault many times, but h~ has never been convicted of                                      11   based on his experience.

12     transgressing that lega;t behavior, up until the present.                                   12           And by the way, I happen to not agree wholeheartedly with

13     m":an, the crimes that we' re talking about here are not                                    13   Dr. :corcoran's personality diagnosis, based .on my experience.

14     ph}1 sical assault.            He has the capability of learning from                       14   Q       h'hich again includeO. no actuarial evaluation whatsoever?

15     previous mistakes.                                                                          15   A       But again, did Dr. Corcoran do that?

15     Q           Although not convicted -- you were provided with pOlice                         16   Q       1·wasn't present at that hearing; I don't know the answer

17     ~reports, correct?                                                                          17   to that.

13     A           But                                                                             18   A   I   I i"ould have to assume that was not done by the basis of
              I)
19     Q           .t\nd                                                                           19   the jtranscript that I read.

20     II          -- each case is taken separately, ·each case was examined,                      20   Q       Were you also aware when -- we talked a little bit about

ZL     e;:ich ~r1se he did not meet criteria for convict.ion.            To me that                21   the confluence of narcissistic personality disorder and other

22     says that he is innocent.                                                                   22   stressors.      Are you aware, at le~s't at the time of

23     Q           He certainly has found himself i'l dangerous circumstances                      23   Dr. Corcoran's report, Mr. White's wife was on disability

2 1!   on an awful lot of occasions, though, has he not?                                           24   because of stress?

25     11          So do Green Berets and Navy Seals.          I mean, some people                 25   A       Thank you for telli~g me.               No, that did not come out in
                                                                                                                                                          I




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        Case 7:08-cr-00054-EKD
              Daum - Cross by Ms. Fitzgerald Document 411-2 Filed 10/05/20 Page
                                                                                 25
                                                                            Daum - 214   ofMs.487
                                                                                   Cross by
                                                                                                 I Pageid#: 5983
                                                                                               Fitzgerald
                                                                                                                                                                                   26



        my review of the records .                                                                 l    Q        Is that a stressor?

  2     Q        It's actually ~n Dr. Corcoran 1 s -- actually, maybe it                           2    A        Yes.

  3     ,,,asn' t in his report; it may have just been in his testimony.                           3    Q        Are you aware that the fact that his incarceration. and I

  ,J     I don't recall.          I beli~ve it was in his report.                                  4    assume his wife's disability f~r stress
                                                                                                                                                   !           have probably had

                 I will accept your word for it.              will accept your word                5    some economic impact upon them?           I        •
         for it.                                                                                   6    A        He discussed last evening sohae of. the economic

                Mr. Whit.e and I discussed his wife's illness.             It was a                7    difficulties he had.           We a~l hav~! eco~omic difficulties.

  1:1   P-3rticularly stressful time for him.                His child was also quite                   Q        And are you familiar with      Mr/.   White's statement to

         ill at the time.                                                                          9    Dr. Corcoran that his personal life ls problematic?

10      Q        No.     I'm talking about at the time Dr. Corcoran condu~ted                    10     A        fA'ine has problems.     Most people that I 1 ve talked to in a

11       his e,,aluation of the d-a.Eendant.           So this is nine. ten months               11     clinical situation have problems.              Que~_tion:   ~an we manage

12.     after she t,.,as hospital! -zed.                                                         12     our problems without getting in deeper trouble with them?                   Can

l3       /1.     I say.       Okay.                                                              13     we manage our problems so that we can find some level of peace

14      Q        Does that also give you some indication that there are                          14     and relaxation and calmness?            those are the issues involved

15       p~rha'ps stressors •_going on in the White house'hold --                                15 here.

16       Tl.    Okay.                                                                            16                     MS. FITZGERALD:    Just a moment.

17       Q       -- a stressor that, when you tak~ it in ·conjunction with                       17     aY MS. FITZGERALD:

lR       the    narciSsistic personality disorder diagnosed by                                    18    Q        You made some reference to Green Berets and other

19       Dr. Corcoran, would indicate a significant risk for violence?                           19      individuals.        Do you have any indication t:.hat Mr. White is a •

20       ~      Mo.      I disagree.     I disagree.     I   think that normal                    20    military person?

21       ps-ychological stressors, Einancia~, arguments with one's                               21     A        No.

22       $pause --·                                                                              22     Q        Or has been trained in any kind of combat or anything

23       Q       r\re you aware that Mr. White is going through bankruptcy                       23     like that?

24       proceedings?                                                                            24     A        No.

25       A       I am.                                                                           25     Q        And it's somewhat different _for a Green Beret to put




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                            Daum - Cross by Ms. Fitzgerald                                                               Daum - Cross by Ms. Fitzgerald

         1".hems~lves in a dangerous sii:uation, or a law enforcement                                  to the next few days?

        officer, or somebody like that, as oppos.ed to a private                                  2    A·        My predictive ability gets less and less accui:-ate the

 3· citizen, is it not?                Th0se are ·different circumstances,                        3    further out we go, just like weathermen.
        obviously?                                                                                4    Q         And psychiatric evaluations have been found -           based on
 5; i\          Training and experience is different.             Psychologically,                5    clinical evaluations only, have been found to be more wrong

 6      sl'.>me people seem to thr.i.ve in being in Stressful situations;                              than right.          We   already ta-lked about this in the beginning.

 1      some people do not.                                                                       1    l\.       Okay.

        Q       Would you also agree with me· that a tendency to violence                              Q         ?.nd ~ctuarial evaluations have been· found to be

        has some corre_lation. wi~h an individual I s -- their                                    9    sig;iificantly more accurate.

10      availability to a weapon?                                                                10    A         Okay.
11      A       If you have a study that supports that, that's okay.                            . 11   Q         And those were not done?

12      Mr. ~'lite     IS    situation, he had accessibility to weapons prior                    12    A         Actuarial testing was not done, yes.

13      to his incarceration.           One of the conditions of his bond, that                  13    Q         Correct.

14      he and I discussed, is the fact that he does not have any                                14    A         Okay.

15      access to weapons.            He is aware of that.                                       15    Q         .l\.nd you 1 re not particularly familiar with a narcissistic
16      Q       Yes.        If you could, just describe for. me what Mr. White's                 16    pe~~onality disorder ~ith which another psychiatrist has
17      nf:fect w.is when you spoke with him last evening.                                       l7    dia~nosed Mr. White?

18      A 'ij   In one word, level.        He was cordial.       He did not have any             18    /1.       Whoa.    I think you're stepping beyond the bounds there.
19 ·of the d,ange in voice, mannerisms, body movements, sentence                                 19    I t~ink you• re taking narcissistic personality and parsing out

20      structure that I ·have come to associate with people who are                             20    a 17t of traits that can be ex.agg'erated by othe:c psychological

:n      c:'1inic,3lly de~ressed.                                                                 21    p:coblams. And when I focused on the diagnoses I put in my
                                                                                                           i •
22      Q       I just want to recap quickly.           You 1 ve indicated that your             22    sum;nary to you, I was looking at some very significant·
                                                                                                             I
2.3     diagnosis is essentially confined to within the next few days?                           23    prefctors of violence when coup:led with personality disorder;

2~      /1.     No.    My diagnosis is a psychiatric evaluation.                                 24    som~ of which were the paranoid delusional di,.sorder,

25      Q       CorreCt.        Your predictiv'e ability is limited or confined                  25    sch~zophrenia. bipolar disorder          •i obsessive-compulsive


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                                                                                   29                                                          I                                30
       Case 7:08-cr-00054-EKD
             ·oaum - Cross by Ms. Fitzgerald Document 411-2 Filed 10/05/20 Page
                                                                             Daum215    ofby487
                                                                                  - Cross           Pageid#: 5984
                                                                                             Mr. Damico

       disord~r.       Those are sir1nificant.         And also su~stance abuse,                                      MS. FITZGERALD:
                                                                                                                                               I
                                                                                                                                           I don't have anything fui:-ther, Your

 2     which we d~n•t have any indication of.                  Now, these are high                2   Honor.                                   I
 3     pi:edicl:ors of violence Hith or without a personality disorder                            3                   THE COURT:      All right.

 4     a.1:sociated.     And I think what you're saying ls, yeah, there                           4            Does defense .counsel have\ any questions to ask Dr. Daum?

 5     are personality dtsorders bere.                                                            5                   MR. DAMICO:      Just a couple.

               B11t the research side of it did not take into account                             6
                                                                                                                                               I
                                                                                                                                       CROSS-EXAMINATION
                                                                                                                                               I

 7     substance abuse issues, that you at least enumerated to me,                                7   BY MR. DAMICO:

       dJd not take into account the presence of psychoses, of                                        Q        If I understand what your testimony is today, Doctor, you

       impulse control disorde,:s                                                                 9 ·basically agree with Or. Corcoran's position that this man is

10     Q       But these were studiF?s that were specifically fC:Jcused on                       10   not an imminent danger to himself or other people?

11     n.::1rc:lssistic personality disorder.                                                    11   A        Correct.

1'- l\         Y~ah, but we don't know how the researchers controlled                            12   Q        i\nd that he undersfands and is capable of abiding by the

13     foe th-ase particular factors.              Okay?     I'm not a trained -- I'm            13   te.t:ms and conditions enumerated by Judge Urbanski as part of

14     not trained in analyzing research reports, anyway.                    I would             14   the bond decision; is thai:. right?

15     have to discuss this with a colleague that would be familiar                              15   A        Yes.

115    w.i.th some cf the statistics involved.                                                   16   Q        So we now have two board-certified psychiatrists who have

               But, you know,    bas.ically what. we' re saying is, yeah, you                    17   ~valuated this man that both say it's safe to release him

16     can have a lot of potential, but do you have the factors that                             18   under the conditions as described by Judge Urbanski?

19     wouid light the spark?          And we don't have any of those                            19   A        I see no contraindication from 'a psyChlatric standp~int

20     beha-.,·ioral loss-of-control syndromes exhibited by Mr. White                            20   to releasing him under the conditions set by Judge Urbanski.

21     that would cause that to become a magnified .i;,roblem.                                   21                   MR. DAMICO:      Thank you, sir.

22            • '!ou're saying ther.'!'s a potential here.           Yeah.   There's a           22                   THE COURT:      Any additional questions of this witness?

23     potential we. could have an earthquake right now, but do we                               23                   MS. FITZGERALD:      No, Your Honor.

2.4.   have enough other thing.s going on that the~ b~ilding would fall                          24                   THE COURT:      Thank you, Doctor.     It's good to ~ee you.

25     down?                                                                                     25                   THE WITNESS :     Thank. you, Your Honor.




                                                                                         02782                                                                                        027




                                                                                  31                                                                                            32
                    U.S.A. v, William White - 9/18/09                                                                 U.S.A. v. William White - 9/18/09

               Hay I make one slight correction with what the Court was                               intends to do.         And I found particularly terrifying the
 2     presented?                                                                                 2   statistic that said that 75 percent of those school attackers

                   TllE COURT:    Yes, sir.        You misspelled a word.       I saw             3   had' br?adcast their intent· to individuals.             It's a cry for
       that.                                                                                          hel.P:     "Please, somebody, stop me from doing this."           And

                   THE WITNESS:     !Un I em::used?                                               5   Mr.; White has made that same cry for help.              He has put out
                   THE COURT:     Yes, ·sir.                                                          theFe what he intends to do, and it's up to us to make! sure

               Hhat does the government have to ·say about this?                                  7   tha~ he doesn I t .
                   HS. FITZGERALD:      The government continues to believe                       8                   THE COURT:    What does counsel for the defense have. to

 9     that Mr. White should be detained.                  It ls _apparent that this

10     particular psychiatric evaluation was --                                                  10                   MR. DAMICO:     Well, Your Honor, I think Dr. Daum, t~ho

11                 T!IE COURT:    Was limited.                                                   11   is Certainly known to this Court and widely respected in this

12                 NS .. FITZGERALD:    -- extraordinarily. limJ.ted, and his                    12   are:3- for his professionalism, did exactly what you asked him

13     findings are limited as well to the very, very near future,                               13   to do.·     He did the evaluation as described word for word in

14     or, as he put it, imminent.         Doing studies -- or doing                             14   the; court order.        He has done that; he did it in an

15     research myself i~ preparing .for the cross-examination of this                           15   appFopriate way.         I think he has explain~d his findings.           And
lG     particular doctor --                                                                      16   obv~ously no one has a crystal ball that predicts the future,

17                 THE COURT:     And you did a good job cross-examining                         17   but: within the possible limitations of predictability, he told

18     him.                                                                                      18   us his assessment, and it was the same assessment given to the

19.                NS. FITZG,ERALD.:    Thank you, Your Honor -- the                             19   Court in Chicago.

20     government is further alarmed ,at the diagnosis enter~d by                                20       : We talked about thi~ last time we Were here, earlier _in

21     Dr. Corcoran of a narciss.lstic personality disorder, which                               21   the week, arid I asked the Court at that time to release my

22     appears to be a very signlficant predictor of ·violence.                  And             22   cli~mt if he passed, so to speak, Dr. Daum 1 s evaluation.                I

23     the narc!ssi~m in particular s eems to have a great de!al o.E                             23   thii"lk he has passed it.
                                               1
                                                                                                                                                   I
24     ovei:-lap with ind~vidual~ who have ir. fact committed mass                               24            I think Judge Urbanski set s~gnificant restrictions on

25     murde:::-, which Mr. ·White;has repeatedly published that he                              25   his. activities;         believe my clie~t understands that.        The
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      Case U.S.A.-
           7:08-cr-00054-EKD
                   v. William White - 9/18/09 Document 411-2
                                                                       33
                                                             Filed 10/05/20 Page
                                                                            U.S.A. v. 216      of~lhite
                                                                                      l'lill.iam   487 9/18/09
                                                                                                          Pageid#: 5985           l                         34



     firearms lia•Je been removed from his home.       ·I have them                                   ·THE CLERK:   For the proplrty portion.

 2   p~rso:ial!y locked up l~ my safe, and I think we' re ready to                      2              THE COURT:
                                                                                                                                  I
                                                                                                                    And put up the. property.
                                                                                                                                  I .
     gci.    I would ask the Court to do what you indicated you were
                                                                                                      : : :::::     ::::t~roperl yes.
     going to do ,..,hen we were here on Tuesday, and release my

 5   client on the terms and conditions enumerated by J.udge                                       And I'm going to ask the probation service, you know, to

     Urbanski.                                                                          6
                                                                                                                                  I
                                                                                            keep in contact with Mr. White and to report l:!o the Court

                 THE COURT:    Anything you want to say in response?                    7   anything that concerns you.           I
                                                                                                                                  I

                 HS. FI'tZGERALD:     I just wanted to clarify, Your Honor                             THE PROBATION OFFICER:     '¥es, Your Honor.

     d.i.d not indicate you would .release him dependent upon the                                     MS. FITZGERALD:    Your Honor, the g_overnment would be

HI   psychiatric e\.·aluation, but that it would be, a factor· the                     10   appea!.irig this to the Fourth Circuit.      I would ask you to ?tay

11   Court would consider, along with the cross-examination of that                    11   your order pending that appeal.

12   particular evaluation.         l\nd I think" that has established he is           12              THE COURT:   The Court is not going to stay its order.

13   in fact a danger.                                                                 13   'Ihe order can be executed immediately.

14               MR. DAMICO:    l think I said you would consider it.                  14          Any other mat_ter to come before the Court at this time?

15   If. I didn't say it, that was .certainly my intention.                            15   If not, I' 11 ask the marshal to declare a short recess, and

16   Obviously the Court had not tipped your hand one "fay or                          16   we' 11 take up the next mattec:.

17 .another as to what you were going to do, and that would be                         17          (Court recessed at 10:21 p.m.)

18   inappropriate because you hadn't heard the evidence a-t that                      18

19   time.                                                                             19                               CERTIFICATE

20               THE COURT:    Well·, what the Court is going to do, the               20   I,    Judy K. Webb, certify that the foregoing is a

21   Court is going to confirm Judge Urbanski' s opinion to release                    21   correct transcript fiom the record of prO~eedings in

22   t1c. White under the conditions of the bond that Judge Urbanski                   22   the above-entitled matter.

23   h;ois set forth.   I 1 m goj ng to require the bond be executed by                23

24   Mr. White, by his wife, and by his father.                                        24   /s/    Judy K. Webb                 Date:   9/20/09

25            believe his fa~her has already executed, has he not?                     25




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PPG6                        EXHIBIT  H(h)                               Page 1 of 1
 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 217 of 487 Pageid#: 5986


   MARDO 606.00 *            MALE CUSTODY CLASSIFICATION FORM          *    06-16-2020
 PAGE 001 OF 001                                                            06:34:19
                                 (A) IDENTIFYING DATA
 REG NO .. : [13888-0841                FORM DATE: 06-16-2020              ORG: MAR
 NAME .... : WHITE, WILLIAM A
                                            MGTV: NONE
 PUB SFTY: SENT LGTH                        MVED:
                                 (B) BASE SCORING
 DETAINER: (0) NONE                    SEVERITY ....... :   (5) HIGH
 MOS REL.: 200,                        CRIM HIST SCORE:     (04) 5 POINTS
 ESCAPES.: (0) NONE                    VIOLENCE ....... :   (3) 5-10 YRS MINOR
 VOL SURR: (0) N/A                     AGE CATEGORY ... :   (2) 36 THROUGH 54
 EDUC LEV: (0) VERFD HS DEGREE/GED DRUG/ALC ABUSE.:         (0) NEVER/>5 YEARS
                                (C) CUSTODY SCORING
 TiME SERVED ..... : (4) 26-75%        PROG PARTICIPAT:     (2) GOOD
 LIVING SKILLS ... : (2) GOOD          TYPE DISCIP RPT:     (5) NONE
 FREQ DISCIP RPT.: (3) NONE            FAMILY/COMMUN .. :   (4) GOOD

                           --- LEVEL AND CUSTODY SUMMARY
 BASE CUST VARIANCE     SEC TOTAL SCORED LEV MGMT SEC LEVEL       CUSTODY CONSIDER
 +14 +20      -4          +10      LOW          N/A                 IN   · DECREASE



 G0005         TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED




https://bop.tcp.doj.gov:9049/SENTRY/JIPPG60.do                                   6/16/2020
   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 218 of 487 Pageid#: 5987

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                             Individualized Reentry Plan - Program Review (Inmate Copy)                                                                                                                                   SEQUENCE: 01501878
                                          Dept. of Justice/ Federal Bureau of Prisons                                                                                                                                  Team Date: 06-16-2020
                             Plan is for inmate: WHITE, WILLIAM A 13888-084                                                                                                                                                          '
                                                                                                                                                                                                                                     I



              Facility:                      MAR MARION USP                                                                                                 Proj. Rel. Date:                       03-06-2037
               Name:                         WHITE, WILLIAM A                                                                                               Proj. Rel. Mthd:                       GCT REL
         Register No.:                        13888-084                                                                                                        DNA Status:                                                  / 06-30-2010
                 Age:                        43
         Date of Birth:
beta,ne.rs •.                                                               ., .. ! . , . . . . - . ' • .:-·~:.


\Detaining Agency
NO DETAINER

Current Work ASS ignm eh ts ·.: :. ·:-. .~\ .-:}:::' . . :- .. ..,-.;:. ;:-, -~ ·_ .,=. . " - ~ :-l~-:-~ \~}?\::~.:%~~}~~(r~/:,.Y-,.:\;:·:} :.; . . : · ·, '. i'f :·. :.:. -~ ·) :;~.:: ' <.:, \,:-:~J:<-~·..._:::·:.-::\}~--l-tf~ ~.;.~~,:·.:::-:!:.:;;:~ ..~- ~-:,, __ :~ \-~-~'./~
JF~cl. . .Assi~n~~~t ·.•. Des~r~~t;~~ · · ·.·-·-,-. ,-;.:.'. '.-·:.                                                             Start . <,.-,;r:.•:r. ·::/;.-• .. · .-•:_•:··'·':."~'"''.'' ·:~,-L'':'":",-i:~·\::•'~~--,1

MAR                   I UNASSG                           I UNIT INMATES UNASSIGNED                                                                                  02s07-2018
Current Educatio11·111foi-mation · :: :•,•~-; .· .-._ '. :1 '' -: '· ,.-i;i,,t''•''""· ·• ~-• •··'.:;'.,,,:r-~\:.?;;\ ·-•-~-)~:~-·:} ,,,,,,c.°/s;,,'2' \'·"••,'·,.-'·:'" ;:,,x,c'i'~'-· ;'i:.:~·-,,~'•:<·
                                                                                                                                                                                                                                                                  0\'. ;">~·::~
JFacl                 Assignment                         Description                                                                                                 Start                                                                                                          j
MAR                   ESL HAS                            ENGLISH PROFICIENT                                                                                         04-29-2010
MAR                   GED HAS                            COMPLETED GED OR HS DIPLOMA                                                                                04-29-2010


\SubFacl Action
MARCMU                   C                              ANGER MGMT #6                                                                                               03-20-2020                                          03-30-2020
MARCMU                   C                              ACE VIDEO NATURAL WONDERS                                                                                   01-28-2020                                          03-05-2020
MAR CMU                  C                              CMU ADV OIL PAINTING                                                                                        12-20-2019                                          03-16-2020
MARCMU                   C                              ADVANCED NUTRITION                                                                                          12-12-2019                                          03-16-2020
MARCMU                   C                              CMU COSMIC ODYSSEY                                                                                          09-26-2019                                          11-14-2019
MARCMU                   C                              CMU ANATOMY CLASS                                                                                           07-15-2019                                          09-20-2019
MARCMU                   C                              CMU ACRYLIC PAINTING                                                                                        07-15-2019                                          09-20-2019
MARCMU                   C                              CMU EARTH SCIENCE CLASS                                                                                     04-12-2019                                          06-12-2019
MARCMU                   C                              CMU COSMIC ODYSSEY                                                                                          08-07-2018                                          09-11-2018
MARCMU                   C                              CMUWATERC                                                                                                   10-17-2016                                          06-23-2017
MARCMU                   C                              CMU ACRYLIC PAINTING                                                                                        04-19-2017                                          06-23-2017
MARCMU                   C                              CMU LEGAL RESEARCH ACE                                                                                      01-09-2017                                          04-03-2017
MARCMU                   C                              ACE CLASS SPANISH 2                                                                                         09-21-2016                                          11-28-2016
MARCMU                   C                              ACE CLASS - PUBLIC SPEAKING                                                                                 10-05-2016                                          12-19-2016
MARCMU                   C                              CMU ACRYLIC PAINTING                                                                                        10-17-20,16                                         12-20-2016
MARCMU                   C                              ACE CLASS - BEGINNING SPANISH                                                                               06-20-2016                                          09-07-2016
MARCMU                   C                              CMU OIL PAINTING                                                                                            07-18-2016                                          09-20-2016
LOR                      C                              RPP#5 RELEASE REQUIREMNTS                                                                                   05-09-2013                                          05-09-2013
LOR                      C                              RPP#5 RELEASE REQUIREMNTS                                                                                   11-19-2012                                          11-19-2012
.Pisc_iplin'e"Hist9ry: .(La~t, 6. i:n6i:tJ'1~) .,-. ,· L.:·' :.:'. ·:~                                                        '~'<<·(.:,·::' •·::('::>l~-,~   0
                                                                                                                                                               ;: '.~'~'.-,'::.:·~.-:. ~~::~;· '':'~:;,•':~·~:·::;   :.~;:'.~·r.~~~:;::<:_:I;:;:t~:.·~;._;~::·· ,:~:::::';
\Hearing Date                                            Prohibited Acts                                                                                                                                                                                                            I

,~~:~;~:~~;e As.sign_m.e6::~:r;~u:•~; ;,·
•• NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS ••

                                                                                                                  ·-. ·'<:·-~ _..:-::;> ~- ~-: ,~·.;:~'::, · ;·~- -,,-..__ --~~-~-~; :·,.:· if/.:c\~~;:;/:;:),,.:,:,·.- _:;~~.:t·:r ;~ .c\~:-~S-TI~~t::::½J.S,;~fl
CARE1                                                   HEALTHY OR SIMPLE CHRONIC CARE                                                                              06-08-2010
CARE1-MH                                                CARE1-MENTAL HEALTH                                                                                         06-29-2010
Current. Me~ical ,Duty -Status'_A,s~fgrirrje11t'~ ~~>:c•::::,: ~: ::,' :.~n-~rS'))i'':'iT"~;,;fa ?(- ,-,~:.~;h:~·~'.'1/~~~                                                                         (:,,{•>:x•~:,::>T··'/?\;i;'t{f:~?~<:'~itf•i'~T-'.{',;ft;::;,,~~:;
!Assignment                                              Description                                                   _                                            Start                                                                                          I
    -~
NO PAPER                                                NO PAPER MEDICAL RECORD                                                                                     11-14-2008
REG DUTY                                                NO MEDICAL RESTR-REGULAR DUTY                                                                               06-28-2012
 Current Drug Assignments',,.:,,_·:: •·•-·                                                            .. :_,:·· . :,_,:_·:;,._1_,,,_:·::   ::',,;>//:'\,_·:,, ·,>>'.:/·.:,_:7::_:,.J]'.J?t/.:/,,?''}:t:.(.,:;;_ ::;//~;:-:;.,>-:"-?
!Assignment       Description                                                                                                                                       Start
ED NONE                                    D~UG EDUCATION NONE                                                                                                      11-19-2012
                                      ' :·... , :~..                    ...: . .         :: .:~·
FRP Detajls                                            __ ..: _:•.;.:. :·•~ __! •.. •.


Sentry Data as of 06-16-2020                                                                       Individualized Reentry Plan ~ Program Review (Inmate Copy)                                                                                          Page 1 of 3
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 219 of 487 Pageid#: 5988

                        Individualized Reentry Plan - Program Review (Inmate Copy)                                                                                                                 SE~UENCE: 01501878
                                     Dept. of Justice/ Federal Bureau of Prisons                                                                                                                Team Date: 06-16-2020
                        Plan is for inmate: WHITE, WILLIAM A 13888-084

/Most Recent Payment Plan
FRP Assignment:                               COM PLT                   FINANC RESP-COMPLETED                                                          Start: 06-21-2018
Inmate Decision:  AGREED       $100.00                                                                              Frequency: MONTHLY
Payments past 6 months:  $0.00                                                                             Obligation Balance: $0.00
Financial Obligations·.··
/N~. - -          Type          -                                                                                           Payable                                   Status '
1                 ASSMT                       $300.00                                                                       IMMEDIATE                                 COMPLETEDZ
                                                       ** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
2                 ASSMT                       $100.00            $0.00              IMMEDIATE                                                                         COMPLETEDZ
                                                   •• NO ADJUSTMENTS MADE IN LAST 6 MONTHS ••
3                 ASSMT                       $400.00                              $0.00                                     IMMEDIATE                                COMPLETEDZ
                                                       ** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
4                 ASSMT                       $500.00                $0.00              IMMEDIATE                                                                     COMPLETEDZ
                                                       ** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
P~~~e~~- I?.~~~i~~-:         .. - ._,~ ~-::,_:·.;:<·,-~i~ ~-~ . . ~~:- --~-~}-;~·=· ----:-~   ~Zf ~:.o ?:.:_·-~~~~;;· ·. :/. ~:·,r:·._,'?. -~--:-~·;_:>·--.- ~)< ·/.:~-·~:::,.~.~-·~---:-/"='_ ,_ :. :.· ~--., ~:~< !~_~.':'.: J~"'"L~~ e--~-~-.'_,--'\·.:~:,·/ <
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Trust Fund Deposits - Past 6 months: $1,800.00                                                                          Payments commensurate?                             y
New Payment Plan:                          **No data**

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Progre~s si~ce                 l.as_t ~eview ·..




Gom.ments




Sentry Data as of06-16-2020                                           Individualized Reentry Plan - Program Review (Inmate Copy)                                                                                                  Page 2 of 3
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 220 of 487 Pageid#: 5989
                      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 221 of 487 Pageid#: 5990




                                Certificate of Completion
                                               William White
                             Has successfully completed the requirements for:
                                                  Criminal Thinking
 :;:d
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                                                       (12 Hours)
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... ,__. I,                                       On June 30, 2020
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                                                                         J". Munneke, Psy.D.
                                                                         Chief Psychologist
                                                                         USP l\1arion


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                                             10/05/20 PageEXHIBIT  IH(j) (i)
Case 7:08-cr-00054-EKD Document

William True, Warden
                                411-2
                           August   23,Filed
                                          2019
                                                         -------   ,-------
                                                           222 of 487

                                                                   1
                                                                      Pageid#: 5991


                                                                   I
USP.-Marion
PO Box 1000
Mar.ton,: IL 62959

Re:   Request-{fmr compassionate release/ sentence reduction

Dear Warden True:
      B~rsuant to oral guidance from staff that all requests for compassion-
ate release should be in letter        form, this is a request pursuant to 18
USG §3582 due to the extraordinary and compelling circumstances presented
in my case~ namely that I have been repeatedly tortured while in United
States custody, and, am suffering severe physical and psychiatric symptoms
that make me unable to care for myself in a correctional environment.
      Attached is the medical report of Dr Samuels, who has conducted a
thorough review of BOP records, and, r~cords maintained by the USMS, and/
or, jails that contract with the USMS. According to Dr Samuels, when I
was-arrested in October 2008, I was not suffering from a major psychiatric
disorder.     However, I was, according both to my own recollections, BOP
recor~s~ and, other contemporary documents, repeatedly tortured during
the period 2008 to 2014.      Specifically, in 2008, I was held in a room
where the temperature was -20° F for five days, held in a room flooded
with human feces, and, held in a room overrun with insects.            Then, from
September 2010 to April 2011, I was held in extreme sensory deprivation
conditions.    Further, from May 20, 2014, to November 30, 2014, I was sub-
jected to extreme sleep deprivation.
~     As a result of these acts of torture, I now suffer from serious psy-
chiatric illness.     Specifically, I am suffering from Post-Traumatic Stress
Disorder·.    I am also suffering from Thought Dysfunction, s:uch as memory
loss, and, confusion, that is indicative of a physical brarn injury.              And,

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                                                                                                I
Case 7:08-cr-00054-EKD
I have   suffered from Document
                        periodic411-2 Filed 10/05/20 psychosis.
                                  stress-induced     Page 223 of 487As Pageid#:
                                                                        a result5992
                                                                                   of           I
this, I also suffer from extreme paranoia.                                   None of the~e symptoms were
present the last time that I was evaluated in 2009.
        Further, these symptoms make me unable to care for ~yself period-
                                                                                                 '
ically in a correctional environment.                                For six days in 2014, June 17,
2014, to June 23, .2014, I became unable to eat or drink water due to
stress induced psychosis, and, nearly died of dehydration.                                             The psychos-
is I have experienced has also left me at times stari~g at walls for days,
and, has caused self-harm.                         This cond1tion is also not likely to remit
during the term of my sentence, as it will likely persist for decades.
A major trigger of these symptoms is placement in any form of "special
                        II
h o. us i n g u n i t        t y p e c o n f i nem e n t ,_ a s we l l a s s tr e n uo u s c o n d i t i o n s o f tr a ve l ,
and, other situations commons to prison life.
         Given my injuries, and, the extraordinary manner in which they were
caused, I ask that you, and/or, the BOP, move in each of my four criminal
cases for a substantial downward modification of sentence, and, place me
into a pre-release environment.
        Thank you.
                                                                     3incerely,



                                                                     William A White #13888-084
                                                                     USP-Marion
                                                                     PO Box 1000
                                                                     Marion, IL 62959

PS:      Handed to ~ary Burgess, and/or, Kathy Hill, August 26, 2019.




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                          EX ·H I BIT H (j ) ( i i )
Case 7:08-cr-00054-EKD Document    411-2 Filed 10/05/20 Page 224 of 487 Pageid#: 5993
                          -----------~---



 WHITE, William
 13888-084
 CMU




                    Inmate Request to Staff Member Response :

 This is· in response to your request for a Compassionate Release/Reduction in Sentence (RIS)
 based oil the ciite1ia for extraordinary or compelling circumstances.

 A thorough review of your request was completed based on the information that you provided
 and based on our findings, we will not be pursuing a request for Compassionate Release bn your
 behalf. Program Statement 5050.50, Compassionate Release/Reduction in Sentence: Procedures
 for Implementation of 18 U.S.C. §§ 3582(c)(l)(A) and 4205(g), indicates inmates who fit the
 criteria for extraordinary or compelling circumstances which could not reasonably have been
 foreseen by the court at the time of sentencing. A review of your last comprehensive medical
 sunm1ary indicates your condition(s) is not to a point where you possess cognitive o'r physical
 limitations which st1bstanti~lly ~iminisb your ability to function in a correctional facility.

 Accordingly, you are not an appropriate candidate for RIS at this time. If you are dissatisfied
 with this response, you may file an appeal pursuant to Program Stateme1it 1330.18,


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 Administrative Remedy Program:, within 20 calendar days of the date of this response.



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Date   f
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                                                             D. cil-Istensen, Acting W~rden
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Case 7:08-cr-00054-EKD Document 411-2I (Filed
                           EXHIBIT      aJ1.- . 10/05/20 Page 225 of 487 Pageid#: 5994
                                                                       I
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                                                                                                            I.
                                                                                         U.S. Department of Justice
                                                                                                            !




                                                                                         Federal Bureau of Investigation
                                                                                         Washington, D. C. 20535

                                                                                       July 9, 2018

       MR. WILLIAM A. WHltE
       5725 ARTESIAN DRIVE
       DERWOOD, MD 20855

                                                                               FOIPA Request No.: 1399311-001
                                                                               Subject:- VOLKSFRONT

       Dear Mr. White:

                Records responsive to your request were previously proces:Sed under the provisions of the
       Freedom of lnform_ation Act (FOIA). Below you will find informational paragraphs relevant to your request.
       Please read each item carefully.

               Enclosed are 184 pages of previously p·rocessed documents and a copy of the Explanation of
       Exemptions. This release is being provided to you at no charge.                                  ·

                Please be advi,sed that additional records responsive to yoµr subject exist. If this release of
       previously processed m~terial does not satisfy your information neeqs for.the requested subject, you may
       request the additional records for processing'.                      '


                                                         Requester
                                                          :            ..
                                                                   Response
                                                          i
                                 Yes, process and provide me the additional records responsive to my subject.               L.
                                    :                     l.      ..               ~


                                 No, close my request.

                  Please sub~it your response w)thin thirty (30) days by mail or fax to-Work Processing
                  Unit, 170 Marcel Drive, Winchester, VA 22602;-fax nurtiber (540) 868-4997. Please cite
                  the FOIPA Request Nuinber in;your correspondence. !
                                                 !
                  lfwe do not:receive your decision within'.thirty (30) days of the date of this notification,
                  your request will be closed. 1 '         :     •        (.     .

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                 : For your information, Congress excl~ded three dis~rete catJgories of law enforcement and national
       security records from the requirements of the FOIA. See 5 U.S. C. §! 552(c) (2006 & Supp. IV (2010). This
       response is limited to those records subject to the requfrements of the FOIA. This is a standard notification
       that is given to all our requesters and shoultj ,not be taken as an indi~ation that excluded records do, or do
       not, ·exist.                                    ·          :

              ' For questions regarding our determinations, visit the www.fbi.gov/foia website under "Contact Us."
       The FO!PA Request Number listed above has been as~igned to your, request. Please use this number in all
                                                             1
       correspondence concerning your request.     '.               :      :                •     •


                • You may file an appeal by writing to:the Director, Office of !~formation Policy (OIP), United States
       Departn:ient of Justice, Suite 11050, 1425 ['!ew York Avenue, NW, V\i'.ashington, D.C. 20530°0001, or you
       may submit an appeal through 01 P's FOIAciniine portal: by creating ah ·account on the following web
       site: https://foiaonline.regulations.gov/foia/action/oublic/home. Yourfappeal must be postmarked or
       electronically transmitted within ninety (90) days from the date of this: letter in order to be considered timely.
       If you submit your appeal by mail, both the letter and ttie envelope should be clearly marked "Freedom of
       Information Act Appeal." Please.cite the FOIPA Request Number assigned to your request so it-may be
       easily id,entified.                                            ·         ·
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 226 of 487 Pageid#: 5995

                You may seek dispute resolution services by contacting the Office of Government Information
      Services (OGIS) at 877-684-6448, or by emailing oqis@nara.gov. Alternatively, you may contadt the FBl's
      FOIA Public Liaison by emailing foioaquestions@fbi.gov. If you submit your dispute resolution I
      correspondence by email, the subject heading should clearly state "Dispute Resolution Services," Please
      also cite the FOIPA Request Number assigned to your request so it may be easily identified.    i
                                                                   Sincerely,


                                                                   -~~
                                                                   David M. Hardy
                                                                   Section Chief,
                                                                   Record/Information
                                                                    Dissemination Section
                                                                   Information Management Division
       Enclosure(s)
            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 227 of 487 Pageid#: 5996
 ;cl    .


       (Rev. 05-01-2008)
                                            •        EXHIBI.'.:r- .I (b) ·


                                                        UNCLASSIFIED

                               FEDERAL BUREAU OF INVESTIGATION

                 Precedence:          ROUTINE                                         · Date:        01/28/2010

                 To:       Counterterrorism                      . Attn:          ID_T_o.....
                                                                                  ....  u....1 _ _ _ _ _ _ __,
                                                                                  SSA!
                                                                                  IA~I ---------r-----                     b6
                                                                                                                           b7C
                                                                                                                           b7E
                           All Field Offices                       Attn:          IDTl.supervisors
                 Frqm:       St. Louis
                               I Squad 91
                                ·Contact:       SA
                Approved By:
                                                                                                      b6
                                                                                                      b7C

                Drafted By:

                Case ID       #:I    336N-Sl-~§)gt)zaj: ("Pending-)
                Title:        VOLKSFRONT·
                                                                                                                         b7E
                               ERRORISM ENTERPRISE INVESTIGATION
                               0~-DT-WHITE SUPRE~CIST EXTREMISTS
                Synopsis:           To advise fieid t>ffic~s        I.                                      I
               1;_- - - - !_ ·_ _                                                               I·
                                                                                                            I
                Detail~:   Volksfront (VF)·is a violent white supremacist
                orga~i~atiq_~ based in the Midwestern United S.tates, with members
               _across !the na~i6n and in five foreign coµntries. Members of the
                VF advocate'the overthrow of the'.United States Government,
              ' referring to it as the "Jewnited 'States qf America," and the
                "Zionist Occupied Government (ZOG) ." Members also. advocate the·
                eradication of Jewish people, miriorities'and federal government
                employees. VF members subscribe :to '.the !'territorial imperative",
                or the'establishment of a whites :only hotneland in the United
                States,' which would someday seceq.e :f,rom government control.· VF
                members have committed numerous c).Ss~ults;on Jewish and minority
                indiviguals, mixed-race couples and are believed to have been
                involved in the.vandalism ot a Jewi~h Temple. VF members
                actively stockpile weapons in an~icipatiqn of a full blown race
                war and advocate Lone Wolf terrorism. The main political issue
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UPLC, :: _ J TO ~\CS/ECF
.B'< SLFy-\o ~-6- ·-                                                     I. . .                                      I
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       Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 228 of 487 Pageid#: 5997
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           To:         Crnmterte~rori s
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                                             From: St. Louis
                                                                      ••
           Re_:       I336:N~s1.:.1       1
                                      4021 01/28/2010                                             b7E




           for VF members worldwide is, illegal immigration. VF is: a White
           Supremacy group which has committed violations of Feder.al
           Statutes through the used force or violenqe to further their
           social and political agenda.
                     VF maintains a 10 acre ·c~~ound             in Fredericktown,
           Missouri. The property was created to be              a white homeland for
           their members. They have built a meeting              hall on the property
           and plan to make improvements as finances             allow. I
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                     A number of VF members have ·had previous or concurrent
           membership in other white supremacist organizations. These
           groups include the National Socialist Movement (lOON-LA-254834) ,.
           Vinlanders/Blood and Honour (lOON-IP-95602), Aryan N~tions_ (lOON-
           SU-64908), White Revolution, and Americap Front.
                        Volksfront was formerly associated with the Hammerskin
           Nation and the Vinlander Social Club, however that relationship
           became strained in 2008. since late 2009 these grb~ps have
           engaged in open hostilities~ resulting ip several beatings and
           one_· st_abbing. As of this d~te they are believed to be planning ·
           violent attacks against Hammerskin members.
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 229 of 487 Pageid#: 5998
 ,'
                                       UNCLASSIFIED

      To:        Counterterrorisrn From: St. Louis
      Re:_   j   336N-Sl-194021101/28/2010                                                 b7E




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                     St. Louis contact-1nrormat1on 1s as roiiows:
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                         Supervisor:              SSA
                                                       _____
                                                 ......,        __,
                                                                      (office)
                                                                      (cell)
                                                                                     b6
                                                                                     b7C


                     Case Agent:                  E!A-._I....;__ _ _ _ ___.I,
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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 230 of 487 Pageid#: 5999


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      'To:
       Re:   ICa11nterte;;:~~:r  from: St.
              336N-Sl- _______ 01/28/2010
                                                Louis
                                                          _
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                                                                    (office)
                                                    .,____ _ _ ___. (cell)

                   Co-Case Agent:
                                                                     (office.)       b6
                                                                     (cell)          b7C

                   Intelligence Analyst:            sos   I
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                                                                         I.
                                                                     ~office)

                   St. Louis is xeguesting      I                                I
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           Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 231 of 487 Pageid#: 6000
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                 To:
                 Re:   I
                                        •         UNCLASSIFIED

                           Counterterro~m From: St. Louis
                           336N-SL-194o_1_1_ 01/28/2010
                                                                 •                     b7E




                 LEAD {s) :

                 Set Lead 1:       (Info)

                           COUNTERTERRORISM
                                AT WASHINGTON D.C.
                                Read and clear.
                 Set Lead 2:       (Action)

                           ALL FIELD OFFICES.
                                St. Louis requests   I
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 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 232 of 487 Pageid#: 6001

(Rev. 05-01-2008)
                                  •·             EXHIB!T I(c)


                                                 UNCLASSIFIED

                       . FEDERAL BUREAU OF'INVESTIGATIO~
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         Precedence: ROUTINE                                    Date: 3/24/2010
                                                                                                  b6
         To:        Counterterrorism                   Attn:          SA   ,                      b7C
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                                                                pSAj_

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         From: ~~-
               Oma~a / ~
                        L                  I
                           Contact:   SA   I--------~--------------'
         Approved By:         _ ______.I w                                     b6
                                                                               b7C
         Drafted By:          I                                 l:ec
                                           ~'1   ~
         Case ID #:

                            336N-Sl-194021

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         Title: HAMMERSKIN                        '              !;
                           NATIONS
                                                                  '
                     00: · HOUSTON

                     VINLAND ER SOCIAL CLUB
                                                                 '
                     00:     INDIANAPOLIS                        i

                     : VQT,KSFBQNT


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                     '.Bl OOD AND HONOUR                         I




                     00:_ -LOUISVIllE                            !.
                                                                 '
         Synopsis:          To cover lead(s):
        Details:           In reference to the                   uest that

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                                                                               SEARCHED_,___
                                                                               SERIALIZED,_ __,




                                                                                                    b7E
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 233 of 487 Pageid#: 6002



   To:
   Re:   I   336N- :
                            •·
             Counterterrorism From:
                           13/24/2010
                                     UNCLASSIFIED

                                         Omaha
                                                       •                             b7E




             In response to the request that Omaha JTTF contact the
   Civil Rights/Hate Crime Squad regarding the captioned groups,
   Omaha JTTF reports no current investigations by the Omaha Civil
   Rights/Hate Crime Squad.
                 I
                                                                              b6
   .------------------------------------.b7C
                                           b7E



   vo1..K:srront        ___________________________ I
                      lhave been identified as participants in the
                     I.__                                               __.




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 234 of 487 Pageid#: 6003



    ·To:
     Re:!   336N-
                           ••
            Counterterrorism From:
                         ! 3/24/20l0
                                      UNCLASSIFIED

                                           Omaha
                                                      •                               b7E




    LEAD (s}.:

    Set Lead 1:       (Info)

            COUNTER TERRORISM

                  AT WASHINGTON, D.C.
                                                                                b7E
                 IDTQU I   Read and clear.

    Set Lead 2:       (Info}

            HOUSTON

                  AT HOUSTON, TX

                  Read and clear. ·

    Set Lead 3:       (Info}

            INDIANAPOLIS

                  AT INDIANAPOLIS , . IN

                  Read and clear

    Set Lead 4:       (Info}

            ST. LOUIS

                  AT.ST. LOUIS. MO

                  Read and clear.

    Set Lea~ 5:       (Info}

            LOUISVILLE

                 · AT LOUISVILLE, KY.

                  Read and clear.
    ••



                                      UNCLASSIFIED

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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 235 of 487 Pageid#: 6004
                                                                                                                             EXHIBI'l;_ I(d)

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     (Rev. 05-01-2008)

                                                                                              §ECM:'I//~I//mteON/REL 'fO US:i'\:

                                                         FEDERAL BUREAU OIF\ INVESTIGATUON'.
                                                                         .                                                                                         \                                  .




                         Precedence:                                    PRIORITY.                                                                                                                Date:                          09/02/2010

                         To:              St. Louis                                                                                                    Attn:                                                                                    b6
                                          San Diego                                                                                                    Attn:                                                                                    b7C

                         From:           Counterterrorism
                                            Domestic Terrorism Strategic Operations Section/
                                       Domestic Terrorism Operations Unit I ..
                                            Contact:                           ext. ~I_ ___,         SSAI                                                                              'I                                                      b6
                                                                                                                                                                                                                                               b7C
                         Approved By:

                                                                                                                                                                                                                                               b6
                   : ·Drafted By:                                                                                                           jss                                                                                                b7C

                         Case ID#:                                (U/;i;,.g£..)
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                                                                  (-U/-fiH&)                       ~36N-s1-194oz1-s·
                         Title,:                        (U/±rB&) ...._                     ___________________                                                                                                     ___,
                                                                                                                                                                                                                                                     b7E

                                                        (U/~ VOLKSFRONT
                                                                                    TERRORISM ENTF.'RP"RTSE INVESTIGATION                                                                                                                            b7E
                                                                                    AOT-DT-WHITE SUPREMACIST~EX~~TSTS
                                                                                   . 00: ST. LOUIS

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                                                                                For the information of theireader,                                                                                                                                    b7E
·Wl. . . . . . . . . . . . . . . . . . . . . . . . . . . .:. . . . . . . _______                                    ------······················· .. ·-··'·······················--····-···--···------1


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                                                            Declass~                                                        20350902


                         Details:  (U/LE3) As recipients are aware~ Volksfront, a white
                         supremacist organization; is,hosti,ng their 16th annual Althung
                         event that is being held at their,property located outside of
                         Fredicktwon, Missouri. This event:is.scheduled to take place from
                         September 3-6, 2010. Members of the Volksfront, Blood and Honour
                         USA, and skinhead groups will be ~n attendance at this event.
                                                  w.~ . . . D(/QC)                     A.s backara,md
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 -       ..Case 7:08-cr-00054-EKD                                                                          Document 411-2 Filed 10/05/20 Page 236 of 487 Pageid#: 6005

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                         To:                    St. Louis                                        From:                          Counterterrorisrn
                         Re:                     (U/~                                 j 336N-Sl- 194021                                                   I 09/02/2010                                                                                                                                               b7E




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      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 237 of 487 Pageid#: 6006

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                 To:   St. Louis         From:       Counterterrorism
                 Re:    (U~         j 336N-Sl- 194021                 I ·09/02/2010            b7E




                 LEAD (s) :

                 Set Lead 1:        (Action)

                       ST. LOUIS
                              AT ST. LOUIS[ MISSOURI
                              (U~              Read and Clear.
                 Set Lead 2:        (Action)

                       SAN FRANCISCO
                              AT SAN FRANCISCO[ CALIFORNIA
                              (U/-f:;-E-S-i    Read and Clear.




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                                              SECRET//E'GI//ORCOM/M:L 'I'O USA

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    Case 7:08-cr-00054-EKD Document£ X
                                     411-2    I ( e10/05/20
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Precedence:        PRIORITY                                            Date:           03/20/200\
To:     All Field Offices                        Attn:          DT Supervisors      '
                                                                All Resident A encies
         Counterterrorism                        Attn:          UC
                                                                UC              b6
                                                                I                                b7C
                                                                I

From:        Coroterterrarism                                                           b7E

               I           SSA_!_ _ _ _ _ __
                                                                                               b6
                Contact:                                            ext .   !.___ _.           b7C

Approved By:
                                              b6
                                              b7C



                                                      b6
Drafted By:
                   .......,,----------'               b7C
Case ID#: 100-MP-63291                    (Pending}

Title:       NATIONAL SOCIALIST MOVEMENT .
             TERRORISM ENTERPRISE INVESTIGATION
             00: MINNEAPOLIS

ARMED AND DANGEROUS

Synopsis: This communication provides notification and guidance
regarding upcoming white supremacist meetings/ rallies that is
being hosted by the National Socialist Movement (NSM}, in
Michigan.
                                                                                                     b7E




Details: As recipients are aware, the Minneapolis Field Division
currently has a pending Terrorism Enterprise Investigation
pertaining to the National Socialist Movement (NSM}. The NSM is a
white supremacist organization headquartered in Minneapolis,
Minnesota. The NSM is structured in a German military fashion,
with a Commander and several Staff Officers. The current
!                                                           I
                                         Throughout its history, ~~c
acts ot violence nave been attributed.to individuals belonging
to), or associated with captioned group. Recent events have indicated an
escalation in violence, and stockpiling of weapons                _,
and ammunition in anticipation of waging war against Blac:t:;;";;:;B~~~cH~ED:::--~---~
Jews, Hispanics and the federal government.                  SER1At1Zeo

------------------------------------------------------------~APR-0-4--Z-ODo
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Case ID : l00A-MP-63291                              Serial : 1000                                     't                __


               B0lA-CG-125288                                                              9           ,    FBISEATTLE           b7C
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 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 239 of 487 Pageid#: 6008

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          Further, in October of 2005, members and associates of
captioned group conducted a rally in the Woodrow Wilson Park\ and
surrounding neighborhoods in Toledo, Ohio. NSM members intended
to march through the neighborhood streets following their rally
in the park in order to protest recent black on white violence
and narcotics trafficking.
           Before the NSM could begin their march, local residents
and counter-demonstrators began throwing rocks and bricks at
vehicles, local residences and businesses. Toledo police
responded by firing tear gas into the gathered counter-
demonstrators and local residents. Toledo police advised the NSM
to leave the area for their own protection and the NSM complied.
Local residents and counter-demonstrators continued with the
clash with the police, looting a store and setting fire to a
local bar. This rally and riot, and the attendant media coverage
for the NSM, was deem~d a great success by the majbrity of the
whi_te supremacy movement . NSM reported increased fund raising
and increased applications for membership immediately following
these events .                          ·
          Thereafter, in November 2005, an additional rally was
organized in Kingston, New York by white supremacist internet            bG
radio talk show host I                 I organized this rally to         b7c
protest recent assaults which occurred in the area of the
Kingston High School. FBI, Albany initiated a 300A
(Counterterrorism Preparedness - Special Events) investigation
for the Kingston NSM rally. Based on the coordinated effort on
behalf of the JTTF with the state and local law enforcement, the
rally was held without incident.
            On February 25, 2006, approximately 30 members and
associates of the NSM held a rally and march in the predominantly bG
minority Parramore neighborhood of Orlando, Florida. This rally b 7c
was organized by NSM Orlando memberj              jto protest
11
   black crime" in the Orlando area.
          More than 300 federal, state and local law enforcement
officers conducted event security, keeping the NSM members
separated from crowds of over 500 counter-protesters and
neighborhooq residents. During the rally, 17 counter-protesters
were arrested by local authorities for charges ranging from
wearing a mask in public to assault on a law enforcement officer.
None of the National Socialist Movement (NSM) members were
arrested.
          FBI investigation has determined that the NSM plans to
conduct additional marches in selected cities throughout thej
United States. The intention of these rallies is three-fold: to
incite racial unrest in minority neighborhoods; to drain law!
enforcement resources due to the· security needs of these marches;
and, to increase their recruitment of new members. The NSM is
hoping to repeat the results of their Toledo, Ohio march which
fomented a riot by minorities angered by the NSM's presence in
their neighborhood.




                                                      -~------
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 240 of 487 Pageid#: 6009

                                        ---- Working Copy                                         Page    3

            Consistent with the above, recipients are to ~e a~are
 of the following meetings/rallies that are being prepared b~ the
 NSM:                                                         !

           03/25/2006 - NSM is planning a statewide meeting i,n
 Michigan (no further details);
           04/22/2006 - NSM is planning a Pro-White Rally in
 Lansing, Michigan. According to the NSM web page the two hour
 rally will begin at 1400 hours and will be 11 in the spirit 11 o'f
 national rallies held at the Valley Forge, Pennsylvania, National
 Military Park in September 2004 and the Yorktown, Virginia,
 National Military Park in June 2005. It was noted by the NSM this
 rally will be held in conjunction with the groups annual national
 organizational meeting as well as the annual celebration on
 04/20/2006 of Adolph Hitler's birthday. Sources have reported
 the NSM expects upwards of 300 people to attend this event;
            07/02/2006 - 07/04/2006 - NSM Rally/Camp Out in
 Washington State; unconfirmed information has been received that
 the group plans to rally at the Washington State Capital;
 and, it should be noted the NSM web site indicates the group is
 planning a large 11 historical event 11 that is tentatively being
 planned for late summer in conjunction with the Keystone State
 Skinheads.
           FBI human intelligence source,information as well as
 public source information has clearly identified predicated
 subjects of domestic terrorism investigations will be in
 attendance at the aforementioned events.
           Detroit and Seattle are to determine if the NSM have
 applied for any permits for the aforementioned events. Detroit
 and Seattle are to 9ffer any and all as-sistance of the FBI to
 improve law enforcement response and intelligence sharing in a
 concerted effort to prevent.any potential acts of terro~ism or
 criminal activity which arise during these events.
           Detroit aRd.Seattle should also contact the Special
 Events Management Unit at FBIHQ to explore the possibility of
 designating these activities as a Special Event.
            Receiving offices should forward positive intelligence
  from sources with knowledge of planned activity by individuals,                                   b7E
  domestic or international groups under!
L--Jr----------.,1 as well as inteI~l~i-g=e=n=c~e___,,,r=r~o=m,.........,,a~n~y=-=--s~o~u=r=c=e~s=-__,
  orl                   l. as well as intelligence from any sources
  indicative of unlawful activity or other acts of violence, to the
I     !as well as to the Minneapolis, Detroit, Seattle and Kansas
  City Divisions
           Further, receiving offices are to advise the~I--~' FBib?E
 Minneapolis, Seattle and Detroit as to if any sources will be in
 attendance at the NSM events. Recipients are to provide either a
 positive or negative response as to the attendance of sources at
 the NSM events.
 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 241 of 487 Pageid#: 6010

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                                                                               '
LEAD(s):
Set Lead 1:    (Action)
     DETROIT
           AT LANSING, MICHIGAN
            Detroit is to determine if the NSM have applied for any
permits for the aforementioned event. Detroit is encouraged to
off er any and all assis.tance of the FBI to improve law
enforcement response and intelligence sharing in a concerted
e.f fort to prevent any potential acts of terr.or ism or criminal
activity which arise during these events.

Set Lead 2:    (Action)
     SEATTLE
           AT SEATTLE, WASHINGTON
           Seattle is to determine if the NSM have applied for.any
permits for the aforementioned events. Seattle is to offer a~y
and all assistance of the FBI to improve law enforcement response
and intelligence sharing in a concerted effort to prevent any
potential acts of terrorism or criminal activity which arise
during these events.

Set Lead 3:    (Action)
     DETROIT
           AT LANSING, MICHIGAN
           Detroit should contact the Special Events Management
Unit at· FBIHQ to explore the possibility of designating these
activities as a Special Event.




 s
Set Lead 4:    (Action)
     SEATTLE
           AT SEATTLE, WASHINGTON
                                                                   i
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           Seattle should contact the Special Events Management
                                                                   I
                                                                   i
        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 242 of 487 Pageid#: 6011
            I\.
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.    Unit• at FBIHQ to explore the possibility of des-ignating thes~-
     activities as a Special Event.

     Set Lead 5:           (Action)
              ALL RECEIVING OFFICES

                         Receiving offices should forward positive intelligence
      from sources with knowledge of planned activit b individuals,                                                 b7E
      domestic or international_groups
    .__...,....,,..,,._,_ _ _ _ _-~, as well as!'-e1~n=""e.,..,...~1~g=e~n~c~e--,,~r~o~m~a~n~y=-~s~o~u~r~c~e~s=-~
      or full investigations, as well as intelligence from any sources
    ~ a t i v e of unlawful activity or other acts of violence, to the
    L__Jas well as to the Minneapolis, Detroit, Seattle and Kansas
      City Divisions

     Set Lead 6:           (Action)
              ALL RECEIVING OFFICES
                                                                                                              b7E
          Receiving offices are to advise the!    I FBI Minneapolis,
     Seattle and Detroit as to if any sources will be in attendance at
     the NSM events. Recipients are to provide either a positive or
     negative response as to the attendance of sources at the NSM,
     events.

     ARMED AND DANGEROUS
Case 7:08-cr-00054-EKD Document 411-2 Filed
                              EXHIBIT  J 10/05/20 Page 243 of 487 Pageid#: 6012
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     Period· covmed by thia report: 07/3·1 /201 i_ - 07/:J'\/20'12·


     Stranr.iths

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      Deputy ~f:!i\1,Z hai .. b.n:rad ·and '~!:ll'l°isd lr;iw enfo:rca111ent experlenc~J Including as.oignme1:its to
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 244 of 487 Pageid#: 6013



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               Both cases Wl:lre.briefed to the r;B·I plre.ctor daily during tl_Je execution of the dlttuptions.

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    ()range. County Sherlfrs Clffh:;e- and· the Jol;,t Terro,•ism Tasl( Forne.


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                          (BEGINN1NG OF CONVERSATION")

 lJ.NK.J.'-JO WN:   . WE1RE TJ"NABLE AT THIS Tllvffi. PLEASE LEAVE US A DETAILED
                    . MESSA~-E, YOURNA.J.vffi, PHONE NUMBER AL'ill vVE'LL GET
                      BACK WITH YA. TF...A.J.""IT(S.



                                                 11/-B-
                    _(AJ.")"SWER.INGlvf~CF.JNE PICKS UP)

 M~~A'IB- YES, MR. E ! ~ - THIS IS
              REGIONA..L DIRECTOR OF TI-IE AMERICAN NATIONAL
              SOCIALIST WORKERS PARTY. r SAW THAT YOU RAN YOUR
                                                              N.!lDWEST


              N1GG-ER MOUTH IN TIITS NEWSPAPERSAY!l-r' THAT WE1RE.
              COWARDS. SINCEISEETHAT.YOULIVEAT~-
                                                     I'D LIKE. TO KNUW IF
        ---· .MAYBE ·oNE OF OUKOHIOUUYS~COULD-STOPBY·Ai'ID M..AYBE
              YOU COULD DISCUSS YOU'RE DIS ... YOUR CONCERN "WITH US.
              VlE WQ1JLD BE MORE-THAN GLAD TO SEND ONE OF OUK GUYS
              UP '!'.HERE AND MAYBE YA'LL_ CAJ."\T TALK MORE ABOUT 1131S.
              ANYWAYS, ~lE'RE BE SEEJN1 YOU'AROUND AND WE'LL BE
              SEEIN1YOURRESIDENCEAROUND ... VlHITEPOWERNIGGER..

                              (EN"D OF CONVERSATION) ..




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  Case-7:08-cr-00054-JCT Document 168-4 Filed 03/12/10 Page 1 of 1 Pageid#: 1076
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                                                 411-2 Filed   10/05/20 Page 246 of 487 Pageid#: 6015




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             4                                                                             United States

            5                                                                                   V.


             6                                                                             William White

             7

             8                                                 Portion of Skype Telephone Call

             9                                                                             March 1, 2008

         10                                                                 00:19:11 thru 00:25:-45

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                                                                               Alderson Reporting Company
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     3e 7:08-cr-00054-JCT Document 168-3 Filed 03/12/10 Page 1 of 9 Pageid#: 1067
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 247 of 487 Pageid#: 6016



                    Male Voice:     •
                                        It's Marv's, uh, Chick.
                                                   .-   I




          2,        LvJale Voice:       All richt,· what's.the number?
                                               J             •    •




          3         Male Voice:         What ·a second you' re going to call

          4    Mary Chick and possibly fuck up her marriage?

          5         Male Voice:         Yeah, ·that's the whole point.

          6          [laughter]

          7         Male Voice:         Is it a cell phone?

          8         Male Voice:         There's no reason to call an·

          9    unmarried chick, because he's not married.

         10         Male Voice:         Yeah -- funny.

         11         Male Voice:         Yeah, . what's the number?

         12         Mr. Dan Jones:         You need to call her Dr. Love.

         13    It's -- 74 ~-

         14         Male Voice:         Hold it, start .over.         You 7 re   y

         15    just broke up.

         16         Male Voice:         You ought to call Kenny up.

         17         Male Voice:         Dan, start over.

         18         Mr. Jones: --

         19         Male Voice:         Dan, I cannot hear a damn thing

         20    that you're saying.         Can anybody e~se?

         21         Mr. Jones:      Well, fuck --

         22         Male Voice:         I can't hear him.




                                    Alderson P.eporting Company             1

                                          1-800-FOR-DEPO                    I
    Case 7:08-cr-00054-JCT Document 168-3 Filed 03/12/10 Page 2 of 9 Pageid#: 1068
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 248 of 487 Pageid#: 6017


                                                                                             Page'   3
          1               Mr. Jones:      Well,        I'm on.

          2               Malg Voice:       All right, there you go.                 Now say

          3     it.

          4               Mr. Jones:      Okay --

          5               Male Voice:       He just cut out again.

          6               Male Voice·:      It's like being on a CB when, uh,
                                                                                                         ·,
          7     you know, when they, fucking;· uh-,· somebody's blocking                                 ·.,:_


                                                                                                          :·
       .....·s - -your-   ass.
                                                                                                         ~·••'




          9               Male Voice:       Oh, w~ll --

        10                Mr. Jones:      I don't know,           t   mean,     I was fine up

        11      until now.

        12                Male Voice:       I can hear you now.                 Just, all

        13      right, try reading it through.                        Just --
                                                                                                         ,
        14                Mr. Jones:                                                                     1


        15                Male Voice:      All right,

        16                Mr. Jones:      You got a pen?

        17                Male Voice:       Yeah,       I got

        18

                          Male Voice:
                                          -~
        20                Mr .. Jones:    G~ --

        21                Male Voice:       All right,          I·got    ciJ
        22                Mr. Jones:      --1~_-
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                                              ~,;~.-




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 249 of 487 Pageid#: 6018



                                                                                                                                             __ P_~_ge 4

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          2_
                      Male Voice:

                      M~. Jones:
                                                                    -- ~
                                                                         --
                                                                   Pastor Pat.
                                                                                              All ri·ght, what their name?



          3           Male Voice:                                   All right.

                      Male Voice:                                   ·pat? I thought you ~aid M~ry~

          5          ·Mr;           Jones_:                        No,          Pat.

           6          Male Voice:                                   No,          Pat's married.
                        ,,
          7         · ·Male· Voice:                                 What? · -

         -8          - [ crosstalk]

          9           Male· Voice:                                  Is Pat a guy?

         10.          Mr. Jones.:                                  What?

         11·          Male Voice:                                   Is Pat .a guy?
                       ..•   ·•   .·· .   ··--·-'\·-· --·--   --   ·---- --- --····-·--·-··----       ···•·-

        · 12          Mr. Jones:                               No, it's a chick.

         13           Male Voice:                                   It's probably Patty.

         14          ·Male Voice:                                   Pat petunia.

         15           [laughter]

         16           Male Voice:                                   All right, Burks, ydu ready?

         17           Mr. Burks:                                   Yeah,           it's got to be Dr. Love.                                  And

         18    it doesn't matter if -- or it's her.

         19           [laughter]

         20           Male Voice:                                   I don't care.                                    That's fine.

         21           Male Voice:                                   p.~ _l _l
                                                                    --
                                                                                 T ;
                                                                                 --
                                                                                          h .:..L.,
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                                                                                                                 0       go,   3,   2, ·l.
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                                                                                                                                    1-
         22           Male Voice:                                   Oh .




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 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 250 of 487 Pageid#: 6019




      l
                                                                                                                                       /

     2                               Male Voice:                          Hello?

                                     Male Voice:                          Is Pat th~re?

      4                              Male Voice:                          Oh, wrong number.

     5                               Male Voice:                          Uh --

      6                              Male.Voice:                          Said wrong number .

     7                           .Male Voice:                             I don't think it's a wrong number,
                                                                                                                                                                    Ll
     8    1,lffi


      9                              Male Voice;                          Did it sound like the right person?

    10                           Male Voice:                              Yeah, call -- uh, speak with

    11    Tricia.

                                     Male Voice:                          What-?

    13                               [laughter]

    14                           Male Voice:                              All~ ~ight, ybu got to read the

    15    number -again.

    16                               [ eras s.talk]

   . 17                              Male Voice:                         -You.mother fuckers.

    18                               Male Voice:                                         _,. r_ight?

    19                               Male Voice:                          No, let me look.

    20                               [laughter]

   -21                               Male Voice:                          Dan, are you just making up random
                                                                                                                                                                     I
    22    numbers out of the fucking thin air or some shit?·




           .   •··   •   ,-,,-   •   ·• •   ..   .   -~   •   _.,.   .    •"   .---..~   .-   _.,.   "".._~.--•   -   -   .,.,.,.,.   ~--   ••   _,   •-·   ••-•   ••-I'--••••·-•--•-••)   •




                                                                         Alderson Reporting Company
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Case 7:08-cr-00054-jCT Document 168-3 Filed 03/12/10 Page 5 of 9 Pageid#: 1071
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 251 of 487 Pageid#: 6020


                                                                                     ?a.;e. 6

           l          Mr. Jones:      No,    I'm not.

                      Male Voice:      I would have.

           3          Mr. Jones:      That's

           4          Male Voice:      Here, let me get my pho.ne book out.

           5          Maie Voice:      e;    what?

                      Male Voice:      What?

          .7          Male Voice:      What sounds like a good negro name?

           8     Let's find out.

           9          Male Voic~:      We're not calling people at 2:00

         10    a.m.

         11           Male Voice:      That's the whole point.

        . 12          Male Voice:      It's 1:00 a.m .

         13           Male Voice:      Dan

         14           Male Voice: --

         15           Male Voice:      Dan, are you there?

         16           Mr .. Jones:'   It's . only· good Jamal.          See if any

         17    Jarnals around. Phone's busy.

         18           Male Voice:      Who we with,         Dan?    Who's here?

         19           Male Voice:      I'm still here.             Probably lost Dan.

         20           Mr. Jones:      I'm here.

         21           Male Voice:      I'm here.

         22           Male Voice:      Yeah, that's Dan.




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     Case 7:08-cr-00054:.JcT Document 168-3 Filed 03/12/10 Page 6 of 9 Pageid#: 1072
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 252 of 487 Pageid#: 6021


                                                                                                                   Page 7
                                                                     ..... - - . - .   -- .. --   r

         1             Male· Voice:     Hey, guys, they' re calling: mv, uh,                      I       -•




         2     anger management counselor.

         3              I laughter]

         4             ·Male Voice:     Hey, Phil,        Phil, this guy sent me a-

         5    · ·te:xt messa·ge or girl.         All it said ·was nothing.

         6     That's al 1 it s·aid, 'nothing.

         7             ·Male Voice:     Nothing~

        . 8            · Ma-le Voice: . Prob~biy what ~e:wants to do in

         9     your hair.

       10              Male Voice:      Haw about Judy's Hair Salon?

       11              Male Voice:      It won'_t be open.
                  -.   -· -·   .,...



       12              Male .Voice:

       13'             Male Voice:      Oh.

       14              Male Voice:      Doo, doo, doo, doo, doo, doo.

       15              Male Voice:      Barber shoo.

       16               [ringing]

       17              Looking up· for synagogues in the state of Ohio.

       18              Male Voice:      Oh,    futkj     Justin's                      ~areful,

       19      steamroller.

       20              Female Voice:       Your call has been forwardid to

       21      an automatic --

       22              Male Voice:      Should I try his house?




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   Case 7:08-cr-00054-JCT Document 168-3 Flied 03/12/10 P2.ge 7 of 9 ~aoeid#:
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 253 of 487 Pageid#: 6022




           1             Male Voice:          No, try his unit· phone.

           2             Male Voice:·         Dude, that thing's never on.

           3             Male Voice:          Well, maybe he finally turned ft

           4     on.

           S·           ··Male Voice:,        Dude; it's only 10:00.                 I'll call

           6     his house.

                         Male vo·ice:         It's l :·O O ·a.rrc ;· D"igger.

           s..          · · [·ringing]   •

          .9             Male Voice:               phone number?

          10             Male Voice:          I'm l~ying ~own on my couch?

         -11             Male Voice:          Hello?

          12             Male Voice:          Hello.

          13             Male Voice:          Pat?

          14             Mr. Jones:·         Maybe it's my cell phone.

          15             Male Voice:          Yeah,     I think your phone died.                It

          16     went, uh, uh, uh, uh.

          17             Mr. Jones:          Well,    it kept cutting out when I was

          18     talking to you.             And th~n,       finally,       it just, tih,

          19     well.      Can you hear me bettir now?

          20             Male Voice:          Oh~ yeah,        I can hear you ·plain as

          21     pay.

          22             Male Voice:          Good.




                                             A ije,son Reporting Company
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           Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 254 of 487 Pageid#: 6023


                                                                                                              !?age,' 9

     , i           Mr. Jones:         I'll read the number again.

                   f11ale -':ioice:    " i 7
                                       .!"1--   right.

       3           Mr. Jones:

       4           r1ale Voice:        A __
                                         ll     rig
                                                  ' h't:.


      5            Mr. Jones:

       6           Male Voice:

      7            Mr. Jones:

      8            Male Voice:         All right, Patricia?

                   Mr. Jones:         Yeah,- Patricia.
      9
                                                               ,. You    may have gotten

    10       the wrong number, but --

    11             Male Voice:         I probably did.
                                                                                                                                        -- -·   .. - ...,....,._..,,, ...

    12             [ring_ing]

    ,13            Male Voice:         Hello?

    14             Male Voice:         Is Tricia there?

    15             Male Voice:         You got the wrong number.

    16             Male Voice:         I do_n' t      know.

    17             [END TAPE]

   - 18
                                                                                                                                   ~.
                                                                                                                                   -,


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Case 7:08--cr-00054-JCT Document 168-3 Filed 03/12/10 Page_9 of 9 Pageid#: 1075 I
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 255 of 487 Pageid#: 6024

                                                                                                                                                             U.S. Department of Justice




                                                                                                                                                           -Federal Bureau of Investigation
                                                                                                                                                           Washington, D. C. 20535

                                                                                                                                                           January 22, 2019

    Mr. William A White
    5727 Artesian Drive
    Derwood, MD 20855

                                                                                                                   Civil Action No.: 16-cv-00948
                                                                                                                   FOIPA frequest No.: 1224695_-000
                                                                                                                   Subject:j William A White.

   · Dear Mr. White:

              The enclosed doquments were_ reviewed under the Freedomj of Information/Privacy Acts (FOIPA}, Title 5,
    United States Code, Section 5521552a. Below you will find chec~ed .boxes under applicaple statutes for the
    exemptions asserted to pr9tect information exempt from -disclosure. . The appropriate exemptions are noted on the
                                                                             1
    processed pages next to redacted information. : In additio_n, a deleted p age information sheet was inserted to indicate
    where pages were withheld: entirely pursuant to applicable exemptions. ) An Explanation of Exemptions-is enclosed to
    further explain justification for withheld information.                   I



                                                  · Section 552                                                                                     Section 552a
             r'. (b)(1)                                                        ~- (b)(?)(A)                                                          r    (d)(5)
             f7;      (b)(2)                                                    r       (b)(?)(B) .                                                  p    0)(2)
             -~ (b)(3)                                                         l~ (b)(7)(p)                                                         _f-   (k)(1)

             Fed R. Crim Pr. (6e)                                              f,7 (b)(7)(D)
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             51F pages were reviewed and 141 pag?s are bei,ng re!eased.                                                                                           _

             B~low you will als~ find additional, in_fo:r~atio~ai p~~ag~aph_s ab9ut your request. Where applicable, checked
   boxes are used to provide ypu with more information about the processii;lg of your request. Please read each item
   carefully. \
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             1 \ Documents were located which or,i~inated wi~h.                                               or-:containe8 information concerning, another
                  ; Government Agency [OGA]. .                                  ; _                  I           :        I      ,                    -.

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                     ·In_ a~cordance::w,ith standarq fBI Pl/:lt~ice an9 pur?uar:,t t9. fiOlA exemptiqn (b),(7)(E) ~np Privacy Act
                                                                                                                                                                      . .; .: i       -·    ·
                   . :exemption .0)(2) [5 u.s.c. § 552/552a:(b}(7)(E)/0)(2}];! this response neither confirms nor denies the

                                  ' '.''
                                             of
                   ' :existence' ybur subject's Harrie 'oh ahy watbh lists: ; '
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 256 of 487 Pageid#: 6025




                For your information, Congress excluded three discrete categories of law enforcement and'national security
     records from the requirements of the Freedom of lnform_ation Act (FOIA). See 5 U.S. C. § 552(c) (2006 & Supp. IV
     (2010). This response is limited to those records subject to the requirements of the FOIA. This is a standard
   · notification that is given to all our requesters and should not be taken as an indication that excluded lrecords do, or do
     not, exist. Enclosed for your information is a copy of the Explanation of Exemptions.                   ·

            Please direct any further inquiries about this case to the.Attorney representing the Govem111ent in this
    matter. Please use the FOIPA Request Number and/or Civil Action Number-in all correspondence or inquiries
    concerning your request.

             r~    The enclosed material is from the main inve~tigat,ive file(s) in which the subject(s) of your request was
                   the focus of the investigation. Our search l~cated additional references, in files relating to other
                   individuals, or, matters, which may or may n9t be about yobr subject(s). Our experience has shown
                   such additional :references,. if identified to the same subjedt of the main investigative file, usually contain
                   information sitnilar to the information proces~ed in the main file(s). As such, we have given priority to
                   processing or\ly the main investigative file(s) given our sighificant backlog. If you would like to receive
                   any references to the subject(s) of:your request, please s~bmit a separate request for the reference
                   material in wdting. The reference~ will be reviewed at a l~ter date, as.time and resources permit.

             17:   See additional information which follows.




                                                                           Sincerelr    I   I ,.,, .
                                                                        ~kt--._)
                                                                           David !Vi. Hardy
                                                                           Section ;chief
                                                                           Record/Information
                                                                             Disse~ination Section
                                                                           Information Management Division
                                                                               . I .
                                                                                    I
                                                                                    I
                                                         I        '    :            I            '     .
    Enclosures (Bates pages Fp1(16cv00948)-454flto FBI (1~cv00_948)-5055 and Explanation of Exemptions)

       ·
                                 I                  -    l        •    I            I                  '
              The enclos_ed documents- represent the tenth inter,im release of jnformation responsive to your Freedom of
   . ln_format!on1Privacy Act_ (Fqf PA) request., This material is ~eing provided to you at no charge at this time. The FBI
     will prov1delmonthly-rollmg releases.       ,       I         ! ·              I
             . I                                         '
                                                         0        I             -   I
            To fninimize costs to both you and the F BI, duplicate c6pies of the same document were not processed.
               I                                        'i        I    .            I

                                     a
             curirently, you have positive balance:~f $900.001from,paymenls you submitted in anticipation of duplication
    fees for pr vious FOIA req~ests. As the FBI fn~~es interi1 rele~ses to xou, it will subtract the duplication fees from
              1
    this balancy"until this bal_ance is exhausted.  \              i        !                  ·
                                                                  1

               i                                         i        j    1            J
            ThJ enclosed documents: respon~iv~ t9 your requ~st are exem~t from disclosure in their entirety pursuant to
    the PrivacyjAc;t, Title 5, United Sta_tes Code, :section 552 (a), s~bsectiod 0)(2). However, these records have been
    processed pursuant to the,i=reedom of lnfor:n:i~tibn Act, Title 5, United States Code, Section 552, thereby affording
    you the gre~test degree of ~ccess authorized 9,}; bqth law$.        '      1
                i                  .               '    I .       I 1          1                          V
            Fori your informatio~, sealed court re~on~s are notjeligible for rel~ase under the Freedom of !nformation Act.
    Material responsive to_your;request has been '{,'ithh,eld an~ mar,ked "OTHER-Sealed" pursuant to appropriate orders
    issued by ftderal distri<;:t co~rts.              . \         1     '           j                      ·   '
               I




                           '
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 257 of 487 Pageid#: 6026
                                          EXHIBIT t(a)(':j;f)
                                                                                                    U.S. Department of Justice




                                                                                                   Federal Bureau of Investigation
                                                                                                  Washington, D. C. 20535

                                                                                                  February 19, 2019

         Mr. William A. White
         5727 Artesian Drive
  · --·-·Derwooa~MD·2oa5fr--••-· --

                                                                               Civil Action No.: 16-cv-00948
                                                                               FOIPA Request No.: 1224695-000
                                                                               Subject: William A. White

        D~ar .Mr. White:

  :· -- ·c- - - - - ·The-enclosed--documents·were·-reviewed under,, the Fre·edom of Information/Privacy Acts (FOIPA), Title 5,
         United--States·- Gode, Section 552/552R -Below· you will find checked boxes under applicable statutes for the
         exemptions asserted to protect information exempt from disclosure. The appropriate exemptions are noted on the
         processed pages next to redacted information. In addition, a deleted page information sheet was inserted to indicate
        ·where-pa-ges-were 'withhelcfentireiy" pursuant to applicable exemptions. An Explanation -of Exemptions is enclosed to ·
      __ furt~~_r_:_exRlai_l:!J1,1~1ificatiq~_for ~!th_helg in_formation.                        ·

                                            Section 552                                      Section 552a
                       r 112>J1>=~~~=~~ r (g>.cz1<~------ _ ~ __r_(Q)_@_____
                       r (b)(2>         :r (b)<'i><B>           P m(2>
                       Fi   (b)(3)                             P' (b)(7)(C)                  r   (k)(1)

                       F d -'--.
                      _e-'---.   C · p_r.__,_e_,_
                               R _nm-'-.   (6 )_ _ _ __        P° (b)(7)(D)                  r   (k)(2)
                                                               W (b)(7)(E)                   r· (k)(3)
                      -------------                            r   (b)(?)(F)                 r   (k)(4)
                      ---------'------                         r   (b)(a>                    r   (k)(5)
                       I    (b)(4)
                       r    (6)(5)                             J   (b)(9)                    I   (k)(6)
                       P    (b)(6)                                                           I   (k)(7)

                      501 pages were reviewe_d and 264 pages are being released.

                   Below you will also find additional informational paragraphs about your request. Where applicable, checked
        boxes are u_sed to p~ovide. you with more information about the processing of your request. Please read each item
        carefully.

                       ~ Documents were located which originated with, or contained information concerning, another
                             Government Agency [OGA].

                            r   This information has been referred to the OGA(s) for review and direct response to you. ·
                            [iv We are consulting with another agency. The FBI will correspond with you regarding this information
                                when the consultation is completed.
                       p
                             In accordance with standard FBI practice a·nd pursuant to FOIA exemption (b)(?)(E) and Privacy Act
                             exemption 0)(2)°[5 U.S.C. § 552/552a (b)(?)(E)/0)(2)], this response neither confirms nor denies the
                             existence of your subject's name on any watch lists.                                       ·
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 258 of 487 Pageid#: 6027




                   For your information, Congress excl~ded three discrete categories             of
                                                                                                law enforcement ~rid ·national security
        records fr'om the requirements of the Freedom of Information Act.(FOIA). See 5 U.S. C. § 552(c) (2006 & Supp. IV
        (2010). This response is limited to those records subject to the requirements of the FOIA. This is a standard
        notification that is given to all our requesters and should not be taken as an indication that excluded records do, or do
        _noJ, ~~_st.__En__cl.QS_El_d fo~ your informat[on is a copy of the Explanation of Exemptions.

              - Please direct any further inquiries about this case to the Attorney representing the Government in this
        matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
        concerning your request.                  , .




                                                                                    Sincerely,



  - --- ---- --- ---   -----   --......----   -------   ~   -   -   - - .·-   --- - - ----~lk3
                                                                                    David M'. Hardy
                                                                                    Section ·thief
                                                                                    Record/Information
                                                                                      Dissemination Section
                                                                                    Information Management Division




                                                                                   ----------·----

        Enclosures (Bates pages FBl{16cv00948)-5056 to-FBI {16cv00948) 5556 and Explanation of Exemptions)

                 The enclosed documents represent the eleventh interim release of information responsive to your Freedom of
        Information/Privacy Act (FOIPA) request. This material is being provided to you at no charge at this time. The FBI
        will provide monthly rolling releases.

                       To minimize costs to both you and the FBI, duplicate copies of the same document were- not processed.

                 Currently, you have a positive balance of $885.00 from payments you submitted in anticipation of duplication
        fees for previous FOIA requests. As the FBI makes interim releases to you, it will subtract the duplication fees from
        this balance until this balance is exhausted.          '

                The enclosed documents responsive to your request are exempt from disclosure i11 their entirety pursuant to
        the Privacy Act, Title 5, United States Code, Section 552 (a), subsection (j)(2). However, these records have been
        processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
        you the greatest degree of access autJ:1orized by both laws.

                As previously indicated, documents were located which originated with, or contained information concerning
        another agency. We are consulting with the other agency and are awaiting their response. The FBI will correspond
        with you regarding those documents when the consultation is completed.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 259 of 487 Pageid#: 6028
                                       EXHIBIT l(a)(iii)
                                                                                         U.S.   • apartment rA ~ust!ca



                                                                                        Federal Bureau of Investigation
                                                                                       Washington, 0. C. 20535

                                                                                       fvlarch 20, 2019

Mr. William A. White
5725 Artesian Drive
Derwood; MD 20855

                                                                     Civil Action No.: 16-cv-00948
                                                                     FOIPA Request No.: 1224695-000
                                                                     Subject: William A. White

Dear' Mr. White:

         -The-enclosed documents-were-reviewed.under-the Freedom of lnformation/Priva~y Acts (FOIPA), Title 5,
United States Code, Section 5521552a. Below you will find checked boxes under applicable statutes for the
exemptions asserted to protect information exempt from disclosure. The appropriate exemptions are noted on the
processep pages next to redacted information. In addition,. a deleted page information sheet was inserted to indicate
where pages were wjthneld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
further explain justification for withheld information.

                                 Section 552                                     Section 552a

    -·- -- _[_(b)(l) __ -------------              r     (b)(7)(A)               _r:-_ c~Ks>
         l      (b)(2)                             r     (b)(7)(B)                _Iv 0)(2)
         J      (b)(3).                            p     (b)(7)(C)               r    (k)(1)

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                                                   r,J   (b)(7)(D)               r    (k)(2)

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                                                   ;~ (b)(7)(E)                  r    (k)(3)
                                  ! (b)(?)(F)                                     r   (k)(4)
        - - - - - - - - - - - - - :r·(b)(8)                                       r
         ! (b)(4)                                                                     (k)(5)

         r      (b)(5)                              r    (b)(9)                  i~   (k)(6)
         ~ (b)(6)·                                                                r   (k)(7)

         500 pages were reviewed and _284 pages are be_ing released.

           Below you will also find additional informational paragraphs about your request. Where applicable, checked
boxes are used to provide you with more information about the processing of your request. Please read each item
carefully.                                                         ·

         P'     Documents were located which originated with, or contained information ~oncerning, another
                Government Agency [OGA].

                1    This information has been referred to the OGA(s) for review and direct response to you.
                i~   We are consulting with another agency. The FBI will correspond with you regarding this information
                     when the consultation is completed.
         :[\I   In accordance with standard FBI practice and pursuant to FOIA exemption (b)(7)(E) and Privacy Act
                exemption 0)(2) [5 U.S.C. § 552/552a (b)(?)(E)/0)(2)], this response neither confirms nor deni~s the
                existence of your subject's name on any watch lists.
                                                                                                                                 - ~



Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 260 of 487 Pageid#: 6029




            For your inforni-ation, Congress excluded three discrete categories of law enforcement aod national security
 records from the r&juirements of the Freedom of Information Act (FOIA). See 5 -U.S. C. § 552(c) (2006 '!]. Supp. IV
 (2010). This response is limited-to those records subject to the requirements of the FOIA. . This is a standard
 notification that is given to all our requesters and should not be taken as an indication that excluded records do, or do
 not, exist. Enclosed for your information is a copy of the Explanation of Exemptions.

        Please direct any further inquiries about this case to the Attorney representing the Government in this
matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
concerning your request.

          R;_
                See additional information which follows.



                                                                  Sincerely,


                                                                  ~~
                                                                  David M. Hardy
                                                                  Section Chief
                                                                  Record/Information
                                                                    Dissemination Section
                                                                  Information Management Division

                                                                                                                             J




Enclosures (Bates pages FBI(16cv00948)-5557 to FBI (16cv00948) 6056 and Explanation of Exemptions)

         The enclosed documents represent the twelfth interim release of information responsive to your Freedom of
Information/Privacy Act (FOIPA) request. This material is being provided to you at no charge at this time. The FBI
will provide monthly rolling releases.

         To minimize costs to both you and the FBI, duplicate copies of the same document were not processed.

         Currently, you have a positive balance of $870.00 from payments you submitted in anticipation of duplication
fees for previous FOIA requests. As the FBI makes interim releases to you, it will subtract the duplication fees from
this balance until this balance is exhausted.

          The enclosed documents responsive to your request are exempt from disclosure in their entirety pursuant to
  the Privacy Act, Title 5, United States Code, Section 552 (a), subsection 0)(2). However, these records have been
 _processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
· you the greatest degree of access authorized by both laws.                                 ·

        As previously indicated, documents were located which originated 1,\/ith, or contained information concerning
another agency. We are consulting with the other agency and are awaiting their response. The FB_l 1,\/ill _correspond
with you regarding those documents when the consultation is completed.
                                                                                                                             -   J....



        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 261 of 487 Pageid#: 6030      -   -   , _ , 1_ _ _ _   -




                                    EXH{Bl.1r -~t ca)'( iv-~
                                                                                                                                                             U.S. Depanment of Justice
                                                                                                                                                                        !




                                                                                                                                                            Fedeial Bureau of Investigation ·
                                                                                                                                                           Washington, D. C. 20535

                                                                                                                                                           April 18, 2019

                   Mr. William A. White
                   5725 Artesian Drive
                   Derwood;--MD 20855

                                                                                                                                         Civil Action No.: 16-cv-00948
                                                                                                                                         FOIPA Request No.: 1224695-000
                                  (                                                                                                      Subject: William A. White     -



              ·:      -- ··-----Thenmclosed· documents wenf reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
                    United States· Code, Section 5521552a: Below you will find checked boxes .under applicable statutes for the
                    exemptions asserted to protect information exempt from disclosure. The appropriate exemptions'are noted on the
                    pro_cessec:l_ Qag~s r,_e)g_ to reda_cted informa_tion. Ir} addition, a deleted page information sheet was inserted to indicate
                   where pages were withheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
                   _f!J_rtheLexp_lain justifi_cation fo~ withh_eld informajion.

                                                               Section 552                                                                           Section 552a
--~~~ -=- - -~ . ---------rJ~H1)~-~~-----·-·--- __f:.{t?><n<A)                                                                    --                _c_(g)_(§)
                              r       (b)(2)                                                    r       (b)(7)(B)                                     r~ mc2>
                              P       (b)(3)                                                    '!;7 (b)(7)(C)                                        r· (k)(1)
                            _F_e-'d_R...;.c.·__;:C_ri_m.c.....'-'Pr-'-
                                                                   . .>.;:(6..c.e,_)_ _ _ _ _   I~      (b)(7)(D)                                     J   (k)(2)

                            ------------- r (b)(7.)(F)
                                                                                                j-;i (b)(7)(E)                                        r   (k)(3)

                            - - - - - - - - - - - - - r ·(b)(8) ..
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                              r       {b)(4)                                                                                                          r   (k)(5) -

                              l ,(b)(5)                                                         J       (b)(9)                                        J   (k)(6)
                             ,p (b)(6)
                                                                                                           \1
                                                                                                                                                      r   (k)(7)

                             512 pages were reviewed and 61 pages are being released.

                              Below you will also find additional informational paragraphs about your request. Where applicable, checked
                   boxes are used to provide you with more information about the processing of your request. Please read each item
                   carefully.

                              r       Documents were located which origi~ated with, or contained information concerning, another
                                      Government Agency [OGA].

                                      1   This information has been referred to the OGA(s) for review and direct response to you.
                                      1   We are consulting with_ another agency. The FB! will correspond with you regarding this information
                                          when the consultation is completed.                                                     ·

                           Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
                   request. The "Standard Responses to Requests" section of the Addendum applies to all requests. If the subject
                   of your request is ·a person, the "Standard Responses to Requests for Individuals" section also applies. The
                   "General Information" section includes useful information about FBI records.
      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 262 of 487 Pageid#: 6031



                                                                                                                 I
                          Please direct any further inquiries about this case to the Attorney representing the Government in this
                 matter.. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
                 concerning your request.                                                                                       ·

                           /.;            .           .
                          .·     See additional information which follows.



                                                                                 Sincerely,


                                                                                 ~~
                                                                                 David M. Hardy
                                                                                 Section Chief
                                                                                 Record/Information
                                                                                  - Dissemination· Section
                                                                                 Information Management Division




                 Enclosures.(Bates.pages FBI (16cv00948)-6057 to FBI (16cv00948)-6568 and Explanation of Exemptions)

                           The enclosed documents represent the thirteenth interim release of information responsive to your Freedom
--~----~-. ----~=o_f lnformation/Privacy;Act(FOIPA)Jeguest. This material is being provided to YSJU at no charge at this_time. The
                  FBI will provide monthly rolling releases.

                         To minimize costs to both you and the FBI, duplicate copies of the same document were no_t processed.
                                      '
                          Currently, you have a positive balance _of $855.00 from payments you submitted in anticipation of duplication
                 fees for p·revious FOIA requests. As _the FBI makes interim releases to you, it will subtract the duplication fees from
                 this balance until this balance is exhausted.

                         The enclosed,documents responsive to your requ~st are exempt from disclosure in their entirety pursuant to
                 the Privacy Act, Title 5, United States Code, Section 552 (a), subsection 0)(2). However, these records have been
                 processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
                 you the greatest degree of access authorized by both laws.
                           .                                             '
   Case 7:08-cr-00054-EKD Document 411-2 Filed1 10/05/20 Page 263 of 487 Pageid#: 6032
                                                                     EXHilH·T.: .;[:fa) (:v)
                                                                     -------              /   ..-> - - -   -    '

                                                                                                                                    U.S. Department of Justice




                                                                                                                                   Federal Bmeau of Investigation
                                                                                                                                  Washington, D. C. 20535

                                                                                                                                  May 20, 2019

            Mr. William A White
            5725 Artesia_n Drive
        · · Derwood;··MD-20855

                                                                                                               Civil Action No.: 16-cv-00948
                                                                                                               FOIPA Request No.: 1224695-000
                                                                                                               Subject: William A White     · ·

           Dear Mr. White:

-- - -- - ·· --·- ----.- ---The·enclosed-doc1:1ments-were-·reviewed ·under the-Freedom of Information/Privacy Acts (FOlPA), Title 5,
               . United .States Code, Section-552/552a. Below you will find checl<ed boxes ·under applicable statutes for the
                 exemptions asserted to protect information exempt from disclosure. The appropriate e:Xemptioris are noted on the
                 processed pages nextto redacted information. In addition, a deleted page information sheet was inserted to indicate
                wnefe pages-weh:? withhelc:fentirely pursuant to appiicable exemptions. An Explanation of Exemptions is enclosed to
                further explain justification for withheld information.
            ::.   -   -               • -           -     .,_        ~-


                                                        Section 552                                                         Section 552a
                            f'.'. (b)(:1)_ __                             -~-~J (b)(7)(A)                                 _ _[ (d){5)_
                            f:    (b)(2)                                             : , {b)(7)(B)                          p    0)(2)
                            J?    (b)(;3)                                            w:, (b)(?){C)                          !    (k)(1)

                          _F_e_d_R_. ....:..C.:.;..rim_._P_r._,(_6e"--'-)_·_ _ _ _   ~ (b)(7)(D)                            r    (k)(2)

                          _5_0_U_S_C_3_0_24~(~i)(~1~)_ _ _ _ _                       W (b)(7)(E)
                                                                                     1                                      r    (k)(3)
                                                                                     f"   (b)(7)(F)                        .r    (k)(4)
                          ----------~-- r                                                                                   r
                            r     (b)(4)                                                  (b)(8).                                (k)(5)

                            f.?   (b)(5)                                             1=   (b)(9)                            1=   (k)(6)
                            R'    (b)_(6)                                                                                   J    (k)(7)

                           501 pages were reviewed and 104 pages are being released.

                      Below you will also find additional informational paragraphs about your request. Where applicable, checked ·
           boxes are used to provide you with more information about the processing of your request. Please read each item
           carefully.           ·

                           r      Documents were located which originated ~ith, or contained information concerning, another .
                                  Government Agency [OGA].

                                  r   This information has been referred to the OGA(s) for review and direct response to you.
                                  I   We are consulting with another agency. The FBI will correspond with you regarding this informatiqn
                                      when_ the consultation is completed.

                    Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your_
           request. The "Standard Responses to Requests" section of the Addendum applies to all reque$ts. If the subject
           of your request is a-person, the "Standard Responses to Re.quests for Individuals" section also:applies. The
           "General Information" section includes useful..: information
                                                                ';•
                                                                        about FBI records.                 .
            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 264 of 487 Pageid#: 6033




                            Please direct any further inquiries about this case to the Attorney, representing thf;: Goverhment in this
                    matter. Pfease use the FOIPA Request Number and/or Civil Action Number in all correspondenc~ or inquiries
                    concerning your request.                                                                                           ·


                              GI   See additional information which follows.



                                                                                           Sincerely,


                                                                                        -~~
                                                                                           David M. Hardy
                                                                                           Section Chief ·
                                                                                           Record/Information
                                                                                             Dissemination Se~tiqn
                                                           ,, .                            Information Management Division




                   _Ench;isures (Bates pages FBI (16cvQ0948)-6569 .to FBJ (16cv00948)-7069, Explanation ,of Exemptions and FEil
                   FOIPA Addendum).

                                     The enc;:losed documents represent-the fourteenth interim release of information responsive to your Freedom
                                                                                       •
. . . __ -.- -·· - ~-~~oflrif6ffn8tiOrf/P1-iva"cy_.)XCf(FOIPAY r€cfUSSt.~--Tftis·-n,aterf8riS- 8iri9-ProViOE3Q to you at no charge at this time~ The
                            FBI will provide monthly rolling releas·es. ·

                            To minimize costs to both you and the FBI, duplicate copies of the same document were not processed.

                            Currently, you have a positive balance of $840.00 frorp payments you submitted in anticipation of duplication
                   fees for:previous FOIA requests. As the FBI makes interim releases to you, it will subtract the duplication fees from
                   this balance until this balance is exhausted ..

                            The enclosed documents responsive to your request·are exempt from disclosure in their entirety pursuant to
                    the Privacy Act, Title 5, United States Code; Section 552 (a), subsection 0)(2). However, these records have been
                    processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
                    you the greatestdegree of access authorized by both laws.

                             For your information, sealed court records are not eligible for release under the Freedom of Information
                    Act. Material responsive to your request has been withheld and marked "OTHER-Sealed" pursuant to appropriate
                    orders issued by federal district courts.
Case 7:08-cr-00054-EKD Document 411-2L(a}(vi}
                           EXHIBIT     Filed 10/05/20 Page 265 of 487 Pageid#: 6034
                                                 -----------------
                                                                                                            U.S. Department of Justice




                                                                                                           Federal Bureau of Investigation
                                                                                                          Washington, D. C. 20535

                                                                                                          June 20, 2019

  Mr. William A. White
  5725 Artesi.an Drive .
  Derwood, MD 20855

                                                                                    Civil Action No.: 16-cv-00948
                                                                                    FOIPA Request No.: 1224695-000
                                                                                    Subject: William A. White .

  Dear Mr. White:

            The enclosed documents were. reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
  United States Code, Section 552/552a. Below you will find checked boxes under applicable statutes for the
  exemptions aBserted to protect information exempt from disclosure. The appropriate ~xemptions are noted on the
  processed pages next to red 9cted information. In addition, a deleted page information sheet was inserted to indicate
  where pages ~vere withheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
  further explain justification for withheld information.            ·

                                       Section 552                                                ·section 552a ·
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          . 501 ~ages )Mere reviewed and 159 pages are being released.                        1


  .         Belo} you ~HI also find additional informational paragraphs about ~our request. Where applicable, checl<ed
  boxes are used to pr;ovide you ;with more information aboutthe processing 9f your requi3st. Please read each item
  carefully.·       JI       . ,                                              I
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           r;-;r ~oyum~nts-~ere located which_ originated with, or contained +or~ation concerning, other Government
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                  rl      Thi~ informatiqn has been referred to the OGA(s) for revie1 and direct response to you:
                  Fil     We '.are consuiting with another agen~y. The FBI will corr~spond with you regarding this information
                         . when the consu[tation is completed.     ·                I
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           Please refer!to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
  request. The l'.'Staridard Responses to Requests" section of the Addendum applies to all requests. If the subject         i
  of your reques~ i~ a 1::ierson, the "Standard Responses to Requests for l~dividuals" section also applies. The
  "General lnformati?n>' section i!7Cludes useful information about FBI reco~ds.
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 266 of 487 Pageid#: 6035



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           Please direct any further inquiries about this case to the Attorney representing the Govemme~t in this
  matter.. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
  ccin_ceming·your request.                     .      -                                               ' ·

           w   See additional ir)formation which follows.



                                                                     Sincerely,


                                                                     ~~
                                                                     David M. Hardy
                                                                     Section Chief
                                                                     Record/Information
                                                                       Dissemination Section
                                                                     Information Management Division




  Enclosures (Bates pages FBI (16cv00948}-7070 to FBI (16cv00948)-7570, Explanation of Exemptions and FBI
  FOIPA Adden~lum)

           The enclosed documents represent the fifteenth interim release ·of information responsive to your" Freedom of
  lnformation/Priyacy Act (FOIPA) request. This material is being provided tb you at no charge at this time. The FBI
  will provide monthly rolling releases.                                       l




          To minimize costs to both you and the FBI, duplicate copies of the same document were not processed.
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           CurrenW, _you have a positive balance of $825.00 from payments ybu submitted in anticipation of duplication
  fees for previo1~s FOIA requestir •As the FBI m~kes interim releases to yoJ, it will subtract the duplication fees from
  this balance u~til this bal~nce is exhausted.                            .      I
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     .    The eri_close9 documents responsive to your request are exempt frtjm disclosure in their ~ntirety pursua~t to
  the Privacy Act, Titlet5, United States Code, Section 552 (a), subsection O)(Q). However, these records have been
  processed pur~uant to the Fre~dom of lrifor~ation Act, Title 5, United States Code, Section 552, thereby affording
  you t~e greatesfdegfee of access authorized by both laws.            _ · · .    I       _ _           _
           For yJur inf?rm'?tion, sealed court records are not eligible for releai,e under the Freedom of Information
  Act. Material ~esponsive to yoyr request has b·een withheld and marked "OTHER-Sealed" pursuant to appropriate

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     ,' Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 267 of 487 Pageid#: 6036

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          Precedence:                      ROUTINE                                                                                         Date:         02/15/2008
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          To~       Criminal Investigative                                                                     Attn:<      Civil Rights Unit

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 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 268 of 487 Pageid#: 6037


     To:      Criminal rl!'stigati ve                                                    From:
     Re:      44B-CV-NE~, 02/15/2008


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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 269 of 487 Pageid#: 6038



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  To:' Criminal Investigative                         From:              Cleveland
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  Re: - 44B-CV-NEW, 02/15/2008


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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 270 of 487 Pageid#: 6039




 To:     Criminal Investigative
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 Re:    .44B-CV-NEW~ 02/15/2008
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 To:
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        Criminal Investigative · From:             Cleveland
 Re:   .44B-CV-NEW, 02/15/2008


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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 273 of 487 Pageid#: 6042


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 To.: Criminal Investigative                                    From:   Cleveland
 Re: .44B-CV-NEW, 02/15/2008




 LEAD(s):

 Set Lead 1:                  (Action)
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         CRIMINAL INVESTIGATIVE

                       AT WASH~NGTON, DC
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     .     For the;Civil Rights Unit t,o reitiew and forward.th<:
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                                     EXHIBIT 2:1·{c2)

     (Rev. 01-31-2003)



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               Precedence:               PRIORITY                                             Date;
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                                                                                                           ,       !
                                                                                                                   I


                                                                             Attn:    Civil Rights S~ad
                                          -
                         SpringfielH                                         Attn:    Civil Rights S~ad
                                                                             Attn:    Civil Rights Squad
                                                                             Attng    civil Rigpts smlad
                                                                                      JTTF, TFOL'                                          b6
                                                                                                       ----;::::=====--.                   b7C
                           Richmond                                          Attn:    Roanok~ RA, s~ David -~hu_:r;-ch               _J_
                         j_· Cinc·i na t t:i      .   I                      Attn :   P q.,YoJ:_Q;.
                                                                                                  . l\ ·
                                                                                           - Js·- - ,
                                                                                      TFO
_ ____ ______ _ ___ j louisville                  L_                         Attn:    S~ TJB                   I
          _. _B:rom_:         <::l e:v:~l ~nc,i           __ ... _______ _
                                    Lima Resident Aaencv
                                                          ~:;;;;.,,.,.;.;.;;~=~~-----------------,I
                                  · co'ritac·t: SAj;~~:t_c:111 _]f Rii's"s
              Approved.By:

               Dra.ftedi" By_:

               Case ID#: 44B-CV-74237_...-\U(Pending)

               Title:
                              I
                              · ·WILLIAM
                                                          I·
                                           ALEXANDER WHITE,
                                                                                                                                           b6
                                                                                                                                           b7C


                                AMERICAN NATIONAL SOCIALIST WORKERS PARTY;
                              I r JlJl IAN UPTHEGROVE       ' ~   .
                              . .RACIAL blSCRIMI_NATION - NO'ORCE/VIOLENCE

               Synopsis: Leads set to identify members of the_ American National
               Sq~ialists Worker's Party (ANSWP).
               Enclosure(s):  CD containing images of hate mail, envelopes, and
               package containing the noose.                                                                                               b6
                                                                                                                                           b7C
               Reference:                Telcals and email communicatio~s between sAI -~avid                                     I
           I Church !Roanok:e Rk,              and TFO! _         jof th~ Portla'r.14 Division;
               Details: The purpose Qf this communication
               of the ANSWP and to s ecifica 1                                                                                             b6
                                                                                                                       ,.
                                                                                                                       I
                                                                                                                                           b7C
                                                                            who may be responsible for mailing~ noose and
              11..0...,.t~e-r.......-a"""t"""'e_m_a_i,...l,.........t_o..... Lima, Ohio. Once identified, a subpoena will be
               issued in order to obtain DNA and fingerprint/palm print samples
               which will be forwarded to the FBI Laboratory for comparison with·
               the physical evidence. ·


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              Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 275 of 487 Pageid#: 6044
                                                                                                                                               r
                        I 44B-CV-74237,
                                   IFrom:03/11/2008
                                                                                                                                               I
                                                                                                                                         .00   f
                  To:                       Cleveland                                                                                    b7C r
                  Re:



                                    Trial ,_L.~~er. l~arry Kowalski - lof the · Unit~d States                                           b5
                                  t--of-~Jusl,ice · ·C v2:l Ri hts -Division Criminal Section has                                       b6
                                                                                                                                        b7C
                                                                       In addition, the United States
                  Department of. Justice has. opene~ a broader investigation into White
                  and_ po1;:.ep.tic3.l_ly_;ill~g_?l,;I. aJ;!d·_ tp.re~tening act~vit~es_ he is involved
                -_· · ~-~A~~'i~j91:o~~-f~-~:~s~t!;!~-de~sfgeh~it~~:_A~:;tlir:-~Jg -f                   ~\'hi~a~a~l~~=f
                      i_n_:i,t.iirt::i,y~ __tg.;i;::gEi:t;i.ng _:S:i,_l).... White ·an_d the .~_SWP. Lead Agents are
                      st-ill --:airect:ed ·to provided the results to ·this lead under the·
                      Cleveland Di vision . f iie number .,....__....,.......,.--=-,___......_,_       The _Cleveland
                     Divisiqn_ w:i-11_-brte.f $pe_cii;r1·: 0A en :1:Dav_id Church· Roanoke ·RA 44A-RH-
          .    .. :· 53-9-08)'.,,. 'and <Trfa:r ·Lawyer·· owalski- on ·t·e· results, pr9vided to
--- _______ - -c1eyelana:.--~----- ----- -·-                                       - ~ - ____ . ____         ·    ·
                                                                      ·BACKGROUND

     -·                    ·          .     ~he American· National . S_ocialist Workers Party (ANSWP) .
              ... . __ formed .in.early.20D.6:.___william.-.i~Bill 11•.• White .. is the IICommander" of
                       tll.:i,.~__ _g:i;:qllp an9-_~ :i:_-<:isJd~s. in Roanoke, Virginia. He used to be
                       associated with the--National Socialist, Movemertt (NSM), .·but left
              . -.,-f hem· £11'.::~:-@·0~6.-b9"---C:iieate:..:..1;-r1e::'.:f-illswp.;_:::_'He:_wa:s-t-he-0r9an-i-zer-0f--a---ral-1y
                  in Toledo,, . 'Ohio                 ·                   ·              ·
                  ANSWP ·claims to                                                                                                      b6
                                                                                                                                        b7C
                                                                                                                                        b7D




                                  ACTIVITY IN THE LIMA RESIDENT AGENCY TERRITORY
                                                                                                                                        b7D




                                                                                                                                        b6
                                                                                                                                        b7C
                                                                                                                                        b7D

                            I                                                                                             I
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 276 of 487 Pageid#: 6045


    To:
  - Re:
           I44B-CV-.74237,
              : . I From:03/11/2008
                            cieveland
                                                                                                       b6
                                                                                                       b7C
                           I                  ~
                                                                                                       b6
                                                                                                       b7C
                                                                                                       b7D




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   · the                                                                                               b~
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                                                                                                       b7C
                                                                                                  ,J
                                                                                                       b7D




                                                                                                       b6


  r                                                                 FLYERS DISTRIBUTED
                                                                                                       b7C
                                                                                                       b7D




            .    - on[:Febru~y 14~ 200a mem'.bers'\ :of dthe ANSWP did travel                          b6
     . to Lima, Ohio and distributed f l.yers containing . hateful messages                            b7C
       related to the death· of .Tarika. Wilson. - It is believed that the
      hand delivered letters were 7 de l-i-.vered by _8_Py.er       The letters also -
       ~ained ·Cr>~ct                i fformati.on ·. · o    answp@nazl.org r - 7.
  .j. · • ·           -~ ~           . _ Several citizens of L;i.:ma, Ohioi r e ~
   .. : ~e .r~ceipt            o
                        ~~ -~ese · flyers to the -ACSO .. and LPD-.   Many ·citizens
      also received the same hate letters in the mail postmarked from
  1·

                   On f'eb:rua r·y 11.; ·,·20 0 8 . BlA'r k~::=:1:~:=::::':==""'~~~~~,.-{NAAC'P        b6.
   )',-:·-p: on~ that the~KN'.SWJi~-wo.ul d have ·one o.f fhe~TffnTo: guys_ stop -0");.,               b7C
    fhe N.A.IL -.. -s·-re7s-i'den_c_e':.,to•• d.i scJJSS their :co.n~erns :-. . · ·                    b7D
                  This wouid have been the week of                                           No
    further information was provided.                            .__ _ _ _ _ __,..--~
                                                                                                       b6
                                                                                                       b7C
                                                                                                       b7E


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             Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 277 of 487 Pageid#: 6046


                        ·To:                    I
                                               ·From: Cleve~~nd
                        Re: '--4-4=B---c=v~-=7-4237, 03/11/2008

                                                                                                                                                                b6
                                                                                                                                                                b7C
                                                                                                                                                                b7E



                              .. :'
                                On February. 14, 2008 the local NAACP                            T11]Tan 17:wri:roan· ·                                        b6
               I -Upt,begrove-1    con1;:~c1;:_eq.,-tl1.~ _A_lien_ Cpunty S?eriff,i s O~f~ce becau~e he                                                        b7C
                                                                                                                                                               b7D
                · too received_racist literature in_the. mail_. I_n 1;1.dcl:i,.t;i,._o:1;1tQ -t.his he
                 ··recelve·a:--:a-··I'aCkaqe. containing :a. ~noose. . ·rt is "believ~d this
                  . incident was wbatl_ ·              I was refernna t_o wben be :stated tbat. the
                    1-      ·- .--:·. -- . - . - ~ -        . . . ..       .. .       . .   . . . .                              -, I

                          ·. · lu'pt.b_e;g~e- Irece..tved-
                                       1
                                                    two ·enve:topes:
                        .white and.owas. postmarked· onr .
                                                     "
                                                                                One
                                                                          linl. . ?    -~
                                                                                               wa'
                                                                                                 •
                                                                                                                  ;nye,J.o:~                                    b6
                                                                                                                                                                b7C
   --~•- _· --·Thi•s·-·-envelopEf=c-0n:t.ained_the_same __ racis.t ___ f liers.. an _a Na iona
              So_cialis.t..magazine _titled !'The Negro Beas't. 11 •           The "white envelope
              showed a return address of                               I                                                                            I
. _________________ I       ·-· I ~-------- _.. -.-- - -------· -------- ----.. . ..
              . . .. ·- __ . -··•- .,. __ , ..-.He. also ____ receiv:ed--a--. yellow--envelope ... with no return
                     ~9:<;l;::§s,_1::1_. __ 1_ .,••• 'I'l:l~. - _ye_llow: .e:i:wt?lc;>pE= contained a Nation.al Socialist

              --~-;:~:~;:v~~=~e~t~l-1 . . . ..
                · magazine· entitled· "Lynch the Jena 611 and also contained a noo·se.
                                                                            l:s~'amps-        11
                                                                                                 wli±ehwere·
                                                                                                           ~j-miJrr--to--the
                                                                                                                                                                b6
                                                                                                                                                                b7C

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                                 .,)       Iu shouict be noted that the· letters mailed L....r-----,___J                                                        b6
                  -------.-ha . . · · . . · . .: addresses and return addr.,.:.e;;.1;s~s.i..:e,...s1:a:..1._ _ _ _-a;1;.,.                                      b7C
                    them.··· The let:: ers mai e L..._.....;..·-~·:...·;,.;.·..~,:::.i.:'~"1,~-_ _ _ _...;..,-_d,Wl._ _ _ _ _--,r-----'
                  I         . l()J:.l thew _with n~ ·ret;:~rn _adclress. TheL--------....1 are
                    ~~~J:.~ar. to th~        .              I
                                                  use_d . bn the ye'l;tow package containing the
                    noose. This co!rib;Lned with the same stamps being used frord1. _ _ _ _---1I
                    and on ·the ·noose ·package· lends credibility to the idea that the
                    noose was· mailed frorq .              .                                I
                                 It should also· be noted tbaf:. the white envelope and
                     contents were _mailed fro~I                  Lnd t<.:=1t seven of the hate                                                                 b6.
                     letters were mailed froml.___________,...,....iJ The yello~ envelope                                                                       b7C
                     cont.aining_ the.. noose was: received by the .victim on· the same day as
                     the large white envelope from!                      I In · addi ti an both
                    .envelope 9. contained 2)1-ilpWP"hate magazines.                       !is aI .·
                    suburb o~       · ( This information lends credibility to the
                     idea that·t~f yellow envelope containing the noose was mailed from
                   I                        -
                                                                       EVIDENCE:

                        •      lB-1; 5 hate letters, no envelopes;
                                                                                                . .J

                        •              .I              -
                               lB-2 · 3 -hate J rtt_ers and envelopes postmarked!
                                                                                                               L..---.....____               _.....
                                                                                                                                                           -    b6
                                                                                                                                                                b7C




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                                                                                                                                     FBI(16cv948)-488 .

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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 278 of 487 Pageid#: 6047

                                                                                                                                                       . b6
               To= 1                          -1 From:                 Cleveland                                                                        b7C
               Re:         44B-CV-74237,                      03/11/2o·oa


                           lB-3; 21 hate., .letters and envelopes postmark~d
                                        1             I
                                                                                                                                 I
                                                                                                                                 '-----
                                                                                                                                                        b6
                                                                                                                                                        b7C
                           ,   - - ·--- -- ,--.- - ------ --- -   ·-

               ®           lB-4; ·White mailing envelope, 2 -hate letters, 1· hate document,
                                  1 .ANSWP magazine 11 ':t'he Negro Beast";

               ®           lB-5; Yellow mail.tng envelope, 1 ANSWP magazine                                                      11
                                                                                                                                      Lynch the
                           ,--- ______Je_p,9- ~ ''-, _ ~9Q~~~; _____ -- ,_ ------·. -

               •           1B- 6 ; o ' t e                . letters and er,velopes postmarked froml.__ _ _ _...al

                           lB-7;. -4·- hate lette:t"s and envelopes ·postmarked frond_-
               @
                                        I. - . . :.,      ~                                                                           ..____   __,1




-·-------------·· ---.---iB~ 8;             2 hate le1;.~-~~~--~;~d-, e;--~~l;p~~-p;-~t~arked from ...                           !______,.
               _! _______ !'.§_-::~L~          .P:~t_E:_-1_~1:::t_er~_,           I)'?_   e!).ve:lppes;
                               .                 --

               8   ___ .   _1B~10 ;: l27,,rate_.letters---and envelopes postmarked&..l_ _ _ _ _ _-1


    ~~----~~~--------SOURC2E-I-NFORMATI0N-~----· -· -

                                        A      Confidential                      Human          Source               CHS   was   tasked .with
                                                                                                                                                        b6
                                                                                                             ource                         owing        b7C
              ·information:·                                                                                                                            b7D
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                                                                                                                                            FBI{16cv948)-4885

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        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 279 of 487 Pageid#: 6048


             To: '-,           ·· ] From:    Cleveland                                                                                b6
             Re:4B-CV-742~7,             03/11/20'08                                                                                  b7C




                                                             LEXIS-NEXIS

                       A search of Lexis-Nexis                             for              the   above            individuals
             provided the following infd:r."n'lii:ition:"'·
                    ·,':

                                                                                                                                      b6
                                                                                                                                      b7C
                                                                                                                                      b7D




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               · - - - - - - - - - --------······· ·-··--·-·····      --··--   ..•. ,   .




- - - -.... ·---~~~---,..---------~---·--··- ~-···-~----- ------------ ----- ---                    __,__   -~ -   - -




                                                                                                                                       b6
                                                                                                                                       b7C
                                                                                                                                       _b7E




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                                                                                                                          FBI(16cv948)-488Bi

       - - - - - - - - ------.-
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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 280 of 487 Pageid#: 6049


                 To: [      ] From: Cleyelan?-                                                                                                                 b6
                 Re: 44B-CV-74237, 03/11/2008_                                                                                                                 b7C




              l._-_ ________________:___..,_. -.. . .,. .______. .· ·. .;·•. .                     J>.,_.....,..._ _ _ _ _ _ _ _ _ _ _ _ _ _                 _.I~~;
                                                        UNITED .:STATES POSTAL,, SERVICE

                                  United States Po.stal -Inspecto                                                                                              b6
               ~.,....-~..;.;;...-_.-. _. ...,_qo_P::t=.?-_g:t=ed_ r~ga:r:-cl~ng   the.                                                                        b7C
                                                   . ---             -           e
                                                                                                                                       · ·advised that
              ....___-=p~a~c:"I_~_a=-g=-e::----~w:-::a~s::-_--:_m::-a'.:""'.!"i'9...'""".:'.~"""l'!'.=::--~'."":""""---------,=~:-=-r.~~ the USPS.     The

                      accepted the piece is .__                   _____
                   · B;i::-anch Manager is -~-r--------,---------------- and the Clerk who
                                                                                                                 ...;...;....




r. -·.- · •
1   _-              -- - - - , - - The -~,'- .other hate - mail letters . were
               ··-fo:tlow~~ng ·locati·orrs~~--- · ----------------- -_______ · ____ -----·
                                                                                                                      mailed           from         the

                                                                                                                                                                b6
                                                                                                                                                                b7C




1----------~1~~-~~----------------------------- --- .......... .



                 Descri tive·nata of ·Known ANSWP Member associated wit                                                                                         b6
                                                                                                                                                                b7C
                                     -MA!N SUBJECT'
                                  - · Name ..:
                                       ·Last:
                                        First:
                                        Middle:
                                      Race:·
                                      Sex:
                                      DOB:
                                      DLN:
                                      SOC:
                                      Address(es) -
                                        House .#:
                                       _Street Name:
                                        Street sui'fix:
                                        City:_
                                        State:
                                        Postal · Code.:
                                      Phone#~
                                      Phone#:
                                      Miscellaneous:


                                      MAIN SUBJECT
                                      Name

                                                                                     7
                                                                                                                                                 FBI{16cv948}-4887

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                                       - -·- ....... - -·---- --· --
                                                    .            '

     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 281 of 487 Pageid#: 6050


          To:
          Re:
                i 44B-CV-74237,
                          j From: Cleveland
                                03/11/2008
                                                                                                     b6
                                                                                                     b7C


                                                                                                      b6
                         Last:                                                                        b7C
                         First·;
                      .Race:
                       Sex:
                       DOB:
                       FBI:
                       SOC:
                        Address(es) -
                     · · House-#: ·
                          Street Name:
                          City:
                          State:
                        Height:
                        Weight:
                    -- ·Hair:--·· _____________ _
                        Eyes:

                       MAIN SUBJECT
                    - · Name··-.::-----"
                       _... Last.:___                       White .
                            First:                          William
                            Middle:                         Alexander
-~---------Race:_.-____ -------------· -W-------------
                       sex:                                 M
                       DOB:
                       FBI:
                       DLN:
                       SOC:
                       Address(es) -
                         House#:                            1602
                         street Name:                       Patterson Southwest Avenue
                        -City:                              Roanoke
                         State:                             Virginia
                         Zip Cod.e:                         24016
                       Address (es)
                         Ha.use#:                           188
                         Street Name:                       Summit Way
                         City:                              Roano·ke·
                         State:                             Virginia
                         Zip Code:                          24014
                       Address Ces)
                         House#:                            P.O. Box 8631
                         City:                              Roanoke
                         State_:                            Virginia
                         Zip Code:                          24016
                       Height:                              5_121111
                       Weight:                              220
                       Hair:                                Black
                       Eyes:                                Brown




                                                        8
                                                                                         FBI{16cv948)-4888
                                                                                                                                                                   ___ I _____ ---- -
i        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 282 of 487 Pageid#: 6051
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                  To:
                  Re:
                             I               From: Cleveland
                                   44B-CV-74237-, 03/11/2008
                                                             I                                                                                                                                                     b6
                                                                                                                                                                                                                   b7C



                --- -   --   ,-~   -- _, - - --    --- - -
                  LEAD (s) :·

                  Set,        i.:ead -1:                     (Action)
                                                                                                                                                                                                                   b6
                  ""•-1      =~         ---                 •- --- -   1-- ----·--- _ ,---                                                                                                                         b7C

                                              )~;-:e.f_r~_ ~~?HTSr_ l
                                              .    ~   J:     '-_            . ·.   .     .                            .
                                                                                                                                                                                                                         .I
                                             Conduct logical investigation to identify members of the
                  AN_~w_p ~n ~he!"·. - _:, - _.. :,:·. ·;c:;~._--·;;c,la:i::ea. ._coordinate-:·w-ith--t,he Do111estic
                  ":re:i;Z'.o+_.;t,!3_IJ1.___ ~~qµad_:_ in_._ord~r_: t9 :_ .;i,qent1fy t:_hese _me_mbers.    Canvas
---------~--..-~:~a~~~t~:~Hu~;nC~~ur;c:s·i~C~S)·;;~~~~o~- --~~---;_~~~;t· -;~-- -t~~-1- -                    ---_'
                                                                                                                                                                                                                   b6
                                                                                                                                                                                                                   b7C
              . 1------------------ ___... --------- - --·.: --- •·:-1 ·Provide fuli descriptions; photographs,                                                                                                    b7D
     ·      ·     and backg_round of all ANSWP members identified, including all knowrt
    -- ---- - ·-- te1~epliohe~:numoer1:r~~n""d-rocar arre-st history. All. reporEi"lig ·should                                                                                                                            I'
                _,l:?_(:: ~¢1gcumented __ via_ FD.:.30:2 ~------
                          - -·-- - nefeifnine                                 It-   l . .· -
               t _-- -:~_;.: ._.: : ·'"• ____:: · ~;: · _ •· · · ·j _1.,.t...:._e-1-.e;_p._h_o_n_e__-:_11--=.::~-=.::.:::--=.:__-=_=_'---::.=:=-=---_--=._,.j.s""'s=AN"""'""'-r.j_;______-__-_-___-_-------,
                                                                                                                                                                                                                   b6- -,
                                                                                                                                                                                                                   b7C
                  is associated with the ANSWP.                                                           ·
                  Set        :L'ead           2:            ·(Action)
                                                                                                                                                                                                                         . 1
                             rsPRINGFIEltj                                                                                                                                                                                i
                                                                                                                                                                                                                           '
                                         . : ~CJVlL_RIG»Tsl
                                 Conduct lo ical investigation to identify members of the                                                                                                                          b6
                  ANSWP in th .-P€cfr~fa:-m~:f"'·1rt·:s~·I'I.! area .. Coordinate with the Domestic


                                                                    i; :s~
                                                                                                                                                                                                                   b7c·
                  Terrorj_sm _squad in order - to ·,identify these _ members. . .- Canvas -                                                                                                                        b7D
                  Confidential Human Sources (CHS) to! . - _                     .                  '
                  and · de;rmin~ ·               ~ in a .· position to report on the I
              !            ~       -·~              _ _~
                                                      Prov_ide full descriptions, photographs·,
                  an<£ ,ba~ g:r:;(?un~ ¢2 a~~~-~s_:p _memb~rs- identified; including all known
                  telephone numbers and local arrest history. All reporting sho_uld
                  be documented via FD-302.

                         _ Dete~mine if thel                      !1~sted above are                                                                                                                                b6__   I
                                                                                                                                                                                                                   b7C
                  associated with the ANSWP. - - - - - - - - - - -

               ·Set Lead 3:                                  (Action)


                                                       -                 I
                            Conduct logical investigation to identify mernpers of_ the
                  ANSWP in the!                !area~ Coordinate with the Domestic                                                                                                                             \
                                                                                                                                                                         !



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           Case 7:08-cr-00054-EKD                Document 411-2 Filed 10/05/20 Page 283 of 487 Pageid#: 6052
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    < -'




                  To:    L                  I From:
                                               Cleveland
                                                                                                                                                   Ii                        b6
                                                                                                                                                                             b7C
                  Re:        4.4B-CV-74237, 03/11/2008

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                --f6rifi~iiiE1ai~~~~~ns6iii~:~~ ·.(i~~)id;~-rj~fM: these    member;s   r~rnva~                                                                               b7D
                   and deterroi ne if CHS is in a position to report on the 1                  /
                 I ·. .. : . ,· . . . -                       .. I
                                                     Provide ,full descriptions/ photographs/
                 · and background of all ANSWP members identified, · i·ncl uding all known
                   telephone·numbers·and·loca1 arrest history. All reporting should
                 .be-documented·-v±a-FD-;;;;;•3·02..     ---··-------- -
                                                                                                                                                                             b6
                  •·-- -... ·:::·· ~- ---.Ful-1 · identif - -                                                                                                                b7C
                                                                                                      including providing any local
                  arrest          is:to_ry_ ~_nd p()~ic.e" r~pori:s ._                                                  \     -




- . ________., __~-==-=--~--=-=~~~~~~~~~~~~--~-~---~-~--;;
                                                        __,.,;,~~:~~-.~
                                                 e ANSWP. -
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                · -- - - ·. ... : · s associate

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                  - - . . ... . Co~~~?ct   ioa+cal inv.~stia~;inn to -;~den,ifymembers _o~ the
                   ANSWP,.,, in the[ -. . . -. _     . !and[          __ ...    _   Jarea. Coordinate
                   with. the Dorn~_stic Terror:i.sm squa                  in. or er to identify these
                   nj.emb¢rs. , Cahva:s Cori:f:identiaL. Human Sour_ces (CHS) to                                                                        I               I
                I                            . I and deterrri.i-ne if.· CHS is i:q. a ·position -to
                 ·•report-- on · t_he··! ·   • ··::·· ·    · . -•· · - · · · ·        j Provide ful.l
                 . descriptions,- photographs, - c1:nd ·background of all ANSWP members
                   idegi;.ified, .including __ all known telephone numbers and local arrest
                  ·history. All reporting sh?Uld be documented vi~ FD-302 .

                ...------. Contact United States Post Office Branch Manager!                 , I·                                                                            b6
                ,_______,,_lephone number                               I
                                                                    in order to identify                                                I                                    b7C
                                · ·the Clerk who accepted the white package Jnail~d from
                            _ . __ .  .. __     · - Determine- ifJ    - !or- t-he--cierk·-have
                   any · way · of identifying. wh9 -· sent the white package, and/ or any                                                           1


                 · knowledge of who sent the yellow package which con1:ained the noose.
                                                                                                                                                                             b.6
                                                                                                           requested to contact his CHS who mav .
                 ........==................-...................................~.......--.........................,wP in order .to
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                                                                                                                         and to· determine the CHs
                                                                                                                                                   T        : '. I           b7C
                                                                                                                                                                             b7D
                     knowledge of the·
                                                  '---------~-:..-....-_-_-:_-:_-_-_-:.,-:..-_-_-:.,-_-_-_-_-_-_-:.,-:..-_-_-_-_-_-_-_-_...._-_--:=____...,
                                      Fully         identify [                                                                                                          I    b6
                                                                                                                                                                             b7C
                                                                                                                                            including providing
                   any local arrest history and police reports.
                                                                                                                                                                             b6
                                                                                                                                                                             b7C




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 284 of 487 Pageid#: 6053


     To:
     Re:
           I·44B-CV-74237,
               ·· · From:03/11/2008
                      :1    Cleveland
                                                                                                         b6
                                                                                                         b7C




     Set Lead·S:           (Info)

            RICHMOND
                                              i•· ...
                   AT ROANOKE, VA
                                                                                                         b6
                _ 1~-~~?:~.~-il~. Clear __ JS~ Davi_d _qbiiich)j                                         b7C



     Set Lead 6:           (Action)




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                                                                                                        .b7C
        e source                                                                                         b7D




       . · ._·.. . _Provide a.n.y Js1!_o': horn~ a~d cellular telephone numbers for
           •
     Whit ,known. t~o.: CHS. B_oyer:.J                                                                   b6
                                                                                                       'b7C
                                                                                      r-,-----7
     ____,,_ _    . Provide a copy of· local· pol.ice reports f
     ...__ _ _ _.....
                 · !arrest for Violating a Protective Order by the
       Police Department.                          ·     .·      . '--------..i      1             r
                   Provide all results via FD-302.-


     Set Lead 7:           (Action)

           !1oursvrt f.E ~I                                                                               b6
                                                                                                          b7C

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                                                           logi·cat    investigation to identify
                                                                       who are associated with




      ·   ·    Provide any known home and cellular telephone numbers for
     Whit~known     to
                    CHS B~rks ..         I                                           . '-                b6
                                                                                                         b7C
                   Provide all results via FD-302.



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        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 285 of 487 Pageid#: 6054
                                EXHIBIT -C( cl·:( -.\
(Rev. 01-31-2003)

                     FEDERAL BUREAU OF• INVE;::STIGATION
          Precedence·:         IMMEDIATE .                                                           Date:         05/21/2008
         To: _,~_-_ _ _        1                                Attn:               SA_!_____I                                            b6
                                                                                                                                          b7C
          From:     Clevela11-d                                                                                                           b7D
                       Lima Residen         ____ _
                       Contact: SA IBrian.E Russ

         Approved By:

          Drafted By:

          Case ID#~ 44B-cv.:.74237r': (Pending)

          Title:


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                                                                                                                                     b6~
                          R                                               . I1S PARTY·,
                                                                  ·, WORKER 1
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                     jiJi IAN UPTHEGROVE                           ',  :      i                                                      b7D.
                     RACIAL DI,SCI!RIMINAT,ION't
                       i         I         ·    'I
                                                  i- NO 'FORCE/VIOLENCE
                                                         '  :    '


          Synopsis: ; Leads sJr~\ to obtain \fingerpr;ints,\ p~lm prin~_~; ~nd DNA.

          Details:     j:: '. ·, , ·_~-}is
                                         directed ito contact a j,· -- --- Division CHS,                 -~J                              b6
                                                                                                                                          b7C
          known .to:1 the          Cle~eland Divl'sion, 1 and 6Eitain •a full 'set of
          finger]?ririts,          palnf prints,   ahd DNA
          evidence tjecovered l'in 'captionei::i mattierl.
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          to obtain f ingerpri!nts I palm p:itints, l an DNA :samp ·es from! ,      :                                            I
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          possible, pu~ pla<?e~ i_if phe: l;B;Jie;ction s>f tl;iis. ffle·~ ':'nd fofwarded
          to the Cleveland · Drvision . Ev-idence I Contra] Technician with the
          proper Cha~n bf.- Cus;tody.         · 1\     \ ·       l\

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        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 286 of 487 Pageid#: 6055
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         To: [-                  l
                      From: Cleveland                                                                             b6
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         Re: 44B-CV-74,?37, 05/21/2008
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         LEAD(s}:

         Set Lead 1:             (Action}
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           .        . Contact[Qas knowp t_o :tr3:e ~leveland Divi ~; on and obt 9 in
         f 1nge;i:-pr~p.ts, pal II\ r prints~ an9- DN~ .,
                                                      l}l~o, \ conta_ct:,.,.f--.________,,_,,___ _.
          and obta1:p. the sam\=:, Place t;ti,ese 1.tems 1.ntp FBI Evidence and have
          them forwarded tio the· Cleveland Division Evidence Control
        . Technician with t~e' prope~ Ch~in of Custody.
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        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 287 of 487 Pageid#: 6056
 ,..-                                                                       EXHIBIT.                       {t~5 .

                                                                                                                            · U.S. Depal!'.tment of Justice


                                                                                                                             Federal Bureau of Inv~stigation



        In Reply, Please Refer to                                   ·   J/ /I                                               1501 Lakeside Avenue
        File No. 44B-CV-74237--"{                                         :J                                                Clevelaµd, Ohio 44114
                                                                                                                            June 2,'2008


         DreamHost, PMB #257
         417 Associated Road
         Brea,. California l:l'.2821
         Phone: 1-714-706-4182
        . FAX: 714-":990-2600'

         Attri: Custodian of-Record$

               You -are hereby requested', .under the p~ovisions of Title 18,.
         United St;at:es ·Coq.~~· Sectiori, ~i70_3 (f), to 11 • !•. take all ne_cessa:ty
          steps to jpreserve \:i:::ec6rds;; and! othe.r eyidence in [your] po_ssession
         pending i;ss_uance. of a. cour:t order c:$:t other process 11 ·relating to                                                                                 I
          Internet [se.rvice(3. lusing the b~lpw Iis~eq. d9µiain name; and/or
         email ac~;ourit, , in9Judi;ng ~ny \3reporqs Ef t~re1 on· backup ·media, and
         records in your custody or control ias •detailed below: ·
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                    D.                   !For those .· i terns idehtif ied in sections B & C, please
                                         !also in~lud~i th~: fbi~owin,g: :            '                                                                                   J,


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                                         il.     C<;>ntj.ection ?-at~l a,_nd ~~me; ·. .\
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                                         j4.     Data tr~nsf!==ri y9l;umeJ      : . ·l                I
                                         is. ~pp~iance of Jp:9$t\ _nat4e. ~ss694"ated with the !P
                                                 add:r:iesses as noted above; · ~ :!                  j
                                          :'.6.. Telephone call~:/:- •idei{tif icati,on records; . ;
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 288 of 487 Pageid#: 6057                                               .




          E.         All recm:·ds and other evidence relating to the:
                     subscriber(s), customer{s), ·acc;ourit holder(s),\ or other
                     entity(ies) associated,with thei domain name{s) above,
                     including, without limitation, 1subscriber name~, user
                     names, screen names or ¢,ther id,entities, mailing
                     addre1!3ses, res;iderttial add:tesse'~, _business .addresses,
                     e-mail address.es and od1er' conti3-ct information, ·
                     t_elephone numb;ers or otl;ier · subs~riber number or
                     identif~ed numper, bill~ng_; re·cofds ,.. information about "
                     the .letjgth of sery~ce a~d the types of services the
                     subscrfber or cu~tomer ~ti~ized~ and any other
                     identi-½ying information,:. w4ether such records or other
                     evidence·
                             ) ar.e in. electronic
                                          .       . :or other
                                                          I    form.·
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       You are requ;ested .te>preserve fqr a period of 90 days the
  records described\ .above curr~ntly-!in ;your lpossession. This ·
  request a,pplies only ret~osp~c~lve;J.y/ it tj,oes. not ,obligate you to
  capture and presep~ new : in~9rmation :that \arises after the date ·
  of this request. ,             . .   ·        :
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       . You; also are! ::i='equest~d :not to; di¢clos;e the existence. of this
    request ~o t4e i3uJ;>fc 7;;t:,ez:'.;o,:~f\aZ?-y o~hef pe~son, oth7r than as
  . necessary to e,o~iy ~1th \~h1 s :i;-equ~st ;. Any such disc_losure could    1
 · ·subject·you .to ~rimiri?-l liab:i.llity :f:orJ obst'.rtic.tion o:f: .justice. · If
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    your actions ·to.preserve 'thelreferenced,fi[es and records:, please
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        If YJOU have.                  J~y
                              guest'iobk :condetAing. this request pl~ase
  contact $,~         I ··. :
                      Y r. '< \: · ·'. ; i I .\        Thank you_ for your -                                                         I\                                                        b6
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                                                                                                     Special '•Ag$nt in Charge
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                                                                               EXHIBTT ;l (ff.
          {Rev: 01-31-2003)                                                    -    ------ '~-- .- ---


                                                        ROUTINE                                                                               Date~     06/11/2008
                     To; ~incinatti                                                                   Attng                            SAd
                                                                                                      Attn: r,D~a_y_t~o-n___F_,__,-s=.itj~·..._M_J_S_ _ _ ___,
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                    ---~;o~-~. -~~land
                                           ·Lima Resident.
                                            Contact:          Aqencv
                                                      SA!r-.B~r~i~a"'."."n~E:--,;:R:-u_s_s__________________...,I
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- __________________ , -_Approved--By- ----- ----"---- •--· -------- · -· -· ··---- - ~-- --- ·         .---•-........   --~-     -·- -----
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                                    ···f·Jui-rAN·-uPTHEGROVE                                                              I
                                        _RACIAL ·Di-SCRIMINATION' -· N(? · FORCE/VIOLENCE


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                                                                                                                                                              Brian E
                                                                                                                                                      an interview_ of
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                .    cap 1oned subj ect . · _ .-                                                  .                           ·

                      Detai'ls: ..----aBoyer - '.       subject of captioned .matter.      It is                                                                                             b6
                                                                                                                                                                                             b7C
                      believed e 4as -                 information related· to the American
                    _ National Socialtst ·Wor er' s Part      (ANSWP) · a:nd- William White, the
                     .9ommand~ of' . the -- l}NS--_., Boyer
                      information about the·




                                         I Boyer                                                                                                                                             b6
                                                                                                                                                                                             b7C
                     the                ANSWP,
                                                                                                                                                                                             b7E




                                                                                                                                                      concurs with the
                      travel of                                                                                                                       to participate in                      b6
                      the interview                                                                                                                                                          b7C




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    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 290 of 487 Pageid#: 6059



          To: pincinatt,From:                      Cleveland                                                            b6
          Re:       44B-Cv- 4237,              06/11/2008                                                               b7C




          Set Lead 1:                Action
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.- -··- ·___.,__ -- ----~-A 1?·-D:k:Y-TON·;=··OHlO·•··---··~----·•·- -------- ----   .   .

                  Cl'evelarfd re· . eats SAC concurrence with the travel of SA
        Brian E Russ to c_incina t ti, Ohio for the ·interview    Ju$J:i_IJ. _B_oy_er.1---   o#.I                       b6
                                                                                                                        b7C




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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 291 of 487 Pageid#: 6060
    _ 7-1 (Rev. 7-10-06)                                  EXHIBIT-l(g)
    ,!,
'



                                                                                                     2501 ln✓estigation Parkway
                                                                                                       Quantico, Virginia 22135




                                                            REPORT OF EXAMINATION


                      To:    Cleveland                                      __ _!?ate: September   !~}_qQ~------- __ _
--_- "-· . --r------ .,-L1ma:rtes1denfA            ency-·-·------
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                             SA B".lt:iian_ Ibis                                Ca~eIDNo.:
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                     Tiu~:    -1-                  __ [ .. _                                                                        _,.
                                                                                                                                          b6
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                                    -WILLIAM ALEXANDER WHITE,
                            :. -·· 'AMJ3RICA1'r-N~TION?:),LSQCIALISrWORKERSJ~ARTY
                                 I    JUI IAN UPTHEGROVE      - ' -            -
                                   ·. RACIAL DISCRIMINATION - NO FORCE/ VIOLENCE


                      Date specimens received: March 19, 2008

                      The following specimens were examined in the Trace Evidence Unit (Hairs and Fibers):
                                                                                                                                          -b6
                      QI             Envelope addressed tq.__________.kiBIO, E04023913)
                                                                                                                                          b7C

                      QLl            Stamp (lBlO, E04023913)

                      Ql.2           Label (1Bl0,.E04023913)

                      Q2             Page beginning "Hey all you Lima... 11 (IB 10, E04Q23913)

                      _Q3            Envelope addressed to Lutheran Social Services (lBI0, E04023913)

                    - Q3,1           Stamp (lB 10, E04023913)                                                                                        I


           1 - 266N-MM-109670-"3-c/

           Page 1 of 16

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                                                                                                                     FBI{l6cv948)-5137
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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 292 of 487 Pageid#: 6061
  ..,




                      QI42.8 · Address label (IB5, E04023904)

                   ____ q!~2.9   _-~~~?__1:~l'-~?_cialistmagazine (IB5, E040423904)

                     Ql43         Rope (IB5, E04023904) -

                                          _This_report sµpplements--a pr~viou.s report dated August 5, 2008 and contains the
' .... - ----- . --- .. ---- .results,of.theJ'race Evidence (hair-and fiber-}examinations.--- ~------- - --~- -- - --- --- -

                     Results of Examinations: -

                                     _ T~~p!eviou_~ly d~s~Iib_edfib~rsinthe report dated ;Augusts,~2008 were-compared-to·: -- -- -- --- ----
                           the fiber found on specirrien-Q,1 from FBI Laboratory Number 080319007 I Case ID Number
------ ---- --   ___:______266N-MM-1-09e,1tf-No apparenftextile-£ber=fiitercharige-was-detected. -- -
                                The specimens were examined visually using stereo-microscopy· and comparison
                     •microscopy.

                      Remarks:

                        ----·-~--Forquestions aoout the content oflliis report.please contact Physical _________________ -_----
                      Scientist/Forensic
                                   -     Examiner!
                                             -         - _
                                                 ...._ _ - _ _ _-_ _ _ _ _ -_____._             I                              -       bG
                                                                                                                                       b7C


                                For quesy9ili! about the status of remaining forensic examinations, please contact
                      Request Coordinato -          '            - -- - -;         I
                                  The subniitted-itenis will b~ returned at the completion of the requested examinations.·




                          This report contains the opinions/interpretations of the examiner(s) who issued the report.
                                                                                                                               \
           Page 16 of 16

           080319007 PF AAV




                                                                                                                      FBI(16cv948)-5152
"'="'============-~=====-~~--==~=~=-=~=-~- -                                                                                       -
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             Case 7:08-cr-00054-EKD Document 411-2·, Filed 10/05/20 Page 293 of 487 Pageid#: 6062                                                                                                           J
       .                                                            EXHIBIT l.(h)
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            (R;ev. 05-01-2008)
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                                              ~~DERAIL BU!R~UJ OIF ~NVIESlfIBGAT~@tNI


                      Precedencei                        ROUTINE                                                                                Date: , 12/19/2008

                      To:          Charlotte                                                                                                                                                         b6
                                 . Cincinnati-                                                                                                                                                       b7C
                                                                                                                                                                               -------~--   -~ --·   ;l:l]E .
                                  Clevelarid
                                  Detroit


                                 ·Kansas . Ct ty
                                                           ·--·-·---- ----------·--

                           Springf ie.ld                                                                          Attn:
                                   ---"-- .. -- ··---
                                 ..-,... -·--- ---~-·-
                      From: Detroit
                                T....:18/MIOC

"- -       - · ~~-~=.Approve-d By:
                                              . Contact :          I~
                                                                                                   ·>
                                                                                                                                                                 I                                   b6
                                                                                                                                                                                                     b7C



                      Drafted By:

                     - Case ID fl:: 266M-DE-102373-TEL                                                 (Pending),.\'\O
                                                    26.6N-CI-76195                            (Periding).i..,~"1
                                         . . . . ._ 266N-KC-88517                             (Pending);f~D
                                                  ~44B-CV-7423 1.7                            -(Pending)
                                                    266N-CE...;92874                          (Pending) .. l.\'1
                                                    266N:..sl-56589                           (Pe:i:idfng) ... "' ~
                                                    266N-DE-101266                              (Pe~ding),~
                      Title:           INATIONAL-SOCIALIST
                                         .           .               L
                                                               .MOVEMET                                                                                                                              b6
                                                                                                                                                                                                     b7C

                                      I -, -·----. .   ·-·· -. I
                                          ·NATIO~AL SOCIALIST MqVEMENT;
                                           AOT-DT WHITE -SUPREMACISTS



                                           N~TIONAL SOCIALIST MOVEMENT·(~SM)
                                           AOT-DT

                                                                                               UNCLASSIFIED


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                              . J'

Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 294 of 487 Pageid#: 6063             ti,
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    To:   Cincinnati Detroit From:            Detroit
    Re:   266M-DE-102373, 1~/19/2008



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                                                                                     b7C




                                                  I
          GRAND JURY MATERIAL - DISSEMINATE PURSUANT TO RULE 6{e)

    Synopsis:. · To· i:iummarize results of telephon~ analysis.


    'Reference:    44B-CV-74237 Serial 59
                   266N-CI-76195 Serial 120, 1;32
                  I JQQA-KC-83431
                  .....______     Serial
                                   ___   153____.I
                                                                                     b7D
                   266N-AT-99442 Serial 2
                   266N-CE~92874 Serial 30
                  · 266N::Kc:aasii tforia.1   42a
                   266N-DE-102373 Serial 808
                   266N-MP~57299 Serial 212
                   266N-SI-565$9 Serial 1
                                                                                     'b3
    Enclosures:       Bein    forwarded under se arate cover to SA
                                                                                      b6
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                                                                         FBI{16cv948}-5183

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           Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 295 of 487 Pageid#: 6064                                        ,I'.
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                                                                   UNCLASSIFIED                                                      ~
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                    To:.        Cincinnati           Detroit       R.rom:    Det::roit                                                'iI
                    Re:         .2.66M-,DE.:.l02373., 12/19/2008
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                                                                                                                                     .i
                    LEAD(s)~
                    Set Lead 1:                 {:t;nfo)

-· ·-----. ·-·------------ ------~ .CINCINNAT:t:,----- ----.--~-

                                       AT -CIN_cI~ATI , _.OH:IO
                                            .                 '

                                        For info:)::'Illation o~ly.
                    Set I,ieaci. 2:             tfnfo) ..


                                      -AT KANSAS- ·CITY,· ·MISSOURI

                                     --'Fd'f·'-informat.i~n, qn-ly.
     J               Set_Lead ·3·: _ ·j:t&£_9=)_=--=·~              ~ - - - - - - - - - - - - - - - - - · - -·---- ·-----
                            - -CLEVELAND- -.- -

                                        AT CLEVELAND, 'OHIO

                                        For infor.m~tton only.
                     Set Lead 4:            - (:Info)

                                CHARL0TTE

                                        AT CHARLOTTE, NORTH CAROLINA

                                        For iri·f ormat;.ion onJ;y.
                     set Lead s :( · · (.Info)

                                SPRINGFIELD
               ·--------              - - - - - - - - - - - - - - - - - - - - • - - - - - - - ~ - - - --------- -,---------1
                                        AT . ~PR;:cNGFI_ELI? ,_ ILLINI OS

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                    • •
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           ·'
                                            To:    Cincinnati     Detroit   From:        Detroit
                                            Re:    2~6M-_DE-102373, 12/19/2008




                                                  DETROIT

                                                        AT DETROIT, MI
,.,.....        ~          "" .....   ·-~   --·~~-·~.    -----~   .   -      -           .   -   '   .   .   - ·- - -·-···---

                                                        For 'information only.

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                          Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 297 of 487 Pageid#: 6066
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           7-1 (Rev. 7-10-0q)                                                                                                                    EXHIBIT l(i)
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                                                          0                                                                           .                                                                                                I
                                                          ?i                                                                                                                                                               2501 Investigation Parkway
                                                          } ~Bl Laboratory                                                                                                                                                         I
                                                                                                                                                                                                                             Quantico, Virginia 22135
                                                      s                           .                                                       .



                                                                                                                                              REPORT OJF EXAMINATION


                                                                                                                                                                                      Date:             Fepruary 27, 2009

                                                                                                                                                                                      CaseIDNo.:                     44:B-CV-74237         ..-$~            b6
                                                                                                                                                                                                                                                            b7C ·

                                                                                                                                                                                      Lab No.:       080319007 PF AAA
                                                                                                                                                                                                     08-i0280°14 PF AAA
                    . -                                                            .
• _...,,_ _ _ _ _ _ ..,. - - - - - - - " • ' - - - - - - · · • - . - - ~ . - - - - - - - · - · - - - - - - - - - · · ~ - - - -...- - - , - - - - - -   ·------~--·--------
                                                                                                                                                                                             ·. · .· 081124007PF AAA .
                                                                                                                                                                             _ _ _ _ ......J __ - - -       --   -   -~~   -   '   -




                                        · Reference:                   Con:iinunications dated March 10, 2008; October 21, 2008; and Novembe:i;: 19, 2008 ·

                                           Your No.:
                                                  - ·- -··- - ......... -•'-                       ------             -



                                                          =L~J
                                                                ""               ..• .,,_ ___ ,_            --..---       '-·   .,.

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                                                                                                                                                                                                                                                            b7C
•==~--==Ti=tle_:                                                                                                                                  Wim~..
                                                                .. AMERICANNATIONAL SOCIALISTWORKERS PARTY;
                                                                     IJUI IAN UPTHEGRQVE                                                                                J                               .
                                                                     . RACIAL DISCRIMINATION - NO FORCE/ VIOLENCE


                                           Date specimens rec~ived:                                            March 19, 2008; October 28, 2008; and November 24, 2008


                                           The specimens listed below were submitted under cover of communication dated March 10,
                                           2008, assigne.d Laboratory number ()80319007, and received in the Latent Print Operations Unit:
                                                                                                                                                                                                                                                            .b6
                                           QI                             Envelope addressed to_j_ _ _ ___.~IBIO, E04023913).                                                                                                                               b7C

                                       - QI.I                             Sta~p (lBIO, E04023913)

                                          'Q-l:.1                         LabeI--(-I-B-1-0, E040239i3J .

                                       . Q2                           . Page beginning "Hey~ you Lima .. :• (IBID, E04023913)


                       l -266N-MM-109670

                       Page 1 of 17.


                                                                                                                                                  -                                                                                           FBl{16cv948}-5202
                            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 298 of• 487
                                                                                               i
                                                                                                  Pageid#: 6067




                                                Ql42.6                           Stamp (1B5, E04023904)

                                            ·. Q142.7                            Stamp (1B5, E04023904)

                                                Q142.8                           Address label (1B5, :804023904)

                                                Q142.9                           National Socialist
                                                                                                . '
                                                                                                    magazfue
                                                                                                     .    .
                                                                                                             (1B5,
                                                                                                               . -
                                                                                                                 .·
                                                                                                                   E040423904)               .        -        ~                   . ,·

- . ,...,_.,---,,~---.,,,,.-·-~"'-·-··-,....-~-o•,-•'>..,..._..,..,_   - - - ~ · - - · · - . . - . . . , . . . , . . . . ~ - · ·... ,,,~ ..... ~:-,<.',..,"7,~-.... - .-   - ·




                                               The spe·cµnens listed below were ~ubriiitte_d under cover of communication dated·October 21,
                                               2008,.assignetl_Laboratory_number 081028014, apd examined in the Latent Print Operations
                                               Unit:
                                                                                                                                                                                                                                                       b6
                                                K3 .
                                                                                                                                                                                                                                                       b7C
- .. __ -.. ---·-------------..-·--·---~---;;:,:=:;:::::;::::::;::::::;:::=:;:::=:;:::::;,::---:::.,_-;:.:·:.:.,- .. - -
                                       · · -K4 - -,- · ·Major cas~prints o~,_--·_·"_--_--_ _ _ _ _ _ ____,
                                                                                                                                                                                                                                      I

                             ---- , The specimenslisted··below wete·-submitted under cover of communication dated Novem1:,er 19,
                                    _20.P8, assigued Laboratory number 081124007, and-examined in the·Latent Print Operatiop.s-
                                     Unit:
                                                                                                                                                                             .,.:-::.:::.::::::::::::--::::::::::::::::::::::::=:--        ----:os--
                                            --Ks-                  -- ~Fmgerpnnt and palm pnnts o
                                                                                                                                                                                                                                                       b7C

                                                K9                               Fingerprint and palm prints o

                                                KlO                              Fingerprint and palm prints o ,______.___.,__._.._ _ _ _ _ __.
                                                                                                                                                           .                                               .
                                                This report is being issued by the Latent_ Print Operations Unit.

                                                Results of Examinations:

                                                            Latent prints of value were detected on Q78.l, Q78.2, Q80, Q81, Q82, and Ql 42. No
                                                latent prints of value were detected on Q78, Q79, and Q142.1 through Q!42.9.

                                                                               One latent :fingerprint cietectt on 078,1, a label, has been identified as a fingerprint
                                                                             ·                          ~om                                                                                       !            .                                       b6
                                                                                                                                                                                                                                                       b7C

                                                     .    . One latent :tingeI?rint detected on 080, a page_ beginning_"Hey all Jou Lima...~. has
                                                been identified as a fingerprmt oi ·              .        lboni...._ _ _ __.        .



                          Page 16 of 17

                          080319007 PF AAA

                                                                                                                                                                   -~-

                                                                                                                                                                                                                                          FBI(16cv948)-5217-i
       .,,   .   .Case 7:08-cr-00054-EKD
                 ~
                                                                  Document 411-2 Filed 10/05/20 Page 299 of 487 Pageid#: 6068




                                                                                                                                                               b6
                                       Eight latent fingerprints are not fin.=ie?.;e=nn;;;;;·;;.;.ts;;..o=======..i.;.;;-===;__---.;...,,
 ----·-IAL~R~~FB                                                    6
                                                                        I_#_9-43_o_s_1c_B_s_ _ _ _ ____,;________,bo___ , _ = = = '
                                                                                                                                                               b7C




                                       The remaining latent fingerprint was inconclusively comRared with the prints of
                         WIBT~            · . •      .. . . .. . .·    ~dis not a fingerprint o~      .       ·      .                                         b6
                                                                                                                                                               b7C

                         Remarks:
                                                           .,

                                  No latent print examinations were conducted on QI through Q77 and Q83 through
                         Q14U1s.requested. _.• ·                                             ·
                                                                                                                                                                  I
                                                 . . .,.        -----------'·-~--~-    -----   -···.

· -·- -- ----~------------·- --- ··Fully-an&clearly·recorded·inked·fingerprints--"mclua.ing•the·extreme tip areas. of the
  - ...      . ··. _-fingers fo~WHI1t·-------·--·-., ----·-- - -· :· .. ---- - "laie-iieedecl'for a conclusive comparison.                                   . b6
                                                                                                                                                               b7C
                      ..... ____, ' - --Tlienngerpruitso~·                                         !were searched through the main :fingerprint file, but
                     -- - no-record was·-Iocated.·- -· _,. - - - .,                   . ---- - -

                               · · __ T~e resutts gf_th_eJat~nt pgnt _examinations conducted in C~se :ID number_26-'-6N=-c..--=--lv.IM='--_ _ __
                         109670.have been furnished.
                                                            ·.                 .,

                                    For questions about the content of this report, please contact Physical
                         Scientist/Forensic Exaniine4                                       _                           l                                      b6
                                                                                                                                                               b7C
                                  .For questions about the status of the remaining forensic examinations, please contact
                         Request Cootdinatoi                                                                       I                      · ·
                                    The specimens and photographs of,the detected latent prints are being returned under
                         Separate cover.
                                                                                                                                                               b6
                                                                                                                                                               b7C




                                                                                                               Latent Print Operations Unit
                                                                                                                                               I

                              This report contains the opinions/interpretations of the examiner(s) ~ho issuedthereport.

                 Page 17 of 17.

                 080319007 PF AM




                                                                                                                                                   FBI{16cv948)-52l8
                                                                                                                                                                     l
                      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 300 of 487 Pageid#: 6069
                       .
        , 7-'?. (Rev. 7-~0-06)                                                                                     EXHIBIT l(j)


                                            'o
                                            ~                                                                            .


                                             ~ !PB~                   laboratory                                                                                                                                                   2501 ln~estigation Parkway .
                                                                                                                                                                                                                                     Quantico, Virginia 22135




                                                                                                                   REPORT OJF EXAMINATION


                                  To:     Cleveland .                                                                                                               Date: March 9, 2009
 .               ·       . ,            · Lnna Resident-Agency
                                            s.Ap3rian                         Russ.                 j                                                               CaseIDNo.: 44B-CV-74237-B7                                                                      b6
                                                                                                                                                                                                                                                                    b7C ·

                                                                                                                                                                    Lab No.: :o8QJJJQ0]_PF_m;
                                                                                                                                                                                               081028014 PF HZ
 -   ----~~---   ~   -------~-   --·----------~-------                 ----•✓-----··-------        - - - - - - - - - - - - .......... - - - - - - - - - - - - -   --,---   -   _   .....
                                                                                                                                                                                             · 081124007 PF HZ
                                                                                                                                                                                           ·--·---   -   ----   -------   --   -




                                  Reference: Co~uni~~tion~ -d~t~d M~ch 10, 2008; 06tober 21, 2008, a:nd November 19, 2008

                                  YourNo.:·

                                                                                                                                                                                                                                                                    b6
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                                  Title:·
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                                                                                                                                                                                                                                                                    b7C

                                                          WILLIAM ALEXAND ·R WHITE,
                                                      ~MF-RICAN NATJQNAT SQCTATJ~T WORKERS pARTY                             I


                                                      LlUlIAN UPTHEGROVE        I .
                                                      . RACIAL DISCRIMINATION - NO FORCE/ VIOLENCE


                                  Date specimens received: March 19, 2008, October28, 2008, and November 24, 2008

                                   The items listed below were received under cover of the communication dated March 10, 2008,
                                 · assigned Laboratory Number 080319007, and examined in.DNA Analysis Unit I:

                                  Q52                     Envelop'e addressed td                                                        !IB7, E04023910).                                                                                                           b6
                                                                                                                                                                                                                                                                    b7C::

                                  Q54                     Envelope addressed                                       td                                     bB7, E04023910)

                                  Q56                     Envelope addressed                                       tol                                     tlB.7, E04D23910)
                                  Q58                     Envelope addressed tol                                                                       tIB7, E04023910)

                                  Q61                     Envelope addressed t~                                                                                       t1B8~ E04023911)

                             .. Q63                       Envel(?pe addressed_tol                                                                          k1B8, E04023911)

                     Page _1,of5



                                                                                                                                 -                                                                                                                     FBI{16cv948)-522.3;
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           Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 301 of 487 Pageid#: 6070



.!

                                                                                                                                             b6
                  Q65          Envelope addressed t~.__ _ _ _ __.t1B2, E04023908)                                                            b7C

                                                                                    1B2, B04023908)

                  Q69          Envelope addressed to.__                ___      __.~1B2, E04023908)




                  Q85          Envelope addressed tc                               ·_ (1B6, E04023905)

                  Q87         . En,velop_eaddress~d tc .._
                                                        ·              ___      --___,
                                                                                   --· 1'.B6,-E04023905)

. -- --- - ---- ----~ -_9~~---Envelope:addressed-_t4_________-_.--------.-----
                                                                           .......l~B~~E04023905) ...

                  Q91          _13_1:1:'~!o~~   a~~~~~e~.!~...- _ _ _._1(~~6, E0~0~3905)
                  Q93 -      ... Envelope.addressed t~- . --                  hB6,-E04023905) .

 •==~--=Q=95=·=·=·_·E_n=~--~=lo='.P.~ ad<!ressed to                                · 1B6, E04023905)

                  Q97          Envelope addressed to.,_                 ___      __,
                                                                                      -
                                                                                  .. B6, E04023905)

                  Q143         Rope (IBS, E04023904)

                  The items listed belowwere received under cover of the communication dated October 21, 2008,
                  assigned· Laboratory Number 081028014, and examined in DNA Analysis Unit I:

                  Kl            Buccal sample fromj                                       I
                                                                                          (!B 11, B4283 867)
                                                                                                                                             b6
                                                                                                                                             b7C

                  K2            Buccal sample fro~-· _·_,..·_ _ _ _ _ _ _ Bl2, E4283868)                       ·

                  The items listed below were received under cover of the communication dated November 19,
                  2008~ ass1gned Laboratory          Numbe~
                                                     081124007, and examined in DNA Analysis Unit I:
                                                                                                                                             b6
                  K.5           Buccal sample fro                                         1Bl3, E4283958)                                    b7c .

                  K6            Buccal sample fro                                         1B14, E4283960)

                  K7            Buccal sample fro                                          15, E4283960)

                                                                                                                           . '
         Page2 of5                                                                                                           I




          080319007 PF HZ




                                                                                                                                 FBI{160i948)-5224

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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 302 of 487 Pageid#: 6071
      .'

                                  · This report contains the results of the nuclear DNA analysis examina~ions.

                     Results of Examinations:


             .
              ·
                               Specimens Q52, Q54, Q56, Q58, Q61, Q63, Q65, Q67: Q69, Q83, Q85, Q87, Q89,
                     Q91, Q93, Q95, and Q97 (mdividua! sameles taken from the
                     (tbin~ontirerope),Klj                  .jK2j . . jK5 . K •. .
                                                                                        envelo es · 143
                                                                                                        and
                                                                                                             fir Of:~                                               b6

-· ·:·-----·----------•"-~:cti~~7,-~~-~·   _·y:\eih~~~fot!~;:f~fuii~!::c:~~~f;h!J1:~:~ r~:~a~~ei~c~n:~- -                                                         ___ b7C:
                                                                                                                                                                      b7E·.

                     Amp;F~STR® PrqfµerPli,is™JDPCR :Atiiplification Kit and, where appropriate, the six STR loci
                     of the AmpFtSTR® COfiler™ PCR Amplification Kit. 1
                                             -··-···~·--                     ·-

                                                                                                                                                      •
                                                           --   ·-· -· -,·        ____   -._   ·.··   . ./              ...   - ---·-· ·----   -----· -------··


                   . · - -- · · ·· · · -To~:STI~<t:yp_~g -~~~Y!t~_fq:r._sp_e_pgp_~l'.l:_ Ql 43 iIJ.dicate the presence of DNA frolll. four or
    ...... · · - ·
                                                                                                                                                                    b6
                                                                                                                                                                  _ b7C ·

        _     - result~rfor'tliemfoor~co~trlbutorfo·~specimen·Q 143·c1o·not satisfy the bNA Analys1s Umt I -
   -.   . . _inclusionacy:__ -             e ··
                                        c_ ·teria-and therefore-may be utilized-only for exclusionary_yurposes~ It is
                                                                q . -_ .·: -
                                      •-t::J·



      _    · note_dth~tI<-1 .. :.. ~:-;                   JK6! - : - :: .' !andK7~ - . ~eexcludedas
         .- · potential minor contri •utors to tlie:n::ipcture q:f DNA obtained from specimenQ143. -The STR
- ~~~--~----typing :results obtairi~d fot=the :major. contributor to the mixture of DNA obtained fi:orri specimen -·
                Q143_ will be-entered into the Combined DNA Index System (CODIS) and maintained by the FBI
                Laboratory for future· companso;ns~                  -

                                                ori
                                 _ Bas·ed the STR typing results\ the DNA profile from specimen Q63. matches
                      specµnen·K6~ · -- · ·· ·     ···!The-probability of selecting an unrelated individual at random                                               b6
                   · having·an STR profile matching the DNA·obtained :from·the questioned specffi:1en is                                                            b7C
                      approximately I m31 billion from the African American population, I in 1.3 billion from the
                      Caucasian population, I in 1.4 billion from the Southeastern Hispanic o ulation              ·
                      billion from the Southwestern Hispanic popuiation.- Specimens Kl                ·
                      KS~       . -· JK7~ _        Fe excluded as potential contributors_to specimen Q6 ._       e
                     ·typing restilts·fo:r specimen Q63 clo not meet the requirements for the National DNA Database
                      (NOIS); however, these results wil.lbe entered~ searched, and maintained in the local FBI
                    .database.. -       -     . -. - -· - . -.

                                The DNA profile obtained.from-specimen Q61 does not satisfy the DNA Analysis
                     Umt I inclusionafy repur ting criteria: amltherefore may ·be uttlized· only for exclusionary - ·
                     pu~ases Bred on ~ i n g results, specim~ns KIi
                   . KS~
                                                                          -__   ~          .
                              <and K7L___Jare excluded as potential contributors oftne DNA o tained from
                                                                                                                                     J                              b6
                                                                                                                                                                    b7C


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            Page 3 of5

            080319007 PF HZ




                                                                                                                                                  FBI{16cv948)-5225
                                                                                                                                                                              l
             Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 303 of 487 Pageid#: 6072
  .   '•




                specimen Q61. Also based on theSTR
                provided f~r specimen K~,________
                                                                       T          results, no comparison infurmatiori can b6
                                                                                                _                                       1                   b6
                                                                                                                                                            b7C
             ---· --- :·--·. ------llieDNA-pronle obtained from specimen Q54 ·aoes not satisfy the DNA Analysis
                U~t I iµclusionary reporting criteria and due to_ its limited nature is not suitable for comparison
                purposes.                      \    ·

:______ ~---- _________________ ..No STRty,ping-results~were-obtained-.frQm-t~e-DNA-recovered-from·specimeni;-~5i,- - ·-
                    Q56, Q58; Q6s:··Q61/Q69~ Q83, Q85; Q87, Q~9,' Q91, and Q95. No detectable DNA or STR -
                   typing·results-were obtained fron1 specim~ns· Q93 and Q9_7.

                           . . _Based 9p.the typip.g re~ul~s fi.:om-the am,ergenin lo!!Cu, - · -·sprsent·~j"€f - -- - - - - -~6
                    -DNAobtaine~·fromsp~cime~s_Q61-,-Q63, Q143, K!                  ,     . ~ - K5 _.- .... _               -b?c
       ---- - --- .:.-K~ -----=--land-K~ ---j-Toe-amelogenin typing-res ts-o tained-from specim.ens
                    -Q52;Q54;Q93;and·Q95do not satisfy the DNA:-.Analysis Uiiit I reporting ·criteria; therefcfre~- rio
                     conclusion can·be offered. No amelogenin typing results were obtained from specimens Q56,
                  -- Q5s,-Q65;'Q67,-Q69;:Qs3;Qss;·Qs1;~Q89, Q9I~ and Q97.                                      ·

                            No other nuclear DNA analysis examinations were conducted.
. -==--=-•=-~-= - = =




                            1
                              The AmpFfSTR® Profil~rPlusn1JD PCRAmplification Kit includes the foci D3S1358, vWA, FGA,
                            D8S1179~ D21S11, Dl8S51, D5S818, Dl3S3p; and D7S820. The AmpFllSTR® CO.filern.1pcR
                            Amplification Kit includes the loci D3S13S8; D16S539, THO I, TPOX, CSFlPO, and D7S820. Due to the
                            differences in sample condition and_ quantity, amplification may not be attempted using both kits.
                                                                                           (.


                            2
                             Not all loci at which -amplification is attempted will yield conclusive results; a statistical estimate has been
                            based on loci with conclusive typing results: .         -

                             3
                            · This opinion is based upon the outcome of a statistical calc1n"ation in which the probability of selecting an
                            unrelated individual at random from an African American, Caucasian, Southeastern Hispanic, or Southwestern
                            Hispanic.population having a DNA profile matching the contributor (source/major/minor) of the DNA obtained
                            from the questioned specimen(s) was detennined to be equal to, or less than 1 in 6 trillion individuals.




           Page4of5

           080319007 PF HZ -




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               Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 304 of 487 Pageid#: 6073
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                                                                                                                                                                  t




                   ·-· ----- ·-·No nucTear·t5NA exammatlons were.performed on the stamps and remaming
                 · envelope closure flaps as they were designated as self-adhesive by the Questioned Documents
                   Unit. Self-adhesive materials are not.appropriate for nuclear DNA analysis.        ·

.·. ··•··- ·-- __,,_ "'·-·--:·-···-~-·~-Upon•s:oll}pl~ti,on-o:f all-the requested-ex?Jlli:llatic11:1srt!1~.-~ubmitted-items-will-be---- --- -- -- .. ....... ,__ -
    .                   returned to You under separate cover: For questions about           the       content of this report, 'please
                      - contact Forensic'Tuamiiierj --- - -7 · - -          •   :           - -_ - - - j Forrtions about the status

                I ofr:m~r f~rensic ex~a~o~, ~l~as_e_ ~~n~act _Re~~es~ Coo~~to -, ,                                    :      . --     __ _   l ____ -·   --b6-
                                                                                                                                                          b7C
  ·--- ........- ... -~-- _:___·----rri-kcldition:to·the~evidence· inihe-~case~the-l)NA·Anaiysis~Unit -I has-generated .
                    .... seconaazy·eviaeftce·that will also oe'fetumecl toyou.· ·Tneniecondary· evi<ience can be found in a
                         package marked DNA UNIT I SECONDARY EVIDENCE. It is recommend~d that'tbis
                .... eVIdenceibe·stoi:ecim·a 'refngerafor ·or     freezer'and isolated ':I.ram evidence that has not been
                      - examined,"'"··: ............ .                                                                                                   .b6 ·_ .
                                                                                                                                                          b7C

                                                                                - - - - - --------------~·----~--- -------~------1




                         This report contains the opinions/interpretations of the examiner(s) who· issued th~ report.

            Page 5 of5

            080319007 PF EZ


                                                                                                                                       FBI{16cv948)-5227
          . Case
             _,,
                 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 305 of 487 Pageid#: 6074
                                        EXHIBIT l(k)
       (Rev. 05-01-2008) .                                                                                                                                                     I


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                                         FEDERAL r,SUR~U @IF ~NVESTmGATfflO~

                                                     .       /               .
                   Precedence:                       IMMEDIATE                                                               D~te:          04/02/2009

                   To:        IG~evela_n_·~                          ·                                    Attn~        FA!...,._________....
                                                                                                                      Squad 5
-----------•-.,-- ·---~--1 ~Cinc1.na~:ri_. ··1·••···-·                           ~-~-~·-.   -- .       ··-Attn:      t·nayto?=I!.RA --------·--· ·---·- ---   --
                               .    .          .                 .
                   From: . ·Cleveland · .
                               Lima.Residen1.--~i=..i.i.i..;..y,--------------.
                               -Contact: -SA Brian -E RJ1ss ... -
                                                                                                                                                                   ·-b6 ....
..... __________Approved By -                                                                          ----------,---                                               E1t·




                po· rf~--~~:.=,l:;i.A,....;,_1w,1,,.1..,.,..e l'narke':1. 11 Chahged 11 • to reflrct t:e addi QT'I
                                                                        =:.:.,..-',-ir•d to. remove_ , _
               ~.::..11.....i.i:;u.r..i..i;...i....;.i...i;;;.~...;u..1,L.i;;~---- - ~ -. . 1 . ·                 .,. ]
                                                                                                                                                    H                   b6
                                                                   · ·                 s subjects. _ Tit e previously                                                   b7C
               L...c..,..a""'r""'r"""1..:.,.e----a--s-r----------:~~----:--~--------,      __ WILf ,IAM ALEXANDER WHITE
                 AMERICAN NATIONALIST SOCIALIST WORKERS PARTY
                                                                                                                                       11
                                                                                                                                                     .        r
              ,____ _ __.!RACIAL DISCRIMINATION, NO FORCE/VIOLENCE.

                   'Package Copy:   Be_ing for~a:i;-de_d unc:ier separate cover, via Federal
                   Flxpress·/
                            is ·a ·copy . of ·the. Grand Jury Subpoena Is and a letter from
                   the United Sta~es Department of Justice, Civil Rights Division.
                   Details: Cleveland Division, Lima RA, requests service of
                   Federal G_rand Jury subpoenas as·soon as possrbJe, It       noted                                                           ii
               i   ~bat tbe Fedjral _Grand Jury is scheduled for L
                                                                 ..._____. .,_      ·                                                                                     b3



                                               order to conduct witness preparation be.f:ore;
                                              the Cleveland Division requests tat e ch sub                                        ed                                    b3
                -.---,.,.-.-.....-.;-...,-""' e asked to contact Special Agent                                                                                          b6
                                                   as possible to coordinate e~a-r...,....y-----a-r~r~1~v~a,.....,......,...,.....o~---'                                b7C




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          Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 306 of 487 Pageid#: 6075


                                                            1JNCLASSIFIED
                                                                                                             b3
               To: lc1evelandl From: Cleveland
               Re:   44B-CV-74237, 04/02/2009                                                                b6
                                                                                                              b7C




               _Descriptive Datai

                                 Re.fe:tence                                                                  b3
                                 Name -                            ·                                       ·- b6---··
     ·    .            .        · · -Lastt .           .
                                                                           Jones                              b7C '._
                                    First:                                 Daniel
                                 . Mfddle :.                               lee
                                 Race:                                     White·
                               · Sex::·                                    Male
                               . ootfr__ ;. ·
--------------·· ··---····----·-•··-- DL~: -·•·-----· ·•··~------- ---------······
                  .             SOC:
                                Address(es). -
                                  House.#:
                --- -- - -~-   - ---stree.t-·-Name-:
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                        ...... __ Stx:.e_et. _Suffix:
                                       City:
                                       stat"e: ·
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                                Phone:#:-
                                Phone #:
                                Miscellaneous: '


                                 Reference
                                 Name~
                                   Last·:
                                   First: .
                               . Race:
                                 Sex:
                                 DOB:
                                DLN:
                               .Address (es)
                                     B:ou.~.e-. #:
                                     Street Name: .
                                     City:
                                     Stat;§;·
                                     Postal Code:




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                                                                                                 FBI(16cv948)-5247
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             Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 307 of 487 Pageid#: 6076                                                                                                    (
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                                                                                                                                                                                                   r.I


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                    To:         k}evelad. From:                                       Cleveland
                    Re: . 44B-CV-74237, 04/02/2009
                                                                                                                                                                                           . b7C




                   . LEAD (s):

                    Set Lead 1;                           . (Ac:t,ion)

                    ·                                                        -1~·-•.....,·.....·..,...,----·----_--_---__,-··-
                        ·~L..I_··_ct_·E_"-r1_·E_r.-'IAN,....~i,....·)·._ _-....                                                  · ·------·· - -------- ······--   -S••··                     b3

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             . ·      · ·· ·. · ··· · · · •;tt •is. ,:e,qµ:e~teD'
             · ··• · SJ] . P       (=lpa. be_ serv d- -0~ >---·:·~ · ·· - · . · ·.
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               ......0r3:ginal .. execut.ed .sub:12oena_to __the.:Lim':1- ..RA. . . Pro:"id~ . . .. . ..... !.with a
                      co.py... o. f.. t·. he s1E:9.oena and letter. and 1nstrucE· hi~ to con~act                      ·
                   ___Speciq.l _Age:qt_ · ·· ·              - ,       •·      •·                or information
                      related to his travel.

                     Set ~e.~d .2:                            (Action)

•==--·       _2.~~-E~~&:i:=Ne~:i:~N:A-T-T~~:.:,l=·-====--~~----·----------------------bs-...:.:
                                                                                                                                                                                            b6
                                               · &TI--DAYTON, OHIO                                                                                                                          b7C

                                 It is:.reque,;;;u..w.1.---i.....i.1,.......;.i.../,.Wiii___,._nclosed Federal Grand Jury
                     sub oena be served o                                                 who resides at!              I.
                    11.---------------------------,......iPlease return thy
                   . qrigina.l_ ~x~c1.7:ted_ slJbp_qepa _to 1:he                                       .  Provide,,_l_ _ _ ____,J
                    .with· a copy of the subpoena .and l ..                       e....,.._____....i....nstruct him to
                     contact Special Agent!···                                                                  !for
                     information related to his travel.
                                                                                                                          '


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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 308 of 487 Pageid#: 6077                                          .- \t¼.

 ~., . (Rev. 05-01-2008)
                                                   EXHIBTr l ( 1)


                                                       UNCLASSIFIED
                                                                                                                                        '
                Precedence;             RQUTINE                                    Date;      64/10/2009

                Tog        ·lcincina.t t~: ·I                     Attn g DaytonI         I           I
                                                                                           RA/ SA ...._M_J_s_---,-___-;...ii




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                                                                                                                               . b7C




                Title;'            ~]ii4f
                                   l
                                        ~ I S T SOcfursT
                                  JUL-IAN :·uPtH-EGROVE     · -·      I
                                                                               WORimRS
                                                                                   ·
                                                                                           PARTY;
=~--~---·                      ·=-AACIAL-DIBCRIMINATJ:OR,~NO.-.F.ORCEt3J.IOLENCE
                              =·




               ·synopsis:             To set lead for investigation related to captioned
               'mat'ter.

                Details:                                    Cleveland Di vision, Lima
                                                  ~~~~.i.....i.~~.........1                                                       b6
                R~f!ideri1:_." ... _ . _     ~o_:Dayton O i? on 04/0~/2009 ':1-nd. m~t-                                           b7C
                with Special Agent MJS · ·        _  (Day_fo RA), a witness in. this
                matter; · and ·united States Department t:r Justice, Civil .Rights -
                Division Trial Lawyers·. Following this meeting it was decided
                that SA! Riis•s !would assist this investigation by tasking a
                Confidential Information with meeting with a potential target of
                this -investigat:Lon.                                ·

                            The purpo~e-of this tasking is to assist in determining
                if a noose mailed ·to the victim in this matter was.mailed to the                                                b6
                victini":Erom'!Portland, Orego~ or if the noose was mailed to                                                    b7C
                another individual and then and carried to Lima, Ohio.




                                                                                                                                 b7E




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        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 309 of 487 Pageid#: 6078
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               To:
               Re:
                     k_incinatti    I Fro~:
                     tf4H-cv-'74z'.3"1,        04/10/2009
                                                         Cleveland                                                                        . b6
                                                                                                                                           b7C




               Set Lead 1         g     (Action)

                             CINCINATTI _
.        . -    .       ... - .       - AT ,DAYTON, ,OHrn~ -.-         --- ------ ·: .   --- - -----·- ..... -- .. ----- - .


               Confidential
                                                -sA··   kMJ s  I Dayton RA, will task a
                                                                ·-
                                       Informant as described in this communication.
                                                                                                                                           b6
                                                                                                                                           b7C




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           Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 310 of 487 Pageid#: 6079

     '•,
                                                   EXHIBIT 1 (if!)
     (Rev. 05-01-2008)

                                                          UNCLASSIFIED.




               Precedenceg         ROUTINE                                         Dateg   06/16/2009
               To·g      Criminal Investigative                      Attng   Civil Rights Division
                                                                             Unit Chief!
                         Cleve.land                                          SA_,_ _ _ _           I
               From:       Cleveland
                            - S@ad .5/Lirna--..=-RA~--------------,
                             · C.o;}t~q:t~       SA_j•Br,ic.i.n·E.Russ ·

-- -.-- ----~---~Rp_r<?_~=a·-!?t=.~ .--- -- --
                                 "                                                                                b6
                                                                                                                  b7C
             . ~l:cl.f_~~~ _By_: __ --;.-----------,,,-------rr1
               Case ID #: 44B-CV-'74237             (Pen~ing) / \ \

              Title,      r-                          .r
                           :WILLIAM-:ALEXANDER WHITE,
                           -AMERI·CAN--NATIONAL: SOCIALIST WORKERS PARTY;
                           ( JUI IAN UPTHEGROVE'. .            . .     I       .                                        b6 '
                                                                                                                        b7C
                           RACIAL DISCRIMINATION - NO FORCE/VIOLENCE
                           SENSITIVE ·INVESTIGATIVE·· MATTER (SIM)
               Synopsis:   To designate captioned matter a Sensitive
               Investigative Matter (SIM) and obtain S,A.C .approval for use of a
               Polygraph.•       . .

              \Details:       The -purpose of this communication is document thi·s
              matter as a Sensitive_InvestigatiyE= Matter (SIM) due to the fact
              that William white;. the American National Socialist Workers Party
               (ANSWP), and their members participate in First Amendment
              activities. The .ANSWP could be considered a Political
              O.rg:ani .zati-011 pe~ -t.h-e grog., t:.he-r--e-f-ore thi-s iiiatLer · should be
              designated -as a S'IM. The f_ollowing information is being
              submitted t.o provide background on this organization and a brief
              s1,J.mmary of the investigation conducted since it was opened in
              February of 2008:
                                                                                                                        b7E

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                                                                                                        FBI{16cv948)-5370
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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 311 of 487 Pageid#: 6080


                                                                UNCtASSIFIE.D

                   To:   Cleveland        From:          Cleveland
                   Re:   44B--CV-74237, 06/16/2009


I_-----••-----•-

                                                                  BACKGROUND

                           The j\NSWP formed in ea_.rly 2006. William 11 Bill 11 White·
               is the i Commander 11 · of this group and resides in Roanoke,,
                           1

               Virginia. He used. to be ·associated with the National Socialist
          -~~M-ovement ·{N"SM):;-"':'but- left them in :2006 to· creat:;e the. ANSWP. He
               was the organizer of a -rally in Toledo, Ohi ·                            5
              ·which ··caused :violence·; -The ·ANSWP claims to
                                                                                                                           b6 ·
                                                                                                            -- - - -- ---- --b7C
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                                        - - - - - ~ - - - - - ------------------·--< -- _..,.   •-- --




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                      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 312 of 487 Pageid#: 6081


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                                                                                                                                         I
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\_)
                              To:            Cleveland     From:     Cleveland
                              Re:            44B~CV-74237,      06/16/2009.



                                                   This activit                                                                  b6
                                                                                                                                 b7C.
                                                                                                                               · b7D




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                                                                                                                               . b7C--
      ·~--- ----·..... ,-~--- --~~--~·-·-   ---~-- - - - - - - --------~-----------------~--·----~   -- - -                      b7If




                                                                     .FLYERS ·DISTRIBUTED
                                                                                                                               'b6
                                       0~ February 14, 2008,            , . !the ANSWP traveled                                 b7C
                             to Lima, Ohio and distributed flyers containing hateful messages
                             related·to the death ·of Tarika Wilsbrl; It is believed that the
                             harid delivered letters we'J::·~       · .·. · . . . . · . . · T~tters .         I'
                           · also cohtairi · · .. ' .. · · - ormation o'f answp@nazl.org ·
                             .: ·   · · -· · · • · · · - - , Several citizens of Lima,·      10 reported
                             t e receipt o .t ese flyers to the Allen. County Sheriff's Office
                              {ACSO) and LPD. Many citizens also received the ·s,anie hate
                             ] etters .; D tbe ma j J ·DOStro'ark:ed frornl

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                                                                                                                              b7C
                                                                                                                              b7D
                                                                                        been the week of
                                                                                        provided.        .,__ _ ___,
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                                                                                                                                b7C
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        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 313 of 487 Pageid#: 6082

                                                            UNCLASSIFIED

               To:    Cleveland        From:           Cleveland
               Re:    44B-CV-74237, 06/16/2009


                                                      --      - -- -
                                                               ~   ,                         ·•

                                                    NOOSE INCIDENT 02/14/-2008                                                      b6
                                                                                                                                    b7C
             ______qn February 14,. 2008 the_ local NAACP! Chairman Julian
             lupthegroveJ.contacte~ the                    ~~~o ?e~au~e h~                ~00     receiv~d racist
               literature ·in the mail.· In addition to this he received a
        . _, e~~---          .
                           tr~-n~~~~;-;~~os~:-~~~n~~eb:f~~~~~~st~!f2clent~was-- · ,




             - ·              He also receiited a                  yellow envelope with no return
            ·-·a:aa.:ress.· .· ---Tlie'yeliow···enve'ib:i?e····containe2i .a. Nationai                soc':iaiist
                                                                                                                                    b6
              magazine entitled               11
                                                   Lynch the       Jena    6 11-:   and. also cont:a.ined a noose.                  b7C
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                                                            INVESTIGATION

                      Evidence, was collected-· f ram the ACSO and LPD and forwarded
               to the ~BI Laboratory for processing. It was determined that the                                                     b6
               no-ose,-had.;:_a·-ni::tge amount bf DNA 'o:n it, and that the DNA matched                                            b7c
             I that    of·=-:o~E-iel Lee Jones. ·· ·                       ·I
                   Investigation deterrninE;d that Whjte is/was tbe Jeader of t~e
              ANSWP and I                                                      1                                                   .b6


             I                                                                                                             I
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               White is currently in jail' awaiting trial.in the Chicago Division
             · for making threats over. the Internet. White has .also been
               ind:i.Cted bj the Roanoke.Resident ·Agency for similar violations.
                       Interviews -wi d                                                  I
                                                                                         .. ~v    71   t-h;:it-1   l                b6.
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        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 314 of 487 Pageid#: 6083
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                                                               UNCLASSIFIED
                  To:     Cleveland         From:         Cleveland
                  Re:     44B-CV-74237, 06/16/2009


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                                                                                                                                     b7C
                                                                                                                                     b7D



--------- ------ - ·-----:·--·~Tne-:unffecf-sEates-~J5epa.'it-i:nept       of   .Justice - (USDOJ) , CivlY-- --- --
               Rights Division, Criminal Section, and the United States
             · Attorn'.ey 1·i:r·Office ir:i. Toied6:,: Ohio have committed to. pro'secuting
               this matter and have been: invol vr d - in nre'sent i na witnesses . and ..
                                                                                                                                   ___ b3__ _
               7vide~c~-- to a_ :FE=9:~,i1:l-'~·-G_rand.-,J:u:cy:--in
               1s e:}Cpected by August of_.20_09.               __
                                                                      Toledo, Ohiq··;---An- -l~ncl-ictment-
                                                                          ·         -.           .

                                              . _______ ___ POLYGRAPH REQUEST
                                                                                                                                     b3
                                                                                                                                     b6- -·
                                                                                                                                     b7C.

             Inossi ~J       Y   _P':. _aske? t_C)   ~ul:>~1-j. _to   a polygraph.___ _ _ _ _ _ _ _ _ _,--_,

                       Cleveland         l.                                            ·/
                                                                               has been contacted and                                b3
                  is available for this polygraph I                                                                        I         b6
             I·                                       I
                                         SAC Clevea.,l,...a_n_,,,d_c_o_n_c_u_r_r_e_n_c_e__.,.i_s_r_e_qu_e_s_t_e_d..,,..,___.for      b7C.
                  this examination.

                       SA!          !has been provided with FD-302 1 s and other                                                    b6
                  information in: preparation for this polygraph.                                                                   b7C




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                                                                                                                        FB1(16cv948)-5374
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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 315 of 487 Pageid#: 6084
     .,     ,. '
                                                                            -
                                                           ID-TCLASSIP!ED

                 To:     Cleveland         From:      Cleveland
                 Re:     44B-CV-74237, 06/16/2009



                 Set Lead 1:          (Info)

                         CRIMINAL INVESTIGATIVE

______ __    .... __ -------~·----- AT .. WASHI~GT(?N ( ._DC_ ---· ··--•-- _________ . ________________ _
                           For information and concurrence to designate this
                 matter as a'"Sensitive Investigative Matter.




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                                                                                                            FBI{16cv94.8)-5375
                                                                                                                                (,




r             Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 316 of 487 Pageid#: 6085
                                                                                          EXHIBIT l(n)
         FD-302 (Rev. 10-6-95)



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                                                                           FEDEJRAJL BUJREAU OF INVESTIGATION·




    . ' . ••·.-· .· ' ".• l-- ,,                              q ~.              ..        . . •.            ' ~Il hi~I                . .                               .     Lcl!lQ,_,                b6
                                                                                                                                                                                                    . 'b7C.
                                        ,_     .
    _____._:_ ---,·~-~--.-Whi. l.e..:.he.~was ...;urianl e--to~:~lise-:.:.:his-phone,-;SOII).e0ne
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                                                                                                  -1eft· -a threat eniti                                     (




                   ·"· ·-- ... ". .· .,- .. .                            . . _____ .. ...        ._ .,.. .               .... He.:...1JfaS unable to :obta:i,n .
                    ··~:~~=~y~~i~~=~~~;J?-n~   •~73- ·t?~- .~2=J~~~ a~~f.~:;. t~~!~e
                      the caller .may have ..eitner.Iouna fiis number on•
                                                                                                                                                             J oneS'         h:1~:~.~~
                                                                                                                                                                             or off of
l=--==-=o=n,,,.;._e=·~·o=.·=f=_=':l;:=h~e=~·':""'                                                                                                  =~;------------:.R,O}f§')_.c--
                                              . '!/l=:e=b=·-·f"':".o=_·r=u;:;m::::;s:::::·::::::h_."""e::•.:;·P=··o"""s=t=e=·d~.~o-n_i_n__t_h-;e=:p;;;;;a=s;;;t;;;;;.;;;;;;;;;;;;;;,
                                         .. At-;~:r~t-                  ,_L~6i.i isJ
                      sounded like h1m1:18ri~1J'rurther clarifieb and said 1:he .person
                                                                                                      th~u~ht it ,w';"sl ~ustin BoyeJ because it                                                    ½:76
                      sounded slow-witted.or like a pot-head •
                                                   .,..J;;;.llCu:J:i.e.:i:...:o.e:J:.1:lCil..:...;l:Jla:c:...;..J;iClJD.1C.S..;...Sl.JJJll..L.a:r:....L.Cw::JJJ~Cfi.ller      was a
                                                                                                                                                                                                       l:?6
                     rm=emb=·c:.e~r....·.-...,!::~;.;.;~:.....:...~~.......;,;~:..__~,;__.:..-.,,;;...~~~~---'.""""'7-,~~d (LNU I                                                                      b7C
                                                                                        owever ones               as on y spoken with
                                                                                       would have no reason to threaten
                                                                                                                                                  >
                                                                                                                                                he got fired from his                                  b6
                                                     ..aIJ.C1....a......cC1JD.J..a.....cJ~::La:iz:s.....a.:t:.t:;.e.J::...J:J..1.Ja....ic.e.:i::s.ati~l address was                                 '-'b7C

                                                     L.,---,.------r-----------,--__;.----1
                                                                                                                                                     someone parked in a
                                                                  .,.,.,......_.....,__ _-,._ _ _..J was not aware · of thei_r address
                                    r        .......,;;......;;.;;...~~---=~~d.and thought the· individual was II shooting
                                                                                             and as he approac~ed the car, the person
                                      0




!



              Investigation on      _0_2_/_o_s_/_2_0_1_·o__         ar. .:_·____ e_g_o_n~I-------(o__r__·                                             t_e_l_e_,p:_h_o_n_i_'c_a.,...l_l__y=.. ;_)_
              Fil~# 44B-CV-74237                         -/6'?                                                               Date dictated      Not Di~tatedfBI{16cv948)-5537

                  ~                                                _r-1------------~---,---------m !~c
                                                                                                   l=i '°"' ~ \. tQ;M.
             by                   c_G_M_ _ _ _ _
                           ..........

             TM, doo-t          °"'"""'
                                      ndthu             """"""°"'"""'
                                                                 n~ ooru,fusi,ms of tho FBI. ft is tho -
             it and its contents are not to be distributed outside your agency.
                                                                                                                                     of tho FBI and is
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           Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 317 of 487        Pageid#: 6086
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       Precedence:                    PRIORITY                                                              bate:         05/01/2008
                                                                                                                           .         I

       To: All Field Offices                                                           Attn:  Civil Rights Squads
                                                                                              JTTFs
               Crimi~al Investigative                                                  Attn:· Civil Rights Unit
                                                                                              SC Nancy -Nelson
              Cleveland                                                                Attn: Li          ........- - - ,
                                                                                                           ~~
                                                                                                                                                                     b6
                                                                                              SA Brian Russ                                                        . b7C
                                                                                    - .. -- - .-.-- ---s·- -_::~ -.
                                                                                       Attn: Al _ _,,,,......._._.....,.,,..,...,....,

               PhiladelJ?hia                                                            Attn: South       -------------------------
                                                                                                                  Jersey RA .....
                                                                                                       ssaj                       I
       F~Ot:IJ.:      Riq_hmQnd··• :          ·. . ..
          . .             - Roanoke RA,-· e:ruad 7 · ·         ··
                            . -- ·· ~-- ___·SJL_T~Day~
_------------ ______________contact:.         ··      "d___eh urc:
                                                                ' h _______ _

      Approved By

              ~·· ·--   -~--- --        "   -   --·-   ---
      Drafted By:
                                   .......,____.,.......;.,.......;~.;..._------------------------.....1

~---_:_-Gas e-~:,ID=#•:~44~:illi:.:,5-3,9:0:a~..::..(-Pend1n~:f)=··-·~-~·--
                                   44B.:.cv-:_74237                      (Pending)
      Title: WILLJ:.AM A. WHITE;
      MULTIPLE VICTIMS; ·
      RACIAL DISCRIMINATION-FORCE AND/OR VIOLENCE
      Synopsis·: Requeflt -~pproval from Civil Rights Unit to assign
      Roarioke RA a.ii o;rigiriating ·office (b6) in captioned
      investigation, set-leads for investigative ,assistance i
      captioned matter, and provide investigative'backgro
      information.                                '
      Reference:.
                                   44.A-RH-53908 Serial· 1
                                                                                                                                                                 b6
      Details: Roanoke RA ~p~ned captioned case on 02/27/2008 fter                                                                                               b7C
     ·discussions with United States Department of~Justice (USDOJ
      Attorney Ba_                 fry _ _
                       K9_~alski and Assist'7-nt tfnited--S~at~s. Attorrtey
      (AUSA)[_:rhorn.R~-Rondurant Western District of Virginia.    I
                                                                                                                                                                   b6
    --~---·-
          ..-_ · On 02/22/200~, Kowalski~[ Bondurant! and S~ David
    [Chu:t:ch](Roanoke RA) discussed, via teleconference, the
                                                                                                                                      I                            b7C

    - incidents of threateriing and harassing .communications, both e,-
      mail and telephonic, that William 11 Bill 11 A. White has
      initiated since August, ~006. This conference call was
      initiated as a result of a new complaint regarding a similar
      re<?eiit.harassing e-mail blog posted on the Vanguard News

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                                                            - ~-
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                                                                                                                               ti
         Network website (VNNforum.com) 1..,,.._.........    .......,~{M:~      Kevin                                    b6'   ~
       I Mottley! The blo also provide                                                                                   b7C I
         iden"t:ifiers. · Mottley s cu                    _ .                1
        African American enan1,;.s inVirginia Beach, Virginia, that
         have received threats from          1te as a resu to t eir
         partj ci nation .i D -al USDOJ. Fair.-Housirigpase against aj...1-:o_c_·a-1-..j                                       1.
          !
          white . landlord     .I
                   Pr_ev_iously, Roanoke RA,_ had _two qpen investigations
.         with Bill White as the subject (266N-RH-52670 and 9A-RH-

.I        i~t1b~;r~iitt;~:~~;;!!~i~~~~~E~~~~:!!i,::c~t;,:;~
         investigatio_n ...should be··coiisolidated 'irito _a Civil Rights-
                                                                                                      1                  b6
                                                                                                                         b7C

         Racial Discrimination investigation. Therefore, Roanoke RA
         has ··closed ·the _previqusJ:y·m~ntioned opened investigations with
       .White as .a subj.ect and opened -the captioned civil rights
________ matter.----------·· ·__________ -- ._-.-_ · ·- -·----- ·- ·--- ----- --- ------------ -- --

          GENERAL BACKGROUND CONCERNING BILL WHITE
              '" -- .. - By""way o-f background,·      Bill ·White is the self
        _procla-imed ..!:Commander".. of_ the American. National -Socialist
                         1

      . Worker, s Party (ANSWP) and currently res'ides in Roanoke,
     · .Virg:;Lnia_. _ P:i;-~_vio1Js to White 1 I? formation of ANSWP, White was a


                                             ;etroitrw:~::i:~:: a::: :::red
    ,-:=--me_mbei:~0:f=t;he~l,'Jat:~:kona:-l=S·oc-:ka~~ist~Movement--(-NSM}-,-wh-ich--;'-i-s---- ----- -

          l~~~;7        Qased out of
                                                                                                 I    l                  b6
                                                                                                                         b7C
      I                                      ]IE IEi believed                    -                   I -
      I                                  ·          I            -·-·-··-------
                      Bill White was also the owner and creator of a Nazi
          website,· www,overthrow.com: White created this website before
          he left NSMand began _ANSWP~ White 1 soverthrow.com website
          has recently been shut down for reasons unclear to the Roanoke
          RA. White has reported through the VNNforum.com website he is
          experiencing .financial trouble due to his wife and new born
          babybeing hospitalized and.he has chosen to sell his rental
          property business. For this reason, Roanoke RA believes White
          is _in f inaIJ,c_ial_ troubl~. and no longer could afford to \run his
          website. The site is vehemently opposed to Jews, homosexuals;
          blacks, and others. White would frequently post articles on
          this site about various topics. One of White s. most used ·        1


          harassment tactics is the posting of individuals personal home
          and telephone information on Overthrow.com and VNNforum.com.
          In .most cases, these posting occur after a media covered ·
          incident rel'ated to racial tensions. · An <;:xample of this is
          the __Jena 6 trial in New Orleans, LA.
                   Recently, the shooting of a black female by local
          police SWAT in Lima, Ohio, has spurn many postings by White in
          addition to~~ :;:°filings and· the sending of a noose to the                                                   b6
          local NAACP!        ~Ji
                             in Lima. SA[Brian· Russlis investigating                                                    b7C
          this incident under case file 4413-CV-74237.  · .
                       In addition to Bill White's national exposure

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           through his ,website, Overthrow.com, White. came to National                                                                                                                                                      I
           attention when NSM staged a march in Toledq, Ohio in. October
           of 2005, which ultimately escalated into rioting in the
           streets by anti-protestors. Bill White was one of the
           organizers of this march.
                White has also garnered national attention at
     various times through his vocal support of heinous crimes.
     For in,stance, B_i11 · White expressed support for .the Columbine ,
     High school shooters in 1999, and more recently, indicated
-··· apprcrv~~l_for_.. t:he deat;h$, of.United~States District_ Court Judge-
    .Lefkow's family in Chicago. Illinois. White was quoted in the
     press as saying:.
                                                                                                                                                                                                                      b6
                                                                                                                                                                                                                      b7C



  -   ___ ..   -   ____ ,, __   ~   ---   -   -   - - .,....   -   ----   -   -   ---   -'<· , - - - . -- - - - -   ,,.. . . . . . ..-.,, .. - - - , - ~ - -   -   -   --              -     ·-



                  In Aug1;1.st, 2006,. Roanoke RA o .ened a case .to
     investigate allegations b Canadian attorney Richard Warma...,·,_,,..__,                                                                                                                                          b6
  ,f.b..a.t;.·a~Tege~···1ff1\ ~~~~E~ ~ac.ili tated someone :_ac!~~lly murde~·ing                                                                                                                                      b7C
  Lhimjby,.posting .ha:s .. ,.. -, .... -.    ome a re s o 7fis ..
     'hite's} web site, www.Overthrow.co~.


                                                                                                                                                                                                                      b6
                                                                                                                                                                                                                     -·b7C




                                                    I would hope people take violent action against
                                                      11

                                                  him. He should be killed. 11 '



                    To _date, the Western District of Virginia, United
           States Attorney's Office (USAOY, has declined prosecution on
           all incidents 'p;r-esented to th(8m by the.Roanoke RA, siting the
           First Amendment as the major stumbling block to prosecution.
                    Especially over the. last few years, ~-White has become
           one of the nationally known 11 faces 11 of the white supremacy
           movement. His harassment· and threats through radio and the
           internet mediums, specifically, the Vanguard News ~etwork
           website, have led to numerous victims throughout the United
           States.
           RECENT HARASSMENT/THREATS BY BILL WHITE

                    Even more current, ~s yet another incident of
           threats harassment b White occurring ·in! Mullica 'Hills. - NJ. !.                                                                                                                                         b6
           o Mar:ch 1, 20J)fr, Carolyn ·-rys·on · eceived a telephone call                                                                                                                                            b7C
           originat~ng from Roanc::ike, VA._ The unidentified mal"" fbeJievej
           to be White) spoke to! Charles ·Tyson     · Jand state(that h~   ~

                                                                                                                                                                                                          FBI(16cv948)-505Q
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                  Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 320 of 487 Pageid#: 6089

                                                                               Working Copy - - - - .          Page     4

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                                                                                                                                  b7C




         ------.-- ·--- -- --This .. latest ..incident by .White was most likely
         spurred on by an article published onl                        -      I possibly                                      b6
                                                                                                                              b7C
         through he AP wire, regardin racial harassment and racial
         jnHmipatio                            towa d              last ear.

  :
      ----             l:i.s th
      ' -- - - . The' phone·_- call from W]?.ite t:  .  . - - as
                                                                                                                                  b6

  I   ~T   . ___d up 2 minute~_ late_r by the following e-mail tol Majror                                  I                      b7C

      ~            -   '                                             '




, ·!- b~ar_Mayot Tyson:     I fecentlv read pf the racism you've faced
  ,      in Harrisonville, New., Jersey, 13.:1:1~ I wcmted_ to 1!1ake something
 -- ---, :~2 if:t_i~J)_y: -~J ea.£__ t 9- __ y-9_11= -----~ _- -~:- -_ -__ .       .. _____ _
              (a) You are a ni'gger unfit to govern over any white man.
    _ . --· ~ (b) . F'uck. you.. You ',v.e gotten exactiy what you deserve ·
          _         from your cciristituents.
                                                                                                                            b6
       U~forttina telf;---:..:t:he~ ·day·s- when wni te men would simply burn the                                           b7C
       local n.ewspaper, and, run' nigger officials out with tar and
       feathers are past.- However, your incidents give me hope that
 ~ ~ - pef~aps we might -see~ them aga_ih ~ - ·-                  --




         B;Lll Wb,ite,, Commanqer _
         American National Socialist Workers Party
                                                                         . I

         PS: We know you live· at                                        ·STATE- HIGHWAY    Mullica Hill
         New Jersey. 08062 ( - )                                               I just spoke wi_th your
         '    .
               On!           - I White posted the AP article and his e-mail                                                       b6
             to ~a_yor Tyson pn the VNNforum.com website.                                                                         b7C

             VI0LATI0N(S}DISCUSSED WITH USD0J AND USA0
               Although there is ·a potential First Amendment defense to
             the threatening and harassing communications made by White, -
             USD0J Attorney Kowalski and AUSA! Bonduran\believe the                                                               b6
             following federal statutes apply (but notimited) to this                                                             b7C
             investigation: .                ·    ·
               Title 18, United States Code                                    Section, 875, Interstate
             Communications
               Title 18, United States Code                                    Section, 876, Mailing
             Threateni~g .Communications
               Title 18, United States Code                                    Section, 245, Federally
             Protected Activlties
               Title 18, United States Code                                    Section, 241, Conspiracy
             Against Rights

                                                                                                                 FBI{16cv948)-506

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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 321 of 487 Pageid#: 6090

                                                       Working Copy                                         Page      5


      ROANOKE RA·INVESTIGATIVE PLAN
           After discussin         otential violations concerning White's
         actions SA Church USDOJ Attorney Kowalski and AUSA ·                ,.                                           b6
  -- -- -Bondurant- ~agree t at investigating White's actions would best                                                  b7C
          e accomp ished as a Racial Discrimination-civil Rights
         investigation. Furthermore, all beiieve that a historical
         approach to the investigation;. would best benefit an eventual
         prosecution. In order to show Wp.ite has crossed the line
.• ____ establ is];i.ed _by the . Firsvt-Amendment, Roanoke_M int.ends___ to
         develop a·tirne-'line involving all ·incidents, thecceby showing
         White's intent to threaten apd harass his victims.
           In an effort to coordinate the many different incidents
        spcinn±.ng "numerous 'F'.iel¢l "Off iges';-· Roanoke ·RA· has -·obta.ine·d ·
        approval- from. Sec.tion Chief-Nancy Nelson, FBIHQ, Criminal
______ .LJJJ[ef;J.t::i,ga.t.iy_e .J)_i:v:i$i:On~__::__ciidl ~:Rights_:__un:i:t ___ JCRUt, . _and has been
      _cl~l;lignated .. as, the .o:r:iginating... office .(00). for all incidents
        involving Bill White threats and.. harassment throughout the
        United _States. USDOJ Attorney Barry Kowalski concurs with
        this ·approval~- --- · - -· - - -- - -- - ·

           Roanoke RAwill gather all related investigation
       concerning White dating back to August, 2006. : This is when
-- ~=~,;:Roanoke~RA~h>egan~-i-nve·st-igat-:hng-~Wh4't = · e, -~ -· · - · '· ·
      .·described threats and. harassment of Canadian attorne Richard                                                     b6
                   .I
      lwarrrian All Field Office (FO) JTTFs an , C1VJ. Rig ts Squa S                                                      b7C
        are requested to determine if they have had any complaints or
       open investigations (past or present) related to White and
       ·contact Roanoke RA with the details. of each. -FO' s are also
       .requested to query CHS' s that rnay be in a position to provide.
        ir:it.e~~~ger:ice .rel~ted to capt_i_oneq. _matters.. Roanoke RA further
       request to be contacted on all future incidents. involving
       White that match the·previou:sly described criteria.
        During any investigations pertaining to captioned matter,
      special attention should be given to the following:
        1. Obtaining a11· correspondence received by or directed
      toward the victims, to include letters via U.S. mail, e-
      mail's, inti:rnet blog postings, and flyers distributed through
      the victims community. In the case of e-mail received by
      victims, IP addresses for the victim and sender should be
      obtained in a timely manner so the original sender can be
      verified.
       - 2. · All caller ID information in instances where victims
      received threatening and harassing phone calls.
               \                                 .
        3. Any recorded conversations of t~reatening and
      harassing phone calls.
        4. Interview of victim(s) ~ Specifically ~etermine why
      they think they were targeted and if t_hey felt threatened by
      the letter·, e-mail, phone call, etc. Include specifics of h~w
      they felt threatened. Also determine specifically what was

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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 322 of 487 Pageid#: 6091

                                                       Working Copy - - - - .                             Page      6

         said by caller during the threatening and harassing phone
         call. If victims were not sent correspondence directly, but
         learned of the threats through other means, it is requested
         they still be interviewed. Obtain all e-mails and documents
         the victim may have related to the incident.
          5. Determine if any Grand Jury Subpoenas or Search
         Warrants are needed and contact Roanoke.RA for coordination.
            6.   Conduct further logical investigation as appropriate.
- __,.
         · Roanoke RA will- s~nd leads· to -specific FOs wfth related
         incidents as necessacy _afte.r._determining if the incidents fit
         within the criteria . of' d:1pt1oried· matter.
         -Rqanoke·-RA, r~altzes·th:~l:'e~lilar·be_· multiple ·Fos :that ·have. ·
        intelligence .gathering .. investigations involving· White to some
---~--d_e,g:t:~.e_._·_·1\.s__:_s_uch,•~it.:.is__:_no.t'.ed::::f.or....:alL.:FOs_,____ Roanoke RA is only
       _requesting ~.information .. related .to ..incidents.. of threats and
      ·harassment by White that are related to this Racial
        Dis_crimt.nation ~mp. Civil Rights investigation. However,                                     .
        Roanoke· RA-- requests___ that'---a.Il ·-CHS' s with related intelligence
       .that,__ would•~assist ..in .identifying ..White's associates.and fill
       .in iriv~st:igati,ye gc!,ps be c9ntact_ed and results provided. A
        separate·Ec will follow directed to those FO's with identified
-=~C::HSL:iLt.liat-=C0U.Jc€l~pote:at:4a~l~y-:inmv-4de::.i~format--ien-:iaegaEd-i-ng--~ --- - --
        White and ANSWP.                                   .                              .        .


            Roanoke RA will present all ihvestigativ~ findings to the
         'USAO, .:R.¢a~<JJ:{e, VA, and. USDOJ, for prosecutor,ial opinio!).s as
          outlined_ in.the FBI C~yil Rights Program Manual. Roanoke RA
          will also'keep'a.11.Fbs apprized of pertinent develops
          concerning captioned matter.
                                                                                                                        b6
           S             Church}~ Roanoke RA, has been assigned\ the Case
         Agen   or   e investigation involving White',;....-........................_...........,.___                   b7C



     a         ment (44A-,,RH..,53908) . Please contact S ·church
               with any questions regarding captioned matter. S
               L~ma RA, .Ohio1 is the case agent for the i:rµz:e.c::t: iflf, ion
         concerning the sending·of, the .noose to the NAACPLCJJ.ai:2.J in
         Lima and the hate mailings sent during· the S9-me period (44B-
                                                                                              1
                                                                                                  Brian



         CV-74237).  All information relfted to the Lima investigation
         should be forwaraed to S~ Russ._
         Descriptive Data:
                      Main Subject
                      Name -
                      Last: ·                           White
                     _First:                            William
                      Middle:                           Alexander
                      :gace:                               w
                      Sex:                                 M
                      DOB:                                                                        .   '
                      DLN:                                                                            I
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                                     FBI:                                                            943081CB5
                                     SOC:
                                     Add:tess(es) -
                                     House#:                                                      188
                                     Street Name:                                                 Summit Way
           - ------- -            - -•City: --- -                                                 -Roanoke
                                     State:                                                       VA
                                     Postal Code:                                                 24014

 I          LEAD·(s) :                                                                                                                                            I
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            Set .Lead ·l:                            (Action}

                                        CRIMINAL INVESTIGATIVE

                                                      ·AT ·:WASHINGTO;N, DC

_. --·-------·--·-------~-:.__ __ ;AT_CI:Y::i:L:..:RIGH:T~--~DNIT.:~.-..APProve .request .for Richmond,
        ~oanoke. RA .. to ... be __designated the office.:of. origin (00) in

      -~    -~;~~t~~-egh~~f~~~~~;~~~~~o~~~~b~~i;rroyaJ                                                                     ob~at~~d 0~/~-~/2008.                                            b6
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           . Set .Lead 2.: __ .(Action)_
                                                      -·
                                       ALL RECEIVING OFFICES
                                                                                                                                          ---------~-                 - ----

                                        All Field Office (FO) JTTFs and Civil Ri"ghts Squads
            .are .. requested to determine if they have had .any complaints or
             open investigations (pafjlt or present) related to White and
             contact Roan0ke RA, via e-mail or telephonically, to· _discuss
            details of each and determine whether the particular incident
             ~a],1,s· :w-;Ltllj,i:+, tl.1-e. inVE:;$t;i.gative scope. Roanoke_ RA further
             request to be. contacted on all future incidents involving
            White that mat:ch -the previously described criter_ia. ,..A.,,....11___......,....,
             offices· with pertinent information should contact SA! Church!.                                                                                                                 b6
           I --                                                                 I                                                                                                            b7C

                     Additionally, all FO's are requested to guery 1 any CHS's
            that are reporting _or have reported· i.nte ltjaen:e re] :ted
            ANSWP and Bi]] white    Peteiroine if CHS 1 s_     _   _, .,. . _
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        !                                               A so, . etermine i    the                             I
            CHS's could be useful in captioned investigations. A separate_
            EC will follow specifically requesting info:i:;:rnation from known
            identified CHS's.

            Set· Lead 3:                              (Info)

                                        CLEVELAND

                                                       AT LIMA RA, OHIO

                                                        Read and cle·ar.

            Set Lead 4:                               (Info)

                                        PHILADELPHIA


                                                                                                                                                                               FBI{ 16cv948}-50E>~
                    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 324 of 487 Pageid#: 6093            ___ J__
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                '   .                                                         Working Copy                                    Page           8
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                                                          _AT' SOUwH JERSE~RA                                                                     b7C
                          Contacts~                                                      if additional                I
            information related to i~n~c~i-a~e=n=t,,.....,i~s=--"g=a=e-n-e=r=e=a-.-----1         !

- - ___ set.-Lead 5-:- . (Info) __
                                            NEW ORLEANS
                                                          AT ALEXANDRIA RA
                       '"cont.act ··sAT David-.Churc@-Roanolce-·RA,._1--_---_ _ _ _ _ _
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   _with any Bill White relat~d incidents invol•ldn= thf Jena 6 or                                                                               b7C
    others. Per telcal on ·os/oa/oa, · contact SA,__--.--..-.-----'- w.,,..·.....................,.__                                            b7E
     information learned related to the i.....,.,._~·...i....·..w.1o1,J,,w,1~.....io.L.1.L----.L..
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 _ will . direct _you to the recor,ded phone.___c_a--,-p_r_e_s_u_m_a_ _ _e_t_w_e_e_,n
___J.:__ · _: ·-
            ·JBill__ White.· _________·· ___ · :···_______ ·---------·-




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             Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 325 of 487 Pageid#: 6094



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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 326 of 487
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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 331 of 487 Pageid#: 6100




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                Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 332 of 487 Pageid#: 6101                                                                                        d
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                     ~AO! IO (Rev. 12/89) Subpoena to Testify Before Grand Jury ·



                                                                            UN""ITED STATES DISTRICT COURT
                                                  NORTHERN                                                              OHIO, WESTERN DIVISION
                                                                                       :DISTRICT OF
                                        - -• -=   - - - -- - - ---   . --   ·-

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                                                                                                       SlJB:J?OENA TO TESTIFY                                                  b6
!                                                                                                      BEFORE GRAND JURY                                                       b7C
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r-·- ____ ,._ ····-··· ........ -·-•.•·· -· -- ---•-•.• --- --·--·-•·
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                              YOU ARE HEREBY COMMANDED to ~ppear and testify before the Grand Jury ofthe United States District Court
                     at the place, date, and time specified below. ·                                      ·


    .. ·•' ---- -·---· · ·;:; •·--···=-,;=--'----------'~-----~-'--'-------------------------r--------:-,----,----
                                                   -~--- -------- ~--- ...---,---~-- ---- ------- -- ---~---~ .
                    PL~Cl?.                                                                                                         COURTROOM
                                   . ·u~·s~ Courthouse· . . ..                                                                        GRAND JURY ROOM
                                      1716 Spi~lbusch Ave.
                                     Toledo; ·oH" 43624 -                                                                           DA\TE A Nn Trut:

                                                                                                                                                                           I    b3


                          YOU ARE ALSO COMMANDED to bririg with you the following document(s) or object(s):*
                                                                                                                                                                               ·b3
                                                                                                                                                                               b6
                                                                                                                                                                               b7C




                    •     Please see additional information on reverse.

                            This subpoena shalt;eiµain in effect until you are granted leave tp depart by the court or by an officer acting on
                    behalf of the court ·         ·

                    CLERK     I                                      I.                                ~T:;'.   .DATE                                                           b3
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                                                                                                                                                               ORNEY
                    1ms suopoena 1s 1ssqea on appucat1on                                                                                ;
                    of the United States of America
                                                                                                                                        :




                    "If not applicable, enter~none".
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   Case 7:08-cr-00054-EKD Document
                           EXHIBIT 411-2
                                    L( s) Filed 10/05/20 Page 333 of 487 Pageid#: 6102

                     Summary of FBI File #44B-CV-74237

Serial #      Date                Exhibit'              Summary
--------                          -------
                                      - -L (t/j
  1          2/ 15 / 2008·                              FD-610- full investigati6n opener
  2          2/25/2008                                  WAW IIR
  3                      -missing-
  4          2/20/20.08                                 wrong file
  5          2I2212,008                                 public records search
  6          2/22/2008                                  intake of evideoc~ 302
  7          2 I 2 2 /-2;0 o8 ·                         intake of ,evidence 302
  8          2/28/2008                                  public records search
  9                      -missing-
  10         3/11/2008                   Ttc··t         leads to identify ANSWP members
  11         3/10/2008                                  labs request for ~NA analjsis
  12                     -missing-
  13         3/25/2008                                  SI investigation of   Phil Anderson
  14         3/18/2008                                  contact<with postal   inspector
  15         3/18/2008                                  contact with postal   inspector
  16         2/28/2008                                  contact with postal   inspector
  17         3/10/2008                                  LEXIS-NEXIS search
  18         3/11/2008                                  NCIC check WAW
  19                     -missing-
  20                     -rn.i..s s i n g-
  21   ---               ~missing-
  22         3/18/2008                                  investigat-d-on summary
  23                     - mi s s i n g - J.
  24         4/8/2008                                   ~ill verify residences.
  25         3/18/08-4/7/08                             RB intern~t searches
  26         3 I 2 5 / o8t·'tJ 17 Io 8                  PD internet searches
  27         4/17/2008                                  Madison RA check
  28         5/6/2008                                   Boyer domestic ~attery.arrest
  29         5/13/2008                                  Michael Burks check
  30         4/29/2008'                                 Michael Burks cheC-k
  31         5 / 1 /0-()08            :-·no-)           National Initiat~ve Targeting Bjl0 White
                                      ---                 leads request
  32          5/12/2008                                 Justin Boyer c~eck
  33          5/21/2008     ---t(          en           instruction to collect CHS DNA
  34          5/21/2008                                 MM .leads re-sponse
  35     '    5/21/2008                                 SF leads response
  36          5/22/2008                                 TP leads response
  37          5/5/2008                                  t i t l e c ha ng e a d d s ub je c ts
  38          5/23/2008                                 PB leads response
  39          5/27/2008                                 PS leads response
  40                   -missing-
  41          6/2/2008                                  preservation order Yahoo
  42          6/2/2008                                  preservation order Microsoft
  43          6/2/2008      ---L-(-eJ                   preservation order answp~nazi.org
  44          6/11/2008       -tffr                     CI interview Boyer
  45          6/13/2008                                 LO leads response
  46          6/18/2008                                 302 Boyer
  47          6/19/2008                                 302 Boyer
  48                   -missing-
  49                   -missing-
  50          ':l/10/2008                               travel to NK for Campbell'


                                                  -1-
                                                                         ---- --   -   .   -   --
                                                                                                ---
  Case#44B-CV-74237
File   7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 334 of 487 Pageid#: 6103


Serial #       Date              Exhibit             Summary
  51                    -missing-
  52                    _'missing-
  53                    -missing-
  54                    -missing-
  55          6/4/2008                               review
  56                    -missing-
  57                    -missing-
  58                    -missing-
  59          7/21/2008                              302 Michael Downs
  60                    -missing-
  61                    -missing-
  62                    -missing-
  63          8/21/2008                              CV leads response
  64
  65
              9/10/2008
              10/8/2008
                                  ____
                                ,, -L ( g)           DNA labs result::
                                                     DNA cheek swabs@ Rbanoke GJ
  66          10/8/2008                              DNA cheek swabs@ Ro~noke GJ
  67          10/21/2008                             transfer of DNA swabs to lab
  68          10/21/2008                             DNA delay
  69                    -missing-
  70          11/13/2008                              DNA cheek swabs @ Roanoke GJ
  71          11/13/2008                              DNA cheek swabs@ Roanoke GJ
  72          11/13/2008                            _ DNS cheek swabs @ Roanoke GJ
  73          11/19/2008                              transfer DNA swabs to lab
  i7 ?I-·~              -missing-
  75          11/13/2008                             GJ sealed material
  76          12/14/2008                             documents transfer CV to CG
  77          1/14/2009                              hard drives transfer RH to CG and CV
  78                    -missing- __
  79          12 / 19 / 2 00 8     ,{ ( h )          ED Michigan GJ wiretaps
  80          212112009             TTTT             fingerprin·t test resants
  81                    -missing-
  82          3/5/2009                               FD-1023 CHS reporting
  83          3/9/2009              .bJ.ll           DNA l ab res u l ts
 ,84          3/23/2009                              YAP-Julian Upthegrove
  85          3/17/2009                              302 Upthegrove wife
  86          3/17/2009                              302 Julian Upthegrove
  87                    -missing-_
  88          4/2/2009              li.k..l          title change/ start of GJ
  89          4/10/2009             TTTT -           travel to interview Boyer
  90·         4/9/2009                               travel to interview Boyer
  91          4/29/2009                              bard drives to CV
  92          4/9/2009                               302 Boyer
  93(92-2)    5/15/2009                              serve GJ subpoenas
  94          4/8/2008                               WCSO police reports
  95          4/8/2008                               WCSO police reports
  96          4/8/2008                               WCSO police reports
  97          4/8/2008                               WCSO police reports
  98          5/26/2009                              CV request for WCSO police reports PD
  99                    -missing-
  100         2/27/2009                              report to DOJ CRD
  101         5/27/2009                              report to DOJ CRD    ,
  102         5/30/2009                              302 Daniel Jones Toledo GJ
  103         4/17/2009                              302 Postal Inspector
  104         5/31/2009                              302 city councilman

                                              -2-
     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 335 of 487 Pageid#: 6104
     File #44B-CV-74237

Serial #       Date            Exhibit       Description

  105          6/3/2009                      302 unknown
  106          6/3/2009                      3 O2 Da n i e l J.o n e s
  107          6/3/2009                      302 Daniel Jones
  108          6/3/2009                      302 unknown
  109          6/9/2009                      302 recording of 4/28/08 phone call
  110          6/15/2009                     302 unknown               ,
  111          6/16/2009         L~m)        Sensitive Investigative Matter designa-
                                               tion
   112                   -missing-
   113          8/17/2009                    GJ subpoena
   114                   -missing-
   115'         8/26/2009                    GJ subpoena retur.n
   116                   -missing-
   117          8/17/2009                     approval for CHS travel
   118          9/11/2009                     hard drive anal~sis
   119          8/18/2009                   : 3,0 2. unknown:, -- ·
   120          9/22/2009                    'po investigation into Jones
   121          9/24/2009                     hard drive analysis
   122                   -missing-
   123                   -missing-
   124          10/8/2009                    arrest 11 accomplishment 11
   125          10/15/2009                   report to DOJ-CRD
   126          9/9/2009                     302 Dan Jones co-wovkenl
   127          9/24/2009                    302 unl<•nown
   128          9/25/2009                    302 unknown               r

   129          10/8/2009                    302 Dan Jones
   130          10/7/2009 ·                  302 Dan Jones
   131          10/i6/2009                   PD co-worker lead retu n
   132          1€1/19/2009                  arrest 11 accomplishment 11
   133                   -missing-
   134          6/2/2009                     302 deputy
   135                   -missing-
   136                   -missing-
 - 137                   -missing-                                     I
                                                                       I
   138         ·a/28/2009                    302 unknown            i
   139          10/8/2009                    Tom Perez.press release
   140                   -mis.sing-
   141          11 / 12/2009 .               PD to CV pre~trial servicis info
   142          12/1/2009                    302 Dan Jones+ friends EC
   143          11/20/2009                   302 Jones friend
   144          11/20/2009                   302 Jones friend
   145          11/24/2009                   302 Jones
   146          11/20/2009                   302 Jones
   147          12/15/2009                   302 Jones
   148          12/15/2009                   302 hard drive
   149          12/15/2009                   302 CHS targeting ·U6nes
   150          12/15/2009                   302 hard drive
   151          12/16/2009                   302 hard drive
   152                   -missing-
   153          1/25/2010                    302 voice mail transcri~t.
   154          1/19/2010                    302 unknown woman
   155          1/19/2010                    3 O2 u n k n ow n ·ma n
   156          1/22/2010                    evidence tr~nsfer PD to CV
   157          1/27/2010                    evidence transfer PD to CV

                                      -3-
             FileCase 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 336 of 487 Pageid#: 6105
                  #448-CV-74237

             Serial #        Date              Exh i b i·t     Summary
               158             1/12/2010                            302·Jones friend
               159             1/121.20 to                           3 O2 r e.p o r t e r
               160             1/25/ 20-10                           302 Jones landlord
               161             1/85/2010                            302 Jones friend
               162             l/25l2010.                            302 Jones friend
               16 3~:          1/28/2010                             EC for 302s
               164             2/5/2010                             rep·o·rt to DOJ-CRD
               165             12/10/2009                            report to DOJ-CRD
               166             12/31/2009                            report to DO~-CRD
               167             2/3/2010                             302 Jones
               168             2/8/2010                             302 Jones
               169             2,/8/2010                             302 Jones
               170             2/25/2010                            EC for 302s
               171             4/2/2010                          ~ rep 0:rt To: oo~:f- cT~ nf .-
               172             4/15/2010                             hard diive se~~ch
               173             4/19/2010                            302 Habig.
               174             5/27/2010                             Jones guilty plea
               175             6/15/2010                            conviction 11 accomplishment 11
               176             7/21/2010                             fingerprint lab request
               177             8/2/2010                             fingerprint lab report
               178             8/9/2010                              DNA lab report
               179             9/16/2010                             fingerpti~tllab report
               180.            11/15/2010                            sentencing 11 accomplishment 11
               181             11/9/2010                             Jones j~d~ment order
               182             5/18/2011                            request to retain evidence
               183                            -missing-
               184             8/3/2011                              file closing document
               APPENDICES      AND SUBFiLES NOT INDEXED
                               - - - - - - - - ~-                 --
                            ' 2:/:28/2008               Lip ) ~- - interview n_o_t_es_:'"--.:. Juli an Upthegrove
                             ; 1 ;Tot 20To ___ -- - L ( q )        inter~iew notes --·Jones GF
                                                       TirT         GJ subpoena

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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 337 of 487 Pageid#: 6106
                           EXHI BI T N( a ) ( i. )
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                                                                                                           U.S. Departmen(of Justice
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                                                                                                         Federal Bureau of Investigation
                                                                                                        Washington, D. C. 20535

                                                                                                        June 20, 2019

    Mr. William A. White
    5725 Artesian Drive
  · Derwood, MD 20855

                                                                                  Civil Action No.: 16-cv-00948
                                                                                  FOIPA Request No.: 1224695-000
                                                                                  Subject: William A. White

   Dear-Mr. White:

             The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
   United StatE;is Code, Section 552/552a. · Bel_ow you will find checked boxes under applicable statutes for the
   exemptions asserted to protect information exempt ,from disclosure. The appropriate exemptions are hated on the
   processed pages next to redacted information. ID addition, a de,leted page information sheet was inserted to indicate
   where pages ~vere withheld entirely pursuant,to applicable exemptions. An Explanation of Exemptions is enclosed to
   further explain· justification for withheld information.

                                        Section 552                                               .Section 552a
              r- (b)(1)                                         r   (b)(7)(A)                     I-   (d)(5)
             1--: (b)(2)                                   ·~ r     (b)(7)(B)                     .w 0)(2)
             Joi (b)(3) -                                       fl (b)(7)(C)                i
                                                                                           ·i
                                                                                                  r· (k)(1)
            F d R._._m_n_.
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                    C · _r·~-e~------                           lw' (b)(7)(0)                     j= (k)(2)
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                                                                r· (b)(7)(F)                      r- <k)<4>
              1- (J)(4)
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              r      <tl><s)                                    J° (b)(9)                         J=   (k)(6)
              Jyi     (ti)(6)                                                                     l    (k)(7)
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                        I   .·   .l                                           .
             501 P,ages rere revie)IVed and 159 pages a_re being released ..

              Belo0 you          1m
                            also firid additional informati.onal paragraphs at;iout ~our request. Where applicable, checl<ed
   boxes are usedI to pfovide you with more information
                                                  ·      .
                                                             about th~ processing ofI
                                                                                      your req·uest. Please read each item
                  1
   carefully. .   i • · 1 . •.• ..• _                  ·                            i                            .
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                      qocuments were located which originated with, or contained ir;iformation concerning, other Government
                      igenci:es [OGAs].                                            \
                      ~i          ·       .                         ·    ·                  I          .          .
                     I .)   Thi~ information has been ryferred to the OGA(s) for revief and direct response to you.          ·
                     fv]    We ,are consul.ting with another agency. ·The_FBI will correspond with you regarding this information
                            when the consuhation is completed.                         I                       .           .
      . . Pleas :referjto ti)e enc;osed FBJ FO!~A Addendum for additional Jfodard responses applicable to your
   request. The l'.'Standarµ Responses to Reques~s" section of the Adden~um applies to all requests. If the subject
   of your requesf is a l?erson, th~ "Standard ~espqnses to Requests .for lnidividuals" section also applies. The
   "General Information" section includes useful information about FBI reco(ds.
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 338 of 487 Pageid#: 6107




         Please dfrect any further inquiries about this case to ·th~ Attorney representing the Governme.nt i~ this
 matter, Pl~ase use the FOIPA Request Number and/or Civil Action Numb~r in all correspondence or inquiries
 concerning your request .

          r,l
                See additional information which follows.



                                                                  Sincerely,          .

                                                                  ~ ll-11 ;"'\
                                                                  .~J
                                                                  David M. Hardy
                                                                  Section Chief .
                                                                  Record/Information
                                                                    Dissemination Section
                                                                  Information Management Division




 Enclosures (Bates pages FBI (16cv00948)-7070 to FBI (16cv00948)-7570, Explanati~n of Exemptions and FBI
 FOIPA Addendum)        .                                                     .

          The enclosed documents represent the fifteenth interim release of information responsive to your Freedom of
 Information/Privacy Act (FOIPA) request This material is being provided to you at no charge at this time. The FBI
 will provide monthly rolling releases.  ·                                       :. .               ·

         To minimize costs to both you and the FBI, duplicate copies of the same document were not processed.
                                  . .               .                            I                            .
          Currently, ;YOU have a positive balance of $825.00 from paymen~s you ~ubmitted in anticipation of dupHcation
                                                                               1
 fees for previous ~OIA requests. As the FBI makes interim releases to you, it Iwill subtract the duplication fees from
 this balance untffthis balance is eJChausted.                              .         ·           .
 .              .    r     . . .       .   .                                                                .         .
         The enclosed documents responsive to your request are exempt from disclosure in their entirety pursu.ant to
 the Privacy Act, Tjtle 5, ,United States Code, Se~tion 552 (a), subsection 0)(2)-1 However, these·reco_rds have been
 processed .pursuart to _the Freeda~ of Information Act, Title 5, United States Clo. de, Section 552, thereby affording
 you the greatest dlegree 1 of access:authorized bYi both laws..   · .          ..    . _.

          For your ,inforlllation, seaied court records are not eligible for release under the Freedor:n of Information
 Act. Material resP,onsiv~ to your request has b~en withheld and marked "OTH~R-Sealed" pursuant to appropriate
    .               I        ,.    . .
 orders issued by federal district courts.               .                       .   I ·  .                  .
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Case 7:08-cr-00054-EKD Document
                         EXHIBIT411-2 Filed 10/05/20 Page 339 of 487 Pageid#: 6108
                                  N(a)(ii)
                                                                                                              .U.S. Department of Justice




                                                                                                              -Federal Bureau of Investigation
                                                                                                              Washington, D. C. 20535

                                                                                                              July 19, 2019

          Mr. William A. White
          5725 Artesian Drive
          Derwood, MD 20855 ..

                                                                                          Civil Action No.: 16°cv-00948
                                                                                          FOIPA Request No._:1224695-000
                                                                                          Subject: William A. White

          Dear Mr. White:·

                    The enclosed documents were reviewed undf:ff the Freedom of Information/Privacy Acts (FOIPA), Title 5,
          United States Code, Section 552/552a. Below you will find checked boxes under applicable statutes for the
          exemptions asserted to protect information exempt from disclosure. The appropriate exemptions are noted on··the
          processed pages next to redacted information.. In addition, a deleted p_age information sheet was inserted to indicate
          where pages were withheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
          further explain justification for withheld inform·ation ..

                                                Section 552                                           . Section 552a
                         1     (b)(1)                                 ,- (b)(7)(A)                     f-   (d)(5)
                         1     (b)(2)                                 if-    (b)(7)(B)"                P'   0)(2)
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                       _5_0_U_S_C_3_02_4~(~i)~(1..._)~ - - - ~ ~:;7 (b)(7)(E)                          r·   (k)(3)
                                                                      ·II-   (b)(7)(F)                 I    (k)(4)
                       -------------                                  r ~ (b)(8)                       r·· (k)(5)
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                         ~ (b)(6)                                                                      J    (k)(7)
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                        q01 pages were reviewed and 280 pages are being released.
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          •      '                                                                         I                                           •
                 Please see the paragraphs below for relevant information specific to your request and the enclosed FBI
                 1
          FOIPA Addendum for standard responses applicable to all requests. ·                  .
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                        J.;;   Documents were located which originated with, or cbntained information concerning' other Government
                               Agencies [OGAs].                                  ·

                               1 This information has been referred to the OGA(s) for review and direct respons_e to you.
                               fJ · We are consulting with the other agencies. ThJ FBI will correspond with you regarding this
                                    information once the consultations are completJd.
                 ,        . . . .. .                          .                           I .                        . .·         .        .
              . -I  Please refer to the enclosed FBI FOIPA Addendum for additional standard r_esponses applicable to your
         · request: ."Part 1" of the Addendum includes standard respons~s that apply to all requests. "Part 2" includes
           add(tional[standard responses tha_t apply to all requests for records on individuals. "Part:3" includes general .
           info~mation about FBI records that you may find useful. _Also enplosed is our Expl_anation of E~emptions.
                                                                                           I
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 340 of 487 Pageid#: 6109




                 Pleas~ direct any further inquiries about this case to _the ·Att~r~ey representing the Government in this
         matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
         concerning your request.                                         ·


                   ):;1 ·see additi~nal information which follows.



                                                                           Sincerely,    .


                                                                          ~~
                                                                           David M. Hardy
                                                                           Section Chief
                                                                           Record/Information
                                                                             Dissemination Section
                                                                           Information Management Division •




         Enclosures (Bates pages FBl(16cv00948)-7571 to FBl(16cv00948)-8071, Explanation of Exemptions and FBI FOIPA
         Addendum)                                ·            ·

                   . The enclosed documents represent the sixteenth interim _release of information responsive to your Freedom.
          of Information/Privacy Act (FOIPA)-request. This material is being provided to you at no charge at this time. The
          FBI will provide monthly rolling releases.                       '                    · ·

                  To minimize costs to both you and the FBI, duplicate copies-of the same document were not processed.
                                         .                                  'i                        •
                    Curr-eiitly, you have a positive balance of $810.00 from payments you submitted in anticipation of d_uplication
         fees for previous FQIA requests. · As the FBI makes interim re.leases to you, it will subtract the duplication fees from
          this :balance.until this balance is exhausted.          ·       .  \" ·               ·                      .
                                                                            i        .
                      .The enclosed documents responsive to your request are exempt from disclosure in their entirety pursuant .
          to ttie Privacy Act, Title 5, United States Code, Section 552 {a), Jubsection (j)(2). However, these records have   ·
          been processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby
          affording you the greatest degree of access authorized by. both 1Jws.
               I       • - •    •    •                                 •      I
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                  . For your information, sealed court records are not eligible for'release under the Freedom of Information
          Act.! Material responsive to your request has been withheld and ~marked "OTHER-Sealed'' pursuant to appropriate
          ordJrs
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                 issGed
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                         by federal district
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                                             courts.                       - 1·                ·
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Case 7:08-cr-00054-EKD Document 411-2
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                                    N.(a) (i 10/05/20
                                             ;{:)     Page 341 of 487 Pageid#: 6110

                                                                                                   U.S. Department of Justice · :_ ·




                                                                                                    Federal Bureau of Investigation
                                                                                                  · Washington, D.C. 20535 -

                                                                                                   August 20, 2019

      Mr: William A. White
    · 5725 _Artesian D_rive                                                                                                    .       '
      Derwood, MD 20!355

                                                                               Civil Action No.: 16-cv-00948 ·
                                                                               FOIPA Request No.:1224695-000
                                                                               Subject: William A. White

     Dear Mr. White:

              The enciosed documents were reviewed under the ·Freedom of Information/Privacy Acts (FOIPA), Title 5;
     United States Code, Section 552/552a. Below you will find checked boxes under applicable statutes for the
     exemptions asserted to protect information exempt from disclosure. The appropriate exemptions are noted on the
     processed pages next to redacted information. In addition, a deleted page information sheet was inserted to indicate
     where pages were withheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
     further explain justification for withheld information.       ·                                           ·

                                        Section 552                                         Section 552a
               r-. (b)(1)                                   J~     (b)(7)(A)                r    (d)(5)

               r~~                                          r~m~                            j;;i 0)(2)
               J~. (b)(3).                                  f,?'   (b)(7)(C)                r= (k)(1)
               F d _.
              _e~. R C  · P (6.
                      _r_Im_._r_.  )
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                                                            r      (b)(7)(F)                !    {k)(4)

               n        (b)(4)                              r      (b)(8)                   r"   (k)(5)

               r·: (b)(5)                                   r      (b)(9)                   J    (k)(6)
               !Y'! {b)(6)                                                                  !    (k){7)
                  1
               52~ pages w~~e reviewed and 3~6 pages are being released ..             I"                                          _
            Pl~ase s~e the par~gr_aphs below for relevant information specipc to your request and the enclosed FBI
     FOIPA AddTndull) for standard responses applicable to all requests.   \
               ·=1           -   .           .                                         I
            . _f \ Doc~ments were located which originated wit11, or containe? information concerning, other Government
                   , Agencies [OGAs].                   ·            ·                 1
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                   !r:1:1   T,his inform~tion has bee~ referred .to the OGA(s) for re~iew and direct response to you.
                            We are consulting with the other agencies. The FBI will correspond with you regarding this
                   l        information:o·nce the consultations are completed.        \          · .                  •

               PIJase n~fer to the enclosed FBI FOIPA Addendum for ~ddition~i' standard responses applicable to your.
     request.   "Piart1l' of the Addendum includes standard responses that apply to all requests. "Part 2" includes
     additional standarp responses that apply to all requests for records on inc:lividuals. "Part 3" includes general
     _information ~boLitiFBI records that you may find useful. Also encloJ,ed ik our Explanation of E,'(emptions. ~/

               Alt~ough! yo~r re~uest is in litigation: we are required by law to Jrovide you th~· following ;nformation:
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                   If
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 342 of 487 Pageid#: 6111




                  You may file an appeal by writing to the Director, Office of Information Policy (OIP), United, States
      Department bf Justice, Suite 11050, 142,5 New Yori( Avenue, NW, Washingtor, D.C. 20530-0001, or you may submit
      an appeal through OIP's FOIA onLine portal by creating an account on the following web site:
    · https://foiaonline.regulations.gov/foia/acti<:m/public/home. Your appeal must _be postmarked or electronically transmitted
      within ninety (90) days from the date of this letter 1n order to be cbn_sld~re~ timely. If you submit your appeal by mail,
      both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
      FOIPA Request ~~umber assigned to your request so that it may be easily identified.

               You may seek dispute resolution services by contacting the Office of Government Information Services
     (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
     Archives and Records Administration; 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
     .QQ!§@nara..9.QY; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
     you may contact the FBl's FOIA Public Liaison by emailing foipaquestions@fbi:gov .. If you submit your dispute
     resolution·corr'espondence by email, the subject heading should clearly state "Dispute Resolution Services." Please
     also cite the FOIPA Request Number assigned to your request so it may be easily identified.

             Please direct any further inquiries about this case to the Attorney representing the Government in this
     matter. Please use th~ FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
     concerning your request.

              Fi       See additional information which follows.



                                                                       Sincerely,


                                                                       ~~~      I
                                                                       David M.J Hardy
                                                                       Section 8hief
                                                                       Record/lhformation
                                                                         Disse~ination Section
                                                                       lnformatif n Management Division




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     Enclosures (Bates pages. FBl(16cv00948)-8072 to FBl(16cv00948)-8600, Explanation of Exemptions and FBI FOIPA
     Addendum)!
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                   i      ;·         ,                                     I
             The enclosed documents represent the-severiteenth interim release of information responsive to your
     Freedom of\lnfor~ation/Privacy Act (FOIPA) request. This material is 156ing provided to you at no charge at this
     time. The fBI wi!I provide monthly rolling releases.                       I               .      ·
                   i                  .                                         I                                     .
              Ts,!1minimi~e costs to both you and the FBI, duplicate copies of \he same document were not processed.
                   .                 .                 .                        I                       .
               Currently, you have a positive balance of $795.00 from payments you submitted in anticipation of duplication ~
     fees for pre,}ious fOIA-requests. As the FBI makes interim releases to you, it will subtract the duplication fees from
     this balanc~ un,til this balance is exhausted.   •                     \

                Tl~e en~losed·docurrients resporsive to your request are exemlpt from disclosure in their entirety pursuant·
     to the Privacy Act) Title 5, United States Code, Section 552 (a), subsection (j)(2). However, these records have        ,
     been proceJsed PiursLiaht to the Freedom ·of _Information Act, Title 5, Unit~d States Code, Section 552, thereby
     affording yoG the greatest degree of access authorized by both laws.
             .. l                                                                I.         .                 ..
              Fo1i your [information, sealed court records are not eligible for release under the Freedom of lnforrri'ation
     Act. Material res1:ionsive to.your request has been withheld and markedl\"OTHER~Sealed" pursuant to appropriate
     orders issued by federal district courts.                                    ,
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Case 7:08-cr-00054-EKD EXHIBIT
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                                411-2 Filed 10/05/20 Page 343 of 487 Pageid#: 6112
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                                                                                                                   µ.s. Department of Justice

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                                                                                                                   Federal Bureau of Investigation
                                                                                                                   Washington, D.C. 20535

                                                                                                                   September 20, 2019

    Mr. William A. White
    5725 Artesian Drive
    Derwood, MD 20855

                                                                                            Civil Action No.: 16-cv-00948
                                                                                            FOIPA Request No.:1224695-000
                                                                                            Subject: William A. White

    Dear Mr. White:

              The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
    United States Code, Section 5521552a. Below you will find checl.<ed boxes under applicable statutes for the ·
    exemptiom; asserted to protect infor.mation exempt from disclosure. The appropriate exemptions are noted on the
    processed pages next to redacted information. In addition, a deleted page information sheet was inserted to indicate
    where pages were withheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
    further explain justification .for withheld information.

                                                     Section 552                                            Section 552a
              r· (b)('I)                                               .   r    (b)(7)(A)                   r. (d)(5)
              r· (b)(2)                                                    I    (b)(7)(B)                   P'   0)(2)
              Fi'        (b)(3)                                            l?   (b)(7)(C)                   r    (k)(1)
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                      _r_,m_._r_.~)e ~ - - - -                             f~ (b){7)(D)                     J    (k)(2)
                                                                           ~ (b){7)(E)                      ]'~ (k)(3)
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              r\         (b)(4)                                            r= (b)(8)                        r    (k)(5)

              r;         (b)(5)                                            1    (b)(9)                      J    (k)(6)
              f~\        (b)(6)                                                                             I    (k)(7)
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               . I           .           .

             50~ pages were reviewed and 228 pages are being released.
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     .     Pl~ase s·ee the pari3graphs below for relevant information specific to your request and the enclosed FBI
    FOIPA Add~ndum for stand~rd response~ applicable to all requests. · \                         .
     .           I                       .       ,                                          .       i
             ·~l   Dotyments were located which originated with, or containe~ information concerning, other Government
                 , Agencies [OGAs].                                                                 I
                    I            '
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                 ir-        This information has been referred to the OGA(s) for reJiew and direct response to you.
                    [.P'    We.am consulting with the other agencies. The FBI wd1 correspond with you regarding this
                 i          in_formation': once the consultations are completed. . \

             PIJase
                 r, .
                      refer
                       .
                            to the 'enclosed
                                    ,
                                             FBI ,FOIPA Addendum for·additionk1
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                                                                                 standard respo~ses
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                                                                                                     applicable to your '
    request. "~art 1i' of_the Addendum includes standard responses that apply to.all requests. "Part 2" includes
    additional standa~d respons~s that apply to all requests for records on in:dividuals. "Part 3" includes general
    information ~bout',·FBI records that you may find useful. Also enclosed is our Explanation of Exemptions. ·;,<
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             Alt~ough; your req~est is in litigation, we are required by law to ~rovide you the f~llowing information:
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                     '                                                                              ;
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 344 of 487 Pageid#: 6113




               You may file an appeal by wrlting to the Director, Office of Information Policy (OIP), Unitetj States _
    Department of Justice, Suite· 11050, 1425 New York Avenue, NW, Washington, D.C. 20530-0001, or you may submit
    an appeal through OIP's FOIA online portal by creating an account on tile following web site:
    https://foiaonline.reguiations.gov/foia/action/public/home.. Your.appeal must- be postmarked-or electronically transmitted
    within ninety (90) days from the date of this letter in 6raer to be considered timely. If you submit your appeal by mail,
    both the letter and the envelope should be clearly marked '_'Freedom of Information Act Appeal: Please cite the
    FOIPA Request Number assigned to your request so that it may be easily identified.                       ·

              You may seek dispute resolution services by contacting the Office of Government lnfor:rnation Services
    (OGIS). -The contact information for OGIS is as follows: Office of Government Information Services,. National
    Archives and Records Administ~ation, · 86.01 "'Adelphi Road-OGIS, College Park, Maryland 207 40-6001, e-mail at
    ogis@na@JJov; telephone at 202-741-5770; toll free at 1"877-684-6448; or facsimile at 202-741-5769. Alternatively,
    you may contact the FBl's F.OIA Public Liaison by emailing foipaquestions@tbi.gov. If you submit your dispute
    resolution correspondence by email, the subject heading should clearly state "Dispute Resolution Services.'' Please
    also cite the FOIPA Request Numb~r al:>signed to your request so it may be easily identified.

            Please direct any further inq-uiries· about this case to the Attorney representing the Government in this
    matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
    concerning your request. -                                                          ·

             1¥'       See additional information which follows.


                                                                                       Sincerely,


                                                                                       ~~~
                                                                                       David M, Hardy
                                                                                       Section Chief
                                                                                       Record/information
                                                                                         Disserhination Section
                                                                                       Jnformat1ori Management Division
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               ,                                      ./                   .                   I        .
    Enclosuresi(Bates pages FBl(16cv00948)-8601 to FBl(16cv00948)-9106, Explanation of Exemptions and FBI FQIPA
    Addendum/                               ·                        ·!                  _
            T~ie enclosed d.ocuments r~present the eighteenth interim rele!se of information responsive to your -
    Freedom of lnforr;nation/Privacy Act (FOIPA) request. This material is being provided to you at no charge at this
    time. The [FBI wjll provide monthly rolling releases.                   I,         ·

               l          .                                                                    l
              Ct,JFrently, you have a positive balance of $780.00 from paymei;its you submitted in anticipation of duplication
    fees for pr9ivious FOIA req~ests. As the FBI makes interim releases tolyou, it will subtract the duplication fees from
    this balance until;this balance is exhausted.                            I
               I          I          .                                         .               :

      .        The enclosed cio~uments responsive to your request are exeJpt from disclosure in their entirety pursuant
    to the Priv~cy Act, Title 5, United States Code, Section 552 (a), subsect!on 0)(2). However, these records have
    been procepsed l?Ursuant t<? the Freedom of Information Act, Title 5, United States Code, Section 552, thereby
    affording you the :greatest degree of access authorized by both laws.
                I                            ·-            -           .
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             F~r you; informatiqn, sealed court records are not eligible for r~lease under the Freedom of Information
    Act. Material re~ponsive to your request has been withheld and markeq "OTHER-Sealed" pursuant to appropriate
    orders issued by federal district courts.     _                            i
                I         .              .        .                -               -           ;
      . .      A~ previously in_dicated, documents were located which originated with, or contained information concerning
     another go'iiernm'.ent agency.. - We are CQn~ulting with the other agency ~nd are awaiting their response. The FBI
   · will corresp:ond IJ\'.ith you regarding those documents when the consultation is completed.
                  (      i                                          •          I                                -J
                   I      I          •                         •                               I                 .
              While -p~ocessing your Freedom of Information Act (FOi/PA) request, the United States Marshal Service located FBI
    i_nformation/iri the,ir records.; This material '(Bates pages FBl(16cv0094~) 9101 to FB1(16cv00948)-9106) was referred to the
                                                                                                    0



    FBI for a direct response to you. The c;tocuments were reviewed unde'r the FOIPA, Title 5, United States Code, Sections
                   I
    552/552a. The ~ppropriate exemptions are noted cin the enclosed pag~s next to the redacted information.
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Case 7:08-cr-00054-EKD Document
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                                                                                                                                                                                                  Federal Bureau of Investigation
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                                                                                                                                                                                                  Washington, D. C. 20535

                                                                                                                                                                                                 October 18, 2019

    Mr. William A. White
    5725 Artesian Drive
    Derwood, MD 20855

                                                                                                                                                      Civil Action No.: 16-cv-00948
                                                                                                                                                      FOIPA Request No.: 1224695-000
                                                                                                                                                      Subject: William A. White

    Dear Mr. White:

                      The enclosed documents were reviewed under the Freedom of Information/Privacy Acts {FOIPA), Title 5,
    United States Code, Section 5521552a. Below you will find checked boxes under applicable statutes for the
        v mr-tinnc:: '.:'"':'"'rt':'d to ::-r~!e!:t ::-:formation exempt from disclosure.  The appropriate exemptions are noted on the
    0      0


     ,... ______ ..: ,..-.,, ~- .. ~,.: :;; ~<Jdacted information. In addition, a deleted page information sheet was inserted to indicate
    ...,.-.7:.:;,-= ;:=;~s ,.,~;e ;;ithheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
     • -· ::·. .::- ~: ..-' ::.::~ ~-~ ·::::::::!;on for withheld information.

                                                                 Section 552                                                                                                        Section 552a
                    r       (b)(1)                                                                                r      (b)(7)(A)                                                  r (d)(5)
                    r       (b){2)                                                                                J      (b)(7)(B)                                                   p     0)(2)
                    p       (b)(3)                                                                                P      (b)(7)(C)                                                  r (k)(1)
                    Fed. R. Crim Pr. (6e)                                                                         P° (b)(7)(D)                                                      r (k){2)
                                                                                                                  P' (b)(7)(E)                                                      r (k)(3)
                                                                                                                  r      (b)(7)(F)                                                  r      (k)(4)

                    r       (b)(4)                                                                                r      (b)(8)                                                     r (k)(5)
                    r       (b)(5)                                                                                r      (b)(9)                                                     r (k)(6)"
                    P°      (b)(6)                                                                                                                                                  r (k)(7)
                   501 pages were reviewed and 155 pages are being released.

           Please see the paragraphs below for relevant information s~-='.:"1~:- !::- ~·:-•_'.~ ~-=-::· ·-:--:-~ ?.~:! !~:- -:-~:-~:::-: ~~~
    FOIPA Addendum for standard responses applicable to all requests.

                   P        Documents were located which origir.~!e".! ~._,ith, or i::0!"!!'.:!ined information concerning, other Government
                            Ag.::;;.::;os [OGAs].

                          r          This inform_ation has been referred to the OGAs for reviA\M ,::,nrl rliro~+ ror~MM ." 'J"' '.
                          p          We are consult"rng ,..;+i-. ___ .... ______ ,...., T'-- COi •••;n --..-~n-nrl , ..ith "'"' '"'"ardr"ng th1"s ·,nformat,·on
                                                                               ••u.11   lAII ...... LII ..... I   L..l~ ..... 11v7.   ' .......   I   L.11   Yl'III '-''-''''-'"'l-''-''I'-'   Yl'l\,11   JV,._. a ..... ~

                                     ·::~::;:: :~-: :::::~!.!!tation is completed.

                   -.,_ -   - ....   - - C'-- .. _   ... _ -   - - -•- -   -    -1 r-n1 rntQ/\. r.. .J-l--.J- · - z~ .. _,.1-1:.c.:- ......... 1 _ ....... -..1 ........M .-..... c-:-'nnc-~c::                              "='!'Plicable to your
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 346 of 487I Pageid#: 6115
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             Although your request is in litigation, we are required by law to provide you the following i/,formation:
                                                                                                              I
            You may file an appeal by writing to the Director, Office of Information Policy (OIP), Unitep States
   Department of Justice, Sixth Floor, 441 G Street, NW, Washington, D.C. 20001, or you may submit an appeal
   through OIP's FOIA online portal by creating an account on the following website:
   httos://www.foiaonline.gov/foiaonline/action/oublic/home. Your appeal must be postmarked or ele'ctronically
   transmitted within ninety (90) days from the date of this letter in order to be considered timely. If you submit your
   appeal by mail, both the letter and the envelope should be clearly marked "Freedom of lnformatior:, Act Appeal."
   Please cite the FOIPA Request Number assigned to your request so it may be easily identified.

             You may seek dispute resolution services by contacting the Office of Government Information Services
   (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
   Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
   ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
   you may contact the FBl's FOIA Public Liaison by emailing foipaquestions@fbi.gov. If you submit your dispute
   resolution correspondence by email, the subject heading should clearly state "Dispute Resolution Services.'' Please
   also cite the FOIPA Request Number assigned to your request so it may be easily identified.

            Please direct any further inquiries about this case to the Attorney representing the Government in this
    matter. Please use the FOIPA Request Number and/or Civil Action Number in a!! corr':'~f.'0"0':'"':''=' or lr!~• ,iri':!$
    concerning your request.                                                         ·


              P'   See additional information which follows.


                                                                        Sincerely,


                                                                        ~
                                                                        David M. Hardy
                                                                        Section Chief
                                                                        Record/Information
                                                                          Dissemination Section
                                                                        Information Management Division


   Enclosures (Bates pages FBl(16cv00948)-9107 to' FBl(16cv00948)-9607, Explanation of Exemptions and FBI FOIPA
   Addendum)

             The enclosed documents represent the nineteenth interim release of information responsive to your Freedom
    of Information/Privacy Act (FOIPA) request. This material is being provided to you at no charge at this time. The
    FBI will provide monthly rolling releases.

           Currently, you have a positive balance of $765.000 from payments you submitted in anticipation of
   duplication fees for previous FOIA requests. As the FBI makes interim releases to you, it will subtract the duplication
   fees from this balance until this balance is exhausted.

            To minimize costs to both you and the FBI, duplicate copies of the same document were not processed.

           The enclosed documents responsive to your request are exempt from disclosure in their entirety pursuant to
   the Privacy Act, Title 5, United States Code, Section 552 (a), subsection (j)(2). However, these records have been
   processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
   you the greatest degree of access authorized by both laws.

           For your information, sealed court records are not eligible for release under the Freedom of Information Act.
   Material responsive to your request has been withheld and marked "OTHER-Sealed" pursuant to appropriate orders
   issued by federal district courts.

            As previously indicated, documents were located which originated with, or contained information concerning
   another government agency. We are consulting with the other agency and are awaiting their response. The FBI
   will correspond with you regarding those docume~~<:: "!~':'~ ~~'.:' -::-:-n.'.:~~,.~~::-:-: ::.- '.:2:::;:- 1~•-:--:t '
  Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 347 of 487 Pageid#: 6116
                                    EXHIBIT N(b)

                        Summary Of FBI File #44A-RH-53908

Serial #      Date                  Exhibit          Description
--------                             N ( cJ
  1          2/26/2008                               FD-61Q.~ile opener
  2          9/1/2006                "CITTT·         IA~RH-53173 Warman file opener
  3          12/18/2006                              9A-RH-53173-3 .no tape from CBC
  4          8/25/2006                               9A-RH-53173-7 fax cover sheet
  5          8/25/2007                               9A-RH-53173-9 screen sh~ts                           ...-~--j :..
  6          5/23/2007                               9A-RH-53173-15 Va Beach letter
  7          6/19/2007                               1748-PX-80261-30 PX threats
  8          5/23/2007 -                             9A-RH-53173-18 v·a Beach 1 etter l, ._'mag,---~-
  9          6/.27 /2007                             266N-MM-109670-13 .Pitts threat.5:_ •
  10         7/13/2007                               9A-RH-5 317 3-21 39.? _G'a,:p'a·da' - · ·
  11         7/16/2007                               9A-RH-8~173-22 c~·tafg~ting/~e
  12         9/28/2007                               9A-RH-53173-26 Jena 6 radio show
  13         9 I 2 7 I 2 oOf/t -,                    9A-RH-53173-27 Noose on the Loose
  14         9 I 28/2007            -·N(d)           9A-RH~53173-28 ·Roanoke Times on Randy
                                                      Armbrecht
  15         9 J-25/2007 ,                           9A-RH-53173-29 CNN on Jena 6
  16         11/6/2007                               9A-RH-53173-31 BA threat 10/31/2007
  17         4/1/2008                                Charles Tyson PH document
  18         4/4/2008                                NK CHS Campbell2t023
  19         4/4/2008                                RT on Norfolk hearing
  20                  -missing-      (1     page)
  21                  -miss;i,ng-    (1     page)
  22                  -missing-      (1     page)
  23                  -missing-      (1     page) ( c p Li ma s e r i a 1- -·;8 2 )
  24         4/9/2008           -                     2660-CV-672082-N CY CHS to SE
  25         4 / 14 / 2 oas          " w( e)          GJ and Blogs subfiles
  26                                                  property list LED
  27                                ---_NJn           driver's license LED
  28         3/11/200'8                               44B-CV-74237 Lima document                ·
  29         4/11/2008                                WAW IIR                                   \\
  30         4/17/2008                                investigation of T-1 line                    ,
  31                      -missing-  (1 page)                                                       ··-.,,.,
                                                                                                             .,
  32                      -missing-  (1 page)
  33                      -missing-  (1 page)
  34         5/7/2008                   tr(~()        failed attempt to interview WAW
  35                      -missing-   (T°page)
  36         5/6/2008                   NTnf·-        Cl CHS ,-Efoyer--domest,-c · b·attery arrest
  37         5/8/2008                                pre Se rJJ at i On re t t er ..
- 38                      -missing- (1 page)
  39         5/12/2008                               ,102]1 EG CHS
  40         5/9/2008                                email preserwation letter
  41                      -missing- (2 Rages)
  42         5 / 1 · ·. / 2 0 0 8   ,Nt·fl --         lead request all field offices
  43         5/12/2008                               .3.0.2 CHS Justin Boyer:.
  44         5/29/2008                                BS CHS ~e~i~don        .
  45         5/21/2008                    ..          Pitts column
  46         5/16/2008               N--( jJ_         1023 CG CHS
  47                      -missing- (1rM"ge·)
  48         5/21/2008                               SF leads response
  49         5/22/2008                               TP leads response
  50         5/23/2008                               PD leads response

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   Case #44A-RH-53908
        7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 348 of 487 Pageid#: 6117

Serial#      Date           Exhibit         Description
• 51          5/23/2008        N ( k)      BA background check on WAW
  52          5/22/3008                    NO leads response
  53          5/27/2008                     PX leads response
  54          5/29/2008                     NH leads response
  55               -missing-
                       1
                               (2 pages)
  56          6/2/2008                      IP lea~s response
  57               ..:missing- (4 pages)
  58          6/11/2008                    CART examination report
  59          6/11/2008                    CART examination report
  60          6/13/2008                  ·-LO . threat investigation
  61               -missing-
  62               -missing-(ll pages)
  63          10/31/2007                    police report alleged threats
  64          5/29/2008                     Habig EC PD
  65               -missing-
  66          5/31/2008        N( 1 )"      BS TEI opener
  67          6/10/2008                     RT on Pitts in Roanoke
  68          6/18/2008                  . "3lT2 Boyer
  69          6/20/2008                     302 unknown
  70          6/25/2008                     SA leads response
  71          7/8/2008         N(m)         ALAT Te-1 Aviv Elie· Wiesel
  72          6/27/2008                     NK CHS Campbell
  73                -miss!ing-
  74               -missing-
  75                -missing-
  76          6/12/2008                     BS CHS_
  77          6/23/2008                     NF document scrub
  78               -missing-
  79          7/2/2008                      RT Urbanski contempt
  80          7/11/2208                    TI leads resp9nse ·
  81          7/8/2008                      consulate letter
' ·-82             =:mis$-ing-
  83          7/lO/i008 .      N(n)         NK field trip
  84               -missing-
  85               -missing-
  86               -missing-
  87               -missing-
  88               -missing-
  89               -missing-
  90          7/23/2008                     302 May knock attempt
  91          7/2/2008                      SL leads response
  92          7/30/2008                    Montgomery County court records
  93          8/4/2008                     MM evidence preservation
  94          8/6/2008                    ·washington witness won 1 t testify
  95          8/7/2008                      302 blueschica
  96          8/11/2008                    Montgomery County court records
  97          7/21/2008                     302 Michael Downs
  98        · 8/19/2008                     102 Michael. D-owns, -
  99          8/19/2008                     Jones ballooning photos PD
  100         8/19/2008                     PD statement+ photos
  101              -missing-
  102         8/26/2008'                    1023 CG CHS
  103         8/26/2008                     working copy of ..•
  104              -missing-
  105         8/26/2008                    1023 NK CHS


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FileCase 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 349 of 487 Pageid#: 6118
      #44A-RH-53908

Serial #       Date.                    Exhibit              Description
  106           8/28/2008                     N(o)            Eric Hunt GJ Subpoena
  107           9/3/2008                                      Hunt GJ Subpoena service            1
  108           9/3/2008                                    . 302 Hunt
  109           9/15/2008                                    :corrected
  110           9/5/2008                                      302 blueschica
  111           9/10/2008                                     NF serials on WAW
  112           9/I0/2008                                     302 by GLL
  113           9 I 9i'200·8                                  302 by GLL
  114           9/11/2008                                     302 blueschica cellphone recording
  115                       -missing-
  116           9/12/2008                                    302 Mark Hoffman
  117           8/21/2008                     N(z)           CV leads response
  118           9/12/2008                                    302 miscellaneous
  119                       -mi s·s in g-
  120d        . 9/18/2008                                    302 by GLLralleged WAW message
  121           9/18/2008                                    GLL threat,. _case
  122           9/24/2008                                    blogs/articles print outs
  123                       - mi .s s·i n g -
  124           9/15/2008                                   . -1623   ·c.1·1:m.p:6eTr ~ -- -- ·
  125                       -missing-
  126           9/22/2008                                    1023 Campbell
  127           9/25/2008                                    misfiled 1023
  128           9/15/2008                                    GJ material
  129           9 I 2 3 / 2 oo8               W( pT          surveillance log 1602 Patterson
  130           9/24/2008                                    302 Billy Asbury
  131           9/24/2008                                    302 on T-1 line
  132           9/23/2008                                    surveillance log on me
  133                       -missing·-
  134          10 / 3 / 20 08              G:fb )            Obama magazine alert
  135          10/7/2008                   --                302 1602 Patterson tenant
  136          10/8/2008                   NTqf              Rudy Orr GJ Subpoena
  137          10/7/2008                                     3-02 john looking for hooker
  138          10/17/2008                                    GJ ~ubpoenas -- Tim Bland, Dan Jones,
                                                              Michael Burks
  139               __ _:-mi~sing-
  140          10 / :J.t.6 / 2.0 0 Si                        Obama magazine alert
  141          10/17/2008                                    CG complaint
  142          10/17/2008                                    CR. ;ar.res t warrant
  143          10/17/200'8                                   302 WAW home search
  144          10/21/2008                                    302 1602 Patterson search
  145                        -blank::
  146                       ·-blank-
  147                        -blank-
  148                        -blank-
  149          9 / 26 / 200.8                                302 er.ror
  150          10/23/2008                                    302 1996 arrest
  151          10/23/2008                                    VA court records
  152          10/23/2008                                    c rJ mi n al record
  153          10/23/2008                                    concealed carry permit:
  154                        -missing-
  155                        -missing-
  156          10/20/2008                                    RT article
  157          10/19/2008                                    RT article
  158          10/17/2008                                    RT article


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                                          Document 411-2 Filed 10/05/20 Page 350 of 487 Pageid#: 6119

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         '-serial   i·   Date                  Exhibit         'De s c r i p it, i 6 n i:

            159                         -m;i:.ssing-
            160          10/25/.2008                           summary of court proceedings
            161          10/23/2008                            RT article
            162          10/22/2008                            RT article
            163          10/17/2008                            302 WAW
            164          10/14/2008                            GJ subpoena Boyer
            165          10/27/2008                            GJ subpoenas
            166          10/27/2008                            GJ subpoena service Burks
            16 7-                       -missing-
            168          10/29/2008                            302 alleged tape of WAW
           .J69          10/26/2008                            RT editorial
            170          11/3/20,08                            GJ service Phil Anderson
            171                         -missing-
            172          11/7/2008                             ev~dence RH-·to CG
            173          11/6/2008                             GJ service Bland
            174          11/13/2008                            NF evidence to RH
            175          11/3/2008                             GJ subpoena service Jones
            176          11/3/2008                             EC on Jones service
            177          11/14/2008                            warrant ret~rns RH to C~
            178          11/14/2008                            GJ subpoena service Burks
            179          11/18/2008                            hard drives RH to CG
            180          11/21/2008                            GJ subpoena Michael Blevins
            181                         -missing-
            182          11/24/2008                            letter from LO to RH
            183          11/24/2008                            letter WAW to Burks
            184                         -missing-
            185          11/12/2008                            CART examination
            186          11./12/2008"                          CART examination
            187          11/13/2008                            CART examination
            188          11/13/2008                            -CART examination
            189          11/13/2008                            CART examination
            190          1 2 /.3 / 2 0 0 8 .                   GJ swbp,oena. ·se-rv(i ce Blevins
            191          11 /'24/ 2008                         BS TEI extension
            192                         -missing-
            193                         -missing-
            194          11/26/2008                            CART examination
            195                         -missing-
            196          12/15/2008                            DE 1023 removed
            197          12/Hi/2008                            RH GJ indictment
            198:         12/19/2008                            warrant servi-ce
            199          12/16/2008                            NCIC hold
            200          12/17/2008                            indictment "accomplishment"
            201          12/12/2008                            RT on indictment
            202          12/16/2008                            FBI letter to USMS
            203          12/17/2008                            indictment
            204          12/16/2008                            NCIC report
            205          1/9/2009                              VAP form
             206         1/14/2009                             electronic evidence RH to CV+ CG
             207         1/15/2009                             letters RH to CG
             208                        -miss i n·g-
             209         l/6/2009                              digital forensics exam
             210         1/14/2009                             CART examination
             211         1/14/2009                             CART examination
             212         1/14/2009                             CART exmaination


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File Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 351 of 487 Pageid#: 6120
     #44A-RH-53908

Serial #       Date            Exhibit          Description
  213         1/6/2009                          CART examination
  214         1/6/2009                          CART ex,ami nation
  215         1/22/2009       , N( r)           financial analyst request
  216         2/3/2009                         wariant returns RH-to CG
  217         1/28/2009                         RT on Hibbler recusal
  218         2/11/2009                        Rf on 2005 statement
  219         3/5/2009                         MM evidence to RH
  220         3/9/2009                          NCIC report
  221         3/18/2009                        RT on recusal
  222         1/15/2009                        VAP
  223         4/29/2009                         hard drives RH to CV
  224         5/14/2009                         RT on trial
  225         6/4/2009                         302 Jones
  226         8/5/2009                         MM evid~nce to RH
  227         8/3/2009                         RT on dismissal
  228         8/3/2009                         RT on dismissal
  229         8/3/2009          N( s )         RT bi o graph i cal sketch"'
  230         8/3/2009                         RT on bond
  231         8/19/2009                        CG evidence back to RH
  232         9/15/2009                        evidence from ALISA
  233         9/23/2009                        CG evidence back to RH
  234         9/24/2009                        CG evidence back to RH
  235         9/10/2009                        RT on bo.nd release
  236         9/26/2009                        RT on bond revoked
  237         10/22/2009                       TI on;·•bond revoked
  238         11/1/2009                        ITV I AV o n .a l l e g e d ,, r e c o r d i n g
  239         11/12/2009                       302s NF witnesses
  240         11/20/2009                       CG evidence back;to RH
  241                 -missing-
  242         11/4/2009                          discovery letter
  243         11/25/2009                         copies of recordings letter
  244         11/30/2009                         NK threat~ning letter
  245         12/03/2009                       / evi·den6e NK Tcr· RH"' - -
  246         12/3/2009                          NK threatt·
  247         12/1/2009                          PD additt6n~l searches
  248         11/23/2009                         30:2; :,Armbr: ec ht
  249         11/24/2009                         Kei~ threatening letter?
  250         11/23/2009                         302 Armbrecht                                               - ,,I
  251.!       11/24/·2009                        PD warrant material
  252         12/7/2009                          302 witness subpoena
  253         12/7/2009                          302 witness subpoena
  254         12/7./2009                         302 witness subpoena
  255         12/7/2009                          thread-noose .lab exam
  256         12/7/2009                          302 evidence transfer
  257         12/3/2009                          302 threat letter
  258         12/2/2009                          302
  259         12/15/2009                         302
  260         12/15/2009                         BA trial subpoena service
  261         1/6/2010                           DNA lab on thread-noose
  262         12/1/2009                          NCIC update
  263         12/3/2009                          RT on trial
  264         12/9/2009                          RT on trial
  265
  266
              12/11/2009
              lf/12/2009
                                                 TI on Petsche
                                                 Rf on Pitts                                                     '
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File #44A-RH-53908
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Serial #      Date                Exhibit               Description

  267          12/15/2009                               RT biographical profile
  268          12/15/2009                               RT on Va Beach case
  269          12 I 1'5/2009                            RT on Ri'chard Warman
  270
  271__ _      12/21/2009                               lTT on verdict
              il/6/2010                                 IT on -convictions
  272          1/6/2010                                  conviction 11 achievement 11
  273          1/11/2010                                 release of evidence to court
  274          1/7/2010-            .N+t-r,
                                    -.-!.                return of NF evidence
  275,         1/7/2010                                  ra?or blade threat
  276          1/6/2010                                  CART evidence
  277          1/19/2010                                 NF e vi de n,c e
  278          1/27/2011,0                               hair fiber lab~report'.
  279          2/5/2010                                  prose motion for acquittal
  280          2 / 16/ 2010     ,--'N( /):               evidence retention
  281          1/12/2010          ·--·                   RT on Aryan Nations
  282          214/2010                                 Turk order dismissing Warman count
  283          2/4/2010                                  RT on Tur.k order
  284          3/8/2010                                 NCIC
  285          2/18/2010                                 NCIC warrant cle~r
  286          10/27/2009                                d i s c o v e r y l e t ;t'e r.
  287          11/4/2009                                 discovery letter
  288          3/15/2010                                 fiber lab analysis report
  289          2/26/2Q10                                 prose new trial motion
  290                   -missing-
  291          3/23/2010                                     -s e mo t ,; .on to un s ea l d i s c over y
                                                        lJiJ YJ•o:
  292          4/16/2010                                sentencing "achievement"
. 293          4'/ 15·/2010                             RT article on sehtencing
  294          4/23/2010                                sentencing document
  295          5/4/2010                                 razor blade threats investigation
  296          3/8/2010                                 file validation documents
  297          4/10/2010                                judgment order
  298          6/28/2010                                RT article on Chicago
  299          6/28/2010                                7th Cir opinion Chicago
  300          7/16/2010                                RH evidence back to CG
  301          7/21/2010                                fi nge-rpr·i-nt l a.b request
  302          7/6/2010                                 lab request threats
  303          8/2/2010                                 lib report threats
  304          8/9/2010                                 302 threat return addressee
  305          8/9/2010                                 EC on NF threat investigation
  306          8/9/2010                                 lab report threats
  307         ·9/16/2010                                DNA transfer RH to CV
  308          10/19/2010                               letter -- ar~ons@ property
  309                    -missing-
  310          10/14/2010                               letter---- arsons
  311          12/17/2010                           .   .,evidence RH to CG             '
  312          12/21/2010                               EC Mazzolla-Church t~1aa1
  313          1/2/2011                                 RT on Chicago trial             i
  314          1/6/2011:                                RT on Ch i c a go c on vi ct i oin
  315          2/2/2011                                 IT on evidence Columbia!(?) to RH
  316        · 3/1/2011                                 perm evidence transfer RH to CG
  317          4/4/2011                                 f.ile to inactive status\
  318          3/20/2011                                my letter regarding psy~hotic break
  319          2/23/2011 -missing-
  320.         3/2/2011                                 RT on my appeal
  APPENDICES AND SUBFILES NOT INDEXED
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                                                                                                                   ·-· I
     Case 7:08-cr-00054-EKD Document
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                                       ; ;  Filed 10/05/20 Page 353 of 487 Pageid#: 6122
                                   EXHIBIT N(c;;)':
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 FD-610 (Rev. 05/04/2005) -•




             Precedence:                                ROUTINE                                                                Date;    02/26/2008

             To:           cr:lminal Inyestigat'.i ve                                        Attn:                  qivil Rights Unit

             From:           Richmond .            ;                                                                                                              I
                                ·Squad· 7 , Roanoke RA
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             Approved By: , SS~A Xevin l                                      Foust


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                             l.MUI.jTIPLE ;VICTIMSj; . .                                                              I
                             -:.RACIAL D~SCRIMIN~TION-FORCE AJID/0~ VIOLENCE
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             s ops is g ·open and assig~ captioned·inve~tigation to .sAl·oavidi                                                                                                 b6
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             Details~: ; Captiorled case is· being .opened kfter · discussions with
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                                              ~owEil~kt, 1:B.9n urrnt and s~IJayid Ghµrch
             discussed,· rvia teleconference .in AU A Bo.ndurant '.s office, the
             inciderit;s of thrEiatening! ~nd hara$~ir:,ig: co~tnu~i·c-ations; both e-
             mail anc} iteleplio~ic ~ thaf Wi:J_l·iatn: "Bill"_~-- White has initiated
             since A:qQus,t, 20.0,6 .· Thi~. co~ferertc_e calli was initiated _as a                                                                                           b6
             result df·a: new complaint: regardir:\.g
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              (VNNFORQM.c.om) namin   1    . Norfolk. attorney T<~v1n        ...      blog
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             c-tirr~nt1!y re·preseriting sP.vei:al Afric'an-American tenant in
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             as ?- resu .t;··of the~r •· ar~ici' atiori in· ·0$DOJ. fair fio1.1s1~g ca,'?e j
             against \a .. local wh1 te landlor¢1. ·                :               1
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                              i ' C~r~ent)y,
                                           Roa~o]te; ~, has two ?pen· investigatipns with
             Bill liyhi;_t;e as ·th~ subject: (2~6N-RH-52670 and 9A-RH-:5_3173) . After
             discui;!si'.;n;g the . O]?en investigat.ions and th~ riew recent incidents
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             of haras'~ing/thr~a:teriing:· ~-m~iis, S~; Ghur~ch AUSAjHohdurantl and
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           Case 7:08-cr-00054-EKD                  Document 411-2 Filed 10/05/20 Page 354 of 487 Pageid#: 6123
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            To:      Crimi.rial In  igative                            From:   Richmond
            Re:      44A-RH-NEW, 02/26/2008


            USDOJ Attornevl l<owalfild_ agree the investigation should be
            consolidated into a Civil Rights-Racial Discrimination
            investigation. .Therefore, Roanoke RA wil:1 close previously
            mentioned- opened investigations with White.as a subject and
            requests captioned cas_e be open and assigned to SAi Davj n Chur·ch                                                    b6
            Roanoke RA, Roanoke, VA.                                                                                               b7C


                    _ By way of background, Bill White is the self proclaimed
            "Commander" of .the· American Nationa·l Socialist Worker's Party                      0



           . (ANSWP) and currently resides in Roanoke, Virginia. Previous to
            White's formation·of ANSWP, White was a member of the National
            Socialist Moveme:pt (NSM), which is based out of Detroit,
            Michi ·an ... White se arated from NSM                                                                               b6
                                                                                                                                 b7C




                      Furthermore, Roanoke RA wiil·cobrdinate with all FBI
            Field Office's iri. order to determine, both past and present, what
                           I                           ·   I                             ·I                      ·

            investigations aQd complaints they are inpestigating that may
            fall pmfvie~ to .Roanoke'~- investigation. :

                           I .         ,   .                !
            Date of i Inc.ident :,                     08/211:/2006            '_ Time\ of Incident:             N/A
            Date of ,Complaiht:                        02/2~'/2008                            '
                       .   :·          :       ;
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            Inciden~· ,Lo catiori
                           i·                  r
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            Incident Street_ No. : 188
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                                               Way                                                            Apt #:
                    i ,c-i,ty:       Roanoke
                    [ St'.ate:       VA!     .                 I
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                  A. Cdmmuhity
                         ;- . , . , !  .
                                           Area:
                                             r
                                                  sina.11,City or Town\
                  B. Violence:. iYes
                                         No !
                                                                       I
                  C. D~~thf:                                           i
                                                                       l
                  D. rn;j;ury.:           No,       ..                 I
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                  E. c~~reptionall' Facil:).ty: . ·
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                      sdaje. ~s.Inqident Addre$S:
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                      Street
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                Cbmpl:~in~nt
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 355 of 487 Pageid#: 6124




   To:
   Re:
           Cd,minal Inv;-estigat;tve   From:    Richmond
                                                     I
                                                           •
           44A~RH-NEW, 02/26/2008



   3. OTHER AGENCY INVESTIGATING:
         None

   4. CASE AGENT CONTACT INFORMATION:
         Name: S~ T David Church        _:]                                          b6
         Telephone1's): I · .           I                                            b7C
         E-Mail:             . .
         Address:




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               Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 356 of 487 Pageid#: 6125
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                  To:    C:r:).mirial Investigative       From:
                  Re:    44A-RH-NEW, 02/26/2008



                 LEAD(s)i
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                  Set Lead 1 :,     (Action):
                           l
                           i
                         CRIMINAL INVESTIGATIVE
                           I    AT WASHINGTON, ,DC
                           For t~e Civil Rights Unit to 1 review and forward the             .
                 information t<? the Department; ·of ,Tirnti cie '. Civi J R_1ghts Divi~ip~,
                 to the attention of USDOJ AttorneY{ Barry Kowalsk~as, noted in the                   bG
                 narrative of this' communication.                          •·                 ·      b?c

                 Set Lead 2:        (Info)

                         CRIMINAL INVEST°IGATIVE
                                -AT WASHINGTON, ·DC
                              For the Public Corruption/C~vil Rights Intelligence
                 Unit.     For information only.I     •




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                                                                                          FaI(l6cv948)-7277
                                                                                                            I
            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 357 of 487 Pageid#: 6126
                                                    EXHIBIT N(.d)
"'·,.        !ntemet firm cuts racists. TNeb site - R.ffil.1J.Dki.c-011r- - -
             ·,p.
                                                                                   Page 1 of3




              Thursday, September 27, 2007

              Internet firm cuts racist~s Web Site
              wg~i~!'--- _Wltlte's site is back up with the help of another white supren;iacist.-
              Laurence Hammack


                                                                  An Internet service company has pulled the.plug on its most .
                                                                  controversial customer, a Roanoke· white supremacist who used
                                                          ~y      his Web site to suggest that six black youths be lynched.

                                                                · Global Web Solutions cut off service to William A. White on
                                                                ~_ Sunday, after receiving complaints_aho_uLWhite's online .
                                                                   commentary on the so-called Jena Six case in Louisian~ company
                                                                · owner Randy Annbrecht said Wednesday.

                                                                  White has since restored·the Web site, although not all of the
                                                                  previous links have been updated.




                WilliamA .. White advocatedlynchingtheJenaSix     "Upon investigating the complaints, our inte:rpretation of some of
                                                                  the content he had on the site was that it was of a criminal nature,"
             Armbrecht said.

             White confirmed that his site, Ovc11.hrow.com, went dark for several hours Sunday after Armbrecht's
             action.
                                       "
             White said he is relying temporarily on Internet services run by Hal Turner, a white supremacist in New
             Jersey.      ·

              He said he plans to create his own data center and have telephone lines installed so ·he can operate his
              site independently in the future.                                       ,
                                                                                          ·             ·            I


            .                 ·                  .                                      . .         ·_ l . FBI(16cv948)-7367 -
              Despite Armbrecht's il}-terpretation, White continued to stand by his "Lynch the Jena comment,       6"\
              noting that even soine of his critics have acknowledged he is probably protected by free-speech rights . .L}___.
        1.i--1<tt- 53n3-6<6                                       . . ·· .      .·           #fl-Kl-i-cJsi D7>-f T
             http://vvv,rw.roa;.1oke.com/news/roanoke/v1/b/l33574                                                            9/28/2007
                                                                                                                                             .I
                                                                -, .   ·~·   ',                ;~ ~••.-...•;,;;~•'., -••--•
          Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 358 of 487 Pageid#: 6127
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     (Rev. 06-0,:.-2007)




                                                                                                                              DataJ   04/14/2003
                Tog        Richmond




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                ·Approved B~n. SS~A T<evin 1 Foust                                                                                                 b7C

              " Draf.ted- By~
                Case·      ID   # g 0J~4-A-'-RH--,-.--5-3_9_0_8_ _(P_e_n_d_i_n_g_)    _-a. . . .5
           ... Title:            WILLIAM A. WHITE;
                                .MULTIPLE VICTIMS;
                                 RACIAL DISCRIMINATION-FORCE AND/OR VIOLENCE
                Syno.ps:i.s g       .   Request o:gening of sub files for captioned case.

--··------_:__n_e_tails-L ___ Richmo:h<L.requests the opening. of -·the following sub
             . files in captioned matte:.i:-.: ·
                                                                                                                                         p
                                   44A-RH~53908-GJ              _J_
                          'This sub file will be the repository· for material's
               ·obtained through' Grand
                                  .
                                        Jury Subpoena
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                                   44A-RH-539Q8c.BLOGS-j_

                           This.sub file will be the repository for blog postings
                 (to include associated media articles) related to captioned case.




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             Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 359 of 487 Pageid#: 6128
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                                     The following investigation was conducted·bl
                  . IP-.YE=};l_1;iga1;:.iv~ Op_~ratio,ns Analyst (IOA) I Ii sa 1'3· Downey concerning                    b6
                    William A. White, date of birth May 29, 1977, Social Security                                        b7C
                    Number XXX-XX-XXXX:                         ·
                   Virginia~Departmen~ of Motor Vehicles (DMV)~

                   Name:                           William Alexander White
                   Sex:                            Male
                   Date of Birth:
                   Weight~-                        210 pounds
                   Height:                         Six feet '·two inches·
                   Eye,s:                          Brown
                  _Hair:                           Brown
                   SSN:
           Customer Number:
-------~--Address":______ _                        Post Off ice Box 86-3-1-~--·
                                                   Roanoke, Virginia 24014
                   Vehicles:                       2004 Toyota four door sedan,
                                                   silver in color,
                                                   Virginia·license JXB-5595;
                                                                                                                         b6 .
                                                                               1                                         b7C
                                                 (,_,-...._..,......,p.n color, . - - - - - - - - .
                                                   Virginia ·licensJ
                                                                   1             I
                                                    registered to William  A. .wn1t_,.---
                                                                                   ~
                                                 ,,__ _ _ _ _ _ _ _ _ _ _ _ __.!    ---

                        A copy of the driver's license photograph of White was
                   obtained and placed in an FD-340.
                   NCIC/VCIN Computerized Criminal History~

                    Name:                          William Alexander White
                    Sex:·                          Male
                    Race:                          White
                    Date o.f Birth:
                    Place of Birth:                Washington, D.C.
                  · Last Reported Address:         188 Summit Way
                                                   Roanoke, Virginia 24014
                   SID:'
                   FBI Number:                     943081CB5
                                                                                                        '
                                                                                                      . I




                                                                                                            FB1{16cv948)-7398,
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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 360 of 487 Pageid#: 6129

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               44A-RH-53908

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              - charged on 7/9/96 by the Rockville, Maryland, Police Department
              with.the.following:
                (1) Assault/Battery
              · (2) Possess Graffiti Material
                (3) Concealed Weapon, and
                (4)_ -De$t.ruction· of--Property:

               -on 3/29/01, the following dispositions were noted:
            (1) Assault/Battery - not guilty .
          . (2) Possession of Graffiti Material - guilty
            {3) Deadly Weapon/Conceal - guilty, sentenced to one year six
           months, with.eleven months suspended and one year six moriths
           probation;       ·       __         · ·                                 .
            (4) Maiicious Destruction of Property, two counts --not guilty;
    -----------(.5.)-Assault-&-Battery-,-two-counts. ,.._ guilty, sentenced to six
           months;
           ·(6) · Resist Arrest, three counts - _guilty, sentenced to six
           months; .                                            ·
            (7) Exceed Posted Speed Limit.- guilty;
            (8) .Violation of Probation-- guilty, sentenced to seven months
              - charged on 10/19/96 by· the Rockville, Maryland, Pol.ice
              Department with:
               (1) Carrying a Concealed Weapon - nolle ~rossed
               (2) DCBW-FTA-Battery
              -. charged on 3/5/97 by the Rockville, Maryland, Sheriff's Office
              with PTA - Conceal Deadly Weapon (disposition unknown)
              - charged on 9/16/98 by the Washington, D.C., .Police Department
              with Unlawful Entry (disposition unknown)
                - charged on 12/16/98 by the U.S. Park Police, Washington, with
              . Simple Assault (disposition unknown)_
              - charged on 7/7/04 by the Roanoke City Police Department with
              assault and battery. On 9/13/04, this charge was ·nolle prossed.
              - charged·on 9/13/05 by the Roanoke City Police Department with
              brandishing a firearm. On 10/5/05, this charge was nolle
              prossed.




                                                                                  FBI(16cv948)-739:

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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 361 of 487 Pageid#: 6130




   44A-RH-5390ff




  'Virginia Ernplovment Commission~

   No.record
                                                                                     b7E


  --Name:                      William A. White
   AKA:                        William Alexander White
                               Bill White
   Current Addresses:          Post Office Box 8631
                               Roanoke, Virginia 24014
                               188 Summit Way SW
                               Roanoke, Virginia 24014
   Telephone Number:           540/945-5997
   State Corporation Commission (SCC):

  ·LLC Name:                    White Hornes and Land, LLC
   Office Address:              1629 Chapman Avenue
                                Roanoke, Virginia 24016
   Registered Agent:           'William A. White        .
                              · Post Office Box 8631
                                Roanoke, Virginia 24016




                                                                        FBI{16cv948)-740Q

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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 362 of 487 Pageid#: 6131

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    FD-302 (Rev. 10-6-95)
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                                                                                                            Date of_ transcription       05/07/2008

                    . _ . _ __ -~AJ
                                David Church jat~~!TIP_t:.e.<;i to recorded an·_ inte:i:yiew ·of
                  William "Bill" A. white a-chis residence, located at 3350 Glade
                  Creek Boulevard, Apt. #4, Roanoke, VA. Since White· would not open
                  his apar~ment door during the conversation between himself and SA
            .i    Church! and the · likelihood that his voice was not recorded properly
                  through-,the ·apartment---:-door,--the-fol-lowing is a summary-of the·
                  recorded ·conversat iori: .
                                                                                                                                                               b6
                       .     -.     . After - s~ Church !knocked on White Is ana.:i::tm1=>.pt door/ a                                                          b7C
                  voi_ce from behind. the door (determined by. SAlchu{dh ~o be that of
                  White) asked "who is out there? 11 ••,,., SA!Chnrch !responded by -         or
                  Mr. White. White repl:i,ed again, 11 who's out there?".         S
                  respon~ed by'. id~ntifying h_imse+.f as an FBI agent. · SA
                  further requested to.speak to White.               '          ,___ _ _....,

              __,,,......._ _,------=W=h=i°""tc.=e.__asked      sAJ
                                                           Churchi i_t'~~_had  warrant, tQ_whi_ch _SA .. a
...~-- ---~ ·····1 Church lreplied                no. White replied something s1-JChurch, could not                                  I
                understand. After being asked to re eat what he sa·                          ·
                 adv'·                  Chute. to a - arrv . .rown. .         After s Church                                                               b6.
                who ar.ry Brown· was, White explained -- ro_wn-was· an a                                                                                   b7C
                representing im.                                                 --------

                 _ _ _ ____._..aa;.;;........_ _ _---""a~c~k~n~o-w--=.ledged that White was referri~g himlI2]
                 sD-2ak: to· lep.;a·1 counsel.                               nd left the ap~rtment complex.                                      ·




         Investigation on         O5 / 0 7 / 2 0 0 8      at    Roanoke , VA
                                                               ------'------------------'-----
         File#    44A-RH-53908              -·c;kf                                                     Date dictated    05/07/2008

         ~JsA        ~      David Church                            I                                                         !=RT·(·--05
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         This document contains neither recommendations nor conclusions of the FBI. It is the property of the FBI and is loaned to your agency;
         it and its contents lire not to be distributed outside your: agency.

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r        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 363 of 487 Pageid#: 6132


    ,£Rev. 06•04-2007)                                -------•', ----




                                                                                                                        Dat~:   0-5/05/2008
              To: · Cleveland                                                                                Lin·Resjdent Aqrncy.                                           b6
                                                                                                             SA Brian E Russ

                   -- I- Newark
                                         I                                Attn:                              Squad
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                         Richmond· - ,                                    Attn; ~anoak -RA, SAIDavid Churcs.h                                                   J
             . From:-- . i ncina t ti '
                             Squad 10 Dayton
                             Contact:- SA. !-U8·

              Approved By:

              Drafted By:

              Case       .ID -#: - 44B-CV-7 4237                 (Pending) ~J). 0 (typo for 28)
                                 44A-RH-53-908                   (Pending)- 3 ~                                                                                        b7D
                                 266N~CI-76J95                   <Pending)- I                       2        l)
              Ti tie:.     I                     I                                                                                                                         b6
                                                                                                                                                                           b7C
                             WILLIAM ALEXANDER WHITE,                          . . _
                            -AMf.BICAN })lATIONN, SOCIAI,tS] WORKERS -PARTY;
                          · I JU-l r AN ·uPTHE   G~OvE                -    _                                        -
                             RACIAL DISCRIMINATION - NO FORCE/VIOLENCE
                             WILLIAM A. WHITE;
                             MULTIPLE VICTIMS;      _,         ,
                             RACIAL DISCRIMINATION-FORCE AND/OR V:IOLENCE
                           I AMERICAN
                             JUSTIN s·ovER     ,l .
                                       NATIONAL SOCIALIST                          WORKERS PARTY;
                                                                                                                                                                           b6
                                                                                                                                                                           b7C
                             AOT -DT                                                                                                                                       b7D




              Synopsis~
                                         I
                                 Serial 10, Lead 6, of 44B-CV-,-74237 covered.
                                                                                                                                                                            b6
              Enclosure (s} ·:One (1). copy...,o.-af--.;a'-'-'!-·___,,,......_ _ _~.....,,.---" Police                                                                      b7C            -~
             .·oepartment report r1ygardin Just~n Boyer s                                 arrest on
            I-----~~=~-           Jfor domest lC batteryooo




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                                                                                 Page 364 of 487 Pageid#: 6133
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                ·c1evel2nd Fr            !6incinatti 1·                                                 b7C
            Re: 44B-CV-74237         1   0::,/l)6/ZOU8



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                                                                                                        b7C
                                                                                                       - b7D


            Details:

                        Information be1ow is e~treme1y sensitive in nature
            and. the ~e1ease of such wi11 compromise the identity of .the
            CHS.   Al.1 efforts -should be ta.ken to protect tjre -idem.tity of
            the CHS.                                 .  .


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      Case 7:08-cr-00054-EKD Document 411-2      Filed 10/05/20 Page 365 of 487 Pageid#: 6134



         Re:
               Cleveland Fr
               44B-CV-7L.!237   1
                                     :/Cincinatti
                                     l5/U6/Z(iU8
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                                                                                           b7C
                                                                                           b7D




                Police Report       fro1                  IPo1ice Department               b6
                                                                                           ;b7C




         ~mhea~t c 11 rreo1iilY has a valid warrant for
         L_I  1   -~----· jviolated
                    Accordi6a       to CHS reriqrtina.l                                     b6
                                                                                          . b7C

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                   While ·not requested in the aforementioned lead,
                                                                                           b6
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         rttached hereto  for use as needed. is &I


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                                                                               FBI(16cv948}-7430
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        Case- 7:08-cr-00054-EKD
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                                                 411-2 Filed 10/05/20 Page 366 of 487 Pageid#: 6135

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                                                               EXHIBIT N(.i-)
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/'    (Rev. 06-04-2001)




                Precadence~            PR1ORITY                                                   Date~
                                                                                                                   -- ,,,,... ... ,_ ..... ,... .....
                                                                                                                  V':J/ UJ../ ~VVb


                Tog        All Field Offices                              Attng          Civil Rights Squads.
                                                                                         JTTFs
                            Criminal Investigative                      .Attng           Civil Rights Unit
                                                                                         SC Nancy Nelson
                            Cleveland.                                    Attng          Lima RA
                                                                                              ..._--r..;.i=a-n--"""R,....u_s_s.......,
                                                                                         s~;..R
                           New Orleans                                  · Attng          Alli"'2.,.,...,_,_'"'-"'"""'-~-=-.
                          -1 Pfl_i lad el p_hia I
                                                                                                                                                                b6
                Fromg         Richmond                                                                                                                          b7C
                                 Roanoke RA, s~~-~a~d-7.....,......,.....,...._ _,,__       _,_&~."--~~~""-~~--==.
                                 _Contact; SALT David Church

                Approved Byg             SSRA Kevin t Foust

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                Drafted Byg

                Case ID #g          44A-RH-53908              (Pending)-1i..f
                                    44B-CV-7.4237             (Pending)- v R
                Title;          WILLIAlvI A. WHITE;
                                MULTIPLE VICTIMS;
                                RACIAL DISCRIMINATION-FORCE AND/OR VIOLENCE
                Synopsis; Request approval from Civil Rights Unit to' assign
                Roanoke RA as originating office (00) i~ captioned investigation,
                set leads for investigative assistance in captioned matter, and
                provide investigative background information"                  -
              . Refereri.ceg          44A-RH-53908 Serial 1
               ·Details:  Roanoke· ·RA opened captioned case on 02/27/2008 after
                discussions w·       ·    States Department of Justice (USDOJ)
                Attorne arrv owa 8 L nd Assistant United States Attorney.                                                                                             b6
                (AUSA) Thomas Bondur'ant Western District of Virginia.                                                                                                b7C

                           On 02/22/2008, T<owals~d, Bondut:'ant nd S~ Da·vid Ghurch
                 (Roanoke RA) discussed, via te· e·con erence, t e incidents of
                                                                                                                                                            I
                threatening and harassing communications, _both e-mail and
                telephonic, that.William 11 Bill 11 A. White has initiated since .
                August, 2006. This conference call was initiated as a result of
                a new complaint· regarding a similar recent harassing e-mail blog

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r,           Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 367 of 487 Pageid#: 6136                                            --i
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                To:   A.11 Fiel_d OtI1.~s From:                  Richrnonci"
                Re:   44A-RH-53908! 05/01/2008



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                                                                                                                                b7C



                                                                                     against a·

                              Previously, Roanoke RA, had two open investigations·
                 with Bill White as the subject (2~6N-RH-52670· arid 9A-RH-53173).
                 2?-ftE;r discussing th~ op. en investigations_ and t*e ~ew _5ecent .
                 I c · e ts -·of · hara:-s·s:i:ngithrec\teni nq e-rails, -sA-..:_ h1:_rch·:.. AUSA · -                          b6
                 Bo-~d.ura t, and USDOJ Attorrie:{Kowals1d agreed tne investigation                                           _b7C
                _sou _ e _consolidated into a-Civil·Rights-Racial Discrimination
               . investigation._ ..Therefore, Roanoke RA has closed the previously
                 mentioned opened investigations with White as a subject and
                 opened the captioned civil rights matter.
                GENERAL BACKGROUND CONCERNING BILL WHITE
                                   '       .     .   .   .   .   '


                              By -way of ·-background, Bill White is the self proclaimed
 --- ----- --- . -- !!CommanderJLo-f-t.he-Amer-iean-Nat-ional Socialist--Worker 1-s -Party--------~- -
                    (ANSWP) and currently resides in Ra.anoke, Virginia. Previous to·


               ri-::it: :i
                    White•s formation of ANSWP, White was~ member of the National
                    Socialist Movement (NSM), which is currently based out bf
                               chi cran : ' . ~e senarOted frOJD NSM           I                      b6
                                                                                                      b7C
                    w 1.c was at one t e .                                         I.tlis
                    believed!               ·                                         _
                            Bill White was also the owner and creator of a Nazi
                website, www.overthrow.com. White created this website before he
                lefc NSM and began ANSWP. White•s overthrow.com website has
                recently been shut down for reasons unclear to the Roanoke RA.
                White has reported through the VNNforum.com website he is
                experiencing financial trouble due to his wife and new born baby
                being hospitalized and he has chosen to sell his rental p~operty
                busines·s .. For this reason, Roanoke RA believes White is in
                financial trouble and no longer could afford to run his website.
                The site is vehemently opposed to Jews, homosexuals, blacks, and
                others_. White would frequently post articles on this site about
                various topics. One of White•s most used harassment tactics is
                the posting of individuals personal home and telephone
                information on Overthr·ow. com and VNNf orum. com.: In most case$,
                these posting occur· after a media covered incident related to
                racial tensions. An example of this is the Jena 6 trial in New
                Orleans,, LA.



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                                                                                                                                  ,f ll ,tO

                                                                                                          -                               _:I
                                                    ~~
                                                                               -·•              ~
                                                                                                      ·--
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 368 of 487 Pageid#: 6137
                                                         :   '   --~--''   •         "{,' < •       :'",,




    To:   All Field Off~s. From: •Richmond
    Re~   44A-RH-53908, 05/01/2008



              Recently, the shooting of a black female by local
    po~ice SWAT in Lima, Ohio, has spurn many postings by White in
    addit~    tP~ate mailings and the sending of a noose to the local                                                                 b6
    NAACP;a ir :in Lima. SA£: 1an -Ru,§sj is investigating this                                                                       b7C
    incident under case file~. -CV-74237.
           _  .I:q. addition to Bill. White's national· exposure through ·
    his website,· Overthrow. com, White catne to National attention whe~
    NSM staged a march in Toledo,· Ohio in October of 2005, which
    ultimately -escalated into rioting in the streets by anti..:
    protestors. Bill White was one of the organizers of this march.
              White has also garnered national attention at various
    times through his vocal support of heinous crimes. For instance,
    Bill White expressed support for the Columbine High school
    shooters in 1999, and more ·recently, indicated approval for the
    deaths of United States District Court Judge Lefkow 1 s family in
    Chicago. Illinois. White. was quoted in the press as saying:
                                                                                                                                      b6
                                                                                                                                      b7C
                                                                                                                 I   on't fee
                                                                                        a_s_m_u_ri_d-.;--:ered-today. In-
                              _,..___,,,,,_~---=--.....,.---.----....----,,......Y---w-__
             L....o-...--......

                                                                                                      to day, I laughed."
     .

    alleged Bi~]
    P<;>Stingj his
                        ~:e
                 In August, 2.006,                 .
    investigate allegations b Canadian attorney Rich:ird 1ifarma
                          faci7it:a e someone ac ua y mur ering
                                                                 .


                           ·. !home address c;m his (Bill White's)
    site, www. ver row.com.-
                                                                                                                                hat
                                                                                                                                 by
                                                                                                                                      b6
                                                                                                                                      b7C




                  This investigation was opened after the Roanoke
    Resident Agency, Richmond Division, received an e-:-mail copy of a
    letter, dated 8/24/2006, writtenjby him l to Chief Gaskins, City                                                                  b6
    of Roanoke Police Depa~tment.1 ·          !forwarded the _letter in                                                               b7C
    hopes that char es could be bro ht against Bill White for           .
    encoura in ~ ill ing_· o.f W?°rman urin an interview wherein [!i:CJ
     · ana'.· 1~n Broadcasting Company           interviewed Bill White
    te ep onically on or about August 21, 2006. White was allegedly
    quoted by ~he CBC las saying,
                  I would hope people take violent ac;:tion against him.
                   11

                He should be killed. 11
                To date, the Western District of Virginia, United
    ·states· Attorney I s Office (USA.O) , has declined prosecution ori all
    incidents presented to them by the Roanoke RA, siting the First
    Amendment as the major'stumbling block to prosecution.        ·



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       Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 369 of 487 Pageid#: 6138
                                                               . -',!.:



          'I'o~       All Field Off       s   From~       Richmond
          Re:         441-\_-RH-53908,   05/01/2008

                                                                          ".•~   .


                          . Especially over the last few years, White has become
          ·one of the nationallv known ilfaces 11 of the ·white supremacv
          movement, His harassment and threats through radio-and the
          internet mediums, sp~cifically, the Vanguard News Network
          website, have led to numerous victims throughout the United
          States.                                     .
          RECENT HARASSMENT/THREATS BY BILL WHITE

                     · Even more current, is yet another incident of
                                                     ~~.llt~~~~h~~~ ~~l'~-J, .?~--- --
         . ,~u~-~~t11.1=az3€,is~s~~C~rg¥v;;:.~l~-~D~~1t~~;~rv!~    1                                      · b6
                                                                                                     · - ----b'i7C
          originating from Roanoke _ VA. The unidentified                 · -_ed ·to
          be White) :..spok     Charles Tyson.     and stated that he          hould
          never have. bee Elected :Y!a vo and that an African merican. should
        ,...!.!~~~e .able t      -~H' 1            ple. White then told! the!
                  hat he knew where the Tysons __ Live and he was coming to
                  nzi B1gn ~n thear ''frdnt la~.                            ··
                             Th~s latest. ihciden lm Wbi +-e was most ~ikely spurred
                on by an article published on ! -     4                                  I
                                                                           possibly through he
------- ----- --A~--W-i-re-,~-rega-Ftjj-pq----:r:ad-aJ--barassment and racial--±nti~idati9n·-
                                                        ~ ast verr. I              lis the L                 b6
            .. directed towarii.          .
         I -                                     .         . -                       .       ~--             b7C

                                                                                                             b6
                           The phone call from White to             was followed
                                                                                                             b7C
          up      2   minutes later by the following e-mail .to Mayor Tyson

          Dear Mayor Tyson:
                I re2ently read of the raci-sm you've faced in Harrisonville,·
           New Jersey, and, I wantea to m9ke something perfectly clear to
           you:
                (a) You are a nigger unfi~ t6.govern over any white man.
                (b) Fuck you.   You've gotten exactly what you deserve frqm
                    you~_ constituerits.
           Unfortun.ately, the days when white men would simply burn th·e local
           newspaper, and,·run nigger officials out with tRr and feathers
         . are past. however, your incidents give. me hope th.at perhaps we
           might see them again.
          Bill White, Commemder
          American National Socialist Workers Party
         ·ps:         We ~now you live at l~R5 STATE HIGHWAY 45 Mullica Hills
                      New Jersev OA0~2 (R5~) 47R-~1l2. I just spoke with your
                      wife Carolyn. i hope you get my message.




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                                                                                              FBI(16d.t948)-7450

                                         - - ~ - - - - - · -                                                         I
        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 370 of 487 Pageid#: 6139


                 To:   All Field Off_ s J:i-rom~           Richmond
                 Re:   44A-RH-53908, 05/01/2008


                                                                                                                     l:,6
                      on!              White posted the ~_particle and his _e-mail to
            ,!   ·Mayor Tyso½ on the \Jl'il\Jforum. com website.                                                     b7C

             VIOlATION(S) DISCGSSED WIT!f USDOJ AND USAO
                   Aithough there is a potential First_ Amendment ·aefertse to_the
                 threatening and harassing c6mnunications.made bv White, USDOJ
                 Attor~ev Kowalski and AHSAHondurant believes the-following.                                         b5
                 federal statutes apply (but not limited) to fhis investigation:                                     b6
                                                                                                                     b7C
                 Title 1A, United States Code Section, 875, _Interstate
            _ Communications
                Title lA, United States Corle Section\' 87f>, MF.Jiling Threatening
              Commuri-ications  -
                Title 18 United States Code Section, 245, Federally Protected
                             9
              Activities
                Title 18 9 United. States co<le ~t~tion, 241; Conspitacy Against
              Ri~hts                                                                .
                 ROANOKE RA INVESTIGATIVE PLAN
                    - After discussing potential violations -concerning White's actions. __ -~----
--------------- - -s~A--=--:cfiurcfi",----:us1JOJ--~-,:t·ot·ne_y T{ ciw;:i l sJd 9.n<l A US,il ~onduian t agr.ee that . - bS
                   investi,gc1ting White's actions wo.uld best· be· accomolisheo as Racial                                b
                                                                                                                            6
                   Discrimination-Civil _-qights in-.;egtig-e.tion;i,, Fur.tl-ierr,'.:>re, all believ'e - b7C
                   that a historical ~pproa~h to the inv~~ti 0 9tion would b~st henefit
                   all eventu-al _prosecution. _In order_ 1:q_,_s:1~n-;r Tvhite ·h.as _eras.sec the
                    l_•1ne establ1shed by the F1-rst -Amenc!'lent, ~oen'.:> 1~e .~A 1r1tends to
                    ~evelo11 a tjr.,e line iovplving all incic2n-ts,· tl-ier-=½v showin~ White's
                    intent to threaten and h~rass his victims.


                       In
                       an effort·to coordinate ,the many_different incidents
              spanning nume:tqus · Field Off ices, Roanoke RA has obt_ained approval
              from Section Chief Nancy Nelson, FBIHQ, Criminal_ Investigative
             ·Division, Civil Rights Unit (CRU), and has been designated as ~he
                                               f
              originating office (00) for all incidents involving Bill White
              threats and baras_sroeut· b.roughout the United States. USDOJ
              Attorne.~Barry ~owalski_ concurs with this approval.           -                                       b6
                                                                                                                     b7C
                       Roanoke RA will_gather all related investigation concerning
                 White dating back to August, 2006. This is when Roanoke RA began
                 invest-±gatin White fort            ·             -    threats and
                 harassment o Ca.nad_ii.n at tor-nev Richard -Warri:an. All Field Office
                                                                        0
                                                                                                                      b6
                 -(FO) JTTFs an CJ.VJ. Righ~s Squad~ are requested to determine if                                    b7C
                 they h1;tve had any complaints or open investigations (past or
                 present) related to White and-contact Roanoke RA with the details
                 of each;_ F0 1 S are also requested to query CHS's that may be in a
                 position to provide ·ir-telligence relate~ to captioned mqtters.

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                                                                                                       FBI(l6rn948)-7451.
        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 371 of 487 Pageid#: 6140 ----==:i


           To:         All _Field Of :E      s    From:   Richmond .
           Re:          i141t-RH-53-908,   05/01/2008
                                                               . '/. '.I




           Roanoke RA further request to be contacted on all future
           incidents involving White that match the previously described
           criteria.
                During any investigations pertaining to captioned matter,
           special attention should be given to the following:     ·
           • " ---e-   ----
                 1. .Obtaining all correspondence received by or directed
           toward the victims 1 ·to include letters via U.S. mail 1 e-mail 1 s,
           internet blog postings 1 and flyers distributed through the
           victims community. In the case of e-mail reQeived by victims, IP
           addresses· fbr the· victim-··and··-sende·r should be obtained in a
           time·ly maP..n~r so the original sender can be verified.
                2 ... All caller ID information in instances where victims
           received threatening and harassing phone calls.
                 3. Any recorded conversations of threatening and harassing
          . phone calls.     ·     ·           ·

                    4. Interview of·victim(s). Specifically.determine why they
=----------------think~they-wer.e-targeted-and,~if- -they felt threatened by-the - ------------
              letter; e-mail 1 phone call 1 etc. Include specifics of how they
              felt threatened." Also determine specifically what was said by
              caller during the threatening and harassing phone call. If
             victims were not sent correspondence directly 1 but-learned of the
              threats·through other ·mearis; it is requested th~y still be
              interviewed. Ob~ain all e-mails and documents the victim may
              have related to the incident~
                5,. Determine if any Grand J'L!,ry Subpoenas or Search Warrants
           are needed and contact Roanok;e RA for coordination.
                        6.    Conduct further logical investigation as appropriate.
                Roanoke RA will send leads to specific FOs with related
           incidents as necessary after determining if the incidents fit
           within the criteria of captioned matter.
                ·Roanoke RA rea_lizes there: may be multiple FOs that have
           intelligence gathering investigations involving White to some
           degree. As such., it is noted for all FOs, Roanoke RA is only
          -requesting information related to incidents of threats and
           harassment by White that are related,to this Racial
           Discrimination and Civil Rights investigation. However, Roanoke
           RA requests that all CHS's with related intelligence that would
           assist in identify_ing White O s associates arid fill in  1


           investigativ:9 gaps be contacted and results provided. A se:iparate


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                                                                                    FBI{16cv948)-7452\

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                                                    .__.-~ ·:.. . - ·-. -----Page 372 of 487 Pageid#: 6141
       Case 7:08-cr-00054-EKD Document 411-2 Filed::10/05/20     ~   '   ,   ~   .
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            To:    All Field Off         s    From:   Richmond
            Re:    L14;A-RH-53908,    05/01/200_8



            EC will follow directed to those Fous with identified .CHS's that
            could potentially provide infor.matio:n :regarding '.i'Jhi te a:nd .Ai'iSWP.



                   Roanoke RA will present all investigative findings to the
           . US1W, ... Roanoke, ... VA, .and USDOJ,.s.for p:tosecutor:i'.al opinions as
             outlined in the FBI Civil Rights ?rogram Manual. Roanoke RA will
             also keep all FOs apprized of pertinent develops concerning
             captioned matter.               .       .

                  SA David Criurch:~Roanoke.-RA;··has been assigne·d···the Case                         -· - -··-:\:16-
            Agent for.t e-investigation involving White's threats and                                            b?C
            harassment. (.44A-RH-53908). Please contact SA -Church or           .    I            I
           r:::::Jwith.any questions -regarding captioned matter. SA~rian I
           ~ L i m a RA, Ohio, is the case agent for the i.~=~"-=~tion
            concerning the, sending.of the noose to the NAACP Chair in Lima
            and the.hate mailings sent during the same period. 44B-CV-74237).
            All information~ed to the Lima investigation should be
            forwarded to S A ~        •                                ·

--~- ---· __ :··---Descr-iptive-Data-i·---~

                          .Main.Subject
                         .Nam~ -
                             Last:                          .White
                             First:.                         William·
                             Middle:                         Alexander
                          Race:                             .w
                           Sex:                             M

                          DOB:
                          DLN:                              VA T66818799
                          ;FBI:                             94:3_08.lCBS
                          SOC:
                          Address (es)
                           .House#:                         188
                            Street Name : ·                 Summit Way
                            City:                           Roanoke
                            State:                          VA
                            Postal _Code:                   24014




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                                                                                               FBI( 16c,.,9'-t8)-7453
                                                                                                                           J,
.' -
;
         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 373 of 487 Pageid#: 6142


             To:   All Field Off           s   From:   Richmond
             Re:   44A-RH-53908, 05/01/2008




             LEAD{s)g

             Set Lead lg       (Action)

                   CRIMINAL INVESTIGATIVE .
                          AT WASHINGTON, DC
                         AT CIVIL RIGHTS UNIT: Approve request for Richmond,
             Roanoke RA to be designated the office of origin (00) in
             capti·oned· investigat•iorr:-· -verba 1 approval obtained from Section
             Chief Nancy Nelson by ss~                    ion 03/05/2008 ..                               b6
                                                                                                          b7C
             Set Lead .2 g     '(Action)

                   ALL RECEIVING OFFICES
                               All Field Office (FO), JTTFs and Civil Rights Squads are
                   requested to determine.if they have had any complaints or open
                   investigations (past or present) related to White and contact
-------- .. ----:---R0a.noke-RA,--v-:i:a--e-ma4.~l-or__._~elephonical ly, to discuss det.ai ls of -
                   each and determine whether the·particular incident falls within
                   the investigative scope. Roanoke RA further request to be
                   contacted on all future incidents involving White that match the
                   previously described criteria . . All offices with pertinent
                   info_rmation shouid contact SAi Church. or .                   ·      I                b6
                                                                                                          b7C
                   Additionally, all FO's are requested to query any CHS's that·
              are reporting or have reported intelligence rel.ated to ANSWP and
              Bill White. Determine if CHS I sr           .   -    .   .                                  b6
            !                       . I Also, 6.et:ermine it the CHS s could be
                                                                     I                                    b7C
              useful in captioned investigatioD:S. A l;!eparate EC will follow                            b7D
              _specifically requesting information from known identified CHS' s ..
             Set Lead 3g       (Info}
                   CLEVELAND
                          AT LIMA RA, OHIO
                          Read and clear.
             Set Lead 4i       (Info).
                                                                                                         b6
                   PB Tl AD El 'P'HI A                                                                   b7C

                         ~T SOUTB Ji~SEY RA



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                                                                                              FBI{16cv948)-7454

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                      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 374 of 487 Pageid#: 6143
Il       ,.   o
ll                ,   a   r
                              To:     All Field Off_ s From:                   Richmond
                              Re:.    44A-RE-53908, 05/01/2008



                                        Contact·SA                                                                 if addi'tional          b6
                              information related ·c-0_1_17-_c_i_a_e_n..,.-c_1_s~g-a..,..t"'"n--,e-r....e-a~._ __,

                              Set Lead 5:         .(Info)

                                      NEW ORLEANS
                                             AT ALEXANDRIA RA

                                                              I
                                            Conta~t SA pavicl ChurcH Roanoke RArl                                         j \with          b6
                                                                                                                                           b7C
                               any Bill White rel•ated incidents invol vin the Jena 6 or others.
                               Pe~ tel-ca;!:- 9.n--o-s/08/08 ~ - contact sA- ··c:;;,.;u,-t,h ith any information
                                     <=>rl-          to the identification o                 lo er user name
                              1?.lu_eschicafi':t_.: A search of                                                       direct
                              _you t o t e recorded phone c~a..........-,-p--r_e_s_u_m_a_,...._.......,.---,--~ ~e.r and Bill
                              White.                                                                           --~




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                                                                                                                               FBI(16cv948)-7455

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r      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 375 of 487 Pageid#: 6144

I                                                 EXHIIHT N(f) -




              Precedenoe:        ROUTINE                             D=."!:e:   ni:;   /1 i::;/?nn_R

              To: - _Richmond/                           Att~:jDavic _ Church                               b6
                                                               _squad /                                     b7C
           ·From:        Chi·caao                                                                           b7E
                           r        - I
                       -- -- Contac:rt::j-- MAH
                                                                    I
           Approved By:


              Draf-ted By:

              Case--ID    #: -44A-RH-5390S-/ (Pending)
              Title:       White, William, ·Alexander;
                         - White Homes and LLC;
                           Multiple Victims;
                           Racia-1 -Dis-crimination - Force and/ or Violence

- _______ --~--- Synopsis:  Information concerninq captioned individual and the--~ __
                 American ·National Socialist Work~r_s --Party. (ANSWP) .

           Details: Bee the attached source reporting regarding Bill White,

          ICommander, ANSWPi
                                 .                                                                     I     b6
                                                                                                           - b7C
                                                                                                             b70
                            See the attached FD-1O23.




           ~: i37mah03.ec.wpd
/                                           ..
                                           _ ·/   .   ~       . : ~--. ~·::.   .;. . ',
         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 376 of 487 Pageid#: 6145


            To:   Richmond Fro,    Chicago
            ~p~   44A-RH-53908, 05/16/2008




            _Set Lead l:     (Info)

                  RICHMOND

                       AT RICHMOND, VIRGINIA
                       For _:the information of FBI-Richmond.
                                                                                          \




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                                                                                              FBI(16cv948)-750=-,

    =---------- -                                         ~~~~-----/
                                                     _---.,.

      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 377 of 487 Pageid#: 6146

                         ---                        EXHIB I T N( k. )
         .,,.
     ®~610 (Ri;V. 05/04/2005)




                 Precedence:          PRIORITY                              Datei    05/23/2008

                 To~      Bal ti more                                   Attn:   ·Rockville RA -   C8
                                                                        Attng    ssAI                      b6
                                                                                                           b?C
                                                                        Attng    SAi                   r
                          WFO

                 From g         Richmond ·
                                   Squad 7, Roa~n=o~k~e,_RA=----~
                                   Contact: SP.~ T Davtd Church    I
                 Appro-11ed By,:

                 Drafted By:

                 Case ID #: V'44A-RH-53908          (Pending)   -5l
                 Title~ WILLIAM A •• W-.tlITE; .
------------ ------.MUL'I'-iPLiE--VIG'I'IMS;-----
                         RACIAL DISCRIMINATION-FORCE AND/OR VIOLENCE

                 Synop~Jis:         Set forth leads for copies of conviction orders.

                · Administrative: Reference 5/23)2001
                !    -I Richmond, Roanoke __ RA, and SSA
                                                                  teica7 between
                                                                    ·   ·
                                                                                 I
                                                                              Bal sAI     - _ __
                                                                                  ti.,_m_o_r_e
                                                                                                           b6
                                                                                                           b7C
                 Division, regarding captioned subject.

                 Enclosedg Enclosed for receiving office is a copy of ·the NCIC
                 report.

                 Details:  Captioned·case was opened
                 States-Department of Justice
                                                                                                           l::i6
                 Assistant United States Attorney
                                                                                                           b7C
                 District of Virginia.

                             By way of background, Bill White is the self proclaimed
                   Commander 11 of the American National· ·socialist Worker's Party
                    11

                  (ANSWP} and currently resides in Roanoke, Virginia. Previous to
                 White's formation of· ANSWP, White was a member of the National
                - S,ocialist Movement (NSM) , which is based out of Detroit',
                  Michigan.          ·

                            There have been some recent blog posting made:by the
                 caption· subj.ect that clearly seem to convey threats. In
                 reviewing the captioned subject 1. s criminal history, it :was not
                 clear whether or not prior convictions were felony or Jisdemeanor
                                                                           .....
                                                                     . ,.. ~       '


        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 378 of 487 Pageid#: 6147


         1'o:    Criminal Inve            _·gative       From:    Richmond
         Re:     44B-RH-53908; 05/23/,2008


         in the future, whether or not White is a convicted felon may be
        relevant with respect Whiters possible possession of firearms. ·

                                               NCTC Repo~t Summary

                   The following                                 summary of White's
        biographica.J. -detcri1:s : -
                     -----   .   .
                         Wi·lliam ~xander
             · R~~e-:    :~;;~·                                            \
              Date of Biy'l:h::                                                ,.
              Place of Bi~th:Washington, D.C.                                  J
                   R orted Address:188 Summit Way
                   anoke, Virg~nia 24014
                 SI/,:.                        _ , __ ..... _
      ---..-l,'~"'XJ:ymJ&er-:-:9-4--s-G·8"TCJ35

                     'The five locations below are where White appears to
----· ____ have been charg§<Lwi th_ cri!1:I~~~1 violations .. ,,. . _________ .

        I.      Rockville Marvland Police Department-

                  White was charged 7/9/96 by the Rockville, Maryland,
        Police Department with the following:

        (l)'Assault/Batterv
        (2) Possess Graffiti Material_
        (3) Concealed Weapon, and
        (4) _Destruction of Property.

                  On 3/29/01, the following dispositions were noted on
        the NCIC report:

        (1) Assault/Battery:-- not guilty
        (2) Possession of Graffiti Material ·- guilty
       '(3) Deadly Weapon/Conceal - guilty, sentenced to one year six
        months, with eleven months suspended and one year six months
        probation;
       '(4) Malicious Destruction of Property, two counts - not guilty;
      · (5). Assault & Battery 1 two counts - guilty, sentenced to six
        months;
        (6) Resist Arrest, three counts     guilty, sentenced to six
        months;
        (7) Exceed Posted Speed Limit - guilty;
        (8) Violation of Probation - guilty, sentenced to seven months




                                                                                       FBI(16cv948)-751S\

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                                .•  .       ·- ·-~.
                                        ...,. .;_   ~   ,.,.-          (
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                                     . .- ,         --.:.::·.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 379 of 487 Pageid#: 6148




 To:     Criminal Investigative .From:                              Richrnond
 Re:     44B-RH-539.08; 05/23/2008



   charged-on 10/19/96 by the Rockville, Maryland, Police
 Department with:
 (( 1)) Cap::yi~g __§l C_oncealed vi(eapon - nolle prossed
    2 DCBW-FTA-Battery
 II.    Rockville Maryland She~iffvs Office

  _    . _:- --Wh-i~e -wa~ charged- on 3 /5/97 by the Rockvil~et M'7'rfland,
. Sherif:c 1 s Office with FTA - Conceal Deadly Weapon (disposition
  unknown)
                         0

 I:i::I. Washing.ton D. C. Police Department

            Whi_te was charged on 9/16/98 by the li-Jashington, D.C.,
 Polic_e Depa:r::tment with ,Unlawful Entry (disposition unknown)
 IV.·   U.S. Park Police·, Washington, D. C.
       -------------------- -
           White was charged on 12/16/98 by the U.S. Park Police,
 Washington, with Simple Assault (disposition unk..nown)
 V.     Roanoke ·city Police D~Barbnent

           White was charged on 7/7/04 hy the Roanoke City·Police
 Department with assault and battery. On 9/13/04, this charge was
 nolle pressed.
           White was charged on 9/13/05 by the Roanoke City Police
 Department with brandishing a firearm. On_l0/5/05, this charge
 was nolle pressed.
 Lead Requests
           The purpose of the following leads is to obtain us much
 information/intelligence as possible concerning all of White 1 s
 charged criminal offenses-in Maryland an:d elsewhere, to include
 certified copies of criminal conviction orders. The ultimate
 goal of this lead is to determine whether or not William white is
 a convicted felon.




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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 380 of 487 Pageid#: 6149


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            Tb:   Criminal Investigative        From:   Ricnfuond
            Re:   44B-RH-53908; 05/23/2008




            LEAD(s)   g


            Set Lead lg      (Aqtio~)

                  BALTIMORE
                          AT ROCKVILLE, MARYLAND.
                       Is requested to (1) contact appropriate authorities in
            Mcmtgome:ry County in. the Major Crimes Section and Intell~gence
            Unit, and/or other appropriate jurisdictions based on charges set
            forth above, in order to obtain as much information concerning
            William White's criminal charges; and (2)' obtain certified copies
            of conviction orders_pertaining to William White from arrests -in
            the Montgomery County-area as set forth above.
            Set Lead 2g



                          AT WASHINGTON, D.C.
                       Is requested to (1) contact appropriate aut4orities
            with the U.S. Park Police and the Washington·D.C. Police:
            Department, in order to obtain details concerning their
            investigation/charges of the captioned on 12/16/98 and 9/16/98,
            respectively; and {2) obtain certified ·copies of any convictions
            stemming from these arrest, if they exist.              ·




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                                                                                   FBI(l6cv0'18)~ 7521
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 381 of 487 Pageid#: 6150
                                                                 EXHIBIT N(J)

 ·•   {Rev. C6-04-2007)




                Precedence;          ROUTINE


               To:        All Field Divisions                             Attn:       DT Squad
                          Boston                                         Attn~l____tResident Agencies
                          Counterterrori$m                               ·Attn: SSA
                                                                                       _.':.-:...-:.,-:.-:.7..-:.-:...-:.-:...~":.-:..,-~~~...
                          Richmond                                        Attn:   ·sAI     Da Vi d . Ch LI r C Ii        I
               From:        Boston
                               Bedford RA
                              Contact:         SA
               Approved By:

                                                                                                                                                 b6
                                                                                                                                                 b7<
               Drafted By:,_.___ _ _ _ _ _ _ _ _ _ _ _ _---..J                                                                                   b7l


               Case ID#:             -B07NEW                     (pending)
                                   44A-RH-53908                  (.Pending)   -fo{p
               Title:      ITERRORISM ENTERPRISE
                                            _. . . :. -INVE~TIGATION
                                                       '": . ,:, .'":-
                            WILLIAM A~WHITE;
                            MULTIPLE VICTIMS;
                            RACIAL DISCRIMINATION--FORCE AND/OR VIOLENCE
               Synopsis:  To request authorization for opening of captioned
               Terrorism Enterprise Investigation (TEI).



               Details:  WILLIAM WHITE, of Roanoke, Virginia is the self
               proclaimed national commander of the AMERICAN NATIONAL
               SOCIALIST WORKERS PARTY (ANSWP) and former NATIONAL.SOCIALIST
               MOVEMENT (NSM) member. WHITE is the subject of captioned
               Civil Ri hts Investi a 'on   WHITE is accused of threatenin
                                            WHITE uses sever.al different internet
               si es associate           with ANSWP to harass and threaten his
                                                                                                            ·,



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                                                                                                    .a la                   ' r _,. . .
                                                                    '=rJ/l-f2H 5 3- §Do= V)\V FBI(16cv948)-
                                                                                      =>
       Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 382 of 487 Pageid#: 6151


                  To:           Countert ,orism           From:     Boston
                  Re:     l00A~NEW, 05/31/2008


                  victims.         WHITE also uses the same sites to influence the
                 · AtJS.WP membe.r.shif) to adopt his eJ;:trem.e posi ti ens and actions.

                                   ANSWP is as linter         of the NSM~ WHITE formed
                  ANSWP                                                .       concern_ing
                                                        WHITE-has posted on his NATIONAL
                   ___ -·-- __ _ _ __                   group and email that he wishes                                l
                  to form a New Hampshire state branch of ANSWP. WHITE has
                  boasted of a group of New Hampshire "contacts              WHITE has
                                                                                   11
                                                                                        •

                  solicited over the internet, for someone who is· interested in
                  becoming the NH state lea_der. ANSWP has state branches in 16
                  separate -states.- -·WH-ITE · ·uses overthrow. com, answp. com, the -NSW ·
                  yahoo g;r:-oup and the.Vanguard News Network as _forums to express
                  his extreme views and.advocate his racially inflammatory
                  positions . . Overthrow.com is a neo-nazi site owned and
                  controlled by WHITE.
                                       WHITE, using the ANSWP title, continues to use the
                      ANSWP/NSW internet sites to advocate violence, theft crimes
                      and harass individuals and entities. Most recently.WHITE has
                      stated that the employees of American Electric Power (AEP)
... _______ -----~--~·mus.t...b.e __ killed. ___ ..WHITE-made . .the·. posting on..a ..blog after a. __________ ---
                      billing dispute with AEP. WHITE has al-so advocated to his
                      "comrades" to steal service from AEP.                    ·
                            WHITE has supported through NSM and more recently
                  ANSWP, violent crimes such as the Columbine High School
                  shooting incident. He was also one of. the organizers of the
                  NSMmarch in Toledo, Ohio in October, 2005 that resulted in
                  rioting by anti-~rotesters.    · · ·
                                                                                                                      l:
                                                             a Domestic Terrorism                                     l:
                  C                                                                                                   l:




                                  Based on the intention of WHITE to expand ANSWP into                                l:
                  New Ramps                                                           opening of the                  l:
                                                                                                                      l:
                  captionedl;,-.;..-;---==---:-:-~-=:-r-;;-:-:-;-:::;--;.i:"":'~:1't:'1ton has discussed the
                  ope                                                                   f the Roanoke RA and
                  SSA                                                                   recommended the


                      ..,_...,....-..,,.-, has advised of the preference of Richmond Division
                        not   i   vert resources away from the criminal inves,tigation

                                                                2
                                     .-   ;.:·;.   .   "'"   ,,   .
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 383 of 487 Pageid#: 6152               .   --:i




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                               ,·

         To:        Countert        ; o~ism                  From:        Boston
         Re:   100A-NEW,· 05/31/2008


         against WHITE. Richmond Division does concur with the opening
         of the TEI in Boston Di-vision, Bedford R;),_.
                   Boston will. keep Richmond Division and other vested
         divisions advised of any significant developments in the TEI!
         which could be helpful to their criminal investigations.




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                                                                                   FBI( 16cvi;--J48)-~
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 384 of 487 Pageid#: 6153


           To:           Countert         orism     From:    Boston
           Re:    100A-NEW, 05/31/2008




          Set Lead 1:         {Info)

                  COUNTERTERRORISM
                         ~ ··orou j
                         Read and clear.
          Set Lead 2:         (Info)

                  RICHMOND
                         AT ROANOKE, VIRGINIA
                         Read and clear .


  . ---- --- ---Set.. Lead-.3-=----(Disc:retionary-) .

                  ALL RECEIVING OFFICES
                    Advise Boston Divis~on of ANSWP related activity as
          appropriate.




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~~-==============·=],7""",'""''=·';;'····a.c.,=<~-=··~=='.·=-·:~~=-··~-,='
   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20                   = =Page
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                                                                                         487  ====
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                                               EX If! I 8TH' N(:m)

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               Precede~cag        PRIORITY                                    Date~   07/08/2008


                                                           Attng     ~---T~===~~=-='                           l:
                                                                                                               l::
               Fromg        Richmond
                               Roanoke RA, ~rnrnd ?    ·
                               Contact:   SAf·T David Church
                )


               Approved By i     I                                   1·-_

               Drafted Byg
                                 .......------,-.,-,.--------
                Case ID #g 44A-RH-53908-·t'u(~ending)

               Titleg        WILLIAM A. WHITE;
                             MULTIPL~ VICTIMS;
                             RACIAL DISCRIMINATION-FORCE AND/OR VIOLENCE
                                                                                                               b
                                                                                                               b
                                                                                                               b




               Detailsg  By way of-.background, Bill White is the self proclaimed
                Commander 11 of the American National Socialist Worker's Party
                11

               (ANSWP) and currently resides in Roanoke, Virginia. Previous to
               White's formation of ANSWP, White was a member of the National
               Socialist Movement (NSM), which      curr~ntly~...,,,,,_..,._,,,,....._.._."""-____
               Detroit                               ·       J                                                 b
                                                                                                               b
               which was        at one time                                               It is
               believed·
                         Bill White is also the owner and creator of a Nazi
               website, www.overthrow.com. White created this website before he
               left NSM and began'ANSWP. The site is vehemently opposed to
               Jews, homosexuals, blacks, and others. White frequently post
               articles on this site about various topics. One of White's most
               used harassment tactics is the posting of individuals personal
               home and telephone information.on Overthrow.corn and VNNforum.com.
               In most cases, these posting occur after a media covered incident
               related to racial tensions. An example of this is the Jena 6
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    Case 7:08-cr-00054-EKD Document 411-2 Filed    10/05/20 Page 386 of 487 Pageid#: 6155
                                           __&_· - ' . :.




             To : i      JFrom: Richmond
             Re:: 74A-RH-53908, 07 /0.8/2008


             trial in New Orleans, LA. White, on occasion, will also follow
             up his postings with a telepp.one call to his intended target of
             the threat.
                 .     _In February, 2008 1 the shooting of a black female by
             local police SWAT in Lima, Ohio, spurned many postings by White
             in addition to hate mailings and the sending of a noose to the                                 l:
             local.NAACP (leaderjin Lima. It has yet to be determined.who sent                              l:
             the noose...   .          ·   ·                      -
                       In addition to Bill White's national exposure through··
             his website, Overthrow.com, White came to National attention when
             NSM staged a march in Toledo, Ohio in October of 2005, which
             ultimately escalated into riqting in the streets by anti-
             prctestors. Bill White was one of the organizers of this march.
                             White has also garnered national attention at various
                cimes through his vocal support of heinous crimes. For instance,
               Bill White expressed support for th~ Columbine High school
        -------shGoters---i-n--1-9-9-9-,--and_..:-,more--recently, indicated approval for the - - -- - --
              · deaths of United States District Court Judge Le-fkow' s family in
                Chicago. Illinois. White was quoted in the press as saying:

                          I                                                                    I            ]:

                        I bad                                                  ~ don't feel
                                  that Judge Lefkow's family was murdered today. In
                                                                                                            l:


                              fact, when I heard the story tq day, I laughed. 11
                        Especially over the last few years, White has become
             one of the nationally known "faces" of the white·supremacy
             movement. His harassment and threats through radio and the
             internet mediums, specifically, the Vanguard News Network.
             website, Overthrow.com, e-mail communications have led to
             nume.rous victims throughout the United States.
                  I



                       Currently, Richmond-Roanoke RA, USAO, and DOJ are
             investigating White's numerous threatening communications and·
             possible civil ·rights violations.
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r-·.Case 7:08-cr-00054-EKD
                                               ·~•1 • ..-. - '·    .       -
                                     Document 411-2 Filed 10/05/20 Page 387 of 487 Pageid#: 6156




              To :   !           !
                                 From: Richmond
              Re:        44A-RH-53908, 07/08/2008



              critical ofj Wi eseij in                     can be
              found for refernece at'--:====----~-------~~



                                                                                                                                                     ]:
                      - .On                     Bill White osted                                                                                     ]:
              Overthrow.com website regardin
           !-               I
                       through a very graphir~~"i-,,~,..,...,,,......,,~_ _ _ _ _ _ _ _ __.

                        USAO and DOJ belief this posting constitutes a threat
             toward!          .1 In order to fully identify all possible                                                                     •   I   l
             occurrences of threats by White, it is reauested that~~----~!be
                                                                                                                         RA,!\
                                                                                                                                                     ]:

             lo'cated and advised to contact         Churc-h._JRoanoke                 sAl                                           l
           I       las soon as practical. Please also advise!              _:__to
             maintain· all records! s Ii e Imay have .inJ her !possession related to
             the above described threat to include e-~·received from White
             and documentation of any telephone c a l l s ~ a y have received
             from White.     -
                                                                  ----,;;;;;;;;;·-;;;;--;.;;-..;.·--'-~==;;---- --- ------·-
                                Furthermore                       AUS                                    is re                                       l
                                                                                                                                                     ]:

                                                                                   and Roanoke         RA realize t                                  T

                                                                                        cost associa e wi
              appearance                                                           by the USAO' in Roanoke,
                                                                                                                                                     l:
                                                                                         ltg cg,itagt s,iJ Chur·ctl_eve~;i~

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                                                                                                                                                     ]:


          I                                                                                                                                          ]:


                                                                                                                                                     ]:
                      Recent attempts to contact!~·----~                                                                                             ]:
            and the USAO in Roanoke, VA, have been        41==...,..~-
            Specifically, several requests to contact                 have.been
          . sent tol                       I
                               e-mail address at            .       ·           · th
            no Teply received. When a telephone
          I I inquiring to speak with             jwas ~. aced, SA h u r ch was    I
          ~ m e d they had no way of providing contact information or
            thei~ ·                     except for _e-mail.                    I



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           . \                                                                                                                   FBI(16CV948)-
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       Case 7:08-cr-00054-EKD      Document 411-2 Filed 10/05/20 Page 388 of 487 Pageid#: 6157
~·~~'::F'.eiEFr=:s7XCZ'~-~==-""'·=··='""'"

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            .   '




                          To:
                          Re:
                                              IFrom: Richmond
                                       44A-RH-53908, 07/08/2008



                          LE~.D (s)      g


                          Set Lead l;'            (Action) .

                                                                                                                                           l:


                                   I
                                 .__,,.-;,-------;:::::~------,
                                        Request that             b located and advised to
                            contact SAi · .iRoanoke RA, at · .        . ·   . Pleases.
                          . advise!     .  . ~maintain all records sh§ may have in · 13 er_
                            possesE?ion related to the above describe t_reat to inc_u e e-
                            mails received from White and documentation of any·telephone
                            calls!s_h£_jmay have received from White.                      ·
                                             PJ ease i nforml                                                                              l:




                                  ....------P=-=1-==e,..a..._s""'e.._.,frovide all contact information. fo~...______.lto
                                                                                                                            J              l:
                                                                                                                                           l:

                                                                                                                                           l:
                          SA~i________,_                                                                                                   1:




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          Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 389 of 487 Pageid#: 6158                                                                        1
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                                                              EXHI BI T N('t:1 f                                                                                    l
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   "' 01-31-2003)
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          Pxecedencei                           ROUTINE                                                                   Date~   07/10/2008
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          m .....                                                            "'-" .J-.!... ....... -   1""'1"1\   f"'il                                       b6    l
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                      I~ -   '"   '   I   .,                                 ~#....~~.!.ii             o.n..y=·= = = . . . . _ , ~ ~ - = =

          From~              Richmond
                                Roanoke RA·
                                Contact g SAj T Da v i d Ch u r c h                                                                      I
          Approved Byi                           ss·RA Kevin L Foust
          Drafted By:

          Case        :m # g                   44A-RH-53908      (Pending) =-So
          Title: "WILLIAM A. WHITE;
                                  MULTIPLE VICTIMS;
                                  RACIAL DISCRIMINATION-FORCE AND/OR VIOLENCE
          SynQnsls·                       m
                       re uest Newark ·sAC concurrence with the travel of SA
        loavid.Churef:to Newa-rk, New Jers~ to concl.uct an interview related
                                                                                                                                                              b6
                                                                                                                                                              b7C
                                                                                                                                                              b7D
         to captioned ma er.                 ·

    . :.. . _D1a_tg.j,_J.13_;_____ Ac ..person ___ 3"..nowh.             l
                                       t_o the Newark Division cks-bel-ieved to                         I                                                     b.6
                                                                                                                                                              b7C
          have - extensive information· relat.ed to the . American National
         .soctali~t. Wo_rker' s Party (-ANSWP) and William White, the· Commander                                                                              b7D
          of the ANSWP.       sA(Church wi11 · travel to[~~wark  I on 07/15/08,                                                   I
          co·           · ·     · · on 07 /16/08, and depart on 07 /17/08.   SA
          GJS '             Newark FBI, is assi tirl.':'' in coordinating the
          in erview wi      A Church nd SA Brian Russ Cleveland FBI, Lima RA.

            -       Richmond SAC Jennifer S. Love, concurs with the travel
          of SAeu.r.c; to Newarto,                              VI
                                     s;i on3 in order to participate in the                                                                                   b6    '
        . interview o this individua.                                                                                                                         b7C
                                                                                                                                                              b?D




                                                                                                                                                  FBI{16cv948)-762n
 Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 390 of 487 Pageid#: 6159

 <,,_.




                                                                                  b6    ,
.To: Newark        From:      Richmond                                            b7C i
Re:      44A.,;RH-53908,   07/10/2008                                             b7D '



LEAD(s)      g


Se.t Lead 1 ~      (Action)


         I
         NEWARK:
                                   I
                                                                                  b6
                                                                                  b7C
                                                                                  b7D
                                                                                            -,_




.--------"'~~~--6==....u..,.;i......,.~C concurrence with the travel of SA
                                       for the interview of the individual




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                                                                     FBI(16cv948)-7622;
   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 391 of 487 Pageid#: 6160                                     ~9
 .•·                                                                                                                            j)
                '#.
                                               EXHisrr       ··N(o)                                                             i
(R3V. 05-01-2008)                                                                                      i'I                      '
                                                                                                       1 •




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          Precede:nceg          IMMEDIATE                                             Date:        08/28/2008
                                                                                                                          b6
          To:         San Francisco                           Attng           SSA j
                                                                              Squa_d,,......,C~-~7,.,__~--                b7C


          From:        Richmond
                          Roanoke RA,
                          Contact~ SA

          Approved By:           SSR A Kev i n L F o u st.

          Drafted By:
          Case ID-#: 44A-RH.,.53908               (Pending)- ( ()

          Title:        WILLIAM A. WHITE;
                        MULTIPLE VICTIMS;
                        RACIAL DISCRIMINATION-FORCE AND/OR VIOLENCE
       , SYJ;l:o. psis;      -• To req:uest service of encl of ed Grand ,J11rv Subpoena for                               b3
        I Eric        Hunt    ! Referenced   telcal with S S A ~ - - - - - - - - - - - - - - ~ I                          b6
                                                                                                                          b7C
          Enclosure{s): Enclosed for San Francisc0-is·-one-original and one
          copy of a Grand Jury (GJ) Subpdeha forl Fri 6 H'Int ·!Also attached
          to the GJ Subpoenaf                                                                I
                                                                                                                          b3
          Detail~:                    Roanoke· RA        re        ests San Fr ncisco se
                                                                                                                          b6
          enclosed-·~-"""""!.!,bb,-"""YEric Hunt
          recentl                                                                                                         b7C




                                                                                                                          b3
                                                                                                                          b6
                                                                                                                          b7C




                                                  UNCLASSIFIED-



                                                                                                             FBI(15cv948}--7699
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 392 of 487 Pageid#: 6161


                                                                      D~CLASSIFIED

          To:         San Francisco                             From: Richmond
/         Re :        4 4A-RH - 5 3 90 8 ,                     o8 / 2 8 / 2 OO8



          LEAD(s)g

          Set Lead 1~                         (Action)

                      SAN FRANCISCO                                                                                                         b3
                                                                                                                                            b6
                                    AT SAL~ FRAl.~CISCO, CA                                                                                 b7C




      r----,,_,-..,..,,..,.,....--.....,,..,,...........==---,.,,.......,,..,J       - - - - - - - - - -(cell) o ...._______.
      L.-~-""'-'='='="'===--,an coor ina e servi·ce of t                                       e enclosed GJ Subpoena
          on      .           Please serve the original                                       subpoena and return to
        . Roane e RA. £:i::_md_d.e..J Hu n t k,Lth_ copy of                                   subpoena and the
          enclosed               I ·
          questions-.------------~
                                                   ~ Contact                 8                SAi -SAM
                                                                                                ·
                                                                                                               tith any
                                                                                                               ·


      - ---~~   ---   ------·   ·-------·   - --- -··   - -·                                                           -   --------- - - - -
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      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 393 of 487 Pageid#: 6162                                                                                                        =;i,,

                                                                                                                                                                                                   '

                                                                                   EXHIBF(N(p)
FD-3 02 (Rev. l 0-6-9 5)



                                                                                                                 -1.:

                                                                     FEJDJEJRAL BUREAU OF INVESTIGATION



                                                                                                                                 Date of transcdption     09/23/2008

                                     . surveillance was condm;;ted on • 9 / 2 3 / 2 m o
                                               VA, by s:Ajo av i d Ch u r c I}] and SA SH M
                                                                             ..L.A.~~,,,;;,
                                                                                                                                                                                         b6
                 .                         · (below referred to as ITresidence             is                                                                                            b7C
               isted as being owned by William A. White by the city of Roanoke
              GIS website. The residence appears to be sub divided into four
              separate apartments.
       s      7:30 AM
                                          ~~gr,.            sunrei l l a nee.                           ,~:~i~q             t~    ;:~~~~=~iI onI                               I.        b6
                                                            i par[ed on!           --    dire._c_t,....I"""y-1.....n---                                                                  b7C
                                               front of the residence.
                                          2. I
                                             · parked onl
                                                                   i:t,earing,VA registration!
                                                                       adjacent-to the reside~n_c_e-.--~         j                                                              i
   _cer :          12 AM                  White male- wearing                                     al                              I of
                                                                                                                                                  !exits the
                                                                                                                                            the residence and
    ~ sits                 on the f rent porch.
                                                                                                                                                                                    . -:co-·---.
                                                                                                                                                                                      b7c·

      ~ 8:16 AM         White male and two white females exit apartment located
            l~--------...-....,...,-------------,,..._JI
     ~leave the area in·thel       --
     e,_,, 8 : 19 Al"\1 White male -with!
                                            --_ ___         ·.•.         ,· . -~·---
                                         ...-_:_-_-_-_-_ ....................._--_--______.
                                                                           ....
                                                                                            All three persons

                                                                                                !walks back to
                                                                                                                             _____                                                       b6
                                                                                                                                                                                         b7C
                                                                                                                                                                         I
     ~        8:23 AM -1                                        lwhite male exits the aoartmentl                                                                          I


     UB:31 AM  White male wit i                                      !leaves the
    ~residence and walks downl..._______1~-a_w_a_y_--f-r_o_m
                                                 I             .                   1
                                                           __t_h....e residence toward
                                                                                                                                                                                      b6
                                                                                                                                                                                      b7C
     ~ 8 :42 AM White male with!                                                    returns to the                                          I
  ~residence and enters the:1::-_=:--=:-_=:-_=:-~=:-_=:-_=:-_=:-_=:-_=:-_=:-_=:-_=:~I
                                                                                                                                                                                          b6
   · ~ 9:0~ AM  White male wit~~~'-----,________,.......Jileaves the                                                                                                                      b7C
 . ~-residence and walks downl                           jaway from the residence toward
                 !_again.



      Investigation on
                             -----,~i'l!------
                                              at                                  Roanoke, VA
      File#        ~:::-':"7:":"......."'"""......--'="""'-'"""'--...,._-,'.:::..:9::.:4:.:3:...'...7-_if_!_._   ___:____   Date dictated   O9 / 2 3 / 2 d, 0 8
                                                                                                                                                                                          b6
                                                                                                                                                                                        - b7C
                                                 Church

      This document contains neither reconimendations nor conclusions of .the FBI. It is the property                             of the FBI   and is loaned to your agency;
      it and its contents are not to be distributed outside your agency,                                                                                            FSI(15cv948)-775:!L
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          Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 394 of 487 Pageid#: 6163                                                                  '
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                                                                                                                                                       b6
              ,,....·9~·-•1~1.,_,·QA~M~·_,__ _ _....,....I~·J~,r~h~i.t~e'-"'ro"""'ale re-enters the apartment located at. the
                                                                                                                                                      .b7C
                                                                 · jres idence .
              L...:------:=============-
               9: l 3 AM i              lbearing                                           drives
                      by the residence on_j__._   ______ J hear.,!,,l,l,,l--6~~.kh.i!~~-------~
                      White male· driver appearing to have
                                                                                  "---------'

                                                                 7J .·
                      9:15 AM           I          ·.        ·       lbeadna
                                                                                   vjt~!~;~1._r_;:i_t_,_·o_n_l....,....____n_r....,l ~re_s
                                                                                                                                                       b6
                      by the 7esiden7 e · a.a a in on                                                                                                  h'7C
                      Turns '.right on l      . ·
                      9: 25 AM   White iriale with! ·
                      residence· and walks to the11.--r_r_o_n~t_p_o_r_c=h~_-.-----~
                                                                                    returns to .the          I
            ... ~oneIblock· form
-- -----· · ·-- L..=.J
                             Ivehicle · (:i;>oss~12_1_~
                                 residence.            i...---------'                                      dr,ty~13 _down     I           -. --------1-- ~~c~ .
                      9: 27 AM I·                                                !bearing VA registration
                                                                                       I
                                   i_d_e_n_c_e__....o-n-:_jr-_-_-_-=--:_-_-_-_...._-=:_'-"_~I toward
                      bv the res'-....                                                                .·     I - 11..l-=----_..ii
                                                                                                                   Turn left on
                                                                                                                                  drives

                  i              ·-1-

                      9:37 AM -I                                                                                                                       b6
                                                  lcar onl   _ _ _ _---1.  ·1   drives by the residence (possibly
                                                                                                                                                       b7C
             .1
                      2;~~ AM I               r-=icar on! _ _ _ ____.!drives by the residence (possibly
               I
                      9:47 AM               While.· Tale with!    ··                                        .i walks . down
                  I                             . · ·-toward downtown Roanoke.
                      9:54 AM               White male wit~-                                                 Iwalks       downl                        b6

                  I                                                                                                                                    b7C

                      9·55 AM               White male with
                                            lof the residence.
                                                                                                                 enter~   I
                      11:15 AM              Surveillance ends

                                             Ba~ed0n   ~be above.
                  ;,-·w~h=it=e~mal;:Oa...,,le with! a: E          f_._
                                                                       ob:1rvat
                                                                          i ans it annears tbat the
                                                                     .. ---------------.                                           I                   b6
              .!                     I       locate a the rear o                            :                         _1-,- - - '
                                                                                                                                                       b7C

                  _ _ _ _ _.;;.N;.;:;ote: _Both SAi  land S                                                                                I
                  I                                                                    ____________
                                !bearing VA registration.._··...• ~=-c=d~aa....J~--=~~asions
                  driving around the block adjacent to ...._                        __,




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                  44A-RH_-53908; 266N-CG-?????


    Continuation ofFD-302 of    - - - - - - - - - - - - - - - - - - - " - - - , On 09/2312 008                                             ,Page   _....:3~-



                   spoke to
                                   .thej_.
                                     A,~~e:-_
                                           tbe rurv_·__ eilla~ce ended,_ SA                                                  SA SHM
                                                    _ wh1 te maJ.e o~b=s~e..:;rv...:,.:;e~d.:....;o=--:.=""'--~~~~~---"---=--i
                                                                                                                                                                b6
                                                                                                                                                                b7C
                 I            J an eterm1J.~e:;;.i.; , l . , _ , . J , a . b l ~ , _ . . i , ~ e , i . , b . ~ ~ ~ ~ ~ - ~ ~ ~ ~ ~ - ~ ~ ~ 1 - - - - . . I
                   of the residence~w!!.;!:i~t~h::..J....__,._._,........,...._ _ _ _...--....-_,,.-,-,,---,-....-.--,-----.--r'--i
               .I                 L_The                    __ w .1te .ma_e state                                   .is· name 1s
                 I I advise, tha_rt~t~e:"'.:_=-n--.......ii
                I               J SA Ch u r c h an                                                                                      ment
                   door located at t e 1 e· .--                                  .                                                     one
                   answered. The front door of the residence, which is wood with
                   glass; appe~s to be the main entry for the residence. · ·SA.[6'h u r ch                                                           I
                   and    sA!
                          SH M         7
                                     could see through the door while standing on the front ·
                   porch of the residence and observed numerous construction materials
                   being stored in what would- be the foyer of the residence.                                                         It is
                   noted that there :are :·no identif ing numbers on any of the apartment
                   doors at ·      2 -Patter s o n v ~ n u e                      There are mai lboxes__on __the front
                   door, however, t ere association with particular apartments is not
                   discernible.

                                 SA!Churchl and SA[SHM ! left the area of ....................                                                                  b6
               ~venue Lat approximately 11 :40 -~· _ in __ S,fc;l.er to assist                                                                                  b7C
               ,._[_ _._ ____.] SA I     Iwas surveilling Bill White. White was -in
                   vehicle and had left hi~ apartment on was driving toward the
                   Roanoke downtown area.· This mobile surveillance is documented in a
                   separate FD-302.
                                                                                                                                                                b6
                                                                                                                                                               . b7C




                        ·    · A che~k of VA PMS! re:srfral·ed that. van.;;.;1;;;.·t.;;;.Y.,__....;;t;.;;;~;;.,q"-'-l_ _ __,___1_·""'s~                         b6·
                   registered to a{         · · ·      lbelonging to!, -----=-!1----,..._ _ _---1                                                               b7C
                I._·_ _ _ _· - - - - - - - - - - ·_ _ _ _ _       Roanoke, VA, ...          _,!                I _ __


                [
                  -~---"'A=c;h=e~c~k,__,o~f.,__V~A~ DMV revealed thatL ·
                  al
                                                  .
                                                    14 door beJ o·oai
                                                                      -~~o~k~e~,~v~A~~-
                                                                                           rg t67
                                                                                      lis- re-~istered to
                                                                                             J
                                                                                                                                       I
                            After mobil'e surve'l                                            ded, SA[JJ!E....] re-e.~tablished
                  surveillance at 1602 Patt·erson                                            and observed the f0llowing.

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Continuation ofFD-302 of   - - - - - - - - - - - - - - - - - - - , - - - - - , On   09 /23 /2 0 08   , Page _ _4=---


              12:25 PM Surveillance begins.
              (approx. time)
                                                                                                                       b6
                                                                                                                       b7C



                                         eft the residence and walked toward " - = - ~ = = ~ ~ - = '
             ~1~2:a:..-:~4~5'--=-AM=-=-__B....,oth white males observed standing in front   of!
             ~'----~~I                        talking to each other.                            L.-~--

                 1:30 PM   Surveillance ends.
             _,) (approx. time)




                                                                                                      FBI{160.1948)-7758
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                          Precedence;       ROUTINE                                 Datei      10/08/2008

                          Tog       Charlotte                         Attng   FaY.ettevj    J J e R~ ··
                                                                              TF9._:_·-~-------'
                          From:      Richmond
                                        Squad 7, Ro~"'"1~-.3.=-~---~-------.
                                        Contact: S       Church

                          Approved.By:      SSRA Kevin lL Foust
                          Drafted By:

                                                            (Pending)-    f 3lt:,
                          Title:      WILLIAM A. WHITE;
                                      MULTIPLE.. VICTIMS;
                                      RACIAL DISC~IMINATION-FORCE AND/OR VIOLENCE



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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 398 of 487 Pageid#: 6167
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             .To:   Charlotte     From:     Richmond
             Re:-   44A-RH-53908, 10/08/2008




             LEAD(s)   ~


             Set Lead ·1~.    (Ac'!::ion)

                    CHARLOTTE
                           AT FAYETTEVILLE, NC

                                                                                                  b
                                                                                                  b
                                                                                                  b
                                                                 requested l?Y SA· avid Church.




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   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 399 of 487 Pageid#: 6168                           -~
                                            EXHIBIT N(r)
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           P~ecadencei           ROUTINE                                  Dates       01/22/2009

           Tc~          Richmond                          Attn~             ______
                                                                        F~,__                 ......          .b6
                                                                                                              b7C
           From:          Richmond
                              Squad-?,
                             -Co:ntactg
                                             -
           Approved Byi SSRA Kevin L Foust
           Drafted By:

           Case ID#: 4"4A-RH-53908               (Pending) -      8..} 5
           Title:          WILLIAM A. WHITE;
                           MULTIPLE VICTIMS;
                           RACIAL DISCRIMI~"A.TION - FORCE MlJ/OR VIOLENCE

           _Synopsis i Rf guest op-goj-Jg---f-i--naneial ass-ist-ance--f-rom Financial----------
           Analyst (FA} ________-- Roanoke RA 1 in captioned                                   hG
           investigation.                                                                                     b7c

           Details_'! FAI                        I
                                        . Roanoke RA, has been providing .
                                                                                                              b6
                                                                                                              h7C
           a n a l y t i c a l c t o capti~ned inves~~g~tion since it~ ope~ing.
           To_ date, F            has provided analysis on numerous financial
           documents o taine through investigation.             ·    .        -
              .              Roanoke RA anticipates that additional financial
           materials will need analysis as investigation continues· and
           additionally anticipates going t:o trial on captioned
           in:7estiga~ion in the Summer or Fall of 20-09.
            this continued support, Roanoke RA requests that FA_     . ~
                                                                                Due    tr   tby:       ne;d   b6
                                                                                                              b7C
            continue to assist in the .analysis of all financial mate~ia s
            related to captioned investigation. Roanoke RA believes FA
          j    ·     lsupport .to this case will play an important role in the
            prosecution of this major case.




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F,   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 400 of 487 Pageid#: 6169     ---~
I




         To:    Richmond      From~   Richmond
         Re:    44A-RH-53908, 01/22/2009




         LEAD{s):

         Set Lead li       (Action)

               . R1CHMOND ·

                     AT ROANOKE, VA

                   · It is requested that F~ • ·    --- ---1 continue to                  h6
         provided analytical·support of financlai materials obtained as a                 b'7c
         result of investigation in captioned case.




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    ·, \Vhite's life on fringe p1rts hL111 .at center·of storm - Roanoke.com .                             Page 1 of7
                                                                                                                             il
                  ·                    A          EXHIBIT N(s)·


      Sunrlay, July 26, 2009


       VVhitevg Ufe on fringe put§ hirri at cen.t®r of st~:rm
     · Th~ Roanoke ne,o-Nazits id.;;ofogjcal Ieanrfogs wei.::~Joreshad;0wed by his earlry feeJmgs of t 1m.i!l~'lt~
       superiority.1 i
       By Laurence Hammack
       981-3239


      At a time when the power of the Internet was untested, one of the first people to see its dark potential
      was an 18-year-old college student named William A. Whlte.

      In 1996, when White was a sophomore at the University ofMa:ry:and, he became convinced, based on . ·
      hearsay alone~ that a teenage girl he'd never met was being abused by her mother.

      White aired the allegations online, along with the mothels name and telephone nmnber. He urged
      readers to call her at home and berate her. About a half-dozen did.

      Emboldened by the controversy he created, and thrilled by the national media attention he received,
      White continued to pick fights from behind his cofuputer screen over the years, even as his p~rsonal                    I
      beliefs swung wildly from far-left anarc~ to fi1r-riggt white supremac~t_____________ _

      After moving to Roanoke in 2004, White formed a neo.:.Nazi organization.and began to rail against his·
      so-called enemies of the white race: the uNegro beasts" and the "Jewish disease/'

      Now, White is in the midst of a free-speech battle with the federal govermnent.

      A U.S. District Court judge in Chicago-last week dismissed a charge that White used his Web site to
                                                                    a
      encourage violence against a juror who voted to convict fellow white supremacist. The judge ruled that
      White's actions were constitutionally protected.

      Prosecutors are considering an appeal, and White fa'ces additional charges in Roanoke of making threats
      by e-mail and on his now-defimct Web site, overthrow.com.                   ·

      So it may be too soon to say for sme that the First Amendment -- the traditional sanctuary for those who
      employ printing presses and microphones - also protects a hatemonger who uses the Internet to blur the
      boundary between free speech and illegal threats.                                      ·

      Equally uncertain is whether V/hite will drop out of public view as a neo-Nazi leader o~ce the criminal
      proceedings are behind him, as he recently suggested he might ··                       ·

      But this much about White seems clear: Diagnosed as a narcissist prone to histrionic behavior, the 32-
      year-old is driven by an insatiable desire for attention.                              '
                                                                                                  :
      "Anything people say or write about me, whether good or bad, is ultimately good for me and my cause, 11
      White_ told The Washington Post in 1996, after his first Internet caper thrust him into a fedia spotlight.
                                                                                                  :                  .



      "Actually it would be better if the media trashed me and made me look like evil incamJte, he said~
                                                                                                      11


      "because if they said, 1Bill White is a good guy/ everyone would shrug their shoulders imd forget about
      me the next day. 11                     ·                                              I                       /}#,\
      http://wwvv.roanoke.co'm/-news/rof!IJ.oke/vvb/213109 ·
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       tr   W}tlteis life on fringe puts him at center of storm ~ Roa.noke;coin                                  Page 2 of 7                 l-
                                                                                        ,v._1   \         /




            By 21)1'"8, Whit~ had become "possfoly the loudest and most obnoxious:~Nazi lea<J in fu-nc;rica,'
            according to the Southern Povertj Law Center, which momtors hate groups. Overthro-J.;.com was his
            megaphone, a11d VlJrite boasted that the Web site attracted nearly 3 million ~isitors a year.

            Applying the ski11:, he honed. as a cc1foge s-::Udent, \Vhita lashed out at-whoever o.ff-Qnd~d :his bigotry.

            W11en thousands marched in Jena~ La., to support six black teenagers charged with assault, Wnite issued
            a call to nLynch the Jena 6." When Barack: Obama ran for president, he published an image of the
            candidate in the sights of an assassin's rifle, the cross hairs extended to form a swastika.

            Even something as innocuous as soul music playing at Starbucks could inspire another rant from a man
            who loves to hate.

            "Whatever gave these animals the idea that they had souls?" 'White v.rrote on overthrow.com in 2007,
            after a visit to the coffee shop; "If we piled them up in camps and set them on fire until the black smoke
            from their black skins blackened the skies, we would be doing the world no wrong. 11

            Defiance eame early

            William Alexander White grew up in a suburban neighborhood of Montgomery ·county, Md. The oldest .
            of three boys, he was a remarkably inteI:igerit~child who began to show his defiant streak at an early age.

            White1s IQ was Mice measured at above 150, according to a school psychological report, and at the age_
            of8-he was placed in programs for talented and-gifted students.- -------· ------- ·              ---------

            "I cannot say I did well with other 1gifted1 students, II White wrote earlier this year in a letter from his jail
            cell to The Roanoke Times, one of several in which he described his upbringing and political views in
            scrawling longhand that filled more than 25 pages ..
            11
             In retrospect, I would say that my problem was the. overwhelming Jewish population of my elementary
            schools and the overwhelming black population of the Magnet schools (which were used to integrate ·
            black neighborhoods). 11

            Starting mthe ninth grade, White became rebellious· arid verbally abusive to his teachers and was
            charged as a juvenile with threatening a principal, according to the psychological report, which White
            posted online years ago. He also began to develop his outlaw computer skills, hacking into the school
            computer system.              '

            Manfred Smith, White1s eighth-grade social studies teacher, recalled White as an avid reader who loved
            a debate - to a fault. "He was argumentative, insulting to students, and wanted to dominate any      ·
            discussion/' Smith said.                                                            ·

            Suspended repeatedly, White bounced from school to school. attending three high schools by the time he
            graduated from Walt Whitman High School in Bethesda in 1995.

            "\Vhite's family declined to be interviewed for this story. His fathe::-, a former research associate who
            specialized in defense policy for The Brookings Institution, mentioned in a letter "the anguish we are
            experiencing over Bill's childishly impulsive political posturing."                           ·
            11
             1 love my family verj much, and the feeling is mutual," his son ....-vrote. ;,But they strongly object to iny
            political views."                                                                            ·



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            http://v-1,JV'N.roa.11oke.eurrJnewf}/ro&7.0ke/wb/213109 ·                                               8./'J/2009        ;
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!         'vVhite's life on fringe puts him at center of sto.rni - Roa.1.oke.corf.(                          Page 3 of7
    1,




         Vi/hile his juvenile behavior deteriorated, White's intellect gre~w. ·                      J


                                                                                                     I
           . ~ time v1hen m.cst of hl~ p~e:rs v11er~ reading action· or romauce nov~ls, \~lbite vvas d€flOUTing the
         . A~t
         works of Sigmund 'Freud, Karl Marx and Roman philosopher lVlarcus Aurelius. A budding anarchist in
         high school, vVhite started a student newspaper ~tadvocated a "leftist utopian anarchy. 11
         "In a sense, one gets the feeling that William could easily be Dostoevski's prqtotype of the nihilist
         adolescent,".school psychologist Robert J\1ulcai.1.y wrota in his 1994 evaluation of White.
                                                                                                                                          . !
          11
          As he lounges there listening with his long legs propped up on a nearby desk, stroking bis sparse
         goatee, there is a tired, whimsical, sarcastic grin on his face, an adult-like manner in the way he attends,
         a pierging_brilliance_ in his eyes, and a feeling that his brain is taking in and dissecting the semantic,
         social and political significance of each and every word and phrase he hears."

         The way Mulcahy saw it, White faced a dilemma at 16: He desperately wanted the attention and
                                      his
         approval of his peers, but feelings of "innate superiority" -prevented him from emulating their teenage.
         antics in order to gain acceptance.       ·
          11
          S0, the only option left to him is to adopt the role _of the rebellious renegade, the outlaw, the loner, the
         one who goes his own path, 1' Iv!ulcahy wrote.

         Even today;-White insists that he fit in ·by acting out.
                                                                                                                             .   -- -   -----•~

         "I was quite popular in high school," he wrote in one of his letters. According to White, he was elected
         president of the student government association at Walt Whitman, only to have'the results tbrovm out by
         the administration.      ·
          11
          Scliool administrators viewed me then.much as the federal government views me now, 11 he wrote, "as a
         pain in the ass that must be silenced, laws and the rest be damned. It

         White did nm for association president as an independent, according to Louise Reynolds, a journalism
         teacher at the school. Given his reputation and penchant for profanity, adminlsttators were concerned
         about what he might say in ~s campaign speech. But they ~owed him to run. He losl

          Testing the limits of   free speech
          White headed off to the University of Maryland in 1995. He majored in psychology, dabbled in anarchy,
          and continued in his role-as campus agitator:

         Other members of the Utopian Anarchist Party said he showed no signs at the time of the racism and
         anti-Semitism.he would later preach so fervently;                                    '

          "Bill White is considered a traitor by myself and others in the anarchist movement, 11 sai:d Luke Kuhn, a
          member of the anti-authority group. "I don't know if he ever honestly supported left-wing causes. I know
          he used to claim to. But he sure as bell is a Nazi now."

          In 1996, the group held a lecture on how to find police officers at home and hann them, using
          explosives, arson or guns.                                                            ·
                                                                                                         I


          White -- who had been convicteq. of resisting arrest earlier that year --- said at the time he wasn1t
          advocating fil1)'ihing, just explaining what had been done_ in the past.     ·          :_     I
                                                                                                                  FBI ( 16cv948 )-8230
          http://viJWW.roanoke.com/news/roanoke/wbi2 l 3109                                                       8/3/2009
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 404 of 487 Pageid#: 6173
                         - }.dm at center. of storm - R.oaholce.~ori1
 White's 1ifo on :fringe puts                                                                                  Page4of7


 nobvio-usly, it didrJ!t go ov.er vv~ll in th.e law ien:fo:rcan1ent coI11J.--nu..--tlty;' said Paul Dillon, who w.as a
 sergeant in the.university police department at the time. 11 But it is a free courrrry, and b.~ had a First
 Amendment right to do what he did."                                   ·                                  !

 fo_t the age of 18, ¥lhite hed become ad,ept at pushing his free sp~ech :rights to the ""+la.J~ ~dge oft\:e la.~v~
 And when he waged his online attack on the woman he suspected of child abuse, it marked a new test of
 the limits of cyberspace.                                                                                          ·

 White was not the :first Internet mudslinger. But his case was one of the first known episodes in                which
 someone published a home telephone number of their target ;,vith the intent of inviting abuse, The
 Washington Post reported at the time.

 Follovving the stir White created, authorities investigated both the substance of his allegations and the
 w~y he,aired them. No charges were ever filed against him or the womall.

The next year, White dropped out of college, :figuring he could make lots of money iri computers. He
was soon earning $80,000 a year for an Internet marketing firm in Maryland, he sai~ and later Started
his own consulting business.

· Unable to shake politics,_White ran twice for a seat on the Montgomery County, Md., school board, and
  then for the state legislature. He stuck to his anarchist platform, v:ith slogans such as "Vote for me
  because you hate them. 11

-He-lost-everytime. 11My sense was he was doing it just as a lark, t• gefliis name out there/1 said Steve______ -
Abrams, who won the school board seat White sought. "He's always been on the fringe, and he's never
had any followers at all. 1'                        ·



White later worked for a correspondent for the newspaper Pravda, he claimed, rubbing elbows with
prominent journalists at the National Press Club iri. Washington, D.C. But he eventually grew restless
and began to dream of starting a real estate company somewhere .:n the mountains.

 With his savings from work and $100,000 from the sale of his home as capital, White considered doing
 business in Wheeling, W.Va., and the Ohio River Valley. He wound up coming to Roanoke.

 White Homes and Land LLC

In 2004, White began buying houses in the West End, an impoverished inner-city neighborhood with a
high concentration of blacks. He fixed the houses up for rent, refinanced them and put the funds toward
buying more houses, paying between $50,000 and $70,000 for most. Before lo:q_g, about 20 homes in a
three~block area were under the control ofa new company, White Homes and Land LLC.                 ,

 White man:ied a real estate agent (his wife, Meghan White, declined to comment for this story), had a
 daughter and appeared to be settling down. The polar opposite of an absentee landlord~ he was in the
 West End almost every day, repairing his properties and dealing with tenants.          ·

But it soon became clear th.at Bill White the landlord was also Bill White the Internet racist.
 11
  N----- are plotting against my shrubs/ he wrote on overthrow.com, explaining how vandalism to his
 new landscaping had reinforced his view that blacks "cannot be trusted to conduct honest business. i1

 That post and others ~- including one in which White referred to his "Ghetto Beautification Project11 -
 led some peop:e to believe he was evicting blacks without cause in an effort to create               ru;i
                                                                                          all-white living
                                                                                                        I




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• http://v,rvvw.roanok.Fv.com/news/rofu~Oke/wb/213109 ·                                                           ¥,/3)20(.;'A)    ;
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 405 of 487 Pageid#: 6174
 W-:biteis life 011 fringe ·puts him at center of storm - Roanol&.cchl.
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 space. The Roai1oke N.A.fa. .CP filed a fair housing complaint ·vifith the U.S. Departrrient bf Housing and
 Urban Development, which investigated but took no action., - -·                   ·     · ·I
                                                                                                                                                                           i
 As he· became more outspoken about his racial views, White found few friends in Roa.tioke, even among
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 hotel, wearing a swastika annband and holding a sign.

 Although White said in his jailhouse letters that he has friends in tov.m, the only ones he named to ·be
 interviewed for this story were people with whom had casual encounters: employees at Lowe1s, for           he
 example, or a clerk at the post office. ·
 11
      It1s not like I've spent my life in Roanoke living in a cave, 11 he wrote.

  Whi!~'s JQm'~~rJ~nm1ts ~escrihed a landlord who was businesslike and courteous at first, only to tum
 .hostile. Angie Laymen said it was because she had biracial children. Scott Rayfield said it was because
· he dated a black woman. For Tammy Goad, it was because she had·black friends over to visit.
 11
      He was real snobbish toward them and turned his nose up at the:m, n Goad said.

 Kno"W11 as the white supremacist in a black neighborhood, White took to aiwJng himself. Goad recalls
 seeing him making the rounds wear.mg a bulletproof vest, a handgun strapped to his hip) holding his
 infant daughter .in a baby carrier. -.                                       ·

 White~wasmaking-~·reputationforhimself, one that would soon extend ·far beyond the West End.

 Alienating his own

 An angry mob ran through the streets of a Toledo, Ohio, neighborhood. Rioters threw bricks, bottles and.
 rocks at police officers. A bar was set afire. More than I00 people were arrested.

 And Bill White was in the middle of it all.

 It was a Saturday afternoon in October 2005, and 'White had driven nine hours from Roanoke to serve as
 the spokesman for a march held by the National Socialist MoveII1ent, a neo-Nazi group.

Considering that the purpose of the march was to protest black crime, and considering that most of the
rioters were black~ the event was deemed a huge success by its organizers. The riot drew' national
attention, .elevating White's status.in the white supremacy- movement.

 "I think he was a very powerful influence, i, said Justin Boyer, ~- foI'Il:1,er member of the National Socialist
 Movement who now denounces White. 0 Because when Bill White spoke, you could just feel the energy.
 It reminded you of Adolf Hitler when he spoke. It was powerful and kµid of mesmerizing."

Not long after the riot, '\Vhlte had a falling out with the NSM over a controversy he called 11 Satangate. 11
He and others accused some NSM members of be.ing part of a group that engaged in sexual discussions
withjuveniles ona "Teens for Satan11 e-mail group,
                                                                                                                                                                               I
 White fonned his o-wn group in Roanoke, the .American National Socialist Workers Party, which
 purported to fight for the.white working class.

 Asked to explain how he got involved in nationai socialism, White went on for pages. He cited the                    .                                                        I

 works of obscure·philosophers-= his strongest influence was JuliusEvol~ a Sicilian au'.thor and political
      4              .                                                                                                                                                         I
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 http://1;vvv'w.roanoke.cor.D.l.n.ews/roanoke/wb/213109 ·                                                                                                                                   g/3/2009
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 i-i:'       Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 406 of 487 Pageid#: 6175
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         !
              \V.bi~e's life on :fringe puts him at center of storm.. - Ro.a.noke.co:i:D. · ·                                                       Page 6 of7
                                                                                                                                               I
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              activist whcs~ views have been described as 11 ultri'lfascist 11                            --      and hls ovm vievvs in def6nse of Hitler. But
              he recounted fowreal-life e::rperiences or observations. ~                                             ....       -   .         )


:I            "The superiority of the white race, on the whole, for me, is such a trivial given that I n6 more need to
              impose it en tl1e world th&'1 I':need to ii-npose the color of g-ceen on grass, or fruit 011 anlapp1e tree," he
             ·vvrote. -                                      -                                               -

              If such views dre,N ot.1:ier neo-Nazis to "White, his self-absorption quicldy drove them away~ according to·
              Mark Potok of the Southern Poverty Law Center, which has followed White closely over the years ..
                                                          -'                                                                            .
              Following White's arrest in October, participants in white supremacy message groups expressed little
              surprise or dismay. One poster said White brought his legal trouble on himself with his "stupid,
              theatrical, self-aggrandizing ·ways. 11 Another wrote-last week after the _charges were dismissed: "Bill
              White _skates,_ but.is_still shtumed. 11                                               -



              White has declined to say how many members the American National Socialist Workers Party bas. By
              Potcik's estimate, the self-proclaimed 11commander11 of the national group has no more than 200
              followers.                                               ·

              "The guy is clearly an egomaniac, 11 Potok said. "Bill Whlte's chief concern has always been Bill White,
              and.th~t has.hurt him in terms of being any kind of a leader. 11                                 ·



              'Trmth' is in the telling

              After flirting with the law for years, "White was arrested in October for posting the name, address and ·
              telephone nmnbe.r of the foreman of a Chicago jury that convicted Matthew Hale in 2004.

              A white supremacist, Hale was sentenced to 40 years in prison for soliciting the murder of federal Judge
              Joan Lefkow.

              Although a judge dismissed White's charge last week, he remains in jail, facing additional federal
              charges in Roanoke. He is accused of using the Internet and the telephone to threaten people includin.g a
              newspaper columnist and a hum.an rights lawyer.                            -                           -

              Three different courts have declined to release him on bond. Federal prosecutors point to writings on
              overthrow.com that they _say show 'White is- a danger to the community.    -               ·

              Last May, White vvrote of waking up every morning with the urge to "kill, kill, kill. 11

              In another post, he said he had developed a 11very intricate plot for the murder of about a score                                      of
              Roanoke city's Negro nuisances and their annoying counterp$U"!s at The Roanoke Times."

              At a bond hearing last year, White testified that bis writings were not meant to be believed. "I write
              essentially tabloid news, half truth, half sensationalism and exaggeration, 11 he said.

              In one of his letters from jail, written before the Chicago charge was dismissed last week, White was as
              confident as eyer, vowing to beat the charges.
              "There are many peo_pie, including those in power, who believe any dissent should be c~ushed -with the
              destruction of the dissenter,'1 he wrote. "Further, there are many people who have deyoted their lives to
              destroying me only to find, to their frustration, I am beyond their ability to destroy." '



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              frtto://vr,.vv,1.roanoke.ccm.1'news/roanoketvvb/213109 :
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    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 407 of 487 Pageid#: 6176
'   ,. 'iiVhite's life on fringe puts 1-iJm af center of storm .:.,Roei.noke;com                                   I
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       'White also 1ivrote that, upon his releaSe, he plaris to withdraw from the 'Nhite suprematjy movement and
       abandon bis Vleb site, w1iJch the FBI shut down at the time of his arrest.                 I                I
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       "My intent, when I am finally. acquitted of all this nonsense, and such acquittal is inevitable, is to close
       my
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                                                                                                                                    '



       11
            I do not-intend to recant my views~ even ifI will quiet them. 11
                                                      '                                                        .
       But as White himself once admitted fromtb.e "Witness stand, while sworn to tell the truth, not everything
      .he -writes should be.believed.

      News researcher Belinda Harris and staff writer Matt Chittum contributed to this re~ort.

                                                      THE-ROA:"JOKETil\IES
                                                             roanoke.com
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                    Precedence:          ROUTINE                               Date:    Ol/0~/2010

                    To:     No;i:-folk                            Attn.:   SA [.__ _ _ _~.:.dli             I                  b6
                                                                                                                               b7C
                    From:     Richmond
                                 Roanoke RA/S~~....
                                               a~d--'-7-:-:--::-:----:-----~--=-
                                   Contact:        sAjf David Church
                    Approved By:~ _SSRA -Kevin          L Foust

                    Drafted By:
                    Case ID#: 44A-RH-53908
                                    266-NF-C35827
                    Title:      WILLIAM A. WHITE;
                                MULTIPLE VICTIMS;
                                RACIAL DISCRIMINATION-FORCE Al~D/OR V~OLENCE


                                                                                                    I
                    Synopsis: Return of documents sent by Norfolk upon Roanoke RA
                    request for prosecution of captioned subject.         ·,
                    Enclosure(s): E~closed for Norfolk are serials lAl and 1A2 from
                    266-NF-C35827 as listed pelow.
                                                                            ,
                    Detai.1s: Roanoke RA is returning the following documents, which
                    were sent to Roanoke by Norfolk by referenced serial fo~, purposes
                    of prosec1.1tion of captioned subj ~ct:
                                                                                                    I
                                                                                                    I
                              266-NF-C35827-234-1Al            .   ,    l   I     •
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                              266-NF-C35827-234-1A2 (Note: Roanoke 1s on y returning
                    the lA envelope as the contents were used as an exhibit!for trial
                    on 12/14/2009 at 11:00 am)
                              Copies of the remaining serials (227-233; 238); are
                    being kept by Roanoke RA.                                i
                                                                                                        '
                             Roanqkne RA is providing these documents per teilcal with
                    SA_!_ _ _ ___.J 0 12/21/2009.                           Ii                                             b6
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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 409 of 487 Pageid#: 6178
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(Rev. 0S•0l-2008)
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                        FEDERAL BUREAU OF INVESTIGATION


          Precedence:         ROUTINE                                        Date:    02/16/~010

          To:       Richmond

          From:       Richmond
                          Roanoke RA/s~...-a~d-.7___________
                         .Contact: SAjoavid Church                                                             b6
                                                                                                               b7C
          Approved By: SSRA Kevin L Foust

          Drafted By:

        · Case ID #: 44A-RH-53908           (Pending)       -~80
          Titl.e:      WILLIAM A. WHITE;
                       MOLTIPLE VICTIMS;
                       RACIAL DISCRIMINATION-FORCE AND/OR VIOLENCE

          Synopsis:          Documents items being placed into bulky eviden~e
          storage in Roanoke RA.
          Details: For background, on December l.1, 2008, a Federal Grand
          Jury empaneled in the Western District of Virginia, Roanoke
          Division, indicted William A. White, DOB 05/29/1977, on the
          following counts: ·
          1. Title 18, United State Code, Section 875(c); Transmission of
          Threats in Interstate Commerce; Five (5) counts.

          2. Title 18, United.State Code, Section 875(b); Extortion by
          Threat in Interstate Commerce; One (1) count.

          3.        Title 18, United State Code, Section 1512(b) (1); Tampering
          with a Witness and Victim; One (1} count.
                    On December 18, 2009, William A. White was convicted by
          a jury of four (4) of the seven (7) counts described'above.
          Specifically, White was convicted of the following counts 9f the
          December 11, 2008 indictment:
          1. Title 18, United State ~ode, Section          · Transmission of
          Threats in Interstate Co~merce; in count 1    Jennifer Petsche)                                      b6
          count 5 1 (Kathleen Kerr)! and count 6 (Richard Warman).                                             i,   7c
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 410 of 487 Pageid#: 6179

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To:       ,Richmond From; -Richmond
Re;       44A-RH-53908, 02/16/2010
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                                                                                                         i
2. Title 18, United State Code, Section 15'12 (b) (1}; ·ramplring
with a Witness and Victim; in count 3 (VA Beach Tenants).;
         Sentencing for White is scheduled for 04/14/2010 in the
Western District 0£ Virginia.
          Due to the DOJ Civil Rights Division anticipating that
White will file numerous appeals, the following items/documents,
contained within two boxes, have been placed into the lC section
of captioned case file and will be m~intained until all appeals
by White have been exhausted:

Digital Media:
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l'.
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2.
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3.
4•                                                                                                           (2

5. ......,.......,.....,...,_=------'-~c~o~n~sensual recording dated
6.      ___________.I                       voicemail                ------
7.       overthrow.com radio show referencinr Jena 6
                                                                                                          j and the VA
8.

9.
         NSW Presents radio show referencingL
         Beach Tenants on 06/04/2007 (2 copie
         Cassette tape of 1D2
                                                                          s--,--------
                                                                                ....

10.      FTK Reports Disks rovided b the Chicago RCFL regarding
         items saved by S                                                       Chica o FBI.
11.      Trial Prep disk provi e                                                                   related to
         White's Overthrow.com se,._...._.____________
12.      Audio enhancement of the                                                                      provided· OTD
J.3 •   .---------,_;_..;..;.i.-,..,,~,,,..,,,..,,...,.,,,.,,,,..,.,...._..__,,,,.,,,,,_.,,...........h the!       !
14·..-----...---------1.Provided information related_to_j_ _ _ _~

Documents: .
1.      -Documents related to numerous threats by White, both charged
         in the aforementioned indictment and uncharged incidents.
2.       Copies of all non-computer related evidence collected during
         search warrants conducted on 10/11/2008 and 10/17/2008~
3.      Trail preparation notes and NCIC checks conducted on
        witnesses.
4.
5.    I Notes taken           bl SA -----------\                                                                              b6
                                                                                             ---l......J                      b7C
                                                                                                                              b7D

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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 411 of 487 Pageid#: 6180

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To:     Richmond           From:        Richmond
Re:     44A-RH-53908, 02/16/2010



6.     Copies of FBI documents regarding Norfolk FBI 1 s initi~l
        response to threatening letters sent to numerous VA Brach
       Tenants.                                                                                          1


7. Folder containing documents regarding a-threatening video
        received by-,White from a group called the "Terrorist Militia 11
8. ~ , - - - - - - - - - - - - - - = - - - : . - - - - - - - - , n o ~ presented as
        evidence· in trial.                                                                 OTHER sealed Purs-µant to us   court Order
9. U.S. Bankruptcy documents                                                                b6
10_."""""u.&.1..::1..L.JL...-',008 National Socialist rnagazinb7c
11 _ _ _ _ __......B           ....I_____ e __a__r __c__h___w__a_r_r=an=-t-.aaf_o.,_r_______b7D
                                        s __

12.
      i.r---------------------__,;b7E                                                &---------

Binders:
1.     Blue binder containing copies of 12/11/2008 Grand Jury
       transcript by SA!              !and 10/22/2008 White Detention                                                           b6
       Hearing transcript.           _________                                                                                  h7c
2.     Black binder_ provided by Sgtl              !Roanoke City PD,
       containing various documents related to White and incident
       reports related to White.

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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 412 of 487 Pageid#: 6181
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                               \,~__,,,----Working
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    supremacist groups. This particular serial is the only                                             b6
    o:q.e located t.hat pertains to Bill: .'White. This                                                b7C
    communication states, in part, .thatl             · •, · · ·                                       b7D
    provid.'-IW.......a.i.i.~~tion tq the qH$ regarding Wh~te and
    ANSWP.                   did not want to be associated with
    White
I         I
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    r*------'---------""""'.'"-----,.__,,,..----,-dlare
                                            These·cHS
                                                                     Source Reports                    b7C
    reports reference information related to White.                                                    b7D

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    *             266N-CV-63082 Serial 222 is an Insert which documents                                b6
    that ,SA! Mi ch ae l Har t,!Jl_a n: sent ema;r·li,:.t to !Bill White                               b7C
         din~ the above-mentiofed allegations_ of!smuggling I                                          b7D
           White then posted SA .:)La r tma n ~ s ema 1 l
          's response on Overthrow. com. · _
                                                          l        and .J
                                                                          · ·

  *                 I                                         j
                                          Iis a CHS who is in position to ~epo:tt                      b6
  on White and the ANSWP's activities which are_ .                        I                            b7C
                                                                                                       b7D
L....-~r--1--......,.--..,,....._ _ _ _.:_·...,,,........,,.-,-11 The handling Agent ·
  is S~               l~a=~=d_,t=h=e~nature of this CHS's reporting is
  known.....,..t-o~SA--l         I This CHS is not in a position to
 I                                                                    I
                          bf
          ______s__Al_. ~Russ the Cle·veland Division will determine lif                              b6
    CHS's!                                   I are still in a position to                             b7C
                                                                                                    . b7D
    report on William White and the ANSWP~ Any positive inform~tion
    will be rep<;>rted to SA!Dav1d Cnurch!of the Richmond Division,
    Roanoke Resident Agency.           .                              ,
                                                                                                       b6
             · sAIR'usslwill continue to work directly with SAICh;urch                                 b7C
    on any future investigative matters related to White and th~
    ANSWP.


    LEAD (s}:

    Set Lead 1:      (Information)
          RICHMOND
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                  ATI R0ANOKE, .vAI                                                                    b7C
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                                                                                                b6
                                                                                                b7C
. From:
Sent:
To:                   1
                       8111 White•
Subject:              Overthrow.com


Bill,

I just wanted you to know I just received a phone call from someone trying to impersonate
you in an attempt to get your address on your domain name changed. Of course I called his
bluff, then was presented with a threat that the individual was going to steal the name
from you thru the NetworkSolutions interface ....
Just wanted to gice you a heads up ....
Also, any luck on your end on the power supply for that box?   I'm having no luck here at
all. ....

Sincerely,


Global Web
804-346-5300
             Sr;Js,    Inc.
                                                                                                b6
                                                                                                b7C

877-800-GLOB       2)1
http://globalweb.net ..__ __.

Richmond's Internet Source since 1996!
WEB HOSTING including EMAIL beginning at $29/month!
DSL Starting at $39.95/month!
Non-Profits~- receive a 25% discount on most services!
"Global Web Solutions" is a registered trademark of Global Web Solutions, Inc., Glen
Allen, VA




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                                                                                                             U.S. Depaiutment of Justice · ·

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                                                                                                              Federal Bureau of Investigation
                                                                                                            · Washington, D.C. 20535

                                                                                                             August 20, 2019

     Mr. William A. White
     5725 Artesian Drive
     Derwood, MD 201355

                                                                                 Cjvil Action No.: 16-cv-00948
                                                                                 FOIPA Request No.:1224695-000
                                                                                 Subject: William A White

     Dear Mr. White:

               The enciosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
     United States Code, Section 5521552a. Below you will find checked boxes under applicable statutes for the
     exemptions asserted to· protect information exempt from disclosure. The appropriate exemptions are noted on the
     processed pages next to redacted information. In addition, a deleted page information sheet was inserted to indicate
     where pages were withheld entirely pursuant to applicable exemptions. An Explanation of Exemptions is enclosed to
     further explain justification for withheld information.       ·

                                       Section 552                                                  Section 552a
              r-        (b)(1)                             J~    (b)(7)(A)                          r      (d)(5)
              r·        (b)(2>                             r- (b)(7)(B)                             J;;.   0)(2)
              Jo? (b)(3).                                  [ff   (b)(7)(C)                          r= (k)(1)
             _F_e_.d_.R_._C_ri_m_.P_r_.(~G~e)_ _ _ _ _. [;J (b)(7)(D)                               r~     (k)(2>
                              iP'                                (b)(7)(E)                          ]- (k)(3)
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                             .)_                                 (b)(7)(F)                          1      (k)(4)
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              r         (b)(4)                             r1= (b)(8)                               1      (k)(5)

              r'; (b)(5)                                   Ir" (b)(9)                               j= (k)(6)
              P' (b)(6)                                                                             1      (k)(?)

              52~ pages we~e reviewed and 386 pages are being released. · ,.

      .  · PIE)ase see the paragraphs below for relevant information specific to your request and the enclosed FBI
     FOIPA Addendum for st~ndard responses applicable to all requests.    !                                 .
           ..f~: Documents were located which originated with, or containe~ information concerning, other Government
                   • Agencies [OGAs].                  .                                .                                                .

                   1~:::   This information has been referred to the OGA(s) for re~iew and direct response to you.
                           We are consulting with the other agencies. The FBI wil.I correspond with you regarding this
                           information once the consultations are completed.       '          ·
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                   :                                                                        .                                 '.
              Please refer to the enclosed FBI FOIPA Addendum for. c1dditionkl standard responses appl°icable to your.
     request. "~art 1·:• of the Addendum inclu_des standard responses that apply to all requests. "Part 2" includes
     additional standar,d resporrses that apply to all requests for records on in.dividuals. "Part 3" includes general
     information about FBI records that you may find useful. Also enclosed is our Explanation of Exemptions ..;,.
                   '.            •                                                      I       •                  ,·         I


             Alti1ough' your request is in litigation: we are required by law to ~rovide you the following information:
                   •         I                                               •          1                                     :
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 415 of 487 Pageid#: 6184




                 You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
     Department of Justice, Suite 11050, 1425 New Yori< Avenue, NW, Washington, D.C. 20530-0001, or you may submit
     an appeal through OIP's FOIA ontine portal by creating an account on the following web site:
     hllps://foiaonline.rcgulations.gov/foia/acti<:m/public/home. Your appeal must _be postmarked or electronically transmitted
     within ninety (90) days from the date of this letter in order to be consid~rec;t timely. If you submit your appeal by mail,
     both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal." Please cite the
     FOIPA RequesJ Number assigned to your request so that it may be easily identified.

               You may seek dispute resolutron services by contacting the Office of Government Information Services
     (OGIS). Tl1e contact information for OGIS is as follows: Office of Government Information Services, National
     Archives and Records Administration; 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
     Qglli@nara._gov; tel~phone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
     you may contact the FBl's FOIA Public Liaison by emailing foipaguestions@fbi.gov. If you submit your dispute
     resolution·corr'espondence by email, the subject heading should clearly state "Dispute Resolution Services." Please
     also cite the FOIPA Request Number assigned to your request so it may be easily identified.

             Plc3ase clirect any further inquiries about this· case to the Attorney representing the Government in this
     matter. Please use the FOIPA Request Number and/or Civil Action Number in all correspondence or inquiries
     concerning your request.                      ·

              r.;;
                     See additional information which follows.



                                                                       Sincerely,


                                                                       ~Jlut..~
                                                                       David M.. Hardy
                                                                       Section Chief
                                                                       Record/Information
                                                                         Dissemination Section
                                                                       Information Management Division
                                                                                !




     Enclosures (Bates pages FBl(16cv00948)-8072 to FB1(16cv00948)-8600,' Explanation of Exemptions and FBI FOIPA
     Addendum).
                                                                                i
             The enclosed documents represent the seventeenth interim release of information responsive to your
     Freedom of:lnformation/Privacy Act (FOIPA) request. This material is b~ing-provided to you at no charge at this
     time. The fBI will provide monthly rolling releases.                  ·

              To_minimi:z;e costs to both you and the FBI, duplicate copies oqhe same document were not processed.

               Currently, you have a positive balance of $795.00 from paymen~s you submitted in anticipation of duplication
     fees for previous FOIA·requests. As the FBI makes interim releases to you, it will subtract the duplication fees from ·
     this balance'. until this balance is exhausted.                        ;

                Tl1e enclosed documents responsive to your request are exem!pt from disclosure in their entirety pursuant ·
     to the Privacy Act, Title 5, United States Code, Section 552 (a), subsection 0)(2). However, these records have
     been proceised pursuant to the Freedom of_lnformation Act, Title 5, Unit~d States Code, Section ~52, thereby
-~   affording yoG the greatest degree of access authorized by both laws.      !
              Foi; your .information, sealed court records are not eligible for release under the Freedom ,of Information
     Act. Material res1:>onsive to.your request has been withheld and marked:"OTHER-Sealed" pursuant to appropriate
     orders issu~d by federal district courts.        ·
Case 7:08-cr-00054-EKD Document
                        EXHIBIT411-2 Filed 10/05/20 Page 416 of 487 Pageid#: 6185
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                                                                                                U.S. Departient of Justice
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                                                                                               Federal Bureau of Investigation
                                                                                               Washington, p.c. 20535

                                                                                               July 20, 2020

     Mr. William A White
     5725 Artesian Drive
     Derwood, MD 20855


                                                                                  Civil Action No.: 16-cv-00948
                                                                                  White v DOJ et al.
                                                                                  FOIPA Request No.: 1224695-000
                                                                                  Subject: William A. White
     Dear Mr. White:

              The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
     United States Code, Section 552/552a. Below you will find check boxes under the appropriate statute headings
     which indicate the types of exemptions asserted to protect information which is exempt from disclosure. The
     appropriate exemptions are noted on the enclosed pages next to redacted information. In addition, a deleted page
     information sheet was inserted to indicate where pages were withheld entirely and identify which exemptions were
     applied. The checked exemption boxes used to withhold information are further explained in the enclosed
     Explanation of Exemptions.


                                    Section 552                                         Section 552a
              r    (b)(1)                              r   (b)(7)(A)                    r= (d)(5)
              r    (b)(2)                              :1 (b)(7)(8)                     P' 0)(2)
              ~ (b)(3)                                 ~ (b)(?)(C)                      F    (k)(1)
              Federal Rules of Criminal                !i;; (b)(?)(D)                   1    (k)(2)
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                                                       r   (b)(7)(F)                    f-   {k)(4)

              r    (b)(4)                              r   (b)(8)                       r    (k)(5)

              W (b)(5)                                 ;r (b)(9)                        f-' (k)(6)
              ~ (b)(6)                                                                  1° (k)(?)

              502 page(s) were reviewed and 52 page{s) are being released.

             Please see the paragraphs below.for relevant information specific to your request as well as the enclosed
     FBI FOIPA Addendum for standard responses applicable to all requests.

              !r   Document(s) were located which originated with, or contained information concerning, other
                   Government Agency (ies) [OGA].

                   r    This information has been referred to the OGA(s) for review and direct response to.you.
                   'r   We are consulting with another agency.      The FBI wrll correspond witt1 ycu regarding this information
                        when the consultation is ce,mpleted. ·                                                 ·

              Please refer to the er.closed FBI FOIPA Addendum for additional standard responses applicable to your
     request. "Part 1" of the Addendum includes standard responses that app!y to ail requests "Part.2" includes
     additional standard responses that apply to all requests for records about yourself or any third party individuals.
     "Part 3" includes generai information about FBI records that you may find useful. Also enciosed is\our Explanation
     of Exemptions.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 417 of 487 Pageid#: 6186

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        Although your request is in litigation, we are required by law to provide you the following information:
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            You may file an appeal by writing to the Director, Office of Information Polley (OIP), United !states
    Department of Justice, Sixth Floor, 441 G Street, NW, Washington, D,C. 20001, or you may Bllbmlt ~n appeal
    through OIP's FOIA onllne portal by creating an account on the following website:                     i
    https://www.foiaonline.gov/foiaonline/action/public/home. Your appeal must be postmarked or electronically
    transmitted within ninety (90) days from the date of this letter in order to be considered timely. If you submit your
    appeal by mail, both the leHer and the envelope should be clearly marked "Freedom of Information Act Appeal."
    Please cite the FOIPA Request Number assigned to your request so it may be easily identified.

              You may seek dispute resolution services by contacting the Office of Government Information Services
    (OGIS). The contact inforrnation for OGIS is as follows: Office of Government Information Services; National
    Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 207 40-6001, e-mail at
    oqis@nara.gov: telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
    you may contact the FBl's FOIA Public Liaison by emailing foipaquestions@fui.gov. If you submit your dispute
    resolution correspondence by email, the subject heading should clearly state "Dispute Resolution Services." Please
    also cite the FOIPA Request Number assigned to your request so it may be easily identified.




             :~   See additional information which follows.



                                                                     Sincerely,


                                                                     ~~
                                                                     David M. Hardy
                                                                     Section Chief
                                                                     Record/Information
                                                                        Dissemination Section
                                                                     Information Management Division



    Enclosures (Bates pages FBI (16cv00948)-12629 FBI (16cv00948) 13130, Explanation of Exemptions and FBI
    FOIPA Addendum)


            The enclosed documents represent the twenty-sixth interim relea~e of information responsive to your
    Freedom of Information/Privacy Act (FOIPA) request. This material is being provided to you at no charge at this time.
    The FBI will provide monthly rolling releases.

             Duplicate copies ofthe same document were not processed.

             For your information, sealed court records are not eligible for release under the Freedom of Information Act.
    Material responsive to your request has been withheld and marked "OTHER-Sealed" pursuant to appropriate order(s)
    issued by federal district courts.             ·

             The enclosed documents responsive to your request are exempt from disclosure in their entirety pursuant to
    the Privacy Act, Title 5, United States Code, Section 552 (a), subsection 0)(2). However, these records have been
    processed pursuant to the Freedom of Information Act, Title 5, United States Code, Section 552, thereby affording
    you the greatest degree of access authorized by both laws.

              Currently, you have a positive balance of $660.00 fiom payments you submitted in anticipation of duplication
    fees for previous FOIA requests. As the FBI makes interim releases to you, it will subtract the duplic~tion fees from
    this balance until this balance is exhausted.                                                          ·
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            Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20      Page 418 of 487 Pageid#: 6187
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                             Precedenceg                            ROUTIN.ti                                         Dat-EH         09/01/2006

                            To:                Couhterterrorism                                                                                                    b6
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                            From;.                     Richmond
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I                                                                                                                                                                 b6
                            Approved By:                            S:S'RA l</.evin L Foust.
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                            Drafted By:

                            Case ID#: 9A-

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                            Synopsisg Open case file and· set fortb lead for tbe~ttawa AI.AT·                                                                     b7C
                            t_o obtain records from['                                                                                  Jas     well as            b7D
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                           le-mail. dated 7ALA.T !-~--~~~~~
                                     . ' 8/25/2006, from
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                          _________ on 8 25 2006.                                              '

                           Enclosures: A cony of a letter, dated 8/24/2006, from[ :anadfanl                                                                       b6
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                        . ~ttor~ey R1 ch~r_d Warman addrel?sed Mr. A.L. Gaskins, Chief of                                                                         b7C
                            Police, Roanoke City Police Department, concerning threats made
                            by Bill White, resident of Roanoke, Virginia.
                            Details: The enclosed letter was forwarded via e-mail to\ the
                            Roan9ke Off ice of the Fe);,/,·,ii.,.!.,.lao!,....,,!cl.!ol.,!~i!,,l,,!,.~-..!,,,!,.!~~a.6.:;:IJ,,l,,,i.....i.,:-.......,~1_ _
                            8 24 2006. Additionall                                                                                                    !           b6
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                            alleged
                            by-Bill
        Case 7:08-cr-00054-EKD Document 411-2 ----
                                              Filed
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                                                      .        Page 419 of 487 Pageid#: 6188

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          To:    ~ounterterr                      sm                                   Attn:
                                                                                                                                                     b7E
                    IA~j====~=;=======~~From:                                                           Richmond
          Re: . 9A-R?-NEW, 09/01/2006


          General Background Concerning Bil-1 White

                      Bill Wbite is the owner and creator of:a Nazi website,
          www.overthrow.com. It is also termed, "Libertarian Socialist
         _Mov:ement-.New~-'-'---~-The site is ..vehemently opposed to-Jews,
          homosexuals, blacks, and oth~rs. Despite White's apparent recent
          split from NS_M, W_hite has continued Overthrow.com. White.
          frequently post articles on 1;=his site about various topics .
                    . In .addicTon-::to--BTirwmEe Is national exposure through--
          his website, 0-verthrow.com, White came 'to National attention when
          NSM -staged a-march-in Toledo, -Ohio in October of 2005, which         .
          ultimately escalated into rioting in the streets by anti-
          protestors. Bill White was one of. _the organizers of this march.
                                 . .                  .
                      White has garnered national attention at various times
          through his vocal support of heinous crimes. For instance, Bill·
         -White expressed support for the Columbine Highschool shooters in
          1_999, arid more recently, indicated approval for the deaths of .
~   ---- -~- ---Unit-ed---St-at-e·s-B·is·tri-ct-eourt---du·dge--r:.e·fkow 1 s famiJ:y-:---.c.-wh±te was- --------·- -
          quoted in the press -as saying:
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                                                                               OW ISfamily was murdered today. In
                                                                               the story to day, I laughed. 11
                    Despite, White's defection- from NSM, White continues to
          actively post -artic-les to-his website and is purportedly in the
          process of forming a
          members that left· NS~.         · '
                                                      1~w
                                     organization. Passi bJ v ta i ncJ JJde T·.her
                                                       - _·         ·       _                                                                        b6
        I                         The purported name of the new organization                                                                         b?c
          is AMERICAN NATIONAL SOCIALIST. WORKER I S ~ARTY (ANSWP)·.
          Recent Allegation Concerning Bill White

                             On August 25, 2006_, the Roanoke Resident Agency,
         ~i~broond D~vision, recyiyed an e-mail conv of a Jetter qated
         81j.i..\l'Lci 0 '-' J written by[Canadian·attorney Richard Warman} to                                                                      b6
                                                                                                                                                    b7C
         Chief q~.skins, City of Roanoke Police Department (enclosed).
       i!-..,---.-..aJforwarded the_ letter in hopes that       _      __     _
         brought against Bill White· for encoura in illing of Warman
         du · n an interview wherein ·• .                     .
                    interviewed Bill White tel.ep oni_cc1J Ju on ?.,.. about Augus·
           .,        06, White was allegedly quoted by !the CBCJ as saying,'



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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 420 of 487 Pageid#: 6189


 To:      Counterterr                sm                                                                                                                        bo
                                     8_8_[:),I                                                                                                                 b7C
              IA   0..-:=--~=""""F"-~======'
                                                                                      !   From:                              Richmond                          b7E
 Re:       9A-RH-NEW, 09/01/2006


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                           I would hope peopie take violent action against him.
                   -He should be killed.                              11
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          · Furthermore,! Warman !alleges tha~ill Whj te facilitated
 someone actually murdering him by posting ]Js           --- -I home
 address on his (Bill White 1 s) web site, www.Overthrow.com.
                   A number ofl
                                                                                                                                                             b6" .
                                                                                                                                                           .-b7C
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                                                                                          telephone nurobe~            . 7
 extension                                                                            contacted.the Roanoke RA and spolre
 with SSA                                                                                   The followinq daVv the'writer
 contacted                                                                                who was simply inqui~inq
-whether · o~r,....,.n""'o::-.1:,,.-·c"""""""a""'r""g""'e"""s""__"""m~a,,,.,,.,;y:-=;,e=~~ against Bill White rel a ting to

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        Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 421 of 487 Pageid#: 6190

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             To:   C0unterterro     sm                  Attn: 1DTOU
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                    _IA~            SQAi-======-=sii From:             Richmond                                        b7E
             Re:   9A-RH-NEW, 09/01/2006



             the t~reats tarqetinql                                        : . .                 J                     b6
             explained that there were clear cut criminal charqes 1nl Can8c'lB-                  r                     :07C
             stemminq· f:com the statement made _toJ ·the CBC          Jbv
                                                                 Bill White~ and                                       b7D
             from tie postinqs made by Bill White had Bill White beeh in
         I   Canada;at the--tiine-the -cornments were made,. or if the postings
             were made itj ·Canada   .J    __
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          I-n Apr1 - of 2006,
         __........_.__.__ent. · to- i ail for contempt of court. As a re.._...........
                           leqedly posted a mmlber of_ threats aqains Warma11 __
          0:'.l his. ,:web.site. Variquard News Network?r         It is the writer 1 s
                                                                   O



          un ers_ andinq·. that the SAO in St. Louis is explori_ng the
          possibility of charging_ Alex linder.

               - ·    · ·    Bill White has posted, artj cle~ on his website in ·
                                                              J
· -- ---- ----·-supportc-·of--the~commen ts ··made b~ Warman Accorcl.In:cf' to Warman ;      I                        b6
                                                                                                                    . b7C
                 White posted. a~nq_other comment ·              art ·of an uprisinq
                 aqainstlCan.adi_aijauthorities, 'tha l inder ·                 hen_ he
                 calls_ for th_e ass¥sination_o;E the,..____,. .                responsible
                 for the .arrest ofL          . · Ito include R1ch.:ird T?arma_ •

                       The writer explained that the alle_gat:i.ons would be
          reviewed and that the United States Attorney's Office would be
          consulted regarding the allegations·. · The writer. further,_
          explained that the Roanoke RA would likel~ make a requ~st· for
          <;1-ssistan~e through the FBI'si Ottawa AlATjfor additional                                                .b6
         .information.                                                                                                b7C

                      r                                 ~xnlained that he had{                   I                    b6
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                  -· J       jtold.___,,.__,,._ __,.._,_....,...--.---..... that . the interview
         ·with BilJ: Wh1 te was r·ecorded and could be turned over with: a
         ·s4bpoena.


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                                                 IA~[="=======""=""""""=-=="""F"=a,=.e======-==~IFrom:   Richmond
                                        Re:   9A-RH-NEW, 09/01/2006




                                        Violation

                                             It appears that th~ statements made t~!             · coupled _with
                                        the blog_.postings, .may. constitute ..threats in violation of Title
                                                                                                                    I                        b6
                                                                                                                                             b7C
                                        18, United States Code Section, 875, which reads as follow:

                                              "Whoever transmits in interstate of foreign commerce any
                                              communication containing any threat to kidnap any person or
                                              any__ threat to -1njir:tef --i:nef~-persori of · another; :sn:a.rl be f ine"d• -
                                              under this title, or imprisoned not more· than five ,years, or
                                              both'-~---.                 .
                                          A:USA Thomas .J.ack Bondurant J. has been consulted by the                                         .b6
                                    writer _rE:!gar ing t e _capt.:J-on,ed matter. AUSA on du rant :ihas opined                              b7C
                                    that the .. statements do appear to be. threats, yet t ere is a
                                    potential. First.  'Amendment defense to the statements. As much,
                                    AUSA~ondurant I fj office is. conducting some· legal research into
                                    this 'matter.        ·  ..
         -~------" - . -·-··--~·   __ - - - -
                                    ,



                                        'Nonetheless, it is requested that a case be opened in order
                                    further explore the specifics of what was actually said by White
                                    tol     . land            to
                                                       preserve evidence should a future prosecution                                         b6
                                                                                                                                             b7C
                                    of the matter be sought.
                                              The captioned subject ·is further described as follow:
                                                      .                     •     - - al
                                                                                       I


                                               Name: William Alexander White
                                               Sex: Male
                                              'Race: White
                                              DOB:
                                               SSAN:



                                          1._-----'
                                              Address: Roanoke, Virginia    ,'




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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 423 of 487 Pageid#: 6192
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         To:       Counterterr                                                                                                          b5
                                                 m ·==~===Att,n: iQTOU                            17
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                                               SSA[                            _j
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                     IAhi-=,,__.....,,..,,,...,....,,...,,.-,-,,,..,,..,,,.-,:------'1 From:   Richmond
         Re:       9A-RH-NEW, 09/01/20'06


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         LEAD{s):

         Set Lead 1 g ·            (Action)
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                            JITJ1-,_______,
         .         . -Tq fej-aij'd;sf'iab· to 'do tJ:ie followfrig···: .. (1) MaRe 'approp:r'iat.e ·
         requests         od
                          Canadfam uthorities to assist in obtaining the
         or-igina.J:--record-i-ng-of- an- interview of Bill White· conducted bi.clifr.j
         reporter-j                                               . 1·on ~ o u t August 21, -
          2006, as well as any other recortj.ings that thel..G.:a.c.Jmay have
        ·pertain,iIJ.g to Bill White, and/or determine what process·will be
         required to obtained the recordina: and <2) reauest the!'                                I


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        Case 7:08-cr-00054-EKD DocumentEXHIBIT
                                        411-2 Filed
                                                O(d)10/05/20 Page 424 of 487 Pageid#: 6193
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•   ~i-\d~ 10 -~Rev. 12/89) Subpoena to Tesiify Befdwnd Jury-·· - - - - - - - - - - - -

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                                         UNITED STATES DISTRICT COURT                                             I
                                                                                                                  I

                              WESTERN                               DISTRICT OF                            VIRGINIA

    TO:
                                                                                          SUBPOENA TO TESTIFY
                                                                                          BEFORE GRAND JU:&Y

                                                                                SJ JBPQENA FOR ·1
                                                                           .,                      .   ___________                  ___,

         YOU ARE HEREBY COMMANDED to appear and te~tify before the Grand Jury of the United States District Court
    at the place, date, and time specified below.



    PLACE                                                                                                     COURTROOM
                              UNITED STATES ATTORNEY'S OFFICE
                              POFF FEDERAL BUJLDIN"G
                              210 Franklin R9ad
                                                                                                                                            b3
                                                                                                                                                   I



                              SEE GRAND JURY SUBPOENA ATTACHMENT.




    •    Please see additional infonnation on reverse.
                          r

         This subpoena shall remain in effect until you are granted leave to depart by the court or by an officer acting on behalf
    of the court.
                                                                                                                                           b3
    CLERK                                                                                   DATE                                           b6
                                                                                                                                           .b7c

    (By) Deputy Cler~



                                                                 NAME, ADDRESS AND PHONE NUMBER OF ASSISTANT U.S. ATTORNEY
    This subpoena is issued on application                                                                 09/12/2006
    of the United States of America        ·




    * If not applicable, enter "none".
                                                                                   ROANOKE, VIRGINIA 24008
                                                                                                                      I
    AO 110 {Rev. 12/89) Subpoena lo Testify Before Grand Jury
                                                                                                                      -!   FBI(16cy948)-,1299
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    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 425 of 487 Pageid#: 6194
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                                                            SERVICES                                                                              TOTAL


                                                             DECLARATION 0~ SERVER <2J

             I declare under penalty of perjmy-under the laws of the United States of America that the foregoing information
         contained in the Proof of Service is true and correct.                                                                                                                                                     b3
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                                                                                                                                - Federal Rules of C1vtl
(I) As to who may serve a subpoena and the manner of its service see Rule 17(d), Federal Rules of Criminal Procedure, or Rule 4:>(c)(
    Procedure.                                                           ·                                                             :
(2) "Fees and mileage need not be tendered to the witness upon service of a subpoena issued on behalf of the United States or an officrr or agency thereof (Rule
    45(c), Federal Rules of Civil Procedure; Rule 17(d), Federal Rules of Criminal Procedure) or on beh~lf of certain indigent parties ,nd criminal defendants who
        are unable to pay such costs (28 USC 1825, Ru!e l7(b) Federal Ru!es of Criminal Procedure)":                                              "


                                                                                                                                                                                 FBI(i6cv948)-12997
Case 7:08-cr-00054-EKD Document 411-2
                          EXHIBIT     Filed 10/05/20 Page 426 of 487 Pageid#: 6195
                                    P(a.)(i)
                                           ---------------                             U.S. Department of Justice




                                                                                       Federal Bureau of Investigation
                                                                                      Washington, D.C. ?0535

                                                                                      June 15, 2020

 Mr. William A White
 5725 Artesian Drive
 Derwood, MD 20855

                                                                  Civil Action No.: 18-cv-00841
                                                                  FOIPA Request No1369569-000
                                                                  White v. EOUSA et al.
                                                                  Subject: Lefkow, Michael

 Dear Mr. White:

          The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA}, Title 5,
 United States Code, Section 552/552a. Below you will find check boxes under the appropriate statute headings
 which indicate the types of exemptions asserted to protect information which is exempt from disclosure. The
 appropriate exemptions are noted on the enclosed pages next to redacted information. In addition, a deleted page
 information sheet was inserted to 1indicate where pages were withheld entirely and identify which exemptions were
 applied. The checked exemption boxes used to withhold information are further explained in the enclosed
 Explanation of Exemptions.


                               Section 552                                      Section 552a
           r   {b)(1)                             r   {b)(7)(A)                 r   (d)(5)
           r   (b)(2)                             r   (b)(7)(8)                 r   0)(2)
          l.:; (b)(3)                             ~ (b)(?)(C)                   u (k)(1)
          18   use 2510-20                        p· (b)(7)(D)                  J   (k)(2)
                                                  P (b)(?)(E)                   r   (k)(3)
                                                  j (b)(7)(F)                  r· (k)(4)
          J    (b)(4)                             r   {b)(8)                   r (k)(5)
          l    (b)(5)                         \   J   (b)(9)                   r    (k)(6)
          P    (b)(6)                                                          r· (k)(7)
          308 page(s) were reviewed and 155 pa~e(s) are being released.

     .   Please see the paragraphs below for relevant information specific to your request as well as the enclosed
 FBI FOIPA Addendum for standard responses applicable to all requests.
          r=
          a    Document(s) were located which originated with, or contained information concerning, other
               Government Agency (ies) [OGA],

               r   This information has been referred to the OGA(s) for review and direct response to you.
               r   We are consulting with another agency. The FBI will correspond with you regarding this information
                   when the consultation is completed.

          Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
 request. "Part 1" of the Addendum includes standard responses that apply to all requests. "Part 2" includes
 additional standard responses that apply to all requests for records about yourself or any third party individuals.
 "Part 3" includes general information about FBI records that you may find useful. Also enclosed is our Explanation
 of Exemptions.                                                                                                 ·
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 427 of 487 Pageid#: 6196



          Although your request is in litigation, we are required by law to provide you the following information:

               · You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
    , Department of Justice, Sixth Floor, 441 G Street, NW, Washington, D.C. 20001, or you may submit an appeal
      through OIP's FOIAonline portal by creating an account on the following website:
      https://www.foiaonline.gov/foiaonline/action/public/home. Your appeal must be postmarked or electronically
      transmitted within ninety (90) days from the date of this letter in order to be considered timely. If you submit your
      appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal."
      Please cite the FOIPA Request Number assigned to your request so it may be easily identified.

               You may seek dispute resolution services by contacting the Office of Government Information Services
     (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
     Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001, e-mail at
     ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-5769. Alternatively,
     you may contact the FBl's FOIA Public Liaison by emailing foipaguestions@fbi.gov. If you submit your dispute
     resolution correspondence by email, the subject heading should clearly state "Dispute Resolution Services." Please
     also cite the FOIPA Request Number assigned to your request so it may be easily identified.

               Please direct any further inquiries about this case to the Attorney representing the Government in this
     matter.   Please use the Civil Action Number 18-cv-00841 in all correspondence or inquiries conceming your request



               p-·   See additional information which follows.



                                                                       Sincerely,


                                                                       ~
                                                                       David M. Hardy
                                                                       Section Chief
                                                                       Record/Information
                                                                          Dissemination Section
                                                                       Information Management Division




     Enclosures (Bates pages FBl18cv841Lefk-2605- FBl18cv841Lefk-2912, Explanation of Exemptions and FBI FOIPA
     Addendum)

              Please be advised that as of June 8, the Record Information/Dissemination Section (RIDS) resumed
     operating at full staffing levels amidst the ongoing COVID-19 national emergency. The enclosed FOIPA release
     represents a work product that could be generated for you under these unprecedented circumstances and the limited
     time we were full~ staffed_during the month of June. We appreciate your patience and understanding as we work to
     release as much Informat1on, to as many requesters as possible, as this emergency continues.     ·

              T~e enclosed documents represent the seventh interim release of information responsive to your Freedom
     of Information Act (FOIA) request. The FBI will provide monthly rolling releases.

               Duplicate copies of the same document were not processed.

        .    Currently: you have a balance of $207.50 from payments you submitted in anticipation of duplication fees.
     This balance a~aIlable was calculated by deducting the fees from the previous releases ($75.00) of which you were
     charged_ an~ this release ($15.00) from your initial payment. As the FBI makes interim releases to you, it will subtract
     the duplication fees from this balance until this balance is exhausted.                   ,         ·
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 428 of 487 Pageid#: 6197
                                          -----------------                                  U.S. Dep~rt111ent of Justice




                                                                                                          -~
                                                                                             Federal Bul'eau    of
                                                                                                               Investigation
                                                                                             Washington)D.C. 20535

                                                                                           July 8, 2020

  Mr. William A. White
  5725 Artesian Drive
  Derwood, MD 20855

                                                                       Civil Action No.: 18-cv-00841
                                                                       FOIPA Request No1369569-000
                                                                       l!lihite v. EOUSA et al.
                                                                       Subject: Lefkow, Michael

  Dear Mr. White:

           The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
  United States Code, Section 552/552a. Below you wil! find check boxes under the appropriate statute headings
  which indicate the types of exemptions asserted to protect information which is exempt from disclosure. The
  appropriate exemptions are noted on the enclosed pages next to redacted information. In addition, a deleted page
  information sheet was inserted to indicate where pages were withi1eld entirely and identify which exemptions were
  applied. The checked exemption boxes used to withhold information are further explained in the enclosed
  Explanation of Exemptions.

                                                                                                               ,/

                                   Section 552                                        Section 552a
            r     (b)(1)                               C   (b)(?)(A)                   r·· (d)(5)
            r     (b)(2)                               r   (b)(?)(B)                  r·m<2>
            W.    (b)(3)                               M (b)(7)(C)                    1   (k)(1)
            Federal Rules of Criminal____
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          ------------- fr (b }\7)(F)                                                 r   (k)(4)
           r (b)(4)     r (b)(8)                                                      r   (k)(5)

          l (b)(5)      r (b)(9)                                                      r   (k)(6)
            P:    (b)(6)                                                              1   (k)(7)

           502 page(s) were reviewed and 254 page(::;\ :;;cs being released.

          Please see the paragraphs below for relevr:rt information specific to your request as well as the enclosed
  FBI FOIPA Addendum for standard responses appliczb!e to all re..:iuests.

           r'.:   Document(s) were located which originated with, or contained information concerning, other
                  Government Agency (ies) [OGA].

                  r   This information has been referred ·to the OGA(s)· for review and direct response to you.
                  r   We are consulting with another age:-;cy. The, FBI will correspond with you regarding this information
                      when the consultation is completeci.

           Please refer to the enclosed FBI FOIPA AC:ds:1dum for sclditional standard responses applicable'to your
  request. "Part 1" of the Addendum includes standard responses that apply to all requests. "Part 2" includes
  additional standard responses that apply to all requea,tB for ~ecorcif:', about yourself or any third party individuals.
  "Part 3" includes general information about FBI rec.::rcis th1::t you rnay find useful. Also enclosed is our Explanation
  of Exemptions.                                                                                                     ·
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 429 of 487 Pageid#: 6198



         Although your request is in litigation, we are required by law to provide you the following information:

             You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
    Department of Justice, Sixth Floor, 441 G Street, NW, Washington, D.C. 20001, or you may submit an appeal
    through OIP's FOIA online portal by creating an account on the following website:
    https://www.foiaonline.gov/foiaonline/action/public/home. Your appeal must be postmarked or electronically
    transmitted within ninety (90) days from the date of this letter in order to be considered timely. If you submit your
    appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal."
    Please cite the FOIPA Request Number assigned lo your request so it may be easily identified.

               You may seek dispute resolution services by contacting the Office of Government Information Services
     (OGIS). The contact information for OGIS is as follows: Office :Jf Government Information Services, National
     Archives and Records Administration, 8601 Adelphi Road-OGiS, College Park, Maryland 20740-6001, e-mail at
     ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-741-576e. Alternatively,
     you may contact the FBl's FOIA Public Liaison by emailing folpaquestions@fbi.gov. If you submit your dispute
     resolution correspondence by email, the subject heading should clearly state "Dispute Resolution Services." Please
     also cite the FOIPA Request Number assigned to your request so it may be easily identified.

               Please direct any further inquiries about this case to th':! Attorney representing the Government in this
     matter.   Please use the Civil Action Number 18-cv--0084 i in all correspondence or inquiries concerning your request



               p:   See additional information which follows.



                                                                      Sincerely,

                                                                     ·t~
                                                                       David M. Hardy
                                                                       Section Chief
                                                                     · Record/Information
                                                                          Dissemination Section
                                                                       information Management Division




     Enclosures (Bates ·pages FBI 18cv841 Lefk-2913 - FBI 18cv841 Lefk-3414, Explanation of Exemptions and FBI FOIPA
     Addendum)         :

          · The enclosed documents represent the ninth interim release of information responsive to your Freedom of
     Information Act (FOIA) request. The FBI will provide monthly rol!ing releases.

               Duplicatelcopies of the same document were not processed.

             Current_ly, Y?U have a balance ~f $~ 92.50 from payments you submitted in anticipation of duplication fees. As
     the FBI makes mt~rrm releases to you, It will subtract the duplication fees from this balance until this balance is
     exhausted.
Case 7:08-cr-00054-EKD Document
                           EX HI B411-2     a·) ( i i10/05/20
                                   IT · P ( Filed     i )     Page 430 of 487
                                                                            I Pageid#: 6199
                                                                                           U.S. Department of Justice




                                                                                          Federal BureaJ of Investigation
                                                                                          Washington, D. C. 20535

                                                                                          January 8, 2020

    Mr. William A. White
    5725 Artesian Drive
    Derwood, MD 20855
                                                                               l
                                                                       Civil Action No.: 18-cv-00841
                                                                       FOIPA Request No1369569-000
                                                                       Subject: Lefkow, Michael

    Dear Mr. White:

             The enclosed documents were reviewed under the Freedom of Information/Privacy Acts (FOIPA), Title 5,
    United States Code, Section 552/552a. Below you will find check boxes under the appropriate statute headings
    which indicate the types of exemptions asserted to protect information which is exempt from disclosure. The
    ·appropriate exemptions are noted on the enclosed pages next to redacted information. In addition, a deleted page
    information sheet was inserted to indicate where pages were withheld entirely and identify which exemptions were
    applied. The checked exemption boxes used to withhold information are further explained in the enclosed
    Explanation of Exemptions.


                                   Section 552                                      Section 552a
              r    (b)(1)                             r    (b)(7)(A)                r   (d)(5)
              r    (b)(2)                             r    (b)(7)(B)                r   (j)(2>
             W (b)(3)                                 P'   (b)(7)(C)                r   (k)(1)

             Federal Rules of Criminal                ~ (b)(7)(D)                   r   (k)(2)

             Procedure Rule 6{e)                      p-' (b)(7)(E)                 r   (k}(3)
                                                      r    (b}(7)(F)                r   (k}(4)

             r     (b)(4)                             r    (b)(B)                   r   (k)(5)

             P'    (b)(5).                            r    (b}(9)                   r   (k)(6)
             P:    (b)(6)                                                           r   (k)(7)

             500 page(s) were reviewed and 209 page(s) are being released.

            Please see the paragraphs below for relevant information specific to your request as well as the enclosed
    FBI FOIPA Addendum for standard responses applicable to all requests.

             P'.   Document(s) were located which originated with, or contained information concerning, other
                   Government Agency (ies) [OGA].

                   I!: This information has been referred to the OGA(s) for review and direct response to you.
                   ,.., We are consulting with another agency. The FBI will correspond with you regarding this information
                        when the consultation is completed.
@
             Please refer to the enclosed FBI FOIPA Addendum for additional standard responses applicable to your
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    additional standard responses that apply to all requests for records about yourself or any third party iridividuals.
    "Part 3" includes general information about FBI records that you may find useful. Also enclosed is d.ur Explanation
    of Exemptions.                                                                                           \
                                                                                                     !·
                                .
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 431 of I487 Pageid#: 6200
          For questions regarding our determinations, visit the www.fbi.gov/foia website under "Contact Us."
  The FOIPA Request Number listed above has been assigned to your request. Please use this\ number in all
  correspondence concerning your request.                                                       \

           You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
  Department of Justice, Sixth Floor, 441 G Street, NW, Washington, D. C. 20001, or you may submit an appeal
  through OIP's FOIA online portal by creating an account on the following website:                   ·
  https://www.foiaonline.gov/foiaonline/action/public/home. Your appeal must be postmarked or electronically
  transmitted within ninety (90) days from the date of this letter in o_rder to be considered timely. l,f you submit your
  appeal by mail, both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal."
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  you may contact the FBl's FOIA Public Liaison by emailing foipaguestions@fbi.gov. If you submit your dispute
  resolution correspondence by email, the subject heading-should clearly state "Dispute Resolution Services." Please
  also cite the FOIPA Request Number assigned to your request so it may be easily identified.



            p     See additional information which follows.



                                                                     Sincerely,


                                                                    ~David M. Hardy
                                                                     Section Chief
                                                                     Record/Information
                                                                        Dissemination Section
                                                                     Information Management Division




   Enclosure(s)


                  The enclosed documents represent the third interim release of information responsive to your Freedom
   of Information Act (FOIA) request. The FBI will provide monthly rolling releases.

                   To minimize costs to both you and the FBI, duplicate copies of the same document were not
   processed.

                 Currently, you have a balance of $242.50 from payments you submitted in anticipation of duplication
   fees. As the FBI makes interim releases to you, it will subtract the duplication fees from this balance until this balance
   is exhausted.
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 432 of 487 Pageid#: 6201
                          EXHIBIT P(a)(iv)                        I
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                                                                                                                               U.S. Department of Justice
                                                                                                                                            !




                                                                                                                              Federal Bureau of Investigation
                                                                                                                              Washington, D. C. 20535

                                                                                                                                       July 06, 2020

     Mr. William A. White
     5725 Artesian Drive
     Derwood, MD 20855

                                                                                                            Civil Action No.: 18-cv-00841
                                                                                                            FOIPA Request No1369569-000
                                                                                                            White v. EOUSA et al.
                                                                                                            Subject: Lefkow, Michael

     Dear Mr. White:

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     applied. The checked exemption boxes used to withhold information are further explained in the enclosed
     Explanation of Exemptions.


                                                  Section 552                                                           Section 552a
               r     (b)(1)                                                         r    (b)(?){A)                      r  {d){5)
               r     {b)(2)                                                         r    (b)(?)(B)                      r m<2>
               P'    (b)(3)                                                         p    {b)(?)(C)                      r   (k)(1)

             --~~--~~~----
               Federal Rules of Criminal                                                      IP'
                                                                                         (b)(7)(D)                      r   (k)(2)

             _PC-'r....::.o..:;.;ce::..;:d=u.;. ;:re;.,_,'--'R=ul=e-"6..>..:(e:..L.)_ _ _ _ _ P (b)(?){E)               !r (k)(3)
                                                                                   [r-1 (b)(7)(F)                       r   (k)(4)
             -------------                                                         r                                    r· (k)(5)
               l     (b)(4)                                                              (b)(8)

               r     (b)(5)                                                        r     (b)(9)                         r   (k)(6)

               J7 (b)(6)                                                                                                r (k)(7)
              513 page(s) were reviewed and 111 page(s) are being released.
             Please see the paragraphs below for relevant information specific to your request as well as the enclosed
     FBI FOIPA Addendum for standard responses applicable to all requests.

              r      Document(s) were located which originated with, or contained information concerning, other
                     Government Agency (ies) [OGA].

                    r      This information has been referred to the OGA(s) for review and direct response tq you.
                    r      We are consulting with another agency. The FBI will correspond with you regarding this information
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     of Exemptions.                                                                                                     ·
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 433 of 487 Pageid#: 6202


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       Although your request is in litigation, we are required by law to provide you the following information:
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          You may file an appeal by writing to the Director, Office of Information Policy (OIP), United States
   Department of Justice, Sixth Floor, 441 G Street, NW, Washington, D.C. 20001, or you may submit a~ appeal
   through OIP's FOIA online portal by creating an account on the following website:                         :
   https://www.folaonllne.gov/folaonllne/actlon/publlc/home. Your appeal must be postmarked or electronlcally
   transmitted within ninety (90) days from the date of this letter In order to be considered timely. If you submit your
   appeal by mall, both the letter and the envelope should be clearly marked "Freedom of Information Act Appeal."
   Please cite the FOIPA Request Number assigned to your request so it may be easily Identified.

             You may seek dispute resolution services by contacting the Office of Government Information Services
   (OGIS). The contact information for OGIS is as follows: Office of Government Information Services, National
   Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 207 40-6001, e-mail at
   ogis@nara.gov; telephone at 202-7 41-5770; toll free at 1-877-684-6448; or facsimile at 202-7 41-5769. Alternatively,
   you may contact the FBl's FOIA Public Liaison by emailing foipaguestions@fbi.gov. If you submit your dispute
   resolution correspondence by email, the subject heading should clearly state "Dispute Resolution Services." Please
   also cite the FOIPA Request Number assigned to your request so it may be easily identified.

             Please direct any further inquiries about this case to the Attorney representing the Government in this
   matter.   Please use the Civil Action Number 18-cv-00841 in all correspondence or inquiries concerning your request



             P'   See additional information which follows.



                                                                    Sincerely,


                                                                  - ~
                                                                    David M. Hardy
                                                                    Section Chief
                                                                    Record/Information
                                                                       Dissemination Section
                                                                    Information Management Division




   Enclosures (Bates pages FBI18cv841Lefk-3415- FBl18cv841Lefk-3927, Explanation of Exemptions and FBI FOIPA
   Addendum)

           The enclosed documents represent the tenth interim release of information responsive to your Freedom of
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   lnformatio n Act (FOIA) request. The FBI will provide monthly rolling releases.

             Duplicate copies of the same document were not processed.

           Currently, you have a balance of $177.50 from payments you submitted in anticipation of duplication fees. As
   the FBI makes interim releases to you, it will subtract the duplication fees from this balance until this balance is
   exhausted.                                                                ·
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           Precedence:           ROUTINE                                                    Date:   03/0-3//2005




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           To.:     Counterterrorism                                     Attn:
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           Title:       THE CREATIVITY MOVEMg:~·•.:
                        AKA; WORLD CHURCH OF T'.iE CREATOR
                        TERRORISM ENTERPRISE J .t?.JESTIGATION

                INFORMATION CONTAINED HE.1.. .:: ·:N IS FROM A WELL ?Ll.CE,D AND
             SENSITIVE SOURCE.   FURTHER r:.·:·-:•,qEMINATION OF THIS INFORMATION
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                        DISCLOSING THE IDc·.1 ,:ITY OF THIS SOURC:H:.

           Synopsis:           Provide source repccd.ng.

           Enclosure(s): Enclosed for :r:·-::·,·:.:--:iving offices[?nQ pToJare two                                   b7D
           copies each of a source FD-30;                                                                             b7E

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           Donna Humphrey, this source 1..:- . • · contacted for in.f orrna-t ion on
           these murders.  Information T:' ... ·:·.ided by the so 1 •;•rr<1=- ~-"' reflected
           in the enclosed self-explanat.,:.- i FD-3 02.
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            COUNTERTERRORISM

                      AT WASHINGTON, DC
                      Re,:.1.d and clear.
    Set Lead 2:            (Info)

            CHICAGO
                      .AT CHI CAio, ILLINOIS

                      .Rea.d
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     Set Lead 3:           (Info)



                      A'l' SPRINGFIELD,      ILLINO_ '. :·,

                      Read and clear.
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     7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 437 of 487 Pageid#: 6206
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  To:   Chicago    From~~ )Springfield ,
  Re:   _266A.:.CG-123527, 03/11/2005




  LEAD(s):
  Set Lead 1:        (Info)

        CHICAGO

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   'To:
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          Springfield <-.;+om:L i ttle Rock
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   Re:    100-SI-50564, 03/11/2005                                                     b7D




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               On March 4, 2005, individual advisedj                    ·              b7C
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               Enclosed FD-302s for Springfield contain the above
    noted ±nformation.




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                The FD-302's enclosed for Springfield contain
  LEAD (s) :

  Set Lead 1:       (Info)
        SPRINGFIELD

                AT ILLINOIS

                Read and clear.
   Set Lead 2:      (Action)

        CHICAGO
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                AT CHICAGO; ILLINOIS
                Read aJd clear,
   Set Lead 3:      (In~o)

         COUNTER TERRORISM

                AT WASHINGTON, DC
                Read and clear.
               INFORMATION CONTAINED HEREIN IS F.ROM A SENSITIVE
               AND RELIABLE SOURCE.         FURTHER DISSEMINATION OF
           INFORMATIGN ENCLOSmD AND CON"TAINED IN THIS EC SHOULD
              BE AFFORDED APPROPRIATE PROTECTION TO AVOID
                    DISCLOSING THE IDENTIY OF THIS SOURCE.
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     {Rev. 01-31-2003)

                              FEDERAL BUREAU OF INVESTIGATION
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               Precedence:         ROOTINE                          Date:              03/19/2005
               To:       Counterterrori.srn              S.SA      I                             ,,,.---·   •.   -·
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                         Albuquerque             Attn:   SSA                                                     I Squad 3
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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 441 of 487 Pageid#: 6210
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              Indianapolis                 Attn:                                                     Squad 7
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              Kansas City                  Attn:

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      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 442 of 487 Pageid#: 6211



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                 Minneapolis                  Attn:      SS.,._._ _ _ _ _ _ _ _ _"'"'1quad 4
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                Philadelphia                  Attn:     SSRA.
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                Phoenix                                 TFO
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                San Francisco                 Attn:   SSA-.--.,._ _ _ _ _ _ _ _.,__                   _.
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                                                       SA                                      Squad 5
                                                       SA                                  Squad 3
                                                       SFrO_,.__ _ _,___ _ _ _..J
                                                       s
                                                       SF:::O~-----------.
                                                       SFO
                                                       SFO
                                                       SA
                                                       SA....---------,_                  _J


                                                       SA
                                                       SA.       r"'"™""""'-====f
          Tampa                                        ""A'
                                                       ;j,) aal~~~==-~~            'I
                                                       SA
                                                       SSA~-------__._,
                                                                      RA.
          Washington                       Attn:


 From:
         Ch,:ag: I                                                                                         b6
               on act·: · s   Sara.   A Loper         ext.LJ                                               b7C
                                                                                                           b7E
 Approved By: ,____ _ _ _ _ __. (£J

 Drafted By:      [sara' A Lop~L·baJ.i~
 Case ID#: 266A-CG-122346,            (Pending)-~~
               266A-CG-123527, Sub Rightwing                ( Pe11clin§')   l5f
                                                                                                           b6
                                                                                                           b7C
 Title:!.__-----,----__.
          AOT/DT;


                                          4




                                                                                        FBI 18cv841Lefk-33211
                                                                                                .                I
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   Case 7:08-cr-00054-EKD Document
       To:    Albuquerque
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                                '.)m:  Ch.icago
                                                         .,j_ 444 of 487 Pageid#: 6213
                                   411-2 Filed 10/05/20 Page
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       Re:    2 66A-CG-12234 0,     03/16/2005



                   BART ALLEN ROSS (DECEASED);
                   MICHAEL LEFKOW - VI~TI~ {DECEASrr
                   D,ONNA HUMPHREY - VICTIM (DECEASED;
                   AOT/DT; VIOLENT CRIMES;
                   KILLING OF FEDERAL OFFICIALS'S FAMILY;
                   JUDGE JOAN HUMPHREY LEFKOW'S FAMILY;
       Synopsis:      A    summation of the respons·es by receiving offices of
       FBIHQ lead.

       Reference:         266A-CG-119311, Sub B, Serial 4

       De-tails:     On February 28, 2005, Judge Joan Humphrey Lefkow
       arrived home and found her husband and mother, Michael Lefkow and
       Donna Humphrey, fatally wounded in the residence. Chicago Police
       Department, FBI Chicago and the United St'ates Marshals Service
       formed a Command Post to conduct a joint investigation on the
       homicides.
                 Although the crime occurred in Chicago, Illinois, the
       investigation stemmed to all FBI Field Offices and several
       Legats. The information in this communication is a culmination
       of responses to leads from FBIHQ and Command Post.

                 The Albuquerque Division contacted logical sources, but
       was unable to provide a positive response regarding involvement
       of any ties between white supremacists operating in their
       Division and the Lefkow homicides.
                                  D vision      ovided source informat1on                            b6
                                                                                                     b7C
       [ from Dav i d P r i n g l e · and/or An ch or age Ac ti-vi st l l                            J::.7D


                                        [rightwing~3· to ~14]




                    The source alsol                                             l




                                                                                                     b6
                                                                                                     b7C
                                                                                                     b7D



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                                                                                     FBI18ot841Lefk-332~
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                                                          Page 445 of 487 Pageid#: 6214


i,
       Re:   266A-CG-12234 ; 03/16/2005
                                                                                 '                            b6
                                                                                                              b7C
                                                                                                              .b?l'.J

                  [AtlantJDivision sources provided no positive
      informatio11. -.                                 .

                  j.Baltir.iordDivision provided information on the
      following persons:
                   Name:
                   Address:                                   [rightwing-210]
                                                              [rightwing-217, -218]

                    DOB:
                   Affiliation:
                                          ,.
                   Name:
                   DOB:
                   SSN:
                   Affiliation:

                 I Baltir.ior.el::.rl-rT;c,orl             t_.h:i+-   I                                       b6
                                                                                                              b7C
                                                                                                              b7D




                  I 8i r   HJ i   n Qh 2: n Sq u a d        ·l1ocated and interviewed,     11

                   Name:
                   Address:                                           [rightwing-20]
                                                                               [-14]
                   DOB:
                   SSN:
                   Affiliation:
                                is a white su remacist who~!_ _ _ _ ___,l                                     b6
                                                           Durin  an interview                                b7C
      o:f                he advised t a t he was!-----,--,--..,-.,------,..--J
     ~~-                                     While residin in
      ~'...__
           ===~-~====~-~-==~-~e==:"""""'======'      was
             _ _ _ _~_ _ _ _ _ _ _ __..advised that the                                I    e
      and WCOTC members were acquainted and at times held me_e_t-i=n_g_s~=-
      together. I                 !in 2003 and never witnessed or had
      knowledge of any violence while
                                                               ~------------1


                                                                  6




                                                                                                FBI18cv841Lefk-3323;
                                                                                                                        I
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page
                                                        ,- 446 of 487 Pageid#: 6215
   To: Albuquerque : ~m: Chicago                      (

   Re: 266A-CG-12234·-,. 0;3/16/2005




                                                                                                                                  b6
             jaostuni loivision                  interviewed the following:                                                       b7C
                                                                                                                                  b7D·
              Name:
              Address:                                   [rightwing-155_]
               DOB:                                      [rightwing-22?]
              Telephone number:                          [rightwing-144, -145,
              Affiliation:                                   -146, '-147]




                                                                                                                                  b6
              Name:                                                                                                               b7C
              Address:                                   [rightwitig-107]
              DOB:
              SSN:
              Affiliation:
                                                 ed with
                                                                                 as not par icipate
  with the WCOTC since
                                                                                                                                  b6
              Name:                                  . [rightwing-108]                                                            b7C
              Address:
              CeJ.1. tel.ephone:
              DOB:
              SSN:
              Affiliation:
             [Bost P nIDi visioi.i-..1..1.1.1..ia:....M....J;=:.i..u..-....,..._....,.,,..._,.~.,,,,.........,.1                  b6
  at one time involved with'-_........f____...._,                                                                                 b7C
  after their relationship en e . ..__ _ _ _~has had no contact
  with the WCOTC or any similar organiza ion.




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                                                                                                                   FBI18cv841Lefk-3324;
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 To: 7:08-cr-00054-EKD Document
       Albuquerque r'"~,m:      411-2 Filed 10/05/20 Page 447 of 487 Pageid#: 6216
                             Chicago
 Re: 266A-CG-12234\,-.. J 03/16/2005

                                                                       _,
                                                                                          b6
                 Name:                                                  I
                                                                        I
                                                                                          b7C
                                            [rightwing-211]             !                 b7D
                 Address:
                 DOB:
                 Cell telephone:
                 Maine DL #:
                 Affiliation:


 provided
               ._____.I was uncoop,erative with interviewing agents
               one or two word re~ponses to the questions asked by
                                                                               and
                                                                                          b6
                                                                                          b7C
                                                                                          b7D
     interviewing agents.
                 Name:                      [rightwing-135,
                 Address:                      -136]
                _ DOB:
                 SSN:
                 Telephone number
                 Affiliation:




II
I
                ! Ruf&;i~ ol'oivision   attempted to locate source
     :l.n:fo:i:-ms.tion,ti= had not obtain pos:l.tiv0 in:Eorn1ation.
                                                                                          b6
                                                                                          h7C
                                                                                          h"/D
                [yJW rJ ot t-e   loivision 1ocated ·and interviewed,
                 Name:
                 Address:
                 DOB:
                 Affiliation:

                         Iis-currently employed as                                        b6



                                                                                 l
                                                     1                                    b7C
                                                                                          b7D

                                 also has a source
                 [rightwing -164, -165~ -25]




                                                                            FBI 18cv841Lefk-332J
                                                                                                 I
Case 7:08-cr-00054-EKD    J
   To:   Albuquerque Document
                           "pm:
                                 411-2 Filed 10/05/20 Page 448 of 487 Pageid#: 6217
                                Chicago
   Re:   2 66A-CG-12234\,-; 03/16/2005



               ~,ncinnati !Division queried sources and did not have                                b6
  any positive intell.igence regarding the homicides or th~ wh.ite                                  b7C
  supremacy movement.                                                                               b7D


              lcincinnati              ]RA, had a Co,?Perating Witness who

                        [rightwing-27 squad 6 agent cps]




            !Dall as !Division r.esponded to Command Post leads and                    _ 3,iS·,5lio, bf
  FBIHQ leads. Special Agents interviewed two subjects ai: the                             _-;--n   b"JC
 ,request of the Co                            t            als were described
  as bein nervous.


               Denver Division received a letter from
 l,---------------_,_____________________.
  Lt~~-.i....1t..1<.;.,...__=.,,.....,.=~=-.,J.==-=-~--a-t~-a-1_e~a=n==-e_r=w~~-=
 ,..J!yPremac1sts                inJL..._?!.[L_tl.Jj_auce in conjunction with      .J
 L                                                        I 1ctentTITeaf~: jas a==-_
                                                                   7
   prolific letter writer who has written numerous letters to
   public officials assertiijgt~howledg~i~f major crimes, including
                             [rightwing-26]                                                                II

                                                                                                            l
              ~enverJDivision also identified the following:                                        l:>6    !
                                                                                                    b7C     i
                Name:                                                                               b7D
                                                                                                    b7E
                                                                                                           'i
                                                                                                           A

                                               [ri_ghtwi ng-117]
               Address:
               DOB:
                                                                                                           I
               SSN:


                                                                                                           I
               Colorado DL #:
               U)enver I Division.   Sr:ruad 5-    advised the onen:i..no of a
                                                                                   I                       ~
                                                                I adv.1.sed cruring a
                                                                                     I.                    I
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                                                                                                           I;
                                                                               FBI18cv841Lefk-332(1
                                                                                                  ~
                                                          ----------'--------------·- I
Case 7:08-cr-00054-EKD Document
                       '1       411-2 Filed 10/05/20 Page 449 of 487 Pageid#: 6218
          To:   Albuquerque                                    >m:             Chicago
          Re:   266A-CG-12234v, · 03/16/2005


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 '------:_-_-,::_-,:::.::.::.::.:::.::::,:;--------;:::======::;------~-='b7C
             [ ·f•1t.I:_ol-~:f.XJ. ~"-" __,J RA, identified                                                                                     · la.'st            b?D
  . known addies~ at [rightwihg-2i J
      SA I      ·                  lreq"'=u=e-s....;;.,.e-=--=-==,.=s==""'Riae=,1,...v'""1=s=-1-o=n=pLO~'F'o=c=a""'1t=e=a-n=,m===--
      interview j                                 l
                                                                                              · .____l.;;..;RA;;.;;,,
                        .:;..D.:e-=t~r"P'o}_i..;;t:..::..::·5:.. .:T...v_j__s,1,,,1i1,,,1Q...P...                       con du ct e d baa.kg round
                                                       I
                    ..,.I


      information on!
                            Name:
                                       . . ,_______.::===---------------,
                                                               ·
                                                                                                                                                                    b6
                                                                                                                                                                    b7C
                            Michigan License:                                                        [rightwing-7~7, -748]
                            Employed:
                                                                                                     [rightwing-775, -776]
                            Affiliation: ·
                       I                                                                                                                                     I
  ....,_---,----,----,----,--,---,------,-,..,....,,,-----,,,...,..,.-,-....,,...-..--------,                 lwas
    interviewed and provided a credible alibi ff"lrl
   whereabouts on Februarv 28, 2005. I
  ,.;-;.;;_c.....;.~..;.;;..;;-----....a...a.-------"-'-'"-=-'----'-.........----"-----"---------------------'1
                                                                                                                have a
      I
                    I El.            ~aso Divis;~~ Squad 6, reported.not having any key
                                                                                                                                                                    b6
                                                                                                                                                                    b7C
      Creativity Movement individuals within its territory.
                      [::·-,. -:·.==-~£iv is i ~                                    ri] ~quad                     7, contacted the following:
                            Name:
                            Address:                                                                      frightwing-6]
                            DOB:
                            SSN:
                            Telephone number
                            Name:                                                                         [rightwing-6]
                            DOB:
                            SSN:

                            ommunicates his o inions of Jude Lefkow and                                                                                            b6
      other related topics 1n an 1nterne    ca room    requen e   y                                                                                                b?C
                       owers.
                        This internet chatroom is called                                                                                                           b7E
                                       on-line moniker is                    • The
      extent of    's association wi t h Ma t t Ha l e a nd h i s k no-w l e d ge o f
      the Lefkow murder plans ar~ currently unknown.               was and may
      sti 11 be
  r-_ _ __,__ _ _ _ _ _ _ _ _ _7---;,,--::-;---::----:--r----:---:---=----+---,--llon
tll                                                                                                              !of the Creativity Mov~ment.

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Case 7:08-cr-00054-EKD
   To:   Albuquerque Document      411-2 Filed 10/05/20 Page 450 of 487 Pageid#: 6219
                       , ~"':)m: Chicago
   Re: 266A-CG-12234\:,,       03/16/2005


                                                                                                                       b6
                                                                                                                       b7C
                                                                                                                       b7D
                Indian~poli~ Division interviewed the following:

                Nam(:]'•
                    .1   v.1                           FNU West :
               DOB:
                                                              [ r i g h t wi n g - 2 2 O~'.. - i 6 J
               SSN:
               Affiliation:                            None

  a

  advisin     that
                                                    West 1.s not
  Church of tbe Creator and only knows of
  interviews. I

                                                                                                           I
               Name:                                          [rightwi,ng~157, -158, -159]                 I
               Address:
                                                                                                           I
               lnctfant\pol; s1 Division.                I                      !
                                                                                i RA, identified



                                                                                                                       b6
                                                                                                                       b7C
                                                                                                                       b7D
 "=============-===alrequested to speak with law
  en.rorcement reqardinq information he had on the Lefkow homicides.
                 [rightwing-348]                                                                                       r




              t n rl ;   :> '"'   ~ n " ,._.; ,..         IRA, received a telephone call
  from al                                                                         I
                                         !with potential positive information. I:
              Lrightwing-214, -215]


                                                       11




                                                                                                                             '
                                                                                                       FBI18cv841Lefk-332f:!
Case 7:08-cr-00054-EKD Document
                        ';      411-2 Filed 10/05/20 Page
                                                     •,,,.J 451 of 487 Pageid#: 6220
   To:   Albuquerque 0)m: Chicago                                                 f
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                                                                                                     I
                                                                                      .,         C
  Re:    266A-CG-12234\~/ 03/16/2005                                                       ·--




                                                                                                         i                    b6
                                                                                                                              b'7C
                                                                                                         ''
                                                                                                         I                    b7D
                                                                                                         !




             (Lacks~~] Division indicated that there was no positive                                                   --S
  source information regarding the homicides.
             [Ja._G   ks_o ~vi l l.gj_Di vision interviewed
                                                                                                                       -
              Name:
              Address:                              [ri ghtwi ng:...17, -18]

              DOB:
              SSN:
              Telephone number:
              Spouse:
              Cell number:
              Affiliation:

                             advised interviewin                            ents that he is                                   b6
                                                                                                                              J::."iC
                                                                                                                              b7D




              ac R:S On v i 1Watt empted  to 1 o cat e '---~r:.i.01.,1,Qwl1..J..iL-ld.!. 1Q;.;P.=. . a. l~i.!.in              bf5
.__their
    ____   __.I
         Division      an     .
                             earned he has moved to!.___________.
                                                                         r'-.

                                                                                                              I              b7C
                                                                                                                             b7D

            ~acksonville}located and interviewed the following:
              Name:                                 FNU Piazzfl
              Address:
                                                                    [rightwing-30]
              DOB:
              SSN:
              Cell phone:
              Affiliation:

                                                     12




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Case 7:08-cr-00054-EKD
         Albuquerque ·,Document 411-2 Filed 10/05/20 Page 452 of 487 Pageid#: 6221
   To:                  · ·)m: Chicago
   Re: 266A-CG-12234·~-, . 03/16/2005                                            (~)

                                                                                                                b6
                                                                                                                b7C
                                                                                                                b7D



                Name:
                DOB:                                   [rightwing-31]
                SSN:
                Affilia.tion:                        None
            ------.~~._,.::.-,,c.,.i=;.•r---=:i.,.,.~=........_,=.v.-.-~--=-,~=------~=- -•--~--1               b6
            ------~~--~------~-~~_J                                                                             b7C
                                                                                                                t•·.:·.::i
                Name:                              [rightwing-32]
                DOB:
                SSN:
                Affiliation:                         Unknown


                J<an:s.as. c·ity SpringfielctlRA located and interviewed
                Name:
                Address:                               [ r i g ht wi n g-2'?-~-- --2 9, -3 5 J
                                                       Springfield, MO
                DOB:
                SSN:                                                                                           b6
                Te1ephone number:                                                                              b7C
                Affiliation:                           Creativity Movement                                     b7D


            I
  impressed" .with Hale.!
                           !advised interviewing agents that he was "not
                                                 Idescribed           H~~!.Ozl.,,,Jd,>.J,,"-=l~Y friendly
  and a eared to have little cormnon sense.                                 Sp-ringfie-lct   RA ooened
                                           rig



            ! Lr.is
                 VPn~s-!Division reported negative results in                                                   b6
                                                                                                                b7C
  attempting to query sources regarding the Lefkow homicides.
                                                                                                                b7D
                Little Rock




                                                      13




                                                                                                                             i
                                                                                                 F8I18cv84ilefk-3330:
                             ··•                                     •
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 453 of 487 Pageid#: 6222
  To: Albuquerque rrom: Chicago
  Re: 266A-CG-122346, 03/16/2005


                                                                                                         b6
             l:j·-       ·     J   Squad 7, attempted to J.ocatel                                        b7C
[=·-----...J but ·was-unsuccessful.                                      ~------~                        b7D
            !Lo~. Angel es.! SguactC                     j located   l             !at
                                                                                                  __ _
L                                                                          I advised            -i1.,.15·1
                                                                                                       ....

 interviewing agentsr "he would not shed a tear if American law
 enforcement was k:l.lled" and would neve.r cooperate ·with .American
 law enforcement.[          jalso indicated that he has an inte~se
 hatred of the FBt.
           [tos· Anocl~s :··.          =
                              ]was diligent in determining a   -J.S:\··SS'-'.··~1,-B
 blackberry message written to the Superintendent of the Chicago       ~ - .. ,
 Police.  The message identified the alleged person who ordered
 the killing of Judge Lefkow's family and advised Superintendent
 Cline to contact a Petecti ve!    , ! SArmirl SSA!            j
 others responded immediatel and d e t e r ~ the· messa e was                                           b6
 probably sent by                                                                                       b78
                                                                                                        b7D
                                                                                                        b?E

L_______'~Lrs        Anaeles Sau~~             was tasked to locate and interview


                 Name:                          April Gaede aka
                 Address:
                                                 [rightwing-400,-401,-402]
                 DOB:                            [rightwing-724, -725]
                 SSN:
                 Affiliation:                  Unknown
                                                                                ·locate
 and
              LSnCfi'117l1:l:1i:oJ
                              - I Squad   3,   located and interviewed
                 Name:                         April Gaede              -·
                 Address:                      - [rightwing-400,           I
                 DOB:                                            -401, -402]
                                                                                                       b6
                 Telephone #:
                                                                                                       b7C
                 Affiliation:
                                                                                                       b7D




                                                                                       _, ,,s,-i·u,_-,1-'7
e results.   ·1~----------'lquerled            their sources with negative·




                                                 14



                                                                                 FBI 18 cv841 l.efk- 3331
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 454 of 487 Pageid#: 6223
   To:    Albuquerque  ~rorn: Chicago
   Re:    266A-CG-122346, 03/16/2005


                 :J Di vision also queried their sources
                                                                         I



               ·:I:                                                  with
                                                                                                                 b6
                                                                                                                 b7C
  negative results.                                                                                              b7D
              The Springfield Division reported a plethora 9f
  information to the Chicago Division.   The followlng is a brief
  g1irnpse of the information provided bv Sprinafield.

                      Names:
                      Address:                  [rightwing-104]

                      DOB:
                      SSN:
                      Vehicle:

                      Affiliation:

                                                                             ,,:
                                                                    remac1st r,,
                                                                                         ]
                                                                                                           h6
                                                                                  a                        b7C
  me     er.                                                                                               b7D

                      Name:
                      Address:                  [rightwing-69]
                      DOB:
                      Telephone number:
                      Affiliation:
                I            . met•,.Mntt:kaJe;t.                        lill.inois
  when Hale was a student.at Southern Illinois University-.
                                  ;advised interviewing agents that he never
 -a~t~t_e_n_d~e-a-w-o-c-1-·c-g-a-t~h~erings and does not know anyone who is
  associated with the WCOTC other than Hale. FBI Chicago recalls
  that
  Hale-.------------------------------'
                                                                                                                 b6
                      Name:                                                                                      b7C
                      Address:                   [rightwing-70? -77?].
                                                                                                                 b7D

                      DOB:
                      SSN:
                    Telephone number:
                    Affiliation:
                               attended WCOTC   ublic rneetin s held in Illinois




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                                     .e
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 455 of 487 Pageid#: 6224

     To:   Albuquerque                 rrom:        Chicago
     Re:   266A-CG=l22346,                       03/16/2005

                                                                                                                        b6



L----===,--::--------'I
                                                                                                                        b7C
                                                                                                                        b7D

                     Name:
                                                                        [rightwing-6.9?]          Illinois
                     Address:
                     DOB:
                     SSN:
                     Telephone number:
                     Affiliation:
                                                                                                                        b6
                                                                                                                        b7C
     and is ourrentlyj
 ~------------'!
 j               Illinois.
                     Name:·.,..
                     Address:                                             [rightwing-73?]
                     DOB:
                     SSN:
                     Affiliation:                                  'Unknown

                 t.,          -·-   3-"Ji?A'--       "ftnt   -,-   GP    Lii1                                =]

                                                                                ]RA,   interviewedIBu-s.sell J          b6
                                                                                                                        b7C
                                                                                                                              ;
                                                                    ~"""""'i=n~te~rview occurred at his                       l_

     residence
                        IL.     j.___ _ _ _ ___,                                       osifive in ormation
     on the murders, but it was
                                                                                                   agen s
                                                                                                   be1ieve in
           he
                Springfield Di yi si on« -[ , : : ~ BA a J so bad the
     opportunity ·to interview!.....,_--,,---~-------------------1
     who provided no positive information.
                     Name:
                     Address:                                           [rightwing-90? -96?]         Illinois
                     DOB:                                                                                             b6
                     Affiliation:                                                                                      b7C
                                                                                                                       b7D
                 I                                                                                   I.
                                                                                                              I
 1
 ......,...L..,...L~.L1=n=o.,,..1=s-._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___.,1;
 1



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                                                                                                          FBI18cv841Lefk-3333!
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--~-~-=~---~=~~---~========;'======~J
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 456 of 487 Pageid#: 6225

     To:    Albuquerque ~£om: Chicago
     Re:    266A-CG-122346, 03/16/2005
                                                                           I /-·
                                                                           I
                    ...,ri:--------. ·. .
                    J;,ci_µisvi l l e]Division                             I
                                                  did not have any positiv~ source                  b6
  information ·concerning WCOTC members or their activities.                                        b7C

                    l[emp hi i_il
                        Name:-
                        Address:

                        DOB:
                                                 I
                                    Squad 5/JTTF, located and interviewed

                                                  [rightwing-89, -91, -98]

                        SSN:
                        Affiliation:             None admitted

                    !               j contends
  any militia or anization or white su remist
                                                 that he has never been a member of

  admitted to




  commented durin               his interview that he



 - numerous personal weapons located in his apartment.

                    !-·-M:i.am[I Squad T-6, provided information on the                             b6
  f oliowing: .                                                                                     i::.7C

                        Name:
                        Address:                     [rightwing-114]
                        DOB:
                        Te~ephone number:
                        Affiliation:             Creativity Movement (last known)
            .__ _ _ _ _~!has ·been associated with the World Church
  of the Creator WCOTC. Witnesses describe            as bein
                                                          Accor       0   recor s
 .__--,---,-, was
  and shows~n=o-=r~e~t~u~r~n~.------------------------_J

                        Name:                                     I                                 b6
                                                                                                    b7C
                        DOB:                                      J                                 b7D

,I                                                                                                           ~

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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 457 of 487 Pageid#: 6226
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                    \ __/
  To:   Albuquerque ~rom:    Chicago
  Re:· 266A-CG-122346,    03/16/2005



                                                                                                              b6
                                                                                                             b7C
                                                                                                              b7D
            f"Mi l w_a.ll'$.ee]    Squad 10/JTTF,      located e\nd interviewed
 World Church of the Creator (WCOTC) member

             Name:
             Address:.                          [rightwing-719]
             Affiliation:
             Name:                              [ r i g ht w·i n g- 7 2 0]
             Address:

             DOB:
             Affiliation:                  Unknown

             Name:
             DOB:                               [rightwing-721]
             SSN:
             Incarcerated:

             Affiliation:
             All three individuals refused to talk with agents.
           I Milwaukee                   I RA, located and interviewed I                                      b6
                                                                                                              b7C
                                                :trightwing~t&1: -152]                                        b7D




            I Minneapolis I squad          4,    located and interv~ewectiJeff
                                                                        rd
l1_;~~i~em~~~   i~ :· t~e   ~~~t~_;·_~·u1remacist movemJ~~~a                 ing
                                                                                   th
                                                                                        eir

             Name:                          Jeffrey Sch o_ep. :·
             Addres.s:                           [rightwing-264]                                             b6
             DOB:                                                                                            b7C
             Affiliation:                   National Socialist·Movmeent

           L:---------,---.---1r------------'.....,.......,,~o when
 Matthew Hale was arrested. - ~ - - - - ~ - - ~ - - - ~ a l e ; but
8does not consider himself a close associate.       c oep considers
 the NSM to be a political organization and the World Church of
 the Creator (WCOTC) as a religious organization.


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                                                                                              FBI 18cv841 Lefk-3335;
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 458 of 487 Pageid#: 6227
        To:    Albuquerque ~tom: Chicago
        Re:    266A-CG-122346, 03/16/2005




                                                                                                                                    b6
                         Name:                                                                                                      b7C
                         Address:                         [rightwing-261; -324, -325,
                         DOB:                                 -349, -35or
                         Affiliation:                   Unknown

                                        lhas been a member of the World
        Church of the Creator (WCOTC) and has known Matthew Hale for the
        nast two to three vears, I                             !has met Hale several times at
    I                                                                                      I


                                                                                                                                                !
                      I Minneap_oi"is         lsouad 4, identified    I          las having                                         b6
                                                                                                                                    b7C
                                                                                                                                                I
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        hoi nrr   rlRRnr.i ;:it'.orll                                                  lin
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                                   [rightwing-324, -325]


                  friQbile loivision reviewed the list of key
        members/figureheads within the World Church of the Creator and
        determined there were no logical leads in their Division.

                                             Squad 8 ~ located and interviewed~
                              J -
                         IN-ew.ar.k
    , - - - , - - r . . . - .•-                    ~                               ~


                         Name:                      j
                                                        Harold Charles Turner
                         Address:                                                                                             b7C
                                                           [rightwing-89]                                                     b7D
                         Telephone number:
                         Affiliation:


                         Name:                          Robert Campbell
                         Address:
                         Telephone number:
                         Affiliation:


        .             (.....,. - - '··'""f
                           1D.ivision canvassed all logical sources. and did                                                        b6
@       not have any positive intelligence regarding the deaths of Judge                                                            b7c
        Lefkow' s family members or the white suprema·cy movement. ,


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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 459 of 487 Pageid#: 6228

     To:    Albuquerque ~ram: Chicago
     Re:    266A-CG-122346, 03/16/2005


                                                                                          b6
                                 4~~-----_.....IRA, located and interviewed               b7C
     Rudy                                                                                 b7D
                Names:                    Rudy    Stanko
                Address:                        [rightwing-79:.,-80, -81]
                DOB:                            [rightwing-205]
                Telephone numbers:
                Cellular:                                   '
                Affiliation:




              Omaha~ Squad 5/JTTF, queried sources concerning the                         b6
 · World Churc · 6 - he Creator and/or the white supremacy movement                       b 7c
   being responsible for the deaths of Judge Lefkow's family
   members. No posit~ve intelligence or information was discovered.
                 !
              O_ma h_p J Di vision is following up on an unsubstantiated
   report regarding!                            ·                  I
 [ _ _ _ _~,may have information regarding the Lefkow investigation.

                [r~i-~_adel.p~iJ. Office YQrklRA, located and interviewed                 b6
     Michael Wayne Cook.                                •                                 b7C


                Name:                    Michael Wayne Cook
                Address:
                DOB:
                SSN:
                Te1ephone number:
                Affiliaton:
                I                                    lwith Matthew Hale.
     Howeve.rJ Conk 1 still considers himself to be a "creator" and
 I              ...----                                               I
                phoen__i~]oivision canvassed logical sources for any                      b6
     information pertaining to the World Church of the Creator and/or -"lt                b7C
     the white s.upremacy movement being responsible for the deaths of                    b7D
     Judge Lefkow's family members. No positive results were obtained
     by the Phoenix Division.
                     ittsb~r     S   uad 9/JTTF     rovided source information
                               [rightwing-66]


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                                                                            FBI18cv841Lefk-33371
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.•.   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 460 of 487 Pageid#: 6229

         To:   Albuquerque ~rom: Chicago
         Re:   266A-CG-122346, 03/16/2005


                                                                                           b6
                    Name:
                    Address:                [rightwing-172]                                b7C
                                                                                           b7D
                    Affi1iation:




                    Name:
                    DOB:                    [rightwing-.     J
                    Address:
                    Affi1iat1on:

                                                                                           bf
                                                                                           b7C
                                                                                           b7D




                                                                                           b6
                    Kan Sa S City ST JO !RA, iocated and interviewed!                      b7C
        L----------''                                                   ._______,          b7D

                 Name:                      [rightwing-360, -361,
                    Address:                    -362, -363]
                     DOB:
                    SSN:
                    Telephone number:
                    Affiliation:           None


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                                                                            FBI18cv841Lefk-333El
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         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 461 of 487 Pageid#: 6230
                                        '~/:

             To;   Albuquerque rrom: Chicago
             Re:   266A-CG-122346, 03/16/2005


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                                                                                                                   b?C
                                                                                                                   b'7D

                                        I Divisioncanvassed all logical sources and did
             not have ~a_n_y_p_o_s_I_t~ive intelligence regarding the deaths of Judge
             Lefkow's family members or the white supremacy movement.

                          I                · !squad               5/JTTF, interviewed the following
             individuals:

                          Name:
                          Address:                                                                                b3
                                                                                                                  b6
                           DOB:                                                                                   b7C
                          Affiliation:                                None                                        b7D

    I•
    '
    i.
                          Name:                                                                                    b6
                          Address:                                                                                 b?C

                           DOB:     \


                           SSN:
                          Telephone number:
                          Affiliation:

                                        -~       ~--. ...
                                               ...    '"'"·   ~
                                                                                                 -
                       I                                                    h1-~tthew Hale   i            I
                                  I Aooroxima tel v               1




                          Name:                                                                                    b6
                          Address:                                                                                 b?C

                          Date of Birth:
                          SSN:
                          Telephone number.:
                          Affiliation:

                      I               lwas a former committee member of!the
             World Church of the Crealor (WCOTC). The committee voted!Matthew

                                                         ________________ __
         9
             Hale out as WCOTC leader, but Hale refused to vacate his :
             position.  Subsequently,!....__                          __,,  ____.

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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 462 of 487 Pageid#: 6231
        To:   Albuquerque            ~rom:       Chicago
        Re:   266A-CG-122346,            03/16/2005



    .__--,-.....,..--,.-------,----,.--,-........,...,..,.--,-,.....,....,..,.-__,......,.
      not had any recent contact with Matthew Hale.
                                                                                          __________.! has     b6
                                                                                                               b7C

                          Name:
                          Address:

                          DOB:
                          Affiliation:                Unknown
                                                    - ' ~= = = = = = I




                                                                                                               b6
                          Name:                                                                                b7•.'.:
                          Address:

                          DOB:
                          SSN:
                          Affiliation:              l________lunknown
                  ~,------1---------,!h~s                            had no contact with WCOTC
        .members since!~----

                          Name:
                          DOB:                            [rightwing-121?]
                          Incarcerated:
                          Affiliation:
                  I                                                                                            b6
    J                                           1has had several close                                         b7C
        associates and friends who were members of t~.e World Church of
        the Creator (WCOTC).

                          Name:
                          Address:

                          DOB:
                          SSN:
                          Cellular number:
                          Affiliation:               Unknown/former WCOTC assoc1ate
                      I                           I was    associated with the World Church
        of the Creator (WCOTC).              I                 nast contac~ with anyone
        associate? with the WCOTC was in or about c::::::::J_The last time
·I           jspoke to Matthew Hale was in or about~       1




~                 !New Orleans          !Division canvassed logical sources!for any                            b6
        information pertaining to the World Church of the Creator and/or AY!::.                                b7c
        the white supremacy movement being responsible for the deaths of


                                                          23



                                                                                                FBI 18cv841Lefk-3340;
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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 463 of 487 Pageid#: 6232

   To:
   Re:
             Albuquerque
             266A-CG-122346,            •
                                        cram:         Chicago
                                                03/16/2005



  Judge Lefkow's ;amily members.                                No positive results were obtained
  by!.___ _ _ ____,_                                                                                       b6
                                                                                                            b7C
                        Salt Lake City INJTTF, located and interviewed
                             regarding his association with Matthew Hale.~=~
 __'---------.=c1
    r_e==-u_s....,e___t_o~t_a,...l""""'k~2I-.P.l..<?Yide
                                           an information_.1 1
 [.___ _ _ _ _ _ _ ___al=~====--==-
                          alt L·ake c'it                                 INJTTF, reported o n O
 .------,1~~-:::~;.::....~:...::.."--"-r_e_g_a_r~dr.i_n_g---:-t~h-e~i~r involvement in'the
   w~i-e supremac s- -movemen
                                                                                                            b6
                       Name:                                                                                b7C
                       Address:                                 [rightwing-550, -727, -730]
                       DOB:
                       SSN:
                       Affiliation:                                             ovemen   me    er


 - - - - - - - - - - - - 1 h a s been out of the Creativity Movement
                             eft the Creativit Movement




                       Name:                                                                                b6
                       Address:                                 [rightwing-550, -728, -730]                 b7C
                                                                                                            b7D
                       DOB:
                       SSN:
                       Telephone number:
                       Affiliation:_                       1'11one




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...   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 464 of 487 Pageid#: 6233
.           ·To:   Albuquerque .r: rom: Chicago.                                          ........ -·-
             Re:   266A-CG-122346,    03/16/2005


                                                                                                             b6
                            Name:
                                                          [rightwing-729, -730]'                             b7C
                            Address:

                            DOB:
                            SSN:
                            Affilati,on:

                            rs;;:oieqo                         ~esident Agency, interviewed
                                                                                         I
        .__..,......,,__________________...,...__...... c apter.    e ers of
            this chapter would-occasionally receive newsletters from Matthew
            Hale, but no WCOTC!           !members, to include[£.ro~tJ had any
            personal dealings or affiliations with Hale. ·
                    ·       f :~       : I
                                  Squad 6, interviewed Alexander James Curtis                                b6
            and George Mit~he1l Hoover regarding their involvement in the                                    b?c
            white supremacist movement.
                            Name:                   1Alexander Ji~~s      Curtt{
                            Address:
                                                    1                            I
                            DOB:                .   1-1 _[_ca_n_a_da_·J_ _ _ ___,I
                            Telephone number:
                            Affiliation:             None
                        I                                                                                I
        I                                                                             I
        I                                                                    I
        ...___ __,...,,...--,.----,---,,..---------------"
                                                 I During this period,]Curtis                            I
            e-mailed Matthew Hale· and other members of the World Churcn or
            the Creator (WCOTC)I                 Curt1sJreportedly never met
            an¥ ~c~~c members including Matthew Hale. One of the conditions
           of [t_ir_t{ij probation is that he not have contact with any white
           suprema'cists, specifically Matthew Hale and the WCOTC.
                                                                                                             b6
                            Name:                   ~eorge Mi.tch(~l l: Hoover                               b7C
                            Address:
                            DOB:                        [ Can-ada J
                            Telephone number:
                            Affiliation:             None/Unknown




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      Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 465 of 487
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          To:
          Re:
                   Albuquerque
                   266A-CG-122346,
                                      ~m:        Chicago
                                               03/16/2005
                                                                                  .e
                                                                                                                      b6
       .___..,,.......,...--,----,--......,,..-=----"".~--has ~;:::-¥!-f.:_~~ associated with'the                     b7C
        ~W~o~r=-=l~d'--"C~h~u~r~c~h=-=-~o=f'"-'t=h=e"--=C=r~e=a~t~o~r. . . . . ._ 1 hates the government and is
                                           .                            ==i '
                           Oklahoma ctt , Division did not have any positive
          intelligence.regar 1ng                 e homicides or the white supremacy
          movement.
                       \               !
                              Division did not have positive information
          tying the white supremacists operating in their Division to the
          Lefkow homicides.
                                                                                                                      b6
                       ,.________!squad 7, interviewedj~----------~                                                   b7C
                           Name:
                           Address:
                           DOB:
                           SSN:
                           Telephone number:

                                    -7 joined
      r
      L~.-.--------.--.-'-----------=----r-----,i--,.--..-.....-~------'
       w 1 e supremacist groups were present. ~-...,...-,.1 e      e
       attendees were more of a ra~ical nature and had disassociated
       himself from them. I         _is not a member or the Worlt Q~urcb
          of the Creator
          if.1
                                   (WCOTC)     and   as never met Matthew Hale.
                 sympathetic to Hal.e 1 19 right to freely express his re lg ous
                                                                                                      :I
          beliefs.     I                                                             !to Hale's father
          to support Hale's defense fund. The only contact!         !had
          with Hale has been the exchange of a Christmas card and letter .

       ....------..._W..,_,:,.a~s~b~i~n~g......,._t.....,opField Division, Squad DTl/JTTF, reported on                b6
                                                                                                                      b7C

                           Name:
                           Address:
                           DOB:
                           SSN:
                           Telephone number:
                           Cellular number:
                           Affiliation:

      ~
                      \              I
                            is a member of the World Church of the Creator
          (WCOTC) and has regular contact with WCOTC members across the
                                                                                                                      b6
                                                                                                                      b7C
          United States.           '~-----'I
                                  has expressed his desire to be a WCOTC

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                                                                                                        FBI 18cv841Lefk-3343
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...   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page
                                                             /,,,---. 466 of 487 Pageid#: 6235
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           To:   Albuquerque      trom:   Chicago
,;·        Re:   266A-CG-122346,      03/16/2005



           leader.   I                                                                              I                  b6
                                                                                                                       b7C




                     The following is Chicago's pending investigation on the
           Greativity Movement:
                                                                                                                       b6
                                                                                                                       b?C
                                                                                                                       b7E




                           Name                                        Date of Birth

                                                                                                                             .    :




                     As a result of Hale's arrest, conviction and sentenced
           of 40 years, the former WCOTC, now known as the Creativity
           Movement, is in a quandary of who will succeed Hale as the
           Pontifex Maximus.      Hale's appointment of interim handlers of the
           organization have failed and the organization continues to weaken
           under Hale's oversight.
                                                                                                                       b6
                                                                                                                       b7C



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• -!_
         Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 467 of 487 Pageid#: 6236
           To:   Albuquerque      1:'t·om:   Chicago
           Re:   266A-CG-122346,         03/16/2005




                        This Domestic Terrorism investigation focuses on the
           Creativity Movement,rPeoria''lChapter. Chicago has identified a                             b6
           dominate presence i~!Peoria, Illinois, of individuals                                       b7C
           members or                                      t                  Th-
           Cha ter ie
                                                      residence is utilized by.__ _ _ _~
          ~c_r_e_a~t_o_r_s_a_n-,--o-,-t,........e-r::.-:.,-_~~~----ists as a safe location. The
           residence provides.__ _ _..,.....,.~creators a private location to
           gather and discuss the furtherance of their goals, concerning
           social and political agenda on the promotion of white supremacy .
                     .__--,~!has cultivated another-Cooperating Witness (CW)                            b?D
           who is in a position to report on decisions made by persons who
           are interested in furthering the Creativity Movement's role in
           the white supremacist movement. I       '.s. I CW has been and will
           continue to provide information o:h the Creativity Movement and
           pther white supremacist organizations operating throughout the
           United States.

                        During the Lefko~des investigation, which
           involved interviews of the~Chapter creators, it was                                         b6
           learned of other persons residing in the Chicago Division who are                           b7c
           involved in the Creativity Movement, but who have not been fully
           identified.
                        Chicago appreciates all the assistance provided by
           rece~v~ng offices during both the Matthew Hale investigation and
           the Lefkow homicide investigation.




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                                                                                         FBI18cv841Lefk-334S:

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.   Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 468 of 487 Pageid#: 6237
                                 ,
        To:   Albuquerque rrom: Chicago
        Re:   266A-CG-122346, 03/16/2005



        LEAD (s) :

        Set Lead 1:     (~nfo)
                     ALL RECEIVING OFFICES


                  Read, clear and thank you all for taking time from your
        investigations to assist Chicago.

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                                                                          FBI18cv841Lefk-33,~'.'{
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                                          EXHIBIT
         Case 7:08-cr-00054-EKD Document 411-2 FiledP(e)
                                                     10/05/20 Page 469 of 487 Pageid#: 6238
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     (Rev. Gl-31-2003)
                                                            . I
't
                                FEDERAL BUREAU OF INVESTIGATIO~
                                                                                                I
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                 Precedence:              IMMEDIATE                                 Date:   03/01/2005

                 To :    I
                         I nd i anap o l i s   J                 Attn:·
                                                                            ::.:.=.:J-----~~-------
                                                                          I_:sRAI
                                                                                                                     b6
                                                                                                                     b7C
                                                                                                                     b7E

                 From:       Chicago
                                  Sq .I._
                                       _____,
                                  Contact:         SA
                 Approved By:
                                                                                                                     b6
                 Drafted                                                                                             b7C

                 Case ID
                 Title:        MATTHEW F. HALE;
                               WORLD CHURCH OF THE CREATOR, aka
                               CHURCH OF THE CREATOR;
                               AOT-DT
                                                        ARMED AND DANGEROUS
                  Synopsis:  Interview....
                  February 28, 2005.
                                                   l________jregarding his whereabouts on                            b6
                                                                                                                     b7C


                  Administrative:              Interview packet previously faxed to FBI
                [I n di a n a p o l i s                  !RA.
                  Details:  For information of FBI! Indian a o o l i s !. on February 2 8,
                 2005, United States District Court, Judge Joan Humphrey Lefkow,
                 N       n Di    'ct   Illinois, returned to her Chicago residence,
                 52     N Lakewood Drive Chicago, IL, between the hours of.6:00
                 p.m.- and      p.m., to find the house dark, with no lights on.
                 As she entered the bottom level of the house she came upon blood
                 in the hallway and splattered on the hallway walls. In a room on
                 the bottom level·she found her husband, Michael L~fkow, and her
                 mother,-Donna Humphrey, on the floor and apparently.bleeding from
                 their hear area. Michael Lefkow was a respected attorney who was
                 in private practice. Donna Humphrey lived with the Lefkows and
                 their children. Judge Lefkow immediately contacted the Chicago
                 Fire Department (CFD) and Chicago Police Department (CPD) for
                 assistance.
                  By Way of Background:

                           Specific threats of the solicitation to murder'Judge
           \!    Lefkow resulted in the opening of 266A-CG-119311, 11 MA.TTHEW F.
                 HALE; WORLD CHURCH OF THE CREATOR (WCOTC); DOMESTIC                                I



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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 470 of 487 Pageid#: 6239
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      • To: l(ncti a~apo~~ $ .i;:.com: Chicago
                                                                                                                                                   b7C
••      Re: ~66A- G-1 93 1, 03/01/2005

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                                                                                                                           i
        SECURITY/TERRORISM; AOT-DT VIOLENT CRIMES-PREDICATED OFFENSE.
        The Hale invest{· tion was predicated on Cooperating Witness (CW)
        information tha ·        ·                            J                                                                                    b7D
       I             ·I                   -·------·-----------
                     In FY 2002, the Chicago's JTTF continued to work with
           FBI, Springfield Division, on a pending Terrorism Enterprise
           Investigation (TEI) concerning subject, Matthew F. Hale, leader
           of the East Peoria, Illinois, based White Supremacist
           Organization known as the World Church of the Creator (WCOTC).
                      Hale and the WCOTC advocate ~hite racial superiority
           over racial and religious minorities. In July, 1991, Hale and
           the·wcoTC received national attention when Benjamin N. Smith, a
           WCOTC member, went on a two state shooting sp~ee targeting racial
           and religious minorities. Smith shot thirty-two persons to
           include children, injuring nine and fatally wounding two persons
            (MATTHEW F. HALE; BENJAMIN SMITH - DECEASED; 266A:_CG-.110397) .
                     Hale was battling a civil lawsuit filed in Federal
           Court, Northern District of Illinois, of which the Honorable Joan
           Humphrey Lefkow was presiding. The civil matter pertained to a
           trademark lawsuit brought by the Oregon based TE-TA-MA Truth
           Foundation of the URI Incorporated-vs-World Church of the
           Creator. Investigation in 2002 Fiscal Year determined Hale was
           preoccupied with the potential rulings against the WCOTC and
           blamed the government and members of the non-white race. -
                     In FY 2003, source information resulted in a criminal
           investigation Act Of Terrorism-DOMTERR (266A), against Hale and
           the WCOTC. During the course of the investigation Hale tasked
           several members of the WCOTC to determine the home address of
           Judge Lefkow. Also revealed during the investigation was Hale's
           and other WCOTC members research and·publication on websites of
           Judge Lefkow's family members, to include her husband, Michael
           Lefkow. An individual succeeded in finding information regarding
           the Judge's residence and provided it to,......................................................;""'-ll,.w,1,,,1....i....r..i.:>d...~f
                                                                                                                                                   b3
                                                                                                                                                   b7D
                                                                                                                                                   b7E
                           residence in anticipation of further action directed
                                                    Chicago arrested Hale on
           01 08 2002, en route to his scheduled earing with Judge Lefkow
           (regarding civil matter she presided over in the Northe~n
           District of Illinois.
                     Hale was indicted on 01/07/2003. Hale remains·
           incarcerated at the Federal Metropolitan Correctional ce'nter

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                                                                                                                                    FBI180l841Lefk-278
                                                                                                                                                         J
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 471 of 487 Pageid#: 6240
     • To:    IIndian a po 1 is i' ._,·.com:
                                     Chicago
1      Re:      266A-CG-1193ll, 03/01/2005


       (MCC) in Chicago after his 01/08/2003, arrest for Solic~tation to
       Murder a         Judge. Two superceding indictments were
       obtained           obtainin of ·ustice                                                                                       h6
                                                                                                                                    b7C
                                                                                                               corrupt y
      ~1~n-,,,f..-u_e_n_c~1-n_g_,-o~b~s....,..t_r_u_c~t~1-n_g_,_a_n.....,......,.___,......_...,...,...__u___.e administration of
       justice (by transmitting via U.S. mail, in connection with a
       pending civil case before Judge Lefkow). In 2004, Hale was
       convicted of the Solicitation of Murder and both Obstruction
       charges. For the last year the case has in the appeal process of
       which Hale has lost all his appeals. Sentencing is scheduled for
       April, 2005.
                 Hale still has many followers and members of the group
       may be prone to commit violent acts in retaliation for Hale's
       incarceration, much like Benjamin Smith did af°ter Hale was denied
       a law license in Illinois.
       Recent Developments:
                        Michael Lefkow and Donna Humphrey were both shot twice
       with a       .22 caliber round. It is believed the rounds were fired
       from a       Rome 22 short model. Additionally, a white male, possibly
       in his       5·0s, was observed in the gangway around 1:30 p.m. at the
       Lefkow       residence.
                 A red Ford Escort or red Ford Focus was observed in the
       morning across ·the stre·et from the Lefkow residence occupied by
       two white males. The car had front fender damage and the hood
       was dislodged.
                          On March 1, 2005, Chicago Police Department and FBI
       Chicago started to interview m mbers of the WCOTC in the Chicago
      1 __,____,....._..__,......._.........,..............._-iw=~i..;;;i.....,..~----,.__---Jwho lives at          I           !   b6
                                                                                       date of birth is                             b7C




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     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 472 of 487 Pageid#: 6241

,t      Re:
                             J - .;
     "' To : [1 n ct·{; n a p o 1 i s
                                    .corn: Chicago
                 266A-CG-119311, 03/01/2005
                                                                                                b6
                                                                                                b7C




        LEAD(s):

        Set Lead 1:            (Action)

                 INDIANAPOLIS
                         fil'.J____,_,:;,_I_ND_I_A_N_JAI                                        b6
                                                                                                b7C
                  It is respectfully requested that              I
                                                                j date of
        birth:!                                              be
        interviewed regarding his whereabouts on.February 28, 2005 and
        any knowledge about the murder of Judge Lefkow's husband, Michael
        Lefkow, and her mother. Donna Humphrey.· It should           be
                                                              noted that
       I                                                                      I
                                           ARMED AND DANGEROUS


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    Case
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         7:08-cr-00054-EKD Document 411-2 Filed
                                    EXHIBIT     10/05/20 Page 473 of 487 Pageid#: 6242
                                             P(f)
~(Rev. 01-31-2003)         \' - - )
"
                           FEDERAL BUREAU OF INVESTIGATION
                                                                                                                                       iI
                                                                                                                                       '
                                                                                                                                       i
            ,Precedence:               PRIORITY                                                                            Date:   03/06/2005
                                                                                                                                       I
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            To:      .Chicago                /
            .From:     Chicago
                          Squad.__,r--"-----------~                                                                                                                    b6
                                        I .l!i__...,;_"-'--.....;.;...:........:..!..-"'--':::.,......;p"'-'_x~t - - - 1
                          Contact: ....___,                                                                                                                            b7
                                                                                                                                                                       b7
            Approved By:

            Drafte~ By~ ~· Mi chnel Ha us !mah
            Case ID#: 266A-CG-~11 S~B-B-                                                        (PeE:din~) / '

            Title:       MATTHEW F. HALE;
                         WORLD GHURCH OF THE CREATOR;
                         AKA CHURCH OF THE CREATOR;
                         AOT-DT
            Synopsis: Results of Rapid Start Lead 11S4, ; e    review of
                                                                                                                                                                       b3
            correspondence of captiqoed i ndi :sri•dna J taL
            Illinois.
            DOB!                           I
                            address(_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___.                                                                                         b6
                                                                                                                                                                       b7

            Details:                                                                                                                                   TFO



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                                                                                  of
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                                                                  is         contained in 266A-CG~ll9311 Sub A it.                                                     b7
                                                                                                 ontained in 266A-

                                                                                                        is review                           in a
            i -_ _ _ _ _ _ _ _                       __.266A-CG-119311


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                  065MAH01.EC




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                                                            ~·.474
     Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page
                                                            \  '   of 487 Pageid#: 6243
-I      To:   Chicago Fro~... Ch.icago                          ' ......__ !


        Re:   266A-CG-119311 SUB B, 03/06/2005

                                                                               I
                  A copy of this communication was faxed to tne Lefkow
        Command Post at the Chicago Police Department's Third:District on
        03/06/2005.




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           Case 7:08-cr-00054-EKD Document 411-2  Filedp-(10/05/20
                                                           g)      Page 475 of 487 Pageid#: 6244
FD-302 (Rev. 10-6-95)



                                                                              -!-
                                                  FEDERAL BUREAU OF INVESTIGATION



                                                                                                  Date of ttanscription       03/15/2005

                            I                       !GOOGLE, INC., telephone                                                                b6
            number j            !was contacted telephonically for an      -                                                                 b7C
            interv~After being advised of the identity of the interviewi~g
            Agen~,L__Jprovided the following information:         .
                      ..,__,..~!knew of no way GOOGLE co~ld provide information to                                                          b6
             identify individuals conduc ing·j GOOGLE search of a specific                                                                  b7C
             address or specific names.                          1
                                                  described GOOGLE searches as
             sometimes erratic and considered it highly ~nlikely that any record
             could be retrieved which would identify the requester of such name
             ~nd add+ess information.
                     I       !stated that individual web sites can be blocked by                                                           b6
            the Webmaster of the respective site to prevent the site from being                                                            b7C
            downloaded into GOOGLE. A Webmaster can also choose to allow a
            home page tq_b.e....,captured in GOOGLE, yet-block any pages beneath the
            home page. L_J knew of no way that the FBI could conduct a search
            to identify web pages that contained names, addresses, and personal
            information of government officials other than through the standard
            GOOGLE search ..
                     ,__--="_._.I be_lieved that GOOGLE may have cached copies of a web                                                    b6
            page even after a website was shut down. I            I could not comment on                                                   b7C
            the length of time a cached page would remain in GOOGLE as that is
            proprietary information.




   Investigation on      03/04/05
                        --------  ~                  Chicago, Illinois                                       (telephonically)
   File#    266A-CG-123527-3o1--.                 bk                                      Date dictated    03 /04/0S

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                                                                                                                                           b6
                                                                                                                                           b7C
                                                                                                                          I
  This document contains neither recommendations nor conclusions of the FBI~ It is the property of the FBI and is loaned to your agency;
  it and its contents are not to be distributed outside your agency.    ·
                                                                              Fm 1 RrvR41 I Pfk-11 Q,-             I      : I Q//c-"
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 476 of 487 Pageid#: 6245
                                EXHI B. I T P ( h )
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(Rev. 01-31-2003)                                                                                     \
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                           FEDERAL BUREAU OF INVESTIGATION
                                                                                                                               !



         Precedence:              IMMEDIATE                                                      Date:                03/04:/2005               bG

         To:        Counterterrorism                                                          Attn:       WMDi.________,________, b7C
                                                                                                               .--              I b7E
                    Chicago                                                                               SSA~---------~-
                    Springfield
         From:      1--   ~   ,.. _":      _!!
                              Squad 7 /J~.....T...F_ _ _ _ _ _ _ _ _ _ ____,
                          Contact:               SA)~________________.
         Approved By:                                                    ~
                                        ;:::::::::::::::::::::::::::::::::         /IP'\ .
         Drafted By:              .   I                                 I    jds        (053js01)
                                                                                                                                                b6
                                                                                                                                                b7C
         Case ID #:        :1oo-sr-5D564                        (Peaeling) -    f.G'72
                              ~6A-CG-119311-B                                      L{g
                                                                         t'.f'cnding)
                                66F-HQ-Cl384970 -                        172.o.2.J
         Title:           THE CREATIVITY MOVEMENT
                          AKA; WORLD CHURCH OF THE CREATOR
                          TERRORISM ENTERPRISE INVESTIGATION
                          00: SPR:CNGF:CELD

         Synopsis:         The purpose of                      this comm.1;icat~n is to adyis;
         recipien,s             of actions of! -- -- --- .. -...::,                                                                              b6
       l t o respond to leads regar 1ng                                                   t   e homicides o                        the           b7C
         spouse and mother of Federal Judge Joan Hurnp4rey Lefkow on
         2/28/2005.
        Reference: 100-SI-50564 Seria1 1544

        Details: The following investigation was conducted in response to
        referenced EC:

        Lead 1
                              None of the key members/figureheads within the World
        Church of the Creator (WCOT<;J......,listed,in referenced EC, were
        identified as living withinQDivision's AOR. !:~!Division
        uncovered no additional information that these individuals are
        currently located within·its AOR.
        Lead 2
                                                                                                                     I tbatl                    b6
                                                                                                                                                b7C




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                                                                                                                          · i ~ef"~~rf&~ef\<;~77
                                                                                                                     Sv~ ~-~\i\)1,ub ~                "_
                                                                                     ---------!
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 477 of 487 Pageid#: 6246

       To:   Counterterro(:)m From:        ._I_ _ _ _ _ ,
                                                                                                 J:,6
                                                                                                 b7C
       Re:   100-SI-50564, 03/04/2005


                                                                              i
       advised the SAs that he was not willing to talk to the 9As and
       would not open the door to the home.

                   Additional investigation regarding                  disclosed that            b6
       he had   reviousl     resided at                                                          b7C

       website identified                                        as a site of WCOTC
       activity.             --------------~
                   Online research also disclosed
                                               web site.  The
     article revealed that
   ......,__________- _ _..,....WCOTC website, prior to the mur er.
     Tbe URL for tbe website is


                   Tnformation con!ern:·nq local hare groups, found on the
   I
   1r----.--.......1Jcounty Library~=-,:-:o=-.,,....=-=,,.,,..,=~-website, has shown that
   I       !frequently cornmunica esis opinions of Judge Lefkow and                              b6
       other related topics in an internet chat room fre,_uented by
                                                    11           11
                                                                                                 b7C
       WCOTC followers-. This internet chat room is ca:,-..1-e""'d=L---,._.,....._
                                                                             ~I
                                                                                        ___J

                      __            on-line moniker isl.        _        The
  L....-e-x-te_n_t_o-f,.,----~(~a-s_s_o_c~ia_t_i~·o-n~with WCOTC leader Matt Hale and his
       knowledge o t ~ Lefkow murder plans are currently unknown.
       was and may stf11 be~l_____________________________---Jf
                                                                                   I
                                            ------i-n~f;~~i~w_e_d_!_______~                      l:>6
                                                                                                 b7C
                                                   no further actionable
                                          .__,.................._______~urders. ,r=-~-----,
                                                                         from._! _ _.

                             A JTTF-Pacific TSA Agent queried recent travel history
  _a__
     n__d........d__i...,d not identify!     !as having left!      pr returning to
  _!____!within close proximity to the 2/28/2005 murders.
             CJoivision plans to open an. investigation on!      !                               b6
   based on fiis documented white supremacist views, his posting of                              b7C
   the Lefkow family pictures on the website prior to the murder,
   and his ongoing chat room conversations regarding the murders and
   other anti-JewisQ'ews. Purpose of the investigation will be to
   further document      -. associations with the WCOTC, his
   knowledge/possib e par icipation and/or advanced knowledge of the
   murders, and any further violent· acts which he may be ptanning,




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                                                                                  FBI18cv841Lefk-387Br
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 478 of 487 Pageid#: 6247

       To:
       Re:
             Counterterr,., . srn From:I
             100-SI-50564, 03/04/2005,..__ ____.
                                                                                      b6
                                                                                      b7C




       Lead 3
                AllDDivision Agents were queried regarding any
       sources which report on WCOTC, with negative results.
      Lead 4
                EC forwarded to Counterterrorisrn, Chicago, and
      Springfield.




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                                                                        FBI18cv841Lefk-387S
    Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 479 of 487 Pageid#: 6248

V                                    --~\
        To:    Counterterrol_)nn From: J-_(_ _ _ _     ,...j                              b6
        Re:    100-SI-50564, 03/04/2005                                                   b7C




        LEAD (s):

        Set Lead 1: (Info)
              COUNTERTERRORISM
                      AT WASHINGTON, DC
                      Read and clear
        Set Lead 2:    (Discretionary)
              CHICAGO            /



                      For_   f
                      AT CHL6AGO, IL

                                 formation and any action deemed appropriate.

        Set Lead 3: (D3/scretionary)
              SPRINGFIELD
                      AT SPRINGFIELD, IL
                      For information and any action deemed appropriate.
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Case 7:08-cr-00054-EKD Document 411-2
                          EXHIBIT     Filed 10/05/20 Page 480 of 487 Pageid#: 6249
                                    Q(a)
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                                                       U.S. Departnient of Justic~
                                                                                    I
                                                                                    :

                                                       United States Marshals Serv,ice

                                                       Office of General Counsel


                                                       CG-3, 15th Floor
                                                       Washington, DC 20530-0001

                                                                 August 5, 2020

 William WhitP




        Re: White v. USDOJ, USMS, 16-00098-JPG-DGW; FOIA Request 2013USMS24506

 Dear Mr. White:

         The United States Marshals Service (USMS) is responding to the Freedom oflnformation
 Act (FOlA) request you submitted to USMS, 2013USMS24506, requesting all Agency records
 pertaining to yourself. The FOIA request is the subject of the above-referenced litigation.

         Pursuant to your request, the USMS conducted a search of the Western District of
 Virginia and located 856 pages of responsive records. These documents are released to you.with
 portions withheld pursuant to Exemptions (b)(5), (b)(6), (b)(7)(C), (b)(7)(D), (b)(7)(E), and
 (b)(7)(F) of the FOIA, 5 U.S.C. § 552(b). 1fl:is represents the fourth release in connection with
 the above-referenced FOIA request. '         '

          Exemption 5 of the Freedom of Information Act protects "inter-agency or intra-agency ,·
 memorandums or letters which would not be available by law to a party other than an agency in
 litigation with the agency." See 5 U.S.C. § 552(b)(5) (2006), amended by OPEN Government
 Act of 2007, Pub. L. No. 110175,121 Stat. 2524. In the present request, Exemption (b)(5) and
 the deliberative process privilege was asserted to withhold portions of the responsive
 documentation. The deliberative procyss privilege protects the integrity of the deliberative or
 decision-making processes within the agency by exempting from mandatory disclosure opinions,
 conclusions, and recommendations included within inter-agency or intra-agency memoranda or
 letters. The purpose of the deliberative process privilege is asserted to encourage the expression
 of candid opinions and free and frank exchange of information among agency personnel.          ·

 ~        FOIA Exemption (b)(6) allows an agency to withhold personnel, medical, and similar
 files, the disclosure of which would constitute a clearly unwarranted invasion of personal
 privacy. Records that apply to or describe a particular individual, including investigative
 records, qualify as "personnel," "medical," or "similar files" under Exemption 6. :
                                                                                    '

        FOIA Exemption (b)(7)(C) protects records or information compiled for la?,' enforcement
 purposes to the extent that the production of such records or information could reasonably
                                                                                    I
                                                                                            be
 expected to constitute an unwarranted invasion of personal privacy. A discretiona~ release of
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 481 of 487 Pageid#: 6250
 such records is not appropriate. See United States Department of Justice (DOJ)\v. Reporters
 Committee for Freedom of the Press, 489 U.S. 749 (198~~ ·                      !

        FOIA Exemption (b)(7)(F) protects law enforcement information that "cpuld reasonably
 be expected to endanger the life or physical safety of any individual." 5 U.S.C. :§ 552(b)(7)(F)
 (2006), amended by OPEN Government Act of 2007, Pub. L. No. 110175, 121 Stat. 2524.
 Courts have routinely upheld the use of Exemption (b)(7)(F) to protect the identities of law
 enforcement agents, as well as protect the names and identifying infonnation of non-law
 enforcement federal employees, local law enforcement personnel, and other third persons in
 connection with particular law enforcement matters. See Rugiero v. DOI, 257 F.3d 534,552
 (6th Cir. 2001); Johnston v. DOJ, No. 97-2173, 1998 WL 518529, *1 (8th Cir. Aug. 10, 1998).

          Accordingly, the personally identifiable infonnation oflaw enforcement officers and
  government employees was withheld from the responsive documentation. The disclosure of
  such sensitive information contained in records compiled for law enforcement purposes to the
  public could subject law enforcement officers and other government personnel to harassment and
  unwelcome contact. This could disrupt and impede official agency activity, as well as endanger
  the safety oflaw enforcement officials. Additionally, the personally identifiable information of
  third parties named in the records was withheld. The disclosure of third party information could
  constitute an unwarranted invasion of personal privacy and subject the individuals to
  embarrassment, harassment, and undue public attention. Individuals have a recognized privacy
  interest in not being publicly associated with law enforcement investigations, not being
  associated unwarrantedly with alleged criminal activity, and controlling how communications
  about them are disseminated.

           FOIA Exemption (b)(7)(D) provides protection for "records or information compiled for
  law enforcement purposes [which] could reasonably be expected to disclose the identity of a
  confidential source, including a state, local, or foreign agency or authority or any private
  institution which furnished infonnation on a confidential basis, and, in the case of a record or
  information compiled by a criminal law enforcement authority in the cow;se of a criminal
  investigation or by an agency conducting a lawful nct~ional ,'lecurity intelligence investigation,
  infonnation furnished by a confidential source." 5 U.S.C. § 552(b)(7)(D) (2006), amended by
  OPEN Government Act of 2007, Pub. L. No. 110175, 121 Stat. 2524; see also Presidential
  Memorandum for Heads of Executive Departments and Agencies Concerning the Freedom of
  Information Act, 74 Fed. Reg. 4683 (Jan. 21, 2009).

          FOIA Exemption (b )(7)(E) exempts from release infonnation that would disclose law
  enforcement techniques or procedures, the disclosure of which could reasonably be expected to
  risk circumvention of the ~aw. Information pertaining to case selection, case development, and
  investigatory methods are law enforcement techniques and procedures that are not commonly
  known. The disclosure of this infonnation serves no public benefit and would have an adverse
  impact on agency operations. Further, public disclosure of information such as codes and
  internal identifying numbers could assist unauthorized parties in deciphering the meaning of the
  codes and numbers, aid in gaining improper access to law enforcement databases, and assist in
  the unauthorized party's navigation of these databases. This disclosure of techniques for
  havigating the databases could permit people seeking to violate the law to gain sensitive
  knowledge and take preemptive steps to counter actions taken by USMS during investigatory
  operations. The disclosure of this information serves no public benefit and would :p.ot assist the
  public in understanding how the agency is carrying out its statutory responsibilities.

          For your information, Congress excluded three discrete categories of lat enforcement
   and national security records from the requirements of the FOIA. See 5. U.S.C. 5_52(c) (2006 &
                                                                                   I
Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 482 of 487                  I   Pageid#: -6251
 Supp. N (2010)). This response is limited to those records that are subject to th~ requirements
 of the FOIA. This is a standard notifo. :tion that is given to all our requesters andI should not be
 taken as an indication that excluded records do, or do not, exist.                   I
                                                                                    I


                                                                                    I
        For any questions relating to the release, please contact Assistant US Attorney Suzanne
 Garrison, who represents the USMS in this matter.                                  !




                                                             Sincerely,


                                                                  ISi- - - - - - -
                                                             Charlotte Luckstone
                                                             Associate General Counsel
                                                             FOIA/PA Officer
                                                             Office of General Counsel



 Enclosures

 CC: Suzanne Garrison
 9 Executive Drive
 Fairview Heights, IL 62208
 Suzanne.Garrison@usdoj.gov


 William A. White #13888-084
 USP Marion
 P.O. Box 1000
 Marion, IL 62959
            Case 7:08-cr-00054-EKD Document 411-2
                                       EXHIBIT    Filed 10/05/20 Page 483 of 487 Pageid#: 6252
                                                Q(b)




From:                                          (b) (6), (b) (7)(C), (b) (?)(F)
Sent:                                          Wednesday, April 17, 2013 2:44 PM
To:                                            (b) (6), (b) {7)(C), (b) (7){F)
                                               .                 .
Cc:                                            (b) (6), (b) (7)(C), (b) (7)(F)
Subject:                                       Fugitive Williams Alexander WHITE USM#l3888--084
Attachments:                                   William A. WHITE USM 13888-084.pdf



MrHIYiYMYf
                   Good afternoon Sir,

Investigators from the Federal Bureau of Prisons requested my assistance in gathering information whether WHITE is in
fact a member of a Sovereign Citizen Organization. According to his [0JOIB], WHITE states he is in fact a member;
however, prison officials would like to verify whether his claims are accurate. (b) (7}(E) ., . : · .- · .- ' .   ' · ·: .· .' ·. : -.




JDIS reports identified you as the arresting deputy and I wanted to gather any additional information you might have
obtained during that period. Any assistance you provide will very much be appreciated.

If you don't have any additional information, don't worry about it because I have made contact with JSI Inspectors in
Chicago who should be able to provide me with the necessary documents. Thanks for offering your assistance.

Stay safe!

Respectfully,
(b) (6), (b) {7}(C), (b} {7}(F)
•l   ~   • I • "   • •       •   ~



Deputy United States Marshal
United States Marshals Service
Cell Phone - ~
e-mait:lt:)W             i           tJOitj]
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recipient(s) and may contain law enforcement sensitive, confidential, and legally privileged information. Any
unauthorized use or disclosure of this email by an unintended recipient is prohibited. If you have received this e-mail in
error please notify the sender by return e-mail and destroy all copies of the original message. No representation is made
that this email or any attachments are free of viruses. Virus scanning is recommended and is the responsibility of the
recipient.




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     Case 7:08-cr-00054-EKD Document 411-2
                               EXHIBIT     Filed 10/05/20 Page 484 of 487 Pageid#: 6253
                                         Q(c)




From:                                          (b) (6), (b) (7)(C), (b) (7)(F)
Sent
To:
Subject:



A dead bug squashed on a windshield is more important - that's after its scraped off

            {b) (6), b (7 (C),
 ·               •.            I       I   I   •I •
 ,   (b) (6), {b) (7)(C), (b) (7)(F)




Duplicate of Previous Pages




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   From:                                                        (b) (6),- (b) (!)(C), (b) (7_){F)
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   Sent:                                                                 ••                 ,. I•                   I             • •
   To:                                                          (b) (6), (b) (7)(C);' (b) (7)(F)
   Cc:                                                          ... :·   • • ./   •••   ,1·.+   ~   '   ·:     :   ••   ':        •• ••• ·:- .~       •    ••   '   ··:


   Subject:                                                                                                                                       1       (b) (7)(E)


                                                              (b) (6), (b) (7)(C), (b) (7)(
  Excellent work. Ensure you notify : : .- ':                           ·.        ~:
                                                                              .· . . ~                       ...             as well. I would rather them hear it from you two than a
  forwarded e-mail.


  I wou!d like to have seen the expression on White'~ face. He v,1ill get the full l\/1exico experience from sunny beaches to
  a dank humid jail eel!. Great work.


          ,          (b).(6);: (Q) (7)(C):,:.(p) (7.)(F) ::,, :·. ·. ·.. ·.· ·... ·: . ...__.. : .
     ..                  ••            1•   I
     · (b)  (6) · (b): (·7 )(C) ··(b·) 1-7-)(F)                 ····. · ·.. ·-. ·.- ·.· . . . .:·,::'\::'_:-.(}f/?•:,,;:;;.i><-·<--·\
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 (br{6)~'. (b) (7)(C),:(b) (7-)(F)·.-.. ·. · ·,:, · ·.... ·:· . . ( :", ·. · .· ·. · ·. · ...-·\.· ..i·;··::~<.->{::·\<..-·.::·, ·.-.· .. •·                                                                                                                                                                                     ·:=:
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Case 7:08-cr-00054-EKD Document 411-2 Filed
                             EXHIBIT  R(c) 10/05/20 Page 486 of 487 Pageid#: 6255
                            Id 279942075392600 - - -
                       Name FEAST OF VALi (Festival of the Family) (Main Blot for the month)
                     Location All of Midgard - All 9 Realms - AIIFather Hearth
                        Start 2012-02-15 03:00:00 UTC
                         End 2012-02-15 07:30:00 UTC
                        Rsvp noreply

                            Id 221192011302644
                       Name Day of Remembrance for Eyvind Kinnrifi
                     Location
                        Start 2012-02-09 15:00:00 UTC
                         End 2012-02-10 07:30:00 UTC
                        Rsvp noreply

                             Id 195146850583361
                        Name BARRI
                    · Location All of Midgard - all 9 realms:)
                         Start 2012-02-03 03:00:00 UTC
                          End 2012-02-03 07:30:00 UTC
                         Rsvp noreply

                            Id 225991104146597
                       Name Charming of the Plough (Main Blot for the Month)
                     Location AIIFather Hearth - All of Midgard - All 9 Realms
                        Start 2012-01-18 03:00:00 UTC
                         End 2012-01-18 07:30:00 UTC
                        Rsvp noreply

                            Id 274157762637861
                       Name Day of Remembrance for Raud the Strong
                     Location All ofMidgard -All 9 Realms
                        Start 2012-01-09 15:QO:O0 UTC
                         End 2012-01-10 07:30:00 UTC
                        Rsvp noreply

                            Id 269746833083086
                       Name FREE copy of Greg Johnson's CONFESSIONS OF A RELUCTANT HATER
                     Location http://www. amazon .com/gp/prod uct/B 0063 MVY36/ref= as_li_ss_ti? ie=UTF8&tag =count
                               ercurren-20&1inkCode=as2&camp=1789&creative=390957&creativeASIN=B0063MV
                               Y36
                        Start 2011-12-28 01:00:00 UTC
                         End 2012-01-01 08:00:00 UTC
                        Rsvp noreply

                            Id. 223044297799951
                       Name Julius Evola Day (International)
                     Location Hyperborea
                        Start 2012-05-19 09:00:00 UTC
                         End 2012-05-19 12:00:00 UTC
                        Rsvp maybe



      Friends Brett Stevens (503972296)
              Kalki Weisthor (513777354)
              Victor Thorn (540101624)
              Vijay Prozak (542613700)
              Shonan Talpade (608996256)
              Jonathon Boulter (615615717)
              Gonzalo Baeza (653757027)
 \l           Jaime Luis Zapata (654292630)
              Gwendolyn Toynton (657977880)
              Flavio Gonc;alves (673362022)
              Neo Folk (794878251)
              Philip Anderson (843456892)
              Summer D Boring (1076952066)




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Case 7:08-cr-00054-EKD Document 411-2 Filed 10/05/20 Page 487 of 487 Pageid#: 6256
               Jack Rubalcaba (1152571089)
               Habibi Reza (1167070158) ·
               Brett Leucht (1216860651)
               Xon Tifani (1250732965)
               Alexander Mezentsev (1264108398)
               Craig FitzGerald (1445687508)
               Robert Campbell (1571936749)
               Eddie Conboy (1590909207)
               Alex Linder (1597675288)
               Layne Lawless (1618385976)
               Bengt Duque-Svensson (1620654278)
               John Oliver (1661234820)
               Larry Darby (1756221668)
               Kevin MacDonald (1788976802)
               Daniel Friberg (1790077175)
               Andrea Ostrov Letania (100000050689622)
               John Morgan (100000143135661)
               Sabrina Gnos (100000232437249)
               Editura Eurasiatica (100000303748559)
               Welf Herfurth (100000939354441)
               Amy Back (100001060998245)
               Daniela Disterheft (100001676104678)
               Magnus Ulf Hardrada (100001804116830)
               Mostafa Afzalzadeh (100001891765164)
               Hassan Motahayer (100001940779979)
               Nora Here (100002817387474)
               Robert Taylor (100002885208920)
               Flavian Greece (100002904402692)
               Kali Yuga Editions (100002932642291)
               Barbecue Bill Dhalsim (100002947999353)
               Seana Fenner von Fenneberg (100002992848990)
               Yidhra DreamWitch (100003158040579)
               Letty Baldacchino (100003273150181)
               Dale von Domor (100003307515945)
               Easton Von Hannemark (100003537771193)
               Tommy Mclaughlin (100003539075213)
               Eden Aetemum (100003676500707)
               Marco-Marcus Alternatve IV (100003786301288)


        Gender Male


        Groups Rene Guenon (2230747050)
               David !eke is Fucking Right! (2241401052)
               All Hail. ..Thor! ! ! (16102662209)
               Union of Nationalists, Conservatives and Romantics (29560939616)
               American Free Press (31196356477)                    ·
               Aristokratia Journal (32553496400)
               Electric Hellfire Club Fans (38682731236)
               Pan-Germanic Pride Alliance (62412305839)
               AIIFather Hearth (74131971552)
               Saxo Grammaticus - The History of the Danes (76818444570)
               The New Antaios Journal (170457641954)
               Eurosiberia (185860792004)
               Aryan History and Aryan Religions (203016135151)
               Russland jenseits des Mainstream (105335669595207)
               The Stark Truth with Robert Stark (105572409485198)
               Heimdall's Geo-Political Horn (111002292287320)
               Jett and Jahn Media (155425897854919)
  'il          Holocaust Lies Exposed (160945207296874)
               Natura Obscura (167701380011098)
               International Reactionary Front (186152224764792)
               Primordial Traditions (214160878612017)
               Aristokratia (267294576671778)
               The Agora: A Folkish Odinist & Folkish Asatru Meeting Place (272078169542229)




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